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                    ORAL ARGUMENT NOT SCHEDULED

                                   No. 24-60351

                In the United States Court of Appeals
                        For the Fifth Circuit
                  _______________________________________
                     DENKA PERFORMANCE ELASTOMER LLC,
                                 Petitioner,

  STATE OF LOUISIANA AND LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY,
                                 Intervenors,

                                         v.
    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY AND MICHAEL REGAN,
     ADMINISTRATOR, UNITED STATES ENVIRONMENTAL PROTECTION AGENCY,
                               Respondents,
                _______________________________________
               On Appeal from Environmental Protection Agency
                           40 CFR Parts 60 and 63

             ADDENDUM TO PETITIONER’S OPENING BRIEF


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§ 706. Scope of review, 5 USCA § 706




  United States Code Annotated
    Title 5. Government Organization and Employees (Refs & Annos)
       Part I. The Agencies Generally
         Chapter 7. Judicial Review (Refs & Annos)

                                                          5 U.S.C.A. § 706

                                                       § 706. Scope of review

                                                             Currentness


To the extent necessary to decision and when presented, the reviewing court shall decide all relevant questions of law, interpret
constitutional and statutory provisions, and determine the meaning or applicability of the terms of an agency action. The
reviewing court shall--


  (1) compel agency action unlawfully withheld or unreasonably delayed; and


  (2) hold unlawful and set aside agency action, findings, and conclusions found to be--


     (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;


     (B) contrary to constitutional right, power, privilege, or immunity;


     (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory right;


     (D) without observance of procedure required by law;


     (E) unsupported by substantial evidence in a case subject to sections 556 and 557 of this title or otherwise reviewed on
     the record of an agency hearing provided by statute; or


     (F) unwarranted by the facts to the extent that the facts are subject to trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole record or those parts of it cited by a party, and due
account shall be taken of the rule of prejudicial error.


                                                             CREDIT(S)

  (Pub.L. 89-554, Sept. 6, 1966, 80 Stat. 393.)



Notes of Decisions (5716)


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§ 706. Scope of review, 5 USCA § 706




5 U.S.C.A. § 706, 5 USCA § 706
Current through P.L. 118-106. Some statute sections may be more current, see credits for details.

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§ 2201. Creation of remedy, 28 USCA § 2201




  United States Code Annotated
    Title 28. Judiciary and Judicial Procedure (Refs & Annos)
       Part VI. Particular Proceedings
         Chapter 151. Declaratory Judgments (Refs & Annos)

                                                       28 U.S.C.A. § 2201

                                                   § 2201. Creation of remedy

                                                     Effective: July 1, 2020
                                                          Currentness


(a) In a case of actual controversy within its jurisdiction, except with respect to Federal taxes other than actions brought under
section 7428 of the Internal Revenue Code of 1986, a proceeding under section 505 or 1146 of title 11, or in any civil action
involving an antidumping or countervailing duty proceeding regarding a class or kind of merchandise of a free trade area country
(as defined in section 516A(f)(9) of the Tariff Act of 1930), as determined by the administering authority, any court of the
United States, upon the filing of an appropriate pleading, may declare the rights and other legal relations of any interested party
seeking such declaration, whether or not further relief is or could be sought. Any such declaration shall have the force and effect
of a final judgment or decree and shall be reviewable as such.


(b) For limitations on actions brought with respect to drug patents see section 505 or 512 of the Federal Food, Drug, and
Cosmetic Act, or section 351 of the Public Health Service Act.


                                                            CREDIT(S)

   (June 25, 1948, c. 646, 62 Stat. 964; May 24, 1949, c. 139, § 111, 63 Stat. 105; Aug. 28, 1954, c. 1033, 68 Stat. 890; Pub.L.
85-508, § 12(p), July 7, 1958, 72 Stat. 349; Pub.L. 94-455, Title XIII, § 1306(b)(8), Oct. 4, 1976, 90 Stat. 1719; Pub.L. 95-598,
Title II, § 249, Nov. 6, 1978, 92 Stat. 2672; Pub.L. 98-417, Title I, § 106, Sept. 24, 1984, 98 Stat. 1597; Pub.L. 100-449, Title
IV, § 402(c), Sept. 28, 1988, 102 Stat. 1884; Pub.L. 100-670, Title I, § 107(b), Nov. 16, 1988, 102 Stat. 3984; Pub.L. 103-182,
Title IV, § 414(b), Dec. 8, 1993, 107 Stat. 2147; Pub.L. 111-148, Title VII, § 7002(c)(2), Mar. 23, 2010, 124 Stat. 816; Pub.L.
116-113, Title IV, § 423(b), Jan. 29, 2020, 134 Stat. 66.)


                                            TERMINATION OF AMENDMENT

     <For termination of amendment by section 501(c) of Pub.L. 100-449, see Sunset Provisions note set out under this
     section.>


                       TERMINATION OF USMCA (AGREEMENT BETWEEN THE UNITED
                     STATES OF AMERICA, THE UNITED MEXICAN STATES, AND CANADA)

     <During any period in which a country ceases to be a USMCA country, this Act and the amendments made by this
     Act (United States-Mexico-Canada Agreement Implementation Act, Pub.L. 116-113) shall cease to have effect with
     respect to that country, and on the date on which the USMCA ceases to be in force with respect to the United States,
     this Act and the amendments made by this Act shall cease to have effect, see Pub.L. 116-113, Title VI, § 621, set
     out as 19 U.S.C.A. § 4621.>



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§ 2201. Creation of remedy, 28 USCA § 2201




Notes of Decisions (3937)

28 U.S.C.A. § 2201, 28 USCA § 2201
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§ 2283. Stay of State court proceedings, 28 USCA § 2283




  United States Code Annotated
    Title 28. Judiciary and Judicial Procedure (Refs & Annos)
       Part VI. Particular Proceedings
         Chapter 155. Injunctions; Three-Judge Courts

                                                     28 U.S.C.A. § 2283

                                            § 2283. Stay of State court proceedings

                                                         Currentness


A court of the United States may not grant an injunction to stay proceedings in a State court except as expressly authorized by
Act of Congress, or where necessary in aid of its jurisdiction, or to protect or effectuate its judgments.


                                                          CREDIT(S)

  (June 25, 1948, c. 646, 62 Stat. 968.)



Notes of Decisions (979)

28 U.S.C.A. § 2283, 28 USCA § 2283
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§ 7401. Congressional findings and declaration of purpose, 42 USCA § 7401




  United States Code Annotated
    Title 42. The Public Health and Welfare
       Chapter 85. Air Pollution Prevention and Control (Refs & Annos)
         Subchapter I. Programs and Activities
            Part A. Air Quality and Emissions Limitations (Refs & Annos)

                                                      42 U.S.C.A. § 7401

                                  § 7401. Congressional findings and declaration of purpose

                                                          Currentness


(a) Findings

The Congress finds--


  (1) that the predominant part of the Nation's population is located in its rapidly expanding metropolitan and other urban areas,
  which generally cross the boundary lines of local jurisdictions and often extend into two or more States;


  (2) that the growth in the amount and complexity of air pollution brought about by urbanization, industrial development, and
  the increasing use of motor vehicles, has resulted in mounting dangers to the public health and welfare, including injury to
  agricultural crops and livestock, damage to and the deterioration of property, and hazards to air and ground transportation;


  (3) that air pollution prevention (that is, the reduction or elimination, through any measures, of the amount of pollutants
  produced or created at the source) and air pollution control at its source is the primary responsibility of States and local
  governments; and


  (4) that Federal financial assistance and leadership is essential for the development of cooperative Federal, State, regional,
  and local programs to prevent and control air pollution.


(b) Declaration

The purposes of this subchapter are--


  (1) to protect and enhance the quality of the Nation's air resources so as to promote the public health and welfare and the
  productive capacity of its population;


  (2) to initiate and accelerate a national research and development program to achieve the prevention and control of air
  pollution;




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§ 7401. Congressional findings and declaration of purpose, 42 USCA § 7401




  (3) to provide technical and financial assistance to State and local governments in connection with the development and
  execution of their air pollution prevention and control programs; and


  (4) to encourage and assist the development and operation of regional air pollution prevention and control programs.


(c) Pollution prevention

A primary goal of this chapter is to encourage or otherwise promote reasonable Federal, State, and local governmental actions,
consistent with the provisions of this chapter, for pollution prevention.


                                                           CREDIT(S)

  (July 14, 1955, c. 360, Title I, § 101, formerly § 1, as added Pub.L. 88-206, § 1, Dec. 17, 1963, 77 Stat. 392, and renumbered
§ 101 and amended Pub.L. 89-272, Title I, § 101(2), (3), Oct. 20, 1965, 79 Stat. 992; Pub.L. 90-148, § 2, Nov. 21, 1967, 81
Stat. 485; Pub.L. 101-549, Title I, § 108(k), Nov. 15, 1990, 104 Stat. 2468.)


                                                   EXECUTIVE ORDERS

                                             EXECUTIVE ORDER NO. 10779

Ex. Ord. No. 10779, Aug. 21, 1958, 23 F.R. 6487, which related to cooperation of Federal agencies with State and local
authorities, was superseded by Ex. Ord. No. 11282, May 26, 1966, 31 F.R. 7663, formerly set out under section 7418 of this title.


                                             EXECUTIVE ORDER NO. 11507

Ex. Ord. No. 11507, Feb. 4, 1970, 35 F.R. 2573, which provided for the prevention, control, and abatement of air pollution
at Federal facilities was superseded by Ex. Ord. No. 11752, Dec. 17, 1973, 38 F.R. 34793, formerly set out as a note under
section 4331 of this title.


                                             EXECUTIVE ORDER NO. 11752

Ex. Ord. No. 11752, Dec. 17, 1973, 38 F.R. 34793, formerly set out as a note under section 4331 of this title, provided for the
prevention, control, and abatement of environmental pollution at Federal facilities.


                                             MEMORANDA OF PRESIDENT

                                            PRESIDENTIAL MEMORANDUM

Memorandum of President of the United States, Apr. 12, 2018, 83 F.R. 16761, which related to State Implementation Plans for
the Regional Haze Program, was revoked by Ex. Ord. No. 13990, § 7(d), Jan. 20, 2021, 86 F.R. 7042.



Notes of Decisions (57)

42 U.S.C.A. § 7401, 42 USCA § 7401



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§ 7401. Congressional findings and declaration of purpose, 42 USCA § 7401


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§ 7412. Hazardous air pollutants, 42 USCA § 7412




  United States Code Annotated
    Title 42. The Public Health and Welfare
       Chapter 85. Air Pollution Prevention and Control (Refs & Annos)
         Subchapter I. Programs and Activities
            Part A. Air Quality and Emissions Limitations (Refs & Annos)

                                                         42 U.S.C.A. § 7412

                                                  § 7412. Hazardous air pollutants

                                                      Effective: August 5, 1999
                                                             Currentness


(a) Definitions

For purposes of this section, except subsection (r)--


  (1) Major source

  The term “major source” means any stationary source or group of stationary sources located within a contiguous area and
  under common control that emits or has the potential to emit considering controls, in the aggregate, 10 tons per year or more of
  any hazardous air pollutant or 25 tons per year or more of any combination of hazardous air pollutants. The Administrator may
  establish a lesser quantity, or in the case of radionuclides different criteria, for a major source than that specified in the previous
  sentence, on the basis of the potency of the air pollutant, persistence, potential for bioaccumulation, other characteristics of
  the air pollutant, or other relevant factors.


  (2) Area source

  The term “area source” means any stationary source of hazardous air pollutants that is not a major source. For purposes of this
  section, the term “area source” shall not include motor vehicles or nonroad vehicles subject to regulation under subchapter II.


  (3) Stationary source

  The term “stationary source” shall have the same meaning as such term has under section 7411(a) of this title.


  (4) New source

  The term “new source” means a stationary source the construction or reconstruction of which is commenced after the
  Administrator first proposes regulations under this section establishing an emission standard applicable to such source.


  (5) Modification




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§ 7412. Hazardous air pollutants, 42 USCA § 7412


  The term “modification” means any physical change in, or change in the method of operation of, a major source which
  increases the actual emissions of any hazardous air pollutant emitted by such source by more than a de minimis amount or
  which results in the emission of any hazardous air pollutant not previously emitted by more than a de minimis amount.


  (6) Hazardous air pollutant

  The term “hazardous air pollutant” means any air pollutant listed pursuant to subsection (b).


  (7) Adverse environmental effect

  The term “adverse environmental effect” means any significant and widespread adverse effect, which may reasonably be
  anticipated, to wildlife, aquatic life, or other natural resources, including adverse impacts on populations of endangered or
  threatened species or significant degradation of environmental quality over broad areas.


  (8) Electric utility steam generating unit

  The term “electric utility steam generating unit” means any fossil fuel fired combustion unit of more than 25 megawatts that
  serves a generator that produces electricity for sale. A unit that cogenerates steam and electricity and supplies more than one-
  third of its potential electric output capacity and more than 25 megawatts electrical output to any utility power distribution
  system for sale shall be considered an electric utility steam generating unit.


  (9) Owner or operator

  The term “owner or operator” means any person who owns, leases, operates, controls, or supervises a stationary source.


  (10) Existing source

  The term “existing source” means any stationary source other than a new source.


  (11) Carcinogenic effect

  Unless revised, the term “carcinogenic effect” shall have the meaning provided by the Administrator under Guidelines for
  Carcinogenic Risk Assessment as of the date of enactment. Any revisions in the existing Guidelines shall be subject to notice
  and opportunity for comment.


(b) List of pollutants


  (1) Initial list

  The Congress establishes for purposes of this section a list of hazardous air pollutants as follows:


    CAS                                                         Chemical name
   number



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          75070 Acetaldehyde

          60355 Acetamide

          75058 Acetonitrile

          98862 Acetophenone

          53963 2-Acetylaminofluorene

         107028 Acrolein

          79061 Acrylamide

          79107 Acrylic acid

         107131 Acrylonitrile

         107051 Allyl chloride

          92671 4-Aminobiphenyl

          62533 Aniline

          90040 o-Anisidine

        1332214 Asbestos

          71432 Benzene (including benzene from gasoline)

          92875 Benzidine

          98077 Benzotrichloride

         100447 Benzyl chloride

          92524 Biphenyl

         117817 Bis(2-ethylhexyl)phthalate (DEHP)

         542881 Bis(chloromethyl)ether

          75252 Bromoform

         106990 1,3-Butadiene

         156627 Calcium cyanamide

         105602 Caprolactam

         133062 Captan

          63252 Carbaryl

          75150 Carbon disulfide

          56235 Carbon tetrachloride


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         463581 Carbonyl sulfide

         120809 Catechol

         133904 Chloramben

          57749 Chlordane

        7782505 Chlorine

          79118 Chloroacetic acid

         532274 2-Chloroacetophenone

         108907 Chlorobenzene

         510156 Chlorobenzilate

          67663 Chloroform

         107302 Chloromethyl methyl ether

         126998 Chloroprene

        1319773 Cresols/Cresylic acid (isomers and mixture)

          95487 o-Cresol

         108394 m-Cresol

         106445 p-Cresol

          98828 Cumene

          94757 2,4-D, salts and esters

        3547044 DDE

         334883 Diazomethane

         132649 Dibenzofurans

          96128 1,2-Dibromo-3-chloropropane

          84742 Dibutylphthalate

         106467 1,4-Dichlorobenzene(p)

          91941 3,3-Dichlorobenzidene

         111444 Dichloroethyl ether (Bis(2-chloroethyl)ether)

         542756 1,3-Dichloropropene

          62737 Dichlorvos

         111422 Diethanolamine


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§ 7412. Hazardous air pollutants, 42 USCA § 7412




         121697 N,N-Diethyl aniline (N,N-Dimethylaniline)

          64675 Diethyl sulfate

         119904 3,3-Dimethoxybenzidine

          60117 Dimethyl aminoazobenzene

         119937 3,3′-Dimethyl benzidine

          79447 Dimethyl carbamoyl chloride

          68122 Dimethyl formamide

          57147 1,1-Dimethyl hydrazine

         131113 Dimethyl phthalate

          77781 Dimethyl sulfate

         534521 4,6-Dinitro-o-cresol, and salts

          51285 2,4-Dinitrophenol

         121142 2,4-Dinitrotoluene

         123911 1,4-Dioxane (1,4-Diethyleneoxide)

         122667 1,2-Diphenylhydrazine

         106898 Epichlorohydrin (1-Chloro-2,3-epoxypropane)

         106887 1,2-Epoxybutane

         140885 Ethyl acrylate

         100414 Ethyl benzene

          51796 Ethyl carbamate (Urethane)

          75003 Ethyl chloride (Chloroethane)

         106934 Ethylene dibromide (Dibromoethane)

         107062 Ethylene dichloride (1,2-Dichloroethane)

         107211 Ethylene glycol

         151564 Ethylene imine (Aziridine)

          75218 Ethylene oxide

          96457 Ethylene thiourea

          75343 Ethylidene dichloride (1,1-Dichloroethane)

          50000 Formaldehyde


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§ 7412. Hazardous air pollutants, 42 USCA § 7412




          76448 Heptachlor

         118741 Hexachlorobenzene

          87683 Hexachlorobutadiene

          77474 Hexachlorocyclopentadiene

          67721 Hexachloroethane

         822060 Hexamethylene-1,6-diisocyanate

         680319 Hexamethylphosphoramide

         110543 Hexane

         302012 Hydrazine

        7647010 Hydrochloric acid

        7664393 Hydrogen fluoride (Hydrofluoric acid)

         123319 Hydroquinone

          78591 Isophorone

          58899 Lindane (all isomers)

         108316 Maleic anhydride

          67561 Methanol

          72435 Methoxychlor

          74839 Methyl bromide (Bromomethane)

          74873 Methyl chloride (Chloromethane)

          71556 Methyl chloroform (1,1,1-Trichloroethane)

          78933 Methyl ethyl ketone (2-Butanone)

          60344 Methyl hydrazine

          74884 Methyl iodide (Iodomethane)

         108101 Methyl isobutyl ketone (Hexone)

         624839 Methyl isocyanate

          80626 Methyl methacrylate

        1634044 Methyl tert butyl ether

         101144 4,4-Methylene bis(2-chloroaniline)

          75092 Methylene chloride (Dichloromethane)


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         101688 Methylene diphenyl diisocyanate (MDI)

         101779 4,4′-Methylenedianiline

          91203 Naphthalene

          98953 Nitrobenzene

          92933 4-Nitrobiphenyl

         100027 4-Nitrophenol

          79469 2-Nitropropane

         684935 N-Nitroso-N-methylurea

          62759 N-Nitrosodimethylamine

          59892 N-Nitrosomorpholine

          56382 Parathion

          82688 Pentachloronitrobenzene (Quintobenzene)

          87865 Pentachlorophenol

         108952 Phenol

         106503 p-Phenylenediamine

          75445 Phosgene

        7803512 Phosphine

        7723140 Phosphorus

          85449 Phthalic anhydride

        1336363 Polychlorinated biphenyls (Aroclors)

        1120714 1,3-Propane sultone

          57578 beta-Propiolactone

         123386 Propionaldehyde

         114261 Propoxur (Baygon)

          78875 Propylene dichloride (1,2-Dichloropropane)

          75569 Propylene oxide

          75558 1,2-Propylenimine (2-Methyl aziridine)

          91225 Quinoline

         106514 Quinone


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§ 7412. Hazardous air pollutants, 42 USCA § 7412




         100425 Styrene

          96093 Styrene oxide

        1746016 2,3,7,8-Tetrachlorodibenzo-p-dioxin

          79345 1,1,2,2-Tetrachloroethane

         127184 Tetrachloroethylene (Perchloroethylene)

        7550450 Titanium tetrachloride

         108883 Toluene

          95807 2,4-Toluene diamine

         584849 2,4-Toluene diisocyanate

          95534 o-Toluidine

        8001352 Toxaphene (chlorinated camphene)

         120821 1,2,4-Trichlorobenzene

          79005 1,1,2-Trichloroethane

          79016 Trichloroethylene

          95954 2,4,5-Trichlorophenol

          88062 2,4,6-Trichlorophenol

         121448 Triethylamine

        1582098 Trifluralin

         540841 2,2,4-Trimethylpentane

         108054 Vinyl acetate

         593602 Vinyl bromide

          75014 Vinyl chloride

          75354 Vinylidene chloride (1,1-Dichloroethylene)

        1330207 Xylenes (isomers and mixture)

          95476 o-Xylenes

         108383 m-Xylenes

         106423 p-Xylenes

               0 Antimony Compounds

               0 Arsenic Compounds (inorganic including arsine)


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                   0 Beryllium Compounds

                   0 Cadmium Compounds

                   0 Chromium Compounds

                   0 Cobalt Compounds

                   0 Coke Oven Emissions

                   0 Cyanide Compounds 1

                   0 Glycol ethers 2

                   0 Lead Compounds

                   0 Manganese Compounds

                   0 Mercury Compounds

                   0 Fine mineral fibers 3

                   0 Nickel Compounds

                   0 Polycylic Organic Matter 4

                   0 Radionuclides (including radon) 5

                   0 Selenium Compounds

 NOTE: For all listings above which contain the word “compounds” and for glycol ethers, the following applies: Unless
 otherwise specified, these listings are defined as including any unique chemical substance that contains the named chemical
 (i.e., antimony, arsenic, etc.) as part of that chemical's infrastructure.

 1
     X′CN where X = H′ or any other group where a formal dissociation may occur. For example KCN or Ca(CN) 2

 2
     Includes mono- and di- ethers of ethylene glycol, diethylene glycol, and triethylene glycol R-(OCH2CH2) n-OR′ where

 n = 1, 2, or 3

 R = alkyl or aryl groups

 R′ = R, H, or groups which, when removed, yield glycol ethers with the structure: R-(OCH2CH) n-OH. Polymers are
 excluded from the glycol category.

 3
   Includes mineral fiber emissions from facilities manufacturing or processing glass, rock, or slag fibers (or other mineral
 derived fibers) of average diameter 1 micrometer or less.

 4
   Includes organic compounds with more than one benzene ring, and which have a boiling point greater than or equal to
 100°C.

 5
     A type of atom which spontaneously undergoes radioactive decay.




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  (2) Revision of the list

  The Administrator shall periodically review the list established by this subsection and publish the results thereof and, where
  appropriate, revise such list by rule, adding pollutants which present, or may present, through inhalation or other routes of
  exposure, a threat of adverse human health effects (including, but not limited to, substances which are known to be, or may
  reasonably be anticipated to be, carcinogenic, mutagenic, teratogenic, neurotoxic, which cause reproductive dysfunction,
  or which are acutely or chronically toxic) or adverse environmental effects whether through ambient concentrations,
  bioaccumulation, deposition, or otherwise, but not including releases subject to regulation under subsection (r) as a result of
  emissions to the air. No air pollutant which is listed under section 7408(a) of this title may be added to the list under this section,
  except that the prohibition of this sentence shall not apply to any pollutant which independently meets the listing criteria of
  this paragraph and is a precursor to a pollutant which is listed under section 7408(a) of this title or to any pollutant which is
  in a class of pollutants listed under such section. No substance, practice, process or activity regulated under subchapter VI of
  this chapter shall be subject to regulation under this section solely due to its adverse effects on the environment.


  (3) Petitions to modify the list


  (A) Beginning at any time after 6 months after November 15, 1990, any person may petition the Administrator to modify
  the list of hazardous air pollutants under this subsection by adding or deleting a substance or, in case of listed pollutants
  without CAS numbers (other than coke oven emissions, mineral fibers, or polycyclic organic matter) removing certain unique
  substances. Within 18 months after receipt of a petition, the Administrator shall either grant or deny the petition by publishing
  a written explanation of the reasons for the Administrator's decision. Any such petition shall include a showing by the
  petitioner that there is adequate data on the health or environmental defects 1 of the pollutant or other evidence adequate to
  support the petition. The Administrator may not deny a petition solely on the basis of inadequate resources or time for review.


  (B) The Administrator shall add a substance to the list upon a showing by the petitioner or on the Administrator's own
  determination that the substance is an air pollutant and that emissions, ambient concentrations, bioaccumulation or deposition
  of the substance are known to cause or may reasonably be anticipated to cause adverse effects to human health or adverse
  environmental effects.


  (C) The Administrator shall delete a substance from the list upon a showing by the petitioner or on the Administrator's own
  determination that there is adequate data on the health and environmental effects of the substance to determine that emissions,
  ambient concentrations, bioaccumulation or deposition of the substance may not reasonably be anticipated to cause any
  adverse effects to the human health or adverse environmental effects.


  (D) The Administrator shall delete one or more unique chemical substances that contain a listed hazardous air pollutant not
  having a CAS number (other than coke oven emissions, mineral fibers, or polycyclic organic matter) upon a showing by the
  petitioner or on the Administrator's own determination that such unique chemical substances that contain the named chemical
  of such listed hazardous air pollutant meet the deletion requirements of subparagraph (C). The Administrator must grant or
  deny a deletion petition prior to promulgating any emission standards pursuant to subsection (d) applicable to any source
  category or subcategory of a listed hazardous air pollutant without a CAS number listed under subsection (b) for which a
  deletion petition has been filed within 12 months of November 15, 1990.


  (4) Further information




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  If the Administrator determines that information on the health or environmental effects of a substance is not sufficient to
  make a determination required by this subsection, the Administrator may use any authority available to the Administrator
  to acquire such information.


  (5) Test methods

  The Administrator may establish, by rule, test measures and other analytic procedures for monitoring and measuring
  emissions, ambient concentrations, deposition, and bioaccumulation of hazardous air pollutants.


  (6) Prevention of significant deterioration

  The provisions of part C (prevention of significant deterioration) shall not apply to pollutants listed under this section.


  (7) Lead

  The Administrator may not list elemental lead as a hazardous air pollutant under this subsection.


(c) List of source categories


  (1) In general

  Not later than 12 months after November 15, 1990, the Administrator shall publish, and shall from time to time, but no less
  often than every 8 years, revise, if appropriate, in response to public comment or new information, a list of all categories and
  subcategories of major sources and area sources (listed under paragraph (3)) of the air pollutants listed pursuant to subsection
  (b). To the extent practicable, the categories and subcategories listed under this subsection shall be consistent with the list of
  source categories established pursuant to section 7411 of this title and part C. Nothing in the preceding sentence limits the
  Administrator's authority to establish subcategories under this section, as appropriate.


  (2) Requirement for emissions standards

  For the categories and subcategories the Administrator lists, the Administrator shall establish emissions standards under
  subsection (d), according to the schedule in this subsection and subsection (e).


  (3) Area sources

  The Administrator shall list under this subsection each category or subcategory of area sources which the Administrator finds
  presents a threat of adverse effects to human health or the environment (by such sources individually or in the aggregate)
  warranting regulation under this section. The Administrator shall, not later than 5 years after November 15, 1990, and pursuant
  to subsection (k)(3)(B), list, based on actual or estimated aggregate emissions of a listed pollutant or pollutants, sufficient
  categories or subcategories of area sources to ensure that area sources representing 90 percent of the area source emissions of
  the 30 hazardous air pollutants that present the greatest threat to public health in the largest number of urban areas are subject
  to regulation under this section. Such regulations shall be promulgated not later than 10 years after November 15, 1990.




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  (4) Previously regulated categories

  The Administrator may, in the Administrator's discretion, list any category or subcategory of sources previously regulated
  under this section as in effect before November 15, 1990.


  (5) Additional categories

  In addition to those categories and subcategories of sources listed for regulation pursuant to paragraphs (1) and (3), the
  Administrator may at any time list additional categories and subcategories of sources of hazardous air pollutants according to
  the same criteria for listing applicable under such paragraphs. In the case of source categories and subcategories listed after
  publication of the initial list required under paragraph (1) or (3), emission standards under subsection (d) for the category or
  subcategory shall be promulgated within 10 years after November 15, 1990, or within 2 years after the date on which such
  category or subcategory is listed, whichever is later.


  (6) Specific pollutants

  With respect to alkylated lead compounds, polycyclic organic matter, hexachlorobenzene, mercury, polychlorinated
  biphenyls, 2,3,7,8-tetrachlorodibenzofurans and 2,3,7,8-tetrachlorodibenzo-p-dioxin, the Administrator shall, not later than 5
  years after November 15, 1990, list categories and subcategories of sources assuring that sources accounting for not less than
  90 per centum of the aggregate emissions of each such pollutant are subject to standards under subsection (d)(2) or (d)(4).
  Such standards shall be promulgated not later than 10 years after November 15, 1990. This paragraph shall not be construed
  to require the Administrator to promulgate standards for such pollutants emitted by electric utility steam generating units.


  (7) Research facilities

  The Administrator shall establish a separate category covering research or laboratory facilities, as necessary to assure the
  equitable treatment of such facilities. For purposes of this section, “research or laboratory facility” means any stationary
  source whose primary purpose is to conduct research and development into new processes and products, where such source
  is operated under the close supervision of technically trained personnel and is not engaged in the manufacture of products
  for commercial sale in commerce, except in a de minimis manner.


  (8) Boat manufacturing

  When establishing emissions standards for styrene, the Administrator shall list boat manufacturing as a separate subcategory
  unless the Administrator finds that such listing would be inconsistent with the goals and requirements of this chapter.


  (9) Deletions from the list


  (A) Where the sole reason for the inclusion of a source category on the list required under this subsection is the emission of
  a unique chemical substance, the Administrator shall delete the source category from the list if it is appropriate because of
  action taken under either subparagraphs (C) or (D) of subsection (b)(3).




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  (B) The Administrator may delete any source category from the list under this subsection, on petition of any person or on the
  Administrator's own motion, whenever the Administrator makes the following determination or determinations, as applicable:


    (i) In the case of hazardous air pollutants emitted by sources in the category that may result in cancer in humans, a
    determination that no source in the category (or group of sources in the case of area sources) emits such hazardous air
    pollutants in quantities which may cause a lifetime risk of cancer greater than one in one million to the individual in the
    population who is most exposed to emissions of such pollutants from the source (or group of sources in the case of area
    sources).


    (ii) In the case of hazardous air pollutants that may result in adverse health effects in humans other than cancer or adverse
    environmental effects, a determination that emissions from no source in the category or subcategory concerned (or group
    of sources in the case of area sources) exceed a level which is adequate to protect public health with an ample margin
    of safety and no adverse environmental effect will result from emissions from any source (or from a group of sources in
    the case of area sources).

    The Administrator shall grant or deny a petition under this paragraph within 1 year after the petition is filed.


(d) Emission standards


  (1) In general

  The Administrator shall promulgate regulations establishing emission standards for each category or subcategory of major
  sources and area sources of hazardous air pollutants listed for regulation pursuant to subsection (c) in accordance with the
  schedules provided in subsections (c) and (e). The Administrator may distinguish among classes, types, and sizes of sources
  within a category or subcategory in establishing such standards except that, there shall be no delay in the compliance date
  for any standard applicable to any source under subsection (i) as the result of the authority provided by this sentence.


  (2) Standards and methods

  Emissions standards promulgated under this subsection and applicable to new or existing sources of hazardous air pollutants
  shall require the maximum degree of reduction in emissions of the hazardous air pollutants subject to this section (including
  a prohibition on such emissions, where achievable) that the Administrator, taking into consideration the cost of achieving
  such emission reduction, and any non-air quality health and environmental impacts and energy requirements, determines
  is achievable for new or existing sources in the category or subcategory to which such emission standard applies, through
  application of measures, processes, methods, systems or techniques including, but not limited to, measures which--


    (A) reduce the volume of, or eliminate emissions of, such pollutants through process changes, substitution of materials
    or other modifications,


    (B) enclose systems or processes to eliminate emissions,


    (C) collect, capture or treat such pollutants when released from a process, stack, storage or fugitive emissions point,




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    (D) are design, equipment, work practice, or operational standards (including requirements for operator training or
    certification) as provided in subsection (h), or


    (E) are a combination of the above.

    None of the measures described in subparagraphs (A) through (D) shall, consistent with the provisions of section 7414(c)
    of this title, in any way compromise any United States patent or United States trademark right, or any confidential business
    information, or any trade secret or any other intellectual property right.


  (3) New and existing sources

  The maximum degree of reduction in emissions that is deemed achievable for new sources in a category or subcategory shall
  not be less stringent than the emission control that is achieved in practice by the best controlled similar source, as determined
  by the Administrator. Emission standards promulgated under this subsection for existing sources in a category or subcategory
  may be less stringent than standards for new sources in the same category or subcategory but shall not be less stringent, and
  may be more stringent than--


    (A) the average emission limitation achieved by the best performing 12 percent of the existing sources (for which the
    Administrator has emissions information), excluding those sources that have, within 18 months before the emission
    standard is proposed or within 30 months before such standard is promulgated, whichever is later, first achieved a level of
    emission rate or emission reduction which complies, or would comply if the source is not subject to such standard, with the
    lowest achievable emission rate (as defined by section 7501 of this title) applicable to the source category and prevailing
    at the time, in the category or subcategory for categories and subcategories with 30 or more sources, or


    (B) the average emission limitation achieved by the best performing 5 sources (for which the Administrator has or could
    reasonably obtain emissions information) in the category or subcategory for categories or subcategories with fewer than
    30 sources.


  (4) Health threshold

  With respect to pollutants for which a health threshold has been established, the Administrator may consider such threshold
  level, with an ample margin of safety, when establishing emission standards under this subsection.


  (5) Alternative standard for area sources

  With respect only to categories and subcategories of area sources listed pursuant to subsection (c), the Administrator may, in
  lieu of the authorities provided in paragraph (2) and subsection (f), elect to promulgate standards or requirements applicable
  to sources in such categories or subcategories which provide for the use of generally available control technologies or
  management practices by such sources to reduce emissions of hazardous air pollutants.


  (6) Review and revision




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  The Administrator shall review, and revise as necessary (taking into account developments in practices, processes, and control
  technologies), emission standards promulgated under this section no less often than every 8 years.


  (7) Other requirements preserved

  No emission standard or other requirement promulgated under this section shall be interpreted, construed or applied to
  diminish or replace the requirements of a more stringent emission limitation or other applicable requirement established
  pursuant to section 7411 of this title, part C or D, or other authority of this chapter or a standard issued under State authority.


  (8) Coke ovens


  (A) Not later than December 31, 1992, the Administrator shall promulgate regulations establishing emission standards under
  paragraphs (2) and (3) of this subsection for coke oven batteries. In establishing such standards, the Administrator shall
  evaluate--


    (i) the use of sodium silicate (or equivalent) luting compounds to prevent door leaks, and other operating practices and
    technologies for their effectiveness in reducing coke oven emissions, and their suitability for use on new and existing coke
    oven batteries, taking into account costs and reasonable commercial door warranties; and


    (ii) as a basis for emission standards under this subsection for new coke oven batteries that begin construction after the
    date of proposal of such standards, the Jewell design Thompson non-recovery coke oven batteries and other non-recovery
    coke oven technologies, and other appropriate emission control and coke production technologies, as to their effectiveness
    in reducing coke oven emissions and their capability for production of steel quality coke.

    Such regulations shall require at a minimum that coke oven batteries will not exceed 8 per centum leaking doors, 1 per
    centum leaking lids, 5 per centum leaking offtakes, and 16 seconds visible emissions per charge, with no exclusion for
    emissions during the period after the closing of self-sealing oven doors. Notwithstanding subsection (i), the compliance
    date for such emission standards for existing coke oven batteries shall be December 31, 1995.


  (B) The Administrator shall promulgate work practice regulations under this subsection for coke oven batteries requiring,
  as appropriate--


    (i) the use of sodium silicate (or equivalent) luting compounds, if the Administrator determines that use of sodium silicate is
    an effective means of emissions control and is achievable, taking into account costs and reasonable commercial warranties
    for doors and related equipment; and


    (ii) door and jam cleaning practices.

    Notwithstanding subsection (i), the compliance date for such work practice regulations for coke oven batteries shall be not
    later than the date 3 years after November 15, 1990.


  (C) For coke oven batteries electing to qualify for an extension of the compliance date for standards promulgated under
  subsection (f) in accordance with subsection (i)(8), the emission standards under this subsection for coke oven batteries shall


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  require that coke oven batteries not exceed 8 per centum leaking doors, 1 per centum leaking lids, 5 per centum leaking
  offtakes, and 16 seconds visible emissions per charge, with no exclusion for emissions during the period after the closing of
  self-sealing doors. Notwithstanding subsection (i), the compliance date for such emission standards for existing coke oven
  batteries seeking an extension shall be not later than the date 3 years after November 15, 1990.


  (9) Sources licensed by the Nuclear Regulatory Commission

  No standard for radionuclide emissions from any category or subcategory of facilities licensed by the Nuclear Regulatory
  Commission (or an Agreement State) is required to be promulgated under this section if the Administrator determines, by
  rule, and after consultation with the Nuclear Regulatory Commission, that the regulatory program established by the Nuclear
  Regulatory Commission pursuant to the Atomic Energy Act for such category or subcategory provides an ample margin
  of safety to protect the public health. Nothing in this subsection shall preclude or deny the right of any State or political
  subdivision thereof to adopt or enforce any standard or limitation respecting emissions of radionuclides which is more
  stringent than the standard or limitation in effect under section 7411 of this title or this section.


  (10) Effective date

  Emission standards or other regulations promulgated under this subsection shall be effective upon promulgation.


(e) Schedule for standards and review


  (1) In general

  The Administrator shall promulgate regulations establishing emission standards for categories and subcategories of sources
  initially listed for regulation pursuant to subsection (c)(1) as expeditiously as practicable, assuring that--


    (A) emission standards for not less than 40 categories and subcategories (not counting coke oven batteries) shall be
    promulgated not later than 2 years after November 15, 1990;


    (B) emission standards for coke oven batteries shall be promulgated not later than December 31, 1992;


    (C) emission standards for 25 per centum of the listed categories and subcategories shall be promulgated not later than
    4 years after November 15, 1990;


    (D) emission standards for an additional 25 per centum of the listed categories and subcategories shall be promulgated not
    later than 7 years after November 15, 1990; and


    (E) emission standards for all categories and subcategories shall be promulgated not later than 10 years after November
    15, 1990.


  (2) Priorities




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  In determining priorities for promulgating standards under subsection (d), the Administrator shall consider--


    (A) the known or anticipated adverse effects of such pollutants on public health and the environment;


    (B) the quantity and location of emissions or reasonably anticipated emissions of hazardous air pollutants that each category
    or subcategory will emit; and


    (C) the efficiency of grouping categories or subcategories according to the pollutants emitted, or the processes or
    technologies used.


  (3) Published schedule

  Not later than 24 months after November 15, 1990, and after opportunity for comment, the Administrator shall publish
  a schedule establishing a date for the promulgation of emission standards for each category and subcategory of sources
  listed pursuant to subsection (c)(1) and (3) which shall be consistent with the requirements of paragraphs (1) and (2). The
  determination of priorities for the promulgation of standards pursuant to this paragraph is not a rulemaking and shall not
  be subject to judicial review, except that, failure to promulgate any standard pursuant to the schedule established by this
  paragraph shall be subject to review under section 7604 of this title.


  (4) Judicial review

  Notwithstanding section 7607 of this title, no action of the Administrator adding a pollutant to the list under subsection (b) or
  listing a source category or subcategory under subsection (c) shall be a final agency action subject to judicial review, except
  that any such action may be reviewed under such section 7607 of this title when the Administrator issues emission standards
  for such pollutant or category.


  (5) Publicly owned treatment works

  The Administrator shall promulgate standards pursuant to subsection (d) applicable to publicly owned treatment works (as
  defined in title II of the Federal Water Pollution Control Act) not later than 5 years after November 15, 1990.


(f) Standard to protect health and environment


  (1) Report

  Not later than 6 years after November 15, 1990, the Administrator shall investigate and report, after consultation with the
  Surgeon General and after opportunity for public comment, to Congress on--


    (A) methods of calculating the risk to public health remaining, or likely to remain, from sources subject to regulation under
    this section after the application of standards under subsection (d);




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    (B) the public health significance of such estimated remaining risk and the technologically and commercially available
    methods and costs of reducing such risks;


    (C) the actual health effects with respect to persons living in the vicinity of sources, any available epidemiological or
    other health studies, risks presented by background concentrations of hazardous air pollutants, any uncertainties in risk
    assessment methodology or other health assessment technique, and any negative health or environmental consequences to
    the community of efforts to reduce such risks; and


    (D) recommendations as to legislation regarding such remaining risk.


  (2) Emission standards


  (A) If Congress does not act on any recommendation submitted under paragraph (1), the Administrator shall, within 8
  years after promulgation of standards for each category or subcategory of sources pursuant to subsection (d), promulgate
  standards for such category or subcategory if promulgation of such standards is required in order to provide an ample margin
  of safety to protect public health in accordance with this section (as in effect before November 15, 1990) or to prevent,
  taking into consideration costs, energy, safety, and other relevant factors, an adverse environmental effect. Emission standards
  promulgated under this subsection shall provide an ample margin of safety to protect public health in accordance with this
  section (as in effect before November 15, 1990), unless the Administrator determines that a more stringent standard is
  necessary to prevent, taking into consideration costs, energy, safety, and other relevant factors, an adverse environmental
  effect. If standards promulgated pursuant to subsection (d) and applicable to a category or subcategory of sources emitting a
  pollutant (or pollutants) classified as a known, probable or possible human carcinogen do not reduce lifetime excess cancer
  risks to the individual most exposed to emissions from a source in the category or subcategory to less than one in one million,
  the Administrator shall promulgate standards under this subsection for such source category.


  (B) Nothing in subparagraph (A) or in any other provision of this section shall be construed as affecting, or applying to the
  Administrator's interpretation of this section, as in effect before November 15, 1990, and set forth in the Federal Register of
  September 14, 1989 (54 Federal Register 38044).


  (C) The Administrator shall determine whether or not to promulgate such standards and, if the Administrator decides to
  promulgate such standards, shall promulgate the standards 8 years after promulgation of the standards under subsection (d)
  for each source category or subcategory concerned. In the case of categories or subcategories for which standards under
  subsection (d) are required to be promulgated within 2 years after November 15, 1990, the Administrator shall have 9 years
  after promulgation of the standards under subsection (d) to make the determination under the preceding sentence and, if
  required, to promulgate the standards under this paragraph.


  (3) Effective date

  Any emission standard established pursuant to this subsection shall become effective upon promulgation.


  (4) Prohibition




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  No air pollutant to which a standard under this subsection applies may be emitted from any stationary source in violation of
  such standard, except that in the case of an existing source--


    (A) such standard shall not apply until 90 days after its effective date, and


    (B) the Administrator may grant a waiver permitting such source a period of up to 2 years after the effective date of a
    standard to comply with the standard if the Administrator finds that such period is necessary for the installation of controls
    and that steps will be taken during the period of the waiver to assure that the health of persons will be protected from
    imminent endangerment.


  (5) Area sources

  The Administrator shall not be required to conduct any review under this subsection or promulgate emission limitations under
  this subsection for any category or subcategory of area sources that is listed pursuant to subsection (c)(3) and for which an
  emission standard is promulgated pursuant to subsection (d)(5).


  (6) Unique chemical substances

  In establishing standards for the control of unique chemical substances of listed pollutants without CAS numbers under
  this subsection, the Administrator shall establish such standards with respect to the health and environmental effects of
  the substances actually emitted by sources and direct transformation byproducts of such emissions in the categories and
  subcategories.


(g) Modifications


  (1) Offsets


  (A) A physical change in, or change in the method of operation of, a major source which results in a greater than de minimis
  increase in actual emissions of a hazardous air pollutant shall not be considered a modification, if such increase in the quantity
  of actual emissions of any hazardous air pollutant from such source will be offset by an equal or greater decrease in the
  quantity of emissions of another hazardous air pollutant (or pollutants) from such source which is deemed more hazardous,
  pursuant to guidance issued by the Administrator under subparagraph (B). The owner or operator of such source shall submit
  a showing to the Administrator (or the State) that such increase has been offset under the preceding sentence.


  (B) The Administrator shall, after notice and opportunity for comment and not later than 18 months after November 15,
  1990, publish guidance with respect to implementation of this subsection. Such guidance shall include an identification, to the
  extent practicable, of the relative hazard to human health resulting from emissions to the ambient air of each of the pollutants
  listed under subsection (b) sufficient to facilitate the offset showing authorized by subparagraph (A). Such guidance shall not
  authorize offsets between pollutants where the increased pollutant (or more than one pollutant in a stream of pollutants) causes
  adverse effects to human health for which no safety threshold for exposure can be determined unless there are corresponding
  decreases in such types of pollutant(s).


  (2) Construction, reconstruction and modifications


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  (A) After the effective date of a permit program under subchapter V in any State, no person may modify a major source
  of hazardous air pollutants in such State, unless the Administrator (or the State) determines that the maximum achievable
  control technology emission limitation under this section for existing sources will be met. Such determination shall be made
  on a case-by-case basis where no applicable emissions limitations have been established by the Administrator.


  (B) After the effective date of a permit program under subchapter V in any State, no person may construct or reconstruct any
  major source of hazardous air pollutants, unless the Administrator (or the State) determines that the maximum achievable
  control technology emission limitation under this section for new sources will be met. Such determination shall be made on
  a case-by-case basis where no applicable emission limitations have been established by the Administrator.


  (3) Procedures for modifications

  The Administrator (or the State) shall establish reasonable procedures for assuring that the requirements applying to
  modifications under this section are reflected in the permit.


(h) Work practice standards and other requirements


  (1) In general

  For purposes of this section, if it is not feasible in the judgment of the Administrator to prescribe or enforce an emission
  standard for control of a hazardous air pollutant or pollutants, the Administrator may, in lieu thereof, promulgate a design,
  equipment, work practice, or operational standard, or combination thereof, which in the Administrator's judgment is consistent
  with the provisions of subsection (d) or (f). In the event the Administrator promulgates a design or equipment standard under
  this subsection, the Administrator shall include as part of such standard such requirements as will assure the proper operation
  and maintenance of any such element of design or equipment.


  (2) Definition

  For the purpose of this subsection, the phrase “not feasible to prescribe or enforce an emission standard” means any situation
  in which the Administrator determines that--


    (A) a hazardous air pollutant or pollutants cannot be emitted through a conveyance designed and constructed to emit or
    capture such pollutant, or that any requirement for, or use of, such a conveyance would be inconsistent with any Federal,
    State or local law, or


    (B) the application of measurement methodology to a particular class of sources is not practicable due to technological
    and economic limitations.


  (3) Alternative standard

  If after notice and opportunity for comment, the owner or operator of any source establishes to the satisfaction of the
  Administrator that an alternative means of emission limitation will achieve a reduction in emissions of any air pollutant


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  at least equivalent to the reduction in emissions of such pollutant achieved under the requirements of paragraph (1), the
  Administrator shall permit the use of such alternative by the source for purposes of compliance with this section with respect
  to such pollutant.


  (4) Numerical standard required

  Any standard promulgated under paragraph (1) shall be promulgated in terms of an emission standard whenever it is feasible
  to promulgate and enforce a standard in such terms.


(i) Schedule for compliance


  (1) Preconstruction and operating requirements

  After the effective date of any emission standard, limitation, or regulation under subsection (d), (f) or (h), no person may
  construct any new major source or reconstruct any existing major source subject to such emission standard, regulation or
  limitation unless the Administrator (or a State with a permit program approved under subchapter V) determines that such
  source, if properly constructed, reconstructed and operated, will comply with the standard, regulation or limitation.


  (2) Special rule

  Notwithstanding the requirements of paragraph (1), a new source which commences construction or reconstruction after a
  standard, limitation or regulation applicable to such source is proposed and before such standard, limitation or regulation
  is promulgated shall not be required to comply with such promulgated standard until the date 3 years after the date of
  promulgation if--


    (A) the promulgated standard, limitation or regulation is more stringent than the standard, limitation or regulation proposed;
    and


    (B) the source complies with the standard, limitation, or regulation as proposed during the 3-year period immediately after
    promulgation.


  (3) Compliance schedule for existing sources


  (A) After the effective date of any emissions standard, limitation or regulation promulgated under this section and applicable
  to a source, no person may operate such source in violation of such standard, limitation or regulation except, in the case of
  an existing source, the Administrator shall establish a compliance date or dates for each category or subcategory of existing
  sources, which shall provide for compliance as expeditiously as practicable, but in no event later than 3 years after the effective
  date of such standard, except as provided in subparagraph (B) and paragraphs (4) through (8).


  (B) The Administrator (or a State with a program approved under subchapter V) may issue a permit that grants an extension
  permitting an existing source up to 1 additional year to comply with standards under subsection (d) if such additional period is
  necessary for the installation of controls. An additional extension of up to 3 years may be added for mining waste operations,




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  if the 4-year compliance time is insufficient to dry and cover mining waste in order to reduce emissions of any pollutant
  listed under subsection (b).


  (4) Presidential exemption

  The President may exempt any stationary source from compliance with any standard or limitation under this section for a
  period of not more than 2 years if the President determines that the technology to implement such standard is not available and
  that it is in the national security interests of the United States to do so. An exemption under this paragraph may be extended
  for 1 or more additional periods, each period not to exceed 2 years. The President shall report to Congress with respect to
  each exemption (or extension thereof) made under this paragraph.


  (5) Early reduction


  (A) The Administrator (or a State acting pursuant to a permit program approved under subchapter V) shall issue a permit
  allowing an existing source, for which the owner or operator demonstrates that the source has achieved a reduction of 90
  per centum or more in emissions of hazardous air pollutants (95 per centum in the case of hazardous air pollutants which
  are particulates) from the source, to meet an alternative emission limitation reflecting such reduction in lieu of an emission
  limitation promulgated under subsection (d) for a period of 6 years from the compliance date for the otherwise applicable
  standard, provided that such reduction is achieved before the otherwise applicable standard under subsection (d) is first
  proposed. Nothing in this paragraph shall preclude a State from requiring reductions in excess of those specified in this
  subparagraph as a condition of granting the extension authorized by the previous sentence.


  (B) An existing source which achieves the reduction referred to in subparagraph (A) after the proposal of an applicable
  standard but before January 1, 1994, may qualify under subparagraph (A), if the source makes an enforceable commitment
  to achieve such reduction before the proposal of the standard. Such commitment shall be enforceable to the same extent as
  a regulation under this section.


  (C) The reduction shall be determined with respect to verifiable and actual emissions in a base year not earlier than calendar
  year 1987, provided that, there is no evidence that emissions in the base year are artificially or substantially greater than
  emissions in other years prior to implementation of emissions reduction measures. The Administrator may allow a source
  to use a baseline year of 1985 or 1986 provided that the source can demonstrate to the satisfaction of the Administrator that
  emissions data for the source reflects verifiable data based on information for such source, received by the Administrator
  prior to November 15, 1990, pursuant to an information request issued under section 7414 of this title.


  (D) For each source granted an alternative emission limitation under this paragraph there shall be established by a permit
  issued pursuant to subchapter V an enforceable emission limitation for hazardous air pollutants reflecting the reduction which
  qualifies the source for an alternative emission limitation under this paragraph. An alternative emission limitation under this
  paragraph shall not be available with respect to standards or requirements promulgated pursuant to subsection (f) and the
  Administrator shall, for the purpose of determining whether a standard under subsection (f) is necessary, review emissions
  from sources granted an alternative emission limitation under this paragraph at the same time that other sources in the category
  or subcategory are reviewed.


  (E) With respect to pollutants for which high risks of adverse public health effects may be associated with exposure to small
  quantities including, but not limited to, chlorinated dioxins and furans, the Administrator shall by regulation limit the use of



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  offsetting reductions in emissions of other hazardous air pollutants from the source as counting toward the 90 per centum
  reduction in such high-risk pollutants qualifying for an alternative emissions limitation under this paragraph.


  (6) Other reductions

  Notwithstanding the requirements of this section, no existing source that has installed--


    (A) best available control technology (as defined in section 7479(3) of this title), or


    (B) technology required to meet a lowest achievable emission rate (as defined in section 7501 of this title),

    prior to the promulgation of a standard under this section applicable to such source and the same pollutant (or stream of
    pollutants) controlled pursuant to an action described in subparagraph (A) or (B) shall be required to comply with such
    standard under this section until the date 5 years after the date on which such installation or reduction has been achieved,
    as determined by the Administrator. The Administrator may issue such rules and guidance as are necessary to implement
    this paragraph.


  (7) Extension for new sources

  A source for which construction or reconstruction is commenced after the date an emission standard applicable to such source
  is proposed pursuant to subsection (d) but before the date an emission standard applicable to such source is proposed pursuant
  to subsection (f) shall not be required to comply with the emission standard under subsection (f) until the date 10 years after
  the date construction or reconstruction is commenced.


  (8) Coke ovens


  (A) Any coke oven battery that complies with the emission limitations established under subsection (d)(8)(C), subparagraph
  (B), and subparagraph (C), and complies with the provisions of subparagraph (E), shall not be required to achieve emission
  limitations promulgated under subsection (f) until January 1, 2020.


  (B)(i) Not later than December 31, 1992, the Administrator shall promulgate emission limitations for coke oven emissions
  from coke oven batteries. Notwithstanding paragraph (3) of this subsection, the compliance date for such emission limitations
  for existing coke oven batteries shall be January 1, 1998. Such emission limitations shall reflect the lowest achievable emission
  rate as defined in section 7501 of this title for a coke oven battery that is rebuilt or a replacement at a coke oven plant for an
  existing battery. Such emission limitations shall be no less stringent than--


    (I) 3 per centum leaking doors (5 per centum leaking doors for six meter batteries);


    (II) 1 per centum leaking lids;


    (III) 4 per centum leaking offtakes; and




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    (IV) 16 seconds visible emissions per charge,

    with an exclusion for emissions during the period after the closing of self-sealing oven doors (or the total mass emissions
    equivalent). The rulemaking in which such emission limitations are promulgated shall also establish an appropriate
    measurement methodology for determining compliance with such emission limitations, and shall establish such emission
    limitations in terms of an equivalent level of mass emissions reduction from a coke oven battery, unless the Administrator
    finds that such a mass emissions standard would not be practicable or enforceable. Such measurement methodology, to
    the extent it measures leaking doors, shall take into consideration alternative test methods that reflect the best technology
    and practices actually applied in the affected industries, and shall assure that the final test methods are consistent with the
    performance of such best technology and practices.


  (ii) If the Administrator fails to promulgate such emission limitations under this subparagraph prior to the effective date of
  such emission limitations, the emission limitations applicable to coke oven batteries under this subparagraph shall be--


    (I) 3 per centum leaking doors (5 per centum leaking doors for six meter batteries);


    (II) 1 per centum leaking lids;


    (III) 4 per centum leaking offtakes; and


    (IV) 16 seconds visible emissions per charge,

    or the total mass emissions equivalent (if the total mass emissions equivalent is determined to be practicable and
    enforceable), with no exclusion for emissions during the period after the closing of self-sealing oven doors.


  (C) Not later than January 1, 2007, the Administrator shall review the emission limitations promulgated under subparagraph
  (B) and revise, as necessary, such emission limitations to reflect the lowest achievable emission rate as defined in section
  7501 of this title at the time for a coke oven battery that is rebuilt or a replacement at a coke oven plant for an existing
  battery. Such emission limitations shall be no less stringent than the emission limitation promulgated under subparagraph
  (B). Notwithstanding paragraph (2) of this subsection, the compliance date for such emission limitations for existing coke
  oven batteries shall be January 1, 2010.


  (D) At any time prior to January 1, 1998, the owner or operator of any coke oven battery may elect to comply with emission
  limitations promulgated under subsection (f) by the date such emission limitations would otherwise apply to such coke
  oven battery, in lieu of the emission limitations and the compliance dates provided under subparagraphs (B) and (C) of
  this paragraph. Any such owner or operator shall be legally bound to comply with such emission limitations promulgated
  under subsection (f) with respect to such coke oven battery as of January 1, 2003. If no such emission limitations have been
  promulgated for such coke oven battery, the Administrator shall promulgate such emission limitations in accordance with
  subsection (f) for such coke oven battery.


  (E) Coke oven batteries qualifying for an extension under subparagraph (A) shall make available not later than January 1,
  2000, to the surrounding communities the results of any risk assessment performed by the Administrator to determine the
  appropriate level of any emission standard established by the Administrator pursuant to subsection (f).


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  (F) Notwithstanding the provisions of this section, reconstruction of any source of coke oven emissions qualifying for an
  extension under this paragraph shall not subject such source to emission limitations under subsection (f) more stringent than
  those established under subparagraphs (B) and (C) until January 1, 2020. For the purposes of this subparagraph, the term
  “reconstruction” includes the replacement of existing coke oven battery capacity with new coke oven batteries of comparable
  or lower capacity and lower potential emissions.


(j) Equivalent emission limitation by permit


  (1) Effective date

  The requirements of this subsection shall apply in each State beginning on the effective date of a permit program established
  pursuant to subchapter V in such State, but not prior to the date 42 months after November 15, 1990.


  (2) Failure to promulgate a standard

  In the event that the Administrator fails to promulgate a standard for a category or subcategory of major sources by the date
  established pursuant to subsection (e)(1) and (3), and beginning 18 months after such date (but not prior to the effective date
  of a permit program under subchapter V), the owner or operator of any major source in such category or subcategory shall
  submit a permit application under paragraph (3) and such owner or operator shall also comply with paragraphs (5) and (6).


  (3) Applications

  By the date established by paragraph (2), the owner or operator of a major source subject to this subsection shall file an
  application for a permit. If the owner or operator of a source has submitted a timely and complete application for a permit
  required by this subsection, any failure to have a permit shall not be a violation of paragraph (2), unless the delay in final
  action is due to the failure of the applicant to timely submit information required or requested to process the application. The
  Administrator shall not later than 18 months after November 15, 1990, and after notice and opportunity for comment, establish
  requirements for applications under this subsection including a standard application form and criteria for determining in a
  timely manner the completeness of applications.


  (4) Review and approval

  Permit applications submitted under this subsection shall be reviewed and approved or disapproved according to the
  provisions of section 7661d of this title. In the event that the Administrator (or the State) disapproves a permit application
  submitted under this subsection or determines that the application is incomplete, the applicant shall have up to 6 months to
  revise the application to meet the objections of the Administrator (or the State).


  (5) Emission limitation

  The permit shall be issued pursuant to subchapter V and shall contain emission limitations for the hazardous air pollutants
  subject to regulation under this section and emitted by the source that the Administrator (or the State) determines, on a case-
  by-case basis, to be equivalent to the limitation that would apply to such source if an emission standard had been promulgated
  in a timely manner under subsection (d). In the alternative, if the applicable criteria are met, the permit may contain an



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  emissions limitation established according to the provisions of subsection (i)(5). For purposes of the preceding sentence, the
  reduction required by subsection (i)(5)(A) shall be achieved by the date on which the relevant standard should have been
  promulgated under subsection (d). No such pollutant may be emitted in amounts exceeding an emission limitation contained
  in a permit immediately for new sources and, as expeditiously as practicable, but not later than the date 3 years after the
  permit is issued for existing sources or such other compliance date as would apply under subsection (i).


  (6) Applicability of subsequent standards

  If the Administrator promulgates an emission standard that is applicable to the major source prior to the date on which a
  permit application is approved, the emission limitation in the permit shall reflect the promulgated standard rather than the
  emission limitation determined pursuant to paragraph (5), provided that the source shall have the compliance period provided
  under subsection (i). If the Administrator promulgates a standard under subsection (d) that would be applicable to the source
  in lieu of the emission limitation established by permit under this subsection after the date on which the permit has been
  issued, the Administrator (or the State) shall revise such permit upon the next renewal to reflect the standard promulgated
  by the Administrator providing such source a reasonable time to comply, but no longer than 8 years after such standard is
  promulgated or 8 years after the date on which the source is first required to comply with the emissions limitation established
  by paragraph (5), whichever is earlier.


(k) Area source program


  (1) Findings and purpose

  The Congress finds that emissions of hazardous air pollutants from area sources may individually, or in the aggregate, present
  significant risks to public health in urban areas. Considering the large number of persons exposed and the risks of carcinogenic
  and other adverse health effects from hazardous air pollutants, ambient concentrations characteristic of large urban areas
  should be reduced to levels substantially below those currently experienced. It is the purpose of this subsection to achieve
  a substantial reduction in emissions of hazardous air pollutants from area sources and an equivalent reduction in the public
  health risks associated with such sources including a reduction of not less than 75 per centum in the incidence of cancer
  attributable to emissions from such sources.


  (2) Research program

  The Administrator shall, after consultation with State and local air pollution control officials, conduct a program of research
  with respect to sources of hazardous air pollutants in urban areas and shall include within such program--


    (A) ambient monitoring for a broad range of hazardous air pollutants (including, but not limited to, volatile organic
    compounds, metals, pesticides and products of incomplete combustion) in a representative number of urban locations;


    (B) analysis to characterize the sources of such pollution with a focus on area sources and the contribution that such sources
    make to public health risks from hazardous air pollutants; and


    (C) consideration of atmospheric transformation and other factors which can elevate public health risks from such
    pollutants.




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    Health effects considered under this program shall include, but not be limited to, carcinogenicity, mutagenicity,
    teratogenicity, neurotoxicity, reproductive dysfunction and other acute and chronic effects including the role of such
    pollutants as precursors of ozone or acid aerosol formation. The Administrator shall report the preliminary results of such
    research not later than 3 years after November 15, 1990.


  (3) National strategy


  (A) Considering information collected pursuant to the monitoring program authorized by paragraph (2), the Administrator
  shall, not later than 5 years after November 15, 1990, and after notice and opportunity for public comment, prepare and
  transmit to the Congress a comprehensive strategy to control emissions of hazardous air pollutants from area sources in urban
  areas.


  (B) The strategy shall--


    (i) identify not less than 30 hazardous air pollutants which, as the result of emissions from area sources, present the greatest
    threat to public health in the largest number of urban areas and that are or will be listed pursuant to subsection (b), and


    (ii) identify the source categories or subcategories emitting such pollutants that are or will be listed pursuant to subsection
    (c). When identifying categories and subcategories of sources under this subparagraph, the Administrator shall assure
    that sources accounting for 90 per centum or more of the aggregate emissions of each of the 30 identified hazardous air
    pollutants are subject to standards pursuant to subsection (d).


  (C) The strategy shall include a schedule of specific actions to substantially reduce the public health risks posed by the
  release of hazardous air pollutants from area sources that will be implemented by the Administrator under the authority of
  this or other laws (including, but not limited to, the Toxic Substances Control Act, the Federal Insecticide, Fungicide and
  Rodenticide Act and the Resource Conservation and Recovery Act) or by the States. The strategy shall achieve a reduction
  in the incidence of cancer attributable to exposure to hazardous air pollutants emitted by stationary sources of not less than
  75 per centum, considering control of emissions of hazardous air pollutants from all stationary sources and resulting from
  measures implemented by the Administrator or by the States under this or other laws.


  (D) The strategy may also identify research needs in monitoring, analytical methodology, modeling or pollution control
  techniques and recommendations for changes in law that would further the goals and objectives of this subsection.


  (E) Nothing in this subsection shall be interpreted to preclude or delay implementation of actions with respect to area sources
  of hazardous air pollutants under consideration pursuant to this or any other law and that may be promulgated before the
  strategy is prepared.


  (F) The Administrator shall implement the strategy as expeditiously as practicable assuring that all sources are in compliance
  with all requirements not later than 9 years after November 15, 1990.


  (G) As part of such strategy the Administrator shall provide for ambient monitoring and emissions modeling in urban areas
  as appropriate to demonstrate that the goals and objectives of the strategy are being met.



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  (4) Areawide activities

  In addition to the national urban air toxics strategy authorized by paragraph (3), the Administrator shall also encourage
  and support areawide strategies developed by State or local air pollution control agencies that are intended to reduce risks
  from emissions by area sources within a particular urban area. From the funds available for grants under this section, the
  Administrator shall set aside not less than 10 per centum to support areawide strategies addressing hazardous air pollutants
  emitted by area sources and shall award such funds on a demonstration basis to those States with innovative and effective
  strategies. At the request of State or local air pollution control officials, the Administrator shall prepare guidelines for control
  technologies or management practices which may be applicable to various categories or subcategories of area sources.


  (5) Report

  The Administrator shall report to the Congress at intervals not later than 8 and 12 years after November 15, 1990, on actions
  taken under this subsection and other parts of this chapter to reduce the risk to public health posed by the release of hazardous
  air pollutants from area sources. The reports shall also identify specific metropolitan areas that continue to experience high
  risks to public health as the result of emissions from area sources.


(l) State programs


  (1) In general

  Each State may develop and submit to the Administrator for approval a program for the implementation and enforcement
  (including a review of enforcement delegations previously granted) of emission standards and other requirements for air
  pollutants subject to this section or requirements for the prevention and mitigation of accidental releases pursuant to subsection
  (r). A program submitted by a State under this subsection may provide for partial or complete delegation of the Administrator's
  authorities and responsibilities to implement and enforce emissions standards and prevention requirements but shall not
  include authority to set standards less stringent than those promulgated by the Administrator under this chapter.


  (2) Guidance

  Not later than 12 months after November 15, 1990, the Administrator shall publish guidance that would be useful to the
  States in developing programs for submittal under this subsection. The guidance shall also provide for the registration of
  all facilities producing, processing, handling or storing any substance listed pursuant to subsection (r) in amounts greater
  than the threshold quantity. The Administrator shall include as an element in such guidance an optional program begun in
  1986 for the review of high-risk point sources of air pollutants including, but not limited to, hazardous air pollutants listed
  pursuant to subsection (b).


  (3) Technical assistance

  The Administrator shall establish and maintain an air toxics clearinghouse and center to provide technical information and
  assistance to State and local agencies and, on a cost recovery basis, to others on control technology, health and ecological risk
  assessment, risk analysis, ambient monitoring and modeling, and emissions measurement and monitoring. The Administrator
  shall use the authority of section 7403 of this title to examine methods for preventing, measuring, and controlling emissions
  and evaluating associated health and ecological risks. Where appropriate, such activity shall be conducted with not-for-profit



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  organizations. The Administrator may conduct research on methods for preventing, measuring and controlling emissions
  and evaluating associated health and environment risks. All information collected under this paragraph shall be available
  to the public.


  (4) Grants

  Upon application of a State, the Administrator may make grants, subject to such terms and conditions as the Administrator
  deems appropriate, to such State for the purpose of assisting the State in developing and implementing a program for submittal
  and approval under this subsection. Programs assisted under this paragraph may include program elements addressing air
  pollutants or extremely hazardous substances other than those specifically subject to this section. Grants under this paragraph
  may include support for high-risk point source review as provided in paragraph (2) and support for the development and
  implementation of areawide area source programs pursuant to subsection (k).


  (5) Approval or disapproval

  Not later than 180 days after receiving a program submitted by a State, and after notice and opportunity for public comment,
  the Administrator shall either approve or disapprove such program. The Administrator shall disapprove any program
  submitted by a State, if the Administrator determines that--


    (A) the authorities contained in the program are not adequate to assure compliance by all sources within the State with
    each applicable standard, regulation or requirement established by the Administrator under this section;


    (B) adequate authority does not exist, or adequate resources are not available, to implement the program;


    (C) the schedule for implementing the program and assuring compliance by affected sources is not sufficiently expeditious;
    or


    (D) the program is otherwise not in compliance with the guidance issued by the Administrator under paragraph (2) or is
    not likely to satisfy, in whole or in part, the objectives of this chapter.

    If the Administrator disapproves a State program, the Administrator shall notify the State of any revisions or modifications
    necessary to obtain approval. The State may revise and resubmit the proposed program for review and approval pursuant
    to the provisions of this subsection.


  (6) Withdrawal

  Whenever the Administrator determines, after public hearing, that a State is not administering and enforcing a program
  approved pursuant to this subsection in accordance with the guidance published pursuant to paragraph (2) or the requirements
  of paragraph (5), the Administrator shall so notify the State and, if action which will assure prompt compliance is not taken
  within 90 days, the Administrator shall withdraw approval of the program. The Administrator shall not withdraw approval
  of any program unless the State shall have been notified and the reasons for withdrawal shall have been stated in writing
  and made public.




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  (7) Authority to enforce

  Nothing in this subsection shall prohibit the Administrator from enforcing any applicable emission standard or requirement
  under this section.


  (8) Local program

  The Administrator may, after notice and opportunity for public comment, approve a program developed and submitted by
  a local air pollution control agency (after consultation with the State) pursuant to this subsection and any such agency
  implementing an approved program may take any action authorized to be taken by a State under this section.


  (9) Permit authority

  Nothing in this subsection shall affect the authorities and obligations of the Administrator or the State under subchapter V.


(m) Atmospheric deposition to Great Lakes and coastal waters


  (1) Deposition assessment

  The Administrator, in cooperation with the Under Secretary of Commerce for Oceans and Atmosphere, shall conduct a
  program to identify and assess the extent of atmospheric deposition of hazardous air pollutants (and in the discretion of the
  Administrator, other air pollutants) to the Great Lakes, the Chesapeake Bay, Lake Champlain and coastal waters. As part of
  such program, the Administrator shall--


    (A) monitor the Great Lakes, the Chesapeake Bay, Lake Champlain and coastal waters, including monitoring of the Great
    Lakes through the monitoring network established pursuant to paragraph (2) of this subsection and designing and deploying
    an atmospheric monitoring network for coastal waters pursuant to paragraph (4);


    (B) investigate the sources and deposition rates of atmospheric deposition of air pollutants (and their atmospheric
    transformation precursors);


    (C) conduct research to develop and improve monitoring methods and to determine the relative contribution of atmospheric
    pollutants to total pollution loadings to the Great Lakes, the Chesapeake Bay, Lake Champlain, and coastal waters;


    (D) evaluate any adverse effects to public health or the environment caused by such deposition (including effects resulting
    from indirect exposure pathways) and assess the contribution of such deposition to violations of water quality standards
    established pursuant to the Federal Water Pollution Control Act and drinking water standards established pursuant to the
    Safe Drinking Water Act; and


    (E) sample for such pollutants in biota, fish, and wildlife of the Great Lakes, the Chesapeake Bay, Lake Champlain and
    coastal waters and characterize the sources of such pollutants.




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  (2) Great Lakes monitoring network

  The Administrator shall oversee, in accordance with Annex 15 of the Great Lakes Water Quality Agreement, the establishment
  and operation of a Great Lakes atmospheric deposition network to monitor atmospheric deposition of hazardous air pollutants
  (and in the Administrator's discretion, other air pollutants) to the Great Lakes.


    (A) As part of the network provided for in this paragraph, and not later than December 31, 1991, the Administrator shall
    establish in each of the 5 Great Lakes at least 1 facility capable of monitoring the atmospheric deposition of hazardous
    air pollutants in both dry and wet conditions.


    (B) The Administrator shall use the data provided by the network to identify and track the movement of hazardous
    air pollutants through the Great Lakes, to determine the portion of water pollution loadings attributable to atmospheric
    deposition of such pollutants, and to support development of remedial action plans and other management plans as required
    by the Great Lakes Water Quality Agreement.


    (C) The Administrator shall assure that the data collected by the Great Lakes atmospheric deposition monitoring network
    is in a format compatible with databases sponsored by the International Joint Commission, Canada, and the several States
    of the Great Lakes region.


  (3) Monitoring for the Chesapeake Bay and Lake Champlain

  The Administrator shall establish at the Chesapeake Bay and Lake Champlain atmospheric deposition stations to monitor
  deposition of hazardous air pollutants (and in the Administrator's discretion, other air pollutants) within the Chesapeake Bay
  and Lake Champlain watersheds. The Administrator shall determine the role of air deposition in the pollutant loadings of
  the Chesapeake Bay and Lake Champlain, investigate the sources of air pollutants deposited in the watersheds, evaluate the
  health and environmental effects of such pollutant loadings, and shall sample such pollutants in biota, fish and wildlife within
  the watersheds, as necessary to characterize such effects.


  (4) Monitoring for coastal waters

  The Administrator shall design and deploy atmospheric deposition monitoring networks for coastal waters and their
  watersheds and shall make any information collected through such networks available to the public. As part of this effort, the
  Administrator shall conduct research to develop and improve deposition monitoring methods, and to determine the relative
  contribution of atmospheric pollutants to pollutant loadings. For purposes of this subsection, “coastal waters” shall mean
  estuaries selected pursuant to section 320(a)(2)(A) of the Federal Water Pollution Control Act or listed pursuant to section
  320(a)(2)(B) of such Act or estuarine research reserves designated pursuant to section 1461 of Title 16.


  (5) Report

  Within 3 years of November 15, 1990, and biennially thereafter, the Administrator, in cooperation with the Under Secretary
  of Commerce for Oceans and Atmosphere, shall submit to the Congress a report on the results of any monitoring, studies,
  and investigations conducted pursuant to this subsection. Such report shall include, at a minimum, an assessment of--




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    (A) the contribution of atmospheric deposition to pollution loadings in the Great Lakes, the Chesapeake Bay, Lake
    Champlain and coastal waters;


    (B) the environmental and public health effects of any pollution which is attributable to atmospheric deposition to the
    Great Lakes, the Chesapeake Bay, Lake Champlain and coastal waters;


    (C) the source or sources of any pollution to the Great Lakes, the Chesapeake Bay, Lake Champlain and coastal waters
    which is attributable to atmospheric deposition;


    (D) whether pollution loadings in the Great Lakes, the Chesapeake Bay, Lake Champlain or coastal waters cause or
    contribute to exceedances of drinking water standards pursuant to the Safe Drinking Water Act or water quality standards
    pursuant to the Federal Water Pollution Control Act or, with respect to the Great Lakes, exceedances of the specific
    objectives of the Great Lakes Water Quality Agreement; and


    (E) a description of any revisions of the requirements, standards, and limitations pursuant to this chapter and other
    applicable Federal laws as are necessary to assure protection of human health and the environment.


  (6) Additional regulation

  As part of the report to Congress, the Administrator shall determine whether the other provisions of this section are adequate
  to prevent serious adverse effects to public health and serious or widespread environmental effects, including such effects
  resulting from indirect exposure pathways, associated with atmospheric deposition to the Great Lakes, the Chesapeake
  Bay, Lake Champlain and coastal waters of hazardous air pollutants (and their atmospheric transformation products). The
  Administrator shall take into consideration the tendency of such pollutants to bioaccumulate. Within 5 years after November
  15, 1990, the Administrator shall, based on such report and determination, promulgate, in accordance with this section, such
  further emission standards or control measures as may be necessary and appropriate to prevent such effects, including effects
  due to bioaccumulation and indirect exposure pathways. Any requirements promulgated pursuant to this paragraph with
  respect to coastal waters shall only apply to the coastal waters of the States which are subject to section 7627(a) of this title.


(n) Other provisions


  (1) Electric utility steam generating units


  (A) The Administrator shall perform a study of the hazards to public health reasonably anticipated to occur as a result
  of emissions by electric utility steam generating units of pollutants listed under subsection (b) after imposition of the
  requirements of this chapter. The Administrator shall report the results of this study to the Congress within 3 years after
  November 15, 1990. The Administrator shall develop and describe in the Administrator's report to Congress alternative
  control strategies for emissions which may warrant regulation under this section. The Administrator shall regulate electric
  utility steam generating units under this section, if the Administrator finds such regulation is appropriate and necessary after
  considering the results of the study required by this subparagraph.




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  (B) The Administrator shall conduct, and transmit to the Congress not later than 4 years after November 15, 1990, a study
  of mercury emissions from electric utility steam generating units, municipal waste combustion units, and other sources,
  including area sources. Such study shall consider the rate and mass of such emissions, the health and environmental effects
  of such emissions, technologies which are available to control such emissions, and the costs of such technologies.


  (C) The National Institute of Environmental Health Sciences shall conduct, and transmit to the Congress not later than 3
  years after November 15, 1990, a study to determine the threshold level of mercury exposure below which adverse human
  health effects are not expected to occur. Such study shall include a threshold for mercury concentrations in the tissue of fish
  which may be consumed (including consumption by sensitive populations) without adverse effects to public health.


  (2) Coke oven production technology study


  (A) The Secretary of the Department of Energy and the Administrator shall jointly undertake a 6-year study to assess
  coke oven production emission control technologies and to assist in the development and commercialization of technically
  practicable and economically viable control technologies which have the potential to significantly reduce emissions of
  hazardous air pollutants from coke oven production facilities. In identifying control technologies, the Secretary and the
  Administrator shall consider the range of existing coke oven operations and battery design and the availability of sources of
  materials for such coke ovens as well as alternatives to existing coke oven production design.


  (B) The Secretary and the Administrator are authorized to enter into agreements with persons who propose to develop, install
  and operate coke production emission control technologies which have the potential for significant emissions reductions
  of hazardous air pollutants provided that Federal funds shall not exceed 50 per centum of the cost of any project assisted
  pursuant to this paragraph.


  (C) On completion of the study, the Secretary shall submit to Congress a report on the results of the study and shall make
  recommendations to the Administrator identifying practicable and economically viable control technologies for coke oven
  production facilities to reduce residual risks remaining after implementation of the standard under subsection (d).


  (D) There are authorized to be appropriated $5,000,000 for each of the fiscal years 1992 through 1997 to carry out the program
  authorized by this paragraph.


  (3) Publicly owned treatment works

  The Administrator may conduct, in cooperation with the owners and operators of publicly owned treatment works, studies to
  characterize emissions of hazardous air pollutants emitted by such facilities, to identify industrial, commercial and residential
  discharges that contribute to such emissions and to demonstrate control measures for such emissions. When promulgating any
  standard under this section applicable to publicly owned treatment works, the Administrator may provide for control measures
  that include pretreatment of discharges causing emissions of hazardous air pollutants and process or product substitutions or
  limitations that may be effective in reducing such emissions. The Administrator may prescribe uniform sampling, modeling
  and risk assessment methods for use in implementing this subsection.


  (4) Oil and gas wells; pipeline facilities




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  (A) Notwithstanding the provisions of subsection (a), emissions from any oil or gas exploration or production well (with its
  associated equipment) and emissions from any pipeline compressor or pump station shall not be aggregated with emissions
  from other similar units, whether or not such units are in a contiguous area or under common control, to determine whether
  such units or stations are major sources, and in the case of any oil or gas exploration or production well (with its associated
  equipment), such emissions shall not be aggregated for any purpose under this section.


  (B) The Administrator shall not list oil and gas production wells (with its associated equipment) as an area source category
  under subsection (c), except that the Administrator may establish an area source category for oil and gas production wells
  located in any metropolitan statistical area or consolidated metropolitan statistical area with a population in excess of 1
  million, if the Administrator determines that emissions of hazardous air pollutants from such wells present more than a
  negligible risk of adverse effects to public health.


  (5) Hydrogen sulfide

  The Administrator is directed to assess the hazards to public health and the environment resulting from the emission of
  hydrogen sulfide associated with the extraction of oil and natural gas resources. To the extent practicable, the assessment
  shall build upon and not duplicate work conducted for an assessment pursuant to section 8002(m) of the Solid Waste Disposal
  Act and shall reflect consultation with the States. The assessment shall include a review of existing State and industry control
  standards, techniques and enforcement. The Administrator shall report to the Congress within 24 months after November
  15, 1990, with the findings of such assessment, together with any recommendations, and shall, as appropriate, develop and
  implement a control strategy for emissions of hydrogen sulfide to protect human health and the environment, based on the
  findings of such assessment, using authorities under this chapter including sections 3 7411 of this title and this section.


  (6) Hydrofluoric acid

  Not later than 2 years after November 15, 1990, the Administrator shall, for those regions of the country which do not have
  comprehensive health and safety regulations with respect to hydrofluoric acid, complete a study of the potential hazards
  of hydrofluoric acid and the uses of hydrofluoric acid in industrial and commercial applications to public health and the
  environment considering a range of events including worst-case accidental releases and shall make recommendations to the
  Congress for the reduction of such hazards, if appropriate.


  (7) RCRA facilities

  In the case of any category or subcategory of sources the air emissions of which are regulated under subtitle C of the Solid
  Waste Disposal Act, the Administrator shall take into account any regulations of such emissions which are promulgated under
  such subtitle and shall, to the maximum extent practicable and consistent with the provisions of this section, ensure that the
  requirements of such subtitle and this section are consistent.


(o) National Academy of Sciences study


  (1) Request of the Academy

  Within 3 months of November 15, 1990, the Administrator shall enter into appropriate arrangements with the National
  Academy of Sciences to conduct a review of--



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    (A) risk assessment methodology used by the Environmental Protection Agency to determine the carcinogenic risk
    associated with exposure to hazardous air pollutants from source categories and subcategories subject to the requirements
    of this section; and


    (B) improvements in such methodology.


  (2) Elements to be studied

  In conducting such review, the National Academy of Sciences should consider, but not be limited to, the following--


    (A) the techniques used for estimating and describing the carcinogenic potency to humans of hazardous air pollutants; and


    (B) the techniques used for estimating exposure to hazardous air pollutants (for hypothetical and actual maximally exposed
    individuals as well as other exposed individuals).


  (3) Other health effects of concern

  To the extent practicable, the Academy shall evaluate and report on the methodology for assessing the risk of adverse human
  health effects other than cancer for which safe thresholds of exposure may not exist, including, but not limited to, inheritable
  genetic mutations, birth defects, and reproductive dysfunctions.


  (4) Report

  A report on the results of such review shall be submitted to the Senate Committee on Environment and Public Works, the
  House Committee on Energy and Commerce, the Risk Assessment and Management Commission established by section 303
  of the Clean Air Act Amendments of 1990 and the Administrator not later than 30 months after November 15, 1990.


  (5) Assistance

  The Administrator shall assist the Academy in gathering any information the Academy deems necessary to carry out this
  subsection. The Administrator may use any authority under this chapter to obtain information from any person, and to require
  any person to conduct tests, keep and produce records, and make reports respecting research or other activities conducted by
  such person as necessary to carry out this subsection.


  (6) Authorization

  Of the funds authorized to be appropriated to the Administrator by this chapter, such amounts as are required shall be available
  to carry out this subsection.


  (7) Guidelines for carcinogenic risk assessment




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  The Administrator shall consider, but need not adopt, the recommendations contained in the report of the National Academy
  of Sciences prepared pursuant to this subsection and the views of the Science Advisory Board, with respect to such
  report. Prior to the promulgation of any standard under subsection (f), and after notice and opportunity for comment, the
  Administrator shall publish revised Guidelines for Carcinogenic Risk Assessment or a detailed explanation of the reasons that
  any recommendations contained in the report of the National Academy of Sciences will not be implemented. The publication
  of such revised Guidelines shall be a final Agency action for purposes of section 7607 of this title.


(p) Mickey Leland National Urban Air Toxics Research Center


  (1) Establishment

  The Administrator shall oversee the establishment of a National Urban Air Toxics Research Center, to be located at a
  university, a hospital, or other facility capable of undertaking and maintaining similar research capabilities in the areas
  of epidemiology, oncology, toxicology, pulmonary medicine, pathology, and biostatistics. The center shall be known as
  the Mickey Leland National Urban Air Toxics Research Center. The geographic site of the National Urban Air Toxics
  Research Center should be further directed to Harris County, Texas, in order to take full advantage of the well developed
  scientific community presence on-site at the Texas Medical Center as well as the extensive data previously compiled for the
  comprehensive monitoring system currently in place.


  (2) Board of Directors

  The National Urban Air Toxics Research Center shall be governed by a Board of Directors to be comprised of 9 members,
  the appointment of which shall be allocated pro rata among the Speaker of the House, the Majority Leader of the Senate and
  the President. The members of the Board of Directors shall be selected based on their respective academic and professional
  backgrounds and expertise in matters relating to public health, environmental pollution and industrial hygiene. The duties
  of the Board of Directors shall be to determine policy and research guidelines, submit views from center sponsors and the
  public and issue periodic reports of center findings and activities.


  (3) Scientific Advisory Panel

  The Board of Directors shall be advised by a Scientific Advisory Panel, the 13 members of which shall be appointed by
  the Board, and to include eminent members of the scientific and medical communities. The Panel membership may include
  scientists with relevant experience from the National Institute of Environmental Health Sciences, the Center for Disease
  Control, the Environmental Protection Agency, the National Cancer Institute, and others, and the Panel shall conduct peer
  review and evaluate research results. The Panel shall assist the Board in developing the research agenda, reviewing proposals
  and applications, and advise on the awarding of research grants.


  (4) Funding

  The center shall be established and funded with both Federal and private source funds.


(q) Savings provision


  (1) Standards previously promulgated



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  Any standard under this section in effect before the date of enactment of the Clean Air Act Amendments of 1990 shall
  remain in force and effect after such date unless modified as provided in this section before the date of enactment of such
  Amendments or under such Amendments. Except as provided in paragraph (4), any standard under this section which has
  been promulgated, but has not taken effect, before such date shall not be affected by such Amendments unless modified as
  provided in this section before such date or under such Amendments. Each such standard shall be reviewed and, if appropriate,
  revised, to comply with the requirements of subsection (d) within 10 years after the date of enactment of the Clean Air Act
  Amendments of 1990. If a timely petition for review of any such standard under section 7607 of this title is pending on such
  date of enactment, the standard shall be upheld if it complies with this section as in effect before that date. If any such standard
  is remanded to the Administrator, the Administrator may in the Administrator's discretion apply either the requirements of
  this section, or those of this section as in effect before the date of enactment of the Clean Air Act Amendments of 1990.


  (2) Special rule

  Notwithstanding paragraph (1), no standard shall be established under this section, as amended by the Clean Air Act
  Amendments of 1990, for radionuclide emissions from (A) elemental phosphorous plants, (B) grate calcination elemental
  phosphorous plants, (C) phosphogypsum stacks, or (D) any subcategory of the foregoing. This section, as in effect prior to
  the date of enactment of the Clean Air Act Amendments of 1990, shall remain in effect for radionuclide emissions from
  such plants and stacks.


  (3) Other categories

  Notwithstanding paragraph (1), this section, as in effect prior to the date of enactment of the Clean Air Act Amendments of
  1990, shall remain in effect for radionuclide emissions from non-Department of Energy Federal facilities that are not licensed
  by the Nuclear Regulatory Commission, coal-fired utility and industrial boilers, underground uranium mines, surface uranium
  mines, and disposal of uranium mill tailings piles, unless the Administrator, in the Administrator's discretion, applies the
  requirements of this section as modified by the Clean Air Act Amendments of 1990 to such sources of radionuclides.


  (4) Medical facilities

  Notwithstanding paragraph (1), no standard promulgated under this section prior to November 15, 1990, with respect to
  medical research or treatment facilities shall take effect for two years following November 15, 1990, unless the Administrator
  makes a determination pursuant to a rulemaking under subsection (d)(9). If the Administrator determines that the regulatory
  program established by the Nuclear Regulatory Commission for such facilities does not provide an ample margin of safety
  to protect public health, the requirements of this section shall fully apply to such facilities. If the Administrator determines
  that such regulatory program does provide an ample margin of safety to protect the public health, the Administrator is not
  required to promulgate a standard under this section for such facilities, as provided in subsection (d)(9).


(r) Prevention of accidental releases


  (1) Purpose and general duty

  It shall be the objective of the regulations and programs authorized under this subsection to prevent the accidental release
  and to minimize the consequences of any such release of any substance listed pursuant to paragraph (3) or any other
  extremely hazardous substance. The owners and operators of stationary sources producing, processing, handling or storing
  such substances have a general duty in the same manner and to the same extent as section 654 of Title 29 to identify hazards


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  which may result from such releases using appropriate hazard assessment techniques, to design and maintain a safe facility
  taking such steps as are necessary to prevent releases, and to minimize the consequences of accidental releases which do
  occur. For purposes of this paragraph, the provisions of section 7604 of this title shall not be available to any person or
  otherwise be construed to be applicable to this paragraph. Nothing in this section shall be interpreted, construed, implied or
  applied to create any liability or basis for suit for compensation for bodily injury or any other injury or property damages to
  any person which may result from accidental releases of such substances.


  (2) Definitions


  (A) The term “accidental release” means an unanticipated emission of a regulated substance or other extremely hazardous
  substance into the ambient air from a stationary source.


  (B) The term “regulated substance” means a substance listed under paragraph (3).


  (C) The term “stationary source” means any buildings, structures, equipment, installations or substance emitting stationary
  activities (i) which belong to the same industrial group, (ii) which are located on one or more contiguous properties, (iii)
  which are under the control of the same person (or persons under common control), and (iv) from which an accidental release
  may occur.


  (D) The term “retail facility” means a stationary source at which more than one-half of the income is obtained from direct
  sales to end users or at which more than one-half of the fuel sold, by volume, is sold through a cylinder exchange program.


  (3) List of substances

  The Administrator shall promulgate not later than 24 months after November 15, 1990, an initial list of 100 substances
  which, in the case of an accidental release, are known to cause or may reasonably be anticipated to cause death, injury,
  or serious adverse effects to human health or the environment. For purposes of promulgating such list, the Administrator
  shall use, but is not limited to, the list of extremely hazardous substances published under the Emergency Planning and
  Community Right-to-Know 6 Act of 1986, with such modifications as the Administrator deems appropriate. The initial list
  shall include chlorine, anhydrous ammonia, methyl chloride, ethylene oxide, vinyl chloride, methyl isocyanate, hydrogen
  cyanide, ammonia, hydrogen sulfide, toluene diisocyanate, phosgene, bromine, anhydrous hydrogen chloride, hydrogen
  fluoride, anhydrous sulfur dioxide, and sulfur trioxide. The initial list shall include at least 100 substances which pose the
  greatest risk of causing death, injury, or serious adverse effects to human health or the environment from accidental releases.
  Regulations establishing the list shall include an explanation of the basis for establishing the list. The list may be revised
  from time to time by the Administrator on the Administrator's own motion or by petition and shall be reviewed at least every
  5 years. No air pollutant for which a national primary ambient air quality standard has been established shall be included
  on any such list. No substance, practice, process, or activity regulated under subchapter VI shall be subject to regulations
  under this subsection. The Administrator shall establish procedures for the addition and deletion of substances from the list
  established under this paragraph consistent with those applicable to the list in subsection (b).


  (4) Factors to be considered

  In listing substances under paragraph (3), the Administrator--




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    (A) shall consider--


       (i) the severity of any acute adverse health effects associated with accidental releases of the substance;


       (ii) the likelihood of accidental releases of the substance; and


       (iii) the potential magnitude of human exposure to accidental releases of the substance; and


    (B) shall not list a flammable substance when used as a fuel or held for sale as a fuel at a retail facility under this
    subsection solely because of the explosive or flammable properties of the substance, unless a fire or explosion caused by
    the substance will result in acute adverse health effects from human exposure to the substance, including the unburned fuel
    or its combustion byproducts, other than those caused by the heat of the fire or impact of the explosion.


  (5) Threshold quantity

  At the time any substance is listed pursuant to paragraph (3), the Administrator shall establish by rule, a threshold quantity
  for the substance, taking into account the toxicity, reactivity, volatility, dispersibility, combustibility, or flammability of the
  substance and the amount of the substance which, as a result of an accidental release, is known to cause or may reasonably
  be anticipated to cause death, injury or serious adverse effects to human health for which the substance was listed. The
  Administrator is authorized to establish a greater threshold quantity for, or to exempt entirely, any substance that is a nutrient
  used in agriculture when held by a farmer.


  (6) Chemical Safety Board


  (A) There is hereby established an independent safety board to be known as the Chemical Safety and Hazard Investigation
  Board.


  (B) The Board shall consist of 5 members, including a Chairperson, who shall be appointed by the President, by and with the
  advice and consent of the Senate. Members of the Board shall be appointed on the basis of technical qualification, professional
  standing, and demonstrated knowledge in the fields of accident reconstruction, safety engineering, human factors, toxicology,
  or air pollution regulation. The terms of office of members of the Board shall be 5 years. Any member of the Board, including
  the Chairperson, may be removed for inefficiency, neglect of duty, or malfeasance in office. The Chairperson shall be the
  Chief Executive Officer of the Board and shall exercise the executive and administrative functions of the Board.


  (C) The Board shall--


    (i) investigate (or cause to be investigated), determine and report to the public in writing the facts, conditions, and
    circumstances and the cause or probable cause of any accidental release resulting in a fatality, serious injury or substantial
    property damages;




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    (ii) issue periodic reports to the Congress, Federal, State and local agencies, including the Environmental Protection Agency
    and the Occupational Safety and Health Administration, concerned with the safety of chemical production, processing,
    handling and storage, and other interested persons recommending measures to reduce the likelihood or the consequences
    of accidental releases and proposing corrective steps to make chemical production, processing, handling and storage as
    safe and free from risk of injury as is possible and may include in such reports proposed rules or orders which should be
    issued by the Administrator under the authority of this section or the Secretary of Labor under the Occupational Safety
    and Health Act to prevent or minimize the consequences of any release of substances that may cause death, injury or other
    serious adverse effects on human health or substantial property damage as the result of an accidental release; and


    (iii) establish by regulation requirements binding on persons for reporting accidental releases into the ambient air subject
    to the Board's investigatory jurisdiction. Reporting releases to the National Response Center, in lieu of the Board directly,
    shall satisfy such regulations. The National Response Center shall promptly notify the Board of any releases which are
    within the Board's jurisdiction.


  (D) The Board may utilize the expertise and experience of other agencies.


  (E) The Board shall coordinate its activities with investigations and studies conducted by other agencies of the United States
  having a responsibility to protect public health and safety. The Board shall enter into a memorandum of understanding with
  the National Transportation Safety Board to assure coordination of functions and to limit duplication of activities which shall
  designate the National Transportation Safety Board as the lead agency for the investigation of releases which are transportation
  related. The Board shall not be authorized to investigate marine oil spills, which the National Transportation Safety Board
  is authorized to investigate. The Board shall enter into a memorandum of understanding with the Occupational Safety and
  Health Administration so as to limit duplication of activities. In no event shall the Board forego an investigation where
  an accidental release causes a fatality or serious injury among the general public, or had the potential to cause substantial
  property damage or a number of deaths or injuries among the general public.


  (F) The Board is authorized to conduct research and studies with respect to the potential for accidental releases, whether
  or not an accidental release has occurred, where there is evidence which indicates the presence of a potential hazard or
  hazards. To the extent practicable, the Board shall conduct such studies in cooperation with other Federal agencies having
  emergency response authorities, State and local governmental agencies and associations and organizations from the industrial,
  commercial, and nonprofit sectors.


  (G) No part of the conclusions, findings, or recommendations of the Board relating to any accidental release or the
  investigation thereof shall be admitted as evidence or used in any action or suit for damages arising out of any matter
  mentioned in such report.


  (H) Not later than 18 months after November 15, 1990, the Board shall publish a report accompanied by recommendations
  to the Administrator on the use of hazard assessments in preventing the occurrence and minimizing the consequences of
  accidental releases of extremely hazardous substances. The recommendations shall include a list of extremely hazardous
  substances which are not regulated substances (including threshold quantities for such substances) and categories of stationary
  sources for which hazard assessments would be an appropriate measure to aid in the prevention of accidental releases and
  to minimize the consequences of those releases that do occur. The recommendations shall also include a description of
  the information and analysis which would be appropriate to include in any hazard assessment. The Board shall also make




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  recommendations with respect to the role of risk management plans as required by paragraph (8)(B) 4 in preventing accidental
  releases. The Board may from time to time review and revise its recommendations under this subparagraph.


  (I) Whenever the Board submits a recommendation with respect to accidental releases to the Administrator, the Administrator
  shall respond to such recommendation formally and in writing not later than 180 days after receipt thereof. The response to
  the Board's recommendation by the Administrator shall indicate whether the Administrator will--


    (i) initiate a rulemaking or issue such orders as are necessary to implement the recommendation in full or in part, pursuant
    to any timetable contained in the recommendation; 7


    (ii) decline to initiate a rulemaking or issue orders as recommended.

    Any determination by the Administrator not to implement a recommendation of the Board or to implement a
    recommendation only in part, including any variation from the schedule contained in the recommendation, shall be
    accompanied by a statement from the Administrator setting forth the reasons for such determination.


  (J) The Board may make recommendations with respect to accidental releases to the Secretary of Labor. Whenever the Board
  submits such recommendation, the Secretary shall respond to such recommendation formally and in writing not later than
  180 days after receipt thereof. The response to the Board's recommendation by the Administrator 8 shall indicate whether
  the Secretary will--


    (i) initiate a rulemaking or issue such orders as are necessary to implement the recommendation in full or in part, pursuant
    to any timetable contained in the recommendation; 7


    (ii) decline to initiate a rulemaking or issue orders as recommended.

    Any determination by the Secretary not to implement a recommendation or to implement a recommendation only in part,
    including any variation from the schedule contained in the recommendation, shall be accompanied by a statement from
    the Secretary setting forth the reasons for such determination.


  (K) Within 2 years after November 15, 1990, the Board shall issue a report to the Administrator of the Environmental
  Protection Agency and to the Administrator of the Occupational Safety and Health Administration recommending the
  adoption of regulations for the preparation of risk management plans and general requirements for the prevention of accidental
  releases of regulated substances into the ambient air (including recommendations for listing substances under paragraph (3))
  and for the mitigation of the potential adverse effect on human health or the environment as a result of accidental releases
  which should be applicable to any stationary source handling any regulated substance in more than threshold amounts. The
  Board may include proposed rules or orders which should be issued by the Administrator under authority of this subsection
  or by the Secretary of Labor under the Occupational Safety and Health Act. Any such recommendations shall be specific and
  shall identify the regulated substance or class of regulated substances (or other substances) to which the recommendations
  apply. The Administrator shall consider such recommendations before promulgating regulations required by paragraph (7)
  (B).




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  (L) The Board, or upon authority of the Board, any member thereof, any administrative law judge employed by or assigned
  to the Board, or any officer or employee duly designated by the Board, may for the purpose of carrying out duties authorized
  by subparagraph (C)--


    (i) hold such hearings, sit and act at such times and places, administer such oaths, and require by subpoena or otherwise
    attendance and testimony of such witnesses and the production of evidence and may require by order that any person
    engaged in the production, processing, handling, or storage of extremely hazardous substances submit written reports and
    responses to requests and questions within such time and in such form as the Board may require; and


    (ii) upon presenting appropriate credentials and a written notice of inspection authority, enter any property where an
    accidental release causing a fatality, serious injury or substantial property damage has occurred and do all things therein
    necessary for a proper investigation pursuant to subparagraph (C) and inspect at reasonable times records, files, papers,
    processes, controls, and facilities and take such samples as are relevant to such investigation.

    Whenever the Administrator or the Board conducts an inspection of a facility pursuant to this subsection, employees and
    their representatives shall have the same rights to participate in such inspections as provided in the Occupational Safety
    and Health Act.


  (M) In addition to that described in subparagraph (L), the Board may use any information gathering authority of the
  Administrator under this chapter, including the subpoena power provided in section 7607(a)(1) of this title.


  (N) The Board is authorized to establish such procedural and administrative rules as are necessary to the exercise of its
  functions and duties. The Board is authorized without regard to section 6101 of Title 41 to enter into contracts, leases,
  cooperative agreements or other transactions as may be necessary in the conduct of the duties and functions of the Board
  with any other agency, institution, or person.


  (O) After the effective date of any reporting requirement promulgated pursuant to subparagraph (C)(iii) it shall be unlawful
  for any person to fail to report any release of any extremely hazardous substance as required by such subparagraph. The
  Administrator is authorized to enforce any regulation or requirements established by the Board pursuant to subparagraph (C)
  (iii) using the authorities of sections 7413 and 7414 of this title. Any request for information from the owner or operator of
  a stationary source made by the Board or by the Administrator under this section shall be treated, for purposes of sections
  7413, 7414, 7416, 7420, 7603, 7604 and 7607 of this title and any other enforcement provisions of this chapter, as a request
  made by the Administrator under section 7414 of this title and may be enforced by the Chairperson of the Board or by the
  Administrator as provided in such section.


  (P) The Administrator shall provide to the Board such support and facilities as may be necessary for operation of the Board.



  (Q) Consistent with subsection (G) 5 and section 7414(c) of this title any records, reports or information obtained by the
  Board shall be available to the Administrator, the Secretary of Labor, the Congress and the public, except that upon a showing
  satisfactory to the Board by any person that records, reports, or information, or particular part thereof (other than release or
  emissions data) to which the Board has access, if made public, is likely to cause substantial harm to the person's competitive
  position, the Board shall consider such record, report, or information or particular portion thereof confidential in accordance
  with section 1905 of Title 18, except that such record, report, or information may be disclosed to other officers, employees,



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  and authorized representatives of the United States concerned with carrying out this chapter or when relevant under any
  proceeding under this chapter. This subparagraph does not constitute authority to withhold records, reports, or information
  from the Congress.


  (R) Whenever the Board submits or transmits any budget estimate, budget request, supplemental budget request, or other
  budget information, legislative recommendation, prepared testimony for congressional hearings, recommendation or study
  to the President, the Secretary of Labor, the Administrator, or the Director of the Office of Management and Budget, it shall
  concurrently transmit a copy thereof to the Congress. No report of the Board shall be subject to review by the Administrator
  or any Federal agency or to judicial review in any court. No officer or agency of the United States shall have authority to
  require the Board to submit its budget requests or estimates, legislative recommendations, prepared testimony, comments,
  recommendations or reports to any officer or agency of the United States for approval or review prior to the submission of
  such recommendations, testimony, comments or reports to the Congress. In the performance of their functions as established
  by this chapter, the members, officers and employees of the Board shall not be responsible to or subject to supervision or
  direction, in carrying out any duties under this subsection, of any officer or employee or agent of the Environmental Protection
  Agency, the Department of Labor or any other agency of the United States except that the President may remove any member,
  officer or employee of the Board for inefficiency, neglect of duty or malfeasance in office. Nothing in this section shall affect
  the application of Title 5 to officers or employees of the Board.


  (S) The Board shall submit an annual report to the President and to the Congress which shall include, but not be limited
  to, information on accidental releases which have been investigated by or reported to the Board during the previous year,
  recommendations for legislative or administrative action which the Board has made, the actions which have been taken by the
  Administrator or the Secretary of Labor or the heads of other agencies to implement such recommendations, an identification
  of priorities for study and investigation in the succeeding year, progress in the development of risk-reduction technologies
  and the response to and implementation of significant research findings on chemical safety in the public and private sector.


  (7) Accident prevention


  (A) In order to prevent accidental releases of regulated substances, the Administrator is authorized to promulgate release
  prevention, detection, and correction requirements which may include monitoring, record-keeping, reporting, training, vapor
  recovery, secondary containment, and other design, equipment, work practice, and operational requirements. Regulations
  promulgated under this paragraph may make distinctions between various types, classes, and kinds of facilities, devices
  and systems taking into consideration factors including, but not limited to, the size, location, process, process controls,
  quantity of substances handled, potency of substances, and response capabilities present at any stationary source. Regulations
  promulgated pursuant to this subparagraph shall have an effective date, as determined by the Administrator, assuring
  compliance as expeditiously as practicable.


  (B)(i) Within 3 years after November 15, 1990, the Administrator shall promulgate reasonable regulations and appropriate
  guidance to provide, to the greatest extent practicable, for the prevention and detection of accidental releases of regulated
  substances and for response to such releases by the owners or operators of the sources of such releases. The Administrator
  shall utilize the expertise of the Secretaries of Transportation and Labor in promulgating such regulations. As appropriate,
  such regulations shall cover the use, operation, repair, replacement, and maintenance of equipment to monitor, detect, inspect,
  and control such releases, including training of persons in the use and maintenance of such equipment and in the conduct
  of periodic inspections. The regulations shall include procedures and measures for emergency response after an accidental
  release of a regulated substance in order to protect human health and the environment. The regulations shall cover storage,
  as well as operations. The regulations shall, as appropriate, recognize differences in size, operations, processes, class and
  categories of sources and the voluntary actions of such sources to prevent such releases and respond to such releases. The


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  regulations shall be applicable to a stationary source 3 years after the date of promulgation, or 3 years after the date on which a
  regulated substance present at the source in more than threshold amounts is first listed under paragraph (3), whichever is later.


  (ii) The regulations under this subparagraph shall require the owner or operator of stationary sources at which a regulated
  substance is present in more than a threshold quantity to prepare and implement a risk management plan to detect and prevent
  or minimize accidental releases of such substances from the stationary source, and to provide a prompt emergency response
  to any such releases in order to protect human health and the environment. Such plan shall provide for compliance with the
  requirements of this subsection and shall also include each of the following:


    (I) a hazard assessment to assess the potential effects of an accidental release of any regulated substance. This assessment
    shall include an estimate of potential release quantities and a determination of downwind effects, including potential
    exposures to affected populations. Such assessment shall include a previous release history of the past 5 years, including
    the size, concentration, and duration of releases, and shall include an evaluation of worst case accidental releases;


    (II) a program for preventing accidental releases of regulated substances, including safety precautions and maintenance,
    monitoring and employee training measures to be used at the source; and


    (III) a response program providing for specific actions to be taken in response to an accidental release of a regulated
    substance so as to protect human health and the environment, including procedures for informing the public and local
    agencies responsible for responding to accidental releases, emergency health care, and employee training measures.

    At the time regulations are promulgated under this subparagraph, the Administrator shall promulgate guidelines to assist
    stationary sources in the preparation of risk management plans. The guidelines shall, to the extent practicable, include
    model risk management plans.


  (iii) The owner or operator of each stationary source covered by clause (ii) shall register a risk management plan prepared
  under this subparagraph with the Administrator before the effective date of regulations under clause (i) in such form and
  manner as the Administrator shall, by rule, require. Plans prepared pursuant to this subparagraph shall also be submitted to
  the Chemical Safety and Hazard Investigation Board, to the State in which the stationary source is located, and to any local
  agency or entity having responsibility for planning for or responding to accidental releases which may occur at such source,
  and shall be available to the public under section 7414(c) of this title. The Administrator shall establish, by rule, an auditing
  system to regularly review and, if necessary, require revision in risk management plans to assure that the plans comply with
  this subparagraph. Each such plan shall be updated periodically as required by the Administrator, by rule.


  (C) Any regulations promulgated pursuant to this subsection shall to the maximum extent practicable, consistent with this
  subsection, be consistent with the recommendations and standards established by the American Society of Mechanical
  Engineers (ASME), the American National Standards Institute (ANSI) or the American Society of Testing Materials (ASTM).
  The Administrator shall take into consideration the concerns of small business in promulgating regulations under this
  subsection.


  (D) In carrying out the authority of this paragraph, the Administrator shall consult with the Secretary of Labor and the
  Secretary of Transportation and shall coordinate any requirements under this paragraph with any requirements established for
  comparable purposes by the Occupational Safety and Health Administration or the Department of Transportation. Nothing in
  this subsection shall be interpreted, construed or applied to impose requirements affecting, or to grant the Administrator, the



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  Chemical Safety and Hazard Investigation Board, or any other agency any authority to regulate (including requirements for
  hazard assessment), the accidental release of radionuclides arising from the construction and operation of facilities licensed
  by the Nuclear Regulatory Commission.


  (E) After the effective date of any regulation or requirement imposed under this subsection, it shall be unlawful for any person
  to operate any stationary source subject to such regulation or requirement in violation of such regulation or requirement. Each
  regulation or requirement under this subsection shall for purposes of sections 7413, 7414, 7416, 7420, 7604, and 7607 of this
  title and other enforcement provisions of this chapter, be treated as a standard in effect under subsection (d).


  (F) Notwithstanding the provisions of subchapter V or this section, no stationary source shall be required to apply for, or
  operate pursuant to, a permit issued under such subchapter solely because such source is subject to regulations or requirements
  under this subsection.


  (G) In exercising any authority under this subsection, the Administrator shall not, for purposes of section 653(b)(1) of Title
  29, be deemed to be exercising statutory authority to prescribe or enforce standards or regulations affecting occupational
  safety and health.


  (H) Public access to off-site consequence analysis information


    (i) Definitions

    In this subparagraph:


       (I) Covered person

         The term “covered person” means--


         (aa) an officer or employee of the United States;


         (bb) an officer or employee of an agent or contractor of the Federal Government;


         (cc) an officer or employee of a State or local government;


         (dd) an officer or employee of an agent or contractor of a State or local government;


         (ee) an individual affiliated with an entity that has been given, by a State or local government, responsibility for
         preventing, planning for, or responding to accidental releases;


         (ff) an officer or employee or an agent or contractor of an entity described in item (ee); and




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         (gg) a qualified researcher under clause (vii).


      (II) Official use

         The term “official use” means an action of a Federal, State, or local government agency or an entity referred to in
         subclause (I)(ee) intended to carry out a function relevant to preventing, planning for, or responding to accidental
         releases.


      (III) Off-site consequence analysis information

         The term “off-site consequence analysis information” means those portions of a risk management plan, excluding the
         executive summary of the plan, consisting of an evaluation of 1 or more worst-case release scenarios or alternative
         release scenarios, and any electronic data base created by the Administrator from those portions.


      (IV) Risk management plan

         The term “risk management plan” means a risk management plan submitted to the Administrator by an owner or
         operator of a stationary source under subparagraph (B)(iii).


    (ii) Regulations

    Not later than 1 year after August 5, 1999, the President shall--


      (I) assess--


         (aa) the increased risk of terrorist and other criminal activity associated with the posting of off-site consequence
         analysis information on the Internet; and


         (bb) the incentives created by public disclosure of off-site consequence analysis information for reduction in the risk
         of accidental releases; and


      (II) based on the assessment under subclause (I), promulgate regulations governing the distribution of off-site
      consequence analysis information in a manner that, in the opinion of the President, minimizes the likelihood of accidental
      releases and the risk described in subclause (I)(aa) and the likelihood of harm to public health and welfare, and--


         (aa) allows access by any member of the public to paper copies of off-site consequence analysis information for a
         limited number of stationary sources located anywhere in the United States, without any geographical restriction;


         (bb) allows other public access to off-site consequence analysis information as appropriate;




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         (cc) allows access for official use by a covered person described in any of items (cc) through (ff) of clause (i)(I)
         (referred to in this subclause as a “State or local covered person”) to off-site consequence analysis information relating
         to stationary sources located in the person's State;


         (dd) allows a State or local covered person to provide, for official use, off-site consequence analysis information
         relating to stationary sources located in the person's State to a State or local covered person in a contiguous State; and


         (ee) allows a State or local covered person to obtain for official use, by request to the Administrator, off-site
         consequence analysis information that is not available to the person under item (cc).


    (iii) Availability under freedom of information act


      (I) First year

         Off-site consequence analysis information, and any ranking of stationary sources derived from the information, shall
         not be made available under section 552 of Title 5 during the 1-year period beginning on August 5, 1999.


      (II) After first year

         If the regulations under clause (ii) are promulgated on or before the end of the period described in subclause (I), off-
         site consequence analysis information covered by the regulations, and any ranking of stationary sources derived from
         the information, shall not be made available under section 552 of Title 5 after the end of that period.


      (III) Applicability

         Subclauses (I) and (II) apply to off-site consequence analysis information submitted to the Administrator before, on,
         or after August 5, 1999.


    (iv) Availability of information during transition period

    The Administrator shall make off-site consequence analysis information available to covered persons for official use in a
    manner that meets the requirements of items (cc)through (ee) of clause (ii)(II), and to the public in a form that does not
    make available any information concerning the identity or location of stationary sources, during the period--


      (I) beginning on August 5, 1999; and


      (II) ending on the earlier of the date of promulgation of the regulations under clause (ii) or the date that is 1 year after
      August 5, 1999.


    (v) Prohibition on unauthorized disclosure of information by covered persons




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      (I) In general

         Beginning on August 5, 1999, a covered person shall not disclose to the public off-site consequence analysis
         information in any form, or any statewide or national ranking of identified stationary sources derived from such
         information, except as authorized by this subparagraph (including the regulations promulgated under clause (ii)).
         After the end of the 1-year period beginning on August 5, 1999, if regulations have not been promulgated under clause
         (ii), the preceding sentence shall not apply.


      (II) Criminal penalties

         Notwithstanding section 7413 of this title, a covered person that willfully violates a restriction or prohibition
         established by this subparagraph (including the regulations promulgated under clause (ii)) shall, upon conviction, be
         fined for an infraction under section 3571 of Title 18 (but shall not be subject to imprisonment) for each unauthorized
         disclosure of off-site consequence analysis information, except that subsection (d) of such section 3571 shall not
         apply to a case in which the offense results in pecuniary loss unless the defendant knew that such loss would occur.
         The disclosure of off-site consequence analysis information for each specific stationary source shall be considered
         a separate offense. The total of all penalties that may be imposed on a single person or organization under this item
         shall not exceed $1,000,000 for violations committed during any 1 calendar year.


      (III) Applicability

         If the owner or operator of a stationary source makes off-site consequence analysis information relating to that
         stationary source available to the public without restriction--


         (aa) subclauses (I) and (II) shall not apply with respect to the information; and


         (bb) the owner or operator shall notify the Administrator of the public availability of the information.


      (IV) List

         The Administrator shall maintain and make publicly available a list of all stationary sources that have provided
         notification under subclause (III)(bb).


    (vi) Notice


    The Administrator shall provide notice of the definition of official use as provided in clause (i)(III) 9 and examples of
    actions that would and would not meet that definition, and notice of the restrictions on further dissemination and the
    penalties established by this chapter to each covered person who receives off-site consequence analysis information under
    clause (iv) and each covered person who receives off-site consequence analysis information for an official use under the
    regulations promulgated under clause (ii).


    (vii) Qualified researchers




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      (I) In general

         Not later than 180 days after August 5, 1999, the Administrator, in consultation with the Attorney General,
         shall develop and implement a system for providing off-site consequence analysis information, including facility
         identification, to any qualified researcher, including a qualified researcher from industry or any public interest group.


      (II) Limitation on dissemination

         The system shall not allow the researcher to disseminate, or make available on the Internet, the off-site consequence
         analysis information, or any portion of the off-site consequence analysis information, received under this clause.


    (viii) Read-only information technology system

    In consultation with the Attorney General and the heads of other appropriate Federal agencies, the Administrator shall
    establish an information technology system that provides for the availability to the public of off-site consequence analysis
    information by means of a central data base under the control of the Federal Government that contains information that
    users may read, but that provides no means by which an electronic or mechanical copy of the information may be made.


    (ix) Voluntary industry accident prevention standards

    The Environmental Protection Agency, the Department of Justice, and other appropriate agencies may provide technical
    assistance to owners and operators of stationary sources and participate in the development of voluntary industry standards
    that will help achieve the objectives set forth in paragraph (1).


    (x) Effect on State or local law


      (I) In general

         Subject to subclause (II), this subparagraph (including the regulations promulgated under this subparagraph) shall
         supersede any provision of State or local law that is inconsistent with this subparagraph (including the regulations).


      (II) Availability of information under State law

         Nothing in this subparagraph precludes a State from making available data on the off-site consequences of chemical
         releases collected in accordance with State law.


    (xi) Report


      (I) In general

         Not later than 3 years after August 5, 1999, the Attorney General, in consultation with appropriate State, local, and
         Federal Government agencies, affected industry, and the public, shall submit to Congress a report that describes
         the extent to which regulations promulgated under this paragraph have resulted in actions, including the design and


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         maintenance of safe facilities, that are effective in detecting, preventing, and minimizing the consequences of releases
         of regulated substances that may be caused by criminal activity. As part of this report, the Attorney General, using
         available data to the extent possible, and a sampling of covered stationary sources selected at the discretion of the
         Attorney General, and in consultation with appropriate State, local, and Federal governmental agencies, affected
         industry, and the public, shall review the vulnerability of covered stationary sources to criminal and terrorist activity,
         current industry practices regarding site security, and security of transportation of regulated substances. The Attorney
         General shall submit this report, containing the results of the review, together with recommendations, if any, for
         reducing vulnerability of covered stationary sources to criminal and terrorist activity, to the Committee on Commerce
         of the United States House of Representatives and the Committee on Environment and Public Works of the United
         States Senate and other relevant committees of Congress.


      (II) Interim report

         Not later than 12 months after August 5, 1999, the Attorney General shall submit to the Committee on Commerce
         of the United States House of Representatives and the Committee on Environment and Public Works of the United
         States Senate, and other relevant committees of Congress, an interim report that includes, at a minimum--


         (aa) the preliminary findings under subclause (I);


         (bb) the methods used to develop the findings; and


         (cc) an explanation of the activities expected to occur that could cause the findings of the report under subclause (I)
         to be different than the preliminary findings.


      (III) Availability of information

         Information that is developed by the Attorney General or requested by the Attorney General and received from a
         covered stationary source for the purpose of conducting the review under subclauses(I) and (II) shall be exempt from
         disclosure under section 552 of Title 5 if such information would pose a threat to national security.


    (xii) Scope

    This subparagraph--


      (I) applies only to covered persons; and


      (II) does not restrict the dissemination of off-site consequence analysis information by any covered person in any manner
      or form except in the form of a risk management plan or an electronic data base created by the Administrator from off-
      site consequence analysis information.


    (xiii) Authorization of appropriations




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    There are authorized to be appropriated to the Administrator and the Attorney General such sums as are necessary to carry
    out this subparagraph (including the regulations promulgated under clause (ii)), to remain available until expended.


  (8) Research on hazard assessments

  The Administrator may collect and publish information on accident scenarios and consequences covering a range of possible
  events for substances listed under paragraph (3). The Administrator shall establish a program of long-term research to develop
  and disseminate information on methods and techniques for hazard assessment which may be useful in improving and
  validating the procedures employed in the preparation of hazard assessments under this subsection.


  (9) Order authority


  (A) In addition to any other action taken, when the Administrator determines that there may be an imminent and substantial
  endangerment to the human health or welfare or the environment because of an actual or threatened accidental release of a
  regulated substance, the Administrator may secure such relief as may be necessary to abate such danger or threat, and the
  district court of the United States in the district in which the threat occurs shall have jurisdiction to grant such relief as the
  public interest and the equities of the case may require. The Administrator may also, after notice to the State in which the
  stationary source is located, take other action under this paragraph including, but not limited to, issuing such orders as may
  be necessary to protect human health. The Administrator shall take action under section 7603 of this title rather than this
  paragraph whenever the authority of such section is adequate to protect human health and the environment.


  (B) Orders issued pursuant to this paragraph may be enforced in an action brought in the appropriate United States district
  court as if the order were issued under section 7603 of this title.


  (C) Within 180 days after November 15, 1990, the Administrator shall publish guidance for using the order authorities
  established by this paragraph. Such guidance shall provide for the coordinated use of the authorities of this paragraph with
  other emergency powers authorized by section 9606 of this title, sections 311(c), 308, 309 and 504(a) of the Federal Water
  Pollution Control Act, sections 3007, 3008, 3013, and 7003 of the Solid Waste Disposal Act, sections 1445 and 1431 of the
  Safe Drinking Water Act, sections 5 and 7 of the Toxic Substances Control Act, and sections 7413, 7414, and 7603 of this title.


  (10) Presidential review

  The President shall conduct a review of release prevention, mitigation and response authorities of the various Federal
  agencies and shall clarify and coordinate agency responsibilities to assure the most effective and efficient implementation
  of such authorities and to identify any deficiencies in authority or resources which may exist. The President may utilize
  the resources and solicit the recommendations of the Chemical Safety and Hazard Investigation Board in conducting such
  review. At the conclusion of such review, but not later than 24 months after November 15, 1990, the President shall transmit a
  message to the Congress on the release prevention, mitigation and response activities of the Federal Government making such
  recommendations for change in law as the President may deem appropriate. Nothing in this paragraph shall be interpreted,
  construed or applied to authorize the President to modify or reassign release prevention, mitigation or response authorities
  otherwise established by law.


  (11) State authority




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  Nothing in this subsection shall preclude, deny or limit any right of a State or political subdivision thereof to adopt or
  enforce any regulation, requirement, limitation or standard (including any procedural requirement) that is more stringent than
  a regulation, requirement, limitation or standard in effect under this subsection or that applies to a substance not subject to
  this subsection.


(s) Periodic report

Not later than January 15, 1993 and every 3 years thereafter, the Administrator shall prepare and transmit to the Congress a
comprehensive report on the measures taken by the Agency and by the States to implement the provisions of this section. The
Administrator shall maintain a database on pollutants and sources subject to the provisions of this section and shall include
aggregate information from the database in each annual report. The report shall include, but not be limited to--


  (1) a status report on standard-setting under subsections (d) and (f);


  (2) information with respect to compliance with such standards including the costs of compliance experienced by sources
  in various categories and subcategories;


  (3) development and implementation of the national urban air toxics program; and


  (4) recommendations of the Chemical Safety and Hazard Investigation Board with respect to the prevention and mitigation
  of accidental releases.


                                                            CREDIT(S)

   (July 14, 1955, c. 360, Title I, § 112, as added Pub.L. 91-604, § 4(a), Dec. 31, 1970, 84 Stat. 1685; amended Pub.L. 95-95,
Title I, §§ 109(d)(2), 110, Title IV, § 401(c), Aug. 7, 1977, 91 Stat. 701, 703, 791; Pub.L. 95-623, § 13(b), Nov. 9, 1978, 92 Stat.
3458; Pub.L. 101-549, Title III, § 301, Nov. 15, 1990, 104 Stat. 2531; Pub.L. 102-187, Dec. 4, 1991, 105 Stat. 1285; Pub.L.
105-362, Title IV, § 402(b), Nov. 10, 1998, 112 Stat. 3283; Pub.L. 106-40, §§ 2, 3(a), Aug. 5, 1999, 113 Stat. 207.)


                                              MEMORANDA OF PRESIDENT

        DELEGATION OF AUTHORITY TO REVIEW EMERGENCY RELEASE AUTHORITIES AND
     PREPARE AND TRANSMIT TO THE CONGRESS A MESSAGE CONCERNING SUCH AUTHORITIES

                                                <Aug. 19, 1993, 58 F.R. 52397>

Memorandum for the Administrator of the Environmental Protection Agency

WHEREAS, the Environmental Protection Agency, the agencies and departments that are members of the National Response
Team (authorized under Executive Order No. 12580, 52 Fed.Reg. 2923 (1987)) [set out as a note under section 9615 of this
title], and other Federal agencies and departments undertake emergency release prevention, mitigation, and response activities
pursuant to various authorities;

By the authority vested in me as President by the Constitution and the laws of the United States of America, including section
112(r)(10) of the Clean Air Act (the “Act”) (section 7412(r)(10) of title 42 of the United States Code) [subsec. (r)(10) of this



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§ 7412. Hazardous air pollutants, 42 USCA § 7412


section] and section 301 of title 3 of the United States Code [section 301 of Title 3, The President], and in order to provide for
the delegation of certain functions under the Act [42 U.S.C.A. § 7401 et seq.], I hereby:

(1) Authorize you, in coordination with agencies and departments that are members of the National Response Team and other
appropriate agencies and departments, to conduct a review of release prevention, mitigation, and response authorities of Federal
agencies in order to assure the most effective and efficient implementation of such authorities and to identify any deficiencies
in authority or resources that may exist, to the extent such review is required by section 112(r)(10) of the Act; and

(2) Authorize you, in coordination with agencies and departments that are members of the National Response Team and other
appropriate agencies and departments, to prepare and transmit a message to the Congress concerning the release prevention,
mitigation, and response activities of the Federal Government with such recommendations for change in law as you deem
appropriate, to the extent such message is required by section 112(r)(10) of the Act.

The authority delegated by this memorandum may be further redelegated within the Environmental Protection Agency.

You are hereby authorized and directed to publish this memorandum in the Federal Register.

                                                                                                           WILLIAM J. CLINTON


           DELEGATION OF AUTHORITY TO CONDUCT ASSESSMENTS AND PROMULGATE
       REGULATIONS ON PUBLIC ACCESS TO OFF-SITE CONSEQUENCE ANALYSIS INFORMATION

                                                  <Jan. 27, 2000, 65 F.R. 8631>

Memorandum for the Attorney General[,] the Administrator of the Environmental Protection Agency[,] and the Director of the
Office of Management and Budget

By the authority vested in me as President by the Constitution and laws of the United States of America, including section
112(r)(7)(H) of the Clean Air Act (“Act”) (42 U.S.C. 7412(r)(7)(H)) [subsec. (r)(7)(H) of this section], as added by section 3
of the Chemical Safety Information, Site Security and Fuels Regulatory Relief Act (Public Law 106-40), and section 301 of
title 3, United States Code, I hereby delegate to:

(1) the Attorney General the authority vested in the President under section 112(r)(7)(H)(i)(II)(aa) of the Act [subsec. (r)(7)(H)
(i)(II)(aa) of this section] to assess the increased risk of terrorist and other criminal activity associated with the posting of off-
site consequence analysis information on the Internet;

(2) the Administrator of the Environmental Protection Agency (EPA) the authority vested in the President under section 112(r)
(7)(H)(ii)(I)(bb) of the Act [subsec. (r)(7)(H)(ii)(I)(bb) of this section] to assess the incentives created by public disclosure of
off-site consequence analysis information for reduction in the risk of accidental releases; and

(3) the Attorney General and the Administrator of EPA, jointly, the authority vested in the President under section 112(r)(7)
(H)(ii)(II) of the Act [subsec. (r)(7)(H)(ii)(II) of this section] to promulgate regulations, based on these assessments, governing
the distribution of off-site consequence analysis information. These regulations, in proposed and final form, shall be subject to
review and approval by the Director of the Office of Management and Budget.

The Administrator of EPA is authorized and directed to publish this memorandum in the Federal Register.

                                                                                                           WILLIAM J. CLINTON




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          FLEXIBLE IMPLEMENTATION OF THE MERCURY AND AIR TOXICS STANDARDS RULE

                                                 <Dec. 21, 2011, 76 F.R. 80727>

Memorandum for the Administrator of the Environmental Protection Agency

Today's issuance, by the Environmental Protection Agency (EPA), of the final Mercury and Air Toxics Standards rule for
power plants (the “MATS Rule”) represents a major step forward in my Administration's efforts to protect public health and
the environment.

This rule, issued after careful consideration of public comments, prescribes standards under section 112 of the Clean Air Act to
control emissions of mercury and other toxic air pollutants from power plants, which collectively are among the largest sources
of such pollution in the United States. The EPA estimates that by substantially reducing emissions of pollutants that contribute to
neurological damage, cancer, respiratory illnesses, and other health risks, the MATS Rule will produce major health benefits for
millions of Americans_including children, older Americans, and other vulnerable populations. Consistent with Executive Order
13563 (Improving Regulation and Regulatory Review), the estimated benefits of the MATS Rule far exceed the estimated costs.

The MATS Rule can be implemented through the use of demonstrated, existing pollution control technologies. The United
States is a global market leader in the design and manufacture of these technologies, and it is anticipated that U.S. firms and
workers will provide much of the equipment and labor needed to meet the substantial investments in pollution control that the
standards are expected to spur.

These new standards will promote the transition to a cleaner and more efficient U.S. electric power system. This system as a
whole is critical infrastructure that plays a key role in the functioning of all facets of the U.S. economy, and maintaining its
stability and reliability is of critical importance. It is therefore crucial that implementation of the MATS Rule proceed in a cost-
effective manner that ensures electric reliability.

Analyses conducted by the EPA and the Department of Energy (DOE) indicate that the MATS Rule is not anticipated to
compromise electric generating resource adequacy in any region of the country. The Clean Air Act offers a number of
implementation flexibilities, and the EPA has a long and successful history of using those flexibilities to ensure a smooth
transition to cleaner technologies.

The Clean Air Act provides 3 years from the effective date of the MATS Rule for sources to comply with its requirements.
In addition, section 112(i)(3)(B) of the Act allows the issuance of a permit granting a source up to one additional year where
necessary for the installation of controls. As you stated in the preamble to the MATS Rule, this additional fourth year should
be broadly available to sources, consistent with the requirements of the law.

The EPA has concluded that 4 years should generally be sufficient to install the necessary emission control equipment, and
DOE has issued analysis consistent with that conclusion. While more time is generally not expected to be needed, the Clean Air
Act offers other important flexibilities as well. For example, section 113(a) of the Act provides the EPA with flexibility to bring
sources into compliance over the course of an additional year, should unusual circumstances arise that warrant such flexibility.

To address any concerns with respect to electric reliability while assuring MATS' public health benefits, I direct you to take
the following actions:

1. Building on the information and guidance that you have provided to the public, relevant stakeholders, and permitting
authorities in the preamble of the MATS Rule, work with State and local permitting authorities to make the additional year
for compliance with the MATS Rule provided under section 112(i)(3)(B) of the Clean Air Act broadly available to sources,
consistent with law, and to invoke this flexibility expeditiously where justified.


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2. Promote early, coordinated, and orderly planning and execution of the measures needed to implement the MATS Rule while
maintaining the reliability of the electric power system. Consistent with Executive Order 13563, this process should be designed
to “promote predictability and reduce uncertainty,” and should include engagement and coordination with DOE, the Federal
Energy Regulatory Commission, State utility regulators, Regional Transmission Organizations, the North American Electric
Reliability Corporation and regional electric reliability organizations, other grid planning authorities, electric utilities, and other
stakeholders, as appropriate.

3. Make available to the public, including relevant stakeholders, information concerning any anticipated use of authorities: (a)
under section 112(i)(3)(B) of the Clean Air Act in the event that additional time to comply with the MATS Rule is necessary for
the installation of technology; and (b) under section 113(a) of the Clean Air Act in the event that additional time to comply with
the MATS Rule is necessary to address a specific and documented electric reliability issue. This information should describe
the process for working with entities with relevant expertise to identify circumstances where electric reliability concerns might
justify allowing additional time to comply.

This memorandum is not intended to, and does not, create any right or benefit, substantive or procedural, enforceable at law
or in equity by any party against the United States, its departments, agencies, or entities, its officers, employees, or agents, or
any other person.

You are hereby authorized and directed to publish this memorandum in the Federal Register.

                                                                                                                 BARACK OBAMA



Notes of Decisions (159)




                                                             Footnotes


1       So in original. Probably should be “effects”.

2       So in original.

3       So in original. Probably should be “section”.

4       So in original. Probably should be paragraph “(7)(B)”.

5       So in original. Probably should be “subparagraph”.

6       So in original. Probably should be “Right-To-Know”.

7       So in original. The word “or” probably should appear.

8       So in original. The word “Administrator” probably should be ‘‘Secretary’’.

9       So in original. Probably should be “(i)(II)”.

42 U.S.C.A. § 7412, 42 USCA § 7412
Current through P.L. 118-106. Some statute sections may be more current, see credits for details.



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§ 7607. Administrative proceedings and judicial review, 42 USCA § 7607




  United States Code Annotated
    Title 42. The Public Health and Welfare
       Chapter 85. Air Pollution Prevention and Control (Refs & Annos)
         Subchapter III. General Provisions

                                                         42 U.S.C.A. § 7607

                                      § 7607. Administrative proceedings and judicial review

                                                              Currentness


(a) Administrative subpenas; confidentiality; witnesses

In connection with any determination under section 7410(f) of this title, or for purposes of obtaining information under section
7521(b)(4) 1 or 7545(c)(3) of this title, any investigation, monitoring, reporting requirement, entry, compliance inspection, or
administrative enforcement proceeding under the 2 chapter (including but not limited to section 7413, section 7414, section
7420, section 7429, section 7477, section 7524, section 7525, section 7542, section 7603, or section 7606 of this title),, 3 the
Administrator may issue subpenas for the attendance and testimony of witnesses and the production of relevant papers, books,
and documents, and he may administer oaths. Except for emission data, upon a showing satisfactory to the Administrator by such
owner or operator that such papers, books, documents, or information or particular part thereof, if made public, would divulge
trade secrets or secret processes of such owner or operator, the Administrator shall consider such record, report, or information
or particular portion thereof confidential in accordance with the purposes of section 1905 of Title 18, except that such paper,
book, document, or information may be disclosed to other officers, employees, or authorized representatives of the United States
concerned with carrying out this chapter, to persons carrying out the National Academy of Sciences' study and investigation
provided for in section 7521(c) of this title, or when relevant in any proceeding under this chapter. Witnesses summoned shall
be paid the same fees and mileage that are paid witnesses in the courts of the United States. In case of contumacy or refusal
to obey a subpena served upon any person under this subparagraph 4 , the district court of the United States for any district
in which such person is found or resides or transacts business, upon application by the United States and after notice to such
person, shall have jurisdiction to issue an order requiring such person to appear and give testimony before the Administrator
to appear and produce papers, books, and documents before the Administrator, or both, and any failure to obey such order of
the court may be punished by such court as a contempt thereof.


(b) Judicial review


(1) A petition for review of action of the Administrator in promulgating any national primary or secondary ambient air quality
standard, any emission standard or requirement under section 7412 of this title, any standard of performance or requirement
under section 7411 of this title,, 3 any standard under section 7521 of this title (other than a standard required to be prescribed
under section 7521(b)(1) of this title), any determination under section 7521(b)(5) 1 of this title, any control or prohibition
under section 7545 of this title, any standard under section 7571 of this title, any rule issued under section 7413, 7419, or under
section 7420 of this title, or any other nationally applicable regulations promulgated, or final action taken, by the Administrator
under this chapter may be filed only in the United States Court of Appeals for the District of Columbia. A petition for review
of the Administrator's action in approving or promulgating any implementation plan under section 7410 of this title or section
7411(d) of this title, any order under section 7411(j) of this title, under section 7412 of this title, under section 7419 of this title,
or under section 7420 of this title, or his action under section 1857c-10(c)(2)(A), (B), or (C) of this title (as in effect before



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August 7, 1977) or under regulations thereunder, or revising regulations for enhanced monitoring and compliance certification
programs under section 7414(a)(3) of this title, or any other final action of the Administrator under this chapter (including any
denial or disapproval by the Administrator under subchapter I) which is locally or regionally applicable may be filed only in
the United States Court of Appeals for the appropriate circuit. Notwithstanding the preceding sentence a petition for review of
any action referred to in such sentence may be filed only in the United States Court of Appeals for the District of Columbia
if such action is based on a determination of nationwide scope or effect and if in taking such action the Administrator finds
and publishes that such action is based on such a determination. Any petition for review under this subsection shall be filed
within sixty days from the date notice of such promulgation, approval, or action appears in the Federal Register, except that
if such petition is based solely on grounds arising after such sixtieth day, then any petition for review under this subsection
shall be filed within sixty days after such grounds arise. The filing of a petition for reconsideration by the Administrator of any
otherwise final rule or action shall not affect the finality of such rule or action for purposes of judicial review nor extend the
time within which a petition for judicial review of such rule or action under this section may be filed, and shall not postpone
the effectiveness of such rule or action.


(2) Action of the Administrator with respect to which review could have been obtained under paragraph (1) shall not be subject to
judicial review in civil or criminal proceedings for enforcement. Where a final decision by the Administrator defers performance
of any nondiscretionary statutory action to a later time, any person may challenge the deferral pursuant to paragraph (1).


(c) Additional evidence

In any judicial proceeding in which review is sought of a determination under this chapter required to be made on the record
after notice and opportunity for hearing, if any party applies to the court for leave to adduce additional evidence, and shows to
the satisfaction of the court that such additional evidence is material and that there were reasonable grounds for the failure to
adduce such evidence in the proceeding before the Administrator, the court may order such additional evidence (and evidence
in rebuttal thereof) to be taken before the Administrator, in such manner and upon such terms and conditions as to 5 the court
may deem proper. The Administrator may modify his findings as to the facts, or make new findings, by reason of the additional
evidence so taken and he shall file such modified or new findings, and his recommendation, if any, for the modification or
setting aside of his original determination, with the return of such additional evidence.


(d) Rulemaking


(1) This subsection applies to--


  (A) the promulgation or revision of any national ambient air quality standard under section 7409 of this title,


  (B) the promulgation or revision of an implementation plan by the Administrator under section 7410(c) of this title,


  (C) the promulgation or revision of any standard of performance under section 7411 of this title, or emission standard or
  limitation under section 7412(d) of this title, any standard under section 7412(f) of this title, or any regulation under section
  7412(g)(1)(D) and (F) of this title, or any regulation under section 7412(m) or (n) of this title,


  (D) the promulgation of any requirement for solid waste combustion under section 7429 of this title,




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  (E) the promulgation or revision of any regulation pertaining to any fuel or fuel additive under section 7545 of this title,


  (F) the promulgation or revision of any aircraft emission standard under section 7571 of this title,


  (G) the promulgation or revision of any regulation under subchapter IV-A (relating to control of acid deposition),


  (H) promulgation or revision of regulations pertaining to primary nonferrous smelter orders under section 7419 of this title
  (but not including the granting or denying of any such order),


  (I) promulgation or revision of regulations under subchapter VI of (relating to stratosphere and ozone protection),


  (J) promulgation or revision of regulations under part C of subchapter I (relating to prevention of significant deterioration
  of air quality and protection of visibility),


  (K) promulgation or revision of regulations under section 7521 of this title and test procedures for new motor vehicles or
  engines under section 7525 of this title, and the revision of a standard under section 7521(a)(3) of this title,


  (L) promulgation or revision of regulations for noncompliance penalties under section 7420 of this title,


  (M) promulgation or revision of any regulations promulgated under section 7541 of this title (relating to warranties and
  compliance by vehicles in actual use),


  (N) action of the Administrator under section 7426 of this title (relating to interstate pollution abatement),


  (O) the promulgation or revision of any regulation pertaining to consumer and commercial products under section 7511b(e)
  of this title,


  (P) the promulgation or revision of any regulation pertaining to field citations under section 7413(d)(3) of this title,


  (Q) the promulgation or revision of any regulation pertaining to urban buses or the clean-fuel vehicle, clean-fuel fleet, and
  clean fuel programs under part C of subchapter II,


  (R) the promulgation or revision of any regulation pertaining to nonroad engines or nonroad vehicles under section 7547
  of this title,


  (S) the promulgation or revision of any regulation relating to motor vehicle compliance program fees under section 7552
  of this title,




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  (T) the promulgation or revision of any regulation under subchapter IV-A (relating to acid deposition),


  (U) the promulgation or revision of any regulation under section 7511b(f) of this title pertaining to marine vessels, and


  (V) such other actions as the Administrator may determine.

The provisions of section 553 through 557 and section 706 of Title 5 shall not, except as expressly provided in this subsection,
apply to actions to which this subsection applies. This subsection shall not apply in the case of any rule or circumstance referred
to in subparagraphs (A) or (B) of subsection 553(b) of Title 5.


(2) Not later than the date of proposal of any action to which this subsection applies, the Administrator shall establish a
rulemaking docket for such action (hereinafter in this subsection referred to as a “rule”). Whenever a rule applies only within
a particular State, a second (identical) docket shall be simultaneously established in the appropriate regional office of the
Environmental Protection Agency.


(3) In the case of any rule to which this subsection applies, notice of proposed rulemaking shall be published in the Federal
Register, as provided under section 553(b) of Title 5, shall be accompanied by a statement of its basis and purpose and shall
specify the period available for public comment (hereinafter referred to as the “comment period”). The notice of proposed
rulemaking shall also state the docket number, the location or locations of the docket, and the times it will be open to public
inspection. The statement of basis and purpose shall include a summary of--


  (A) the factual data on which the proposed rule is based;


  (B) the methodology used in obtaining the data and in analyzing the data; and


  (C) the major legal interpretations and policy considerations underlying the proposed rule.

The statement shall also set forth or summarize and provide a reference to any pertinent findings, recommendations, and
comments by the Scientific Review Committee established under section 7409(d) of this title and the National Academy of
Sciences, and, if the proposal differs in any important respect from any of these recommendations, an explanation of the reasons
for such differences. All data, information, and documents referred to in this paragraph on which the proposed rule relies shall
be included in the docket on the date of publication of the proposed rule.


(4)(A) The rulemaking docket required under paragraph (2) shall be open for inspection by the public at reasonable times
specified in the notice of proposed rulemaking. Any person may copy documents contained in the docket. The Administrator
shall provide copying facilities which may be used at the expense of the person seeking copies, but the Administrator may waive
or reduce such expenses in such instances as the public interest requires. Any person may request copies by mail if the person
pays the expenses, including personnel costs to do the copying.


(B)(i) Promptly upon receipt by the agency, all written comments and documentary information on the proposed rule received
from any person for inclusion in the docket during the comment period shall be placed in the docket. The transcript of public
hearings, if any, on the proposed rule shall also be included in the docket promptly upon receipt from the person who transcribed



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such hearings. All documents which become available after the proposed rule has been published and which the Administrator
determines are of central relevance to the rulemaking shall be placed in the docket as soon as possible after their availability.


(ii) The drafts of proposed rules submitted by the Administrator to the Office of Management and Budget for any interagency
review process prior to proposal of any such rule, all documents accompanying such drafts, and all written comments thereon
by other agencies and all written responses to such written comments by the Administrator shall be placed in the docket no later
than the date of proposal of the rule. The drafts of the final rule submitted for such review process prior to promulgation and
all such written comments thereon, all documents accompanying such drafts, and written responses thereto shall be placed in
the docket no later than the date of promulgation.


(5) In promulgating a rule to which this subsection applies (i) the Administrator shall allow any person to submit written
comments, data, or documentary information; (ii) the Administrator shall give interested persons an opportunity for the oral
presentation of data, views, or arguments, in addition to an opportunity to make written submissions; (iii) a transcript shall be
kept of any oral presentation; and (iv) the Administrator shall keep the record of such proceeding open for thirty days after
completion of the proceeding to provide an opportunity for submission of rebuttal and supplementary information.


(6)(A) The promulgated rule shall be accompanied by (i) a statement of basis and purpose like that referred to in paragraph
(3) with respect to a proposed rule and (ii) an explanation of the reasons for any major changes in the promulgated rule from
the proposed rule.


(B) The promulgated rule shall also be accompanied by a response to each of the significant comments, criticisms, and new
data submitted in written or oral presentations during the comment period.


(C) The promulgated rule may not be based (in part or whole) on any information or data which has not been placed in the
docket as of the date of such promulgation.


(7)(A) The record for judicial review shall consist exclusively of the material referred to in paragraph (3), clause (i) of paragraph
(4)(B), and subparagraphs (A) and (B) of paragraph (6).


(B) Only an objection to a rule or procedure which was raised with reasonable specificity during the period for public comment
(including any public hearing) may be raised during judicial review. If the person raising an objection can demonstrate to the
Administrator that it was impracticable to raise such objection within such time or if the grounds for such objection arose after
the period for public comment (but within the time specified for judicial review) and if such objection is of central relevance
to the outcome of the rule, the Administrator shall convene a proceeding for reconsideration of the rule and provide the same
procedural rights as would have been afforded had the information been available at the time the rule was proposed. If the
Administrator refuses to convene such a proceeding, such person may seek review of such refusal in the United States court of
appeals for the appropriate circuit (as provided in subsection (b)). Such reconsideration shall not postpone the effectiveness of
the rule. The effectiveness of the rule may be stayed during such reconsideration, however, by the Administrator or the court
for a period not to exceed three months.


(8) The sole forum for challenging procedural determinations made by the Administrator under this subsection shall be in the
United States court of appeals for the appropriate circuit (as provided in subsection (b)) at the time of the substantive review
of the rule. No interlocutory appeals shall be permitted with respect to such procedural determinations. In reviewing alleged



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procedural errors, the court may invalidate the rule only if the errors were so serious and related to matters of such central
relevance to the rule that there is a substantial likelihood that the rule would have been significantly changed if such errors
had not been made.


(9) In the case of review of any action of the Administrator to which this subsection applies, the court may reverse any such
action found to be--


  (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;


  (B) contrary to constitutional right, power, privilege, or immunity;


  (C) in excess of statutory jurisdiction, authority, or limitations, or short of statutory right; or


  (D) without observance of procedure required by law, if (i) such failure to observe such procedure is arbitrary or capricious,
  (ii) the requirement of paragraph (7)(B) has been met, and (iii) the condition of the last sentence of paragraph (8) is met.


(10) Each statutory deadline for promulgation of rules to which this subsection applies which requires promulgation less than
six months after date of proposal may be extended to not more than six months after date of proposal by the Administrator
upon a determination that such extension is necessary to afford the public, and the agency, adequate opportunity to carry out
the purposes of this subsection.


(11) The requirements of this subsection shall take effect with respect to any rule the proposal of which occurs after ninety
days after August 7, 1977.


(e) Other methods of judicial review not authorized

Nothing in this chapter shall be construed to authorize judicial review of regulations or orders of the Administrator under this
chapter, except as provided in this section.


(f) Costs

In any judicial proceeding under this section, the court may award costs of litigation (including reasonable attorney and expert
witness fees) whenever it determines that such award is appropriate.


(g) Stay, injunction, or similar relief in proceedings relating to noncompliance penalties

In any action respecting the promulgation of regulations under section 7420 of this title or the administration or enforcement
of section 7420 of this title no court shall grant any stay, injunctive, or similar relief before final judgment by such court in
such action.


(h) Public participation



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It is the intent of Congress that, consistent with the policy of subchapter II of chapter 5 of Title 5, the Administrator in
promulgating any regulation under this chapter, including a regulation subject to a deadline, shall ensure a reasonable period
for public participation of at least 30 days, except as otherwise expressly provided in section 6 7407(d), 7502(a), 7511(a) and
(b), and 7512(a) and (b) of this title.


                                                           CREDIT(S)

   (July 14, 1955, c. 360, Title III, § 307, as added Pub.L. 91-604, § 12(a), Dec. 31, 1970, 84 Stat. 1707; amended Pub.L. 92-157,
Title III, § 302(a), Nov. 18, 1971, 85 Stat. 464; Pub.L. 93-319, § 6(c), June 22, 1974, 88 Stat. 259; Pub.L. 95-95, Title III, §§
303(d), 305(a), (c), (f) to (h), Aug. 7, 1977, 91 Stat. 772, 776, 777; Pub.L. 95-190, § 14(a)(79), (80), Nov. 16, 1977, 91 Stat.
1404; Pub.L. 101-549, Title I, §§ 108(p), 110(5), Title III, § 302(g), (h), Title VII, §§ 702(c), 703, 706, 707(h), 710(b), Nov.
15, 1990, 104 Stat. 2469, 2470, 2574, 2681-2684.)



Notes of Decisions (412)




                                                           Footnotes


1      Repealed. See References in Text notes set out under this section.

2      So in original. Probably should be “this”.

3      So in original.

4      So in original. Probably should be “subsection,”.

5      So in original. The word “to” probably should not appear.

6      So in original. Probably should be “sections”.

42 U.S.C.A. § 7607, 42 USCA § 7607
Current through P.L. 118-106. Some statute sections may be more current, see credits for details.

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§ 63.6 Compliance with standards and maintenance requirements., 40 C.F.R. § 63.6




  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter C. Air Programs
            Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
               Subpart A. General Provisions (Refs & Annos)

                                                          40 C.F.R. § 63.6

                               § 63.6 Compliance with standards and maintenance requirements.

                                                     Effective: March 11, 2021
                                                            Currentness


(a) Applicability.


     (1) The requirements in this section apply to the owner or operator of affected sources for which any relevant standard
     has been established pursuant to section 112 of the Act and the applicability of such requirements is set out in accordance
     with § 63.1(a)(4) unless—


     (i) The Administrator (or a State with an approved permit program) has granted an extension of compliance consistent
     with paragraph (i) of this section; or


     (ii) The President has granted an exemption from compliance with any relevant standard in accordance with section 112(i)
     (4) of the Act.


     (2) If an area source that otherwise would be subject to an emission standard or other requirement established under this
     part if it were a major source subsequently increases its emissions of hazardous air pollutants (or its potential to emit
     hazardous air pollutants) such that the source is a major source, such source shall be subject to the relevant emission
     standard or other requirement.


(b) Compliance dates for new and reconstructed sources.


     (1) Except as specified in paragraphs (b)(3) and (4) of this section, the owner or operator of a new or reconstructed affected
     source for which construction or reconstruction commences after proposal of a relevant standard that has an initial startup
     before the effective date of a relevant standard established under this part pursuant to section 112(d), (f), or (h) of the Act
     must comply with such standard not later than the standard's effective date.


     (2) Except as specified in paragraphs (b)(3) and (4) of this section, the owner or operator of a new or reconstructed affected
     source that has an initial startup after the effective date of a relevant standard established under this part pursuant to section
     112(d), (f), or (h) of the Act must comply with such standard upon startup of the source.




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    (3) The owner or operator of an affected source for which construction or reconstruction is commenced after the proposal
    date of a relevant standard established under this part pursuant to section 112(d), 112(f), or 112(h) of the Act but before
    the effective date (that is, promulgation) of such standard shall comply with the relevant emission standard not later than
    the date 3 years after the effective date if:


    (i) The promulgated standard (that is, the relevant standard) is more stringent than the proposed standard; for purposes of
    this paragraph, a finding that controls or compliance methods are “more stringent” must include control technologies or
    performance criteria and compliance or compliance assurance methods that are different but are substantially equivalent to
    those required by the promulgated rule, as determined by the Administrator (or his or her authorized representative); and


    (ii) The owner or operator complies with the standard as proposed during the 3–year period immediately after the effective
    date.


    (4) The owner or operator of an affected source for which construction or reconstruction is commenced after the proposal
    date of a relevant standard established pursuant to section 112(d) of the Act but before the proposal date of a relevant
    standard established pursuant to section 112(f) shall not be required to comply with the section 112(f) emission standard
    until the date 10 years after the date construction or reconstruction is commenced, except that, if the section 112(f) standard
    is promulgated more than 10 years after construction or reconstruction is commenced, the owner or operator must comply
    with the standard as provided in paragraphs (b)(1) and (2) of this section.


    (5) The owner or operator of a new source that is subject to the compliance requirements of paragraph (b)(3) or (4) of this
    section must notify the Administrator in accordance with § 63.9(d).


    (6) [Reserved]


    (7) When an area source increases its emissions of (or its potential to emit) hazardous air pollutants such that the source
    becomes a major source, the portion of the facility that meets the definition of a new affected source must comply with
    all requirements of that standard applicable to new sources. The source owner or operator must comply with the relevant
    standard upon startup.


(c) Compliance dates for existing sources.


    (1) After the effective date of a relevant standard established under this part pursuant to section 112(d) or 112(h) of the
    Act, the owner or operator of an existing source shall comply with such standard by the compliance date established by the
    Administrator in the applicable subpart(s) of this part, except as provided in § 63.1(c)(6)(i). Except as otherwise provided
    for in section 112 of the Act, in no case will the compliance date established for an existing source in an applicable subpart
    of this part exceed 3 years after the effective date of such standard.


    (2) If an existing source is subject to a standard established under this part pursuant to section 112(f) of the Act, the owner
    or operator must comply with the standard by the date 90 days after the standard's effective date, or by the date specified
    in an extension granted to the source by the Administrator under paragraph (i)(4)(ii) of this section, whichever is later.




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    (3), (4) [Reserved]


    (5) Except as provided in paragraph (b)(7) of this section, the owner or operator of an area source that increases its emissions
    of (or its potential to emit) hazardous air pollutants such that the source becomes a major source and meets the definition
    of an existing source in the applicable major source standard shall be subject to relevant standards for existing sources.
    Except as provided in paragraph § 63.1(c)(6)(i)(B), such sources must comply by the date specified in the standards for
    existing area sources that become major sources. If no such compliance date is specified in the standards, the source shall
    have a period of time to comply with the relevant emission standard that is equivalent to the compliance period specified
    in the relevant standard for existing sources in existence at the time the standard becomes effective.


(d) [Reserved]


(e) Operation and maintenance requirements.


    (1)(i) At all times, including periods of startup, shutdown, and malfunction, the owner or operator must operate and maintain
    any affected source, including associated air pollution control equipment and monitoring equipment, in a manner consistent
    with safety and good air pollution control practices for minimizing emissions. During a period of startup, shutdown, or
    malfunction, this general duty to minimize emissions requires that the owner or operator reduce emissions from the affected
    source to the greatest extent which is consistent with safety and good air pollution control practices. The general duty to
    minimize emissions during a period of startup, shutdown, or malfunction does not require the owner or operator to achieve
    emission levels that would be required by the applicable standard at other times if this is not consistent with safety and good
    air pollution control practices, nor does it require the owner or operator to make any further efforts to reduce emissions if
    levels required by the applicable standard have been achieved. Determination of whether such operation and maintenance
    procedures are being used will be based on information available to the Administrator which may include, but is not limited
    to, monitoring results, review of operation and maintenance procedures (including the startup, shutdown, and malfunction
    plan required in paragraph (e)(3) of this section), review of operation and maintenance records, and inspection of the source.


    (ii) Malfunctions must be corrected as soon as practicable after their occurrence. To the extent that an unexpected event
    arises during a startup, shutdown, or malfunction, an owner or operator must comply by minimizing emissions during such
    a startup, shutdown, and malfunction event consistent with safety and good air pollution control practices.


    (iii) Operation and maintenance requirements established pursuant to section 112 of the Act are enforceable independent
    of emissions limitations or other requirements in relevant standards.


    (2) [Reserved]


    (3) Startup, shutdown, and malfunction plan.


    (i) The owner or operator of an affected source must develop a written startup, shutdown, and malfunction plan that
    describes, in detail, procedures for operating and maintaining the source during periods of startup, shutdown, and
    malfunction; and a program of corrective action for malfunctioning process, air pollution control, and monitoring
    equipment used to comply with the relevant standard. The startup, shutdown, and malfunction plan does not need to address



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    any scenario that would not cause the source to exceed an applicable emission limitation in the relevant standard. This
    plan must be developed by the owner or operator by the source's compliance date for that relevant standard. The purpose
    of the startup, shutdown, and malfunction plan is to—


         (A) Ensure that, at all times, the owner or operator operates and maintains each affected source, including associated
         air pollution control and monitoring equipment, in a manner which satisfies the general duty to minimize emissions
         established by paragraph (e)(1)(i) of this section;


         (B) Ensure that owners or operators are prepared to correct malfunctions as soon as practicable after their occurrence
         in order to minimize excess emissions of hazardous air pollutants; and


         (C) Reduce the reporting burden associated with periods of startup, shutdown, and malfunction (including corrective
         action taken to restore malfunctioning process and air pollution control equipment to its normal or usual manner of
         operation).


    (ii) [Reserved]


    (iii) When actions taken by the owner or operator during a startup or shutdown (and the startup or shutdown causes the
    source to exceed any applicable emission limitation in the relevant emission standards), or malfunction (including actions
    taken to correct a malfunction) are consistent with the procedures specified in the affected source's startup, shutdown, and
    malfunction plan, the owner or operator must keep records for that event which demonstrate that the procedures specified
    in the plan were followed. These records may take the form of a “checklist,” or other effective form of recordkeeping that
    confirms conformance with the startup, shutdown, and malfunction plan and describes the actions taken for that event. In
    addition, the owner or operator must keep records of these events as specified in paragraph 63.10(b), including records
    of the occurrence and duration of each startup or shutdown (if the startup or shutdown causes the source to exceed any
    applicable emission limitation in the relevant emission standards), or malfunction of operation and each malfunction of
    the air pollution control and monitoring equipment. Furthermore, the owner or operator shall confirm that actions taken
    during the relevant reporting period during periods of startup, shutdown, and malfunction were consistent with the affected
    source's startup, shutdown and malfunction plan in the semiannual (or more frequent) startup, shutdown, and malfunction
    report required in § 63.10(d)(5).


    (iv) If an action taken by the owner or operator during a startup, shutdown, or malfunction (including an action taken
    to correct a malfunction) is not consistent with the procedures specified in the affected source's startup, shutdown, and
    malfunction plan, and the source exceeds any applicable emission limitation in the relevant emission standard, then the
    owner or operator must record the actions taken for that event and must report such actions within 2 working days after
    commencing actions inconsistent with the plan, followed by a letter within 7 working days after the end of the event, in
    accordance with § 63.10(d)(5) (unless the owner or operator makes alternative reporting arrangements, in advance, with
    the Administrator).


    (v) The owner or operator must maintain at the affected source a current startup, shutdown, and malfunction plan and must
    make the plan available upon request for inspection and copying by the Administrator. In addition, if the startup, shutdown,
    and malfunction plan is subsequently revised as provided in paragraph (e)(3)(viii) of this section, the owner or operator
    must maintain at the affected source each previous (i.e., superseded) version of the startup, shutdown, and malfunction
    plan, and must make each such previous version available for inspection and copying by the Administrator for a period of



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    5 years after revision of the plan. If at any time after adoption of a startup, shutdown, and malfunction plan the affected
    source ceases operation or is otherwise no longer subject to the provisions of this part, the owner or operator must retain
    a copy of the most recent plan for 5 years from the date the source ceases operation or is no longer subject to this part
    and must make the plan available upon request for inspection and copying by the Administrator. The Administrator may
    at any time request in writing that the owner or operator submit a copy of any startup, shutdown, and malfunction plan (or
    a portion thereof) which is maintained at the affected source or in the possession of the owner or operator. Upon receipt
    of such a request, the owner or operator must promptly submit a copy of the requested plan (or a portion thereof) to the
    Administrator. The owner or operator may elect to submit the required copy of any startup, shutdown, and malfunction plan
    to the Administrator in an electronic format. If the owner or operator claims that any portion of such a startup, shutdown,
    and malfunction plan is confidential business information entitled to protection from disclosure under section 114(c) of
    the Act or 40 CFR 2.301, the material which is claimed as confidential must be clearly designated in the submission.


    (vi) To satisfy the requirements of this section to develop a startup, shutdown, and malfunction plan, the owner or
    operator may use the affected source's standard operating procedures (SOP) manual, or an Occupational Safety and Health
    Administration (OSHA) or other plan, provided the alternative plans meet all the requirements of this section and are made
    available for inspection or submitted when requested by the Administrator.


    (vii) Based on the results of a determination made under paragraph (e)(1)(i) of this section, the Administrator may require
    that an owner or operator of an affected source make changes to the startup, shutdown, and malfunction plan for that source.
    The Administrator must require appropriate revisions to a startup, shutdown, and malfunction plan, if the Administrator
    finds that the plan:


         (A) Does not address a startup, shutdown, or malfunction event that has occurred;


         (B) Fails to provide for the operation of the source (including associated air pollution control and monitoring
         equipment) during a startup, shutdown, or malfunction event in a manner consistent with the general duty to minimize
         emissions established by paragraph (e)(1)(i) of this section;


         (C) Does not provide adequate procedures for correcting malfunctioning process and/or air pollution control and
         monitoring equipment as quickly as practicable; or


         (D) Includes an event that does not meet the definition of startup, shutdown, or malfunction listed in § 63.2.


    (viii) The owner or operator may periodically revise the startup, shutdown, and malfunction plan for the affected source
    as necessary to satisfy the requirements of this part or to reflect changes in equipment or procedures at the affected
    source. Unless the permitting authority provides otherwise, the owner or operator may make such revisions to the startup,
    shutdown, and malfunction plan without prior approval by the Administrator or the permitting authority. However, each
    such revision to a startup, shutdown, and malfunction plan must be reported in the semiannual report required by § 63.10(d)
    (5). If the startup, shutdown, and malfunction plan fails to address or inadequately addresses an event that meets the
    characteristics of a malfunction but was not included in the startup, shutdown, and malfunction plan at the time the owner or
    operator developed the plan, the owner or operator must revise the startup, shutdown, and malfunction plan within 45 days
    after the event to include detailed procedures for operating and maintaining the source during similar malfunction events
    and a program of corrective action for similar malfunctions of process or air pollution control and monitoring equipment.
    In the event that the owner or operator makes any revision to the startup, shutdown, and malfunction plan which alters the



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    scope of the activities at the source which are deemed to be a startup, shutdown, or malfunction, or otherwise modifies
    the applicability of any emission limit, work practice requirement, or other requirement in a standard established under
    this part, the revised plan shall not take effect until after the owner or operator has provided a written notice describing
    the revision to the permitting authority.


    (ix) The title V permit for an affected source must require that the owner or operator develop a startup, shutdown,
    and malfunction plan which conforms to the provisions of this part, but may do so by citing to the relevant subpart or
    subparagraphs of paragraph (e) of this section. However, any revisions made to the startup, shutdown, and malfunction
    plan in accordance with the procedures established by this part shall not be deemed to constitute permit revisions under
    part 70 or part 71 of this chapter and the elements of the startup, shutdown, and malfunction plan shall not be considered an
    applicable requirement as defined in § 70.2 and § 71.2 of this chapter. Moreover, none of the procedures specified by the
    startup, shutdown, and malfunction plan for an affected source shall be deemed to fall within the permit shield provision
    in section 504(f) of the Act.


(f) Compliance with nonopacity emission standards—


    (1) Applicability. The non-opacity emission standards set forth in this part shall apply at all times except as otherwise
    specified in an applicable subpart. If a startup, shutdown, or malfunction of one portion of an affected source does not
    affect the ability of particular emission points within other portions of the affected source to comply with the non-opacity
    emission standards set forth in this part, then that emission point must still be required to comply with the non-opacity
    emission standards and other applicable requirements.


    (2) Methods for determining compliance.


    (i) The Administrator will determine compliance with nonopacity emission standards in this part based on the results of
    performance tests conducted according to the procedures in § 63.7, unless otherwise specified in an applicable subpart
    of this part.


    (ii) The Administrator will determine compliance with nonopacity emission standards in this part by evaluation of an owner
    or operator's conformance with operation and maintenance requirements, including the evaluation of monitoring data, as
    specified in § 63.6(e) and applicable subparts of this part.


    (iii) If an affected source conducts performance testing at startup to obtain an operating permit in the State in which the
    source is located, the results of such testing may be used to demonstrate compliance with a relevant standard if—


         (A) The performance test was conducted within a reasonable amount of time before an initial performance test is
         required to be conducted under the relevant standard;


         (B) The performance test was conducted under representative operating conditions for the source;


         (C) The performance test was conducted and the resulting data were reduced using EPA-approved test methods and
         procedures, as specified in § 63.7(e) of this subpart; and



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         (D) The performance test was appropriately quality-assured, as specified in § 63.7(c).


    (iv) The Administrator will determine compliance with design, equipment, work practice, or operational emission standards
    in this part by review of records, inspection of the source, and other procedures specified in applicable subparts of this part.


    (v) The Administrator will determine compliance with design, equipment, work practice, or operational emission standards
    in this part by evaluation of an owner or operator's conformance with operation and maintenance requirements, as specified
    in paragraph (e) of this section and applicable subparts of this part.


    (3) Finding of compliance. The Administrator will make a finding concerning an affected source's compliance with a non-
    opacity emission standard, as specified in paragraphs (f)(1) and (2) of this section, upon obtaining all the compliance
    information required by the relevant standard (including the written reports of performance test results, monitoring results,
    and other information, if applicable), and information available to the Administrator pursuant to paragraph (e)(1)(i) of
    this section.


(g) Use of an alternative nonopacity emission standard.


    (1) If, in the Administrator's judgment, an owner or operator of an affected source has established that an alternative means
    of emission limitation will achieve a reduction in emissions of a hazardous air pollutant from an affected source at least
    equivalent to the reduction in emissions of that pollutant from that source achieved under any design, equipment, work
    practice, or operational emission standard, or combination thereof, established under this part pursuant to section 112(h)
    of the Act, the Administrator will publish in the Federal Register a notice permitting the use of the alternative emission
    standard for purposes of compliance with the promulgated standard. Any Federal Register notice under this paragraph shall
    be published only after the public is notified and given the opportunity to comment. Such notice will restrict the permission
    to the stationary source(s) or category(ies) of sources from which the alternative emission standard will achieve equivalent
    emission reductions. The Administrator will condition permission in such notice on requirements to assure the proper
    operation and maintenance of equipment and practices required for compliance with the alternative emission standard and
    other requirements, including appropriate quality assurance and quality control requirements, that are deemed necessary.


    (2) An owner or operator requesting permission under this paragraph shall, unless otherwise specified in an applicable
    subpart, submit a proposed test plan or the results of testing and monitoring in accordance with § 63.7 and § 63.8, a
    description of the procedures followed in testing or monitoring, and a description of pertinent conditions during testing or
    monitoring. Any testing or monitoring conducted to request permission to use an alternative nonopacity emission standard
    shall be appropriately quality assured and quality controlled, as specified in § 63.7 and § 63.8.


    (3) The Administrator may establish general procedures in an applicable subpart that accomplish the requirements of
    paragraphs (g)(1) and (g)(2) of this section.


(h) Compliance with opacity and visible emission standards—




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    (1) Applicability. The opacity and visible emission standards set forth in this part must apply at all times except as otherwise
    specified in an applicable subpart. If a startup, shutdown, or malfunction of one portion of an affected source does not
    affect the ability of particular emission points within other portions of the affected source to comply with the opacity and
    visible emission standards set forth in this part, then that emission point shall still be required to comply with the opacity
    and visible emission standards and other applicable requirements.


    (2) Methods for determining compliance.


    (i) The Administrator will determine compliance with opacity and visible emission standards in this part based on the
    results of the test method specified in an applicable subpart. Whenever a continuous opacity monitoring system (COMS)
    is required to be installed to determine compliance with numerical opacity emission standards in this part, compliance with
    opacity emission standards in this part shall be determined by using the results from the COMS. Whenever an opacity
    emission test method is not specified, compliance with opacity emission standards in this part shall be determined by
    conducting observations in accordance with Test Method 9 in appendix A of part 60 of this chapter or the method specified
    in paragraph (h)(7)(ii) of this section. Whenever a visible emission test method is not specified, compliance with visible
    emission standards in this part shall be determined by conducting observations in accordance with Test Method 22 in
    appendix A of part 60 of this chapter.


    (ii) [Reserved]


    (iii) If an affected source undergoes opacity or visible emission testing at startup to obtain an operating permit in the State in
    which the source is located, the results of such testing may be used to demonstrate compliance with a relevant standard if—


         (A) The opacity or visible emission test was conducted within a reasonable amount of time before a performance test
         is required to be conducted under the relevant standard;


         (B) The opacity or visible emission test was conducted under representative operating conditions for the source;


         (C) The opacity or visible emission test was conducted and the resulting data were reduced using EPA-approved test
         methods and procedures, as specified in § 63.7(e); and


         (D) The opacity or visible emission test was appropriately quality-assured, as specified in § 63.7(c) of this section.


    (3) [Reserved]


    (4) Notification of opacity or visible emission observations. The owner or operator of an affected source shall notify the
    Administrator in writing of the anticipated date for conducting opacity or visible emission observations in accordance with
    § 63.9(f), if such observations are required for the source by a relevant standard.


    (5) Conduct of opacity or visible emission observations. When a relevant standard under this part includes an opacity or
    visible emission standard, the owner or operator of an affected source shall comply with the following:


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    (i) For the purpose of demonstrating initial compliance, opacity or visible emission observations shall be conducted
    concurrently with the initial performance test required in § 63.7 unless one of the following conditions applies:


         (A) If no performance test under § 63.7 is required, opacity or visible emission observations shall be conducted within
         60 days after achieving the maximum production rate at which a new or reconstructed source will be operated, but
         not later than 120 days after initial startup of the source, or within 120 days after the effective date of the relevant
         standard in the case of new sources that start up before the standard's effective date. If no performance test under §
         63.7 is required, opacity or visible emission observations shall be conducted within 120 days after the compliance
         date for an existing or modified source; or


         (B) If visibility or other conditions prevent the opacity or visible emission observations from being conducted
         concurrently with the initial performance test required under § 63.7, or within the time period specified in paragraph
         (h)(5)(i)(A) of this section, the source's owner or operator shall reschedule the opacity or visible emission observations
         as soon after the initial performance test, or time period, as possible, but not later than 30 days thereafter, and shall
         advise the Administrator of the rescheduled date. The rescheduled opacity or visible emission observations shall be
         conducted (to the extent possible) under the same operating conditions that existed during the initial performance
         test conducted under § 63.7. The visible emissions observer shall determine whether visibility or other conditions
         prevent the opacity or visible emission observations from being made concurrently with the initial performance test
         in accordance with procedures contained in Test Method 9 or Test Method 22 in appendix A of part 60 of this chapter.


    (ii) For the purpose of demonstrating initial compliance, the minimum total time of opacity observations shall be 3 hours
    (30 6–minute averages) for the performance test or other required set of observations (e.g., for fugitive-type emission
    sources subject only to an opacity emission standard).


    (iii) The owner or operator of an affected source to which an opacity or visible emission standard in this part applies shall
    conduct opacity or visible emission observations in accordance with the provisions of this section, record the results of
    the evaluation of emissions, and report to the Administrator the opacity or visible emission results in accordance with the
    provisions of § 63.10(d).


    (iv) [Reserved]


    (v) Opacity readings of portions of plumes that contain condensed, uncombined water vapor shall not be used for purposes
    of determining compliance with opacity emission standards.


    (6) Availability of records. The owner or operator of an affected source shall make available, upon request by the
    Administrator, such records that the Administrator deems necessary to determine the conditions under which the visual
    observations were made and shall provide evidence indicating proof of current visible observer emission certification.


    (7) Use of a continuous opacity monitoring system.




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    (i) The owner or operator of an affected source required to use a continuous opacity monitoring system (COMS) shall
    record the monitoring data produced during a performance test required under § 63.7 and shall furnish the Administrator
    a written report of the monitoring results in accordance with the provisions of § 63.10(e)(4).


    (ii) Whenever an opacity emission test method has not been specified in an applicable subpart, or an owner or operator of an
    affected source is required to conduct Test Method 9 observations (see appendix A of part 60 of this chapter), the owner or
    operator may submit, for compliance purposes, COMS data results produced during any performance test required under §
    63.7 in lieu of Method 9 data. If the owner or operator elects to submit COMS data for compliance with the opacity emission
    standard, he or she shall notify the Administrator of that decision, in writing, simultaneously with the notification under §
    63.7(b) of the date the performance test is scheduled to begin. Once the owner or operator of an affected source has notified
    the Administrator to that effect, the COMS data results will be used to determine opacity compliance during subsequent
    performance tests required under § 63.7, unless the owner or operator notifies the Administrator in writing to the contrary
    not later than with the notification under § 63.7(b) of the date the subsequent performance test is scheduled to begin.


    (iii) For the purposes of determining compliance with the opacity emission standard during a performance test required
    under § 63.7 using COMS data, the COMS data shall be reduced to 6–minute averages over the duration of the mass
    emission performance test.


    (iv) The owner or operator of an affected source using a COMS for compliance purposes is responsible for demonstrating
    that he/she has complied with the performance evaluation requirements of § 63.8(e), that the COMS has been properly
    maintained, operated, and data quality-assured, as specified in § 63.8(c) and § 63.8(d), and that the resulting data have
    not been altered in any way.


    (v) Except as provided in paragraph (h)(7)(ii) of this section, the results of continuous monitoring by a COMS that indicate
    that the opacity at the time visual observations were made was not in excess of the emission standard are probative but
    not conclusive evidence of the actual opacity of an emission, provided that the affected source proves that, at the time
    of the alleged violation, the instrument used was properly maintained, as specified in § 63.8(c), and met Performance
    Specification 1 in appendix B of part 60 of this chapter, and that the resulting data have not been altered in any way.


    (8) Finding of compliance. The Administrator will make a finding concerning an affected source's compliance with an
    opacity or visible emission standard upon obtaining all the compliance information required by the relevant standard
    (including the written reports of the results of the performance tests required by § 63.7, the results of Test Method 9 or
    another required opacity or visible emission test method, the observer certification required by paragraph (h)(6) of this
    section, and the continuous opacity monitoring system results, whichever is/are applicable) and any information available
    to the Administrator needed to determine whether proper operation and maintenance practices are being used.


    (9) Adjustment to an opacity emission standard.


    (i) If the Administrator finds under paragraph (h)(8) of this section that an affected source is in compliance with all relevant
    standards for which initial performance tests were conducted under § 63.7, but during the time such performance tests
    were conducted fails to meet any relevant opacity emission standard, the owner or operator of such source may petition
    the Administrator to make appropriate adjustment to the opacity emission standard for the affected source. Until the




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    Administrator notifies the owner or operator of the appropriate adjustment, the relevant opacity emission standard remains
    applicable.


    (ii) The Administrator may grant such a petition upon a demonstration by the owner or operator that—


         (A) The affected source and its associated air pollution control equipment were operated and maintained in a manner
         to minimize the opacity of emissions during the performance tests;


         (B) The performance tests were performed under the conditions established by the Administrator; and


         (C) The affected source and its associated air pollution control equipment were incapable of being adjusted or operated
         to meet the relevant opacity emission standard.


    (iii) The Administrator will establish an adjusted opacity emission standard for the affected source meeting the above
    requirements at a level at which the source will be able, as indicated by the performance and opacity tests, to meet the
    opacity emission standard at all times during which the source is meeting the mass or concentration emission standard.
    The Administrator will promulgate the new opacity emission standard in the Federal Register.


    (iv) After the Administrator promulgates an adjusted opacity emission standard for an affected source, the owner or operator
    of such source shall be subject to the new opacity emission standard, and the new opacity emission standard shall apply
    to such source during any subsequent performance tests.


(i) Extension of compliance with emission standards.


    (1) Until an extension of compliance has been granted by the Administrator (or a State with an approved permit program)
    under this paragraph, the owner or operator of an affected source subject to the requirements of this section shall comply
    with all applicable requirements of this part.


    (2) Extension of compliance for early reductions and other reductions—


    (i) Early reductions. Pursuant to section 112(i)(5) of the Act, if the owner or operator of an existing source demonstrates
    that the source has achieved a reduction in emissions of hazardous air pollutants in accordance with the provisions of
    subpart D of this part, the Administrator (or the State with an approved permit program) will grant the owner or operator
    an extension of compliance with specific requirements of this part, as specified in subpart D.


    (ii) Other reductions. Pursuant to section 112(i)(6) of the Act, if the owner or operator of an existing source has installed
    best available control technology (BACT) (as defined in section 169(3) of the Act) or technology required to meet a lowest
    achievable emission rate (LAER) (as defined in section 171 of the Act) prior to the promulgation of an emission standard
    in this part applicable to such source and the same pollutant (or stream of pollutants) controlled pursuant to the BACT
    or LAER installation, the Administrator will grant the owner or operator an extension of compliance with such emission




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    standard that will apply until the date 5 years after the date on which such installation was achieved, as determined by
    the Administrator.


    (3) Request for extension of compliance. Paragraphs (i)(4) through (i)(7) of this section concern requests for an extension
    of compliance with a relevant standard under this part (except requests for an extension of compliance under paragraph (i)
    (2)(i) of this section will be handled through procedures specified in subpart D of this part).


    (4)(i)(A) The owner or operator of an existing source who is unable to comply with a relevant standard established under
    this part pursuant to section 112(d) of the Act may request that the Administrator (or a State, when the State has an approved
    part 70 permit program and the source is required to obtain a part 70 permit under that program, or a State, when the
    State has been delegated the authority to implement and enforce the emission standard for that source) grant an extension
    allowing the source up to 1 additional year to comply with the standard, if such additional period is necessary for the
    installation of controls. An additional extension of up to 3 years may be added for mining waste operations, if the 1–year
    extension of compliance is insufficient to dry and cover mining waste in order to reduce emissions of any hazardous air
    pollutant. The owner or operator of an affected source who has requested an extension of compliance under this paragraph
    and who is otherwise required to obtain a title V permit shall apply for such permit or apply to have the source's title V
    permit revised to incorporate the conditions of the extension of compliance. The conditions of an extension of compliance
    granted under this paragraph will be incorporated into the affected source's title V permit according to the provisions of
    part 70 or Federal title V regulations in this chapter (42 U.S.C. 7661), whichever are applicable.


         (B) Any request under this paragraph for an extension of compliance with a relevant standard must be submitted in
         writing to the appropriate authority no later than 120 days prior to the affected source's compliance date (as specified
         in paragraphs (b) and (c) of this section), except as provided for in paragraph (i)(4)(i)(C) of this section. Nonfrivolous
         requests submitted under this paragraph will stay the applicability of the rule as to the emission points in question until
         such time as the request is granted or denied. A denial will be effective as of the date of denial. Emission standards
         established under this part may specify alternative dates for the submittal of requests for an extension of compliance
         if alternatives are appropriate for the source categories affected by those standards.


         (C) An owner or operator may submit a compliance extension request after the date specified in paragraph (i)(4)(i)(B)
         of this section provided the need for the compliance extension arose after that date, and before the otherwise applicable
         compliance date and the need arose due to circumstances beyond reasonable control of the owner or operator. This
         request must include, in addition to the information required in paragraph (i)(6)(i) of this section, a statement of the
         reasons additional time is needed and the date when the owner or operator first learned of the problems. Nonfrivolous
         requests submitted under this paragraph will stay the applicability of the rule as to the emission points in question
         until such time as the request is granted or denied. A denial will be effective as of the original compliance date.


    (ii) The owner or operator of an existing source unable to comply with a relevant standard established under this part
    pursuant to section 112(f) of the Act may request that the Administrator grant an extension allowing the source up to 2
    years after the standard's effective date to comply with the standard. The Administrator may grant such an extension if
    he/she finds that such additional period is necessary for the installation of controls and that steps will be taken during the
    period of the extension to assure that the health of persons will be protected from imminent endangerment. Any request for
    an extension of compliance with a relevant standard under this paragraph must be submitted in writing to the Administrator
    not later than 90 calendar days after the effective date of the relevant standard.




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    (5) The owner or operator of an existing source that has installed BACT or technology required to meet LAER [as specified
    in paragraph (i)(2)(ii) of this section] prior to the promulgation of a relevant emission standard in this part may request that
    the Administrator grant an extension allowing the source 5 years from the date on which such installation was achieved,
    as determined by the Administrator, to comply with the standard. Any request for an extension of compliance with a
    relevant standard under this paragraph shall be submitted in writing to the Administrator not later than 120 days after the
    promulgation date of the standard. The Administrator may grant such an extension if he or she finds that the installation
    of BACT or technology to meet LAER controls the same pollutant (or stream of pollutants) that would be controlled at
    that source by the relevant emission standard.


    (6)(i) The request for a compliance extension under paragraph (i)(4) of this section shall include the following information:


         (A) A description of the controls to be installed to comply with the standard;


         (B) A compliance schedule, including the date by which each step toward compliance will be reached. At a minimum,
         the list of dates shall include:


              (1) The date by which on-site construction, installation of emission control equipment, or a process change is
              planned to be initiated; and


              (2) The date by which final compliance is to be achieved.


              (3) The date by which on-site construction, installation of emission control equipment, or a process change is
              to be completed; and


              (4) The date by which final compliance is to be achieved;


         (C), (D) [Reserved]


    (ii) The request for a compliance extension under paragraph (i)(5) of this section shall include all information needed to
    demonstrate to the Administrator's satisfaction that the installation of BACT or technology to meet LAER controls the
    same pollutant (or stream of pollutants) that would be controlled at that source by the relevant emission standard.


    (7) Advice on requesting an extension of compliance may be obtained from the Administrator (or the State with an approved
    permit program).


    (8) Approval of request for extension of compliance. Paragraphs (i)(9) through (i)(14) of this section concern approval of
    an extension of compliance requested under paragraphs (i)(4) through (i)(6) of this section.




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    (9) Based on the information provided in any request made under paragraphs (i)(4) through (i)(6) of this section, or other
    information, the Administrator (or the State with an approved permit program) may grant an extension of compliance with
    an emission standard, as specified in paragraphs (i)(4) and (i)(5) of this section.


    (10) The extension will be in writing and will—


    (i) Identify each affected source covered by the extension;


    (ii) Specify the termination date of the extension;


    (iii) Specify the dates by which steps toward compliance are to be taken, if appropriate;


    (iv) Specify other applicable requirements to which the compliance extension applies (e.g., performance tests); and


    (v)(A) Under paragraph (i)(4), specify any additional conditions that the Administrator (or the State) deems necessary to
    assure installation of the necessary controls and protection of the health of persons during the extension period; or


         (B) Under paragraph (i)(5), specify any additional conditions that the Administrator deems necessary to assure the
         proper operation and maintenance of the installed controls during the extension period.


    (11) The owner or operator of an existing source that has been granted an extension of compliance under paragraph (i)(10) of
    this section may be required to submit to the Administrator (or the State with an approved permit program) progress reports
    indicating whether the steps toward compliance outlined in the compliance schedule have been reached. The contents of
    the progress reports and the dates by which they shall be submitted will be specified in the written extension of compliance
    granted under paragraph (i)(10) of this section.


    (12)(i) The Administrator (or the State with an approved permit program) will notify the owner or operator in writing of
    approval or intention to deny approval of a request for an extension of compliance within 30 calendar days after receipt of
    sufficient information to evaluate a request submitted under paragraph (i)(4)(i) or (i)(5) of this section. The Administrator
    (or the State) will notify the owner or operator in writing of the status of his/her application, that is, whether the application
    contains sufficient information to make a determination, within 30 calendar days after receipt of the original application
    and within 30 calendar days after receipt of any supplementary information that is submitted. The 30–day approval or
    denial period will begin after the owner or operator has been notified in writing that his/her application is complete.


    (ii) When notifying the owner or operator that his/her application is not complete, the Administrator will specify the
    information needed to complete the application and provide notice of opportunity for the applicant to present, in writing,
    within 30 calendar days after he/she is notified of the incomplete application, additional information or arguments to the
    Administrator to enable further action on the application.




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    (iii) Before denying any request for an extension of compliance, the Administrator (or the State with an approved permit
    program) will notify the owner or operator in writing of the Administrator's (or the State's) intention to issue the denial,
    together with—


         (A) Notice of the information and findings on which the intended denial is based; and


         (B) Notice of opportunity for the owner or operator to present in writing, within 15 calendar days after he/she is
         notified of the intended denial, additional information or arguments to the Administrator (or the State) before further
         action on the request.


    (iv) The Administrator's final determination to deny any request for an extension will be in writing and will set forth
    the specific grounds on which the denial is based. The final determination will be made within 30 calendar days after
    presentation of additional information or argument (if the application is complete), or within 30 calendar days after the
    final date specified for the presentation if no presentation is made.


    (13)(i) The Administrator will notify the owner or operator in writing of approval or intention to deny approval of a request
    for an extension of compliance within 30 calendar days after receipt of sufficient information to evaluate a request submitted
    under paragraph (i)(4)(ii) of this section. The 30–day approval or denial period will begin after the owner or operator has
    been notified in writing that his/her application is complete. The Administrator (or the State) will notify the owner or
    operator in writing of the status of his/her application, that is, whether the application contains sufficient information to
    make a determination, within 15 calendar days after receipt of the original application and within 15 calendar days after
    receipt of any supplementary information that is submitted.


    (ii) When notifying the owner or operator that his/her application is not complete, the Administrator will specify the
    information needed to complete the application and provide notice of opportunity for the applicant to present, in writing,
    within 15 calendar days after he/she is notified of the incomplete application, additional information or arguments to the
    Administrator to enable further action on the application.


    (iii) Before denying any request for an extension of compliance, the Administrator will notify the owner or operator in
    writing of the Administrator's intention to issue the denial, together with—


         (A) Notice of the information and findings on which the intended denial is based; and


         (B) Notice of opportunity for the owner or operator to present in writing, within 15 calendar days after he/she is
         notified of the intended denial, additional information or arguments to the Administrator before further action on the
         request.


    (iv) A final determination to deny any request for an extension will be in writing and will set forth the specific grounds on
    which the denial is based. The final determination will be made within 30 calendar days after presentation of additional
    information or argument (if the application is complete), or within 30 calendar days after the final date specified for the
    presentation if no presentation is made.




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     (14) The Administrator (or the State with an approved permit program) may terminate an extension of compliance at
     an earlier date than specified if any specification under paragraph (i)(10)(iii) or (iv) of this section is not met. Upon
     a determination to terminate, the Administrator will notify, in writing, the owner or operator of the Administrator's
     determination to terminate, together with:


     (i) Notice of the reason for termination; and


     (ii) Notice of opportunity for the owner or operator to present in writing, within 15 calendar days after he/she is notified
     of the determination to terminate, additional information or arguments to the Administrator before further action on the
     termination.


     (iii) A final determination to terminate an extension of compliance will be in writing and will set forth the specific grounds
     on which the termination is based. The final determination will be made within 30 calendar days after presentation of
     additional information or arguments, or within 30 calendar days after the final date specified for the presentation if no
     presentation is made.


     (15) [Reserved]


     (16) The granting of an extension under this section shall not abrogate the Administrator's authority under section 114
     of the Act.


(j) Exemption from compliance with emission standards. The President may exempt any stationary source from compliance
with any relevant standard established pursuant to section 112 of the Act for a period of not more than 2 years if the President
determines that the technology to implement such standard is not available and that it is in the national security interests of
the United States to do so. An exemption under this paragraph may be extended for 1 or more additional periods, each period
not to exceed 2 years.


Credits
[67 FR 16599, April 5, 2002; 68 FR 32600, May 30, 2003; 71 FR 20454, April 20, 2006; 85 FR 73885, Nov. 19, 2020; 86
FR 13821, March 11, 2021]


SOURCE: 57 FR 61992, Dec. 29, 1992; 59 FR 12430, March 16, 1994, unless otherwise noted.


AUTHORITY: 42 U.S.C. 7401 et seq.


Current through October 25, 2024, 89 FR 85420. Some sections may be more current. See credits for details.

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§ 63.12 State authority and delegations., 40 C.F.R. § 63.12




  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter C. Air Programs
            Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
               Subpart A. General Provisions (Refs & Annos)

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                                             § 63.12 State authority and delegations.

                                                   Effective: January 19, 2021
                                                           Currentness


(a) The provisions of this part shall not be construed in any manner to preclude any State or political subdivision thereof from—


     (1) Adopting and enforcing any standard, limitation, prohibition, or other regulation applicable to an affected source subject
     to the requirements of this part, provided that such standard, limitation, prohibition, or regulation is not less stringent than
     any requirement applicable to such source established under this part;


     (2) Requiring the owner or operator of an affected source to obtain permits, licenses, or approvals prior to initiating
     construction, reconstruction, modification, or operation of such source; or


     (3) Requiring emission reductions in excess of those specified in subpart D of this part as a condition for granting the
     extension of compliance authorized by section 112(i)(5) of the Act.


(b)(1) Section 112(l) of the Act directs the Administrator to delegate to each State, when appropriate, the authority to implement
and enforce standards and other requirements pursuant to section 112 for stationary sources located in that State. Because of
the unique nature of radioactive material, delegation of authority to implement and enforce standards that control radionuclides
may require separate approval.


     (2) Subpart E of this part establishes procedures consistent with section 112(l) for the approval of State rules or programs to
     implement and enforce applicable Federal rules promulgated under the authority of section 112. Subpart E also establishes
     procedures for the review and withdrawal of section 112 implementation and enforcement authorities granted through a
     section 112(l) approval.


(c) All information required to be submitted to the EPA under this part also shall be submitted to the appropriate state agency
of any state to which authority has been delegated under section 112(l) of the Act, provided that each specific delegation may
exempt sources from a certain federal or state reporting requirement. Any information required to be submitted electronically
by this part via the EPA's CEDRI may, at the discretion of the delegated authority, satisfy the requirements of this paragraph.
The Administrator may permit all or some of the information to be submitted to the appropriate state agency only, instead of
to the EPA and the state agency with the exception of federal electronic reporting requirements under this part. Sources may
not be exempted from federal electronic reporting requirements.



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AUTHORITY: 42 U.S.C. 7401 et seq.


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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter C. Air Programs
            Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
               Subpart E. Approval of State Programs and Delegation of Federal Authorities (Refs & Annos)

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                                                   § 63.90 Program overview.

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The regulations in this subpart establish procedures consistent with section 112(l) of the Clean Air Act (Act) (42 U.S.C.
7401–7671q). This subpart establishes procedures for the approval of State rules, programs, or other requirements such as
permit terms and conditions to be implemented and enforced in place of certain otherwise applicable section 112 Federal rules,
emission standards, or requirements (including section 112 rules promulgated under the authority of the Act prior to the 1990
Amendments to the Act). The authority to implement and enforce section 112 Federal rules as promulgated without changes
may be delegated under procedures established in this subpart. In this process, States may seek approval of a State mechanism
for receiving delegation of existing and future unchanged Federal section 112 standards. This subpart clarifies which part 63,
subpart A General Provisions authorities can be delegated to States. This subpart also establishes procedures for the review
and withdrawal of section 112 implementation and enforcement authorities delegated through this subpart. This subpart also
establishes procedures for the approval of State rules or programs to establish limitations on the potential to emit pollutants
listed in or pursuant to section 112(b) of the Act.


(a) Definitions. The following definitions apply to this subpart.

Alternative requirements means the requirements, rules, permits, provisions, methods, or other enforceable mechanisms that a
State submits for approval under this subpart or subpart A and, after approval, replaces the otherwise applicable Federal section
112 requirements, provisions, or methods.

Applicability criteria means the regulatory criteria used to define all affected sources subject to a specific section 112 rule.

Approval means a determination by the Administrator that a State rule, program, or requirement meets the criteria of § 63.91 and
the additional criteria of either § 63.92, § 63.93, § 63.94, or § 63.97 as appropriate. For accidental release prevention programs,
the criteria of § 63.95 must be met in addition to the criteria of § 63.91. This is considered a “full approval” for the purposes of
this subpart. Partial approvals may also be granted as described in this subpart. Any approved requirements become applicable
requirements under § 70.2 of this chapter.

Compliance and enforcement measures means requirements relating to compliance and enforcement, including but not
necessarily limited to monitoring methods and procedures, recordkeeping, reporting, plans, inspection, maintenance, and
operation requirements, pollution prevention requirements, noticing, field inspections, entry, sampling, or accidental release
prevention oversight.

Intermediate change to monitoring means a modification to federally required monitoring involving “proven
technology” (generally accepted by the scientific community as equivalent or better) that is applied on a site-specific basis and
that may have the potential to decrease the stringency of the associated emission limitation or standard. Though site-specific, an


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intermediate change may set a national precedent for a source category and may ultimately result in a revision to the federally
required monitoring. Examples of intermediate changes to monitoring include, but are not limited to:

(1) Use of a continuous emission monitoring system (CEMS) in lieu of a parameter monitoring approach;

(2) Decreased frequency for non-continuous parameter monitoring or physical inspections;

(3) Changes to quality control requirements for parameter monitoring; and

(4) Use of an electronic data reduction system in lieu of manual data reduction.

Intermediate change to test method means a within-method modification to a federally enforceable test method involving
“proven technology” (generally accepted by the scientific community as equivalent or better) that is applied on a site-specific
basis and that may have the potential to decrease the stringency of the associated emission limitation or standard. Though site-
specific, an intermediate change may set a national precedent for a source category and may ultimately result in a revision to the
federally enforceable test method. In order to be approved, an intermediate change must be validated according to EPA Method
301 (Part 63, Appendix A) to demonstrate that it provides equal or improved accuracy and precision. Examples of intermediate
changes to a test method include, but are not limited to:

(1) Modifications to a test method's sampling procedure including substitution of sampling equipment that has been
demonstrated for a particular sample matrix, and use of a different impinger absorbing solution;

(2) Changes in sample recovery procedures and analytical techniques, such as changes to sample holding times and use of a
different analytical finish with proven capability for the analyte of interest; and

(3) “Combining” a federally required method with another proven method for application to processes emitting multiple
pollutants.

Level of control means the degree to which a rule, program, or requirement limits emissions or employs design, equipment,
work practice, or operational standards, accident prevention, or other requirements or techniques (including a prohibition of
emissions) for:

(1)(i) Each hazardous air pollutant, if individual pollutants are subject to emission limitations, and

(ii) The aggregate total of hazardous air pollutants, if the aggregate grouping is subject to emission limitations, provided that
the rule, program, or requirement would not lead to an increase in risk to human health or the environment; and

(2) Each substance regulated under part 68 of this chapter.

(3) Test methods and associated procedures and averaging times are integral to the level of control.

Local agency means a local air pollution control agency or, for the purposes of § 63.95, any local agency or entity having
responsibility for preventing accidental releases which may occur at a source regulated under part 68 of this chapter.

Major change to monitoring means a modification to federally required monitoring that uses “unproven technology or
procedures” (not generally accepted by the scientific community) or is an entirely new method (sometimes necessary when
the required monitoring is unsuitable). A major change to monitoring may be site-specific or may apply to one or more source
categories and will almost always set a national precedent. Examples of major changes to monitoring include, but are not limited
to:



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(1) Use of a new monitoring approach developed to apply to a control technology not contemplated in the applicable regulation;

(2) Use of a predictive emission monitoring system (PEMS) in place of a required continuous emission monitoring system
(CEMS);

(3) Use of alternative calibration procedures that do not involve calibration gases or test cells;

(4) Use of an analytical technology that differs from that specified by a performance specification;

(5) Decreased monitoring frequency for a continuous emission monitoring system, continuous opacity monitoring system,
predictive emission monitoring system, or continuous parameter monitoring system;

(6) Decreased monitoring frequency for a leak detection and repair program; and

(7) Use of alternative averaging times for reporting purposes.

Major change to recordkeeping/reporting means:

(1) A modification to federally required recordkeeping or reporting that:

(i) May decrease the stringency of the required compliance and enforcement measures for the relevant standards;

(ii) May have national significance (e.g., might affect implementation of the applicable regulation for other affected sources,
might set a national precedent); or

(iii) Is not site-specific.

(2) Examples of major changes to recordkeeping and reporting include, but are not limited to:

(i) Decreases in the record retention for all records;

(ii) Waiver of all or most recordkeeping or reporting requirements;

(iii) Major changes to the contents of reports; or

(iv) Decreases in the reliability of recordkeeping or reporting (e.g., manual recording of monitoring data instead of required
automated or electronic recording, or paper reports where electronic reporting may have been required).

Major change to test method means a modification to a federally enforceable test method that uses “unproven technology or
procedures” (not generally accepted by the scientific community) or is an entirely new method (sometimes necessary when the
required test method is unsuitable). A major change to a test method may be site-specific, or may apply to one or more sources
or source categories, and will almost always set a national precedent. In order to be approved, a major change must be validated
according to EPA Method 301 (Part 63, Appendix A). Examples of major changes to a test method include, but are not limited to:

(1) Use of an unproven analytical finish;

(2) Use of a method developed to fill a test method gap;




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(3) Use of a new test method developed to apply to a control technology not contemplated in the applicable regulation; and

(4) Combining two or more sampling/analytical methods (at least one unproven) into one for application to processes emitting
multiple pollutants.

Minor change to monitoring means:

(1) A modification to federally required monitoring that:

(i) Does not decrease the stringency of the compliance and enforcement measures for the relevant standard;

(ii) Has no national significance (e.g., does not affect implementation of the applicable regulation for other affected sources,
does not set a national precedent, and individually does not result in a revision to the monitoring requirements); and

(iii) Is site-specific, made to reflect or accommodate the operational characteristics, physical constraints, or safety concerns
of an affected source.

(2) Examples of minor changes to monitoring include, but are not limited to:

(i) Modifications to a sampling procedure, such as use of an improved sample conditioning system to reduce maintenance
requirements;

(ii) Increased monitoring frequency; and

(iii) Modification of the environmental shelter to moderate temperature fluctuation and thus protect the analytical
instrumentation.

Minor change to recordkeeping/reporting means:

(1) A modification to federally required recordkeeping or reporting that:

(i) Does not decrease the stringency of the compliance and enforcement measures for the relevant standards;

(ii) Has no national significance (e.g., does not affect implementation of the applicable regulation for other affected sources, does
not set a national precedent, and individually does not result in a revision to the recordkeeping or reporting requirement); and

(iii) Is site-specific.

(2) Examples of minor changes to recordkeeping or reporting include, but are not limited to:

(i) Changes to recordkeeping necessitated by alternatives to monitoring;

(ii) Increased frequency of recordkeeping or reporting, or increased record retention periods;

(iii) Increased reliability in the form of recording monitoring data, e.g., electronic or automatic recording as opposed to manual
recording of monitoring data;

(iv) Changes related to compliance extensions granted pursuant to § 63.6(i);




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(v) Changes to recordkeeping for good cause shown for a fixed short duration, e.g., facility shutdown;

(vi) Changes to recordkeeping or reporting that is clearly redundant with equivalent recordkeeping/reporting requirements; and

(vii) Decreases in the frequency of reporting for area sources to no less than once a year for good cause shown, or for major
sources to no less than twice a year as required by title V, for good cause shown.

Minor change to test method means:

(1) A modification to a federally enforceable test method that:

(i) Does not decrease the stringency of the emission limitation or standard;

(ii) Has no national significance (e.g., does not affect implementation of the applicable regulation for other affected sources,
does not set a national precedent, and individually does not result in a revision to the test method); and

(iii) Is site-specific, made to reflect or accommodate the operational characteristics, physical constraints, or safety concerns
of an affected source.

(2) Examples of minor changes to a test method include, but are not limited to:

(i) Field adjustments in a test method's sampling procedure, such as a modified sampling traverse or location to avoid interference
from an obstruction in the stack, increasing the sampling time or volume, use of additional impingers for a high moisture
situation, accepting particulate emission results for a test run that was conducted with a lower than specified temperature,
substitution of a material in the sampling train that has been demonstrated to be more inert for the sample matrix; and

(ii) Changes in recovery and analytical techniques such as a change in quality control/quality assurance requirements needed
to adjust for analysis of a certain sample matrix.

Partial approval means that the Administrator approves under this subpart:

(1) A State's legal authorities that fully meet the criteria of § 63.91(d)(3)(ii)–(v), and substantially meet the criteria of § 63.91(d)
(3)(i) as appropriate; or

(2) A State rule or program that meets the criteria of §§ 63.92, 63.93, 63.94, 63.95, or 63.97 with the exception of a separable
portion of that State rule or program which fails to meet those criteria. A separable portion of a State rule or program is defined as
a section(s) of a rule or a portion(s) of a program which can be acted upon independently without affecting the overall integrity
of the rule or program as a whole.

Program means, for the purposes of an approval under this subpart, a collection of State authorities, resources, and other
requirements that satisfy the criteria of this subpart and subpart A.

State agency, for the purposes of this subpart, includes State and local air pollution agencies, Indian tribes as defined in § 71.2
of this chapter, and territories of the United States to the extent they are or will be delegated Federal section 112 rules, emission
standards, or requirements.

Stringent or stringency means the degree of rigor, strictness or severity a statute, rule, emission standard, or requirement imposes
on an affected source as measured by the quantity of emissions, or as measured by parameters relating to rule applicability and
level of control, or as otherwise determined by the Administrator.



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Title V operating permit programs means the part 70 permitting program and the delegated Indian tribal programs under part
70 of this chapter.


(b) Local agency coordination with State and territorial agencies. Local agencies submitting a rule or program for approval under
this subpart shall consult with the relevant State or Territorial agency prior to making a request for approval to the Administrator.
A State or Territorial agency may submit requests for approval on behalf of a local agency after consulting with that local agency.


(c) Tribal authority.

A tribal authority may submit a rule or program under this subpart, provided that the tribal authority has received approval,
under the provisions of part 49 of this chapter, for administering Federal rules under section 112 of the Act.


(d) Authorities retained by the Administrator.


     (1) The following authorities will be retained by the Administrator and will not be delegated:


     (i) The authority to add or delete pollutants from the list of hazardous air pollutants established under section 112(b);


     (ii), (iii) [Reserved]


     (iv) The authority to add source categories to or delete source categories from the Federal source category list established
     under section 112(c)(1) or to subcategorize categories on the Federal source category list after proposal of a relevant
     emission standard;


     (v) The authority to revise the source category schedule established under section 112(e) by moving a source category to
     a later date for promulgation; and


     (vi) Any other authorities determined to be nondelegable by the Administrator.


     (2) Nothing in this subpart shall prohibit the Administrator from enforcing any applicable rule, emission standard or
     requirement established under section 112.


     (3) Nothing in this subpart shall affect the authorities and obligations of the Administrator or the State under title V of the
     Act or under regulations promulgated pursuant to that title.


(e) Federally-enforceable requirements. All rules, programs, State or local permits, or other requirements approved under this
subpart and all resulting part 70 operating permit conditions are enforceable by the Administrator and by citizens under the Act.




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(f) Standards not subject to modification or substitution. With respect to radionuclide emissions from licensees of the Nuclear
Regulatory Commission or licensees of Nuclear Regulatory Commission Agreement States which are subject to part 61, subparts
I, T, or W of this chapter, a State may request that the EPA approve delegation of implementation and enforcement of the Federal
standard pursuant to § 63.91, but no changes or modifications in the form or content of the standard will be approved pursuant
to § 63.92, § 63.93, § 63.94, or § 63.97.


(g) Selection of delegation options.


     (1) With the exception of paragraphs (g)(2) and (g)(3) of this section, States may only submit requests for approval of
     alternative requirements for a section 112 Federal rule, emission standard, or other requirement under a single delegation
     option under this subpart.


     (2) In the case of § 63.94 submittals, if the identified sources in any source category comprise a subset of the sources in
     that category, the State must accept delegation under one other section of this subpart for the remainder of the sources in
     that category that are required to be permitted by the State under part 70 of this chapter.


     (3) If the Administrator partially approves the State request per § 63.91(f), the State may submit a request for the remaining
     section 112 rules, emission standards, or requirements in that category under another section of this subpart.


Credits
[61 FR 36297, July 10, 1996; 65 FR 55835, Sept. 14, 2000]


SOURCE: 57 FR 61992, Dec. 29, 1992; 58 FR 62283, Nov. 26, 1993, unless otherwise noted.


AUTHORITY: 42 U.S.C. 7401 et seq.



Notes of Decisions (4)

Current through October 25, 2024, 89 FR 85420. Some sections may be more current. See credits for details.

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  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter C. Air Programs
            Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
               Subpart E. Approval of State Programs and Delegation of Federal Authorities (Refs & Annos)

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                                         § 63.96 Review and withdrawal of approval.

                                                          Currentness


(a) Submission of information for review of approval.


    (1) The Administrator may at any time request any of the following information to review the adequacy of implementation
    and enforcement of an approved rule or program and the State shall provide that information within 45 days of the
    Administrator's request:


    (i) Copies of any State statutes, rules, regulations or other requirements that have amended, repealed or revised the approved
    State rule or program since approval or since the immediately previous EPA review;


    (ii) Information to demonstrate adequate State enforcement and compliance monitoring activities with respect to all
    approved State rules and with all section 112 rules, emission standards or requirements;


    (iii) Information to demonstrate adequate funding, staff, and other resources to implement and enforce the State's approved
    rule or program;


    (iv) A schedule for implementing the State's approved rule or program that assures compliance with all section 112 rules
    and requirements that the EPA has promulgated since approval or since the immediately previous EPA review,


    (v) A list of part 70 or other permits issued, amended, revised, or revoked since approval or since immediately previous
    EPA review, for sources subject to a State rule or program approved under this subpart.


    (vi) A summary of enforcement actions by the State regarding violations of section 112 requirements, including but not
    limited to administrative orders and judicial and administrative complaints and settlements.


    (2) Upon request by the Administrator, the State shall demonstrate that each State rule, emission standard or requirement
    applied to an individual source is no less stringent as applied than the otherwise applicable Federal rule, emission standard
    or requirement.




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(b) Withdrawal of approval of a state rule or program.


     (1) If the Administrator has reason to believe that a State is not adequately implementing or enforcing an approved rule
     or program according to the criteria of this section or that an approved rule or program is not as stringent as the otherwise
     applicable Federal rule, emission standard or requirements, the Administrator will so inform the State in writing and will
     identify the reasons why the Administrator believes that the State's rule or program is not adequate. The State shall then
     initiate action to correct the deficiencies identified by the Administrator and shall inform the Administrator of the actions
     it has initiated and completed. If the Administrator determines that the State's actions are not adequate to correct the
     deficiencies, the Administrator will notify the State that the Administrator intends to withdraw approval and will hold
     a public hearing and seek public comment on the proposed withdrawal of approval. The Administrator will require that
     comments be submitted concurrently to the State. Upon notification of the intent to withdraw, the State will notify all
     sources subject to the relevant approved rule or program that withdrawal proceedings have been initiated.


     (2) Based on any public comment received and any response to that comment by the State, the Administrator will notify
     the State of any changes in identified deficiencies or actions needed to correct identified deficiencies. If the State does
     not correct the identified deficiencies within 90 days after receiving revised notice of deficiencies, the Administrator shall
     withdraw approval of the State's rule or program upon a determination that:


     (i) The State no longer has adequate authorities to assure compliance or re-sources to implement and enforce the approved
     rule or program, or


     (ii) The State is not adequately implementing or enforcing the approved rule or program, or


     (iii) An approved rule or program is not as stringent as the otherwise applicable Federal rule, emission standard or
     requirement.


     (3) The Administrator may withdraw approval for part of a rule, for a rule, for part of a program, or for an entire program.


     (4) Any State rule, program or portion of a State rule or program for which approval is withdrawn is no longer Federally
     enforceable. The Federal rule, emission standard or requirement that would have been applicable in the absence of approval
     under this will be the federally enforceable rule, emission standard or requirement.


     (i) Upon withdrawal of approval, the Administrator will publish an expeditious schedule for sources subject to the
     previously approved State rule or program to come into compliance with applicable Federal requirements. Such schedule
     shall include interim emission limits where appropriate. During this transition, sources must be operated in a manner
     consistent with good air pollution control practices for minimizing emissions.


     (ii) Upon withdrawal, the State shall reopen, under the provisions of § 70.7(f) of this chapter, the part 70 permit of each
     source subject to the previously approved rules or programs in order to assure compliance through the permit with the
     applicable requirements for each source.




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    (iii) If the Administrator withdraws approval of State rules applicable to sources that are not subject to part 70 permits,
    the applicable State rules are no longer Federally enforceable.


    (iv) If the Administrator withdraws approval of a portion of a State rule or program, other approved portions of the State
    rule or program that are not withdrawn shall remain in effect.


    (v) Any applicable Federal emission standard or requirement shall remain enforceable by the EPA as specified in section
    112(l)(7) of the Act.


    (5) If a rule approved under § 63.93 is withdrawn under the provisions of § 63.96(b)(2)(i) or (ii), and, at the time of
    withdrawal, the Administrator finds the rule to be no less stringent than the otherwise applicable Federal requirement, the
    Administrator will grant equivalency to the previously approved State rule under the appropriate provisions of this part.


    (6) A State may submit a new rule, program or portion of a rule or program for approval after the Administrator has
    withdrawn approval of the State's rule, program or portion of a rule or program. The Administrator will determine whether
    the new rule or program or portion of a rule or program is approvable according to the criteria and procedures of § 63.91
    and either of §§ 63.92, 63.93 or 63.94.


    (7) A State may voluntarily withdraw from an approved State rule, program or portion of a rule or program by notifying
    the EPA and all affected sources subject to the rule or program and providing notice and opportunity for comment to the
    public within the State.


    (i) Upon voluntary withdrawal by a State, the Administrator will publish a timetable for sources subject to the previously
    approved State rule or program to come into compliance with applicable Federal requirements.


    (ii) Upon voluntary withdrawal, the State must reopen and revise the part 70 permits of all sources affected by the
    withdrawal as provided for in this section and § 70.7(f), and the Federal rule, emission standard, or requirement that would
    have been applicable in the absence of approval under this subpart will become the applicable requirement for the source.


    (iii) Any applicable Federal section 112 rule, emission standard or requirement shall remain enforceable by the EPA as
    specified in section 112(l)(7) of the Act.


    (iv) Voluntary withdrawal shall not be effective sooner than 180 days after the State notifies the EPA of its intent to
    voluntarily withdraw.


Credits
[65 FR 55835, 55843, Sept. 14, 2000]


SOURCE: 57 FR 61992, Dec. 29, 1992; 58 FR 62283, Nov. 26, 1993, unless otherwise noted.




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AUTHORITY: 42 U.S.C. 7401 et seq.



Notes of Decisions (4)

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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




    Code of Federal Regulations
      Title 40. Protection of Environment
        Chapter I. Environmental Protection Agency (Refs & Annos)
           Subchapter C. Air Programs
              Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
                 Subpart E. Approval of State Programs and Delegation of Federal Authorities (Refs & Annos)

                                                                                                      40 C.F.R. § 63.99

                                                                                   § 63.99 Delegated Federal authorities.

                                                                                                Effective: June 24, 2024
                                                                                                      Currentness


(a) This section lists the specific source categories that have been delegated to the air pollution control agencies in each State
under the procedures described in this subpart.


         (1) Alabama.


         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Alabama Department
         of Environmental Management for all sources. The “X” symbol is used to indicate each subpart that has been delegated.
         The delegations are subject to all of the conditions and limitations set forth in Federal law, regulations, policy, guidance, and
         determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
         authorities and specific parts of some standards.


                                                                         Part 63 Major & Area Source Rule Delegations—Alabama 1


                                                         Source category                                                                   Subpart                           ADEM 2   JCDH 3   HDNR 4


1................. HON................................................................................................... F, G, H, I.....................................      X        X        X


2................. Polyvinyl Chloride & Co-polymers, VACATED on 5/11/05..................                                          J


3................. Coke Ovens......................................................................................... L..................................................     X        X        X


4................. Dry Cleaners....................................................................................... M.................................................      X        X        X


5................. Chromium Electroplating..................................................................... N..................................................            X        X        X


6................. EtO Commercial Sterilization.............................................................. O..................................................              X        X        X


7................. Chromium Cooling Towers.................................................................. Q..................................................               X        X        X


8................. Gasoline Distribution (stage 1)............................................................ R..................................................             X        X        X


9................. Pulp & Paper I.................................................................................... S..................................................      X        X        X


10............... Halogenated Solvent Cleaning............................................................. T..................................................                X        X        X




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11............... Polymer & Resins 1............................................................................ U..................................................      X   X      X


12............... Polymer & Resins 2............................................................................ W.................................................       X   X      X


13............... Secondary Lead Smelters..................................................................... X..................................................        X   X      X


14............... Marine Tank Vessel Loading................................................................ Y..................................................          X   X


15............... Phosphoric Acid Mfg.......................................................................... AA...............................................         X   X      X


16............... Phosphate Fertilizers Prod................................................................... BB................................................        X   X      X


17............... Petroleum Refineries........................................................................... CC................................................      X   X      X


18............... Offsite Waste & Recovery................................................................... DD...............................................           X   X      X


...................          Tanks; Level 1.........................................................................            OO                                        X   X      X


...................          Containers...............................................................................          PP                                        X   X      X


...................          Surface Impoundments............................................................                   QQ                                        X   X      X


...................          Drain Systems.........................................................................             RR                                        X   X      X


...................          Oil-Water Separators................................................................               VV                                        X   X      X


19............... Magnetic Tape..................................................................................... EE................................................   X   X      X


20............... Aerospace Industry.............................................................................. GG...............................................      X   X      X


21............... Oil & Natural Gas Prod....................................................................... HH...............................................         X   X      X


...................                    Area Source Requirements >>.


22............... Shipbuilding and Repair...................................................................... II..................................................      X   X      X


23............... Wood Furniture Mfg............................................................................ JJ..................................................     X   X      X


24............... Printing & Publishing.......................................................................... KK...............................................       X   X      X


25............... Primary Aluminum.............................................................................. LL................................................


26............... Pulp & Paper II (Combustion sources)................................................. MM..............................................                  X   X      X


27...............           Generic MACT:


...................          Control Devices.......................................................................             SS                                        X   X      X


...................          Eq. Leaks—Level 1.................................................................                 TT                                        X   X      X


...................          Eq. Leaks—Level 2.................................................................                 UU                                        X   X      X


...................          Tanks—Level 2.......................................................................               WW                                        X   X      X


28...............           Generic MACT:


...................          Ethylene Mfg..........................................................................             XX & YY                                   X   X      X



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...................          Carbon Black..........................................................................              YY                                       X   X      X


...................          Spandex Prod..........................................................................              YY                                       X   X      X


...................          Cyanide Chemical Mfg............................................................                    YY                                       X   X      X


...................          Acetal Resins..........................................................................             YY                                       X   X      X


...................          Acrylic/Modacrylic Fibers.......................................................                    YY                                       X   X      X


...................          Hydrogen Fluoride Prod..........................................................                    YY                                       X   X      X


...................          Polycarbonates Prod................................................................                 YY                                       X   X      X


29............... Steel Pickeling..................................................................................... CCC.............................................   X   X      X


30............... Mineral Wool Prod.............................................................................. DDD............................................         X   X      X


31............... Hazardous Waste Combustion (Phase I)............................................... EEE..............................................                   X   X      X


32............... Boilers that burn Haz. Waste (Phase II)................................................ EEE..............................................               X   X      X


33............... HCL Prod. Furnaces burning Haz. Waste (P II).................................... EEE..............................................                      X   X      X


34............... Pharmaceutical Prod............................................................................ GGG............................................         X   X      X


35............... Nat. Gas Transmission & Storage........................................................ HHH............................................                 X   X      X


36............... Flexible Polyurethane Foam Prod........................................................ III.................................................            X   X      X


37............... Polymer & Resins 4............................................................................ JJJ................................................      X   X      X


38............... Portland Cement.................................................................................. LLL..............................................     X   X      X


39............... Pesticide Active Ingredients................................................................. MMM..........................................             X   X      X


40............... Wool Fiberglass................................................................................... NNN............................................      X   X      X


41............... Polymer & Resins 3 (Amino & Phenolic)............................................ OOO............................................                       X   X      X


42............... Polyether Polyols Prod........................................................................ PPP..............................................        X   X      X


43............... Primary Copper................................................................................... QQQ............................................       X


44............... Secondary Aluminum Prod.................................................................. RRR.............................................              X   X      X


45............... Primary Lead Smelting........................................................................ TTT..............................................


46............... Petro Refineries (FCC units)................................................................ UUU............................................            X   X      X


47............... POTW................................................................................................. VVV............................................   X   X      X


48............... Ferroalloys.......................................................................................... XXX............................................   X   X      X


49............... Municipal Landfills............................................................................. AAAA..........................................         X   X      X


50............... Nutritional Yeast..................................................................................CCCC...........................................      X   X      X



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51............... Plywood and Composite Wood Prod. (Partial Vacatur Oct. 07).............. DDDD..........................................                               X   X      X


52............... Organic Liquids Distribution (non-gas)................................................ EEEE...........................................                X   X      X


53............... Misc. Organic NESHAP...................................................................... FFFF............................................           X   X      X


54............... Vegetable Oil....................................................................................... GGGG..........................................   X   X      X


55............... Wet Formed Fiberglass........................................................................ HHHH..........................................          X   X      X


56............... Auto & Light Duty Truck (coating)..................................................... IIII................................................           X   X      X


57............... Paper & Other Webs............................................................................JJJJ...............................................     X   X      X


58............... Metal Can (coating)............................................................................. KKKK..........................................       X   X      X


59............... Misc. Metal Parts (coating).................................................................. MMMM.......................................             X   X      X


60............... Large Appliances (coating).................................................................. NNNN..........................................           X   X      X


61............... Printing, Coating, & Dyeing Fabrics.................................................... OOOO..........................................                X   X      X


62............... Plastic Parts & Products (coating)........................................................ PPPP............................................           X   X      X


63............... Wood Building Products...................................................................... QQQQ..........................................           X   X      X


64............... Metal Furniture (coating)..................................................................... RRRR...........................................        X   X      X


65............... Metal Coil (coating)............................................................................ SSSS............................................     X   X      X


66............... Leather Tanning & Finishing............................................................... TTTT...........................................            X


67............... Cellulose Ethers Prod. Misc. Viscose Processes.................................... UUUU..........................................                     X


68............... Boat Manufacturing............................................................................. VVVV..........................................        X   X      X


69............... Reinforced Plastic Composites............................................................. WWWW......................................                 X   X      X


70............... Rubber Tire Mfg................................................................................. XXXX..........................................       X   X      X


71............... Stationary Combustion Turbines.......................................................... YYYY..........................................               X   X      X


72............... Reciprocating Int. Combustion Engines................................................ ZZZZ...........................................                 X   X      X


...................                      Area Source Requirements >>.


73............... Lime Manufacturing............................................................................ AAAAA.......................................           X   X      X


74............... Semiconductor Production................................................................... BBBBB........................................             X   X      X


75............... Coke Ovens: (Push/Quench/Battery/Stacks)......................................... CCCCC........................................                       X   X      X


76............... Industrial/Commercial/Institutional Boilers & Process Heaters,                                    DDDDD.......................................
                      VACATED on 7/30/07.........................................................................


77............... Iron Foundries..................................................................................... EEEEE.........................................    X   X      X




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78............... Integrated Iron & Steel........................................................................ FFFFF..........................................         X   X      X


79............... Site Remediation................................................................................. GGGGG.......................................          X   X      X


80............... Misc. Coating Manufacturing...............................................................HHHHH.......................................                  X   X      X


81............... Mercury Cell Chlor-Alkali................................................................... IIIII..............................................        X   X      X


82............... Brick & Structural Clay Products, VACATED on 6/18/07..................... JJJJJ.............................................


83............... Clay Ceramics Manufacturing, VACATED on 6/18/07.......................... KKKKK.......................................


84............... Asphalt Roofing & Processing............................................................. LLLLL.........................................                X   X      X


85............... Flex. Polyurethane Foam Fabrication................................................... MMMMM....................................                        X


86............... Hydrochloric Acid Prod/Fumed Silica.................................................. NNNNN.......................................                      X   X      X


87............... Engine & Rocket Test Facilities........................................................... PPPPP..........................................              X   X      X


88............... Friction Materials Manufacturing......................................................... QQQQQ.......................................                  X   X      X


89............... Taconite Iron Ore................................................................................ RRRRR........................................         X   X      X


90............... Refactories.......................................................................................... SSSSS..........................................   X


91............... Primary Magnesium............................................................................ TTTTT.........................................            X   X      X


                                                                                             Area Source Rules


92............... Hospital Sterilizers.............................................................................. WWWWW...................................


93............... Stainless and Nonstainless Steel Mfg. Electric Arc Furnaces................. YYYYY.......................................


94............... Iron & Steel foundries......................................................................... ZZZZZ.........................................


95............... Gasoline Distribution—Bulk................................................................ BBBBBB......................................


96............... Gasoline Dispensing Facilities............................................................. CCCCCC......................................


97............... PVC & Copolymers Prod.................................................................... DDDDDD....................................                    X   X


98............... Primary Copper................................................................................... EEEEEE.......................................         X   X


99............... Secondary Copper Smelting................................................................. FFFFFF........................................               X   X


100............. Primary Nonferrous Metals.................................................................. GGGGGG....................................                   X   X


101............. Paint Stripping..................................................................................... HHHHHH....................................


...................         Auto-Body Refinishing


...................         Plastic Parts & Prod. (coating)


102............. Acrylic/Modacrylic Fibers Prod........................................................... LLLLLL.......................................


103............. Carbon Black Prod.............................................................................. MMMMMM................................




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104............. Chemical Mfg. Chrom......................................................................... NNNNNN....................................


105............. Flex. Polyurethane Foam Fab.............................................................. OOOOOO....................................


...................         Flex. Polyurethane Foam Prod


106............. Lead Acid Battery Mfg........................................................................PPPPPP........................................


107............. Wood Preserving................................................................................. QQQQQQ....................................


108............. Clay Ceramics Mfg............................................................................. RRRRRR......................................


109............. Glass Mfg........................................................................................... SSSSSS........................................


110..............Secondary Nonferrous Metals.............................................................. TTTTTT.......................................


110..............Plating and Polishing........................................................................... WWWWWW...............................


112..............Industrial Mach. & Eq. Finishing.........................................................                    XXXXXX


...................         Elect. & Electronics Eq. Finishing


...................         Fabricated Metal Prod


...................         Fabricated Plate Work (Boiler Shop)


...................         Fabricated Structural Metal Mfg


...................         Heating Eq. Mfg


...................         Iron and Steel Forging


...................         Primary Metals Prod. Mfg


...................         Valves and Pipe Fittings Mfg


113..............Ferroalloys Production.........................................................................              YYYYYY


...................         Ferro/Silico Manganese



          (ii) Alabama Department of Environmental Management (ADEM) may implement and enforce alternative requirements in
          the form of title V permit terms and conditions for International Paper Prattville Mill, Prattville, Alabama, for subpart MM
          of this part—National Emission Standards for Hazardous Air Pollutants for Chemical Recovery Combustion Sources at
          Kraft, Soda, Sulfite, and Stand–Alone Semichemical Pulp Mills. This action is contingent upon ADEM including, in title V
          permits, terms and conditions that are no less stringent than the Federal standard. In addition, the requirement applicable to
          the source remains the Federal section 112 requirement until EPA has approved the alternative permit terms and conditions
          and the final title V permit is issued.


          (2) Alaska.


          (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Alaska Department
          of Environmental Conservation. The (X) symbol is used to indicate each subpart that has been delegated.




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99



                                                   Delegation Status for Part 63 Standards—Alaska

       Subpart                                                                                            Alaska Department
                                                                                                           of Environmental
                                                                                                         Conservation (1/18/97)

A...........................General Provisions 1 ...................................................               X

D...........................Early Reductions.........................................................              X

F...........................        HON-SOCMI

G...........................        HON-Process Vents

H...........................        HON-Equipment Leaks

I............................       HON-Negotiated Leaks

L...........................        Coke Oven Batteries

M.......................... Perc Dry Cleaning.......................................................               X

N...........................Chromium Electroplating............................................                   X2

O...........................        Ethylene Oxide Sterilizers

Q...........................Industrial Process Cooling Towers..............................                        X

R........................... Gasoline Distribution..................................................               X

S...........................        Pulp and Paper

T........................... Halogenated Solvent Cleaning....................................                      X

U...........................        Polymers and Resins I

W..........................         Polymers and Resins II-Epoxy

X...........................        Secondary Lead Smelting

Y...........................Marine Tank Vessel Loading......................................                       X

CC........................ Petroleum Refineries...................................................                 X

DD........................ Off-Site Waste and Recovery......................................                       X

EE.........................         Magnetic Tape Manufacturing

GG........................          Aerospace Manufacturing & Rework

II........................... Shipbuilding and Ship Repair.....................................                    X

JJ.......................... Wood Furniture Manufacturing Operations................                               X

KK........................ Printing and Publishing Industry................................                        X




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LL.........................                     Primary Aluminum

OO........................                      Tanks—Level 1

PP.........................                     Containers

QQ........................                      Surface Impoundments

RR........................                      Individual Drain Systems

VV........................                      Oil-Water Separators and Organic-
                                                Water Separators

EEE......................                       Hazardous Waste Combustors

JJJ.........................                    Polymers and Resins IV


         (ii) [Reserved]

Note to paragraph (a)(2): The date in parenthesis indicates the effective date of the federal rules that have been adopted by and
delegated to the Alaska Department of Environmental Conservation. Therefore, any amendments made to these delegated rules
after this effective date are not delegated to the agency.


         (3) Arizona.




         (i) The following table lists the specific Part 63 standards that have been delegated unchanged to the air pollution control
         agencies in the State of Arizona. The (X) symbol is used to indicate each category that has been delegated.


                                                       Table 3 to Paragraph (a)(3)(i)—Delegation Status for Part 63 Standards—Arizona


Subpart........................ Description........................................................................   ADEQ 1   MCAQD 2      PDEQ 3         PCAQCD 4                    GRIC 5


A................................. General Provisions.............................................................      X         X           X                    X                     X


F................................. Synthetic Organic Chemical Manufacturing Industry..........                          X         X           X                    X                     X


G................................. Synthetic Organic Chemical Manufacturing Industry:                                   X         X           X                    X                     X
                                 Process Vents, Storage Vessels, Transfer Operations, and
                                 Wastewater........................................................................


H................................. Organic Hazardous Air Pollutants: Equipment Leaks..........                          X         X           X                    X                     X


I.................................. Organic Hazardous Air Pollutants: Certain Processes                                 X         X           X                    X                     X
                                 Subject to the Negotiated Regulation for Equipment Leaks..


J.................................. Polyvinyl Chloride and Copolymers Production..................                      X         X           X      ...............................     X


L................................. Coke Oven Batteries..........................................................        X         X           X                    X                     X


M................................ Perchloroethylene Dry Cleaning.........................................               X         X           X                    X                     X




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N................................. Hard and Decorative Chromium Electroplating and                                       X                      X                           X                          X                          X
                                 Chromium Anodizing Tanks..............................................


O................................. Ethylene Oxide Sterilization Facilities................................               X                      X                           X                          X                          X


Q................................. Industrial Process Cooling Towers.....................................                X                      X                           X                          X                          X


R................................. Gasoline Distribution Facilities..........................................            X                      X                           X                          X                          X


S................................. Pulp and Paper..................................................................      X                      X                           X           ...............................           X


T................................. Halogenated Solvent Cleaning...........................................               X                      X                           X                          X                          X


U................................. Group I Polymers and Resins............................................               X                      X                           X                          X                          X


W................................ Epoxy Resins Production and Non-Nylon Polyamides                                       X                      X                           X                          X                          X
                                 Production.........................................................................


X................................. Secondary Lead Smelting..................................................             X          ...........................             X                          X                          X


Y................................. Marine Tank Vessel Loading Operations............................ ......................                     X                 ...................... ...............................          X


AA.............................. Phosphoric Acid Manufacturing Plants...............................                     X                      X                           X           ...............................           X


BB...............................Phosphate Fertilizers Production Plants..............................                   X                      X                           X           ...............................           X


CC...............................Petroleum Refineries.........................................................           X          ...........................             X                          X                          X


DD.............................. Off-Site Waste and Recovery Operations............................                      X                      X                           X                          X                          X


EE............................... Magnetic Tape Manufacturing Operations..........................                       X                      X                           X                          X                          X


GG.............................. Aerospace Manufacturing and Rework Facilities................                           X                      X                           X                          X                          X


HH.............................. Oil and Natural Gas Production Facilities...........................                    X                      X                           X           ...............................           X


II................................. Shipbuilding and Ship Repair (Surface Coating)................. ...................... ................................................. ...............................                      X


JJ................................. Wood Furniture Manufacturing Operations.........................                     X                      X                           X                          X                          X


KK.............................. Printing and Publishing Industry........................................                X                      X                           X                          X                          X


LL............................... Primary Aluminum Reduction Plants.................................                     X                      X                           X           ...............................           X


MM............................. Chemical Recovery Combustion Sources at Kraft, Soda,                                     X                      X                           X           ...............................           X
                                 Sulfite, and Stand-Alone Semichemical Pulp Mills.............


NN.............................. Wool Fiberglass Manufacturing at Area Sources................. ......................                          X                 ...................... ............................... ......................


OO.............................. Tanks—Level 1.................................................................          X                      X                           X                          X                          X


PP............................... Containers.........................................................................    X                      X                           X                          X                          X


QQ.............................. Surface Impoundments......................................................              X                      X                           X                          X                          X


RR...............................Individual Drain Systems...................................................             X                      X                           X                          X                          X




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SS............................... Closed Vent Systems, Control Devices, Recovery Devices                              X               X                 X   ...............................   X
                                and Routing to a Fuel Gas System or a Process...................


TT............................... Equipment Leaks—Control Level 1...................................                  X               X                 X   ...............................   X


UU.............................. Equipment Leaks—Control Level 2...................................                   X               X                 X   ...............................   X


VV.............................. Oil-Water Separators and Organic-Water Separators............                        X               X                 X                 X                   X


WW............................ Storage Vessels (Tanks)—Control Level 2..........................                      X               X                 X   ...............................   X


XX.............................. Ethylene Manufacturing Process Units: Heat Exchange                                  X               X                 X   ...............................   X
                                Systems and Waste Operations...........................................


YY.............................. Generic MACT Standards..................................................             X               X                 X   ...............................   X


CCC............................ Steel Pickling....................................................................    X               X                 X   ...............................   X


DDD........................... Mineral Wool Production...................................................             X               X                 X   ...............................   X


EEE............................. Hazardous Waste Combustors............................................               X               X                 X   ...............................   X


GGG........................... Pharmaceuticals Production...............................................              X               X                 X   ...............................   X


HHH........................... Natural Gas Transmission and Storage Facilities.................                       X               X                 X   ...............................   X


III................................ Flexible Polyurethane Foam Production.............................                X               X                 X   ...............................   X


JJJ............................... Group IV Polymers and Resins..........................................             X               X                 X                 X                   X


LLL............................. Portland Cement Manufacturing Industry...........................                    X   ...........................   X   ...............................   X


MMM......................... Pesticide Active Ingredient Production...............................                    X               X                 X   ...............................   X


NNN........................... Wool Fiberglass Manufacturing..........................................                X               X                 X   ...............................   X


OOO........................... Manufacture of Amino/Phenolic Resins.............................                      X               X                 X   ...............................   X


PPP............................. Polyether Polyols Production.............................................            X               X                 X   ...............................   X


QQQ........................... Primary Copper Smelting..................................................              X   ...........................   X   ...............................   X


RRR............................ Secondary Aluminum Production.......................................                  X               X                 X   ...............................   X


TTT............................. Primary Lead Smelting......................................................          X   ...........................   X   ...............................   X


UUU........................... Petroleum Refineries: Catalytic Cracking, Catalytic                                    X   ...........................   X   ...............................   X
                                Reforming, and Sulfur Recovery Units...............................


VVV........................... Publicly Owned Treatment Works......................................                   X               X                 X   ...............................   X


XXX........................... Ferroalloys Production.......................................................          X               X                 X   ...............................   X


AAAA......................... Municipal Solid Waste Landfills........................................                 X               X                 X   ...............................   X


CCCC..........................Manufacturing of Nutritional Yeast....................................                  X               X                 X   ...............................   X


DDDD.........................Plywood and Composite Wood Products............................                          X               X                 X   ...............................   X



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EEEE.......................... Organic Liquids Distribution (non-gasoline).......................                  X          X               X           ...............................    X


FFFF........................... Miscellaneous Organic Chemical Manufacturing................                       X          X               X           ...............................    X


GGGG......................... Solvent Extraction for Vegetable Oil Production.................                     X          X               X           ...............................    X


HHHH......................... Wet-Formed Fiberglass Mat Production..............................                   X          X               X           ...............................    X


IIII...............................Surface Coating of Automobiles and Light-Duty Trucks......                      X          X     ...................... ...............................   X


JJJJ.............................. Paper and Other Web Coating............................................         X          X               X           ...............................    X


KKKK......................... Surface Coating of Metal Cans..........................................              X          X               X           ...............................    X


MMMM...................... Miscellaneous Metal Parts and Products.............................                     X          X               X           ...............................    X


NNNN......................... Large Appliances...............................................................      X          X               X           ...............................    X


OOOO......................... Printing, Coating, and Dyeing of Fabrics and Other Textiles                          X          X               X           ...............................    X


PPPP........................... Surface Coating of Plastic Parts and Products.....................                 X          X     ...................... ...............................   X


QQQQ......................... Wood Building Products....................................................           X          X               X           ...............................    X


RRRR..........................Surface Coating of Metal Furniture....................................               X          X               X           ...............................    X


SSSS........................... Surface Coating of Metal Coil...........................................           X          X               X           ...............................    X


TTTT.......................... Leather Finishing Operations.............................................           X          X               X           ...............................    X


UUUU......................... Cellulose Products Manufacturing......................................               X          X               X           ...............................    X


VVVV......................... Boat Manufacturing...........................................................        X          X               X           ...............................    X


WWWW..................... Reinforced Plastics Composites Production........................                        X          X               X           ...............................    X


XXXX......................... Tire Manufacturing............................................................       X          X               X           ...............................    X


YYYY......................... Stationary Combustion Turbines........................................               X          X               X           ...............................    X


ZZZZ.......................... Stationary Reciprocating Internal Combustion Engines.......                         X          X     ...................... ...............................   X


AAAAA...................... Lime Manufacturing Plants................................................              X          X               X           ...............................    X


BBBBB....................... Semiconductor Manufacturing...........................................                X          X               X           ...............................    X


CCCCC....................... Coke Oven: Pushing, Quenching and Battery Stacks...........                           X          X               X           ...............................    X


DDDDD...................... Industrial, Commercial, and Institutional Boiler and                                   X          X     ...................... ...............................   X
                               Process Heaters.................................................................


EEEEE........................ Iron and Steel Foundries....................................................         X          X               X           ...............................    X


FFFFF......................... Integrated Iron and Steel....................................................       X          X               X           ...............................    X


GGGGG...................... Site Remediation...............................................................        X          X               X           ...............................    X




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HHHHH...................... Miscellaneous Coating Manufacturing................................                                X               X        X    ...............................          X


IIIII............................. Mercury Emissions from Mercury Cell Chlor-Alkali Plants.                                    X               X        X    ...............................          X


JJJJJ............................ Brick and Structural Clay Products Manufacturing..............                               X               X        X    ...............................          X


KKKKK...................... Clay Ceramics Manufacturing............................................                            X               X        X    ...............................          X


LLLLL........................ Asphalt Roofing and Processing.........................................                          X               X        X    ...............................          X


MMMMM................... Flexible Polyurethane Foam Fabrication Operation.............                                         X               X        X    ...............................          X


NNNNN...................... Hydrochloric Acid Production...........................................                            X               X        X    ...............................          X


PPPPP......................... Engine Test Cells/Stands....................................................                    X               X        X    ...............................          X


QQQQQ...................... Friction Products Manufacturing........................................                            X               X        X    ...............................          X


RRRRR....................... Taconite Iron Ore Processing.............................................                         X               X        X    ...............................          X


SSSSS......................... Refractory Products Manufacturing....................................                           X               X        X    ...............................          X


TTTTT........................ Primary Magnesium Refining............................................                           X               X        X    ...............................          X


UUUUU...................... Coal and Oil-Fired Electric Utility Steam Generating Units. ...................... ...........................              X    ............................... ......................


WWWWW.................. Hospital Ethylene Oxide Sterilizers.................................... ......................                         X        X    ............................... ......................


YYYYY...................... Area Sources: Electric Arc Furnace Steelmaking Facilities.. ......................                                 X        X    ............................... ......................


ZZZZZ........................ Iron and Steel Foundries Area Sources............................... ......................                      X        X    ............................... ......................


BBBBBB.....................Gasoline Distribution Bulk Terminals, Bulk Plants, and                                     ......................   X        X    ............................... ......................
                              Pipeline Facilities..............................................................


CCCCCC.....................Gasoline Dispensing Facilities........................................... ......................                    X        X    ............................... ......................


DDDDDD................... Polyvinyl Chloride and Copolymers Production Area                                           ......................   X        X    ............................... ......................
                              Sources..............................................................................


EEEEEE...................... Primary Copper Smelting Area Sources............................. ...................... ...........................       X    ............................... ......................


FFFFFF....................... Secondary Copper Smelting Area Sources.......................... ...................... ...........................       X    ............................... ......................


GGGGGG................... Primary Nonferrous Metals Area Sources—Zinc,                                                ......................   X        X    ............................... ......................
                              Cadmium, and Beryllium...................................................


HHHHHH................... Paint Stripping and Miscellaneous Surface Coating                                           ......................   X        X    ............................... ......................
                              Operations at Area Sources................................................


JJJJJJ........................... Industrial, Commercial, and Institutional Boilers and                               ......................   X        X    ............................... ......................
                              Process Heaters—Area Sources.........................................


LLLLLL...................... Acrylic and Modacrylic Fibers Production Area Sources..... ......................                                 X        X    ............................... ......................


MMMMMM............... Carbon Black Production Area Sources.............................. ......................                                X        X    ............................... ......................




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NNNNNN................... Chemical Manufacturing Area Sources: Chromium                                            ......................   X        X   ............................... ......................
                             Compounds.......................................................................


OOOOOO................... Flexible Polyurethane Foam Production and Fabrication                                    ......................   X        X   ............................... ......................
                             Area Sources.....................................................................


PPPPPP....................... Lead Acid Battery Manufacturing Area Sources................. ......................                          X        X   ............................... ......................


QQQQQQ................... Wood Preserving Area Sources.......................................... ......................                     X        X   ............................... ......................


RRRRRR.....................Clay Ceramics Manufacturing Area Sources....................... ......................                           X        X   ............................... ......................


SSSSSS....................... Glass Manufacturing Area Sources.................................... ......................                   X        X   ............................... ......................


TTTTTT...................... Secondary Nonferrous Metals Processing Area Sources...... ......................                               X        X   ............................... ......................


VVVVVV................... Chemical Manufacturing Industry—Area Sources.....................................                                 X        X   ............................... ......................


WWWWWW.............. Area Source Standards for Plating and Polishing                                               ......................   X        X   ............................... ......................
                             Operations.........................................................................


XXXXXX................... Area Source Standards for Nine Metal Fabrication and                                     ......................   X        X   ............................... ......................
                             Finishing Source Categories...............................................


YYYYYY................... Area Sources: Ferroalloys Production Facilities.................. ......................                          X        X   ............................... ......................


ZZZZZZ...................... Area Source Standards for Aluminum, Copper, and Other ......................                                   X        X   ............................... ......................
                             Nonferrous Foundries........................................................


AAAAAAA.................Asphalt Processing and Asphalt Roofing Manufacturing— ......................                                        X        X   ............................... ......................
                             Area Sources.....................................................................


BBBBBBB.................. Chemical Preparations Industry—Area Sources.................. ......................                              X        X   ............................... ......................


CCCCCCC.................. Paint and Allied Products Manufacturing—Area Sources.... ......................                                   X        X   ............................... ......................


DDDDDDD.................Prepared Feeds Manufacturing—Area Sources................... ......................                                 X        X   ............................... ......................


EEEEEEE................... Gold Mine Ore Processing and Production—Area Sources.. ......................                                    X        X   ............................... ......................


HHHHHHH.................Polyvinyl Chloride and Copolymers Production.................. ......................                               X        X   ............................... ......................



        (ii) [Reserved]


        (4) Arkansas. The following table lists the specific standards under this part that have been delegated unchanged to the
        Arkansas Department of Energy and Environment, Division of Environmental Quality (DEQ) for all sources subject to the
        Arkansas Title V operating permit program approved by EPA under section 502 of the Clean Air Act. The “X” symbol is
        used to indicate each subpart that has been delegated. The delegations are subject to all of the conditions and limitations set
        forth in Federal law, regulations, policy, guidance, determinations, and the Memorandum of Agreement, dated September
        17, 2014, entered into between the DEQ and the U.S. Environmental Protection Agency, Region 6 (hereinafter “EPA”)
        regarding section 112, Clean Air Act Implementation. Some authorities cannot be delegated and are retained by the EPA.
        These include certain General Provisions authorities and specific parts of some standards. DEQ's authority to implement
        and enforce a delegated standard under this part is effective when the standard is incorporated into the source's Title V
        Operating Permit. Any amendments made to these rules after July 21, 2020, are not delegated.


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                             Delegation Status for Part 63 Standards—State of Arkansas 1

       Subpart                       Source category                                                    DEQ 2

       A                             General Provisions                                                 X

       F                             Hazardous Organic NESHAP (HON)—Synthetic Organic                   X
                                     Chemical Manufacturing Industry (SOCMI)

       G                             HON—SOCMI Process Vents, Storage Vessels, Transfer                 X
                                     Operations and Wastewater

       H                             HON—Equipment Leaks                                                X

       I                             HON—Certain Processes Negotiated Equipment Leak                    X
                                     Regulation

       J                             Polyvinyl Chloride and Copolymers Production                       3


       K                             [Reserved]

       L                             Coke Oven Batteries                                                X

       M                             Perchloroethylene Dry Cleaning                                     X

       N                             Chromium Electroplating and Chromium Anodizing Tanks               X

       O                             Ethylene Oxide Sterilizers                                         X

       P                             [Reserved]

       Q                             Industrial Process Cooling Towers                                  X

       R                             Gasoline Distribution                                              X

       S                             Pulp and Paper Industry                                            X

       T                             Halogenated Solvent Cleaning                                       X

       U                             Group I Polymers and Resins                                        X

       V                             [Reserved]

       W                             Epoxy Resins Production and Non-Nylon Polyamides                   X
                                     Production

       X                             Secondary Lead Smelting                                            X

       Y                             Marine Tank Vessel Loading                                         X

       Z                             [Reserved]

       AA                            Phosphoric Acid Manufacturing Plants                               X

       BB                            Phosphate Fertilizers Production Plants                            X


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       CC                            Petroleum Refineries                                                 X

       DD                            Off-Site Waste and Recovery Operations                               X

       EE                            Magnetic Tape Manufacturing                                          X

       FF                            [Reserved]

       GG                            Aerospace Manufacturing and Rework Facilities                        X

       HH                            Oil and Natural Gas Production Facilities                            X

       II                            Shipbuilding and Ship Repair Facilities                              X

       JJ                            Wood Furniture Manufacturing Operations                              X

       KK                            Printing and Publishing Industry                                     X

       LL                            Primary Aluminum Reduction Plants                                    X

       MM                            Chemical Recovery Combustion Sources at Kraft, Soda,                 X
                                     Sulfide, and Stand-Alone Semichemical Pulp Mills

       NN                            Wool Fiberglass Manufacturing at Area Sources

       OO                            Tanks-Level 1                                                        X

       PP                            Containers                                                           X

       QQ                            Surface Impoundments                                                 X

       RR                            Individual Drain Systems                                             X

       SS                            Closed Vent Systems, Control Devices, Recovery Devices and           X
                                     Routing to a Fuel Gas System or a Process

       TT                            Equipment Leaks—Control Level 1                                      X

       UU                            Equipment Leaks—Control Level 2 Standards                            X

       VV                            Oil—Water Separators and Organic—Water Separators                    X

       WW                            Storage Vessels (Tanks)—Control Level 2                              X

       XX                            Ethylene Manufacturing Process Units Heat Exchange Systems           X
                                     and Waste Operations

       YY                            Generic Maximum Achievable Control Technology Standards              X

       ZZ-BBB                        [Reserved]

       CCC                           Steel Pickling—HCI Process Facilities and Hydrochloric Acid          X
                                     Regeneration

       DDD                           Mineral Wool Production                                              X

       EEE                           Hazardous Waste Combustors                                           X


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       FFF                           [Reserved]

       GGG                           Pharmaceuticals Production                                           X

       HHH                           Natural Gas Transmission and Storage Facilities                      X

       III                           Flexible Polyurethane Foam Production                                X

       JJJ                           Group IV Polymers and Resins                                         X

       KKK                           [Reserved]

       LLL                           Portland Cement Manufacturing                                        X

       MMM                           Pesticide Active Ingredient Production                               X

       NNN                           Wool Fiberglass Manufacturing                                        X

       OOO                           Amino/Phenolic Resins                                                X

       PPP                           Polyether Polyols Production                                         X

       QQQ                           Primary Copper Smelting                                              X

       RRR                           Secondary Aluminum Production                                        X

       SSS                           [Reserved]

       TTT                           Primary Lead Smelting                                                X

       UUU                           Petroleum Refineries—Catalytic Cracking Units, Catalytic             X
                                     Reforming Units and Sulfur Recovery Plants

       VVV                           Publicly Owned Treatment Works (POTW)                                X

       WWW                           [Reserved]

       XXX                           Ferroalloys Production: Ferromanganese and Silicomanganese           X

       AAAA                          Municipal Solid Waste Landfills                                      X

       CCCC                          Nutritional Yeast Manufacturing                                      X

       DDDD                          Plywood and Composite Wood Products                                  4
                                                                                                              X

       EEEE                          Organic Liquids Distribution                                         X

       FFFF                          Misc. Organic Chemical Production and Processes (MON)                X

       GGGG                          Solvent Extraction for Vegetable Oil Production                      X

       HHHH                          Wet Formed Fiberglass Mat Production                                 X

       IIII                          Auto & Light Duty Truck (Surface Coating)                            X

       JJJJ                          Paper and other Web (Surface Coating)                                X



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       KKKK                          Metal Can (Surface Coating)                                          X

       MMMM                          Misc. Metal Parts and Products (Surface Coating)                     X

       NNNN                          Surface Coating of Large Appliances                                  X

       OOOO                          Fabric Printing, Coating, and Dyeing                                 X

       PPPP                          Surface Coating of Plastic Parts and Products                        X

       QQQQ                          Surface Coating of Wood Building Products                            X

       RRRR                          Surface Coating of Metal Furniture                                   X

       SSSS                          Surface Coating of Metal Coil                                        X

       TTTT                          Leather Finishing Operations                                         X

       UUUU                          Cellulose Products Manufacturing                                     X

       VVVV                          Boat Manufacturing                                                   X

       WWWW                          Reinforced Plastic Composites Production                             X

       XXXX                          Rubber Tire Manufacturing                                            X

       YYYY                          Stationary Combustion Turbines                                       X

       ZZZZ                          Reciprocating Internal Combustion Engines (RICE)                     X

       AAAAA                         Lime Manufacturing Plants                                            X

       BBBBB                         Semiconductor Manufacturing                                          X

       CCCCC                         Coke Ovens: Pushing, Quenching and Battery Stacks                    X

       DDDDD                         Industrial/Commercial/Institutional Boilers and Process
                                     Heaters                                                              5
                                                                                                              X

       EEEEE                         Iron and Steel Foundries                                             X

       FFFFF                         Integrated Iron and Steel                                            X

       GGGGG                         Site Remediation                                                     X

       HHHHH                         Miscellaneous Coating Manufacturing                                  X

       IIIII                         Mercury Cell Chlor-Alkali Plants                                     X

       JJJJJ                         Brick and Structural Clay Products Manufacturing                     6
                                                                                                          X

       KKKKK                         Clay Ceramics Manufacturing                                          6
                                                                                                          X

       LLLLL                         Asphalt Roofing and Processing                                       X


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       MMMMM                         Flexible Polyurethane Foam Fabrication Operation                      X

       NNNNN                         Hydrochloric Acid Production, Fumed Silica Production                 X

       OOOOO                         [Reserved]

       PPPPP                         Engine Test Facilities                                                X

       QQQQQ                         Friction Products Manufacturing                                       X

       RRRRR                         Taconite Iron Ore Processing                                          X

       SSSSS                         Refractory Products Manufacture                                       X

       TTTTT                         Primary Magnesium Refining                                            X

       UUUUU                         Coal and Oil-Fired Electric Utility Steam Generating Units
                                                                                                           7
                                                                                                           X

       VVVVV                         [Reserved]

       WWWWW                         Hospital Ethylene Oxide Sterilizers

       XXXXX                         [Reserved]

       YYYYY                         Electric Arc Furnace Steelmaking Area Sources                         X

       ZZZZZ                         Iron and Steel Foundries Area Sources

       AAAAAA                        [Reserved]

       BBBBBB                        Gasoline Distribution Bulk Terminals, Bulk Plants, and
                                     Pipeline Facilities

       CCCCCC                        Gasoline Dispensing Facilities

       DDDDDD                        Polyvinyl Chloride and Copolymers Production Area Sources

       EEEEEE                        Primary Copper Smelting Area Sources                                  X

       FFFFFF                        Secondary Copper Smelting Area Sources                                X

       GGGGGG                        Primary Nonferrous Metals Area Sources: Zinc, Cadmium, and            X
                                     Beryllium

       HHHHHH                        Paint Stripping and Miscellaneous Surface Coating Operations
                                     at Area Sources

       IIIIII                        [Reserved]

       JJJJJJ                        Industrial, Commercial, and Institutional Boilers: Area Sources

       KKKKKK                        [Reserved]

       LLLLLL                        Acrylic and Modacrylic Fibers Production Area Sources



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       MMMMMM                        Carbon Black Production Area Sources                                          X

       NNNNNN                        Chemical Manufacturing Area Sources: Chromium                                 X
                                     Compounds

       OOOOOO                        Flexible Polyurethane Foam Production and Fabrication Area
                                     Sources

       PPPPPP                        Lead Acid Battery Manufacturing Area Sources

       QQQQQQ                        Wood Preserving Area Sources

       RRRRRR                        Clay Ceramics Manufacturing Area Sources

       SSSSSS                        Glass Manufacturing Area Sources                                              X

       TTTTTT                        Secondary Nonferrous Metals Processing Area Sources

       UUUUUU                        [Reserved]

       VVVVVV                        Chemical Manufacturing Area Sources                                           X

       WWWWWW                        Plating and Polishing Operations Area Sources

       XXXXXX                        Nine Metal Fabrication and Finishing Categories Area Sources

       YYYYYY                        Ferroalloys Production Facilities Area Sources

       ZZZZZZ                        Aluminum, Copper, and Other Nonferrous Foundries Area
                                     Sources

       AAAAAAA                       Asphalt Processing and Asphalt Roofing Manufacturing Area
                                     Sources

       BBBBBBB                       Chemical Preparations Industry Area Sources

       CCCCCCC                       Paints and Allied Products Manufacturing Area Sources

       DDDDDDD                       Prepared Feeds Manufacturing Area Sources

       EEEEEEE                       Gold Mine Ore Processing and Production Area Sources

       FFFFFFF                       Reserved

       GGGGGGG                       Reserved

       HHHHHHH                       Polyvinyl Chloride and Copolymers Production                                  X


    (5) California.


    (i)(A) California major sources. Except as described in paragraph (ii) below, each local air pollution control agency in
    California has delegation for national emission standards promulgated in this part as they apply to major sources.




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         (B) California area sources. Except as described in paragraph (a)(5)(ii) of this section, the local agencies listed below
         also have delegation for national emission standards promulgated in this part as they apply to area sources:


              (1) Amador County Air Pollution Control District.


              (2) Antelope Valley Air Quality Management District.


              (3) Butte County Air Quality Management District.


              (4) Kern County Air Pollution Control District.


              (5) Mendocino County Air Quality Management District.


              (6) Mojave Desert Air Quality Management District.


              (7) Monterey Bay Unified Air Pollution Control District.


              (8) San Diego County Air Pollution Control District.


              (9) San Joaquin Valley Unified Air Pollution Control District, only for standards promulgated in this part and
              incorporated by reference in district Rule 4002, amended on May 20, 2004.


              (10) San Luis Obispo County Air Pollution Control District.


              (11) Santa Barbara County Air Pollution Control District.


              (12) Ventura County Air Pollution Control District.


              (13) Yolo–Solano Air Quality Management District.


    (ii) California approvals other than straight delegation. Affected sources must comply with the California Regulatory
    Requirements Applicable to the Air Toxics Program, November 16, 2010, (incorporated by reference as specified in §
    63.14) as described as follows:


         (A) The material incorporated in Chapter 1 of the California Regulatory Requirements Applicable to the Air
         Toxics Program (California Code of Regulations Title 17, sections 93109, 93109.1, and 93109.2) pertains to the
         perchloroethylene dry cleaning source category in the State of California, and has been approved under the procedures




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         in § 63.93 to be implemented and enforced in place of subpart M—National Perchloroethylene Air Emission Standards
         for Dry Cleaning Facilities, as it applies to area sources only, as defined in § 63.320(h).


              (1) Authorities not delegated.


              (i) California is not delegated the Administrator's authority to implement and enforce California Code of
              Regulations Title 17, section 93109, in lieu of those provisions of subpart M which apply to major sources, as
              defined in § 63.320(g). Dry cleaning facilities which are major sources remain subject to subpart M.


              (ii) California is not delegated the Administrator's authority of § 63.325 to determine equivalency of emissions
              control technologies. Any source seeking permission to use an alternative means of emission limitation, under
              sections 93109(d)(27) or (38), or (i)(3)(A)(2), Title 17 of the California Code of Regulations, must also receive
              approval from the Administrator before using such alternative means of emission limitation for the purpose of
              complying with section 112 of the Clean Air Act.


              (iii) This delegation does not extend to the provisions regarding California's enforcement authorities or its
              collection of fees as described in Sections 93109.1(c) or 93109.2(c) and (d), Title 17 of the California Code of
              Regulations. Approval of the California Code of Regulations, Title 17, sections 93109, 93109.1, and 93109.2
              does not in any way limit the enforcement authorities, including the penalty authorities, of the Clean Air Act.


         (B) [Reserved]


         (C) The material incorporated in Chapter 3 of the California Regulatory Requirements Applicable to the Air Toxics
         Program (South Coast Air Quality Management District Rule 1421) pertains to the perchloroethylene dry cleaning
         source category in the South Coast Air Quality Management District, and has been approved under the procedures in
         § 63.93 to be implemented and enforced in place of Subpart M—National Perchloroethylene Air Emission Standards
         for Dry Cleaning Facilities, as it applies to area sources only, as defined in § 63.320(h).


              (1) Authorities not delegated.


              (i) South Coast Air Quality Management District is not delegated the Administrator's authority to implement
              and enforce Rule 1421 in lieu of those provisions of Subpart M which apply to major sources, as defined in §
              63.320(g). Dry cleaning facilities which are major sources remain subject to Subpart M.


              (ii) South Coast Air Quality Management District is not delegated the Administrator's authority of § 63.325 to
              determine equivalency of emissions control technologies. Any source seeking permission to use an alternative
              means of emission limitation, under sections (c)(17), (d)(3)(A)(v), (d)(4)(B)(ii)(III), and (j) of Rule 1421, must
              also receive approval from the Administrator before using such alternative means of emission limitation for the
              purpose of complying with section 112.


         (D) [Reserved by 76 FR 18066]




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         (E) The material incorporated in Chapter 5 of the California Regulatory Requirements Applicable to the Air Toxics
         Program (California Code of Regulations, Title 17, section 93102) pertains to the chromium electroplating and
         anodizing source category in the State of California, and has been approved under the procedures in § 63.93 to be
         implemented and enforced in place of subpart N—National Emission Standards for Chromium Emissions from Hard
         and Decorative Chromium Electroplating and Chromium Anodizing Tanks.


              (1) Title V requirements. Subpart N affected sources remain subject to both the Title V permitting requirements
              of § 63.340(e)(2) and, for major sources, the semi-annual submission of the ongoing compliance status reports
              as required by § 63.347(g).


              (2) Limits on maximum cumulative potential rectifier usage. Section 93102(h)(7)(B) of the California Airborne
              Toxic Control Measure allows facilities with a maximum cumulative potential rectifier capacity of greater than 60
              million ampere-hours per year to be considered small or medium by accepting a limit on the maximum cumulative
              potential rectifier usage. All such usage limits in non–Title V operating permits are federally-enforceable for the
              purpose of this rule substitution.


              (3) Permitting Agencies' breakdown/malfunction rules. Section 93102(i)(4) of the California Airborne Toxic
              Control Measure provides that the owner or operator shall report breakdowns as required by the permitting
              agency's breakdown rule. Under this rule substitution, the permitting agencies' breakdown rules do not override
              or supplant the requirements of section 93102(g)(4), (h)(5), (h)(6), (i)(3)(B), or Appendix 3; neither expand
              the scope nor extend the time-frame of a breakdown beyond the definition of section 93102(b)(7); and do not
              grant the permitting agencies the authority to determine whether a breakdown has occurred, to grant emergency
              variances, or to decide to take no enforcement action. Owners or operators must submit written breakdown
              reports even if the permitting agency has not formally requested such reports.


              (4) Performance test requirements. Section 93102(d)(3)(A) of the California Airborne Toxic Control Measure
              allows the use of California Air Resources Board Method 425, dated July 28, 1997, and South Coast Air Quality
              Management District Method 205.1, dated August 1991, for determining chromium emissions. Any alternatives,
              modifications, or variations to these test methods must be approved under the procedures in section 93102(k)
              of the California Airborne Toxic Control Measure.


    (6), (7) [Reserved]


    (8) Delaware.


    (i) Affected sources must comply with the Delaware Department of Natural Resources and Environmental Control,
    Division of Air and Waste Management, Accidental Release Prevention Regulation, sections 1–5 and sections 7–14,
    January 11, 1999 (incorporated by reference as specified in § 63.14). The material incorporated in the Delaware Department
    of Natural Resources and Environmental Control, Division of Air and Waste Management, Accidental Release Prevention
    Regulation, sections 1–5 and sections 7–14 pertains to owners and operators of stationary sources in the State of Delaware
    that have more than a threshold quantity of a regulated substance in a process, as described in section 5.10 of Delaware's
    regulation, and has been approved under the procedures in §§ 63.93 and 63.95 to be implemented and enforced in place
    of 40 CFR part 68–Chemical Accident Prevention Provisions.



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    (ii) Affected sources must comply with the State of Delaware Regulations Governing the Control of Air Pollution,
    Regulation No. 38, subpart A, effective September 11, 1999 (incorporated by reference as specified in § 63.14). The
    material incorporated in the State of Delaware Regulations Governing the Control of Air Pollution, Regulation No. 38,
    subpart A pertains to owners and operators of stationary sources in the State of Delaware that are subject to emission
    standard requirements of the State of Delaware Regulations Governing the Control of Air Pollution, Regulation No. 38,
    subparts M, N and Q and 40 CFR part 63 and has been approved under the procedures in §§ 63.91 and 63.92 to be
    implemented and enforced in place of 40 CFR part 63, subpart A. Delaware is delegated the authority to implement and
    enforce its regulation in place of 40 CFR part 63, subpart A, in accordance with the final rule, published in the Federal
    Register on October 2, 2001, effective December 3, 2001.


    (iii) Affected sources must comply with the State of Delaware Regulations Governing the Control of Air Pollution,
    Regulation No. 38, subpart M, effective October 11, 2000 (incorporated by reference as specified in § 63.14). The material
    incorporated in the State of Delaware Regulations Governing the Control of Air Pollution, Regulation No. 38, subpart M
    pertains to owners and operators of perchloroethylene drycleaning facilities and has been approved under the procedures
    in § 63.91 and § 63.92 to be implemented and enforced in place of 40 CFR part 63, subpart M. Delaware is delegated the
    authority to implement and enforce its regulation in place of 40 CFR part 63, subpart M, in accordance with the final rule,
    published in the Federal Register on October 2, 2001, effective December 3, 2001.


    (iv) Affected sources must comply with the State of Delaware Regulations Governing the Control of Air Pollution,
    Regulation No. 38, subpart N, effective October 11, 2000 (incorporated by reference as specified in § 63.14). The material
    incorporated in the State of Delaware Regulations Governing the Control of Air Pollution, Regulation No. 38, subpart N
    pertains to owners and operators of hard and decorative chromium electroplating and chromium anodizing tanks and has
    been approved under the procedures in § 63.91 and § 63.92 to be implemented and enforced in place of 40 CFR part 63,
    subpart N. Delaware is delegated the authority to implement and enforce its regulation in place of 40 CFR part 63, subpart
    N, in accordance with the final rule, published in the Federal Register on October 2, 2001, effective December 3, 2001.


    (v) Affected sources must comply with the State of Delaware Regulations Governing the Control of Air Pollution,
    Regulation No. 38, subpart Q, effective May 11, 1998 (incorporated by reference as specified in § 63.14). The material
    incorporated in the State of Delaware Regulations Governing the Control of Air Pollution, Regulation No. 38, subpart Q
    pertains to owners and operators of industrial process cooling towers and has been approved under the procedures in §§
    63.91 and 63.92 to be implemented and enforced in place of 40 CFR part 63, subpart Q. Delaware is delegated the authority
    to implement and enforce its regulation in place of 40 CFR part 63, subpart Q, in accordance with the final rule, published
    in the Federal Register on October 2, 2001, effective December 3, 2001.


    (9) District of Columbia.


    (i) The District of Columbia is delegated the authority to implement and enforce the regulations in 40 CFR part 63, subparts
    A, M, N, T, VVV and Appendix A and all future unchanged 40 CFR part 63 standards and amendments, if delegation
    of future standards and amendments is sought by the District of Columbia Department of Health and approved by EPA
    Region III, at affected sources, as defined by 40 CFR part 63, in accordance with the final rule, dated December 26, 2001,
    effective February 25, 2002, and any mutually acceptable amendments to the terms described in the direct final rule.


    (10) Florida.



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          (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Florida Department of
          Environmental Protection (FDEP) for all sources. The “X” symbol is used to indicate each subpart that has been delegated.
          The delegations are subject to all of the conditions and limitations set forth in Federal law, regulations, policy, guidance, and
          determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
          authorities and specific parts of some standards.


                                                                           Part 63 Major & Area Source Rule Delegations—Florida 1


                                                                           Source category                                                                                        Subpart                                   FDEP


1...................... HON.............................................................................................................................. F, G, H, I....................................................     X


2...................... Polyvinyl Chloride & Co-polymers VACATED on 5/11/05.............................................. J..................................................................                                X


3...................... Coke Ovens.................................................................................................................... L.................................................................    X


4...................... Dry Cleaners.................................................................................................................. M................................................................     X


5...................... Chromium Electroplating................................................................................................ N.................................................................           X


6...................... EtO Commercial Sterilization......................................................................................... O.................................................................             X


7...................... Chromium Cooling Towers............................................................................................. Q.................................................................              X


8...................... Gasoline Distribution (stage 1)....................................................................................... R.................................................................            X


9...................... Pulp & Paper I............................................................................................................... S.................................................................     X


10.................... Halogenated Solvent Cleaning........................................................................................ T.................................................................               X


11.................... Polymer & Resins 1....................................................................................................... U.................................................................          X


12.................... Polymer & Resins 2....................................................................................................... W................................................................           X


13.................... Secondary Lead Smelters................................................................................................ X.................................................................            X


14.................... Marine Tank Vessel Loading.......................................................................................... Y.................................................................               X


15.................... Phosphoric Acid Mfg..................................................................................................... AA..............................................................             X


16.................... Phosphate Fertilizers Prod.............................................................................................. BB...............................................................            X


17.................... Petroleum Refineries...................................................................................................... CC...............................................................          X


18.................... Offsite Waste & Recovery.............................................................................................. DD..............................................................               X


........................          Tanks; Level 1....................................................................................................               OO                                                        X


........................          Containers..........................................................................................................             PP                                                        X


........................          Surface Impoundments.......................................................................................                      QQ                                                        X


........................          Drain Systems....................................................................................................                RR                                                        X




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........................          Oil-Water Separators...........................................................................................               VV                                                       X


19.................... Magnetic Tape................................................................................................................ EE...............................................................   X


20.................... Aerospace Industry......................................................................................................... GG..............................................................      X


21.................... Oil & Natural Gas Prod.................................................................................................. HH..............................................................         X


........................                     Area Source Requirements >>.


22.................... Shipbuilding and Repair................................................................................................. II.................................................................      X


23.................... Wood Furniture Mfg....................................................................................................... JJ.................................................................     X


24.................... Printing & Publishing..................................................................................................... KK..............................................................       X


25.................... Primary Aluminum......................................................................................................... LL...............................................................       X


26.................... Pulp & Paper II (Combustion sources)............................................................................ MM.............................................................                  X


27....................           Generic MACT:


........................          Control Devices..................................................................................................             SS                                                       X


........................          Eq. Leaks—Level 1............................................................................................                 TT                                                       X


........................          Eq. Leaks—Level 2............................................................................................                 UU                                                       X


........................          Tanks—Level 2..................................................................................................               WW                                                       X


28....................           Generic MACT:


........................          Ethylene Mfg.....................................................................................................             XX & YY                                                  X


........................          Carbon Black.....................................................................................................             YY                                                       X


........................          Spandex Prod.....................................................................................................             YY                                                       X


........................          Cyanide Chemical Mfg.......................................................................................                   YY                                                       X


........................          Acetal Resins.....................................................................................................            YY                                                       X


........................          Acrylic/Modacrylic Fibers..................................................................................                   YY                                                       X


........................          Hydrogen Fluoride Prod.....................................................................................                   YY                                                       X


........................          Polycarbonates Prod...........................................................................................                YY                                                       X


29.................... Steel Pickeling................................................................................................................CCC............................................................    X


30.................... Mineral Wool Prod......................................................................................................... DDD...........................................................         X


31.................... Hazardous Waste Combustion (Phase I).......................................................................... EEE.............................................................                   X


32.................... Boilers that burn Haz. Waste (Phase II).......................................................................... EEE.............................................................                X


33.................... HCL Prod. Furnaces burning Haz. Waste (P II)............................................................... EEE.............................................................                      X




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34.................... Pharmaceutical Prod....................................................................................................... GGG...........................................................         X


35.................... Nat. Gas Transmission & Storage................................................................................... HHH...........................................................                 X


36.................... Flexible Polyurethane Foam Prod................................................................................... III................................................................            X


37.................... Polymer & Resins 4....................................................................................................... JJJ...............................................................      X


38.................... Portland Cement............................................................................................................. LLL.............................................................     X


39.................... Pesticide Active Ingredients............................................................................................ MMM.........................................................             X


40.................... Wool Fiberglass.............................................................................................................. NNN...........................................................      X


41.................... Polymer & Resins 3 (Amino & Phenolic)....................................................................... OOO...........................................................                       X


42.................... Polyether Polyols Prod................................................................................................... PPP.............................................................        X


43.................... Primary Copper.............................................................................................................. QQQ...........................................................       X


44.................... Secondary Aluminum Prod............................................................................................. RRR............................................................              X


45.................... Primary Lead Smelting................................................................................................... TTT.............................................................         X


46.................... Petro Refineries (FCC units)........................................................................................... UUU...........................................................            X


47.................... POTW............................................................................................................................ VVV...........................................................   X


48.................... Ferroalloys..................................................................................................................... XXX...........................................................   X


49.................... Municipal Landfills........................................................................................................ AAAA.........................................................         X


50.................... Nutritional Yeast............................................................................................................. CCCC..........................................................     X


51.................... Plywood and Composite Wood Prod. (Partial Vacatur Oct. 07)........................................ DDDD.........................................................                                  X


52.................... Organic Liquids Distribution (non-gas)........................................................................... EEEE..........................................................                  X


53.................... Misc. Organic NESHAP................................................................................................. FFFF...........................................................             X


54.................... Vegetable Oil.................................................................................................................. GGGG.........................................................     X


55.................... Wet Formed Fiberglass................................................................................................... HHHH.........................................................            X


56.................... Auto & Light Duty Truck (coating)................................................................................ IIII...............................................................             X


57.................... Paper & Other Webs...................................................................................................... JJJJ..............................................................       X


58.................... Metal Can (coating)........................................................................................................ KKKK.........................................................         X


59.................... Misc. Metal Parts (coating)............................................................................................. MMMM......................................................               X


60.................... Large Appliances (coating)............................................................................................. NNNN.........................................................             X


61.................... Printing, Coating, & Dyeing Fabrics............................................................................... OOOO.........................................................                  X


62.................... Plastic Parts & Products (coating)................................................................................... PPPP...........................................................             X




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63.................... Wood Building Products................................................................................................. QQQQ.........................................................             X


64.................... Metal Furniture (coating)................................................................................................ RRRR..........................................................          X


65.................... Metal Coil (coating)....................................................................................................... SSSS...........................................................       X


66.................... Leather Tanning & Finishing.......................................................................................... TTTT..........................................................              X


67.................... Cellulose Ethers Prod. Misc. Viscose Processes.............................................................. UUUU.........................................................                        X


68.................... Boat Manufacturing........................................................................................................ VVVV.........................................................          X


69.................... Reinforced Plastic Composites........................................................................................ WWWW.....................................................                   X


70.................... Rubber Tire Mfg............................................................................................................ XXXX.........................................................         X


71.................... Stationary Combustion Turbines..................................................................................... YYYY.........................................................                 X


72.................... Reciprocating Int. Combustion Engines.......................................................................... ZZZZ..........................................................                    X


........................                     Area Source Requirements >>.


73.................... Lime Manufacturing....................................................................................................... AAAAA......................................................             X


74.................... Semiconductor Production.............................................................................................. BBBBB.......................................................               X


75.................... Coke Ovens: (Push/Quench/Battery/Stacks).................................................................... CCCCC.......................................................                         X


76.................... Industrial/Commercial/Institutional Boilers & Process Heaters, VACATED on 7/30/07.....                                                    DDDDD


77.................... Iron Foundries................................................................................................................ EEEEE........................................................      X


78.................... Integrated Iron & Steel................................................................................................... FFFFF.........................................................         X


79.................... Site Remediation............................................................................................................ GGGGG......................................................          X


80.................... Misc. Coating Manufacturing......................................................................................... HHHHH......................................................                  X


81.................... Mercury Cell Chlor-Alkali.............................................................................................. IIIII.............................................................        X


82.................... Brick & Structural Clay Products, VACATED on 6/18/07................................................JJJJJ............................................................                             X


83.................... Clay Ceramics Manufacturing, VACATED on 6/18/07.................................................... KKKKK......................................................                                   X


84.................... Asphalt Roofing & Processing........................................................................................ LLLLL........................................................                X


85.................... Flex. Polyurethane Foam Fabrication.............................................................................. MMMMM...................................................                        X


86.................... Hydrochloric Acid Prod/Fumed Silica............................................................................. NNNNN......................................................                      X


87.................... Engine & Rocket Test Facilities......................................................................................PPPPP.........................................................               X


88.................... Friction Materials Manufacturing.................................................................................... QQQQQ......................................................                  X


89.................... Taconite Iron Ore........................................................................................................... RRRRR.......................................................         X


90.................... Refactories..................................................................................................................... SSSSS.........................................................   X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


91.................... Primary Magnesium....................................................................................................... TTTTT........................................................         X


                                                                                                        Area Source Rules


92.................... Hospital Sterilizers.........................................................................................................          WWWWW


93.................... Stainless and Nonstainless Steel Mfg. Electric Arc Furnaces........................................... YYYYY......................................................                             X


94.................... Iron & Steel foundries.................................................................................................... ZZZZZ........................................................       X


95.................... Gasoline Distribution—Bulk...........................................................................................                  BBBBBB


96.................... Gasoline Dispensing Facilities........................................................................................                 CCCCCC


97.................... PVC & Copolymers Prod............................................................................................... DDDDDD...................................................                 X


98.................... Primary Copper.............................................................................................................. EEEEEE......................................................      X


99.................... Secondary Copper Smelting............................................................................................ FFFFFF.......................................................            X


100.................. Primary Nonferrous Metals............................................................................................. GGGGGG...................................................                X


101.................. Paint Stripping................................................................................................................         HHHHHH


........................                    Auto-Body Refinishing


........................                    Plastic Parts & Prod. (coating)


102.................. Acrylic/Modacrylic Fibers Prod...................................................................................... LLLLLL......................................................               X


103.................. Carbon Black Prod......................................................................................................... MMMMMM...............................................                X


104.................. Chemical Mfg. Chrom.................................................................................................... NNNNNN...................................................               X


105.................. Flex. Polyurethane Foam Fab......................................................................................... OOOOOO...................................................                  X


........................         Flex. Polyurethane Foam Prod


106.................. Lead Acid Battery Mfg.................................................................................................. PPPPPP.......................................................           X


107.................. Wood Preserving............................................................................................................ QQQQQQ...................................................           X


108.................. Clay Ceramics Mfg........................................................................................................ RRRRRR.....................................................           X


109.................. Glass Mfg...................................................................................................................... SSSSSS.......................................................   X


110...................Secondary Nonferrous Metals......................................................................................... TTTTTT......................................................               X


110...................Plating and Polishing......................................................................................................             WWWWWW


112...................Industrial Mach. & Eq. Finishing....................................................................................                    XXXXXX


........................         Elect. & Electronics Eq. Finishing


........................         Fabricated Metal Prod


........................         Fabricated Plate Work (Boiler Shop)




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


........................          Fabricated Structural Metal Mfg


........................          Heating Eq. Mfg


........................          Iron and Steel Forging


........................          Primary Metals Prod. Mfg


........................          Valves and Pipe Fittings Mfg


113...................Ferroalloys Production....................................................................................................                   YYYYYY


........................          Ferro/Silico Manganese



          (ii) [Reserved]


          (11) Georgia.


          (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Georgia Environmental
          Protection Division (GEPD) for all sources. The “X” symbol is used to indicate each subpart that has been delegated. The
          delegations are subject to all of the conditions and limitations set force in Federal law, regulations, policy, guidance, and
          determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
          authorities and specific parts of some standards.


                                                                           Part 63 Major & Area Source Rule Delegations—Georgia 1


                                                                           Source category                                                                                        Subpart                                   GEPD


1...................... HON.............................................................................................................................. F, G, H, I....................................................     X


2...................... Polyvinyl Chloride & Co-polymers VACATED on 5/11/05.............................................. J..................................................................                                X


3...................... Coke Ovens.................................................................................................................... L.................................................................    X


4...................... Dry Cleaners.................................................................................................................. M................................................................     X


5...................... Chromium Electroplating................................................................................................ N.................................................................           X


6...................... EtO Commercial Sterilization......................................................................................... O.................................................................             X


7...................... Chromium Cooling Towers............................................................................................. Q.................................................................              X


8...................... Gasoline Distribution (stage 1)....................................................................................... R.................................................................            X


9...................... Pulp & Paper I............................................................................................................... S.................................................................     X


10.................... Halogenated Solvent Cleaning........................................................................................ T.................................................................               X


11.................... Polymer & Resins 1....................................................................................................... U.................................................................          X


12.................... Polymer & Resins 2....................................................................................................... W................................................................           X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


13.................... Secondary Lead Smelters................................................................................................ X.................................................................        X


14.................... Marine Tank Vessel Loading.......................................................................................... Y.................................................................           X


15.................... Phosphoric Acid Mfg..................................................................................................... AA..............................................................         X


16.................... Phosphate Fertilizers Prod.............................................................................................. BB...............................................................        X


17.................... Petroleum Refineries...................................................................................................... CC...............................................................      X


18.................... Offsite Waste & Recovery.............................................................................................. DD..............................................................           X


........................          Tanks; Level 1....................................................................................................            OO                                                       X


........................          Containers..........................................................................................................          PP                                                       X


........................          Surface Impoundments.......................................................................................                   QQ                                                       X


........................          Drain Systems....................................................................................................             RR                                                       X


........................          Oil-Water Separators...........................................................................................               VV                                                       X


19.................... Magnetic Tape................................................................................................................ EE...............................................................   X


20.................... Aerospace Industry......................................................................................................... GG..............................................................      X


21.................... Oil & Natural Gas Prod.................................................................................................. HH..............................................................         X


........................                     Area Source Requirements >>.


22.................... Shipbuilding and Repair................................................................................................. II.................................................................      X


23.................... Wood Furniture Mfg....................................................................................................... JJ.................................................................     X


24.................... Printing & Publishing..................................................................................................... KK..............................................................       X


25.................... Primary Aluminum.........................................................................................................                LL


26.................... Pulp & Paper II (Combustion sources)............................................................................ MM.............................................................                  X


27....................                       Generic MACT:


........................          Control Devices..................................................................................................             SS                                                       X


........................          Eq. Leaks—Level 1............................................................................................                 TT                                                       X


........................          Eq. Leaks—Level 2............................................................................................                 UU                                                       X


........................          Tanks—Level 2..................................................................................................               WW                                                       X


28....................           Generic MACT:


........................          Ethylene Mfg.....................................................................................................             XX & YY                                                  X


........................          Carbon Black.....................................................................................................             YY                                                       X


........................          Spandex Prod.....................................................................................................             YY                                                       X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


........................          Cyanide Chemical Mfg.......................................................................................                    YY                                                      X


........................          Acetal Resins.....................................................................................................             YY                                                      X


........................          Acrylic/Modacrylic Fibers..................................................................................                    YY                                                      X


........................          Hydrogen Fluoride Prod.....................................................................................                    YY                                                      X


........................          Polycarbonates Prod...........................................................................................                 YY                                                      X


29.................... Steel Pickeling................................................................................................................CCC............................................................    X


30.................... Mineral Wool Prod......................................................................................................... DDD...........................................................         X


31.................... Hazardous Waste Combustion (Phase I).......................................................................... EEE.............................................................                   X


32.................... Boilers that burn Haz. Waste (Phase II).......................................................................... EEE.............................................................                X


33.................... HCL Prod. Furnaces burning Haz. Waste (P II)............................................................... EEE.............................................................                      X


34.................... Pharmaceutical Prod....................................................................................................... GGG...........................................................         X


35.................... Nat. Gas Transmission & Storage................................................................................... HHH...........................................................                 X


36.................... Flexible Polyurethane Foam Prod................................................................................... I I I.............................................................             X


37.................... Polymer & Resins 4....................................................................................................... JJJ...............................................................      X


38.................... Portland Cement............................................................................................................. LLL.............................................................     X


39.................... Pesticide Active Ingredients............................................................................................ MMM.........................................................             X


40.................... Wool Fiberglass.............................................................................................................. NNN...........................................................      X


41.................... Polymer & Resins 3 (Amino & Phenolic)....................................................................... OOO...........................................................                       X


42.................... Polyether Polyols Prod................................................................................................... PPP.............................................................        X


43.................... Primary Copper.............................................................................................................. QQQ...........................................................       X


44.................... Secondary Aluminum Prod............................................................................................. RRR............................................................              X


45.................... Primary Lead Smelting................................................................................................... TTT.............................................................         X


46.................... Petro Refineries (FCC units)........................................................................................... UUU...........................................................            X


47.................... POTW............................................................................................................................ VVV...........................................................   X


48.................... Ferroalloys..................................................................................................................... XXX...........................................................   X


49.................... Municipal Landfills........................................................................................................ AAAA.........................................................         X


50.................... Nutritional Yeast............................................................................................................. CCCC..........................................................     X


51.................... Plywood and Composite Wood Prod. (Partial Vacatur Oct. 07)........................................ DDDD.........................................................                                  X


52.................... Organic Liquids Distribution (non-gas)........................................................................... EEEE..........................................................                  X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


53.................... Misc. Organic NESHAP................................................................................................. FFFF...........................................................           X


54.................... Vegetable Oil.................................................................................................................. GGGG.........................................................   X


55.................... Wet Formed Fiberglass................................................................................................... HHHH.........................................................          X


56.................... Auto & Light Duty Truck (coating)................................................................................ IIII...............................................................           X


57.................... Paper & Other Webs...................................................................................................... JJJJ..............................................................     X


58.................... Metal Can (coating)........................................................................................................ KKKK.........................................................       X


59.................... Misc. Metal Parts (coating)............................................................................................. MMMM......................................................             X


60.................... Large Appliances (coating)............................................................................................. NNNN.........................................................           X


61.................... Printing, Coating, & Dyeing Fabrics............................................................................... OOOO.........................................................                X


62.................... Plastic Parts & Products (coating)................................................................................... PPPP...........................................................           X


63.................... Wood Building Products................................................................................................. QQQQ.........................................................           X


64.................... Metal Furniture (coating)................................................................................................ RRRR..........................................................        X


65.................... Metal Coil (coating)....................................................................................................... S S S S.......................................................      X


66.................... Leather Tanning & Finishing.......................................................................................... TTTT..........................................................            X


67.................... Cellulose Ethers Prod. Misc. Viscose Processes.............................................................. UUUU.........................................................                      X


68.................... Boat Manufacturing........................................................................................................ VVVV.........................................................        X


69.................... Reinforced Plastic Composites........................................................................................ WWWW.....................................................                 X


70.................... Rubber Tire Mfg............................................................................................................ XXXX.........................................................       X


71.................... Stationary Combustion Turbines..................................................................................... YYYY.........................................................               X


72.................... Reciprocating Int. Combustion Engines.......................................................................... ZZZZ..........................................................                  X


........................                    Area Source Requirements >>.


73.................... Lime Manufacturing....................................................................................................... AAAAA......................................................           X


74.................... Semiconductor Production.............................................................................................. BBBBB.......................................................             X


75.................... Coke Ovens: (Push/Quench/Battery/Stacks).................................................................... CCCCC.......................................................                       X


76.................... Industrial/Commercial/Institutional Boilers & Process Heaters, VACATED on 7/30/07.....                                                  DDDDD


77.................... Iron Foundries................................................................................................................ EEEEE........................................................    X


78.................... Integrated Iron & Steel................................................................................................... FFFFF.........................................................       X


79.................... Site Remediation............................................................................................................ GGGGG......................................................        X


80.................... Misc. Coating Manufacturing......................................................................................... HHHHH......................................................                X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


81.................... Mercury Cell Chlor-Alkali.............................................................................................. IIIII.............................................................        X


82.................... Brick & Structural Clay Products, VACATED on 6/18/07................................................                                      JJJJJ


83.................... Clay Ceramics Manufacturing, VACATED on 6/18/07....................................................                                       KKKKK


84.................... Asphalt Roofing & Processing........................................................................................ LLLLL........................................................                X


85.................... Flex. Polyurethane Foam Fabrication.............................................................................. MMMMM...................................................                        X


86.................... Hydrochloric Acid Prod/Fumed Silica............................................................................. NNNNN......................................................                      X


87.................... Engine & Rocket Test Facilities......................................................................................PPPPP.........................................................               X


88.................... Friction Materials Manufacturing.................................................................................... QQQQQ......................................................                  X


89.................... Taconite Iron Ore........................................................................................................... RRRRR.......................................................         X


90.................... Refactories..................................................................................................................... SSSSS.........................................................   X


91.................... Primary Magnesium....................................................................................................... TTTTT........................................................            X


                                                                                                         Area Source Rules


92.................... Hospital Sterilizers.........................................................................................................             WWWWW


93.................... Stainless and Nonstainless Steel Mfg. Electric Arc Furnaces...........................................                                    YYYYY


94.................... Iron & Steel foundries....................................................................................................                ZZZZZ


95.................... Gasoline Distribution—Bulk...........................................................................................                     BBBBBB


96.................... Gasoline Dispensing Facilities........................................................................................                    CCCCCC


97.................... PVC & Copolymers Prod...............................................................................................                      DDDDDD


98.................... Primary Copper..............................................................................................................              EEEEEE


99.................... Secondary Copper Smelting............................................................................................                     FFFFFF


100.................. Primary Nonferrous Metals.............................................................................................                     GGGGGG


........................         Paint Stripping


101.................. Auto-Body Refinishing...................................................................................................                   HHHHHH


........................         Plastic Parts & Prod. (coating)


102.................. Acrylic/Modacrylic Fibers Prod......................................................................................                       LLLLLL


103.................. Carbon Black Prod.........................................................................................................                 MMMMMM


104.................. Chemical Mfg. Chrom....................................................................................................                    NNNNNN


........................         Flex. Polyurethane Foam Fab


105.................. Flex. Polyurethane Foam Prod........................................................................................                       OOOOOO




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


106.................. Lead Acid Battery Mfg..................................................................................................           PPPPPP


107.................. Wood Preserving............................................................................................................       QQQQQQ


108.................. Clay Ceramics Mfg........................................................................................................         RRRRRR


109.................. Glass Mfg......................................................................................................................   SSSSSS


110...................Secondary Nonferrous Metals.........................................................................................              TTTTTT


110...................Plating and Polishing......................................................................................................       WWWWWW


112...................Industrial Mach. & Eq. Finishing....................................................................................              XXXXXX


........................         Elect. & Electronics Eq. Finishing


........................         Fabricated Metal Prod


........................         Fabricated Plate Work (Boiler Shop)


........................         Fabricated Structural Metal Mfg


........................         Heating Eq. Mfg


........................         Iron and Steel Forging


........................         Primary Metals Prod. Mfg


........................         Valves and Pipe Fittings Mfg


113...................Ferroalloys Production....................................................................................................        YYYYYY


........................         Ferro/Silico Manganese



          (ii) Georgia Environmental Protection Division (GEPD) may implement and enforce alternative requirements in the form
          of title V permit terms and conditions for International Paper Augusta Mill, Augusta, Georgia, for subpart S of this part
          —National Emission Standards for Hazardous Air Pollutants from the Pulp and Paper Industry. This action is contingent
          upon GEPD including, in title V permits, terms and conditions that are no less stringent than the Federal standard. In
          addition, the requirement applicable to the source remains the Federal section 112 requirement until EPA has approved the
          alternative permit terms and conditions and the final title V permit is issued.


          (12) [Reserved]


          (13) Idaho.


          (i) The following table lists the specific part 63 subparts that have been delegated unchanged to the Idaho Department
          of Environmental Quality. The (X) symbol indicates that all or part of the subpart is delegated, subject to the conditions
          and limits in EPA's action:


                                                            Delegation Status of Part 63 NESHAPS—State of Idaho 1



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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




                                                               Subpart                                                                                  IDEQ

       A.        General Provisions.................................................................................................................     X

       D.        Early Reductions...................................................................................................................     X

       F.        HON-SOCMI.........................................................................................................................      X

       G.        HON-Process Vents...............................................................................................................        X

       H.        HON-Equipment Leaks.........................................................................................................            X

       I.        HON-Negotiated Leaks.........................................................................................................           X

       L.        Coke Oven Batteries.............................................................................................................        X

       M.        Perchloroethylene Dry Cleaning...........................................................................................               X

       N.        Chromium Electroplating......................................................................................................           X

       O.        Ethylene Oxide Sterilizers.....................................................................................................         X

       Q.        Industrial Process Cooling Towers.......................................................................................                X

       R.        Gasoline Distribution.............................................................................................................      X

       S.        Pulp and Paper......................................................................................................................    X

       T.        Halogenated Solvent Cleaning..............................................................................................              X

       U.        Polymers and Resins I...........................................................................................................        X

       W.        Polymers and Resins II—Epoxy...........................................................................................                 X

       X.        Secondary Lead Smelting......................................................................................................           X

       Y.        Marine Tank Vessel Loading................................................................................................              X

       AA.       Phosphoric Acid Manufacturing Plants................................................................................                    X

       BB.       Phosphate Fertilizers Production Plants................................................................................                 X

       CC.       Petroleum Refineries.............................................................................................................       X

       DD.       Off-Site Waste and Recovery................................................................................................             X

       EE.       Magnetic Tape Manufacturing..............................................................................................               X

       GG.       Aerospace Manufacturing & Rework...................................................................................                     X

       HH.       Oil and Natural Gas Production Facilities............................................................................                   X

       II.       Shipbuilding and Ship Repair...............................................................................................             X

       JJ.       Wood Furniture Manufacturing Operations..........................................................................                       X

       KK.       Printing and Publishing Industry..........................................................................................              X


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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




       LL.        Primary Aluminum................................................................................................................                 X

       OO.        Tanks—Level 1......................................................................................................................              X

       PP.        Containers..............................................................................................................................         X

       QQ.        Surface Impoundments..........................................................................................................                   X

       RR.        Individual Drain Systems......................................................................................................                   X

       SS.        Closed Vent Systems, Control Devices, Recovery Devices and Routing to a Fuel Gas                                                   ............................
                  System or Process.................................................................................................................

       TT.        Equipment Leaks—Control Level 1.....................................................................................                             X

       UU.        Equipment Leaks—Control Level 2.....................................................................................                             X

       VV.        Oil-Water Separators and Organic-Water Separators............................................................                                    X

       WW.        Storage Vessels (Tanks)—Control Level 2...........................................................................                               X

       YY.        Source Categories: Generic MACT......................................................................................                            X

       CCC.       Steel Pickling—HCl Process Facilities and Hydrochloric Acid Regeneration Plants...........                                                       X

       DDD.       Mineral Wool Production......................................................................................................                    X

       EEE.       Hazardous Waste Combustors...............................................................................................                        X

       GGG.       Pharmaceuticals Production..................................................................................................                     X

       HHH.       Natural Gas Transmission and Storage Facilities.................................................................                                 X

       III.       Flexible Polyurethane Foam Production...............................................................................                             X

       JJJ.       Polymers and Resins IV........................................................................................................                   X

       LLL.       Portland Cement Manufacturing...........................................................................................                         X

       MMM.       Pesticide Active Ingredient Production.................................................................................                          X

       NNN.       Wool Fiberglass Manufacturing............................................................................................                        X

       OOO.       Manufacture of Amino Phenolic Resins...............................................................................                              X

       PPP.       Polyether Polyols Production................................................................................................                     X

       RRR.       Secondary Aluminum Production.........................................................................................                           X

       TTT.       Primary Lead Smelting.........................................................................................................                   X

       VVV.       Publicly Owned Treatment Works........................................................................................                           X

       XXX.       Ferroalloys Production: Ferromanganese & Silicomanganese.............................................                                            X


    (ii) [Reserved]


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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




         (14) to (17) [Reserved]


         (18) Kentucky.


         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Kentucky Department
         of Environmental Protection for all sources. The “X” symbol is used to indicate each subpart that has been delegated. The
         delegations are subject to all of the conditions and limitations set forth in Federal law, regulations, policy, guidance, and
         determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
         authorities and specific parts of some standards.


                                                                        Part 63 Major and Area Source Rule Delegations—Kentucky 1


                                                                                                       Source category                                                   Subpart                   KDEP 2   LAPCD 3


1.......................................................................... HON................................................................................. F,G,H,I........................      X       X


2.......................................................................... Polyvinyl Chloride & Co-polymers VACATED on 5/11/05.. J..................................


3.......................................................................... Coke Ovens....................................................................... L.................................      X       X


4.......................................................................... Dry Cleaners..................................................................... M................................       X       X


5.......................................................................... Chromium Electroplating................................................... N.................................             X       X


6.......................................................................... EtO Commercial Sterilization............................................ O.................................               X       X


7.......................................................................... Chromium Cooling Towers................................................ Q.................................                X       X


8.......................................................................... Gasoline Distribution (stage 1)........................................... R.................................             X       X


9.......................................................................... Pulp & Paper I.................................................................. S.................................       X       X


10........................................................................ Halogenated Solvent Cleaning........................................... T.................................                 X       X


11........................................................................ Polymer & Resins 1.......................................................... U.................................            X       X


12........................................................................ Polymer & Resins 2.......................................................... W................................             X       X


13........................................................................ Secondary Lead Smelters................................................... X.................................              X       X


14........................................................................ Marine Tank Vessel Loading.............................................. Y.................................                X       X


15........................................................................ Phosphoric Acid Mfg........................................................ AA..............................               X       X


16........................................................................ Phosphate Fertilizers Prod................................................. BB...............................              X       X


17........................................................................ Petroleum Refineries......................................................... CC...............................            X       X


18........................................................................ Offsite Waste & Recovery................................................. DD..............................                 X       X


............................................................................ Tanks; Level 1...................................................................OO..............................        X       X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




............................................................................ Containers......................................................................... PP...............................   X   X


............................................................................ Surface Impoundments...................................................... QQ..............................             X   X


............................................................................ Drain Systems................................................................... RR...............................      X   X


............................................................................ Oil-Water Separators.......................................................... VV..............................         X   X


19........................................................................ Magnetic Tape................................................................... EE...............................        X   X


20........................................................................ Aerospace Industry............................................................ GG..............................           X   X


21........................................................................ Oil & Natural Gas Prod..................................................... HH..............................              X   X


............................................................................ Area Source Requirements >>........................................... X.................................


22........................................................................ Shipbuilding and Repair.................................................... II.................................           X   X


23........................................................................ Wood Furniture Mfg.......................................................... JJ.................................          X   X


24........................................................................ Printing & Publishing........................................................ KK..............................            X   X


25........................................................................ Primary Aluminum............................................................ LL...............................            X


26........................................................................ Pulp & Paper II (Combustion sources)............................... MM.............................                       X   X


27........................................................................          Generic MACT:


............................................................................ Control Devices................................................................. SS...............................      X   X


............................................................................ Eq. Leaks—Level 1........................................................... TT...............................          X   X


............................................................................ Eq. Leaks—Level 2........................................................... UU..............................           X   X


............................................................................ Tanks—Level 2................................................................. WW............................           X   X


28........................................................................ .................................................................General MACT:


............................................................................ Ethylene Mfg.................................................................... XX & YY...................             X   X


............................................................................ Carbon Black.................................................................... YY..............................       X   X


............................................................................ Spandex Prod.................................................................... YY..............................       X   X


............................................................................ Cyanide Chemical Mfg...................................................... YY..............................             X   X


............................................................................ Acetal Resins.................................................................... YY..............................      X   X


............................................................................ Acrylic/Modacrylic Fibers................................................. YY..............................             X   X


............................................................................ Hydrogen Fluoride Prod.................................................... YY..............................             X   X


............................................................................ Polycarbonates Prod.......................................................... YY..............................          X   X


29........................................................................ Steel Pickling.................................................................... CCC............................        X   X


30........................................................................ Mineral Wool Prod............................................................ DDD...........................              X   X



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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




31........................................................................ Hazardous Waste Combustion (Phase I)............................. EEE.............................                   X   X


32........................................................................ Boilers that burn Haz. Waste (Phase II).............................. EEE.............................               X   X


33........................................................................ HCL Prod. Furnaces burning Haz. Waste (P II)................... EEE.............................                     X   X


34........................................................................ Pharmaceutical Prod.......................................................... GGG...........................         X   X


35........................................................................ Nat. Gas Transmission & Storage...................................... HHH...........................                 X   X


36........................................................................ Flexible Polyurethane Foam Prod...................................... III................................            X   X


37........................................................................ Polymer & Resins 4.......................................................... JJJ...............................      X   X


38........................................................................ Portland Cement................................................................ LLL.............................     X   X


39........................................................................ Pesticide Active Ingredients............................................... MMM.........................             X   X


40........................................................................ Wool Fiberglass................................................................. NNN...........................      X   X


41........................................................................ Polymer & Resins 3 (Amino & Phenolic)........................... OOO...........................                      X   X


42........................................................................ Polyether Polyols Prod...................................................... PPP.............................        X   X


43........................................................................ Primary Copper................................................................. QQQ...........................       X   X


44........................................................................ Secondary Aluminum Prod................................................ RRR............................              X   X


45........................................................................ Primary Lead Smelting...................................................... TTT.............................         X


46........................................................................ Petro Refineries (FCC units).............................................. UUU...........................            X   X


47........................................................................ POTW............................................................................... VVV...........................   X   X


48........................................................................ Ferroalloys........................................................................ XXX...........................   X   X


49........................................................................ Municipal Landfills........................................................... AAAA.........................         X   X


50........................................................................ Nutritional Yeast................................................................ CCCC..........................     X   X


51........................................................................ Plywood and Composite Wood Prod. (Partial Vacatur Oct. DDDD.........................                                 X   X
                                                                       07).....................................................................................


52........................................................................ Organic Liquids Distribution (non-gas).............................. EEEE..........................                  X   X


53........................................................................ Misc. Organic NESHAP.................................................... FFFF...........................             X   X


54........................................................................ Vegetable Oil..................................................................... GGGG.........................     X   X


55........................................................................ Wet Formed Fiberglass...................................................... HHHH.........................            X   X


56........................................................................ Auto & Light Duty Truck (coating).................................... IIII...............................            X   X


57........................................................................ Paper & Other Webs.......................................................... JJJJ..............................      X   X


58........................................................................ Metal Can (coating)........................................................... KKKK.........................         X   X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


59........................................................................ Misc. Metal Parts (coating)................................................ MMMM......................            X   X


60........................................................................ Large Appliances (coating)................................................ NNNN.........................          X   X


61........................................................................ Printing, Coating, & Dyeing Fabrics.................................. OOOO.........................               X   X


62........................................................................ Plastic Parts & Products (coating)...................................... PPPP...........................          X   X


63........................................................................ Wood Building Products.................................................... QQQQ.........................          X   X


64........................................................................ Metal Furniture (coating)................................................... RRRR..........................       X   X


65........................................................................ Metal Coil (coating).......................................................... SSSS...........................    X   X


66........................................................................ Leather Tanning & Finishing............................................. TTTT..........................           X   X


67........................................................................ Cellulose Ethers Prod. Misc. Viscose Processes.................. UUUU.........................                    X   X


68........................................................................ Boat Manufacturing........................................................... VVVV.........................       X   X


69........................................................................ Reinforced Plastic Composites........................................... WWWW.....................                X   X


70........................................................................ Rubber Tire Mfg............................................................... XXXX.........................      X   X


71........................................................................ Stationary Combustion Turbines........................................ YYYY.........................              X   X


72........................................................................ Reciprocating Int. Combustion Engines.............................. ZZZZ..........................                X   X


............................................................................ Area Source Requirements >>........................................... X.................................


73........................................................................ Lime Manufacturing.......................................................... AAAAA......................          X   X


74........................................................................ Semiconductor Production................................................. BBBBB.......................            X   X


75........................................................................ Coke Ovens: (Push/Quench/Battery/Stacks)........................CCCCC.......................                      X   X


76........................................................................ Industrial/Commercial/Institutional Boilers & Process                         DDDDD......................
                                                                      Heaters, VACATED on 7/30/07..........................................


77........................................................................ Iron Foundries................................................................... EEEEE........................   X   X


78........................................................................ Integrated Iron & Steel...................................................... FFFFF.........................      X   X


79........................................................................ Site Remediation............................................................... GGGGG......................       X   X


80........................................................................ Misc. Coating Manufacturing............................................. HHHHH......................              X   X


81........................................................................ Mercury Cell Chlor-Alkali................................................. IIIII.............................     X   X


82........................................................................ Brick & Structural Clay Products, VACATED on 6/18/07.... JJJJJ............................


83........................................................................ Clay Ceramics Manufacturing, VACATED on 6/18/07........ KKKKK......................


84........................................................................ Asphalt Roofing & Processing........................................... LLLLL........................             X   X


85........................................................................ Flex. Polyurethane Foam Fabrication................................. MMMMM...................                     X   X


86........................................................................ Hydrochloric Acid Prod/Fumed Silica................................ NNNNN......................                   X   X



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87........................................................................ Engine & Rocket Test Facilities......................................... PPPPP.........................                   X            X


88........................................................................ Friction Materials Manufacturing....................................... QQQQQ......................                       X            X


89........................................................................ Taconite Iron Ore.............................................................. RRRRR.......................              X            X


90........................................................................ Refactories........................................................................ SSSSS.........................        X            X


91........................................................................ Primary Magnesium...........................................................TTTTT........................                 X            X


          Ares Source Rules


92........................................................................ Hospital Sterilizers............................................................ WWWWW..................                  X


93........................................................................ Electric Arc Furnaces Stainless and Nonstainless Steel Mfg YYYYY......................                                    X


94........................................................................ Iron & Steel foundries....................................................... ZZZZZ........................               X


95........................................................................ Gasoline Distribution—Bulk.............................................. BBBBBB.....................                      X


96........................................................................ Gasoline Dispensing Facilities........................................... CCCCCC.....................                     X


97........................................................................ PVC & Copolymers Prod.................................................. DDDDDD...................                         X


98........................................................................ Primary Copper................................................................. EEEEEE......................              X


99........................................................................ Secondary Copper Smelting............................................... FFFFFF.......................                    X


100...................................................................... Primary Nonferrous Metals Paint Stripping........................ GGGGGG...................                                X


101...................................................................... Auto-Body Refinishing Plastic Parts & Prod. (coating)........HHHHHH...................                                     X


102...................................................................... Acrylic/Modacrylic Fibers Prod......................................... LLLLLL......................                       X


103...................................................................... Carbon Black Prod............................................................ MMMMMM...............                        X


104...................................................................... Chemical Mfg. Chrom Flex. Polyurethane Foam Fab.......... NNNNNN...................                                        X


105...................................................................... Flex. Polyurethane Foam Prod........................................... OOOOOO...................                          X


106...................................................................... Lead Acid Battery Mfg...................................................... PPPPPP.......................                  X


107...................................................................... Wood Preserving............................................................... QQQQQQ...................                   X


108...................................................................... Clay Ceramics Mfg........................................................... RRRRRR.....................


109...................................................................... Glass Mfg......................................................................... SSSSSS.......................


110.......................................................................Secondary Nonferrous Metals............................................ TTTTTT......................


111....................................................................... Plating and Polishing......................................................... WWWWWW..............


112.......................................................................Hearing Eq. Mfg............................................................... XXXXXX...................


............................................................................ Industrial Mach. & Eq. Finishing....................................... ..........................................................


............................................................................ Elect. & Electronics Eq. Finishing..................................... ..........................................................



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............................................................................ Fabricated Metal Prod....................................................... ..........................................................


............................................................................ Fabricated Plate Work (Boiler Shop).................................. ..........................................................


............................................................................ Fabricated Structural Metal Mfg........................................ ..........................................................


............................................................................ Iron and Steel Forging....................................................... ..........................................................


............................................................................ Primary Metals Prod. Mfg................................................. ..........................................................


............................................................................ Valves and Pipe Fittings Mfg............................................. ..........................................................


............................................................................ Ferroalloys Production....................................................... ..........................................................


113.......................................................................Ferro/Silico Manganese..................................................... YYYYYY...................



         (ii) [Reserved]


         (19) Louisiana.


         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Louisiana Department
         of Environmental Quality for all sources. The “X” symbol is used to indicate each subpart that has been delegated. The
         delegations are subject to all of the conditions and limitations set forth in Federal law, regulations, policy, guidance, and
         determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
         authorities and specific parts of some standards. Any amendments made to these rules after July 1, 2013, are not delegated.


                                                          Delegation Status for Part 63 Standards—State of Louisiana

                                                                                           [Excluding Indian Country]

                                     Subpart                                                                                       Source category                                                                 LDEQ 1 2

A......................................................................... General Provisions.................................................................                                                          X

D......................................................................... Early Reductions....................................................................                                                         X

F.......................................................................... Hazardous Organic NESHAP (HON)—Synthetic Organic                                                                                            X
                                                                            Chemical Manufacturing Industry (SOCMI)........................

G......................................................................... HON—SOCMI Process Vents, Storage Vessels, Transfer                                                                                           X
                                                                           Operations and Wastewater...................................................

H......................................................................... HON—Equipment Leaks......................................................                                                                    X

I........................................................................... HON—Certain Processes Negotiated Equipment Leak                                                                                            X
                                                                             Regulation..............................................................................

J........................................................................... Polyvinyl Chloride and Copolymers Production...................                                                                            3


K......................................................................... (Reserved)..............................................................................



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L.......................................................................... Coke Oven Batteries..............................................................          X

M......................................................................... Perchloroethylene Dry Cleaning...........................................                   X

N......................................................................... Chromium Electroplating and Chromium Anodizing Tanks.                                       X

O......................................................................... Ethylene Oxide Sterilizers.....................................................             X

P.......................................................................... (Reserved)..............................................................................

Q......................................................................... Industrial Process Cooling Towers........................................                   X

R.......................................................................... Gasoline Distribution.............................................................         X

S.......................................................................... Pulp and Paper Industry........................................................            X

T.......................................................................... Halogenated Solvent Cleaning..............................................                 X

U......................................................................... Group I Polymers and Resins...............................................                  X

V......................................................................... (Reserved)..............................................................................

W.........................................................................Epoxy Resins Production and Non-Nylon Polyamides                                             X
                                                                          Production..............................................................................

X......................................................................... Secondary Lead Smelting......................................................               X

Y......................................................................... Marine Tank Vessel Loading.................................................                 X

Z.......................................................................... (Reserved)..............................................................................

AA.......................................................................Phosphoric Acid Manufacturing Plants.................................                         X

BB....................................................................... Phosphate Fertilizers Production Plants................................                      X

CC....................................................................... Petroleum Refineries.............................................................            X

DD.......................................................................Off-Site Waste and Recovery Operations..............................                          X

EE....................................................................... Magnetic Tape Manufacturing..............................................                    X

FF........................................................................ (Reserved)..............................................................................

GG.......................................................................Aerospace Manufacturing and Rework Facilities..................                               X

HH.......................................................................Oil and Natural Gas Production Facilities.............................                        X

II.......................................................................... Shipbuilding and Ship Repair Facilities................................                   X

JJ......................................................................... Wood Furniture Manufacturing Operations...........................                         X

KK.......................................................................Printing and Publishing Industry...........................................                   X

LL....................................................................... Primary Aluminum Reduction Plants....................................                        X

MM..................................................................... Chemical Recovery Combustion Sources at Kraft, Soda,                                           X
                                                                        Sulfide, and Stand-Alone Semichemical Pulp Mills.............



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NN.......................................................................(Reserved)..............................................................................

OO.......................................................................Tanks-Level 1........................................................................        X

PP........................................................................ Containers..............................................................................   X

QQ.......................................................................Surface Impoundments..........................................................               X

RR....................................................................... Individual Drain Systems......................................................              X

SS........................................................................ Closed Vent Systems, Control Devices, Recovery Devices                                     X
                                                                           and Routing to a Fuel Gas System or a Process....................

TT....................................................................... Equipment Leaks—Control Level 1......................................                       X

UU.......................................................................Equipment Leaks—Control Level 2 Standards.....................                               X

VV.......................................................................Oil—Water Separators and Organic—Water Separators.......                                     X

WW..................................................................... Storage Vessels (Tanks)—Control Level 2............................                           X

XX.......................................................................Ethylene Manufacturing Process Units Heat Exchange                                           X
                                                                         Systems and Waste Operations..............................................

YY.......................................................................Generic Maximum Achievable Control Technology                                                X
                                                                         Standards................................................................................

ZZ–BBB............................................................. (Reserved)..............................................................................

CCC.................................................................... Steel Pickling—HCI Process Facilities and Hydrochloric                                        X
                                                                        Acid Regeneration.................................................................

DDD.................................................................... Mineral Wool Production......................................................                 X

EEE..................................................................... Hazardous Waste Combustors...............................................                    X

FFF...................................................................... (Reserved)..............................................................................

GGG.................................................................... Pharmaceuticals Production...................................................                 X

HHH.................................................................... Natural Gas Transmission and Storage Facilities..................                             X

III........................................................................ Flexible Polyurethane Foam Production...............................                      X

JJJ........................................................................ Group IV Polymers and Resins.............................................                 X

KKK.................................................................... (Reserved)..............................................................................

LLL..................................................................... Portland Cement Manufacturing...........................................                     X

MMM.................................................................. Pesticide Active Ingredient Production.................................                         X

NNN.................................................................... Wool Fiberglass Manufacturing............................................                     X

OOO.................................................................... Amino/Phenolic Resins.........................................................                X

PPP...................................................................... Polyether Polyols Production................................................                X



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QQQ.................................................................... Primary Copper Smelting......................................................                X

RRR.................................................................... Secondary Aluminum Production.........................................                       X

SSS...................................................................... (Reserved)..............................................................................

TTT..................................................................... Primary Lead Smelting..........................................................             X

UUU.................................................................... Petroleum Refineries—Catalytic Cracking Units, Catalytic                                     X
                                                                        Reforming Units and Sulfur Recovery Plants.......................

VVV.................................................................... Publicly Owned Treatment Works (POTW)..........................                              X

WWW................................................................. (Reserved)..............................................................................

XXX.................................................................... Ferroalloys Production: Ferromanganese and                                                   X
                                                                        Silicomanganese....................................................................

AAAA................................................................. Municipal Solid Waste Landfills...........................................                     X

CCCC.................................................................. Nutritional Yeast Manufacturing...........................................                    X

DDDD................................................................. Plywood and Composite Wood Products..............................                              4
                                                                                                                                                                     X

EEEE...................................................................°Organic Liquids Distribution...............................................                  X

FFFF................................................................... Misc. Organic Chemical Production and Processes (MON)..                                      X

GGGG................................................................. Solvent Extraction for Vegetable Oil Production..................                              X

HHHH................................................................. Wet Formed Fiberglass Mat Production................................                           X

IIII....................................................................... Auto & Light Duty Truck (Surface Coating)........................                        X

JJJJ...................................................................... Paper and other Web (Surface Coating)................................                     X

KKKK................................................................. Metal Can (Surface Coating).................................................                   X

MMMM.............................................................. Misc. Metal Parts and Products (Surface Coating)................                                  X

NNNN................................................................. Surface Coating of Large Appliances...................................                         X

OOOO................................................................. Fabric Printing Coating and Dyeing.....................................                        X

PPPP................................................................... Plastic Parts (Surface Coating)..............................................                X

QQQQ................................................................. Surface Coating of Wood Building Products........................                              X

RRRR.................................................................. Surface Coating of Metal Furniture......................................                      X

SSSS................................................................... Surface Coating for Metal Coil.............................................                  X

TTTT...................................................................Leather Finishing Operations................................................                  X

UUUU................................................................. Cellulose Production Manufacture........................................                       X




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VVVV................................................................. Boat Manufacturing...............................................................          X

WWWW............................................................. Reinforced Plastic Composites Production...........................                            X

XXXX................................................................. Rubber Tire Manufacturing...................................................               X

YYYY................................................................. Combustion Turbines.............................................................           X

ZZZZ...................................................................Reciprocating Internal Combustion Engines (RICE)............                              X

AAAAA.............................................................. Lime Manufacturing Plants...................................................                 X

BBBBB............................................................... Semiconductor Manufacturing..............................................                   X

CCCCC............................................................... Coke Ovens: Pushing, Quenching and Battery Stacks..........                                 X

DDDDD.............................................................. Industrial/Commercial/Institutional Boilers and Process                                      5
                                                                    Heaters...................................................................................   X

EEEEE................................................................ Iron Foundries.......................................................................      X

FFFFF................................................................. Integrated Iron and Steel.......................................................          X

GGGGG.............................................................. Site Remediation....................................................................         X

HHHHH.............................................................. Miscellaneous Coating Manufacturing..................................                        X

IIIII...................................................................... Mercury Cell Chlor-Alkali Plants.........................................            X

JJJJJ.....................................................................Brick and Structural Clay Products Manufacturing...............                        6


KKKKK.............................................................. Clay Ceramics Manufacturing...............................................                   6


LLLLL................................................................ Asphalt Roofing and Processing...........................................                  X

MMMMM...........................................................Flexible Polyurethane Foam Fabrication Operation..............                                   X

NNNNN.............................................................. Hydrochloric Acid Production, Fumed Silica Production.....                                   X

OOOOO.............................................................. (Reserved)..............................................................................

PPPPP................................................................. Engine Test Facilities............................................................        X

QQQQQ.............................................................. Friction Products Manufacturing...........................................                   X

RRRRR............................................................... Taconite Iron Ore Processing................................................                X

SSSSS................................................................. Refractory Products Manufacture..........................................                 X

TTTTT................................................................ Primary Magnesium Refining...............................................                  X

UUUUU.............................................................. Coal and Oil-Fired Electric Utility Steam Generating Units.                                  7
                                                                                                                                                                 X

VVVVV.............................................................. (Reserved)..............................................................................

WWWWW......................................................... Hospital Ethylene Oxide Sterilizers......................................                         X


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XXXXX.............................................................. (Reserved)..............................................................................

YYYYY.............................................................. Electric Arc Furnace Steelmaking Area Sources..................                                    X

ZZZZZ................................................................ Iron and Steel Foundries Area Sources.................................                           X

AAAAAA........................................................... (Reserved)..............................................................................

BBBBBB............................................................ Gasoline Distribution Bulk Terminals, Bulk Plants, and                                              X
                                                                   Pipeline Facilities..................................................................

CCCCCC............................................................ Gasoline Dispensing Facilities..............................................                        X

DDDDDD........................................................... Polyvinyl Chloride and Copolymers Production Area                                                    X
                                                                  Sources...................................................................................

EEEEEE.............................................................. Primary Copper Smelting Area Sources...............................                               X

FFFFFF............................................................... Secondary Copper Smelting Area Sources............................                               X

GGGGGG........................................................... Primary Nonferrous Metals Area Source: Zinc, Cadmium,                                                X
                                                                  and Beryllium........................................................................

HHHHHH........................................................... Paint Stripping and Miscellaneous Surface Coating                                                    X
                                                                  Operations at Area Sources...................................................

IIIIII.................................................................... (Reserved)..............................................................................

JJJJJJ................................................................... Industrial, Commercial, and Institutional Boilers Area                                       X
                                                                          Sources...................................................................................

KKKKKK........................................................... (Reserved)..............................................................................

LLLLLL.............................................................. Acrylic and Modacrylic Fibers Production Area Sources.....                                        X

MMMMMM....................................................... Carbon Black Production Area Sources................................                                     X

NNNNNN........................................................... Chemical Manufacturing Area Sources: Chromium                                                        X
                                                                  Compounds............................................................................

OOOOOO........................................................... Flexible Polyurethane Foam Production and Fabrication                                                X
                                                                  Area Sources..........................................................................

PPPPPP............................................................... Lead Acid Battery Manufacturing Area Sources..................                                   X

QQQQQQ........................................................... Wood Preserving Area Sources.............................................                            X

RRRRRR............................................................ Clay Ceramics Manufacturing Area Sources........................                                    X

SSSSSS............................................................... Glass Manufacturing Area Sources.......................................                          X

TTTTTT.............................................................. Secondary Nonferrous Metals Processing Area Sources.......                                        X

UUUUUU........................................................... (Reserved)..............................................................................

VVVVVV........................................................... Chemical Manufacturing Area Sources.................................                                 X



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WWWWWW...................................................... Plating and Polishing Operations Area Sources....................                                    X

XXXXXX........................................................... Metal Fabrication and Finishing Area Sources.....................                               X

YYYYYY........................................................... Ferroalloys Production Facilities Area Sources....................                              X

ZZZZZZ.............................................................. Aluminum, Copper, and Other Nonferrous Foundries Area                                        X
                                                                     Sources...................................................................................

AAAAAAA........................................................ Asphalt Processing and Asphalt Roofing Manufacturing                                              X
                                                                Area Sources..........................................................................

BBBBBBB.......................................................... Chemical Preparation Industry Area Sources........................                              X

CCCCCCC.......................................................... Paints and Allied Products Manufacturing Area Sources......                                     X

DDDDDDD........................................................ Prepared Feeds Areas Sources..............................................                        X

EEEEEEE........................................................... Gold Mine Ore Processing and Production Area Sources.....                                      X

FFFFFFF–GGGGGGG.......................................(Reserved)..............................................................................

HHHHHHH........................................................ Polyvinyl Chloride and Copolymers Production Major                                                X
                                                                Sources...................................................................................


       (20) Maine.


       (i) [Reserved]


       (ii) Maine Department of Environmental Protection (ME DEP) may implement and enforce alternative requirements in the
       form of title V permit terms and conditions for Lincoln Pulp and Paper, located in Lincoln, Maine, for subpart S—National
       Emission Standards for Hazardous Air Pollutants from the Pulp and Paper Industry. This action is contingent upon ME
       DEP including, in title V permits, terms and conditions that are no less stringent than the federal standard and have been
       approved by EPA. In addition, the requirement applicable to the source remains the federal section 112 requirement until
       EPA has approved the alternative permit terms and conditions and the final title V permit is issued.


       (iii) Affected area sources within Maine must comply with the Maine Regulations Applicable to Hazardous Air Pollutants
       (incorporated by reference as specified in § 63.14) as described in paragraph (a)(20)(iii)(A) of this section:


              (A) The material incorporated into the Maine Department of Environmental Protection regulations at Chapter 125,
              Perchloroethylene Dry Cleaner Regulation, effective as of June 2, 1991, last amended on June 24, 2009, pertaining
              to dry cleaning facilities in the State of Maine jurisdiction, and approved under the procedures in § 63.93 to be
              implemented and enforced in place of the Federal NESHAP for Perchloroethylene Dry Cleaning Facilities (subpart
              M of this part), effective as of July 11, 2008, for area sources only, as defined in § 63.320(h).


                      (1) Authorities not delegated.




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




              (i) Maine is not delegated the Administrator's authority to implement and enforce Maine regulations at Chapter
              125, in lieu of those provisions of subpart M of this part which apply to major sources, as defined in § 63.320(g).


              (ii) Maine is not delegated the Administrator's authority to implement and enforce Maine regulations at Chapter
              125, in lieu of those provisions of subpart M of this part which apply to dry cleaning systems installed in a building
              with a residence between July 13, 2006 and June 24, 2009, as defined in §§ 63.320(b)(2)(i) and 63.322(o)(4).


              (2) [Reserved]


         (B) [Reserved]


    (21) Maryland.


    (i) Maryland is delegated the authority to implement and enforce all existing and future unchanged 40 CFR part 63 standards
    at major sources, as defined in 40 CFR part 70, in accordance with the delegation agreement between EPA Region III
    and the Maryland Department of the Environment, dated November 3, 1999, and any mutually acceptable amendments
    to that agreement.


    (ii) Maryland is delegated the authority to implement and enforce all existing 40 CFR part 63 standards and all future
    unchanged 40 CFR part 63 standards, if delegation is sought by the Maryland Department of the Environment and approved
    by EPA Region III, at affected sources which are not located at major sources, as defined in 40 CFR part 70, in accordance
    with the final rule, dated January 30, 2002, effective April 1, 2002, and any mutually acceptable amendments to the terms
    described in the direct final rule.


    (iii) EPA has granted the Maryland Department of the Environment (MDE) “up-front” approval to implement an
    Equivalency by Permit (EBP) program under which the MDE may establish and enforce alternative State requirements
    for MeadWestvaco Company's Luke Mill in lieu of those of the National Emissions Standard for Hazardous Air Pollutants
    (NESHAP) for Chemical Recovery Combustion Sources at Kraft, Soda, Sulfite, and Stand–Alone Semichemical Pulp Mills
    found at 40 CFR part 63, subpart MM. The MDE may only establish alternative requirements for the Luke Mill which
    are equivalent to and at least as stringent as the otherwise applicable Federal requirements. The MDE must, in order to
    establish alternative requirements for the Luke Mill under its EPA approved EBP program: submit to EPA for review pre-
    draft Clean Air Act (CAA) Title V permit terms specifying alternative requirements which are at least as stringent as the
    otherwise applicable Federal requirements, obtain EPA's written approval of the alternative pre-draft CAA Title V permit
    requirements, and issue a CAA Title V permit for the Luke Mill which contains the approved alternative requirements.
    Until EPA has approved the alternative permit terms and conditions and the MDE has issued a final CAA Title V permit
    incorporating them, MeadWestvaco Company's Luke Mill will remain subject to the Federal NESHAP requirements found
    at 40 CFR part 63, subpart MM.


    (22) Massachusetts.


    (i) [Reserved]




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         (ii) Affected area sources within Massachusetts must comply with the Massachusetts Regulations Applicable to Hazardous
         Air Pollutants (incorporated by reference as specified in § 63.14) as described in paragraph (a)(22)(ii)(A) of this section:


                   (A) The material incorporated into the Massachusetts Department of Environmental Protection regulations at 310
                   CMR 7.26(10)-(16), Air Pollution Control, effective as of September 5, 2008, corrected March 6, 2009, and 310 CMR
                   70.00, Environmental Results Program Certification, effective as of December 28, 2007, pertaining to dry cleaning
                   facilities in the Commonwealth of Massachusetts jurisdiction, and approved under the procedures in § 63.93 to be
                   implemented and enforced in place of the Federal NESHAP for Perchloroethylene Dry Cleaning Facilities (subpart
                   M of this part), effective as of July 11, 2008, for area sources only, as defined in § 63.320(h).


                            (1) Authorities not delegated.


                            (i) Massachusetts is not delegated the Administrator's authority to implement and enforce Massachusetts
                            regulations at 310 CMR 7.26(10)-(16) and 310 CMR 70.00, in lieu of those provisions of subpart M of this part
                            which apply to major sources, as defined in § 63.320(g).


                            (ii) Massachusetts is not delegated the Administrator's authority to implement and enforce Massachusetts
                            regulations at 310 CMR 7.26(10)-(16) and 310 CMR 70.00, in lieu of those provisions of subpart M of this part
                            which apply to dry cleaning systems installed in a building with a residence between December 21, 2005 and
                            July 13, 2006, as defined in §§ 63.320(b)(2)(ii) and 63.322(o)(5)(i)-(ii).


                   (B) [Reserved]


         (23), (24) [Reserved]


         (25) Mississippi.


         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Mississippi Department
         of Environmental Quality (MDEQ) for all sources. The “X” symbol is used to indicate each subpart that has been delegated.
         The delegations are subject to all of the conditions and limitations set forth in Federal law, regulations, policy, guidance, and
         determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
         authorities and specific parts of some standards.


                                                                        Part 63 Major & Area Source Rule Delegations—Mississippi 1


                                                                           Source category                                                                                        Subpart                                   MDEQ


1...................... HON.............................................................................................................................. F, G, H, I....................................................     X


2...................... Polyvinyl Chloride & Co-polymers VACATED on 5/11/05..............................................                                          J


3...................... Coke Ovens.................................................................................................................... L.................................................................    X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


4...................... Dry Cleaners.................................................................................................................. M................................................................   X


5...................... Chromium Electroplating................................................................................................ N.................................................................         X


6...................... EtO Commercial Sterilization......................................................................................... O.................................................................           X


7...................... Chromium Cooling Towers............................................................................................. Q.................................................................            X


8...................... Gasoline Distribution (stage 1)....................................................................................... R.................................................................          X


9...................... Pulp & Paper I............................................................................................................... S.................................................................   X


10.................... Halogenated Solvent Cleaning........................................................................................ T.................................................................             X


11.................... Polymer & Resins 1....................................................................................................... U.................................................................        X


12.................... Polymer & Resins 2....................................................................................................... W................................................................         X


13.................... Secondary Lead Smelters................................................................................................ X.................................................................          X


14.................... Marine Tank Vessel Loading.......................................................................................... Y.................................................................             X


15.................... Phosphoric Acid Mfg..................................................................................................... AA..............................................................           X


16.................... Phosphate Fertilizers Prod.............................................................................................. BB...............................................................          X


17.................... Petroleum Refineries...................................................................................................... CC...............................................................        X


18.................... Offsite Waste & Recovery.............................................................................................. DD..............................................................             X


........................          Tanks; Level 1....................................................................................................              OO                                                       X


........................          Containers..........................................................................................................            PP                                                       X


........................          Surface Impoundments.......................................................................................                     QQ                                                       X


........................          Drain Systems....................................................................................................               RR                                                       X


........................          Oil-Water Separators...........................................................................................                 VV                                                       X


19.................... Magnetic Tape................................................................................................................ EE...............................................................     X


20.................... Aerospace Industry......................................................................................................... GG..............................................................        X


21.................... Oil & Natural Gas Prod.................................................................................................. HH..............................................................           X


........................                     Area Source Requirements >>.


22.................... Shipbuilding and Repair................................................................................................. II.................................................................        X


23.................... Wood Furniture Mfg....................................................................................................... JJ.................................................................       X


24.................... Printing & Publishing..................................................................................................... KK..............................................................         X


25.................... Primary Aluminum......................................................................................................... LL...............................................................         X


26.................... Pulp & Paper II (Combustion sources)............................................................................ MM.............................................................                    X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


27....................                      Generic MACT:


........................          Control Devices..................................................................................................             SS                                                      X


........................          Eq. Leaks—Level 1............................................................................................                 TT                                                      X


........................          Eq. Leaks—Level 2............................................................................................                 UU                                                      X


........................          Tanks—Level 2..................................................................................................               WW                                                      X


28....................           Generic MACT:


........................          Ethylene Mfg.....................................................................................................             XX & YY                                                 X


........................          Carbon Black.....................................................................................................             YY                                                      X


........................          Spandex Prod.....................................................................................................             YY                                                      X


........................          Cyanide Chemical Mfg.......................................................................................                   YY                                                      X


........................          Acetal Resins.....................................................................................................            YY                                                      X


........................          Acrylic/Modacrylic Fibers..................................................................................                   YY                                                      X


........................          Hydrogen Fluoride Prod.....................................................................................                   YY                                                      X


........................          Polycarbonates Prod...........................................................................................                YY                                                      X


29.................... Steel Pickeling................................................................................................................CCC............................................................   X


30.................... Mineral Wool Prod......................................................................................................... DDD...........................................................        X


31.................... Hazardous Waste Combustion (Phase I).......................................................................... EEE.............................................................                  X


32.................... Boilers that burn Haz. Waste (Phase II).......................................................................... EEE.............................................................               X


33.................... HCL Prod. Furnaces burning Haz. Waste (P II)............................................................... EEE.............................................................                     X


34.................... Pharmaceutical Prod....................................................................................................... GGG...........................................................        X


35.................... Nat. Gas Transmission & Storage................................................................................... HHH...........................................................                X


36.................... Flexible Polyurethane Foam Prod................................................................................... III................................................................           X


37.................... Polymer & Resins 4....................................................................................................... JJJ...............................................................     X


38.................... Portland Cement............................................................................................................. LLL.............................................................    X


39.................... Pesticide Active Ingredients............................................................................................ MMM.........................................................            X


40.................... Wool Fiberglass.............................................................................................................. NNN...........................................................     X


41.................... Polymer & Resins 3 (Amino & Phenolic)....................................................................... OOO...........................................................                      X


42.................... Polyether Polyols Prod................................................................................................... PPP.............................................................       X


43.................... Primary Copper.............................................................................................................. QQQ...........................................................      X




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44.................... Secondary Aluminum Prod............................................................................................. RRR............................................................              X


45.................... Primary Lead Smelting................................................................................................... TTT.............................................................         X


46.................... Petro Refineries (FCC units)........................................................................................... UUU...........................................................            X


47.................... POTW............................................................................................................................ VVV...........................................................   X


48.................... Ferroalloys..................................................................................................................... XXX...........................................................   X


49.................... Municipal Landfills........................................................................................................ AAAA.........................................................         X


50.................... Nutritional Yeast............................................................................................................. CCCC..........................................................     X


51.................... Plywood and Composite Wood Prod. (Partial Vacatur Oct. 07)........................................ DDDD.........................................................                                  X


52.................... Organic Liquids Distribution (non-gas)........................................................................... EEEE..........................................................                  X


53.................... Misc. Organic NESHAP................................................................................................. FFFF...........................................................             X


54.................... Vegetable Oil.................................................................................................................. GGGG.........................................................     X


55.................... Wet Formed Fiberglass................................................................................................... HHHH.........................................................            X


56.................... Auto & Light Duty Truck (coating)................................................................................ IIII...............................................................             X


57.................... Paper & Other Webs...................................................................................................... JJJJ..............................................................       X


58.................... Metal Can (coating)........................................................................................................ KKKK.........................................................         X


59.................... Misc. Metal Parts (coating)............................................................................................. MMMM......................................................               X


60.................... Large Appliances (coating)............................................................................................. NNNN.........................................................             X


61.................... Printing, Coating, & Dyeing Fabrics............................................................................... OOOO.........................................................                  X


62.................... Plastic Parts & Products (coating)................................................................................... PPPP...........................................................             X


63.................... Wood Building Products................................................................................................. QQQQ.........................................................             X


64.................... Metal Furniture (coating)................................................................................................ RRRR..........................................................          X


65.................... Metal Coil (coating)....................................................................................................... SSSS...........................................................       X


66.................... Leather Tanning & Finishing.......................................................................................... TTTT..........................................................              X


67.................... Cellulose Ethers Prod. Misc. Viscose Processes.............................................................. UUUU.........................................................                        X


68.................... Boat Manufacturing........................................................................................................ VVVV.........................................................          X


69.................... Reinforced Plastic Composites........................................................................................ WWWW.....................................................                   X


70.................... Rubber Tire Mfg............................................................................................................ XXXX.........................................................         X


71.................... Stationary Combustion Turbines..................................................................................... YYYY.........................................................                 X


72.................... Reciprocating Int. Combustion Engines.......................................................................... ZZZZ..........................................................                    X




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........................                     Area Source Requirements >>.


73.................... Lime Manufacturing....................................................................................................... AAAAA......................................................             X


74.................... Semiconductor Production.............................................................................................. BBBBB.......................................................               X


75.................... Coke Ovens: (Push/Quench/Battery/Stacks).................................................................... CCCCC.......................................................                         X


76.................... Industrial/Commercial/Institutional Boilers & Process Heaters, VACATED on 7/30/07.....                                                    DDDDD


77.................... Iron Foundries................................................................................................................ EEEEE........................................................      X


78.................... Integrated Iron & Steel................................................................................................... FFFFF.........................................................         X


79.................... Site Remediation............................................................................................................ GGGGG......................................................          X


80.................... Misc. Coating Manufacturing......................................................................................... HHHHH......................................................                  X


81.................... Mercury Cell Chlor-Alkali.............................................................................................. IIIII.............................................................        X


82.................... Brick & Structural Clay Products, VACATED on 6/18/07................................................JJJJJ............................................................


83.................... Clay Ceramics Manufacturing, VACATED on 6/18/07....................................................                                       KKKKK


84.................... Asphalt Roofing & Processing........................................................................................ LLLLL........................................................                X


85.................... Flex. Polyurethane Foam Fabrication.............................................................................. MMMMM...................................................                        X


86.................... Hydrochloric Acid Prod/Fumed Silica............................................................................. NNNNN......................................................                      X


87.................... Engine & Rocket Test Facilities......................................................................................PPPPP.........................................................               X


88.................... Friction Materials Manufacturing.................................................................................... QQQQQ......................................................                  X


89.................... Taconite Iron Ore........................................................................................................... RRRRR.......................................................         X


90.................... Refactories..................................................................................................................... SSSSS.........................................................   X


91.................... Primary Magnesium....................................................................................................... TTTTT........................................................            X


                                                                                                         Area Source Rules


92.................... Hospital Sterilizers......................................................................................................... WWWWW..................................................             X


93.................... Stainless and Nonstainless Steel Mfg. Electric Arc Furnaces........................................... YYYYY......................................................                                X


94.................... Iron & Steel foundries.................................................................................................... ZZZZZ........................................................          X


95.................... Gasoline Distribution—Bulk........................................................................................... BBBBBB.....................................................                 X


96.................... Gasoline Dispensing Facilities........................................................................................ CCCCCC.....................................................                X


97.................... PVC & Copolymers Prod............................................................................................... DDDDDD...................................................                    X


98.................... Primary Copper.............................................................................................................. EEEEEE......................................................         X


99.................... Secondary Copper Smelting............................................................................................ FFFFFF.......................................................               X




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100.................. Primary Nonferrous Metals............................................................................................. GGGGGG...................................................                X


........................                       Paint Stripping


101.................. Auto-Body Refinishing...................................................................................................                HHHHHH


........................                       Plastic Parts & Prod. (coating)


102.................. Acrylic/Modacrylic Fibers Prod...................................................................................... LLLLLL......................................................               X


103.................. Carbon Black Prod......................................................................................................... MMMMMM...............................................                X


104.................. Chemical Mfg. Chrom.................................................................................................... NNNNNN...................................................               X


........................                       Flex. Polyurethane Foam Fab


105.................. Flex. Polyurethane Foam Prod........................................................................................ OOOOOO...................................................                  X


106.................. Lead Acid Battery Mfg...................................................................................................PPPPPP.......................................................           X


107.................. Wood Preserving............................................................................................................ QQQQQQ...................................................           X


108.................. Clay Ceramics Mfg........................................................................................................ RRRRRR.....................................................           X


109.................. Glass Mfg...................................................................................................................... SSSSSS.......................................................   X


110...................Secondary Nonferrous Metals......................................................................................... TTTTTT......................................................               X


110...................Plating and Polishing...................................................................................................... WWWWWW..............................................                X


112...................Heating Eq. Mfg............................................................................................................ XXXXXX...................................................           X


........................             Industrial Mach. & Eq. Finishing


........................             Elect. & Electronics Eq. Finishing


........................             Fabricated Metal Prod


........................             Fabricated Plate Work (Boiler Shop)


........................             Fabricated Structural Metal Mfg


........................             Iron and Steel Forging


........................             Primary Metals Prod. Mfg


........................             Valves and Pipe Fittings Mfg


113...................Ferroalloys Production....................................................................................................              YYYYYY


                           Ferro/Silico Manganese..................................................................................................



          (ii) [Reserved]


          (26) to (28) [Reserved]



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         (29) Nevada.




         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the air pollution control
         agencies in the State of Nevada. The (X) symbol is used to indicate each category that has been delegated.


                                                       Table 11 to Paragraph (a)(29)(i)—Delegation Status for Part 63 Standards—Nevada


              Subpart                                                              Description                                                    NDEP 1                     Washoe 2                              Clark 3


A......................................... General Provisions................................................................................       X                               X                                   X


F......................................... Synthetic Organic Chemical Manufacturing Industry..............................                          X             ......................................                X


G......................................... Synthetic Organic Chemical Manufacturing Industry: Process Vents,                                        X             ......................................                X
                                         Storage Vessels, Transfer Operations, and Wastewater............................


H......................................... Organic Hazardous Air Pollutants: Equipment Leaks.............................                           X             ......................................                X


I.......................................... Organic Hazardous Air Pollutants: Certain Processes Subject to the                                      X             ......................................                X
                                         Negotiated Regulation for Equipment Leaks..........................................


J.......................................... Polyvinyl Chloride and Copolymers Production.....................................                       X             ......................................                X


L......................................... Coke Oven Batteries.............................................................................         X             ......................................                X


M........................................ Perchloroethylene Dry Cleaning............................................................                X                               X                                   X


N......................................... Hard and Decorative Chromium Electroplating and Chromium                                                 X                               X                                   X
                                         Anodizing Tanks...................................................................................


O......................................... Ethylene Oxide Sterilization Facilities...................................................               X                               X                                   X


Q......................................... Industrial Process Cooling Towers.........................................................               X             ......................................                X


R......................................... Gasoline Distribution Facilities.............................................................            X                               X                                   X


S......................................... Pulp and Paper......................................................................................     X             ......................................                X


T......................................... Halogenated Solvent Cleaning...............................................................              X                               X                                   X


U......................................... Group I Polymers and Resins................................................................              X             ......................................                X


W........................................ Epoxy Resins Production and Non-Nylon Polyamides Production...........                                    X             ......................................                X


X......................................... Secondary Lead Smelting......................................................................            X             ......................................                X


Y......................................... Marine Tank Vessel Loading Operations................................................                    X             ...................................... .................................


AA...................................... Phosphoric Acid Manufacturing Plants.................................................. ........................... ......................................                      X


BB.......................................Phosphate Fertilizers Production Plants................................................. ........................... ......................................                    X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


CC.......................................Petroleum Refineries.............................................................................                      X              ......................................    X


DD...................................... Off-Site Waste and Recovery Operations............................................... ........................... ......................................                        X


EE....................................... Magnetic Tape Manufacturing Operations..............................................                                  X              ......................................    X


GG...................................... Aerospace Manufacturing and Rework Facilities.................................... ........................... ......................................                            X


HH...................................... Oil and Natural Gas Production Facilities..............................................                                X              ......................................    X


II......................................... Shipbuilding and Ship Repair (Surface Coating)....................................                                  X              ......................................    X


JJ......................................... Wood Furniture Manufacturing Operations............................................                                 X              ......................................    X


KK...................................... Printing and Publishing Industry...........................................................                            X                                X                       X


LL....................................... Primary Aluminum Reduction Plants..................................................... ........................... ......................................                      X


MM..................................... Chemical Recovery Combustion Sources at Kraft, Soda, Sulfite, and                                           ........................... ......................................   X
                                         Stand-Alone Semichemical Pulp Mills...................................................


OO...................................... Tanks—Level 1.....................................................................................                     X              ......................................    X


PP....................................... Containers.............................................................................................               X              ......................................    X


QQ...................................... Surface Impoundments..........................................................................                         X              ......................................    X


RR.......................................Individual Drain Systems......................................................................                         X              ......................................    X


SS....................................... Closed Vent Systems, Control Devices, Recovery Devices and Routing                                                    X              ......................................    X
                                         to a Fuel Gas System or a Process........................................................


TT....................................... Equipment Leaks—Control Level 1.......................................................                                X              ......................................    X


UU...................................... Equipment Leaks—Control Level 2.......................................................                                 X              ......................................    X


VV...................................... Oil-Water Separators and Organic-Water Separators...............................                                       X              ......................................    X


WW.................................... Storage Vessels (Tanks)—Control Level 2.............................................                                     X              ......................................    X


XX...................................... Ethylene Manufacturing Process Units: Heat Exchange Systems and                                                        X              ......................................    X
                                         Waste Operations..................................................................................


YY...................................... Generic MACT Standards.....................................................................                            X              ......................................    X


CCC.................................... Steel Pickling........................................................................................                  X              ......................................    X


DDD................................... Mineral Wool Production...................................................................... ........................... ......................................                  X


EEE..................................... Hazardous Waste Combustors...............................................................                              X              ......................................    X


GGG................................... Pharmaceuticals Production...................................................................                            X              ......................................    X


HHH................................... Natural Gas Transmission and Storage Facilities....................................                                      X              ......................................    X


III........................................ Flexible Polyurethane Foam Production.................................................                              X              ......................................    X


JJJ....................................... Group IV Polymers and Resins.............................................................                            X              ......................................    X



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LLL..................................... Portland Cement Manufacturing Industry...............................................                           X            ......................................   X


MMM................................. Pesticide Active Ingredient Production..................................................                            X            ......................................   X


NNN................................... Wool Fiberglass Manufacturing............................................................. ........................... ......................................           X


OOO................................... Manufacture of Amino/Phenolic Resins.................................................                             X            ......................................   X


PPP..................................... Polyether Polyols Production.................................................................                   X            ......................................   X


QQQ................................... Primary Copper Smelting......................................................................                     X            ......................................   X


RRR.................................... Secondary Aluminum Production.......................................................... ........................... ......................................             X


TTT..................................... Primary Lead Smelting.........................................................................                  X            ......................................   X


UUU................................... Petroleum Refineries: Catalytic Cracking, Catalytic Reforming, and                                                X            ......................................   X
                                        Sulfur Recovery Units...........................................................................


VVV................................... Publicly Owned Treatment Works.........................................................                           X                             X                       X


XXX................................... Ferroalloys Production.......................................................................... ........................... ......................................     X


AAAA................................. Municipal Solid Waste Landfills............................................................                        X            ......................................   X


CCCC..................................Manufacturing of Nutritional Yeast................................................................................... ......................................             X


DDDD................................. Plywood and Composite Wood Products................................................                                X            ......................................   X


EEEE.................................. Organic Liquids Distribution (non-gasoline)..........................................                             X                             X                       X


FFFF................................... Miscellaneous Organic Chemical Manufacturing....................................                                 X            ......................................   X


GGGG................................. Solvent Extraction for Vegetable Oil Production....................................                                X            ......................................   X


HHHH................................. Wet-Formed Fiberglass Mat Production.................................................                              X            ......................................   X


IIII.......................................Surface Coating of Automobiles and Light-Duty Trucks.........................                                 X            ......................................   X


JJJJ...................................... Paper and Other Web Coating...............................................................                    X            ......................................   X


KKKK................................. Surface Coating of Metal Cans..............................................................                        X            ......................................   X


MMMM.............................. Miscellaneous Metal Parts and Products................................................                                X            ......................................   X


NNNN................................. Large Appliances..................................................................................                 X            ......................................   X


OOOO................................. Printing, Coating, and Dyeing of Fabrics and Other Textiles...................                                     X            ......................................   X


PPPP................................... Surface Coating of Plastic Parts and Products........................................                            X            ......................................   X


QQQQ................................. Wood Building Products.......................................................................                      X            ......................................   X


RRRR..................................Surface Coating of Metal Furniture.......................................................                          X            ......................................   X


SSSS................................... Surface Coating of Metal Coil...............................................................                     X            ......................................   X




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TTTT.................................. Leather Finishing Operations.................................................................                X             ......................................                X


UUUU................................. Cellulose Products Manufacturing.........................................................                     X             ......................................                X


VVVV................................. Boat Manufacturing..............................................................................              X             ......................................                X


WWWW............................. Reinforced Plastics Composites Production...........................................                              X                               X                                   X


XXXX................................. Tire Manufacturing...............................................................................             X             ......................................                X


YYYY................................. Stationary Combustion Turbines............................................................                    X             ......................................                X


ZZZZ.................................. Stationary Reciprocating Internal Combustion Engines..........................                               X                               X                                   X


AAAAA.............................. Lime Manufacturing Plants...................................................................                    X             ......................................                X


BBBBB............................... Semiconductor Manufacturing...............................................................                     X             ......................................                X


CCCCC............................... Coke Oven: Pushing, Quenching and Battery Stacks..............................                                 X             ......................................                X


DDDDD.............................. Industrial, Commercial, and Institutional Boiler and Process Heaters.......                                     X             ......................................                X


EEEEE................................ Iron and Steel Foundries.......................................................................               X             ......................................                X


FFFFF................................. Integrated Iron and Steel.......................................................................             X             ......................................                X


GGGGG.............................. Site Remediation...................................................................................             X             ......................................                X


HHHHH.............................. Miscellaneous Coating Manufacturing...................................................                          X             ......................................                X


IIIII..................................... Mercury Emissions from Mercury Cell Chlor-Alkali Plants.................... ........................... ......................................                               X


JJJJJ.................................... Brick and Structural Clay Products Manufacturing.................................                         X             ......................................                X


KKKKK.............................. Clay Ceramics Manufacturing...............................................................                      X             ......................................                X


LLLLL................................ Asphalt Roofing and Processing............................................................                    X             ......................................                X


MMMMM........................... Flexible Polyurethane Foam Fabrication Operation................................                                   X             ......................................                X


NNNNN.............................. Hydrochloric Acid Production...............................................................                     X             ......................................                X


PPPPP................................. Engine Test Cells/Stands.......................................................................              X             ......................................                X


QQQQQ.............................. Friction Products Manufacturing...........................................................                      X             ......................................                X


RRRRR............................... Taconite Iron Ore Processing................................................................ ........................... ......................................                    X


SSSSS................................. Refractory Products Manufacturing.......................................................                     X             ......................................                X


TTTTT................................ Primary Magnesium Refining................................................................ ........................... ......................................                     X


UUUUU.............................. Coal and Oil-Fired Electric Utility Steam Generating Units....................                                  X             ...................................... .................................


WWWWW.......................... Hospital Ethylene Oxide Sterilizers.......................................................                          X                               X                                   X


YYYYY.............................. Electric Arc Furnace Steelmaking Facilities (area sources)..................... ........................... ......................................                                  X




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ZZZZZ................................ Iron and Steel Foundries Area Sources..................................................                   X       ......................................   X


BBBBBB.............................Gasoline Distribution Bulk Terminals, Bulk Plants and Pipeline                                               X                        X                       X
                                    Facilities...............................................................................................


CCCCCC.............................Gasoline Dispensing Facilities...............................................................                X                        X                       X


DDDDDD........................... Polyvinyl Chloride and Copolymers Production Area Sources................                                     X                                                X


EEEEEE.............................. Primary Copper Smelting Area Sources.................................................                      X                                                X


FFFFFF............................... Secondary Copper Smelting Area Sources.............................................                       X                                                X


GGGGGG........................... Primary Nonferrous Metals Area Sources—Zinc, Cadmium, and                                                     X                                                X
                                    Beryllium..............................................................................................


HHHHHH........................... Paint Stripping and Miscellaneous Surface Coating Operations at Area                                          X                        X                       X
                                    Sources.................................................................................................


JJJJJJ................................... Industrial, Commercial, and Institutional Boilers and Process Heaters—                                X
                                    Area Sources.........................................................................................


LLLLLL.............................. Acrylic and Modacrylic Fibers Production Area Sources........................                              X                                                X


MMMMMM....................... Carbon Black Production Area Sources.................................................                             X                                                X


NNNNNN........................... Chemical Manufacturing Area Sources: Chromium Compounds.............                                          X                                                X


OOOOOO........................... Flexible Polyurethane Foam Production and Fabrication Area Sources....                                        X                        X                       X


PPPPPP............................... Lead Acid Battery Manufacturing Area Sources....................................                          X                                                X


QQQQQQ........................... Wood Preserving Area Sources.............................................................                     X                                                X


RRRRRR.............................Clay Ceramics Manufacturing Area Sources..........................................                           X                                                X


SSSSSS............................... Glass Manufacturing Area Sources........................................................                  X                                                X


TTTTTT.............................. Secondary Nonferrous Metals Processing Area Sources.........................                               X                                                X


VVVVVV........................... Chemical Manufacturing Industry—Area Sources..................................                                X                                                X


WWWWWW...................... Area Source Standards for Plating and Polishing Operations...................                                      X                        X                       X


XXXXXX........................... Area Source Standards for Nine Metal Fabrication and Finishing Source                                         X                        X                       X
                                    Categories.............................................................................................


YYYYYY........................... Area Sources: Ferroalloys Production Facilities.....................................                                                                           X


ZZZZZZ.............................. Area Source Standards for Aluminum, Copper, and Other Nonferrous                                           X                                                X
                                    Foundries..............................................................................................


AAAAAAA.........................Asphalt Processing and Asphalt Roofing Manufacturing—Area Sources.                                              X                                                X


BBBBBBB.......................... Chemical Preparations Industry—Area Sources.....................................                              X                                                X


CCCCCCC.......................... Paint and Allied Products Manufacturing—Area Sources.......................                                   X                                                X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


DDDDDDD.........................Prepared Feeds Manufacturing—Area Sources.......................................                                X


EEEEEEE........................... Gold Mine Ore Processing and Production—Area Sources.....................       X                            X



       (ii) [Reserved]


       (30) New Hampshire.


       (i) New Hampshire is delegated the authority to implement and enforce all existing and future unchanged 40 CFR part 63
       standards in accordance with the delegation procedures in Attachment II of the delegation request letter dated May 9, 2002
       submitted by NH DES to EPA and any mutually acceptable amendments to those delegation procedures.


       (ii) New Hampshire Department of Environmental Services (NH DES) may implement and enforce alternative
       requirements in the form of title V permit terms and conditions for Groveton Paper Board Inc. of Groveton, NH and Pulp
       & Paper of America, LLC of Berlin, NH for subpart S—National Emission Standards for Hazardous Air Pollutants from
       the Pulp and Paper Industry and subpart MM—National Emissions Standards for Hazardous Air Pollutants for Chemical
       Recovery Combustion Sources at Kraft, Soda, Sulfite and Stand–Alone Semi-chemical Pulp Mills. This action is contingent
       upon NH DES including, in title V permits, terms and conditions that are no less stringent than the Federal standard
       and have been approved by EPA. In addition, the requirement applicable to the source remains the Federal section 112
       requirement until EPA has approved the alternative permit terms and conditions and the final title V permit is issued.


       (iii) Affected inactive waste disposal sites not operated after July 9, 1981 within New Hampshire must comply with New
       Hampshire Regulations Chapter Env–Sw 2100: Management and Control of Asbestos Disposal Sites Not Operated after
       July 9, 1981, effective September 1, 2018 (incorporated by reference, see § 63.14) as described in paragraph (a)(30)(iii)
       (A) of this section:


              (A) The material incorporated by reference from Chapter Env–Sw 2100, Management and Control of Asbestos
              Disposal Sites Not Operated after July 9, 1981, pertains to inactive waste disposal sites not operated after July 9,
              1981 in the State of New Hampshire's jurisdiction, and has been approved under the procedures in § 63.93 to be
              implemented and enforced in place of the Federal NESHAPs for Inactive Waste Disposal Sites (40 CFR 61.151).


              (B) [Reserved]


       (iv) Affected asbestos facilities (i.e., facilities found under 40 CFR part 61, subpart M, except those listed under paragraph
       (a)(30)(iii)) of this section) must comply with the New Hampshire Code of Administrative Rules, Chapter Env–A 1800,
       Asbestos Management and Control, effective as of May 5, 2017 (incorporated by reference as specified in § 63.14) as
       described in paragraph (a)(30)(iv)(A) of this section:


              (A) The material incorporated by reference from Chapter Env–A 1800, Asbestos Management and Control, pertains
              to those affected sources in the State of New Hampshire's jurisdiction, and has been approved under the procedures
              in § 63.93 to be implemented and enforced in place of the federal NESHAPs found at 40 CFR part 61, subpart M
              (except those listed under paragraph (a)(30)(iii) of this section).




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         (B) [Reserved]


    (31) New Jersey.


    (i) Affected sources must comply with the Toxic Catastrophe Prevention Act Program (TCPA), (July 20, 1998),
    (incorporated by reference as specified in § 63.14) as described in paragraph (a)(31)(i)(A) of this section:


         (A) Except for authorities identified as not being delegated, the regulations incorporated in New Jersey's “Toxic
         Catastrophe Prevention Act Program,” Title 7, Chapter 31, of the New Jersey Administrative Code: Subchapter
         1, “General Provisions” (sections 1.1 to 1.10 except for the definition of “What if Checklist”), Subchapter 2,
         “Hazard Assessment,” Subchapter 3, “Minimum Requirements for a Program 2 TCPA Risk Management Program,”
         Subchapter 4, “Minimum Requirements for a Program 3 TCPA Risk Management Program,” Subchapter 5,
         “Emergency Response,” Subchapter 6, “Extraordinarily Hazardous Substances,” Subchapter 7, “Risk Management
         Plan and TCPA Submission,” and Subchapter 8, “Other Federal Requirements,” (effective July 20, 1998), pertain to
         the sources affected by 40 CFR part 68 and have been approved under the procedures in §§ 63.91, 63.93 and 63.95
         to be implemented and enforced in place of 40 CFR part 68, Subparts A through H, as may be amended.


              (1) Authorities not delegated:


              (i) The New Jersey Department of Environmental Protection is not delegated the Administrator's authority to
              implement and enforce New Jersey's Toxic Catastrophe Prevention Act Program, Title 7, Chapter 31, of the
              New Jersey Administrative Code, in lieu of the provisions of 40 CFR part 68 as they apply to the regulation
              of processes that are covered only because they contain regulated quantities of liquid petroleum gases (LPG)
              regulated under the New Jersey Liquified Petroleum Gas Act of 1950 (N.J.S.A. 21:1B),


              (ii) Pursuant to § 63.90(c) the New Jersey Department of Environmental Protection is not delegated the
              Administrator's authority to add or delete substances from the list of substances established under section 112(r)
              and set forth in 40 CFR 68.130.


    (32) New Mexico.


    (i) The following table lists the specific part 63 standards that have been delegated unchanged to State and local air pollution
    agencies in New Mexico. The “X” symbol is used to indicate each subpart that has been delegated. The delegations are
    subject to all of the conditions and limitations set forth in Federal law and regulations. Some authorities cannot be delegated
    and are retained by the EPA. These include certain General Provisions authorities and specific parts of some standards.
    Any amendments made to these rules after January 23, 2017 are not delegated.


                                          Delegation Status for Part 63 Standards

                                                 [Excluding Indian country]

              Subpart                                    Source category                      NMED 1 2         ABCAQCB 1 3



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A............................................................ General Provisions................................................       X         X

D............................................................ Early Reductions...................................................      X         X

F............................................................ Hazardous Organic NESHAP (HON)—Synthetic                                 X         X
                                                              Organic Chemical Manufacturing Industry
                                                              (SOCMI)...............................................................

G............................................................ HON—SOCMI Process Vents, Storage Vessels,                                X         X
                                                              Transfer Operations and Wastewater....................

H............................................................ HON—Equipment Leaks......................................                X         X

I............................................................. HON—Certain Processes Negotiated Equipment                              X         X
                                                               Leak Regulation....................................................

J............................................................. Polyvinyl Chloride and Copolymers Production..                          4         4


K............................................................        [Reserved]

L............................................................ Coke Oven Batteries.............................................         X         X

M........................................................... Perchloroethylene Dry Cleaning...........................                 X         X

N............................................................ Chromium Electroplating and Chromium                                     X         X
                                                              Anodizing Tanks...................................................

O............................................................ Ethylene Oxide Sterilizers....................................           X         X

P............................................................        [Reserved]

Q............................................................ Industrial Process Cooling Towers.......................                 X         X

R............................................................ Gasoline Distribution............................................        X         X

S............................................................ Pulp and Paper Industry.......................................           X         X

T............................................................ Halogenated Solvent Cleaning..............................               X         X

U............................................................ Group I Polymers and Resins...............................               X         X

V............................................................        [Reserved]

W........................................................... Epoxy Resins Production and Non-Nylon                                     X         X
                                                             Polyamides Production.........................................

X............................................................ Secondary Lead Smelting.....................................             X         X

Y............................................................ Marine Tank Vessel Loading................................               X         X

Z............................................................        [Reserved]

AA......................................................... Phosphoric Acid Manufacturing Plants................                       X         X

BB......................................................... Phosphate Fertilizers Production Plants................                    X         X




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CC......................................................... Petroleum Refineries.............................................            X        X

DD......................................................... Off-Site Waste and Recovery Operations.............                          X        X

EE.......................................................... Magnetic Tape Manufacturing..............................                   X        X

FF..........................................................          [Reserved]

GG......................................................... Aerospace Manufacturing and Rework Facilities.                               X        X

HH......................................................... Oil and Natural Gas Production Facilities............                        X        X

II............................................................ Shipbuilding and Ship Repair Facilities...............                    X        X

JJ............................................................Wood Furniture Manufacturing Operations..........                          X        X

KK......................................................... Printing and Publishing Industry..........................                   X        X

LL.......................................................... Primary Aluminum Reduction Plants...................                        X        X

MM........................................................Chemical Recovery Combustion Sources                                           X        X
                                                          at Kraft, Soda, Sulfide, and Stand-Alone
                                                          Semichemical Pulp Mills......................................

NN......................................................... Wool Fiberglass Manufacturing Area Sources......                             X        X

OO......................................................... Tanks—Level 1.....................................................           X        X

PP.......................................................... Containers.............................................................     X        X

QQ......................................................... Surface Impoundments.........................................                X        X

RR......................................................... Individual Drain Systems.....................................                X        X

SS.......................................................... Closed Vent Systems, Control Devices, Recovery                              X        X
                                                             Devices and Routing to a Fuel Gas System or a
                                                             Process..................................................................

TT.......................................................... Equipment Leaks—Control Level 1.....................                        X        X

UU......................................................... Equipment Leaks—Control Level 2 Standards.....                               X        X

VV......................................................... Oil—Water Separators and Organic—Water                                       X        X
                                                            Separators..............................................................

WW....................................................... Storage Vessels (Tanks)—Control Level 2...........                             X        X

XX......................................................... Ethylene Manufacturing Process Units Heat                                    X        X
                                                            Exchange Systems and Waste Operations............

YY......................................................... Generic Maximum Achievable Control                                           X        X
                                                            Technology Standards...........................................

ZZ-BBB................................................                [Reserved]

CCC....................................................... Steel Pickling—HCI Process Facilities and                                     X        X
                                                           Hydrochloric Acid Regeneration..........................



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DDD...................................................... Mineral Wool Production......................................                 X         X

EEE....................................................... Hazardous Waste Combustors..............................                     X         X

FFF........................................................           [Reserved]

GGG...................................................... Pharmaceuticals Production..................................                  X         X

HHH...................................................... Natural Gas Transmission and Storage Facilities.                              X         X

III........................................................... Flexible Polyurethane Foam Production...............                     X         X

JJJ.......................................................... Group IV Polymers and Resins............................                  X         X

KKK......................................................             [Reserved]

LLL....................................................... Portland Cement Manufacturing...........................                     X         X

MMM.................................................... Pesticide Active Ingredient Production................                          X         X

NNN...................................................... Wool Fiberglass Manufacturing............................                     X         X

OOO...................................................... Amino/Phenolic Resins.........................................                X         X

PPP........................................................ Polyether Polyols Production...............................                 X         X

QQQ...................................................... Primary Copper Smelting.....................................                  X         X

RRR....................................................... Secondary Aluminum Production.........................                       X         X

SSS........................................................           [Reserved]

TTT....................................................... Primary Lead Smelting.........................................               X         X

UUU...................................................... Petroleum Refineries—Catalytic Cracking Units,                                X         X
                                                          Catalytic Reforming Units and Sulfur Recovery
                                                          Plants.....................................................................

VVV...................................................... Publicly Owned Treatment Works (POTW).........                                X         X

WWW...................................................                [Reserved]

XXX...................................................... Ferroalloys Production: Ferromanganese and                                    X         X
                                                          Silicomanganese....................................................

AAAA................................................... Municipal Solid Waste Landfills..........................                       X         X

CCCC.................................................... Nutritional Yeast Manufacturing..........................                      X         X

DDDD................................................... Plywood and Composite Wood Products..............                               5        5
                                                                                                                                                     X
                                                                                                                                        X

EEEE..................................................... Organic Liquids Distribution................................                  X         X

FFFF...................................................... Misc. Organic Chemical Production and                                        X         X
                                                           Processes (MON)..................................................




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GGGG................................................... Solvent Extraction for Vegetable Oil Production..                             X         X

HHHH................................................... Wet Formed Fiberglass Mat Production...............                           X         X

IIII......................................................... Auto and Light Duty Truck (Surface Coating).....                        X         X

JJJJ........................................................ Paper and other Web (Surface Coating)...............                     X         X

KKKK................................................... Metal Can (Surface Coating)................................                   X         X

MMMM................................................ Misc. Metal Parts and Products (Surface                                          X         X
                                                     Coating).................................................................

NNNN................................................... Surface Coating of Large Appliances...................                        X         X

OOOO................................................... Fabric Printing Coating and Dyeing.....................                       X         X

PPPP...................................................... Plastic Parts (Surface Coating).............................               X         X

QQQQ................................................... Surface Coating of Wood Building Products........                             X         X

RRRR.................................................... Surface Coating of Metal Furniture......................                     X         X

SSSS...................................................... Surface Coating for Metal Coil............................                 X         X

TTTT..................................................... Leather Finishing Operations...............................                 X         X

UUUU................................................... Cellulose Production Manufacture.......................                       X         X

VVVV................................................... Boat Manufacturing..............................................              X         X

WWWW................................................Reinforced Plastic Composites Production...........                               X         X

XXXX................................................... Rubber Tire Manufacturing..................................                   X         X

YYYY................................................... Combustion Turbines............................................               X         X

ZZZZ..................................................... Reciprocating Internal Combustion Engines                                   X         X
                                                          (RICE)...................................................................

AAAAA................................................ Lime Manufacturing Plants..................................                     X         X

BBBBB................................................. Semiconductor Manufacturing..............................                      X         X

CCCCC................................................. Coke Ovens: Pushing, Quenching and Battery                                     X         X
                                                       Stacks....................................................................

DDDDD................................................ Industrial/Commercial/Institutional Boilers and                                 6        6
                                                                                                                                                   X
                                                      Process Heaters.....................................................            X

EEEEE...................................................Iron Foundries.......................................................         X         X

FFFFF....................................................Integrated Iron and Steel......................................              X         X

GGGGG................................................ Site Remediation...................................................             X         X

HHHHH................................................ Miscellaneous Coating Manufacturing.................                            X         X



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IIIII........................................................ Mercury Cell Chlor-Alkali Plants.........................             X         X

JJJJJ....................................................... Brick and Structural Clay Products                                     7        7
                                                                                                                                                 X
                                                             Manufacturing.......................................................   X

KKKKK................................................ Clay Ceramics Manufacturing..............................                     7        7
                                                                                                                                                 X
                                                                                                                                    X

LLLLL...................................................Asphalt Roofing and Processing...........................                   X         X

MMMMM............................................. Flexible Polyurethane Foam Fabrication                                           X         X
                                                   Operation...............................................................

NNNNN................................................ Hydrochloric Acid Production, Fumed Silica                                    X         X
                                                      Production.............................................................

OOOOO................................................               [Reserved]

PPPPP....................................................Engine Test Facilities............................................         X         X

QQQQQ................................................ Friction Products Manufacturing..........................                     X         X

RRRRR................................................. Taconite Iron Ore Processing...............................                  X         X

SSSSS....................................................Refractory Products Manufacture.........................                   X         X

TTTTT...................................................Primary Magnesium Refining...............................                   X         X

UUUUU................................................ Coal and Oil-Fired Electric Utility Steam                                     8        8
                                                                                                                                                 X
                                                      Generating Units...................................................           X

VVVVV................................................               [Reserved]

WWWWW............................................ Hospital Ethylene Oxide Sterilizers......................                         X         X

XXXXX................................................               [Reserved]

YYYYY................................................ Electric Arc Furnace Steelmaking Area Sources..                               X         X

ZZZZZ...................................................Iron and Steel Foundries Area Sources................                       X         X

AAAAAA.............................................                 [Reserved]

BBBBBB............................................... Gasoline Distribution Bulk Terminals, Bulk                                    X         X
                                                      Plants, and Pipeline Facilities...............................

CCCCCC............................................... Gasoline Dispensing Facilities..............................                  X         X

DDDDDD............................................. Polyvinyl Chloride and Copolymers Production                                    X         X
                                                    Area Sources.........................................................

EEEEEE................................................ Primary Copper Smelting Area Sources...............                          X         X

FFFFFF................................................. Secondary Copper Smelting Area Sources...........                           X         X




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GGGGGG............................................. Primary Nonferrous Metals Area Source: Zinc,                                    X         X
                                                    Cadmium, and Beryllium......................................

HHHHHH............................................. Paint Stripping and Miscellaneous Surface                                       X         X
                                                    Coating Operations at Area Sources.....................

IIIIII.......................................................       [Reserved]

JJJJJJ..................................................... Industrial, Commercial, and Institutional Boilers                       X         X
                                                            Area Sources.........................................................

KKKKKK.............................................                 [Reserved]

LLLLLL................................................ Acrylic and Modacrylic Fibers Production Area                                X         X
                                                       Sources..................................................................

MMMMMM......................................... Carbon Black Production Area Sources...............                                 X         X

NNNNNN............................................. Chemical Manufacturing Area Sources:                                            X         X
                                                    Chromium Compounds.........................................

OOOOOO............................................. Flexible Polyurethane Foam Production and                                       X         X
                                                    Fabrication Area Sources......................................

PPPPPP................................................. Lead Acid Battery Manufacturing Area Sources..                              X         X

QQQQQQ............................................. Wood Preserving Area Sources............................                        X         X

RRRRRR............................................... Clay Ceramics Manufacturing Area Sources........                              X         X

SSSSSS................................................. Glass Manufacturing Area Sources......................                      X         X

TTTTTT................................................ Secondary Nonferrous Metals Processing Area                                  X         X
                                                       Sources..................................................................

UUUUUU.............................................                 [Reserved]

VVVVVV............................................. Chemical Manufacturing Area Sources................                             X         X

WWWWWW........................................ Plating and Polishing Operations Area Sources....                                    X         X

XXXXXX............................................. Metal Fabrication and Finishing Area Sources.....                               X         X

YYYYYY............................................. Ferroalloys Production Facilities Area Sources....                              X         X

ZZZZZZ................................................ Aluminum, Copper, and Other Nonferrous                                       X         X
                                                       Foundries Area Sources........................................

AAAAAAA.......................................... Asphalt Processing and Asphalt Roofing                                            X         X
                                                  Manufacturing Area Sources................................

BBBBBBB............................................ Chemical Preparation Industry Area Sources.......                               X         X

CCCCCCC............................................ Paints and Allied Products Manufacturing Area                                   X         X
                                                    Sources..................................................................

DDDDDDD.......................................... Prepared Feeds Areas Sources..............................                        X         X



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EEEEEEE.............................................. Gold Mine Ore Processing and Production Area                                                             X                 X
                                                      Sources..................................................................

FFFFFFF-GGGGGGG..........................                                               [Reserved]

HHHHHHH.......................................... Polyvinyl Chloride and Copolymers Production                                                                 X                 X
                                                  Major Sources.......................................................


         (ii) [Reserved]


         (33) [Reserved]


         (34) North Carolina.


         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the North Carolina
         Department of Environment and Natural Resources (NCDENR) for all sources. The “X” symbol is used to indicate each
         subpart that has been delegated. The delegations are subject to all of the conditions and limitations set forth in Federal law,
         regulations, policy, guidance, and determinations. Some authorities cannot be delegated and are retained by EPA. These
         include certain General Provisions authorities and specific parts of some standards.


                                                                    Part 63 Major & Area Source Rule Delegations—North Carolina 1


                                    Source category                                                              Subpart                          NCDENR     FCEAD 2   MCDEP 3       WNC 4


HON.............................................................................................. F, G, H, I...................................     X          X         X             X


Polyvinyl Chloride & Co-polymers VACATED on 5/11/05..............                                         J


Coke Ovens................................................................................... L...............................................      X          X         X             X


Dry Cleaners.................................................................................. M..............................................      X          X         X             X


Chromium Electroplating............................................................... N...............................................             X          X         X             X


EtO Commercial Sterilization......................................................... O...............................................              X          X         X             X


Chromium Cooling Towers............................................................ Q...............................................                X          X         X             X


Gasoline Distribution (stage 1)....................................................... R...............................................             X          X         X             X


Pulp & Paper I............................................................................... S...............................................      X          X         X             X


Halogenated Solvent Cleaning........................................................ T...............................................               X          X         X             X


Polymer & Resins 1....................................................................... U...............................................          X          X         X             X


Polymer & Resins 2....................................................................... W..............................................           X          X         X             X


Secondary Lead Smelters............................................................... X...............................................             X          X         X             X


Marine Tank Vessel Loading.......................................................... Y...............................................               X          X         X             X




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Phosphoric Acid Mfg..................................................................... AA............................................        X          X        X        X


Phosphate Fertilizers Prod.............................................................. BB.............................................       X          X        X        X


Petroleum Refineries...................................................................... CC.............................................     X          X        X        X


Offsite Waste & Recovery.............................................................. DD............................................          X          X        X        X


            Tanks; Level 1...................................................................            OO                                    X          X        X        X


            Containers..........................................................................         PP                                    X          X        X        X


            Surface Impoundments.......................................................                  QQ                                    X          X        X        X


            Drain Systems....................................................................            RR                                    X          X        X        X


            Oil-Water Separators..........................................................               VV                                    X          X        X        X


Magnetic Tape............................................................................... EE.............................................   X          X        X        X


Aerospace Industry........................................................................ GG............................................      X          X        X        X


Oil & Natural Gas Prod................................................................. HH............................................         X          X        X        X


......................................................................................................   Area Source Requirements >>.


Shipbuilding and Repair................................................................. II...............................................     X          X        X        X


Wood Furniture Mfg...................................................................... JJ...............................................     X          X        X        X


Printing & Publishing.................................................................... KK............................................       X          X        X        X


Primary Aluminum........................................................................ LL.............................................       X          X        X        X


Pulp & Paper II (Combustion sources)............................................MM...........................................                  X          X        X        X


           Generic MACT


            Control Devices.................................................................             SS                                    X          X        X        X


            Eq. Leaks—Level 1...........................................................                 TT                                    X          X        X        X


            Eq. Leaks—Level 2...........................................................                 UU                                    X          X        X        X


            Tanks—Level 2..................................................................              WW                                    X          X        X        X


           Generic MACT


            Ethylene Mfg.....................................................................            XX & YY                               X          X        X        X


            Carbon Black.....................................................................            YY                                    X          X        X        X


            Spandex Prod.....................................................................            YY                                    X          X        X        X


            Cyanide Chemical Mfg......................................................                   YY                                    X          X        X        X


            Acetal Resins.....................................................................           YY                                    X          X        X        X



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           Acrylic/Modacrylic Fibers..................................................                   YY                                     X          X        X        X


           Hydrogen Fluoride Prod.....................................................                   YY                                     X          X        X        X


           Polycarbonates Prod...........................................................                YY                                     X          X        X        X


Steel Pickeling............................................................................... CCC..........................................    X          X        X        X


Mineral Wool Prod.........................................................................DDD.........................................          X          X        X        X


Hazardous Waste Combustion (Phase I).......................................... EEE...........................................                   X          X        X        X


Boilers that burn Haz. Waste (Phase II).......................................... EEE...........................................                X          X        X        X


HCL Prod. Furnaces burning Haz. Waste (P II)............................... EEE...........................................                      X          X        X        X


Pharmaceutical Prod....................................................................... GGG.........................................         X          X        X        X


Nat. Gas Transmission & Storage................................................... HHH.........................................                 X          X        X        X


Flexible Polyurethane Foam Prod................................................... III..............................................            X          X        X        X


Polymer & Resins 4....................................................................... JJJ.............................................      X          X        X        X


Portland Cement............................................................................ LLL...........................................      X          X        X        X


Pesticide Active Ingredients........................................................... MMM.......................................              X          X        X        X


Wool Fiberglass............................................................................. NNN.........................................       X          X        X        X


Polymer & Resins 3 (Amino & Phenolic)....................................... OOO.........................................                       X          X        X        X


Polyether Polyols Prod................................................................... PPP...........................................        X          X        X        X


Primary Copper.............................................................................. QQQ.........................................       X          X        X        X


Secondary Aluminum Prod............................................................ RRR..........................................               X          X        X        X


Primary Lead Smelting.................................................................. TTT...........................................          X          X        X        X


Petro Refineries (FCC units).......................................................... UUU.........................................             X          X        X        X


POTW........................................................................................... VVV.........................................    X          X        X        X


Ferroalloys..................................................................................... XXX.........................................   X          X        X        X


Municipal Landfills........................................................................ AAAA.......................................         X          X        X        X


Nutritional Yeast............................................................................ CCCC........................................      X          X        X        X


Plywood and Composite Wood Prod. (Partial Vacatur Oct. 07)......... DDDD.......................................                                 X          X        X        X


Organic Liquids Distribution (non-gas)........................................... EEEE........................................                  X          X        X        X


Misc. Organic NESHAP.................................................................FFFF.........................................              X          X        X        X


Vegetable Oil................................................................................. GGGG.......................................      X          X        X        X



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Wet Formed Fiberglass................................................................... HHHH.......................................        X          X        X        X


Auto & Light Duty Truck (coating)................................................ IIII.............................................         X          X        X        X


Paper & Other Webs...................................................................... JJJJ............................................   X          X        X        X


Metal Can (coating)....................................................................... KKKK.......................................      X          X        X        X


Misc. Metal Parts (coating)............................................................ MMMM....................................            X          X        X        X


Large Appliances (coating)............................................................. NNNN.......................................         X          X        X        X


Printing, Coating, & Dyeing Fabrics............................................... OOOO.......................................              X          X        X        X


Plastic Parts & Products (coating).................................................. PPPP.........................................          X          X        X        X


Wood Building Products................................................................ QQQQ.......................................          X          X        X        X


Metal Furniture (coating)............................................................... RRRR........................................       X          X        X        X


Metal Coil (coating)....................................................................... SSSS.........................................   X          X        X        X


Leather Tanning & Finishing.......................................................... TTTT........................................          X          X        X        X


Cellulose Ethers Prod. Misc. Viscose Processes.............................. UUUU.......................................                    X          X        X        X


Boat Manufacturing....................................................................... VVVV.......................................       X          X        X        X


Reinforced Plastic Composites....................................................... WWWW...................................                X          X        X        X


Rubber Tire Mfg............................................................................ XXXX.......................................     X          X        X        X


Stationary Combustion Turbines..................................................... YYYY.......................................             X          X        X        X


Reciprocating Int. Combustion Engines.......................................... ZZZZ........................................                X          X        X        X


......................................................................................................   Area Source Requirements >>.


Lime Manufacturing....................................................................... AAAAA....................................         X          X        X        X


Semiconductor Production.............................................................. BBBBB.....................................           X          X        X        X


Coke Ovens: (Push/Quench/Battery/Stacks).................................... CCCCC.....................................                     X          X        X        X


Industrial/Commercial/Institutional.................................................                     DDDDD


           Boilers & Process Heaters, VACATED on 7/30/07


Iron Foundries............................................................................... EEEEE......................................   X          X        X        X


Integrated Iron & Steel.................................................................. FFFFF.......................................      X          X        X        X


Site Remediation............................................................................ GGGGG....................................      X          X        X        X


Misc. Coating Manufacturing......................................................... HHHHH....................................              X          X        X        X


Mercury Cell Chlor-Alkali............................................................. IIIII...........................................     X          X        X        X



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Brick & Structural Clay Products, VACATED on 6/18/07................                                     JJJJJ


Clay Ceramics Manufacturing, VACATED on 6/18/07....................                                      KKKKK


Asphalt Roofing & Processing....................................................... LLLLL......................................                 X          X        X        X


Flex. Polyurethane Foam Fabrication.............................................. MMMMM.................................                        X          X        X        X


Hydrochloric Acid Prod/Fumed Silica............................................ NNNNN....................................                       X          X        X        X


Engine & Rocket Test Facilities..................................................... PPPPP.......................................               X          X        X        X


Friction Materials Manufacturing................................................... QQQQQ....................................                   X          X        X        X


Taconite Iron Ore........................................................................... RRRRR.....................................         X          X        X        X


Refactories..................................................................................... SSSSS.......................................   X          X        X        X


Primary Magnesium....................................................................... TTTTT......................................            X          X        X        X


                                                                                                       Area Source Rules


Hospital Sterilizers......................................................................... WWWWW................................             X          X        X        X


Stainless and Nonstainless Steel Mfg Electric Arc Furnaces............. YYYYY....................................                               X          X        X        X


Iron & Steel foundries................................................................... ZZZZZ......................................           X          X        X        X


Gasoline Distribution—Bulk.......................................................... BBBBBB...................................                  X          X        X        X


Gasoline Dispensing Facilities........................................................ CCCCCC...................................                X          X        X        X


PVC & Copolymers Prod............................................................... DDDDDD.................................                    X          X        X        X


Primary Copper.............................................................................. EEEEEE....................................         X          X        X        X


Secondary Copper Smelting........................................................... FFFFFF.....................................                X          X        X        X


Primary Nonferrous Metals............................................................ GGGGGG.................................                   X          X        X        X


          Paint Stripping


Auto-Body Refinishing.................................................................. HHHHHH.................................                 X          X        X        X


          Plastic Parts & Prod. (coating)


Acrylic/Modacrylic Fibers Prod...................................................... LLLLLL....................................                 X          X        X        X


Carbon Black Prod......................................................................... MMMMMM.............................                  X          X        X        X


Chemical Mfg. Chrom................................................................... NNNNNN.................................                  X          X        X        X


Flex. Polyurethane Foam Fab......................................................... OOOOOO.................................                    X          X        X        X


          Flex. Polyurethane Foam Prod


Lead Acid Battery Mfg.................................................................. PPPPPP.....................................             X          X        X        X



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Wood Preserving............................................................................ QQQQQQ.................................           X         X         X        X


Clay Ceramics Mfg........................................................................ RRRRRR...................................           X         X         X        X


Glass Mfg...................................................................................... SSSSSS.....................................   X         X         X        X


Secondary Nonferrous Metals.........................................................TTTTTT....................................                X         X         X        X


Plating and Polishing..................................................................... WWWWWW............................                 X         X         X        X


Industrial Mach. & Eq. Finishing................................................... XXXXXX.................................                   X         X         X        X


          Elect. & Electronics Eq. Finishing


          Fabricated Metal Prod


          Fabricated Plate Work (Boiler Shop)


          Fabricated Structural Metal Mfg


          Heating Eq. Mfg


          Iron and Steel Forging


          Primary Metals Prod. Mfg


          Valves and Pipe Fittings Mfg


Ferroalloys Production................................................................... YYYYYY.................................             X         X         X        X


          Ferro/Silico Manganese



         (ii) North Carolina Department of Environment and Natural Resources (NC DENR) may implement and enforce alternative
         requirements in the form of title V permit terms and conditions for International Paper Riegelwood mill, Riegelwood,
         North Carolina; International Paper Roanoke Rapids mill, Roanoke Rapids, North Carolina; Blue Ridge Paper Products,
         Canton, North Carolina; Weyerhaeuser New Bern facility, New Bern, North Carolina; and Weyerhaeuser Plymouth facility,
         Plymouth, North Carolina, for Subpart S of this Part—National Emission Standards for Hazardous Air Pollutants from the
         Pulp and Paper Industry and Subpart MM of this Part—National Emissions Standards for Hazardous Air Pollutants for
         Chemical Recovery Combustion Sources at Kraft, Soda, Sulfite and Stand-alone Semi-chemical Pulp Mills. This action is
         contingent upon NC DENR including, in title V permits, terms and conditions that are no less stringent than the Federal
         standard. In addition, the requirements applicable to the sources remain the Federal section 112 requirements until EPA
         has approved the alternative permit terms and conditions and the final title V permit is issued.


         (iii) North Carolina Department of Environment and Natural Resources (NC DENR) may implement and enforce
         alternative requirements in the form of title V permit terms and conditions for New South Lumber Company, Inc.
         Graham Plant, Alamance County, North Carolina; HDM Furniture Industries, Inc., Henredon Furniture Plant 1 & 2,
         Burke County, North Carolina; Kohler Co., DBA Baker Furniture, Burke County, North Carolina; Bernhardt Furniture
         Company Plants 3 & 7, Caldwell County, North Carolina; Thomasville Furniture Industries, Inc., Lenoir Plant, Caldwell
         County, North Carolina; Kincaid Furniture Company, Inc., Plant No. 1, Caldwell County, North Carolina; Hickory Chair
         Company, Catawba County, North Carolina; Uniboard USA LLC, Chatham County, North Carolina; Georgia Pacific
         Whiteville Plant, Columbus County, North Carolina; West Fraser, Inc., Armour Lumber Mill, Columbus County, North
         Carolina; Weyerhaeuser NR Company, New Bern Lumber Facility, Craven County, North Carolina; Linwood Furniture,


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       Inc., Davidson County, North Carolina; Warvel Products, Inc., Davidson County, North Carolina; Thomasville Furniture
       Industries, Inc., Plant C/M/W/SB, Davidson County, North Carolina; Lexington Furniture Inc., Plant 5, Davidson County,
       North Carolina; Stanley Furniture Company, Inc., Graham County, North Carolina; Georgia Pacific, Creedmoor Chip–
       N–Saw Plant, Granville County, North Carolina; JELD–WEN, Inc., McDowell County, North Carolina; Weyerhaeuser
       NR Company, Martin County, North Carolina; Jordan Lumber & Supply Co., Montgomery County, North Carolina;
       Troy Lumber Co., Montgomery County, North Carolina; Unilin Flooring N.V., Montgomery County, North Carolina;
       West Fraser, Seaboard Lumber Mill, Northampton County, North Carolina; Georgia Pacific Roxboro, Person County,
       North Carolina; Louisiana Pacific Corp., Roxboro, Person County, North Carolina; Weyerhaeuser Company, Grifton, Pitt
       County, North Carolina; Vaughan Bassett Furniture Co., Elkin Furniture, Surry County, North Carolina; Weyerhaeuser
       NR Company, Elkin Facility, Surry County, North Carolina; Georgia Pacific Plywood/OSB/CNS, Dudley, Wayne County,
       North Carolina; Louisiana Pacific Corp., Roaring River, Wilkes County, North Carolina; and American Drew, Inc., Plant
       13, Wilkes County, North Carolina, for subpart DDDD of this Part–National Emissions Standards for Hazardous Air
       Pollutants: Plywood and Composite Wood Products. This action is contingent upon NC DENR including, in title V permits,
       terms and conditions that are no less stringent than the Federal standard. In addition, the requirements applicable to the
       sources remain the Federal section 112 requirements until EPA has approved the alternative permit terms and conditions
       and the final title V permit is issued.


       (35) North Dakota.


       (i) The North Dakota Department of Agriculture is delegated the authority to implement and enforce the provisions of 40
       CFR part 68 at facilities with an anhydrous ammonia storage capacity of ten thousand pounds or more that is intended to
       be used as fertilizer or in the manufacturing of a fertilizer within North Dakota and that are subject to the requirements of
       40 CFR part 68, in accordance with the final rule, dated December 30, 2013.


       (ii) The most current delegation status table for National Emission Standards for Hazardous Air Pollutants for Source
       Categories in Region VIII can be found online at http://www.epa.gov/region8/air-program.


       (36) [Reserved]


       (37) Oklahoma.


       (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Oklahoma Department
       of Environmental Quality for all sources. The “X” symbol is used to indicate each subpart that has been delegated. The
       delegations are subject to all of the conditions and limitations set forth in Federal law, regulations, policy, guidance, and
       determinations. Some authorities cannot be delegated and are retained by EPA. These include certain General Provisions
       authorities and specific parts of some standards. Any amendments made to these rules after June 30, 2019, are not delegated.


                                            Delegation Status for Part 63 Standards—State of Oklahoma

                                           [Applies to sources located in certain areas of Indian Country]

                            Subpart                                                                  Source category                                             ODEQ 1 2

A......................................................................... General Provisions.................................................................      X




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F.......................................................................... Hazardous Organic NESHAP (HON)—Synthetic Organic                                            X
                                                                            Chemical Manufacturing Industry (SOCMI)........................

G......................................................................... HON—SOCMI Process Vents, Storage Vessels, Transfer                                           X
                                                                           Operations and Wastewater...................................................

H......................................................................... HON—Equipment Leaks......................................................                    X

I........................................................................... HON—Certain Processes Negotiated Equipment Leak                                            X
                                                                             Regulation..............................................................................

J........................................................................... Polyvinyl Chloride and Copolymers Production...................                            3


K......................................................................... [Reserved]..............................................................................

L.......................................................................... Coke Oven Batteries..............................................................           X

M......................................................................... Perchloroethylene Dry Cleaning...........................................                    X

N......................................................................... Chromium Electroplating and Chromium Anodizing Tanks.                                        X

O......................................................................... Ethylene Oxide Sterilizers.....................................................              X

P.......................................................................... [Reserved]..............................................................................

Q......................................................................... Industrial Process Cooling Towers........................................                    X

R.......................................................................... Gasoline Distribution.............................................................          X

S.......................................................................... Pulp and Paper Industry........................................................             X

T.......................................................................... Halogenated Solvent Cleaning..............................................                  X

U......................................................................... Group I Polymers and Resins...............................................                   X

V......................................................................... [Reserved]..............................................................................

W.........................................................................Epoxy Resins Production and Non-Nylon Polyamides                                              X
                                                                          Production..............................................................................

X......................................................................... Secondary Lead Smelting......................................................                X

Y......................................................................... Marine Tank Vessel Loading.................................................                  X

Z.......................................................................... [Reserved]..............................................................................

AA.......................................................................Phosphoric Acid Manufacturing Plants.................................                          X

BB....................................................................... Phosphate Fertilizers Production Plants................................                       X

CC....................................................................... Petroleum Refineries.............................................................             X

DD.......................................................................Off-Site Waste and Recovery Operations..............................                           X

EE....................................................................... Magnetic Tape Manufacturing..............................................                     X

FF........................................................................[Reserved]..............................................................................



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GG.......................................................................Aerospace Manufacturing and Rework Facilities..................                              X

HH.......................................................................Oil and Natural Gas Production Facilities.............................                       X

II.......................................................................... Shipbuilding and Ship Repair Facilities................................                  X

JJ......................................................................... Wood Furniture Manufacturing Operations...........................                        X

KK.......................................................................Printing and Publishing Industry...........................................                  X

LL....................................................................... Primary Aluminum Reduction Plants....................................                       X

MM..................................................................... Chemical Recovery Combustion Sources at Kraft, Soda,                                          X
                                                                        Sulfide, and Stand-Alone Semichemical Pulp Mills.............

NN.......................................................................Wool Fiberglass Manufacturing at Area Sources..................                              X

OO.......................................................................Tanks-Level 1........................................................................        X

PP........................................................................ Containers..............................................................................   X

QQ.......................................................................Surface Impoundments..........................................................               X

RR....................................................................... Individual Drain Systems......................................................              X

SS........................................................................ Closed Vent Systems, Control Devices, Recovery Devices                                     X
                                                                           and Routing to a Fuel Gas System or a Process....................

TT....................................................................... Equipment Leaks—Control Level 1......................................                       X

UU.......................................................................Equipment Leaks—Control Level 2 Standards.....................                               X

VV.......................................................................Oil—Water Separators and Organic—Water Separators.......                                     X

WW..................................................................... Storage Vessels (Tanks)—Control Level 2............................                           X

XX.......................................................................Ethylene Manufacturing Process Units Heat Exchange                                           X
                                                                         Systems and Waste Operations..............................................

YY.......................................................................Generic Maximum Achievable Control Technology                                                X
                                                                         Standards................................................................................

ZZ-BBB.............................................................. [Reserved]..............................................................................

CCC.................................................................... Steel Pickling—HCI Process Facilities and Hydrochloric                                        X
                                                                        Acid Regeneration.................................................................

DDD.................................................................... Mineral Wool Production......................................................                 X

EEE..................................................................... Hazardous Waste Combustors...............................................                    X

FFF...................................................................... [Reserved]..............................................................................

GGG.................................................................... Pharmaceuticals Production...................................................                 X

HHH.................................................................... Natural Gas Transmission and Storage Facilities..................                             X



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III........................................................................ Flexible Polyurethane Foam Production...............................                     X

JJJ........................................................................ Group IV Polymers and Resins.............................................                X

KKK.................................................................... [Reserved]..............................................................................

LLL..................................................................... Portland Cement Manufacturing...........................................                    X

MMM.................................................................. Pesticide Active Ingredient Production.................................                        X

NNN.................................................................... Wool Fiberglass Manufacturing............................................                    X

OOO.................................................................... Amino/Phenolic Resins.........................................................               X

PPP...................................................................... Polyether Polyols Production................................................               X

QQQ.................................................................... Primary Copper Smelting......................................................                X

RRR.................................................................... Secondary Aluminum Production.........................................                       X

SSS...................................................................... [Reserved]..............................................................................

TTT..................................................................... Primary Lead Smelting..........................................................             X

UUU.................................................................... Petroleum Refineries—Catalytic Cracking Units, Catalytic                                     X
                                                                        Reforming Units and Sulfur Recovery Plants.......................

VVV.................................................................... Publicly Owned Treatment Works (POTW)..........................                              X

WWW................................................................. [Reserved]..............................................................................

XXX.................................................................... Ferroalloys Production: Ferromanganese and                                                   X
                                                                        Silicomanganese....................................................................

AAAA................................................................. Municipal Solid Waste Landfills...........................................                     X

CCCC.................................................................. Nutritional Yeast Manufacturing...........................................                    X

DDDD................................................................. Plywood and Composite Wood Products..............................                              4
                                                                                                                                                                     X

EEEE...................................................................Organic Liquids Distribution.................................................                 X

FFFF................................................................... Misc. Organic Chemical Production and Processes (MON)..                                      X

GGGG................................................................. Solvent Extraction for Vegetable Oil Production..................                              X

HHHH................................................................. Wet Formed Fiberglass Mat Production................................                           X

IIII....................................................................... Auto & Light Duty Truck (Surface Coating)........................                        X

JJJJ...................................................................... Paper and other Web (Surface Coating)................................                     X

KKKK................................................................. Metal Can (Surface Coating).................................................                   X

MMMM.............................................................. Misc. Metal Parts and Products (Surface Coating)................                                  X




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NNNN................................................................. Surface Coating of Large Appliances...................................                  X

OOOO................................................................. Fabric Printing Coating and Dyeing.....................................                 X

PPPP................................................................... Plastic Parts (Surface Coating)..............................................         X

QQQQ................................................................. Surface Coating of Wood Building Products........................                       X

RRRR.................................................................. Surface Coating of Metal Furniture......................................               X

SSSS................................................................... Surface Coating for Metal Coil.............................................           X

TTTT...................................................................Leather Finishing Operations................................................           X

UUUU................................................................. Cellulose Production Manufacture........................................                X

VVVV................................................................. Boat Manufacturing...............................................................       X

WWWW............................................................. Reinforced Plastic Composites Production...........................                         X

XXXX................................................................. Tire Manufacturing................................................................      X

YYYY................................................................. Combustion Turbines.............................................................        X

ZZZZ...................................................................Reciprocating Internal Combustion Engines (RICE)............                           X

AAAAA.............................................................. Lime Manufacturing Plants...................................................              X

BBBBB............................................................... Semiconductor Manufacturing..............................................                X

CCCCC............................................................... Coke Ovens: Pushing, Quenching and Battery Stacks..........                              X

DDDDD.............................................................. Industrial/Commercial/Institutional Boilers and Process                                   5
                                                                    Heaters Major Sources..........................................................           X

EEEEE................................................................ Iron Foundries.......................................................................   X

FFFFF................................................................. Integrated Iron and Steel.......................................................       X

GGGGG.............................................................. Site Remediation....................................................................      X

HHHHH.............................................................. Miscellaneous Coating Manufacturing..................................                     X

IIIII...................................................................... Mercury Cell Chlor-Alkali Plants.........................................         X

JJJJJ.....................................................................Brick and Structural Clay Products Manufacturing...............                     6
                                                                                                                                                              X

KKKKK.............................................................. Clay Ceramics Manufacturing...............................................                6
                                                                                                                                                              X

LLLLL................................................................ Asphalt Roofing and Processing...........................................               X

MMMMM...........................................................Flexible Polyurethane Foam Fabrication Operation..............                                X

NNNNN.............................................................. Hydrochloric Acid Production, Fumed Silica Production.....                                X



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OOOOO.............................................................. [Reserved]..............................................................................

PPPPP................................................................. Engine Test Facilities............................................................              X

QQQQQ.............................................................. Friction Products Manufacturing...........................................                         X

RRRRR............................................................... Taconite Iron Ore Processing................................................                      X

SSSSS................................................................. Refractory Products Manufacture..........................................                       X

TTTTT................................................................ Primary Magnesium Refining...............................................                        X

UUUUU.............................................................. Coal and Oil-Fired Electric Utility Steam Generating Units.                                        7
                                                                                                                                                                       X

VVVVV.............................................................. [Reserved]..............................................................................

WWWWW......................................................... Hospital Ethylene Oxide Sterilizers......................................                               X

XXXXX.............................................................. [Reserved]..............................................................................

YYYYY.............................................................. Electric Arc Furnace Steelmaking Area Sources..................                                    X

ZZZZZ................................................................ Iron and Steel Foundries Area Sources.................................                           X

AAAAAA........................................................... [Reserved]..............................................................................

BBBBBB............................................................ Gasoline Distribution Bulk Terminals, Bulk Plants, and                                              X
                                                                   Pipeline Facilities..................................................................

CCCCCC............................................................ Gasoline Dispensing Facilities..............................................                        X

DDDDDD........................................................... Polyvinyl Chloride and Copolymers Production Area                                                    X
                                                                  Sources...................................................................................

EEEEEE.............................................................. Primary Copper Smelting Area Sources...............................                               X

FFFFFF............................................................... Secondary Copper Smelting Area Sources............................                               X

GGGGGG........................................................... Primary Nonferrous Metals Area Source: Zinc, Cadmium,                                                X
                                                                  and Beryllium........................................................................

HHHHHH........................................................... Paint Stripping and Miscellaneous Surface Coating                                                    X
                                                                  Operations at Area Sources...................................................

IIIIII.................................................................... [Reserved]..............................................................................

JJJJJJ................................................................... Industrial, Commercial, and Institutional Boilers Area                                       X
                                                                          Sources...................................................................................

KKKKKK........................................................... [Reserved]..............................................................................

LLLLLL.............................................................. Acrylic and Modacrylic Fibers Production Area Sources.....                                        X

MMMMMM....................................................... Carbon Black Production Area Sources................................                                     X




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NNNNNN........................................................... Chemical Manufacturing Area Sources: Chromium                                                   X
                                                                  Compounds............................................................................

OOOOOO........................................................... Flexible Polyurethane Foam Production and Fabrication                                           X
                                                                  Area Sources..........................................................................

PPPPPP............................................................... Lead Acid Battery Manufacturing Area Sources..................                              X

QQQQQQ........................................................... Wood Preserving Area Sources.............................................                       X

RRRRRR............................................................ Clay Ceramics Manufacturing Area Sources........................                               X

SSSSSS............................................................... Glass Manufacturing Area Sources.......................................                     X

TTTTTT.............................................................. Secondary Nonferrous Metals Processing Area Sources.......                                   X

UUUUUU........................................................... [Reserved]..............................................................................

VVVVVV........................................................... Chemical Manufacturing Area Sources.................................                            X

WWWWWW...................................................... Plating and Polishing Operations Area Sources....................                                    X

XXXXXX........................................................... Metal Fabrication and Finishing Area Sources.....................                               X

YYYYYY........................................................... Ferroalloys Production Facilities Area Sources....................                              X

ZZZZZZ.............................................................. Aluminum, Copper, and Other Nonferrous Foundries Area                                        X
                                                                     Sources...................................................................................

AAAAAAA........................................................ Asphalt Processing and Asphalt Roofing Manufacturing                                              X
                                                                Area Sources..........................................................................

BBBBBBB.......................................................... Chemical Preparation Industry Area Sources........................                              X

CCCCCCC.......................................................... Paints and Allied Products Manufacturing Area Sources......                                     X

DDDDDDD........................................................ Prepared Feeds Areas Sources..............................................                        X

EEEEEEE........................................................... Gold Mine Ore Processing and Production Area Sources.....                                      X

FFFFFFF-GGGGGGG....................................... [Reserved]..............................................................................

HHHHHHH........................................................ Polyvinyl Chloride and Copolymers Production Major                                                X
                                                                Sources...................................................................................


       (38) Oregon.


       (i) The following table lists the delegation status of specific part 63 subparts that have been delegated to state and local air
       pollution control agencies in Oregon. An “X” indicates the subpart has been delegated, subject to all the conditions and
       limitations set forth in federal law, regulations, policy, guidance, and determinations. Some authorities cannot be delegated
       and are retained by EPA. These include certain General Provisions authorities and specific parts of some standards. The
       dates noted at the end of this table indicate the effective dates of federal rules that have been delegated. Any amendments
       made to these rules after this effective date are not delegated.




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                                                            Delegation Status of Part 63 NESHAPS—State of Oregon 1


                                                        Subpart 2                                                                                          ODEQ 3                               LRAPA 4


     A       General Provisions 5 .........................................................................................................                      X                                     X


     D       Early Reductions..............................................................................................................      .................................. .........................................


     F       HON-SOCMI...................................................................................................................                        X                                     X


     G       HON-Process Vents..........................................................................................................                         X                                     X


     H       HON-Equipment Leaks....................................................................................................                             X                                     X


     I       HON-Negotiated Leaks....................................................................................................                            X                                     X


     L       Coke Oven Batteries.........................................................................................................                        X                                     X


     M       Perchloroethylene Dry Cleaning.......................................................................................                               X                                     X


     N       Chromium Electroplating..................................................................................................                           X                                     X


     O       Ethylene Oxide Sterilizers................................................................................................                          X                                     X


     Q       Industrial Process Cooling Towers....................................................................................                               X                                     X


     R       Gasoline Distribution........................................................................................................                       X                                     X


     S       Pulp and Paper.................................................................................................................                     X                                     X


     T       Halogenated Solvent Cleaning..........................................................................................                              X                                     X


     U       Polymers and Resins I......................................................................................................                         X                                     X


     W       Polymers and Resins II-Epoxy..........................................................................................                              X                                     X


     X       Secondary Lead Smelting.................................................................................................                            X                                     X


     Y       Marine Tank Vessel Loading............................................................................................                              X                                     X


     AA      Phosphoric Acid Manufacturing Plants.............................................................................                                   X                                     X


     BB      Phosphate Fertilizers Production Plants.............................................................................                                X                                     X


     CC      Petroleum Refineries........................................................................................................                        X                                     X


     DD      Off-Site Waste and Recovery............................................................................................                             X                                     X


     EE      Magnetic Tape Manufacturing..........................................................................................                               X                                     X


     GG      Aerospace Manufacturing & Rework................................................................................                                    X                                     X


     HH      Oil and Natural Gas Production Facilities.........................................................................                                  X                                     X


     II      Shipbuilding and Ship Repair...........................................................................................                             X                                     X




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     JJ      Wood Furniture Manufacturing Operations.......................................................................                               X            X


     KK      Printing and Publishing Industry.......................................................................................                      X            X


     LL      Primary Aluminum...........................................................................................................                  X            X


     MM      Chemical Recovery Combustion Sources at Kraft, Soda, Sulfite, and Stand-Alone                                                                X            X
             Semichemical Pulp Mills..................................................................................................


     OO      Tanks—Level 1................................................................................................................                X            X


     PP      Containers........................................................................................................................           X            X


     QQ      Surface Impoundments.....................................................................................................                    X            X


     RR      Individual Drain Systems..................................................................................................                   X            X


     SS      Closed Vent Systems, Control Devices, Recovery Devices and Routing to a Fuel Gas                                                             X            X
             System or Process............................................................................................................


     TT      Equipment Leaks—Control Level 1..................................................................................                            X            X


     UU      Equipment Leaks—Control Level 2..................................................................................                            X            X


     VV      Oil-Water Separators and Organic-Water Separators..........................................................                                  X            X


     WW      Storage Vessels (Tanks)—Control Level 2........................................................................                              X            X


     YY      Source Categories: Generic MACT...................................................................................                           X            X


     CCC     Steel Pickling—HCl Process Facilities and Hydrochloric Acid Regeneration Plants............                                                  X            X


     DDD     Mineral Wool Production..................................................................................................                    X            X


     EEE     Hazardous Waste Combustors...........................................................................................                        X            X


     GGG     Pharmaceuticals Production..............................................................................................                     X            X


     HHH     Natural Gas Transmission and Storage Facilities...............................................................                               X            X


     III     Flexible Polyurethane Foam Production............................................................................                            X            X


     JJJ     Polymers and Resins IV...................................................................................................                    X            X


     LLL     Portland Cement Manufacturing.......................................................................................                         X            X


     MMM     Pesticide Active Ingredient Production..............................................................................                         X            X


     NNN     Wool Fiberglass Manufacturing........................................................................................                        X            X


     OOO     Manufacture of Amino Phenolic Resins............................................................................                             X            X


     PPP     Polyether Polyols Production............................................................................................                     X            X


     RRR     Secondary Aluminum Production......................................................................................                          X            X


     TTT     Primary Lead Smelting.....................................................................................................                   X            X




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     VVV     Publicly Owned Treatment Works.....................................................................................                X            X


     XXX     Ferroalloys Production: Ferromanganese & Silico manganese............................................                              X            X


     CCCC    Manufacture of Nutritional Yeast......................................................................................             X            X


     GGGG    Extraction of Vegetable Oil..............................................................................................          X            X



    (39) Pennsylvania.


    (i) Pennsylvania is delegated the authority to implement and enforce all existing and future unchanged 40 CFR part 63
    standards at major sources, as defined in 40 CFR part 70, in accordance with the delegation agreement between EPA Region
    III and the Pennsylvania Department of Environmental Protection, dated January 5, 1998, and any mutually acceptable
    amendments to that agreement.


    (ii) Pennsylvania is delegated the authority to implement and enforce all existing 40 CFR part 63 standards and all
    future unchanged 40 CFR part 63 standards, if delegation is requested by the Pennsylvania Department of Environmental
    Protection and approved by EPA Region III, at sources not subject to the permitting requirements of 40 CFR part 70,
    in accordance with the final rule, dated September 13, 2001, effective November 13, 2001, and any mutually acceptable
    amendments to the terms described in the direct final rule.


    (iii) Philadelphia is delegated the authority to implement and enforce all existing 40 CFR part 63 standards and all future
    unchanged 40 CFR part 63 standards, if delegation is requested by the City of Philadelphia Department of Public Health
    Air Management Services and approved by EPA Region III, at sources within the City of Philadelphia, in accordance
    with the final rule, dated January 29, 2002, effective April 1, 2002, and any mutually acceptable amendments to the terms
    described in the direct final rule.


    (iv) Allegheny County is delegated the authority to implement and enforce all existing 40 CFR part 63 standards and all
    future unchanged 40 CFR part 63 standards at sources within Allegheny County, in accordance with the final rule, dated
    January 30, 2002, effective April 1, 2002, and any mutually acceptable amendments to the terms described in the direct
    final rule.


    (v) Allegheny County is not delegated the authority to implement and enforce the provisions of 40 CFR part 68 and all
    future unchanged amendments to 40 CFR part 68 at sources within Allegheny County, in accordance with the final rule,
    dated March 5, 2019, effective April 4, 2019.


    (40) Rhode Island.


    (i) [Reserved]


    (ii) Affected organic solvent cleaning sources within Rhode Island must comply with the Rhode Island regulations
    applicable to hazardous air pollutants, 250–RICR–120–05–0 and 250–RICR–120–05–36 (incorporated by reference as
    specified in § 63.14), as described in paragraph (a)(40)(ii)(A) of this section:




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                   (A) 250–RICR–120–05–0 and 250–RICR–120–05–36 pertain to organic solvent cleaning facilities in the State of
                   Rhode Island's jurisdiction, and have been approved under the procedures in § 63.93 to be implemented and enforced
                   in place of the Federal Halogenated Solvent NESHAP found at 40 CFR part 63, subpart T (except for those provisions
                   listed under paragraphs (a)(40)(ii)(A)(1)(i)).


                            (1) Authorities not delegated.


                            (i) Rhode Island is not delegated the Administrator's authority to implement and enforce Rhode Island regulations
                            at 250–RICR–120–05–0 and 250–RICR–120–05–36 in lieu of those provisions of subpart T of this part which
                            apply to continuous web cleaning machines as defined in 40 CFR. § 63.461.


                            (ii) [Reserved]


                            (2) [Reserved]


                   (B) [Reserved]


         (41) South Carolina.


         (i) The following table lists the specific part 63 standards that have been delegated unchanged to the South Carolina
         Department of Health and Environmental Control (SCDHEC) for all sources. The “X” symbol is used to indicate each
         subpart that has been delegated. The delegations are subject to all of the conditions and limitations set forth in Federal law,
         regulations, policy, guidance, and determinations. Some authorities cannot be delegated and are retained by EPA. These
         include certain General Provisions authorities and specific parts of some standards.


                                                                     Part 63 Major & Area Source Rule Delegations—South Carolina 1


                                                                       Source category                                                                                    Subpart                                 SCDHEC


1..................... HON........................................................................................................................ F, G, H, I.................................................    X


2..................... Polyvinyl Chloride & Co-polymers VACATED on 5/11/05........................................                                          J


3..................... Coke Ovens.............................................................................................................. L..............................................................   X


4..................... Dry Cleaners............................................................................................................ M.............................................................    X


5..................... Chromium Electroplating.......................................................................................... N.............................................................           X


6..................... EtO Commercial Sterilization................................................................................... O.............................................................             X


7..................... Chromium Cooling Towers....................................................................................... Q.............................................................              X


8..................... Gasoline Distribution (stage 1)................................................................................. R..............................................................           X


9..................... Pulp & Paper I......................................................................................................... S..............................................................    X



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10................... Halogenated Solvent Cleaning.................................................................................. T..............................................................          X


11................... Polymer & Resins 1................................................................................................. U.............................................................      X


12................... Polymer & Resins 2................................................................................................. W............................................................       X


13................... Secondary Lead Smelters.......................................................................................... X.............................................................        X


14................... Marine Tank Vessel Loading.................................................................................... Y.............................................................           X


15................... Phosphoric Acid Mfg............................................................................................... AA...........................................................        X


16................... Phosphate Fertilizers Prod........................................................................................ BB...........................................................        X


17................... Petroleum Refineries................................................................................................ CC...........................................................      X


18................... Offsite Waste & Recovery........................................................................................ DD...........................................................          X


.......................          Tanks; Level 1..............................................................................................            OO                                                   X


.......................          Containers....................................................................................................          PP                                                   X


.......................          Surface Impoundments.................................................................................                   QQ                                                   X


.......................          Drain Systems..............................................................................................             RR                                                   X


.......................          Oil-Water Separators.....................................................................................               VV                                                   X


19................... Magnetic Tape.......................................................................................................... EE...........................................................   X


20................... Aerospace Industry................................................................................................... GG...........................................................     X


21................... Oil & Natural Gas Prod............................................................................................ HH...........................................................        X


.......................          Area Source Requirements >>......................................................................                                                                            X


22................... Shipbuilding and Repair........................................................................................... II..............................................................     X


23................... Wood Furniture Mfg................................................................................................. JJ.............................................................     X


24................... Printing & Publishing............................................................................................... KK...........................................................      X


25................... Primary Aluminum................................................................................................... LL...........................................................       X


26................... Pulp & Paper II (Combustion sources)...................................................................... MM.........................................................                  X


27...................           Generic MACT:


.......................          Control Devices............................................................................................             SS                                                   X


.......................          Eq. Leaks—Level 1......................................................................................                 TT                                                   X


.......................          Eq. Leaks—Level 2......................................................................................                 UU                                                   X


.......................          Tanks—Level 2............................................................................................               WW                                                   X


28...................           Generic MACT:



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.......................          Ethylene Mfg...............................................................................................              XX & YY                                              X


.......................          Carbon Black...............................................................................................              YY                                                   X


.......................          Spandex Prod...............................................................................................              YY                                                   X


.......................          Cyanide Chemical Mfg.................................................................................                    YY                                                   X


.......................          Acetal Resins...............................................................................................             YY                                                   X


.......................          Acrylic/Modacrylic Fibers............................................................................                    YY                                                   X


.......................          Hydrogen Fluoride Prod...............................................................................                    YY                                                   X


.......................          Polycarbonates Prod.....................................................................................                 YY                                                   X


29................... Steel Pickeling..........................................................................................................CCC.........................................................    X


30................... Mineral Wool Prod................................................................................................... DDD........................................................         X


31................... Hazardous Waste Combustion (Phase I).................................................................... EEE.........................................................                    X


32................... Boilers that burn Haz. Waste (Phase II).................................................................... EEE.........................................................                 X


33................... HCL Prod. Furnaces burning Haz. Waste (P II)......................................................... EEE.........................................................                       X


34................... Pharmaceutical Prod................................................................................................. GGG........................................................         X


35................... Nat. Gas Transmission & Storage............................................................................. HHH........................................................                 X


36................... Flexible Polyurethane Foam Prod............................................................................. III............................................................             X


37................... Polymer & Resins 4................................................................................................. JJJ............................................................      X


38................... Portland Cement....................................................................................................... LLL.........................................................      X


39................... Pesticide Active Ingredients...................................................................................... MMM......................................................             X


40................... Wool Fiberglass........................................................................................................ NNN........................................................      X


41................... Polymer & Resins 3 (Amino & Phenolic)................................................................. OOO........................................................                       X


42................... Polyether Polyols Prod............................................................................................. PPP..........................................................        X


43................... Primary Copper........................................................................................................ QQQ........................................................       X


44................... Secondary Aluminum Prod....................................................................................... RRR.........................................................              X


45................... Primary Lead Smelting............................................................................................. TTT.........................................................          X


46................... Petro Refineries (FCC units)..................................................................................... UUU........................................................            X


47................... POTW...................................................................................................................... VVV........................................................   X


48................... Ferroalloys............................................................................................................... XXX........................................................   X


49................... Municipal Landfills.................................................................................................. AAAA.....................................................          X



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50................... Nutritional Yeast....................................................................................................... CCCC......................................................   X


51................... Plywood and Composite Wood Prod. (Partial Vacatur Oct. 07).................................. DDDD.....................................................                                X


52................... Organic Liquids Distribution (non-gas)..................................................................... EEEE.......................................................               X


53................... Misc. Organic NESHAP........................................................................................... FFFF........................................................          X


54................... Vegetable Oil............................................................................................................ GGGG.....................................................   X


55................... Wet Formed Fiberglass............................................................................................. HHHH.....................................................          X


56................... Auto & Light Duty Truck (coating).......................................................................... IIII...........................................................           X


57................... Paper & Other Webs................................................................................................ JJJJ..........................................................     X


58................... Metal Can (coating).................................................................................................. KKKK.....................................................       X


59................... Misc. Metal Parts (coating)....................................................................................... MMMM...................................................            X


60................... Large Appliances (coating)....................................................................................... NNNN.....................................................           X


61................... Printing, Coating, & Dyeing Fabrics......................................................................... OOOO.....................................................                X


62................... Plastic Parts & Products (coating)............................................................................. PPPP........................................................          X


63................... Wood Building Products........................................................................................... QQQQ.....................................................           X


64................... Metal Furniture (coating).......................................................................................... RRRR......................................................        X


65................... Metal Coil (coating)................................................................................................. SSSS........................................................    X


66................... Leather Tanning & Finishing.................................................................................... TTTT.......................................................           X


67................... Cellulose Ethers Prod Misc. Viscose Processes......................................................... UUUU.....................................................                      X


68................... Boat Manufacturing.................................................................................................. VVVV.....................................................        X


69................... Reinforced Plastic Composites.................................................................................. WWWW..................................................                X


70................... Rubber Tire Mfg...................................................................................................... XXXX.....................................................       X


71................... Stationary Combustion Turbines............................................................................... YYYY.....................................................               X


72................... Reciprocating Int. Combustion Engines.................................................................... ZZZZ.......................................................                 X


.......................              Area Source Requirements >>......................................................................                                                                      X


73................... Lime Manufacturing................................................................................................. AAAAA..................................................           X


74................... Semiconductor Production........................................................................................ BBBBB....................................................            X


75................... Coke Ovens: (Push/Quench/Battery/Stacks).............................................................. CCCCC....................................................                      X


76................... Industrial/Commercial/Institutional Boilers & Process Heaters, VACATED on                                                          DDDDD
                          7/30/07.....................................................................................................................




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


77................... Iron Foundries.......................................................................................................... EEEEE.....................................................      X


78................... Integrated Iron & Steel............................................................................................. FFFFF......................................................         X


79................... Site Remediation...................................................................................................... GGGGG..................................................           X


80................... Misc. Coating Manufacturing................................................................................... HHHHH..................................................                   X


81................... Mercury Cell Chlor-Alkali........................................................................................ IIIII..........................................................        X


82................... Brick & Structural Clay Products, VACATED on 6/18/07..........................................                                      JJJJJ


83................... Clay Ceramics Manufacturing, VACATED on 6/18/07..............................................                                       KKKKK


84................... Asphalt Roofing & Processing.................................................................................. LLLLL.....................................................                X


85................... Flex. Polyurethane Foam Fabrication........................................................................ MMMMM...............................................                         X


86................... Hydrochloric Acid Prod/Fumed Silica....................................................................... NNNNN..................................................                       X


87................... Engine & Rocket Test Facilities................................................................................ PPPPP......................................................              X


88................... Friction Materials Manufacturing.............................................................................. QQQQQ..................................................                   X


89................... Taconite Iron Ore..................................................................................................... RRRRR....................................................         X


90................... Refactories............................................................................................................... SSSSS......................................................   X


91................... Primary Magnesium................................................................................................. TTTTT.....................................................            X


                                                                                                         Area Source Rules


92................... Hospital Sterilizers................................................................................................... WWWWW..............................................              X


93................... Stainless and Nonstainless Steel Mfg Electric Arc Furnaces...................................... YYYYY..................................................                                 X


94................... Iron & Steel foundries.............................................................................................. ZZZZZ.....................................................          X


95................... Gasoline Distribution—Bulk..................................................................................... BBBBBB.................................................                  X


96................... Gasoline Dispensing Facilities.................................................................................. CCCCCC.................................................                 X


97................... PVC & Copolymers Prod......................................................................................... DDDDDD................................................                    X


98................... Primary Copper........................................................................................................ EEEEEE..................................................          X


99................... Secondary Copper Smelting...................................................................................... FFFFFF...................................................                X


100................. Primary Nonferrous Metals....................................................................................... GGGGGG................................................                   X


101................. Paint Stripping..........................................................................................................HHHHHH................................................           X


.......................         Auto-Body Refinishing


.......................         Plastic Parts & Prod. (coating)


102................. Acrylic/Modacrylic Fibers Prod................................................................................ LLLLLL..................................................                   X




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99


103................. Carbon Black Prod................................................................................................... MMMMMM............................................               X


104................. Chemical Mfg. Chrom.............................................................................................. NNNNNN................................................              X


105................. Flex. Polyurethane Foam Fab................................................................................... OOOOOO................................................                 X


.......................         Flex. Polyurethane Foam Prod


106................. Lead Acid Battery Mfg............................................................................................ PPPPPP...................................................           X


107................. Wood Preserving...................................................................................................... QQQQQQ................................................          X


108................. Clay Ceramics Mfg.................................................................................................. RRRRRR.................................................           X


109................. Glass Mfg................................................................................................................ SSSSSS...................................................   X


110..................Secondary Nonferrous Metals................................................................................... TTTTTT..................................................               X


110..................Plating and Polishing................................................................................................ WWWWWW...........................................               X


112..................Heating Eq. Mfg...................................................................................................... XXXXXX................................................          X


.......................         Industrial Mach. & Eq. Finishing


.......................         Elect. & Electronics Eq. Finishing


.......................         Fabricated Metal Prod


.......................         Fabricated Plate Work (Boiler Shop)


.......................         Fabricated Structural Metal Mfg


113..................Ferro/Silico Manganese............................................................................................ YYYYYY................................................             X


.......................         Iron and Steel Forging


.......................         Primary Metals Prod. Mfg


.......................         Valves and Pipe Fittings Mfg


.......................         Ferroalloys Production



          (ii) South Carolina Department of Health and Environmental Control (SC DHEC) may implement and enforce alternative
          requirements in the form of title V permit terms and conditions for International Paper Georgetown Mill, Georgetown,
          South Carolina, for subpart S of this part–National Emission Standards for Hazardous Air Pollutants from the Pulp and
          Paper Industry. This action is contingent upon SC DHEC including, in title V permits, terms and conditions that are no
          less stringent than the Federal standard. In addition, the requirement applicable to the source remains the Federal section
          112 requirement until EPA has approved the alternative permit terms and conditions and the final title V permit is issued.


          (42) [Reserved]


          (43) Tennessee.




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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




       (i) The Tennessee Department of Environment and Conservation (TDEC) has “up-front” approval to implement an
       Equivalency by Permit (EBP) program under which TDEC may establish and enforce alternative requirements for the
       Ellison Surface Technologies, Inc. facility located in Morgan County, Tennessee (Ellison) in lieu of those of the National
       Emissions Standard for Hazardous Air Pollutants (NESHAP) for Plating and Polishing Operations at 40 CFR part 63,
       subpart WWWWWW, “National Emission Standards for Hazardous Air Pollutants: Area Source Standards for Plating
       and Polishing Operations.” TDEC may only establish alternative requirements for Ellison that are at least as stringent
       as the otherwise applicable Federal requirements. TDEC must, in order to establish alternative requirements for Ellison
       under its EPA–approved EBP program: submit to the EPA for review pre-draft title V permit terms specifying alternative
       requirements that meet the criteria of 40 CFR 63.94(d), including the criterion that the alternative requirements are at least
       as stringent as the otherwise applicable Federal requirements; obtain the EPA's written approval of the alternative pre-draft
       title V permit requirements; and issue a title V permit for Ellison that contains the approved alternative requirements. Until
       the EPA has approved the alternative permit terms and conditions and TDEC has issued a final title V permit incorporating
       them, Ellison will remain subject to the Federal NESHAP requirements found at 40 CFR part 63, subpart WWWWWW.


       (ii) Reserved.


       (44) Texas.


       (i) The following table lists the specific part 63 standards that have been delegated unchanged to the Texas Commission
       on Environmental Quality for all sources. The “X” symbol is used to indicate each subpart that has been delegated. The
       delegations are subject to all of the conditions and limitations set forth in Federal law and regulations. Some authorities
       cannot be delegated and are retained by the EPA. These include certain General Provisions authorities and specific parts
       of some standards. Any amendments made to these rules after August 3, 2016 are not delegated.


                                                 Delegation Status for Part 63 Standards—State of Texas 1

                                                                         [Excluding Indian Country]

                               Subpart                                                                       Source category                                                TCEQ 2

A........................................................................... General Provisions...................................................................             X

F............................................................................ Hazardous Organic NESHAP (HON)—Synthetic Organic                                                 X
                                                                              Chemical Manufacturing Industry (SOCMI)...........................

G........................................................................... HON—SOCMI Process Vents, Storage Vessels, Transfer                                                X
                                                                             Operations and Wastewater......................................................

H........................................................................... HON—Equipment Leaks.........................................................                      X

I............................................................................. HON—Certain Processes Negotiated Equipment Leak                                                 X
                                                                               Regulation................................................................................

J............................................................................. Polyvinyl Chloride and Copolymers Production.....................                               3


K........................................................................... [Reserved]................................................................................

L............................................................................Coke Oven Batteries................................................................               X



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M........................................................................... Perchloroethylene Dry Cleaning..............................................                  X

N........................................................................... Chromium Electroplating and Chromium Anodizing Tanks...                                       X

O........................................................................... Ethylene Oxide Sterilizers.......................................................             X

P............................................................................ [Reserved]................................................................................

Q........................................................................... Industrial Process Cooling Towers..........................................                   X

R............................................................................ Gasoline Distribution...............................................................         X

S............................................................................ Pulp and Paper Industry..........................................................            X

T............................................................................ Halogenated Solvent Cleaning.................................................                X

U........................................................................... Group I Polymers and Resins..................................................                 X

V........................................................................... [Reserved]................................................................................

W...........................................................................Epoxy Resins Production and Non-Nylon Polyamides                                               X
                                                                            Production................................................................................

X........................................................................... Secondary Lead Smelting........................................................               X

Y........................................................................... Marine Tank Vessel Loading...................................................                 X

Z............................................................................ [Reserved]................................................................................

AA.........................................................................Phosphoric Acid Manufacturing Plants...................................                         X

BB......................................................................... Phosphate Fertilizers Production Plants..................................                      X

CC......................................................................... Petroleum Refineries................................................................           X

DD.........................................................................Off-Site Waste and Recovery Operations................................                          X

EE......................................................................... Magnetic Tape Manufacturing.................................................                   X

FF.......................................................................... [Reserved]................................................................................

GG.........................................................................Aerospace Manufacturing and Rework Facilities....................                               X

HH.........................................................................Oil and Natural Gas Production Facilities...............................                        X

II............................................................................ Shipbuilding and Ship Repair Facilities..................................                   X

JJ........................................................................... Wood Furniture Manufacturing Operations.............................                         X

KK.........................................................................Printing and Publishing Industry.............................................                   X

LL......................................................................... Primary Aluminum Reduction Plants......................................                        X

MM....................................................................... Chemical Recovery Combustion Sources at Kraft, Soda,                                             X
                                                                          Sulfide, and Stand-Alone Semichemical Pulp Mills................

NN.........................................................................Wool Fiberglass Manufacturing Area Sources........................                              X


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OO.........................................................................Tanks-Level 1...........................................................................        X

PP.......................................................................... Containers.................................................................................   X

QQ.........................................................................Surface Impoundments............................................................                X

RR......................................................................... Individual Drain Systems........................................................               X

SS.......................................................................... Closed Vent Systems, Control Devices, Recovery Devices
                                                                             and Routing to a Fuel Gas System or a Process......................

TT......................................................................... Equipment Leaks—Control Level 1........................................                        X

UU.........................................................................Equipment Leaks—Control Level 2 Standards.......................                                X

VV.........................................................................Oil—Water Separators and Organic—Water Separators..........                                     X

WW....................................................................... Storage Vessels (Tanks)—Control Level 2..............................                            X

XX.........................................................................Ethylene Manufacturing Process Units Heat Exchange                                              X
                                                                           Systems and Waste Operations................................................

YY.........................................................................Generic Maximum Achievable Control Technology                                                   X
                                                                           Standards..................................................................................

ZZ-BBB................................................................ [Reserved]................................................................................

CCC...................................................................... Steel Pickling—HCI Process Facilities and Hydrochloric                                           X
                                                                          Acid Regeneration...................................................................

DDD...................................................................... Mineral Wool Production.........................................................                 X

EEE....................................................................... Hazardous Waste Combustors.................................................                     X

FFF........................................................................ [Reserved]................................................................................

GGG...................................................................... Pharmaceuticals Production.....................................................                  X

HHH...................................................................... Natural Gas Transmission and Storage Facilities....................                              X

III.......................................................................... Flexible Polyurethane Foam Production..................................                      X

JJJ.......................................................................... Group IV Polymers and Resins...............................................                  X

KKK...................................................................... [Reserved]................................................................................

LLL....................................................................... Portland Cement Manufacturing..............................................                     X

MMM.................................................................... Pesticide Active Ingredient Production...................................                          X

NNN...................................................................... Wool Fiberglass Manufacturing...............................................                     X

OOO...................................................................... Amino/Phenolic Resins............................................................                X

PPP........................................................................ Polyether Polyols Production...................................................                X

QQQ......................................................................Primary Copper Smelting........................................................                   X


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§ 63.99 Delegated Federal authorities., 40 C.F.R. § 63.99




RRR...................................................................... Secondary Aluminum Production............................................                      X

SSS........................................................................ [Reserved]................................................................................

TTT....................................................................... Primary Lead Smelting............................................................             X

UUU...................................................................... Petroleum Refineries—Catalytic Cracking Units, Catalytic                                       X
                                                                          Reforming Units and Sulfur Recovery Plants..........................

VVV...................................................................... Publicly Owned Treatment Works (POTW)............................                              X

WWW................................................................... [Reserved]................................................................................

XXX...................................................................... Ferroalloys Production: Ferromanganese and                                                     X
                                                                          Silicomanganese.......................................................................

AAAA................................................................... Municipal Solid Waste Landfills.............................................                     X

CCCC.................................................................... Nutritional Yeast Manufacturing.............................................                    X

DDDD................................................................... Plywood and Composite Wood Products.................................                             X4

EEEE.....................................................................Organic Liquids Distribution...................................................                 X

FFFF..................................................................... Misc. Organic Chemical Production and Processes (MON)....                                      X

GGGG................................................................... Solvent Extraction for Vegetable Oil Production.....................                             X

HHHH................................................................... Wet Formed Fiberglass Mat Production..................................                           X

IIII......................................................................... Auto & Light Duty Truck (Surface Coating)...........................                       X

JJJJ........................................................................ Paper and other Web (Surface Coating)..................................                     X

KKKK................................................................... Metal Can (Surface Coating)...................................................                   X

MMMM................................................................ Misc. Metal Parts and Products (Surface Coating)..................                                  X

NNNN................................................................... Surface Coating of Large Appliances......................................                        X

OOOO................................................................... Fabric Printing Coating and Dyeing........................................                       X

PPPP..................................................................... Plastic Parts (Surface Coating)................................................                X

QQQQ................................................................... Surface Coating of Wood Building Products...........................                             X

RRRR.................................................................... Surface Coating of Metal Furniture.........................................                     X

SSSS..................................................................... Surface Coating for Metal Coil...............................................                  X

TTTT.....................................................................Leather Finishing Operations...................................................                 X

UUUU................................................................... Cellulose Production Manufacture..........................................                       X

VVVV................................................................... Boat Manufacturing.................................................................              X




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WWWW............................................................... Reinforced Plastic Composites Production..............................                         X

XXXX................................................................... Rubber Tire Manufacturing.....................................................             X

YYYY................................................................... Combustion Turbines...............................................................         X

ZZZZ.....................................................................Reciprocating Internal Combustion Engines (RICE)...............                           X

AAAAA................................................................ Lime Manufacturing Plants.....................................................               X

BBBBB................................................................. Semiconductor Manufacturing.................................................                X

CCCCC................................................................. Coke Ovens: Pushing, Quenching and Battery Stacks............                               X

DDDDD................................................................ Industrial/Commercial/Institutional Boilers and Process                                      X5
                                                                      Heaters Major Sources.............................................................

EEEEE.................................................................. Iron Foundries..........................................................................   X

FFFFF................................................................... Integrated Iron and Steel.........................................................        X

GGGGG................................................................ Site Remediation......................................................................       X

HHHHH................................................................ Miscellaneous Coating Manufacturing....................................                      X

IIIII........................................................................ Mercury Cell Chlor-Alkali Plants............................................         X

JJJJJ.......................................................................Brick and Structural Clay Products Manufacturing.................                      X6

KKKKK................................................................ Clay Ceramics Manufacturing.................................................                 X6

LLLLL.................................................................. Asphalt Roofing and Processing..............................................               X

MMMMM.............................................................Flexible Polyurethane Foam Fabrication Operation................                                 X

NNNNN................................................................ Hydrochloric Acid Production, Fumed Silica Production.......                                 X

OOOOO................................................................ [Reserved]................................................................................

PPPPP................................................................... Engine Test Facilities...............................................................     X

QQQQQ................................................................ Friction Products Manufacturing.............................................                 X

RRRRR................................................................. Taconite Iron Ore Processing..................................................              X

SSSSS................................................................... Refractory Products Manufacture............................................               X

TTTTT.................................................................. Primary Magnesium Refining..................................................               X

UUUUU................................................................ Coal and Oil-Fired Electric Utility Steam Generating Units...                                X7

VVVVV................................................................ [Reserved]................................................................................

WWWWW........................................................... Hospital Ethylene Oxide Sterilizers Area Sources..................                                X

XXXXX................................................................ [Reserved]................................................................................



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YYYYY................................................................ Electric Arc Furnace Steelmaking Facilities Area Sources......                                       X

ZZZZZ.................................................................. Iron and Steel Foundries Area Sources...................................                           X

AAAAAA............................................................. [Reserved]................................................................................

BBBBBB.............................................................. Gasoline Distribution Bulk Terminals, Bulk Plants, and                                                X
                                                                     Pipeline Facilities.....................................................................

                                                                                      Area Sources

CCCCCC.............................................................. Gasoline Dispensing Facilities Area Sources..........................                                 X

DDDDDD............................................................. Polyvinyl Chloride and Copolymers Production Area                                                      X
                                                                    Sources.....................................................................................

EEEEEE................................................................ Primary Copper Smelting Area Sources..................................                              X

FFFFFF................................................................. Secondary Copper Smelting Area Sources..............................                               X

GGGGGG............................................................. Primary Nonferrous Metals Area Sources: Zinc, Cadmium,                                                 X
                                                                    and Beryllium...........................................................................

HHHHHH............................................................. Paint Stripping and Miscellaneous Surface Coating                                                      X
                                                                    Operations at Area Sources.....................................................

IIIIII...................................................................... [Reserved]................................................................................

JJJJJJ..................................................................... Industrial, Commercial, and Institutional Boilers Area                                         X
                                                                            Sources.....................................................................................

KKKKKK............................................................. [Reserved]................................................................................

LLLLLL................................................................ Acrylic and Modacrylic Fibers Production Area Sources........                                       X

MMMMMM......................................................... Carbon Black Production Area Sources..................................                                     X

NNNNNN............................................................. Chemical Manufacturing Area Sources: Chromium                                                          X
                                                                    Compounds...............................................................................

OOOOOO............................................................. Flexible Polyurethane Foam Production and Fabrication                                                  X
                                                                    Area Sources............................................................................

PPPPPP................................................................. Lead Acid Battery Manufacturing Area Sources.....................                                  X

QQQQQQ............................................................. Wood Preserving Area Sources...............................................                            X

RRRRRR.............................................................. Clay Ceramics Manufacturing Area Sources...........................                                   X

SSSSSS................................................................. Glass Manufacturing Area Sources.........................................                          X

TTTTTT................................................................ Secondary Nonferrous Metals Processing Area Sources.........                                        X

UUUUUU............................................................. [Reserved]................................................................................

VVVVVV............................................................. Chemical Manufacturing Area Sources...................................                                 X

WWWWWW........................................................Plating and Polishing Operations Area Sources......................                                          X


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XXXXXX............................................................. Metal Fabrication and Finishing Area Sources........................                              X

YYYYYY............................................................. Ferroalloys Production Facilities Area Sources.......................                             X

ZZZZZZ................................................................ Aluminum, Copper, and Other Nonferrous Foundries Area                                          X
                                                                       Sources.....................................................................................

AAAAAAA.......................................................... Asphalt Processing and Asphalt Roofing Manufacturing                                                X
                                                                  Area Sources............................................................................

BBBBBBB............................................................ Chemical Preparations Industry Area Sources........................                               X

CCCCCCC............................................................ Paints and Allied Products Manufacturing Area Sources........                                     X

DDDDDDD.......................................................... Prepared Feeds Manufacturing Area Sources..........................                                 X

EEEEEEE............................................................. Gold Mine Ore Processing and Production Area Sources.......

FFFFFFF—GGGGGGG.......................................[Reserved]................................................................................

HHHHHHH.......................................................... Polyvinyl Chloride and Copolymers Production Major                                                  X
                                                                  Sources.....................................................................................


       (ii) Affected sources within Texas shall comply with the Federal requirements of 40 CFR part 63—subpart A—General
       Provisions, adopted by reference by the Texas Commission on Environmental Quality (TCEQ), with the exception of
       § 63.5(e)(2)(i), § 63.6(i)(12)(i), § 63.6(i)(13)(i) and (ii), § 63.8(e)(5)(ii), § 63.9(i)(3), and § 63.10(e)(2)(ii). The TCEQ
       has adopted alternative provisions for the cited exceptions above and affected sources in Texas that are subject to the
       requirements of Subpart A shall comply with the requirements established at Texas Administrative Code, Title 30, Part
       1, Chapter 113, Subchapter C, section 113.100.


       (45) [Reserved]


       (46) Vermont.


       (i) Affected area sources within Vermont must comply with Vermont Regulations applicable to Hazardous Air Pollutants
       (incorporated by reference as specified in § 63.14) as described in paragraph (a)(46)(i)(A) of this section:


              (A) The material incorporated into the Vermont Air Pollution Regulations at Chapter 5, Air Pollution Control,
              section 5–253.11, Perchloroethylene Dry Cleaning (effective as of December 15, 2016) pertaining to area source
              dry cleaning facilities in the State of Vermont jurisdiction, and approved under the procedures in § 63.93 to be
              implemented and enforced in place of the requirements for area source dry cleaning facilities in the Federal NESHAP
              for Perchloroethylene Dry Cleaning Facilities (subpart M of this part), effective as of July 11, 2008. For purposes
              of this paragraph (a)(46) the term “area source dry cleaning facilities” means any source that qualifies as an area
              source under § 63.320(h).


                      (1) Authorities not delegated.




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              (i) Vermont is not delegated the Administrator's authority to implement and enforce Vermont Air Pollution
              Control Regulations, Chapter 5, Air Pollution Control, section 5–253.11, in lieu of those provisions of subpart
              M of this part which apply to major sources, as defined in § 63.320(g).


              (ii) [Reserved]


              (2) [Reserved]


         (B) [Reserved]


    (ii) [Reserved]


    (47) Virginia.


    (i) Virginia is delegated the authority to implement and enforce all existing and future unchanged 40 CFR part 63 standards
    at major sources, as defined in 40 CFR part 70, in accordance with the delegation agreement between EPA Region III
    and the Virginia Department of Environmental Quality, dated April 20, 1998, and any mutually acceptable amendments
    to that agreement.


    (ii) Virginia is delegated the authority to implement and enforce all existing 40 CFR part 63 standards and all future
    unchanged 40 CFR part 63 standards, if delegation is sought by the Virginia Department of Environmental Quality and
    approved by EPA Region III, at affected sources which are not located at major sources, as defined in 40 CFR part 70, in
    accordance with the final rule, dated January 8, 2002, effective March 11, 2002, and any mutually acceptable amendments
    to the terms described in the direct final rule.


    (iii) EPA has granted the Virginia Department of Environmental Quality (DEQ) “up-front” approval to implement an
    Equivalency by Permit (EBP) program under which the Virginia DEQ may establish and enforce alternative State
    requirements for International Paper Company's Franklin Mill in lieu of those of the National Emissions Standard for
    Hazardous Air Pollutants (NESHAP) for the Pulp and Paper Industry found at 40 CFR part 63, subpart S. The Virginia
    DEQ may only establish alternative requirements for the Franklin Mill which are equivalent to and at least as stringent
    as the otherwise applicable Federal requirements. The VA DEQ must, in order to establish alternative requirements for
    the Franklin Mill under its EPA approved EBP program: (1) Submit to EPA for review pre-draft Clean Air Act (CAA)
    Title V permit terms specifying alternative requirements which are at least as stringent as the otherwise applicable Federal
    requirements, (2) obtain EPA's written approval of the alternative pre-draft CAA Title V permit requirements, and (3) issue
    a CAA Title V permit for the Franklin Mill which contains the approved alternative requirements. Until EPA has approved
    the alternative permit terms and conditions and the Virginia DEQ has issued a final CAA Title V permit incorporating
    them, International Paper Company's Franklin Mill will remain subject to the Federal NESHAP requirements found at 40
    CFR part 63, subpart S.


    (48) Washington.




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         (i) The following table lists the delegation status of specific part 63 Subparts that have been delegated to state and local air
         pollution control agencies in Washington. An “X” indicates the subpart has been delegated, subject to all the conditions and
         limitations set forth in Federal law, regulations, policy, guidance, and determinations. Some authorities cannot be delegated
         and are retained by EPA. These include certain General Provisions authorities and specific parts of some standards. The
         dates noted at the end of this table indicate the effective dates of Federal rules that have been delegated. Any amendments
         made to these rules after this effective date are not delegated.


                                                                    Delegation Status for Part 63 Standards—State of Washington 1



              40 CFR Part 63, Subparts 2                          Ecology 3       BCAA 4      NWAPA 5        OAPCA 6        PSCAA 7      SCAPCA 8   SWCAA 9   YRCAA 10



A General Provisions 11 ......................................     X                  X           X              X              X          X           X        X


D Early Reductions............................................     X                  X           X              X              X          X           X        X


F HON-SOCMI.................................................       X                  X           X              X              X          X           X        X


G HON-Process Vents........................................        X                  X           X              X              X          X           X        X


H HON-Equipment Leaks....................................          X                  X           X              X              X          X           X        X


I HON-Negotiated Leaks.....................................        X                  X           X              X              X          X           X        X


L Coke Oven Batteries........................................      X                  X           X              X              X          X           X        X


M Perchloroethylene Dry Cleaning........................           X3                 X4          X                             X7         X8          X        X 10


N Chromium Electroplating.................................         X                  X           X              X              X          X           X        X


O Ethylene Oxide Sterilizers................................       X                  X           X              X              X          X           X        X


Q Industrial Process Cooling Towers......................          X                  X           X              X              X          X           X        X


R Gasoline Distribution.......................................     X                  X           X              X              X          X           X        X


S Pulp and Paper 12 ...........................................    X                               5
                                                                                                                 X6             X7         X8          X9       X 10


T Halogenated Solvent Cleaning...........................          X                  X           X              X              X          X           X        X


U Polymers and Resins I.....................................       X                  X           X              X              X          X           X        X


W Polymers and Resins II-Epoxy..........................           X                  X           X              X              X          X           X        X


X Secondary Lead Smelting.................................         X                  X           X              X              X          X           X        X


Y Marine Tank Vessel Loading.............................          X                  X           X                             X          X           X


AA Phosphoric Acid Manufacturing Plants..............              X                  X           X              X              X          X                    X


BB Phosphate Fertilizers Production Plants..............           X                  X           X              X              X          X                    X


CC Petroleum Refineries.....................................       X                  X           X              X              X          X           X        X


DD Off-Site Waste and Recovery..........................           X                  X           X              X              X          X           X        X




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EE Magnetic Tape Manufacturing.........................                X        X       X        X      X      X        X        X


GG Aerospace Manufacturing & Rework................                    X        X       X        X      X      X        X        X


HH Oil and Natural Gas Production Facilities..........                 X        X       X        X      X      X                 X


II Shipbuilding and Ship Repair............................            X        X       X        X      X      X        X        X


JJ Wood Furniture Manufacturing Operations...........                  X        X       X        X      X      X        X        X


KK Printing and Publishing Industry......................              X        X       X        X      X      X        X        X


LL Primary Aluminum 13 ...................................             X


MM Chemical Recovery Combustion Sources at                             X
Kraft, Soda, Sulfite, and Stand-Alone Semichemical

Pulp Mills 14 ....................................................


OO Tanks—Level 1...........................................            X        X       X        X      X      X                 X


PP Containers...................................................       X        X       X        X      X      X                 X


QQ Surface Impoundments..................................              X        X       X        X      X      X                 X


RR Individual Drain Systems...............................             X        X       X        X      X      X                 X


SS Closed Vent Systems, Control Devices, Recovery                      X        X       X        X      X      X                 X
Devices and Routing to a Fuel Gas System or Process


TT Equipment Leaks—Control Level 1..................                   X        X       X        X      X      X                 X


UU Equipment Leaks—Control Level 2..................                   X        X       X        X      X      X                 X


VV Oil-Water Separators and Organic-Water                              X        X       X        X      X      X                 X
Separators........................................................


WW Storage Vessels (Tanks)—Control Level 2........                     X        X       X               X      X


YY Source Categories: Generic MACT..................                   X        X       X               X      X


CCC Steel Pickling—HCl Process Facilities and                          X        X       X               X      X
Hydrochloric Acid Regeneration Plants..................


DDD Mineral Wool Production.............................               X        X       X               X      X


EEE Hazardous Waste Combustors........................                 X        X       X               X      X


GGG Pharmaceuticals Production..........................               X        X       X               X      X


HHH Natural Gas Transmission and Storage                               X        X       X               X      X
Facilities..........................................................


III Flexible Polyurethane Foam Production..............                X        X       X               X      X                 X


JJJ Polymers and Resins IV.................................            X        X       X               X      X        X




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LLL Portland Cement Manufacturing.....................            X        X       X               X      X


MMM Pesticide Active Ingredient Production..........              X        X       X               X      X


NNN Wool Fiberglass Manufacturing.....................            X        X       X               X      X


OOO Manufacture of Amino Phenolic Resins..........                X        X       X               X      X


PPP Polyether Polyols Production.........................         X        X       X               X      X


RRR Secondary Aluminum Production...................              X        X                       X      X


TTT Primary Lead Smelting................................         X        X       X               X      X


VVV Publicly Owned Treatment Works..................              X        X       X               X      X


XXX Ferroalloys Production: Ferromanganese &                      X        X       X               X      X
Silicomanganese................................................


CCCC Manufacture of Nutritional Yeast.................                                             X


GGGG Extraction of Vegetable Oil........................                                           X


        VVVV Boat Manufacturing




  1
      Table last updated on April 15, 2002. See 40 CFR 61.04(b)(WW) for agency addresses.

  2
      Any authority within any subpart of this part that is identified as not delegatable, is not delegated.

  3
    Washington State Department of Ecology (03/13/2001 for MM, 02/20/2001 for all others). Note: delegation of subpart M
  applies only to those sources required to obtain an operating permit under Title V of the Clean Air Act.

  4
    Benton Clean Air Agency (02/20/2001). Note: delegation of subpart M applies only to those sources required to obtain
  an operating permit under Title V of the Clean Air Act.

  5
    Northwest Air Pollution Control Agency (07/01/2000). Note: delegation of subpart S applies to all applicable facilities
  and processes except Kraft and Sulfite Pulping Mills (see footnote 12).

  6
     Olympic Air Pollution Control Agency (07/01/2000). Note: delegation of subpart M applies only to those sources
  required to obtain an operating permit under Title V of the Clean Air Act; delegation of subpart S applies to all applicable
  facilities and processes except Kraft and Sulfite Pulping Mills (see footnote 12).

  7
    Puget Sound Clean Air Agency (07/01/2001). Note: delegation of subpart S applies to all applicable facilities and
  processes except Kraft and Sulfite Pulping Mills (see footnote 12). For information about delegation of subpart M, see
  paragraph (a)(48)(ii) of this section.

  8
    Spokane County Air Pollution Control Agency (02/20/2001). Note: delegation of subpart M applies only to those
  sources required to obtain an operating permit under Title V of the Clean Air Act; delegation of subpart S applies to all
  applicable facilities and processes except Kraft and Sulfite Pulping Mills (see footnote 12).

  9
    Southwest Clean Air Agency (08/01/1998). Note: delegation of subpart S applies to all applicable facilities and
  processes except Kraft and Sulfite Pulping Mills (see footnote 12).



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 10
     Yakima Regional Clean Air Authority (07/01/2000). Note: delegation of subpart M applies only to those sources
 required to obtain an operating permit under Title V of the Clean Air Act; delegation of subpart S applies to all applicable
 facilities and processes except Kraft and Sulfite Pulping Mills (see footnote 12).

 11
     General Provisions Authorities which are not delegated include approval of major alternatives to test methods, approval
 of major alternatives to monitoring, and any sections in the subparts pertaining to approval of alternative standards (i.e.,
 alternative means of emission limitations). For definitions of minor, intermediate, and major alternatives to test methods
 and monitoring, see § 63.90.

 12
    Subpart S of this part as it pertains to Kraft and Sulfite Pulping Mills cannot be delegated to any local agencies in
 Washington. The Washington State Department of Ecology retains sole authority to regulate Kraft and Sulfite Pulping
 Mills, pursuant to Washington State Administrative Code 173-405-012 and 173-410-012.

 13
    Subpart LL of this part cannot be delegated to any local agencies in Washington because the Washington State
 Department of Ecology retains sole authority to regulate Primary Aluminum Plants, pursuant to Washington Administrative
 Code 173-415-010.

 14
    Subpart MM of this part cannot be delegated to any local agencies in Washington because the Washington State
 Department of Ecology retains sole authority to regulate Kraft and Sulfite Pulping Mills, pursuant to Washington State
 Administrative Code 173-405-012 and 173-410-012.


      (ii) Affected area sources within Puget Sound Clean Air's jurisdiction must comply with Puget Sound Clean Air's
      Regulation III, sections 3.03, Perchloroethylene Dry Cleaners, (incorporated by reference as specified in 40 CFR 63.14)
      as follows:


          (A) The material incorporated in Puget Sound Clean Air's Regulation III, section 3.03, Perchloroethylene Dry
          Cleaners, pertains to the perchloroethylene dry cleaning source category in the Puget Sound Clean Air jurisdiction,
          and has been approved under the procedures in 40 CFR 63.93 to be implemented and enforced in place of the federal
          NESHAPs for Perchloroethylene Dry Cleaning Facilities (40 CFR part 63, subpart M), for area sources, as defined
          in 40 CFR 63.320(h).


               (1) Authorities not delegated.


               (i) Puget Sound Clean Air is not delegated the authority to implement and enforce Puget Sound Clean Air
               Regulation III, sections 3.03 in lieu of those provisions of Subpart M which applies to major sources, as defined
               in 40 CFR 63.320(g). Dry cleaning facilities which are major sources remain subject to subpart M.


               (ii) Puget Sound Clean Air is not delegated the authority of 40 CFR 63.325 to determine equivalency of emissions
               control technologies. Any source seeking permission to use an alternative means of emission limitation under
               Puget Sound Clean Air Regulation I, section 3.23 must also receive approval from the Administrator before
               using such alternative means of emission limitation for the purpose of complying with section 112.


          (B) [Reserved]




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Note to paragraph (a)(48): Dates in parenthesis indicate the effective date of the federal rules that have been adopted by and
delegated to the state or local air pollution control agency. Therefore, any amendments made to these delegated rules after this
effective date are not delegated to the agency.


     (49) West Virginia.


     (i) West Virginia is delegated the authority to implement and enforce all existing and future unchanged 40 CFR part 63
     standards at major sources, as defined in 40 CFR part 70, in accordance with the delegation agreement between EPA Region
     III and the West Virginia Department of Environmental Protection, dated March 19, 2001, and any mutually acceptable
     amendments to that agreement.


     (ii) West Virginia is delegated the authority to implement and enforce all existing 40 CFR part 63 standards and all future
     unchanged 40 CFR part 63 standards, if delegation is sought by the West Virginia Department of Environmental Protection
     and approved by EPA Region III, at affected sources which are not located at major sources, as defined in 40 CFR part 70,
     in accordance with the final rule, dated April 2, 2002, effective June 3, 2002, and any mutually acceptable amendments
     to the terms described in the direct final rule.


Credits
[61 FR 25399, May 21, 1996; 62 FR 65024, Dec. 10, 1997; 63 FR 26466, May 13, 1998; 63 FR 28909, May 27, 1998; 63 FR
38480, July 17, 1998; 63 FR 63993, Nov. 18, 1998; 63 FR 66061, Dec. 1, 1998; 64 FR 4300, Jan. 28, 1999; 64 FR 12766,
March 15, 1999; 64 FR 19721, April 22, 1999; 64 FR 24291, May 6, 1999; 64 FR 34563, June 28, 1999; 64 FR 42764, Aug. 5,
1999; 65 FR 10395, Feb. 28, 2000; 65 FR 11233, March 2, 2000; 66 FR 1591, Jan. 9, 2001; 66 FR 14324, March 12, 2001; 66
FR 27034, May 16, 2001; 66 FR 30822, June 8, 2001; 66 FR 35087, July 3, 2001; 66 FR 47583, Sept. 13, 2001; 66 FR 48218,
Sept. 19, 2001; 66 FR 50124, Oct. 2, 2001; 66 FR 57670, Nov. 16, 2001; 66 FR 66324, Dec. 26, 2001; 67 FR 828, Jan. 8, 2002;
67 FR 3112, Jan. 23, 2002; 67 FR 4185, Jan. 29, 2002; 67 FR 4363, 4367, Jan. 30, 2002; 67 FR 11423, March 14, 2002; 67 FR
15489, April 2, 2002; 67 FR 39627, June 10, 2002; 67 FR 46398, July 15, 2002; 67 FR 58342, Sept. 16, 2002; 67 FR 59005,
Sept. 19, 2002; 68 FR 31615, May 28, 2003; 68 FR 51194, Aug. 26, 2003; 68 FR 69044, Dec. 11, 2003; 68 FR 70728, Dec.
19, 2003; 69 FR 7375, Feb. 17, 2004; 69 FR 15693, March 26, 2004; 69 FR 19110, April 12, 2004; 69 FR 19946, April 15,
2004; 69 FR 31744, June 7, 2004; 69 FR 41761, July 12, 2004; 69 FR 55762, Sept. 16, 2004; 69 FR 63456, Nov. 2, 2004; 69
FR 74984, Dec. 15, 2004; 70 FR 13114, March 18, 2005; 70 FR 39428, July 8, 2005; 70 FR 73146, Dec. 9, 2005; 70 FR 73602,
Dec. 13, 2005; 71 FR 19127, April 13, 2006; 71 FR 19656, April 17, 2006; 71 FR 20900, April 24, 2006; 71 FR 25757, May
2, 2006; 71 FR 36681, June 28, 2006; 71 FR 68750, Nov. 28, 2006; 72 FR 25982, 25984, May 8, 2007; 73 FR 18170, April 3,
2008; 73 FR 47548, Aug. 14, 2008; 74 FR 12593, March 25, 2009; 74 FR 22439, May 13, 2009; 74 FR 61043, Nov. 23, 2009;
74 FR 63616, Dec. 4, 2009; 75 FR 8809, Feb. 26, 2010; 75 FR 19258, April 14, 2010; 75 FR 34653, June 18, 2010; 75 FR
67627, Nov. 3, 2010; 76 FR 14810, March 18, 2011; 76 FR 18066, April 1, 2011; 76 FR 30550, May 26, 2011; 77 FR 11391,
Feb. 27, 2012; 77 FR 41078, July 12, 2012; 78 FR 2338, Jan. 11, 2013; 78 FR 20247, April 4, 2013; 78 FR 79319, Dec. 30,
2013; 79 FR 67077, Nov. 12, 2014; 79 FR 70106, Nov. 25, 2014; 80 FR 5480, Feb. 2, 2015; 80 FR 8804, Feb. 19, 2015; 80
FR 9619, Feb. 24, 2015; 80 FR 9626, Feb. 24, 2015; 80 FR 22115, April 21, 2015; 82 FR 21935, May 11, 2017; 82 FR 29435,
June 29, 2017; 83 FR 1562, Jan. 12, 2018; 83 FR 9218, March 5, 2018; 83 FR 15969, April 13, 2018; 83 FR 25936, June 5,
2018; 83 FR 46112, Sept. 12, 2018; 83 FR 48256, Sept. 24, 2018; 83 FR 53187, Oct. 22, 2018; 84 FR 3112, Feb. 11, 2019; 84
FR 7827, March 5, 2019; 84 FR 8260, March 7, 2019; 85 FR 8759, Feb. 18, 2020; 85 FR 57744, Sept. 16, 2020; 87 FR 43417,
July 21, 2022; 87 FR 52696, Aug. 29, 2022; 88 FR 60346, Sept. 1, 2023; 89 FR 45772, May 24, 2024]


SOURCE: 57 FR 61992, Dec. 29, 1992; 58 FR 62283, Nov. 26, 1993, unless otherwise noted.




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AUTHORITY: 42 U.S.C. 7401 et seq.



Notes of Decisions (4)

Current through October 25, 2024, 89 FR 85420. Some sections may be more current. See credits for details.




                                                         Footnotes


1      State program approved on October 29, 2001. Table last updated on October 5, 2008.

2      Alabama Department of Environmental Management.

3      Jefferson County Department of Health.

4      Huntsville Department of Natural Resources.

1      Authorities which are not delegated include: 40 CFR 63.6(g); 63.6(h)(9); 63.7(e)(2)(ii) and (f) for approval of major
       alternatives to test methods; 63.8(f) for approval of major alternatives to monitoring; 63.10(f); and all authorities
       identified in the subparts (i.e., under “Delegation of Authority”) that cannot be delegated. For definitions of minor,
       intermediate, and major alternatives to test methods and monitoring, see memorandum from John Seitz, Office of Air
       Quality Planning and Standards, dated July, 10, 1998, entitled, “Delegation of 40 CFR Part 63 General Provisions
       Authorities to State and Local Air Pollution Control Agencies.”

2      Alaska received delegation for Subpart N (Chromium Electroplating) as it applies to sources required to obtain an
       operating permit under Alaska's regulations. EPA retains the authority for implementing and enforcing Subpart N for
       area source chromium electroplating and anodizing operations which have been exempted from Part 70 permitting in
       40 CFR 63.340(e)(1).

1      Arizona Department of Environmental Quality.

2      Maricopa County Air Quality Department.

3      Pima County Department of Environmental Quality.

4      Pinal County Air Quality Control District.

5      Gila River Indian Community Department of Environmental Quality. This table includes the GRIC DEQ only for
       purposes of identifying all state, local, and tribal agencies responsible for implementing part 63 standards within the
       geographical boundaries of the State of Arizona and does not establish any state regulatory authority in Indian country.

1      Program delegated to Arkansas Department of Energy and Environment, Division of Environmental Quality (DEQ).

2      Authorities which may not be delegated include: § 63.6(g), Approval of Alternative Non-Opacity Emission Standards;
       § 63.6(h)(9), Approval of Alternative Opacity Standards; § 63.7(e)(2)(ii) and (f), Approval of Major Alternatives to
       Test Methods; § 63.8(f), Approval of Major Alternatives to Monitoring; § 63.10(f), Approval of Major Alternatives to
       Recordkeeping and Reporting; and all authorities identified in the subparts (e.g., under “Delegation of Authority”) that
       cannot be delegated.




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3      This subpart was vacated and remanded to EPA by the United States Court of Appeals for the District of Columbia
       Circuit. See, Mossville Environmental Action Network v. EPA, 370 F. 3d 1232 (D.C. Cir. 2004). Because of the DC
       Court's holding, this subpart is not delegated to DEQ at this time.

4      This subpart was issued a partial vacatur on October 29, 2007 (72 FR 61060), by the United States Court of Appeals
       for the District of Columbia Circuit.

5      Final rule. See 76 FR 15608 (March 21, 2011), as amended at 78 FR 7138 (January 31, 2013); 80 FR 72807 (November
       20, 2015).

6      Final promulgated rule adopted by the EPA. See 80 FR 65470 (October 26, 2015). Note that subpart KKKKK of this
       part was amended in response to a petition for reconsideration of the final rule. See 84 FR 58601 (November 1, 2019).

7      Initial final rule. See 77 FR 9304 (February 16, 2012), as amended 81 FR 20172 (April 6, 2016). Final supplemental
       finding that it is appropriate and necessary to regulate hazardous air pollutant (HAP) emissions from coal- and oil-fired
       electric utility steam generating units (EUSGU). See 81 FR 24420 (April 25, 2016).

1      State program approved on October 1, 2001. Delegation table last updated on December 19, 2008.

1      State program approved on June 8, 2000. Delegation table last updated on September 15, 2008.

1      Delegation is for major sources only and subject to all federal law, regulations, policy and guidance.

1      State program approved on October 31, 2001. Delegation table last updated on April 1, 2009.

2      Kentucky Department for Environmental Protection.

3      Louisville Air Pollution Control District.

1      Authorities which may not be delegated include: § 63.6(g), Approval of Alternative Non-Opacity Emission Standards;
       § 63.6(h)(9), Approval of Alternative Opacity Standards; § 63.7(e)(2)(ii) and (f), Approval of Major Alternatives to
       Test Methods; § 63.8(f), Approval of Major Alternatives to Monitoring; § 63.10(f), Approval of Major Alternatives to
       Recordkeeping and Reporting; and all authorities identified in the subparts (e.g., under “Delegation of Authority”) that
       cannot be delegated.

2      Program delegated to Louisiana Department of Environmental Quality (LDEQ) for standards promulgated by EPA, as
       amended in the Federal Register through July 1, 2013.

3      The LDEQ was previously delegated this subpart on March 26, 2004 (69 FR 15687). The LDEQ has adopted the subpart
       unchanged and applied for delegation of the standard. The subpart was vacated and remanded to EPA by the United
       States Court of Appeals for the District of Columbia Circuit. See, Mossville Environmental Action Network v. EPA,
       370 F. 3d 1232 (D.C. Cir. 2004). Because of the D.C. Court's holding this subpart is not delegated to LDEQ at this time.

4      This subpart was issued a partial vacatur on October 29, 2007 (72 FR 61060) by the United States Court of Appeals
       for the District of Columbia Circuit.

5      Final rule. See 78 FR 7138 (January 31, 2013).

6      This subpart was vacated and remanded to EPA by the United States Court of Appeals for the District of Columbia
       Circuit on March 13, 2007. See, Sierra Club v. EPA, 479 F. 3d 875 (D.C. Cir. 2007). Because of the D.C. Court's holding
       this subpart is not delegated to LDEQ at this time.




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7      Initial Final Rule on February 16, 2012 (77 FR 9304). Final on reconsideration of certain new source issues on April
       24, 2013 (78 FR 24073). Portions of this subpart are in proposed reconsideration pending final action on June 25, 2013
       (78 FR 38001).

1      State program approved on December 28, 1994. Delegation table last updated on November 3, 2008.

1      Nevada Division of Environmental Protection.

2      Washoe County District Health Department, Air Quality Management Division.

3      Clark County, Department of Air Quality.

1      Authorities which may not be delegated include: § 63.6(g), Approval of Alternative Non-Opacity Emission Standards;
       § 63.6(h)(9), Approval of Alternative Opacity Standards; § 63.7(e)(2)(ii) and (f), Approval of Major Alternatives to
       Test Methods; § 63.8(f), Approval of Major Alternatives to Monitoring; § 63.10(f), Approval of Major Alternatives to
       Recordkeeping and Reporting; and all authorities identified in the subparts (e.g., under “Delegation of Authority”) that
       cannot be delegated.

2      Program delegated to New Mexico Environment Department (NMED) for standards promulgated by the EPA, as
       amended in the Federal Register through January 15, 2017.

3      Program delegated to Albuquerque-Bernalillo County Air Quality Control Board (ABCAQCB) for standards
       promulgated by the EPA, as amended in the Federal Register through January 23, 2017.

4      The NMED was previously delegated this subpart on February 9, 2004 (68 FR 69036). The ABCAQCB has adopted
       the subpart unchanged and applied for delegation of the standard. The subpart was vacated and remanded to the EPA by
       the United States Court of Appeals for the District of Columbia Circuit. See Mossville Environmental Action Network
       v. EPA, 370 F. 3d 1232 (D.C. Cir. 2004). Because of the D.C. Court's holding this subpart is not delegated to NMED
       or ABCAQCB at this time.

5      This subpart was issued a partial vacatur by the United States Court of Appeals for the District of Columbia Circuit.
       See 72 FR 61060 (October 29, 2007).

6      Final Rule. See 76 FR (March 21, 2011), as amended at 78 FR 7138 (January 31, 2013); 80 FR 72807 (November 20,
       2015).

7      Final promulgated rule adopted by the EPA. See 80 FR 65470 (October 26, 2015). Note that Part 63 Subpart KKKKK
       was amended to correct minor typographical errors. See 80 FR 75817 (December 4, 2015).

8      Final Rule. See 77 FR 9304 (February 16, 2012), as amended 81 FR 20172 (April 6, 2016). Final Supplemental Finding
       that it is appropriate and necessary to regulate HAP emissions from Coal-and Oil-fired EUSGU Units. See 81 FR 24420
       (April 25, 2016).

1      State program approved on August 31, 2001. Delegation table last updated on February 23, 2009.

2      Forsyth County Environmental Affairs Department.

3      Mecklenburg County Department of Environmental Protection.

4      Western North Carolina Regional Air Quality Agency.

1      Program delegated to Oklahoma Department of Environmental Quality (ODEQ).




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2      Authorities which may not be delegated include: § 63.6(g), Approval of Alternative Non-Opacity Emission Standards;
       § 63.6(h)(9), Approval of Alternative Opacity Standards; § 63.7(e)(2)(ii) and (f), Approval of Major Alternatives to
       Test Methods; § 63.8(f), Approval of Major Alternatives to Monitoring; § 63.10(f), Approval of Major Alternatives to
       Recordkeeping and Reporting; and all authorities identified in the subparts (e.g., under “Delegation of Authority”) that
       cannot be delegated.

3      The ODEQ has adopted this subpart unchanged and applied for delegation of the standard. The subpart was vacated
       and remanded to the EPA by the United States Court of Appeals for the District of Columbia Circuit. See, Mossville
       Environmental Action Network v. EPA, 370 F. 3d 1232 (D.C. Cir. 2004). Because of the D.C. Court's holding, this
       subpart is not delegated to ODEQ at this time.

4      This subpart was issued a partial vacatur by the United States Court of Appeals for the District of Columbia Circuit.
       See 72 FR 61060 (October 29, 2007).

5      Final rule. See 76 FR 15608 (March 21, 2011), as amended at 78 FR 7138 (January 31, 2013); 80 FR 72807 (November
       20, 2015).

6      Final promulgated rule adopted by the EPA. See 80 FR 65470 (October 26, 2015). Part 63 Subpart KKKKK was amended
       to correct minor typographical errors at 80 FR 75817 (December 4, 2015).

7      Final Rule. See 77 FR 9304 (February 16, 2012), as amended 81 FR 20172 (April 6, 2016). Final Supplemental Finding
       that it is appropriate and necessary to regulate HAP emissions from Coal- and Oil-fired EUSGU Units. See 81 FR 24420
       (April 25, 2016).

1      Table last updated on August 9, 2002; see 40 CFR 61.04(b)(WW) for agency addresses.

2      Any authority within any subpart of this part (i.e. under “Delegation of Authority”) that is identified as not delegatable,
       is not delegated.

3      Oregon Department of Environmental Quality (07/01/2001).

4      Lane Region Air Pollution Authority (07/01/2001).

5      General Provisions Authorities which may not be delegated include: §§ 63.6(g); 63.6(h)(9); 63.7(e)(2)(ii) and (f) for
       approval of major alternatives to test methods; § 63.9(f) for approval of major alternatives to monitoring. For definitions
       of minor, intermediate, and major alternatives to test methods and monitoring, see 40 CFR 63.90.

1      State program approved on June 26, 1995. Delegation table last updated on February 23, 2009.

1      Program delegated to the Texas Commission on Environmental Quality (TCEQ).

2      Authorities which may not be delegated include: § 63.6(g), Approval of Alternative Non-Opacity Emission Standards;
       § 63.6(h)(9), Approval of Alternative Opacity Standards; § 63.7(e)(2)(ii) and (f), Approval of Major Alternatives to
       Test Methods; § 63.8(f), Approval of Major Alternatives to Monitoring; § 63.10(f), Approval of Major Alternatives to
       Recordkeeping and Reporting; and all authorities identified in the subparts (e.g., under “Delegation of Authority”) that
       cannot be delegated.

3      TCEQ was previously delegated this subpart on May 17, 2005 (70 FR 13018). The subpart was vacated and remanded
       to the EPA by the United States Court of Appeals for the District of Columbia Circuit. See, Mossville Environmental
       Action Network v. EPA, 370 F. 3d 1232 (DC Cir. 2004). Because of the DC Court's holding, this subpart is not delegated
       to TCEQ at this time.




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4      This subpart was issued a partial vacatur by the United States Court of Appeals for the District of Columbia Circuit.
       See 72 FR 61060 (October 29, 2007).

5      Final rule. See 76 FR 15608 (March 21, 2011), as amended at 78 FR 7138 (January 31, 2013); 80 FR 72807 (November
       20, 2015).

6      Final promulgated rule adopted by the EPA. See 80 FR 65470 (October 26, 2015). Note that Part 63 Subpart KKKKK
       was amended to correct minor typographical errors. See 80 FR 75817 (December 4, 2015).

7      Final Rule. See 77 FR 9304 (February 16, 2012), as amended 81 FR 20172 (April 6, 2016). Final Supplemental Finding
       that it is appropriate and necessary to regulate HAP emissions from Coal- and Oil-fired EUSGU Units. See 81 FR 24420
       (April 25, 2016).


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§ 63.481 Compliance dates and relationship of this subpart to..., 40 C.F.R. § 63.481




  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter C. Air Programs
            Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
               Subpart U. National Emission Standards for Hazardous Air Pollutant Emissions: Group I Polymers and Resins
               (Refs & Annos)

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                    § 63.481 Compliance dates and relationship of this subpart to existing applicable rules.

                                                     Effective: July 15, 2024
                                                           Currentness


(a) Affected sources are required to achieve compliance on or before the dates specified in paragraphs (b) through (d) of this
section and paragraphs (n) and (o) of this section. Paragraph (e) of this section provides information on requesting compliance
extensions. Paragraphs (f) through (l) of this section discuss the relationship of this subpart to subpart A and to other applicable
rules. Where an override of another authority of the Act is indicated in this subpart, only compliance with the provisions of this
subpart is required. Paragraph (m) of this section specifies the meaning of time periods.


(b) Except as specified in paragraphs (n) and (o) of this section, new affected sources that commence construction or
reconstruction after June 12, 1995 shall be in compliance with this subpart upon initial start-up or by June 19, 2000, whichever
is later.


(c) With the exceptions provided in paragraphs (c)(1) through (3) of this section and paragraphs (n) and (o) of this section,
existing affected sources shall be in compliance with this subpart no later than June 19, 2001, as provided in § 63.6(c), unless
an extension has been granted as specified in paragraph (e) of this section.


     (1) Existing affected sources producing epichlorohydrin elastomer, butyl rubber, neoprene rubber, and nitrile butadiene
     rubber shall be in compliance with the applicable emission limitation in § 63.494(a)(4) no later than April 23, 2012.


     (2) Existing affected sources producing butyl rubber and ethylene propylene rubber shall be in compliance with § 63.485(q)
     (1) no later than April 23, 2012.


     (3) Compliance with § 63.502 is covered by paragraph (d) of this section.


(d) Except as provided for in paragraphs (d)(1) through (d)(6) of this section, and paragraphs (n) and (o) of this section, existing
affected sources shall be in compliance with § 63.502 no later than July 31, 1997, unless an extension has been granted pursuant
to paragraph (e) of this section.




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    (1) Compliance with the compressor provisions of § 63.164 shall occur no later than September 5, 1997 for any compressor
    meeting one or more of the criteria in paragraphs (d)(1)(i) through (d)(1)(iv) of this section, if the work can be accomplished
    without a process unit shutdown, as defined in § 63.161.


    (i) The seal system will be replaced;


    (ii) A barrier fluid system will be installed;


    (iii) A new barrier fluid will be utilized which requires changes to the existing barrier fluid system; or


    (iv) The compressor will be modified to permit connecting the compressor to a fuel gas system or closed vent system, or
    be modified so that emissions from the compressor can be routed to a process.


    (2) Compliance with the compressor provisions of § 63.164 shall occur no later than March 5, 1998, for any compressor
    meeting all the criteria in paragraphs (d)(2)(i) through (d)(2)(iv) of this section.


    (i) The compressor meets one or more of the criteria specified in paragraphs (d)(1)(i) through (d)(1)(iv) of this section;


    (ii) The work can be accomplished without a process unit shutdown as defined in § 63.161;


    (iii) The additional time is actually necessary, due to the unavailability of parts beyond the control of the owner or operator;
    and


    (iv) The owner or operator submits the request for a compliance extension to the appropriate U.S. Environmental Protection
    Agency (EPA) Regional Office at the address listed in § 63.13 no later than 45 days before the compliance date. The
    request for a compliance extension shall contain the information specified in § 63.6(i)(6)(i)(A), (B), and (D). Unless the
    EPA Regional Office objects to the request for a compliance extension within 30 days after receipt of the request, the
    request shall be deemed approved.


    (3) If compliance with the compressor provisions of § 63.164 cannot reasonably be achieved without a process unit
    shutdown, the owner or operator shall achieve compliance no later than September 5, 1998. The owner or operator who
    elects to use this provision shall submit a request for an extension of compliance in accordance with the requirements of
    paragraph (d)(2)(iv) of this section.


    (4) Compliance with the compressor provisions of § 63.164 shall occur no later than September 5, 1999 for any compressor
    meeting one or more of the criteria in paragraphs (d)(4)(i) through (d)(4)(iii) of this section. The owner or operator who
    elects to use these provisions shall submit a request for an extension of compliance in accordance with the requirements
    of paragraph (d)(2)(iv) of this section.


    (i) Compliance cannot be achieved without replacing the compressor;


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     (ii) Compliance cannot be achieved without recasting the distance piece; or


     (iii) Design modifications are required to connect to a closed-vent or recovery system.


     (5) Compliance with the surge control vessel and bottoms receiver provisions of § 63.170 shall occur no later than June
     19, 2001.


     (6) Compliance with the heat exchange system provisions of § 63.104 shall occur no later than June 19, 2001.


(e) Pursuant to section 112(i)(3)(B) of the Act, an owner or operator may request an extension allowing the existing affected
source up to 1 additional year to comply with section 112(d) standards. For purposes of this subpart, a request for an extension
shall be submitted to the permitting authority as part of the operating permit application, or to the Administrator as a separate
submittal or as part of the Precompliance Report. Requests for extensions shall be submitted no later than 120 days prior to
the compliance dates specified in paragraphs (b) through (d) of this section, or as specified elsewhere in this subpart, except
as provided in paragraph (e)(3) of this section. The dates specified in § 63.6(i) for submittal of requests for extensions shall
not apply to this subpart.


     (1) A request for an extension of compliance shall include the data described in § 63.6(i)(6)(i)(A), (B), and (D).


     (2) The requirements in §§ 63.6(i)(8) through 63.6(i)(14) shall govern the review and approval of requests for extensions
     of compliance with this subpart.


     (3) An owner or operator may submit a compliance extension request after the date specified in paragraph (e) of this
     section, provided that the need for the compliance extension arose after that date, and the need arose due to circumstances
     beyond reasonable control of the owner or operator. This request shall include, in addition to the information specified
     in paragraph (e)(1) of this section, a statement of the reasons additional time is needed and the date when the owner or
     operator first learned of the circumstances necessitating a request for a compliance extension under this paragraph (e)(3).


(f) Table 1 of this subpart specifies the provisions of subpart A that apply and those that do not apply to owners and operators
of affected sources subject to this subpart. For the purposes of this subpart, Table 3 of subpart F is not applicable.


(g) Table 2 of this subpart summarizes the provisions of subparts F, G, and H that apply and those that do not apply to owners
and operators of affected sources subject to this subpart.


(h)(1) After the compliance dates specified in this section, an affected source subject to this subpart that is also subject to the
provisions of 40 CFR part 63, subpart I, is required to comply only with the provisions of this subpart.


     (2) Sources subject to 40 CFR part 63, subpart I that have elected to comply through a quality improvement program,
     as specified in § 63.175 or § 63.176 or both, may elect to continue these programs without interruption as a means of



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     complying with this subpart. In other words, becoming subject to this subpart does not restart or reset the “compliance
     clock” as it relates to reduced burden earned through a quality improvement program.


(i) After the compliance dates specified in this section, a storage vessel that is assigned to an affected source subject to this
subpart and that is also subject to the provisions of 40 CFR part 60, subpart Kb is required to comply only with the provisions
of this subpart. After the compliance dates specified in this section, that storage vessel shall no longer be subject to 40 CFR
part 60, subpart Kb.


(j) After the compliance dates specified in this section, an affected source subject to this subpart that is also subject to the
provisions of 40 CFR part 60, subpart VV, is required to comply only with the provisions of this subpart. After the compliance
dates specified in this section, the source shall no longer be subject to 40 CFR part 60, subpart VV.


(k) Applicability of other regulations for monitoring, recordkeeping or reporting with respect to combustion devices, recovery
devices, or recapture devices.


     (1) After the compliance dates specified in this subpart, if any combustion device, recovery device or recapture device
     subject to this subpart is also subject to monitoring, recordkeeping, and reporting requirements in 40 CFR part 264 subpart
     AA or CC, or is subject to monitoring and recordkeeping requirements in 40 CFR part 265 subpart AA or CC and the
     owner or operator complies with the periodic reporting requirements under 40 CFR part 264 subpart AA or CC that would
     apply to the device if the facility had final-permitted status, the owner or operator may elect to comply either with the
     monitoring, recordkeeping and reporting requirements of this subpart, or with the monitoring, recordkeeping and reporting
     requirements in 40 CFR parts 264 and/or 265, as described in this paragraph, which shall constitute compliance with the
     monitoring, recordkeeping and reporting requirements of this subpart. The owner or operator shall identify which option
     has been selected in the Notification of Compliance Status required by § 63.506(e)(5).


     (2) Owners and operators of flares that are subject to the flare related requirements of this subpart and are also subject
     to flare related requirements of any other regulation in this part or 40 CFR part 61 or 63, may elect to comply with the
     requirements in § 63.508 in lieu of all flare related requirements in any other regulation in this part or 40 CFR part 61 or 63.


(l) Applicability of other requirements for heat exchange systems or waste management units. Paragraphs (l)(1) and (l)(2) of this
section address instances in which certain requirements from other regulations also apply for the same heat exchange system(s)
or waste management unit(s) that are subject to this subpart.


     (1) After the applicable compliance date specified in this subpart, if a heat exchange system subject to this subpart is also
     subject to a standard identified in paragraphs (l)(1)(i) or (ii) of this section, compliance with the applicable provisions of the
     standard identified in paragraphs (l)(1)(i) or (ii) of this section shall constitute compliance with the applicable provisions
     of this subpart with respect to that heat exchange system.


     (i) Subpart F of this part.


     (ii) A subpart of this part which requires compliance with § 63.104 (e.g., subpart JJJ of this part).




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     (2) After the applicable compliance date specified in this subpart, if any waste management unit subject to this subpart is
     also subject to a standard identified in paragraph (l)(2)(i) or (ii) of this section, compliance with the applicable provisions of
     the standard identified in paragraph (l)(2)(i) or (ii) of this section shall constitute compliance with the applicable provisions
     of this subpart with respect to that waste management unit.


     (i) Subpart G of this part.


     (ii) A subpart of this part which requires compliance with §§ 63.132 through 63.147 (e.g., subpart JJJ of this part).


(m) All terms in this subpart that define a period of time for completion of required tasks (e.g., monthly, quarterly, annual),
unless specified otherwise in the section or paragraph that imposes the requirement, refer to the standard calendar periods.


     (1) Notwithstanding time periods specified in this subpart for completion of required tasks, such time periods may be
     changed by mutual agreement between the owner or operator and the Administrator, as specified in subpart A of this part
     (e.g., a period could begin on the compliance date or another date, rather than on the first day of the standard calendar
     period). For each time period that is changed by agreement, the revised period shall remain in effect until it is changed.
     A new request is not necessary for each recurring period.


     (2) Where the period specified for compliance is a standard calendar period, if the initial compliance date occurs after the
     beginning of the period, compliance shall be required according to the schedule specified in paragraphs (m)(2)(i) or (m)
     (2)(ii) of this section, as appropriate.


     (i) Compliance shall be required before the end of the standard calendar period within which the compliance deadline
     occurs, if there remain at least 2 weeks for tasks that shall be performed monthly, at least 1 month for tasks that shall be
     performed each quarter, or at least 3 months for tasks that shall be performed annually; or


     (ii) In all other cases, compliance shall be required before the end of the first full standard calendar period after the period
     within which the initial compliance deadline occurs.


     (3) In all instances where a provision of this subpart requires completion of a task during each of multiple successive
     periods, an owner or operator may perform the required task at any time during the specified period, provided that the task
     is conducted at a reasonable interval after completion of the task during the previous period.


(n) All affected sources that commenced construction or reconstruction on or before April 25, 2023, must be in compliance with
the requirements listed in paragraphs (n)(1) through (9) of this section upon initial startup or on July 15, 2027, whichever is
later. All affected sources that commenced construction or reconstruction after April 25, 2023, must be in compliance with the
requirements listed in paragraphs (n)(1) through (9) of this section upon initial startup, or on July 15, 2024, whichever is later.


     (1) The general requirements specified in § 63.483(e), § 63.504(a), § 63.504(a)(1)(iii), and § 63.506(e)(6)(iii)(C).


     (2) For flares, the requirements specified in § 63.508.


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     (3) For storage vessels, the requirements specified in § 63.484(t) and § 63.506(e)(4)(ii)(F)(6).


     (4) For continuous front-end process vents, the requirements specified in §§ 63.485(l)(6), (o)(6), (p)(5), (q)(1)(vii), (x), §
     63.503(g)(2)(iii)(B)(4), and § 63.506(e)(4)(ii)(F)(6).


     (5) For batch front-end process vents, the requirements specified in §§ 63.487(a)(3), (b)(3), and (e)(1)(iv) and (i), §§
     63.488(d)(2), (e)(4), (f)(2), and (g)(3), §§ 63.489(b)(10) and (d)(3), §§ 63.491(d)(1)(iii), (e)(6), and (h), § 63.492(g), and
     Table 6 to this subpart, item 3 in column 3 for diversion to the atmosphere and monthly inspections of sealed valves for
     all control devices.


     (6) For back-end processes, the requirements specified in §§ 63.497(a)(8) and (d)(3), and § 63.498(d)(5)(v).


     (7) For wastewater, the requirements specified in §§ 63.501(d), (e), and (f).


     (8) For equipment leaks, the requirements specified in §§ 63.502(a)(2) and (k)(2).


     (9) For heat exchange systems, the requirements specified in §§ 63.502(n)(7) and (n)(8).


(o) All affected sources that commenced construction or reconstruction on or before April 25, 2023, must be in compliance with
the chloroprene requirements in §§ 63.484(u), 63.485(y) and (z), 63.487(j), 63.494(a)(7), 63.501(a)(10)(iv), 63.502(a)(3) and
(a)(7), 63.509, and 63.510 upon initial startup or on October 15, 2024, whichever is later. All affected sources that commenced
construction or reconstruction after April 25, 2023, must be in compliance with the chloroprene requirements in §§ 63.484(u),
63.485(x) and (z), 63.487(j), 63.494(a)(7), § 63.501(a)(10)(iv), 63.502(q), 63.502(a)(3) and (a)(7), 63.509, and 63.510 upon
initial startup, or on July 15, 2024, whichever is later.


(p) The compliance schedule for fenceline monitoring is specified in paragraphs (p)(1) and (2) of this section.


     (1) Except as specified in paragraph (p)(2) of this section, all affected sources that commenced construction or
     reconstruction on or before April 25, 2023, must commence fenceline monitoring according to the requirements in §
     63.502(a)(4) by no later than July 15, 2026, however requirements for corrective actions are not required until on or
     after July 15, 2027. All affected sources that commenced construction or reconstruction after April 25, 2023, must be in
     compliance with the fenceline monitoring requirements listed in § 63.502(a)(4) upon initial startup, or on July 15, 2024,
     whichever is later.


     (2) For affected sources producing neoprene, the compliance schedule specified in paragraph (p)(1) of this section does
     not apply for chloroprene. Instead, all affected sources producing neoprene that commenced construction or reconstruction
     on or before April 25, 2023, must be in compliance with the fenceline monitoring requirements for chloroprene listed in
     § 63.502(a)(4) and (a)(7) upon initial startup or on October 15, 2024, whichever is later. All affected sources producing
     neoprene that commenced construction or reconstruction after April 25, 2023, must be in compliance with the fenceline




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    monitoring requirements for chloroprene listed in § 63.502(a)(4) and (a)(7) upon initial startup, or on July 15, 2024,
    whichever is later.


Credits
[62 FR 1837, Jan. 14, 1997; 64 FR 11542, March 9, 1999; 64 FR 35028, June 30, 1999; 65 FR 38042, June 19, 2000; 76 FR
22587, April 21, 2011; 89 FR 43236, May 16, 2024]


SOURCE: 57 FR 61992, Dec. 29, 1992; 61 FR 46924, Sept. 5, 1996, unless otherwise noted.


AUTHORITY: 42 U.S.C. 7401 et seq.


Current through October 25, 2024, 89 FR 85420. Some sections may be more current. See credits for details.

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§ 63.507 Implementation and enforcement., 40 C.F.R. § 63.507




  Code of Federal Regulations
    Title 40. Protection of Environment
      Chapter I. Environmental Protection Agency (Refs & Annos)
         Subchapter C. Air Programs
            Part 63. National Emission Standards for Hazardous Air Pollutants for Source Categories (Refs & Annos)
               Subpart U. National Emission Standards for Hazardous Air Pollutant Emissions: Group I Polymers and Resins
               (Refs & Annos)

                                                       40 C.F.R. § 63.507

                                           § 63.507 Implementation and enforcement.

                                                     Effective: July 15, 2024
                                                           Currentness


(a) This subpart can be implemented and enforced by the U.S. EPA, or a delegated authority such as the applicable State, local,
or Tribal agency. If the U.S. EPA Administrator has delegated authority to a State, local, or Tribal agency, then that agency, in
addition to the U.S. EPA, has the authority to implement and enforce this subpart. Contact the applicable U.S. EPA Regional
Office to find out if this subpart is delegated to a State, local, or Tribal agency.


(b) In delegating implementation and enforcement authority of this subpart to a State, local, or Tribal agency under subpart E
of this part, the authorities contained in paragraph (c) of this section are retained by the Administrator of U.S. EPA and cannot
be transferred to the State, local, or Tribal agency.


(c) The authorities that cannot be delegated to State, local, or Tribal agencies are as specified in paragraphs (c)(1) through (6)
of this section.


     (1) Approval of alternatives to the requirements in §§ 63.480 through 63.481, 63.483(a) through (c), 63.484, 63.485(a)
     through (k), (m) through (s), (u), 63.486 through 63.487, 63.488(a), (b)(1) through (4), (5)(iv) through (v), (6) through (7),
     (c) through (i), 63.493 through 63.494, 63.500(a)(1) through (3), (b), 63.501, 63.502(a) through (f), (i), (k) through (m), and
     63.503. Where these standards reference another subpart, the cited provisions will be delegated according to the delegation
     provisions of the referenced subpart. Where these standards reference another subpart and modify the requirements, the
     requirements shall be modified as described in this subpart. Delegation of the modified requirements will also occur
     according to the delegation provisions of the referenced subpart.


     (2) Approval of major alternatives to test methods under § 63.7(e)(2)(ii) and (f), as defined in § 63.90, and as required
     in this subpart.


     (3) Approval of major alternatives to monitoring under § 63.8(f), as defined in § 63.90, and as required in this subpart.


     (4) Approval of major alternatives to recordkeeping and reporting under § 63.10(f), as defined in § 63.90, and as required
     in this subpart.




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    (5) Approval of an alternative to any electronic reporting to the EPA required by this subpart.


    (6) Approval of an extension request under § 63.6(i)(4)(ii).


Credits
[68 FR 37349, June 23, 2003; 89 FR 43261, May 16, 2024]


SOURCE: 57 FR 61992, Dec. 29, 1992; 61 FR 46924, Sept. 5, 1996, unless otherwise noted.


AUTHORITY: 42 U.S.C. 7401 et seq.


Current through October 25, 2024, 89 FR 85420. Some sections may be more current. See credits for details.

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 42932                  Federal Register/Vol. 89, No. 96/Thursday, May 16, 2024/Rules and Regulations

 ENVIRONMENTAL PROTECTION                      the Federal Register as of July 15, 2024.    reference purposes, the EPA defines the
 AGENCY                                        The incorporation by reference of            following terms and acronyms here:
                                               certain other material listed in the rule    ACS American Community Survey
 40 CFR Parts 60 and 63                        was approved by the Director of the          AERMOD American Meteorological Society/
 [EPA-HQ-OAR-2022--0730; FRL-9327-02-          Federal Register as of October 17, 2000        EPA Regulatory Model dispersion
 OAR]                                          and November 16, 2007.                         modeling system
                                               ADDRESSES: The U.S. Environmental            ANSI American National Standards Institute
  RIN 2060-AV71                                Protection Agency (EPA) has established      APCD air pollution control device
                                               a docket for this action under Docket ID     API American Petroleum Institute
 New Source Performance Standards                                                           ASME American Society of Mechanical
                                               No. EPA-HQ-OAR-2022-0730. All
 for the Synthetic Organic Chemical                                                           Engineers
 Manufacturing Industry and National           documents in the docket are listed on        BACT best available control technology
 Emission Standards for Hazardous Air          the https://www.regulations.gov/             BLR basic liquid epoxy resins
 Pollutants for the Synthetic Organic
                                               website. Although listed, some               BPT benefit per-ton
 Chemical Manufacturing Industry and           information is not publicly available,       BSER best system of emissions reduction
 Group I & II Polymers and Resins
                                               e.g. , Confidential Business Information     BTEX benzene, toluene, ethylbenzene, and
 Industry                                      (CBI) or other information whose               xylenes
                                               disclosure is restricted by statute.         CAA Clean Air Act
 AGENCY: Environmental Protection              Certain other material, such as              CBI confidential business information
 Agency (EPA).                                 copyrighted material, is not placed on       CDX Central Data Exchange
                                                                                            CEDRI Compliance and Emissions Data
 ACTION: Final rule.                           the internet and will be publicly              Reporting Interface
                                               available only in hard copy form.            CFR Code of Federal Regulations
 SUMMARY: This action finalizes                Publicly available docket materials are      CMPU chemical manufacturing process unit
 amendments to the New Source                  available either electronically through      CO carbon monoxide
 Performance Standards (NSPS) that             https://www.regulations.gov/, or in hard     CO2 carbon dioxide
 apply to the Synthetic Organic Chemical       copy at the EPA Docket Center, WJC           CPI consumer price index
 Manufacturing Industry (SOCMI) and            West Building, Room Number 3334,             CRA Congressional Review Act
 amendments to the National Emission           1301 Constitution Ave. NW,                   EAV equivalent annual value
 Standards for Hazardous Air Pollutants        Washington, DC. The Public Reading           ECHO Enforcement and Compliance History
 (NESHAP) that apply to the SOCMI                                                             Online
                                               Room hours of operation are 8:30 a.m.
 (more commonly referred to as the                                                          EFR external floating roof
                                               to 4:30 p.m. Eastern Standard Time,          EIS Emission Information System
 Hazardous Organic NESHAP or HON)              Monday through Friday. The telephone         EPA Environmental Protection Agency
 and Group I and II Polymers and Resins        number for the Public Reading Room is        EPPU elastomer product process unit
 (P&R I and P&R II, respectively)              (202) 566-1744, and the telephone            ERT Electronic Reporting Tool
 Industries. The EPA is finalizing             number for the EPA Docket Center is          EtO ethylene oxide
 decisions resulting from the Agency's         (202) 566-1742.                              FTIR fourier transform infrared
 technology review of the HON and the          FOR FURTHER INFORMATION CONTACT: For
                                                                                            HAP hazardous air pollutant(s)
 P&R I and P&R II NESHAP, and its                                                           HON Hazardous Organic NESHAP
                                               questions about the HON and SOCMI            HQ hazard quotient
 review of the NSPS that apply to the          NSPS, contact U.S. EPA, Attn: Mr.
 SOCMI. The EPA is also finalizing                                                          HQREL hazard quotient reference exposure
                                               Andrew Bouchard, Mail Drop: Sector             level
 amendments to the NSPS for equipment          Policies and Programs Division (E143-        IBR incorporation by reference
 leaks of volatile organic compounds           01), 109 T.W. Alexander Drive, P.O. Box      ICR information collection request
 (VOC) in SOCMI based on its                   12055, RTP, North Carolina 27711;            IFR internal floating roof
 reconsideration of certain issues raised      telephone number: (919) 541-4036; and        IRIS Integrated Risk Information System
 in an administrative petition for             email address: bouchard.andrew@              ISA Integrated Science Assessment
 reconsideration. Furthermore, the EPA         epa.gov. For questions about the P&R I       km kilometer
 is finalizing emission standards for                                                       LAER lowest achievable emissions rate
                                               and P&R II NESHAP, contact U.S. EPA,         lb/hr pound per hour
 ethylene oxide (EtO) emissions and            Attn: Ms. Njeri Moeller, Mail Drop:
 chloroprene emissions after considering                                                    lb/yr pound per year
                                               Sector Policies and Programs Division        LDAR leak detection and repair
 the results of a risk assessment for the      (E143-01), 109 T.W. Alexander Drive,         LDEQ Louisiana Department of
 HON and for Neoprene Production               P.O. Box 12055, RTP, North Carolina            Environmental Quality
 processes subject to the P&R I NESHAP,        27711; telephone number: (919) 541-          LEL lower explosive limit
 and is finalizing a fenceline monitoring      1380; and email address: moeller.njeri@      MACT maximum achievable control
 work practice standard for certain            epa.gov. For specific information              technology
 hazardous air pollutants (HAP). Lastly,       regarding the risk modeling                  MDL method detection limit
 the EPA is finalizing the removal of                                                       MERP monomer emission reduction project
                                               methodology, contact U.S. EPA, Attn:         MIR maximum individual lifetime [cancer]
 exemptions from standards for periods         Mr. Matthew Woody, Mail Drop: Health
 of startup, shutdown, and malfunction                                                        risk
                                               and Environmental Impacts Division           MON Miscellaneous Organic Chemical
 (SSM), adding work practice standards         (C539-02), 109 T.W. Alexander Drive,           Manufacturing NESHAP
 for such periods where appropriate,           P.O. Box 12055, RTP, North Carolina          MTVP maximum true vapor pressure
 finalizing standards for previously           27711; telephone number: (919) 541-          NAICS North American Industry
 unregulated HAP, and adding                   1535; and email address:                       Classification System
 provisions for electronic reporting of        woody.matthew@epa.gov.                       NAAQS National Ambient Air Quality
 performance test reports and periodic         SUPPLEMENTARY INFORMATION:
                                                                                              Standards
 reports.                                                                                   NA TTS National Air Toxic Trends Station
                                                 Preamble acronyms and                      NEI National Emissions Inventory
 DATES: This final rule is effective on July   abbreviations. We use multiple               NESHAP national emission standards for
 15, 2024. The incorporation by reference      acronyms and terms in this preamble.           hazardous air pollutants
 (IBR) of certain publications listed in       While this list may not be exhaustive, to    NOx nitrogen oxides
 the rule is approved by the Director of       ease the reading of this preamble and for    N2O nitrous oxide




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63.139(d)(5) (for HON), and 40 CFR           not receive any comments in opposition          Finally, we are finalizing all of the
63.484(t), 40 CFR 63.485(x), and 40 CFR      of these amendments.                         revisions that we proposed for clarifying
63.489(b)(10) (for the P&R I NESHAP)            In addition, we are finalizing, as        text or correcting typographical errors,
for owners or operators using adsorbers      proposed, the requirement in the HON         grammatical errors, and cross-reference
that cannot be regenerated and               and the P&R I and P&R II NESHAP, and         errors. These editorial corrections and
regenerative adsorbers that are              NSPS subparts Illa, NNNa, and RRRa to        clarifications are discussed in section
regenerated offsite to use dual (two or      conduct subsequent performance testing       III.E.5.f of the proposal preamble (see 88
more) adsorbent beds in series and           on non-flare control devices no later        FR 25080, April 25, 2023). We are also
conduct monitoring of HAP or TDC on          than 60 calendar months after the            including several additional minor
the outlet of the first adsorber bed in      previous performance test. The               clarifying edits in the final rule based on
series using a sample port and a             comments and our specific response to        comments received during the public
portable analyzer or chromatographic         this item can be found in the document       comment period. The comments and
analysis. However, we have clarified in      titled Summary of Public Comments            our specific responses to these items can
the proposed rule text in this final         and Responses for New Source                 be found in the document titled
action that the monitoring plan              Performance Standards for the                Summary of Public Comments and
provisions in 40 CFR 63.120(d)(2) and        Synthetic Organic Chemical                   Responses for New Source Performance
(3) do not apply to HON sources subject      Manufacturing Industry and National          Standards for the Synthetic Organic
to the monitoring provisions in 40 CFR       Emission Standards for Hazardous Air         Chemical Manufacturing Industry and
63.120(d)(1)(iii); and the monitoring        Pollutants for the Synthetic Organic         National Emission Standards for
                                             Chemical Manufacturing Industry and          Hazardous Air Pollutants for the
plan provisions in 40 CFR 63.120(d)(2)
                                             Group I & II Polymers and Resins             Synthetic Organic Chemical
and (3) do not apply to P&R I sources
                                             Industry, which is available in the          Manufacturing Industry and Group I &
subject to the monitoring provisions in
                                             docket for this rulemaking.                  II Polymers and Resins Industry, which
40 CFR 63.120(d)(1)(iii) (via 40 CFR
                                                Also, we are finalizing, as proposed      is available in the docket for this
63.484(t) and 40 CFR 63.485(x)). The
                                             to: (1) Remove the provisions that allow     rulemaking.
comments and our specific responses to
these items can be found in the              compliance with certain portions of 40       G. What are the effective and
document titled Summary of Public            CFR part 264, subpart AA or CC in lieu       compliance dates of the standards?
Comments and Responses for New               of portions of NESHAP subpart G (see
                                             40 CFR 63.110(h)); and (2) remove the        1. HON and the P&R I and P&R II
Source Performance Standards for the                                                      NESHAP
Synthetic Organic Chemical                   provisions that allow compliance with
Manufacturing Industry and National          certain portions of 40 CFR part 65 in           For all of the requirements we are
Emission Standards for Hazardous Air         lieu of portions of NESHAP subparts G        finalizing under CAA sections 112(d)(2),
Pollutants for the Synthetic Organic         and H (see 40 CFR 63.110(i) and 40 CFR       (3), and (6), and 112(h) (except for the
Chemical Manufacturing Industry and          60.160(g)). In addition, based on            removal of affirmative defense
Group I & II Polymers and Resins             comments received on the proposed            provisions in the P&R I NESHAP and
Industry, which is available in the          rulemaking, we are: (1) Revising 40 CFR      fenceline monitoring requirements in
docket for this rulemaking.                  63.160(b)(1) and (c)(1) in the final rule    HON and the P&R I NESHAP), all
                                             such that compliance with HON subpart        existing affected sources and all affected
   We are also finalizing, as proposed,      H constitutes compliance with NSPS           sources that were new sources under the
several corrections to the calibration       subpart VVa provided the owner or            previous HON and P&R I NESHAP (i.e.,
drift assessment requirements in NSPS        operator continues to comply with 40         sources that commenced construction or
subpart VVa at 40 CFR 60.485a(b)(2).         CFR 60.480a(e)(2)(i); and (2) revising 40    reconstruction after December 31, 1992
These amendments include: (1)                CFR 63.160(b)(1) and (c)(1) in the final     (for HON) or after June 12, 1995 (for the
Correcting a regulatory citation to read     rule such that compliance with HON           P&R I NESHAP), and on or before April
"§ 60.486a(e)(8)" instead of                 subpart H constitutes compliance with        25, 2023), must comply with all of the
"§ 60.486a(e)(7)"; (2) removing the          NSPS subpart VVb provided the owner          amendments no later than July 15, 2027,
extraneous sentence "Calculate the           or operator continues to comply with 40      or upon startup, whichever is later. For
average algebraic difference between the     CFR 60.480b(e)(2)(i). We have also           existing sources, CAA section 112(i)
three meter readings and the most            revised 40 CFR 60.480b(e)(2)(i) in the       provides that the compliance date for
recent readings and the most recent          final rule to require compliance with 40     standards promulgated under section
calibration value."; (3) providing clarity   CFR 60.482-7b (i.e. , the standards for      112(d) shall be as expeditious as
in the mathematical step of the              gas and light liquid valves in NSPS          practicable, but no later than 3 years
assessment by replacing the sentence         subpart VVb) in addition to the              after the effective date of the standard.
"Divide this algebraic difference by the     requirements of 40 CFR 60.485b(d), (e),      Association of Battery Recyclers v. EPA,
initial calibration value and multiply by    and (f), and 40 CFR 60.486b(i) and (j).      716 F.3d 667, 672 (D.C. Cir. 2013)
100 to express the calibration drift as a    The comments and our specific                ("Section 112(i)(3)'s three-year
percentage." with "Divide the                responses to these items can be found in     maximum compliance period applies
arithmetic difference of the initial and     the document titled Summary of Public        generally to any emission standard ..
post-test calibration response by the        Comments and Responses for New               promulgated under [section 112]."). We
corresponding calibration gas value for      Source Performance Standards for the         agree with the commenters (see section
each scale and multiply by 100 to            Synthetic Organic Chemical                   11.1 of the document titled Summary of
express the calibration drift as a           Manufacturing Industry and National          Public Comments and Responses for
percentage."; and (4) providing clarity      Emission Standards for Hazardous Air         New Source Performance Standards for
by making other minor textural changes       Pollutants for the Synthetic Organic         the Synthetic Organic Chemical
to the provisions related to the             Chemical Manufacturing Industry and          Manufacturing Industry and National
procedures for when a calibration drift      Group I & II Polymers and Resins             Emission Standards for Hazardous Air
assessment shows negative or positive        Industry, which is available in the          Pollutants for the Synthetic Organic
drift of more than 10 percent. We did        docket for this rulemaking.                  Chemical Manufacturing Industry and




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Group I & II Polymers and Resins              requirements upon exceedance of an         EPA, 716 F.3d 667, 672 (D.C. Cir. 2013)
Industry, which is available in the           annual average concentration action        ("[S]ection 112(f)(4)'s two-year
docket for this rulemaking) that 3 years      level. We extended the timeline for        maximum applies more specifically to
is needed for owners and operators to         fenceline monitoring from 1 to 2 years     standards 'under this subsection,' i.e.,
implement the requirements we are             based on comments received, which          section 112(f)."). For existing sources,
finalizing under CAA sections 112(d)(2),      indicated that EPA Method 327 will         the earliest compliance date for CAA
(3), and (6). For example, for process        require laboratories to increase their     section 112(f) standards is 90 days.
vents, if an affected source has              capacity to meet the requirements for      However, the compliance period can be
uncontrolled process vents that emit          fenceline monitoring. We consider this     extended up to 2 years if the EPA finds
greater than or equal to 1.0 lb/hr of total   expanded timeline to be necessary to       that more time is needed for the
organic HAP, then a new control               allow commercial labs to conduct the       installation of controls. 42 U.S.C.
system, such as a thermal oxidizer with       needed method development, expand          7412(f)(4)(B). The EPA finds that the
piping, ductwork, etc., may need to be        capacity, and develop the logistics        new EtO provisions under CAA section
installed (due to the removal of the TRE      needed to meet the requirements in the     112(f) will require additional time to
concept in its entirety in the final rule).   final rule. We also agree with             plan, purchase, and install emission
Also, additional permits (e.g., New           commenters' other assertions that more     control equipment. For example, for
Source Review and/or a Title V permit         time is needed to read and assess the      process vents, if an affected source
modifications) may be required for new        new fenceline monitoring requirements; cannot demonstrate 99.9-percent control
emission control equipment. Moreover,         prepare sampling and analysis plans;       of EtO emissions, or reduce EtO
3 years is needed to understand the final     develop and submit site-specific           emissions to less than 1 ppmv (from
rule changes; revise site guidance and        monitoring plans; identify                 each process vent) or 5 pounds per year
compliance programs; ensure operations        representative, accessible, and secure     (for all combined process vents), then a
can meet the standards during startup         monitoring locations for offsite monitors new control system, such as a scrubber
and shutdown; update operation,               and obtain permission from the property with piping, ductwork, feed tanks, etc.,
maintenance, and monitoring plans;            owner to both place and routinely          may need to be installed. Similarly, this
upgrade emission capture and control          access the monitors; make any necessary same scenario (i.e., installation of a new
systems; install new flare monitoring         physical improvements to fencelines to     control system, such as a scrubber with
equipment; and install new process            be able to site monitors, including        piping, ductwork, feed tanks, etc) may
control systems. As provided in CAA           construction of access roads, physical     be necessary for storage vessels in order
section 112(i) and 5 U.S.C. 801(3), all       fencing, and potential drainage            to reduce EtO emissions by greater than
new affected sources that commenced           improvements; and obtain approval of       or equal to 99.9 percent by weight or to
construction or reconstruction after          any necessary capital expenditures. We     a concentration less than 1 ppmv.
April 25, 2023, are required to comply        consider 2 years to be necessary to allow Likewise, a new steam stripper may be
with all requirements under CAA               for all of these things. For additional    needed control wastewater with a total
sections 112(d)(2), (3), (6), and 112(h)      details, see section 11.1 of the document annual average concentration of EtO
(including fenceline monitoring) by July      titled Summary of Public Comments          greater than or equal to 1 ppmw.
15, 2024 or upon startup, whichever is        and Responses for New Source               Additionally, we agree with
later. We are also finalizing, as             Performance Standards for the              commenters (see section 11.1 of the
proposed, that owners or operators of         Synthetic Organic Chemical                 document titled Summary of Public
P&R I affected sources must comply            Manufacturing Industry and National        Comments and Responses for New
with the removal of the affirmative           Emission Standards for Hazardous Air       Source Performance Standards for the
defense provisions 60 days after the          Pollutants for the Synthetic Organic       Synthetic Organic Chemical
publication date of the final rule (or        Chemical Manufacturing Industry and        Manufacturing Industry and National
upon startup, whichever is later). We         Group I & II Polymers and Resins           Emission Standards for Hazardous Air
provided additional rationale for these       Industry, which is available in the        Pollutants for the Synthetic Organic
compliance dates in the preamble to the       docket for this rulemaking.                Chemical Manufacturing Industry and
proposed rule (88 FR 25080, April 25,            For all of the requirements we are      Group I & II Polymers and Resins
2023).                                        finalizing under CAA sections 112(f) for Industry, which is available in the
   In a change from the proposed rule,        the HON, we are finalizing as proposed, docket for this rulemaking) that
we have extended the compliance date          except we are clarifying that the          additional permits may be required for
for fenceline monitoring (with the            compliance dates we proposed are from these new emission control equipment
exception of fenceline monitoring of          the effective date of the rule rather than (e.g., New Source Review and/or a Title
chloroprene at P&R I affected sources         the publication date of the proposal. In   V permit modifications). In other words,
producing neoprene, which is discussed        other words, all existing affected         sufficient time is needed to properly
later in this section) from 1 to 2 years.     sources and all affected sources that      engineer the project, obtain capital
Owners and operators of all existing          were new sources under the previous        authorization and funding, procure the
sources, and all affected sources that        HON (i.e., sources that commenced          equipment, obtain permits, and
were new under the current rules-i.e.,        construction or reconstruction after       construct and start-up the equipment.
sources that commenced construction or        December 31, 1992, and on or before        Therefore, we are finalizing a
reconstruction after December 31, 1992        April 25, 2023) must comply with the       compliance date of 2 years after the
(for HON) or after June 12, 1995 (for the     EtO requirements no later than July 15,    effective date of the final rule for all
P&R I NESHAP), and on or before April         2026, or upon startup, whichever is        existing affected sources to meet the EtO
25, 2023-must begin fenceline                 later. As explained in the April 25,       requirements. All new affected sources
monitoring 2 years after the effective        2023, proposed rule (88 FR 25080,          that commence construction or
date of the final rule and, starting 3        25176), CAA section 112(f)(4) prescribes reconstruction after April 25, 2023, are
years after the effective date of the final   the compliance date for emission           required to comply with the EtO
rule, must perform root cause analysis        standards issued under CAA section         requirements for the HON by July 15,
and apply corrective action                   112(f). Ass'n of Battery Recyclers v.      2024 or upon startup, whichever is later.




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This compliance schedule is consistent                    All new affected sources that             available on the CEDRI website (https://
with the compliance deadlines outlined                  commence construction or                    www.epa.gov/electronic-reporting-air-
in the CAA under section 112(f)(4) and                  reconstruction after April 25, 2023, are    emissions/cedri) for 1 year, whichever
the CRA. We provided additional                         required to comply with the                 date is later.
rationale for these compliance dates in                 chloroprene requirements for P&R I
the preamble to the proposed rule (88                   affected sources producing neoprene no      IV. What is the rationale for our final
FR 25080, April 25, 2023).                              later than by July 15, 2024 or upon         decisions and amendments for the
   In a change from the proposed rule,                  startup, whichever is later. This           SOCMI, P&R I, and P&R II source
tfie EPA is sfiortening the compliance                  compliance schedule is consistent with      categories?
deadline for affected sources producing                 the compliance deadlines outlined in          For each issue, this section provides
neoprene, due to the EPA's finding that                 the CAA under section 112(f)(4) and the     a description of what we proposed and
chloro rene emissions from the only                     CRA, 5 U.S.C. 801.                          what we are finalizing for the issue, the
such source pose an imminent and                                                                    EPA's rationale for the final decisions
substantial endangerment under CAA                      2. NSPS Subparts VV, VVa, VVb, III,
                                                        Illa, NNN, NNNa, RRR, RRRa                  and amendments, and a summary of key
section 303, 42 U.S.C. 7603. Unitea                                                                 comments and responses. For all
States v. Denka Performance Elastomer,                     All sources of equipment leaks in the    comments not discussed in this
LLC, et al., No. 2:23-cv-00735 (E.D. La.                SOCMI (regulated under NSPS subpart         preamble, comment summaries and the
filed Feb. 28, 2023). All existing affected             VVb) and all SOCMI air oxidation unit
                                                                                                    EPA's responses can be found in the
sources producing neoprene and all                      processes, distillation operations, and
                                                                                                    document titled Summary of Public
affected sources producing neoprene                     reactor processes (regulated under NSPS
                                                                                                    Comments and Responses for New
that were new sources under the                         subparts Illa, NNNa, and RRRa,
                                                                                                    Source Performance Standards for the
previous P&R I NESHAP (i.e., sources                    respectively), that commenced
                                                                                                    Synthetic Organic Chemical
that commenced construction or                          construction, reconstruction, or
                                                                                                    Manufacturing Industry and National
reconstruction after June 12, 1995, and                 modification on or after April 25, 2023,
                                                                                                    Emission Standards for Hazardous Air
on or before April 25, 2023) must                       must meet the requirements of the new
                                                        NSPS upon startup of the new,               Pollutants for the Synthetic Organic
comply with the chloroprene                                                                         Chemical Manufacturing Industry and
requirements we are finalizing under                    reconstructed or modified facility or by
                                                        July 15, 2024, whichever is later. This     Group I & II Polymers and Resins
CAA section 112(f) for the P&R I
                                                        compliance schedule is consistent with      Industry, which is available in the
NESHAP (see sections III.B.1 and
                                                        the requirements in section 111 of the      docket for this rulemaking.
IV.A.3.e of this preamble for a details
about these chloroprene requirements)                   CAA and the CRA.                            A. Residual Risk Review for the SOCMI
no later than October 15, 2024, 32 or                      Also, for NSPS subparts VV, VVa, III,    and Neoprene Production Source
upon startup, whichever is later.                       NNN, and RRR, we are finalizing, as         Categories NESHAP
However, such sources may seek the                      proposed, the change in format of the
EPA's approval of a waiver from the 90-                 reporting requirements to require           1. What did we propose pursuant to
day compliance deadline and obtain a                    electronic reporting (i.e., we are not      CAA section 112(f) for the SOCMI and
compliance date of up to July 15, 2026                  finalizing any new data elements); and      Neoprene Production source categories?
if they demonstrate to the                              owners and operators must begin             a. SOCMI Source Category
Administrator's satisfaction that "such                 submitting performance test reports
period is necessary for the installation                electronically beginning on July 15,          Pursuant to CAA section 112(f), the
of controls" and that steps will be taken               2024 and semiannual reports on and          EPA conducted a residual risk review
during the waiver period to assure that                 after July 15, 2025 or once the report      and presented the results of this review,
the public health of persons will be                    template for the subpart has been           along with our proposed decisions
protected from any imminent                             available on the CEDRI website (https://    regarding risk acceptability and ample
endangerment. See 42 U.S.C.                             www.epa.govIelectronic-reporting-air-       margin of safety, in the April 25, 2023,
112(f)(4)(B); 40 CFR 63.6(i)(4)(ii).33                  emissi ons/cedri) for 1 year, whichever     proposed rule for the SOCMI source
                                                        date is later. For NSPS subparts Illa,      category subject to HON (88 FR 25080).
   32 The compliance date is 90 days after the          NNNa, and RRRa, we are finalizing, as       The results of the risk assessment for the
effective date of this final action due to the          proposed, that owners and operators         proposal are presented briefly in Table
Congressional Review Act.                                                                           1 of this preamble. More detail is in the
   33 We are revising the General Provisions table to
                                                        must submit performance test reports
                                                        electronically within 60 days after the     residual risk technical support
the P&R II NESHAP entry for 40 CFR 63.6(e)(l)(i)
by changing the " No" to " Yes" for affected sources    date of completing each performance         document, Residual Risk Assessment for
producing neoprene. EPA is also retaining authority     test, and for NSPS subparts VVb, Illa,      the SOCMI Source Category in Support
to grant or deny requests for extensions of the                                                     of the 2023 Risk and Technology Review
compliance date under 40 CFR 63.6(i)(4)(ii) at 40
                                                        NNNa, and RRRa, semiannual reports
CFR 63.507(c)(6), and is not delegating that            on and after July 15, 2024 or once the      Proposed Rule (see Docket Item No.
authority to states.                                    report template for the subpart has been    EPA-HQ-OAR-2022-0730-0085).




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      Table 4. SOCMI Source Category and Facility-wide Inhalation Risk Assessment Results
      Based on Baseline (Pre-Control) Emissions and Post-Control Emissions
                                  Estimated Population at     Estimated                   Refined
                    Maximum Increased Risk of Cancer           Annual                    Maximum
                    Individual                                  Cancer    Maximum Screening
                      Cancer                                  Incidence     Chronic        Acute
           Risk     Risk (-in-1 e> 100-in-1   2: 1-in-1       (cases per Noncancer Noncancer
        Assessment million) 1 million         million            year)      TOSHI           HQ
                                          SOCMI Source Category
        Pre-Control    2,000         83,000        7.17            2            2        HQREL = 3
         Baseline                   (50 km)      million                     (maleic     (chlorine)
                                                 (50 km)                  anhydride)
                                                                                         HQREL = 3
                                                                                2        (acrolein)
                                                                           (chlorine)
           Post-        100             0          6.27           0.4           2        HQREL = 3
          Control                                million                     (maleic     (chlorine)
                                                 (50km)                   anhydride)
                                                                                         HQREL = 3
                                                                                2        (acrolein)
                                                                           (chlorine)
                                              Facility-wide
        Pre-Control    2,000         90,000        8.92            2            4            --
         Baseline                   (50 km)      million                   (chlorine,
                                                 (50 km)                 acrylic acid,
                                                                               and
                                                                         acrylonitrile ~
           Post-       2,000         2,900         8.49            2            4            --
          Control                   (50 km)      million                   (chlorine,
                                                 (50 km)                 acrylic acid,
                                                                               and
                                                                         acrylonitrile ~
      1
        Maximum individual excess lifetime cancer risk due to HAP emissions.

b. Neoprene Source Category                emissions from the Neoprene                   results remained the same. Table 5 of
  In response to a comment in section      Production source category. This result       this preamble summarizes the reduction
IV.A.3.e.i of this preamble, we revised    is the same as in the proposal. The total     in cancer risks due to emissions from
the performance standard for process       population exposed to risk levels from        the Neoprene Production source
vents and storage vessels in chloroprene   the Neoprene Production source                category based on the controls in this
service for the Neoprene Production        category greater than or equal to 1-in-1      action. For further details on the revised
source category. This revision did not     million would be reduced from 690,000         risk assessment for the Neoprene
change the baseline source category or     people to 58,000 people. The total            Production source category, see the
facility-wide risk assessments for the     estimated cancer incidence of 0.05            document titled Residual Risk
Neoprene Production source category        drops to 0.01 excess cancer cases per         Assessment for the Polymers & Resins I
from proposal (see section IV.A.Lb of      year. For the risk results estimated after    Neoprene Production Source Category
this preamble and Table 5 of this          implementation of controls, the two           in Support of the 2024 Risk and
preamble). The revised assessment          changes from proposal are the number          Technology Review Final Rule, which is
indicated that, after implementation of    of people exposed to risk levels greater      available in the docket for this
the controls, the MIR for the Neoprene     than or equal to 1-in-1 million (58,000       rulemaking.
Production source category is 100-in-1     here compared to 48,000 at proposal)             Table 5 of this preamble also provides
million (down from 500-in-1 million in     and the cancer incidence (0.01 here           the facility-wide risks for the facility in
the pre-control baseline) with no          compared to 0.008 at proposal) from           the Neoprene Production source
individuals exposed to risk levels         HAP emissions from the Neoprene               category, which are of increased
greater than 100-in-1 million from HAP     Production source category. All other         importance due to the secondary




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fenceline action level for chloroprene,    neoprene production emission sources.       to lifetime cancer risk levels greater than
before (pre-control baseline) and after    The secondary fenceline action level of     100-in-1 million, and the number of
controls (post-control) of neoprene        0.3 µg/m 3 for chloroprene will further     people exposed to cancer risk levels
production emission sources in this        reduce chloroprene emissions and            greater than or equal to 1-in-1 million
action. The post-control facility-wide     therefore risks below these levels, with    expected to be lower than those in Table
MIR is 200-in-1 million, driven by         the MIR expected to be 100-in-1 million     5 of this preamble.
chloroprene emissions from SOCMI and       or lower, with no individuals exposed

      Table 5. Neoprene Production Source Category and Facility-wide Inhalation Risk
      Assessment Results Based on Baseline (Pre-Control) Emissions and Post-Control Emissions
                                       Estimated        Estimated
                      Maximum        Population at       Annual                  Maximum
                      Individual Increased Risk of       Cancer       Maximum     Screening
                        Cancer           Cancer         Incidence      Chronic      Acute
           Risk       Risk (-in-1 > 100-in- ~ 1-in-1    (cases per    Noncancer Noncancer
        Assessment     million) 1 1 million million        year)       TOSHI         HQ
                                  Neoprene Production Source Category
         Pre-Control           500          2,100      690,000           0.05              0.05     HQREL = 0.3
          Baseline                         (50 km)     (50 km)                        (chloroprene) (chloroform)
         Post-Control          100            0         58,000           0.01              0.01     HQREL = 0.3
                                                       (50 km)                        (chloroprene) (chloroform)
                                                       Facility-wide
         Pre-Control           600          2,300      890,000           0.06               0.3                      --
          Baseline                         (50 km)     (50 km)                           (chlorine)
         Post-Control          200           326        87,000           0.02               0.3                     ---
                                           (50 km)     (50 km)                           (chlorine)
        1
            Maximum individual excess lifetime cancer risk due to HAP emissions.

3. What key comments did we receive        review, can be found in the document        affirm its determination that the IRIS
on the risk review, and what are our       titled Summary of Public Comments           assessments are scientifically sound and
responses?                                 and Responses for New Source                robust and represent the best available
   This section provides summaries of      Performance Standards for the               inhalation cancer risk values for EtO. 34
and responses to the key comments          Synthetic Organic Chemical                  These comments are not summarized in
received regarding our risk assessment     Manufacturing Industry and National         this preamble. Instead, all of these
for the SOCMI source category, our risk    Emission Standards for Hazardous Air        comments (related to the EPA's use of
assessment for the Neoprene Production     Pollutants for the Synthetic Organic        the EtO IRIS value for CAA section
source category, the proposed              Chemical Manufacturing Industry and         112(f)(2) risk assessment) and the EPA's
requirements to reduce EtO emissions       Group I & II Polymers and Resins            responses are in the document titled
from the SOCMI source category, and        Industry, which is available in the         Summary of Public Comments and
the proposed requirements to reduce        docket for this rulemaking.                 Responses for New Source Performance
chloroprene emissions from the             a. EtO IRIS URE                             Standards for the Synthetic Organic
Neoprene Production source category.                                                   Chemical Manufacturing Industry and
We received comments in support of           We received numerous comments in          National Emission Standards for
and against the proposed residual risk     support of, and in opposition to, the       Hazardous Air Pollutants for the
review, the IRIS URE used in the           EPA' s use of the EtO IRIS value in         Synthetic Organic Chemical
review, and our determination that         assessing cancer risk for a source          Manufacturing Industry and Group I &
additional controls were warranted         category under CAA section 112(f)(2) for    II Polymers and Resins Industry, which
under CAA section 112(f)(2) for the        EtO. After careful review of the            is available in the docket for this
SOCMI and Neoprene Production              comments, the Agency has determined         rulemaking.
source categories. Other comments on       that commenters did not identify new
these issues, as well as the EtO IRIS      scientific information that would alter       34 87 FR 77985 (Dec. 21, 2022), Reconsideration

URE, chloroprene IRIS URE, and on          aspects of the EPA IRIS assessments or      of the 2020 National Emission Standards for
                                                                                       Hazardous Air Pollutants: Miscellaneous Organic
additional issues regarding the residual   call into question the scientific           Chemical Manufacturing Residual Risk and
risk review and the EPA' s proposed        judgments reflected in those                Technology Review, Final action; reconsideration of
changes based on the residual risk         assessments. The EPA continues to           the final rule.




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storage; log entries) for each required                   the parameter limit and the monitoring                          during such periods in accordance with
record. If the description changes, the                   was required and/or approved by the                             § 63.102(a)(4). For each source as
owner or operator shall retain both the                   Administrator.                                                  defined in§ 63.101, on and after July 15,
current and the most recent superseded                       (i) If the owner or operator elects not                      202 7, this paragraph no longer applies.
description. The description, and the                     to retain the daily average values, the                            (B) An excused excursion, as
most recent superseded description,                       owner or operator shall notify the                              described in§ 63.152(c)(2)(ii)(B) and (C),
shall be retained as provided in                          Administrator in the next periodic                              shall not be considered an excursion for
§ 63.103(c) of subpart F of this part,                    report. The notification shall identify                         purposes of this paragraph (g)(2).
except as provided in paragraph                           the parameter and unit of equipment.                               (h) Beginning no later than July 15,
(g)(1)(vi)(D) of this section.                               (ii) If, on any operating day after the
                                                                                                                          2024, owners and operators must submit
   (C) A description, and the date, of any                owner or operator has ceased recording
                                                                                                                          performance test reports in accordance
change to the monitoring system that                      daily averages as provided in paragraph
                                                                                                                          with this paragraph. Unless otherwise
would reasonably be expected to affect                    (g)(2) of this section, there is an
                                                                                                                          specified in this subpart, within 60 days
its ability to comply with the                            excursion as defined in paragraph
                                                          (g)(2)(iv) of this section, the owner or                        after the date of completing each
requirements of paragraph (g)(1) of this                                                                                  performance test required by this
section.                                                  operator shall immediately resume
                                                          retaining the daily average value for                           subpart, owners and operators must
   (D) Owners and operators subject to                                                                                    submit the results of the performance
paragraph (g)(1)(vi)(B) of this section                   each day, and shall notify the
                                                          Administrator in the next periodic                              test following the procedures specified
shall retain the current description of                                                                                   in§ 63.9(k). Data collected using test
the monitoring system as long as the                      report. The owner or operator shall
                                                          continue to retain each daily average                           methods supported by the EPA's
description is current, but not less than                                                                                 Electronic Reporting Tool (ERT) as
5 years from the date of its creation. The                value until another period of 6
                                                          consecutive months has passed without                           listed on the EPA's ERT website
current description shall, at all times, be                                                                               (https://www.epa.gov/electronic-
                                                          an excursion as defined in paragraph
retained on-site or be accessible from a                                                                                  reporting-air-emissi ans/electronic-
                                                          (g)(2)(iv) of this section.
central location by computer or other                        (iii) The owner or operator shall retain                     reporting-tool-ert) at the time of the test
means that provides access within 2                       the records specified in paragraphs                             must be submitted in a file format
hours after a request. The owner or                       (g)(1) (i), (ii), (iii), (iv), (v), and (vi) of                 generated through the use of the EPA's
operator shall retain the most recent                     this section. For any calendar week, if                         ERT. Alternatively, owners and
superseded description at least until 5                   compliance with paragraphs (g)(1) (i),                          operators may submit an electronic file
years from the date of its creation. The                  (ii), (iii), and (iv) of this section does not                  consistent with the extensible markup
superseded description shall be retained                  result in retention of a record of at least                     language (XML) schema listed on the
on-site (or accessible from a central                     one occurrence or measured parameter                            EPA's ERT website. Data collected using
location by computer that provides                        value, the owner or operator shall                              test methods that are not supported by
access within 2 hours after a request) at                 record and retain at least one parameter                        the EPA's ERT as listed on the EPA's
least 6 months after its creation.                        value during a period of operation other                        ERT website at the time of the test must
Thereafter, the superseded description                    than a startup, shutdown, or                                    be included as an attachment in the ERT
may be stored off-site.                                   malfunction. For each source as defined                         or alternate electronic file.
   (2) If an owner or operator has elected                in§ 63.101, on and after July 15, 2027,                         ■ 90. Amend§ 63.153 by revising
to implement the requirements of                          the phrase "other than a startup,                               paragraph (c) introductory text and
paragraph (g)(1) of this section, and a                   shutdown, or malfunction" in this                               adding paragraph (c)(5) as follows:
period of 6 consecutive months has                        paragraph no longer applies.
passed without an excursion as defined                       (iv) For purposes of paragraph (g) of                        § 63.153     Implementation and enforcement.
in paragraph (g)(2)(iv) of this section,                  this section, an excursion means that                            *     *    *     *     *
the owner or operator is no longer                        the daily average value of monitoring                              (c) The authorities that cannot be
required to record the daily average                      data for a parameter is greater than the                        delegated to State, local, or Tribal
value for that parameter for that unit of                 maximum, or less than the minimum                               agencies are as specified in paragraphs
equipment, for any operating day when                     established value, except as provided in                        (c)(1) through (5) of this section.
the daily average value is less than the                  paragraphs (g)(2)(iv)(A) and (B) of this
maximum, or greater than the minimum                      section.                                                        *      *    *     *     *
established limit. With approval by the                      (A) The daily average value during                              (5) Approval of an alternative to any
Administrator, monitoring data                            any startup, shutdown, or malfunction                           electronic reporting to the EPA required
generated prior to the compliance date                    shall not be considered an excursion for                        by this subpart.
of this subpart shall be credited toward                  purposes of this paragraph (g)(2), if the                       ■ 91. Revise table 3 to subpart G to read
the period of 6 consecutive months, if                    owner or operator operates the source                           as follows:
          TABLE 3 TO SUBPART G OF PART 63-PROCESS VENTS-MONITORING, RECORDKEEPING, AND REPORTING
                           REQUIREMENTS FOR CONTROL DEVICES AND RECAPTURE DEVICES

         Control or recapture device                     Parameters to be monitored a                     Recordkeeping and reporting requirements for monitored parameters

Thermal incinerator, other than a thermal ox-   Firebox temperature b [63.114(a)(1 )(i)] ... ... .. ..   1. Continuous records.c
  idizer used to comply with § 63.124.                                                                   2. Record and report the firebox temperature averaged over the full pe-
                                                                                                            riod of the performance test-NCS.d
                                                                                                         3. Record the daily average firebox temperature for each operating
                                                                                                           day.e
                                                                                                         4. Report all daily average temperatures that are outside the range es-
                                                                                                           tablished in the NCS or operating permit and all operating days
                                                                                                           when insufficient monitoring data are collected 1-PR.9
Thermal oxidizer used to comply with            Combustion chamber temperature                           1. Continuous records.c
  § 63.124.                                       [63.124(b)(5)(i)] .                                    2. Record and report the combustion chamber temperature averaged
                                                                                                           over the full period of the performance test-NCS .d




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contamination by the sample handler.          the target analyte(s) specified in            agitators in organic HAP service are
High sample results attributed to             paragraph (a)(1) of this section that are     present within 50 meters of the
unknown causes are not outliers if there      located within the facility's property        monitoring boundary, the additional
is no evidence of sample contamination        boundary.                                     passive monitoring location specified in
and the sample does not meet the                 (1) The owner or operator must             Section 8.2.1.3 in Method 325A of
requirements in Section 9.2 of Method         monitor the target analyte(s), as             appendix A to this part must be used.
325A of appendix A of this part.              specified in paragraphs (a)(1)(i) through        (B) All equipment leak sources in gas
   (7) The concentration difference (~c)      (iv) of this section. The owner or            or light liquid service (and in organic
for each monitored compound for each          operator must follow the procedure in         HAP service), including valves, pumps,
sampling period and the annual average        Section 9.6 of Method 325B of appendix        connectors, sampling connections and
~c for each monitored compound for            A to this part to determine the detection     open-ended lines, must be monitored
each sampling period.                         limit of benzene, 1,3-butadiene,              using Method 21 of appendix A-7 to 40
   (8) Indication of whether the owner or     chloroprene, and ethylene dichloride for      CFR part 60 no less frequently than
operator was required to develop a            each sampler used to collect samples          quarterly with no provisions for skip
corrective action plan under§ 63.184(f).      and blanks.                                   period monitoring, or according to the
   (9) Data flags for each monitor for           (i) If an affected source uses,            provisions of§ 63.11(c) Alternative
each analyte that was skipped for the         produces, stores, or emits benzene, the       Work practice for monitoring equipment
sampling period, if the owner or              owner or operator must include benzene        for leaks. For the purpose of this
operator uses an alternative sampling         as a target analyte.                          provision, a leak is detected if the
frequency under§ 63.184(a)(3)(iii) or            (ii) If an affected source uses,           instrument reading equals or exceeds
§ 63.184(b)(2)(iii).                          produces, stores, or emits 1,3-butadiene,     the applicable limits in paragraphs
                                              the owner or operator must include 1,3-       (a)(2)(i)(B)(1) through (5) of this section:
■ 115. Amend§ 63.183 by revising
                                              butadiene as a target analyte.                   (1) For valves, pumps or connectors at
paragraph (c) introductory text and              (iii) If an affected source uses,
adding paragraph (c)(5) to read as                                                          an existing source, an instrument
                                              produces, stores, or emits chloroprene,
follows:                                                                                    reading of 10,000 ppmv.
                                              the owner or operator must include
                                                                                               (2) For valves or connectors at a new
§ 63.183   Implementation and enforcement.    chloroprene as a target analyte.
                                                 (iv) If an affected source uses,           source, an instrument reading of 500
*     *     *     *     *                     produces, stores, or emits ethylene           ppmv.
   (c) The authorities that cannot be         dichloride, the owner or operator must           (3) For pumps at a new source, an
delegated to State, local, or Tribal          include ethylene dichloride as a target       instrument reading of 2,000 ppmv.
agencies are as specified in paragraphs       analyte.                                         (4) For sampling connections or open-
(c)(1) through (5) of this section.              (2) The owner or operator must             ended lines, an instrument reading of
*     *     *     *     *                     determine passive monitor locations in        500 ppmv above background.
  (5) Approval of an alternative to any       accordance with Section 8.2 of Method            (5) For equipment monitored
electronic reporting to the EPA required      325A of appendix A to this part.              according to the Alternative Work
by this subpart.                                 (i) As it pertains to this subpart,        practice for monitoring equipment for
■ 116. Add§ 63.184 to read as follows:        known sources of VOCs, as used in             leaks, the leak definitions contained in
                                              Section 8.2.1.3 in Method 325A of             § 63.11(c)(6)(i) through (iii).
§ 63.184   Fenceline monitoring provisions.   appendix A to this part for siting               (C) All equipment leak sources in
   For each source as defined in              passive monitors, means a wastewater          organic HAP service, including sources
§ 63.101, and for each source as defined      treatment unit, process unit, or any          in gas, light liquid and heavy liquid
in§ 63.191, beginning no later than the       emission source requiring control             service, must be inspected using visual,
compliance dates specified in                 according to the requirements of this         audible, olfactory, or any other
§ 63.100(k)(12), the owner or operator        subpart, including marine vessel              detection method at least monthly. A
must conduct sampling along the               loading operations. For marine vessel         leak is detected if the inspection
facility property boundary and analyze        loading operations, one passive monitor       identifies a potential leak to the
the samples in accordance with                should be sited on the shoreline              atmosphere or if there are indications of
paragraphs (a) through (i) of this section.   adjacent to the dock. For this subpart,       liquids dripping.
Sampling of benzene, 1,3-butadiene,           an additional monitor is not required if         (ii) If there are 19 or fewer monitoring
chloroprene, and ethylene dichloride          the only emission sources within 50           locations, the owner or operator must
must be conducted in accordance with          meters of the monitoring boundary are         collect at least one co-located duplicate
paragraph (a) of this section. Sampling       equipment leak sources satisfying all of      sample per sampling period and at least
of ethylene oxide and vinyl chloride          the conditions in paragraphs (a)(2)(i)(A)     one field blank per sampling period. If
must be conducted in accordance with          through (C) of this section. If a leak is     there are 20 or more monitoring
paragraph (b) of this section. Paragraphs     found, it must be repaired no later than      locations, the owner or operator must
(c) through (i) of this section apply for     15 calendar days after it is detected with    collect at least two co-located duplicate
any compound required to be sampled.          no provisions for delay of repair. If a       samples per sampling period and at
   (a) The owner or operator must             repair is not completed within 15             least one field blank per sampling
conduct sampling along the facility           calendar days, the additional passive         period. The co-located duplicates may
property boundary and analyze the             monitor specified in Section 8.2.1.3 in       be collected at any of the perimeter
samples in accordance with Methods            Method 325A of appendix A to this part        sampling.
325A and 325B of appendix A to this           must be used.                                    (iii) Samplers are not required to be
part and paragraphs (a)(1) through (3) of        (A) The equipment leak sources in          placed along internal roads, waterways,
this section. The monitoring perimeter        organic HAP service within 50 meters of       or other right of ways that may bisect
may be located inside the facility, away      the monitoring boundary are limited to        the facility. If a facility is bounded by
from the facility property boundary.          valves, pumps, connectors, sampling           a waterway on one or more sides, the
However, the monitoring perimeter             connections, and open-ended lines. If         shoreline is considered the facility
must encompass all potential sources of       compressors, pressure relief devices, or      property boundary.




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§ 63.480 Applicability and designation of     section, and paragraphs (n) and (o) of     § 63.504(a)(1)(iii), and
affected sources.                             this section, existing affected sources    § 63.506(e)(6)(iii)(C).
*     *     *      *     *                    shall be in compliance with§ 63.502 no        (2) For flares, the requirements
  (j) Applicability of this subpart.          later than July 31, 1997, unless an        specified in§ 63.508.
Paragraphs (j)(1) through (3) of this         extension has been granted pursuant to        (3) For storage vessels, the
section must be followed during periods       paragraph (e) of this section.             requirements specified in§ 63 .484(t)
of non-operation of the affected source                                                  and § 63.506(e)(4)(ii)(F)(6).
                                              *      *     *      *    *
or any part thereof.                             (k) Applicability of other regulations     (4) For continuous front-end process
*     *     *      *     *                    for monitoring, recordkeeping or           vents, the requirements specified in
   (4) Beginning on July 15, 2024, this       reporting with respect to combustion       §§ 63.485(1)(6), (0)(6), (p)(5), (q)(l)(vii),
paragraph (j)(4) no longer applies. In        devices, recovery devices, or recapture    (x), § 63.503(g)(2)(iii)(B)(4), and
response to an action to enforce the          devices. (1) After the compliance dates    § 63.506(e)(4)(ii)(F)(6).
standards set forth in this subpart, an                                                     (5) For batch front-end process vents,
                                              specified in this subpart, if any
owner or operator may assert an                                                          the requirements specified in
                                              combustion device, recovery device or
affirmative defense to a claim for civil                                                 §§ 63.487(a)(3), (b)(3), and (e)(l)(iv) and
                                              recapture device subject to this subpart
penalties for exceedances of such                                                        (i), §§ 63.488(d)(2), (e)(4), (f)(2), and
                                              is also subject to monitoring,
standards that are caused by a                                                           (g)(3), §§ 63.489(b)(10) and (d)(3),
                                              recordkeeping, and reporting
malfunction, as defined in§ 63 .2.                                                       §§ 63.491(d)(1)(iii), (e)(6), and (h),
                                              requirements in 40 CFR part 264 subpart
Appropriate penalties may be assessed,        AA or CC, or is subject to monitoring      § 63.492(g), and Table 6 to this subpart,
however, if the owner or operator fails                                                  item 3 in column 3 for diversion to the
                                              and recordkeeping requirements in 40
to meet the burden of proving all the                                                    atmosphere and monthly inspections of
                                              CFR part 265 subpart AA or CC and the
requirements in the affirmative defense.                                                 sealed valves for all control devices.
                                              owner or operator complies with the
The affirmative defense shall not be                                                        (6) For back-end processes, the
                                              periodic reporting requirements under      requirements specified in
available for claims for injunctive relief.   40 CFR part 264 subpart AA or CC that      §§ 63.497(a)(8) and (d)(3), and
*     *     *      *     *                    would apply to the device if the facility  § 63.498(d)(5)(v).
■ 121. Amend§ 63.481 by revising              had final-permitted status, the owner or      (7) For wastewater, the requirements
paragraph (a), (b), (c) introductory text,    operator may elect to comply either        specified in§§ 63.501(d), (e), and (f).
(d) introductory text, (k), and adding        with the monitoring, recordkeeping and        (8) For equipment leaks, the
paragraphs (k)(2) and (n) through (p) as      reporting requirements of this subpart,    requirements specified in
follows:                                      or with the monitoring, recordkeeping      §§ 63 .502(a)(2) and (k)(2).
                                              and reporting requirements in 40 CFR          (9) For heat exchange systems, the
§ 63.481 Compliance dates and
relationship of this subpart to existing      parts 264 and/or 265, as described in      requirements specified in
applicable rules.                             this paragraph, which shall constitute     §§ 63.502(n)(7) and (n)(8).
   (a) Affected sources are required to       compliance with the monitoring,               (o) All affected sources that
achieve compliance on or before the           recordkeeping and reporting                commenced construction or
dates specified in paragraphs (b)             requirements of this subpart. The owner reconstruction on or before April 25,
through (d) of this section and               or operator shall identify which option    2023, must be in compliance witn the
paragraphs (n) and (o) of this section.       has been selected in the Notification of   chloroprene requirements in
Paragraph (e) of this section provides        Compliance Status required by              §§ 63 )1821:(u), 63.218--S(y) and (z),
information on requesting compliance          § 63.506(e)(5).                            63.487(j), 63.494(a)(7), 63.501(a)(10)(iv),
extensions. Paragraphs (f) through (1) of        (2) Owners and operators of flares that 63.502(a)(3) and (a)(7), 63.509, and
this section discuss the relationship of      are subject to the flare related           63.510 upon initial startup or on
this subpart to subpart A and to other        requirements of this subpart and are       October 15, 2024, whichever is later. All
applicable rules. Where an override of        also subject to flare related requirements affected sources that commenced
another authority of the Act is indicated     of any other regulation in this part or 40 construction or reconstruction after
in this subpart, only compliance with         CFR part 61 or 63, may elect to comply     April 25, 2023, must be in compliance
the provisions of this subpart is             with the requirements in § 63.508 in       with the chloroprene requirements in
required. Paragraph (m) of this section       lieu of all flare related requirements in  §§ 63.484(u), 63.485(x) and (z),
specifies the meaning of time periods.        any other regulation in this part or 40    63 .487(j), 63 .494(a)(7),
   (b) Except as specified in paragraphs      CFR part 61 or 63.                         § 63 .501(a)(10)(iv), 63.502(q),
(n) and (o) of this section, new affected     *      *     *      *    *                 63.502(a)(3) and (a)(7), 63.509, and
sources that commence construction or            (n) All affected sources that           63.510 upon initial startup, or on July
reconstruction after June 12, 1995 shall      commenced construction or                  15, 2024, whichever is later.
be in compliance with this subpart upon       reconstruction on or before April 25,         (p) The compliance schedule for
initial start-up or by June 19, 2000,         2023, must be in compliance with the       fenceline monitoring is specified in
whichever is later.                           requirements listed in paragraphs (n)(1)   paragraphs (p)(1) and (2) of this section.
   (c) With the exceptions provided in        through (9) of this section upon initial      (1) Except as specified in paragraph
paragraphs (c)(1) through (3) of this         startup or on July 15, 2027, whichever     (p )(2) of this section, all affected sources
section and paragraphs (n) and (o) of         is later. All affected sources that        that commenced construction or
this section, existing affected sources       commenced construction or                  reconstruction on or before April 25,
shall be in compliance with this subpart      reconstruction after April 25, 2023,       2023, must commence fenceline
no later than June 19, 2001, as provided      must be in compliance with the             monitoring according to the
in§ 63.6(c), unless an extension has          requirements listed in paragraphs (n)(1)   requirements in§ 63.502(a)(4) by no
been granted as specified in paragraph        through (9) of this section upon initial   later than July 15, 2026, however
(e) of this section.                          startup, or on July 15, 2024, whichever    requirements for corrective actions are
*     *     *      *     *                    is later.                                  not required until on or after July 15,
  (d) Except as provided for in                  (1) The general requirements specified 202 7. All affected sources that
paragraphs (d)(1) through (d)(6) of this      in § 63.483(e), § 63.504(a),               commenced construction or




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reconstruction after April 25, 2023,          Hazardous air pollutant (§ 63.2)             Temperature monitoring device
must be in compliance with the                Heat exchange system(§ 63.101)                  (§ 63.101)
fenceline monitoring requirements             Impurity(§ 63.101)                           Test method(§ 63.2)
listed in § 63.502(a)(4) upon initial         Incinerator(§ 63.101)                        Treatment process(§ 63.101)
startup, or on July 15, 2024, whichever       In organic hazardous air pollutant           Unit operation(§ 63.101)
is later.                                       service or in organic HAP service          Visible emission (§ 63.2)
   (2) For affected sources producing           (§ 63 .101)                                   (b) All other terms used in this
neoprene, the compliance schedule             Instrumentation system(§ 63.101)             subpart shall have the meaning given
specified in paragraph (p)(1) of this         Internal floating roof(§ 63.101)             them in this section. If a term is defined
section does not apply for chloroprene.       Lesser quantity(§ 63.2)                      in a subpart referenced in this section,
Instead, all affected sources producing       Major source (§ 63.2)                        it shall have the meaning given in this
neoprene that commenced construction          Malfunction(§ 63.2)                          section for purposes of this subpart.
or reconstruction on or before April 25,      Oil-water separator or organic-water            Affected source is defined in
2023, must Be in compliance with the            separator(§ 63.101)                        § 63 .480(a) .
fenceline momtormg requirements for           Open-ended valve or line(§ 63.101)              Affirmative defense means, in the
chloroprene listed in§ 63.502(a)(4) and       Operating permit(§ 63.101)                   context of an enforcement proceeding, a
(a)(7) upon initial startup or on October     Organic monitoring device(§ 63.101)
                                                                                           response or a defense put forward by a
15, 2024, whichever is later. All affected    Owner or operator(§ 63.2)
                                                                                           defendant, regarding which the
sources producing neoprene that               Performance evaluation(§ 63.2)
                                                                                           defendant has the burden of proof, and
commenced construction or                     Performance test(§ 63.2)
                                              Permitting authority(§ 63.2)                 the merits of which are independently
reconstruction after April 25, 2023,                                                       and objectively evaluated in a judicial
must be in compliance with the                Plant site(§ 63.101)
                                              Potential to emit (§ 63.2)                   or administrative proceeding. Beginning
fenceline monitoring requirements for                                                      on July 15, 2024, this definition of
chloroprene listed in§ 63.502(a)(4) and       Pressure release(§ 63.101)
                                              Primary fuel(§ 63.101)                       affirmative defense no longer applies .
(a)(7) upon initial startup, or on July 15,                                                   Aggregate batch vent stream means a
2024, whichever is later.                     Pressure release(§ 63.101)
                                              Pressure relief device(§ 63.101)             gaseous emission stream containing
■ 122. Revise and republish§ 63.482 to        Pressure vessel(§ 63.101)                    only the exhausts from two or more
read as follows:                              Process heater(§ 63.101)                     batch front-end process vents that are
                                              Process unit shutdown(§ 63.101)              ducted, hard-piped, or otherwise
§ 63.482   Definitions.
                                              Process wastewater(§ 63 .101)                connected together for a continuous
  (a) The following terms used in this        Process wastewater stream(§ 63.101)          flow.
subpart shall have the meaning given          Reactor(§ 63.101)                               Annual average batch vent
them in§ 63.2, § 63.101, or the Act, as       Recapture device(§ 63.101)                   concentration is determined using
specified after each term:                    Relief valve (§ 63.101)                      Equation 17, as described in
Act(§ 63.2)                                   Repaired(§ 63.101)                           § 63.488(h)(2) for halogenated
Administrator(§ 63.2)                         Research and development facility            compounds.
Automated monitoring and recording              (§ 63.101)                                    Annual average batch vent fl.ow rate
  system(§ 63.101)                            Routed to a process or route to a process    is determined by the procedures in
Boiler(§ 63.101)                                (§ 63 .101)                                § 63.488(e)(3).
Bottoms receiver(§ 63.101)                    Run(§ 63.2)                                     Annual average concentration, as
Breakthrough(§ 63.101)                        Secondary fuel(§ 63.101)                     used in the wastewater provisions,
By compound(§ 63.101)                         Sensor(§ 63.101)                             means the flow-weighted annual
By-product(§ 63.101)                          Specific gravity monitoring device           average concentration, as determined
Car-seal(§ 63.101)                              (§ 63 .101)                                according to the procedures specified in
Closed-vent system(§ 63.101)                  Start-up, shutdown, and malfunction          § 63.144(b), with the exceptions noted
Combustion device (§ 63.101)                    plan(§ 63.101) On and after July 15,       in§ 63.501, for the purposes of this
Commenced(§ 63.2)                               2027, this definition no longer            subpart.
Compliance date (§ 63.2)                        applies.                                      Annual average flow rate, as used in
Connector(§ 63.101)                           State (§ 63.2)                               the wastewater provisions, means the
Continuous monitoring system(§ 63 .2)         Stationary Source (§ 63 .2)                  annual average flow rate, as determined
Distillation unit(§ 63.101)                   Surge control vessel(§ 63.101)               according to the procedures specified in
Duct work(§ 63.101)                           Temperature monitoring device                § 63.144(c), with the exceptions noted in
Emission limitation (Section 302(k) of          (§ 63.101)                                 § 63.501, for the purposes of this
  the Act)                                    Test method(§ 63.2)                          subpart.
Emission standard(§ 63.2)                     Treatment process(§ 63.101)                     Average batch vent concentration is
Emissions averaging(§ 63.2)                   Unit operation(§ 63.101)                     determined by the procedures in
EPA(§ 63.2)                                   Visible emission(§ 63.2)                     § 63.488(b)(5)(iii) for HAP
Equipment leak(§ 63.101)                      Secondary fuel(§ 63 .101)                    concentrations and is determined by the
External floating roof(§ 63.101)              Sensor(§ 63.101)                             procedures in § 63.488(h)(1)(iii) for
Fill or filling(§ 63.101)                     Specific gravity monitoring device           organic compounds containing halogens
Fixed capital cost (§ 63.2)                     (§ 63.101)                                 and hydrogen halides.
Flame zone(§ 63.101)                          Start-up, shutdown, and malfunction             Average batch vent fl.ow rate is
Floating roof(§ 63.101)                         plan(§ 63 .101) On and after July 15,      determined by the procedures in
Flow indicator(§ 63.101)                        2027, this definition no longer            § 63.488(e)(1) and (2).
Fuel gas system(§ 63.101)                       applies.                                      Back-end refers to the unit operations
Halogens and hydrogen halides                 State (§ 63.2)                               in an EPPU following the stripping
  (§ 63.101)                                  Stationary Source (§ 63.2)                   operations. Back-end process operations
Hard-piping(§ 63.101)                         Surge control vessel(§ 63 .101)              include, but are not limited to, filtering,




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subpart, owners and operators must            section. This requirement also applies to        used, the phrase "Polymers and Resins"
submit the results of the performance         any flare using fuel gas from a fuel gas         applies instead for the purposes of this
test following the procedures specified       system, of which 50 percent or more of           subpart.
in§ 63.9(k). Data collected using test        the fuel gas is derived from a EPPU, as             (4) Where the reference
methods supported by the EPA's                determined on an annual average basis.           "§ 63.152(b)(7) of subpart G of this part"
Electronic Reporting Tool (ERT) as            For purposes of compliance with this             is used, the reference
listed on the EPA's ERT website               paragraph, the following terms are               "§ 63.506(e)(5)(xiii) " applies instead for
(https://www.epa.gov/electronic-              defined in§ 63.641 of subpart CC of this         the purposes of this subpart.
reporting-air-emissi ans/electronic-          part: Assist air, assist steam, center              (5) Section 63.108(i) does not apply.
reporting-tool-ert) at the time of the test   steam, combustion zone, combustion               ■ 146. Add§ 63.509 to read as follows:
must be submitted in a file format            zone gas, flare, flare purge gas, flare
generated through the use of the EPA's        supplemental gas, flare sweep gas, flare         § 63.509 Procedures for determining
                                                                                               whether process vents, storage vessels, or
ERT. Alternatively, owners and                vent gas, lower steam, net heating value,        wastewater are in chloroprene service.
operators may submit an electronic file       perimeter assist air, pilot gas, premix
consistent with the extensible markup         assist air, total steam, and upper steam.           This section applies beginning no
language (XML) schema listed on the              (1) §§ 63.487(a)(1)(i) and (b)(l)(i);         later than the compliance dates
EPA's ERT website. Data collected using          (2) § 63.489(b)(2);                           specified in§ 63.481(0). To determine if
test methods that are not supported by           (3) § 63.490(a)(1);                           process vents, storage vessels, or
the EPA's ERT as listed on the EPA's             (4) §§ 63.491(b)(3)(i) through                wastewater in a process at affected
ERT website at the time of the test must      (b )( 3) (iii);                                  sources producing neoprene are in
be included as an attachment in the ERT          (5) § 63.494(d);                              chloroprene service, as defined in
or alternate electronic file.                    (6) § 63.496(b)(7)(i)(A);                     § 63.482, owners and operators must
                                                 (7) § 63.497(a)(2);                           comply with the requirements in
■ 144. Amend§ 63.507 by revising
                                                 (8) § 63.498(d)(5)(ii)(E);                    paragraphs (a) through (c) of this
paragraph (c) introductory text and                                                            section, as applicable.
                                                 (9) § 63.502(k)(1);
adding paragraphs (c)(5) and (6) to read                                                          (a) For each continuous front-end
                                                 (10) §§ 63.504(c)(1) through (c)(3);
as follows:                                                                                    process vent, each batch front-end
                                                 (11) § 63.107(h)(9)(i) related to criteria
§ 63.507   Implementation and enforcement.    in § 63.1 l(b);                                  process vent, and each back-end process
                                                 (12) § 63.113(a)(1);                          vent in a process at affected sources
*     *      *    *     *
                                                 (13) § 63.114(a)(2);                          producing neoprene, owners and
   (c) The autliontles that cannot be
                                                 (14) §§ 63.116(a)(1) through (a)(3);          operators must measure the flow rate
delegated to State, local, or Tribal
                                                 (15) §§ 63.117(a)(5)(i) through               and concentration of chloroprene of
agencies are as specifiea in paragraphs
                                              (a)(5)(iii);                                     each process vent as specified in
(c)(1) through (6) oft 1s sect10n.
                                                 (16) § 63.118(f)(5);                          paragraphs (a)(1) through (5) of this
*     *      *    *     *                        (17) The last sentence in                     section.
  (5) Approval of an alternative to any       § 63.119(e)(1);                                     (1) Measurements must be made prior
electronic reporting to the EPA required         (18) §§ 63.120(e)(1) through (e)(6);          to any dilution of the vent streams.
by this subpart.                                 (19) §§ 63.122(c)(2) and (g)(3);                 (2) Measurements may be made on the
  (6) Approval of an extension request           (20) § 63.126(b)(2)(i);                       combined vent streams at an elastomer
under§ 63.6(i)(4)(ii).                           (21) § 63.127(a)(2);                          product process unit or for each
■ 145. Add§ 63.508 to read as follows:           (22) §§ 63.128(b)(1) through (b)(3);          separate vent stream.
                                                 (23) §§ 63.129(a)(5)(i) through                  (3) The sampling site shall be after the
§ 63.508   Flare requirements.                                                                 last recovery device (if any recovery
                                              (a)(5)(iii);
   (a) For any flare that is used to reduce      (24) §§ 63.130(a)(2)(i), (c), and (d)(5);     devices are present) but prior to the
organic HAP emissions from an EPPU,              (25) §§ 63.139(c)(3) and (d)(3);              inlet of any control device that is
the owner or operator may elect to               (26) §§ 63.145(j)(1) through (j)(3);          present and prior to release to the
comply with the requirements in this             (27) §§ 63.146(b)(7)(i)(A) through            atmosphere. Method 1 or 1A of
section in lieu of the requirements of        (b)(7)(i)(C);                                    appendix A-1 to 40 CFR part 60, as
§ 63.11(b) and the requirements                  (28) § 63.147(d)(1);                          appropriate, must be used for the
referenced therein. The owner or                 (29) §§ 63.172(d);                            selection of the sampling sites. For vents
operator may also elect to comply with           (30) §§ 63.180(e)(1) through (e)(3);          smaller than 0.10 meter in diameter,
the requirements in this section                 (31) § 63.181(g)(1)(iii); and                 sample at one point at the center of the
pursuant to the overlap provisions               (32) The phrase "including periods            duct.
provided in§ 63.481(k)(2). However,           when a flare pilot light system does not            (4) The gas volumetric flow rate must
beginning no later than the compliance        have a flame " in§ 63.181(g)(2)(i).              be determined using Method 2, 2A, 2C,
dates specified in§ 63.481(n), the               (b) The exceptions specified in               2D, 2F, or 2G of appendices A-1 and A-
provisions specified in paragraphs (a)(1)     paragraphs (b) through (o) of§ 63.108            2 to 40 CFR part 60, as appropriate.
through (32) of this section no longer        apply, except as specified in paragraphs            (5) Except as specified in paragraph
apply. Instead, if an owner or operator       (b)(1) through (5) of this section.              (a)(6) of this section, the concentration
reduces organic HAP emissions from an            (1) Where the term "chemical                  of chloroprene must be determined
EPPU by venting emissions through a           manufacturing process unit" is used, the         using Method 18 of appendix A-6 to 40
closed-vent system to a steam-assisted,       term "EPPU" applies instead for the              CFR part 60 or Method 320 of appendix
air-assisted, or non-assisted flare, then     purposes of this subpart.                        A to this part.
the owner or operator must meet the              (2) Where the reference                          (6) You may elect to use ASTM
applicable requirements for flares as         "§ 63.100(k)(10) " is used, the reference        D6348-12 (Reapproved 2020)
specified in§§ 63.670 and 63.671,             § 63.481(n) applies instead for the              (incorporated by reference,§ 63.14) in
including the provisions in tables 12         purposes of this subpart.                        lieu of Method 320 of appendix A to
and 13 to subpart CC of this part, except        (3) Where the phrase "Hazardous               this part as specified in paragraph (a)(5)
as specified in paragraph (b) of this         Organic Chemical Manufacturing" is               of this section. To comply with this




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www.epa.gov/electronic-reporting-air-          used in paragraphs (a)(2)(i) and (ii) of       limit for process vents, storage tanks,
emissions/cedri) for this subpart. The         this section, if measured values are           and wastewater systems shall include
date report templates become available         unavailable for any of the 15-minute           records of all monitoring parameters in
will be listed on the CEDRI website.           periods within the hour.                       the Notification of Compliance Status
Unless the Administrator or delegated             (3) Whenever a process change, as           and summary reports required by
state agency or other authority has            defined in§ 63.115(e), is made that            subpart A of this part.
approved a different schedule for              causes the emission rate from a de                (d) Beginning no later than July 15,
submission of reports under§ 63.9(i)           minimis emission point to become a             2024, owners and operators must submit
and§ 63.10(a), the report must be              process vent with an emission rate of          performance test reports in accordance
submitted by the deadline specified in         one pound per year or greater, the             with this paragraph. Unless otherwise
this subpart, regardless of the method in      owner or operator shall submit a report        specified in this subpart, within 60 days
which the report is submitted. If a report     within 180 calendar days after the             after the date of completing each
is submitted via CEDRI, the certifier's        process change. The report may be              performance test required by this
electronic signature during the                submitted as part of the next summary          subpart, owners and operators must
submission process replaces the                report required under§ 63.10(e)(3). The        submit the results of the performance
requirements in§ 63.10(e)(3)(v),               report shall include:                          test following the procedures specified
§ 63.10(e)(3)(vi)(L), and                         (i) A description of the process            in§ 63.9(k). Data collected using test
§ 63.10(e)(3)(vi)(M) to submit the date of     change; and                                    methods supported by the EPA's
the report and the name, title, and               (ii) The results of the recalculation of    Electronic Reporting Tool (ERT) as
signature of the responsible official who      the emission rate.                             listed on the EPA's ERT website
is certifying the accuracy of the report.         (4) For each existing, new, or              (https://www.epa.gov/electronic-
   (1) Reports of monitoring data,             reconstructed affected BLR and WSR             reporting-air-emissi ans/electronic-
including 15-minute monitoring values          source, beginning no later than the            reporting-tool-ert) at the time of the test
as well as daily average values or per-        compliance dates specified in                  must be submitted in a file format
unit operation average values, as              § 63.521(c), for each excursion that is        generated using the EPA's ERT.
applicable, of monitored parameters for        not an excused excursion, the report           Alternatively, owners and operators
all operating days or unit operations          must include a list of the affected            may submit an electronic file consistent
when the average values were outside           sources or equipment, the monitored            with the extensible markup language
the ranges established in the                  parameter, an estimate of the quantity in      (XML) schema listed on the EPA's ERT
Notification of Compliance Status or           pounds of each regulated pollutant             website. Data collected using test
operating permit, including reports            emitted over any emission limit, a             methods that are not supported by the
specified in paragraph (a)(4) of this          description of the method used to              EPA's ERT as listed on the EPA's ERT
section.                                       estimate the emissions, the cause of the
   (2) Reports of the duration of periods                                                     website at the time of the test must be
                                               excursion (including unknown cause, if         included as an attachment in the ERT or
when monitoring data is not collected
                                               applicable), as applicable, and the            alternate electronic file.
for each excursion caused by
                                               corrective action taken. Include the start
insufficient monitoring data, including                                                       ■ 161. Amend§ 63.529 by revising
                                               date, start time, and duration in hours
reports specified in paragraph (a)(4) of                                                      paragraph (c) introductory text, and
                                               of each excursion.
this section. An excursion means any of                                                       adding paragraph (c)(5) as follows:
                                                  (5) For pressure relief device subject
the three cases listed in paragraph
(a)(2)(i) or (a)(2)(ii) of this section. For   to§ 63.527(f), report each pressure            § 63.529   Implementation and enforcement.
a control device where multiple                release to the atmosphere, including           *     *     *     *     *
parameters are monitored, if one or            pressure relief device identification             (c) The authorities that cannot be
more of the parameters meets the               name or number, the start date, start          delegated to State, local, or Tribal
excursion criteria in paragraph (a)(2)(i)      time, and duration (in minutes) of the         agencies are as specified in paragraphs
or (a)(2)(ii) of this section, this is         pressure release; and an estimate of the       (c)(1) through (5) of this section.
considered a single excursion for the          mass quantity in pounds of each organic
                                               HAP released.                                  *     *     *     *     *
control device. In the report, include the                                                      (5) Approval of an alternative to any
identification of the source, start date,         (6) For heat exchangers subject to
                                               § 63.104 of subpart F of this part, the        electronic reporting to the EPA required
start time, duration in hours, and                                                            by this subpart.
monitored parameter(s) meeting the             information specified in§ 63.104(f)(2) of
excursion criteria.                            subpart F of this part.                        ■ 162. Amend table 1 to subpart W by:
   (i) When the period of control device          (b) The owner or operator of any            ■ a. Revising the header row;
operation is 4 hours or greater in an          affected BLR source, as well as the            ■ b. Revising entry"§ 63.6(e)(1)(i)";
operating day and monitoring data are          owner or operator of any affected WSR
                                                                                              ■ c. Adding entries"§ 63.6(e)(1)(ii)",
insufficient to constitute a valid hour of     source who is subject to the leak              "§ 63.6(e)(1)(iii)", "63.6(e)(2)", and
data, as defined in paragraph (a)(2)(iii)      detection and repair program specified
                                                                                              "63.6(e)(3)';
of this section, for at least 75 percent of    in subpart H of this part, shall
                                                                                              ■ d. Revising entry"§ 63.6(g)";
the operating hours.                           implement the reporting requirements
                                               outlined therein. Copies of all reports        ■ e. Adding entry"§ 63.7(a)(4)"; and
   (ii) When the period of control device
operation is less than 4 hours in an           shall be retained as records for a period      ■ f. Revising entries"§ 63.7(e)(1)",
operating day and more than one of the         of 5 years, in accordance with the             "§ 63.7(g)(1)", "§ 63.8(c)(1)(i)",
hours during the period of operation           requirements of 40 CFR 63.10(b)(1).            "§ 63.8(c)(1)(iii)", "§ 63.9(k)",
does not constitute a valid hour of data          (c) The owner or operator of any            "§ 63.10(d)(2)", "§ 63.10(d)(5)" and
due to insufficient monitoring data.           affected BLR source, as well as the            "§ 63.10(e)(3)".
   (iii) Monitoring data are insufficient      owner or operator of any affected WSR            The revisions and additions read as
to constitute a valid hour of data, as         source that is subject to the emission         follows:




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                         Federal Register/Vol. 89, No. 96/Thursday, May 16, 2024/Rules and Regulations                                                                                           43275

                        TABLE 1 TO SUBPART W OF PART 63-GENERAL PROVISIONS APPLICABILITY TO SUBPART W

                                                                  Applies to subpart W

                                                                                           WSR equipment leak
          Reference                                                                         standard, and BLR                                                          Comment
                                              BLR                     WSR                     equipment leak
                                                                                          standard (40 CFR part
                                                                                              63, subpart H)



§ 63.6(e)(1 )(i)                                                       See Comment                                                            Yes, before July 15, 2027. No, beginning on and after July
                                                                                                                                                15, 2027. See § 63.525(k) for general duty requirement.
§ 63.6(e)(1 )(ii) ................ .                                   See Comment                                                            Yes, before July 15, 2027. No, beginning on and after July
                                                                                                                                                15, 2027.
§ 63.6(e)(1 )(iii) .............. ..   Yes .... ...... .. ...   Yes .... ...... .. ... Yes.
63.6(e)(2) ...................... .    N/A ...............      N/A ............... N/A ...............................                       Reserved.
63.6(e)(3) ...................... .                                 See Comment                                                               Yes, before July 15, 2027. No, beginning on and after July
                                                                                                                                                15, 2027.


§63.6(g) ........................ .    Yes .. .. ...... .....   Yes .... ...... .. ...   Yes                                                  Affected sources have the opportunity to demonstrate
                                                                                                                                                other alternatives to the Administrator.


§ 63.7(a)(4) .....................     Yes ...............      Yes ...............      Yes.


§ 63.7(e)(1) .................... .     Yes, before July 15, 2027. No, beginning on and after                                                 See § 63.525(1). Subpart W also contains test methods
                                                            July 15, 2027.                                                                      specific to BLR and WSR sources.


§ 63.7(g)(1) .....................     Yes ...............      Yes ...............      No ................................                  Subpart H specifies performance test reporting. Addition-
                                                                                                                                                ally, this subpart specifies how and when the perform-
                                                                                                                                                ance test results are reported for BLR and WSR.
§ 63.8(b)(3) .................... .    Yes .... ...... ..... Yes .. .. ...... ..... Yes.
§ 63.8(c)(1 )(i) ................ ..    Yes, before July 15, 2027. No, beginning on and after
                                                                 July 15, 2027.


§ 63.8(c)(1 )(iii) .............. ..    Yes, before July 15, 2027. No, beginning on and after
                                                            July 15, 2027.


§63.9(k) ........................ .    Yes .... ...... .....    Yes .... ...... .....    Yes.


§ 63.10( d)(2) .................. .    No ................      No                       No .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..   This subpart and Subpart H specify performance test re-
                                                                                                                                                porting requirements.


§ 63.10(d)(5) ...................       Yes, before July 15, 2027. No, beginning on and after
                                                            July 15, 2027.


§ 63.10(e)(3) ...................      Yes ...............      Yes ...............      No ................................                  Except that on and after July 15, 2027, the reports shall be
                                                                                                                                                submitted according to and in the format required by
                                                                                                                                                § 63.528(a).




■ 163. Add table 2 to subpart W to read
as follows:
                                            TABLE 2 TO SUBPART W OF PART 63-TOXIC EOUIVALENCY FACTORS

                                                                                                                                                                                           Toxic
                                                                    Dioxin and Furan Congener                                                                                        equivalency factor

1,2,3, 7,8-pentachlorodibenzo-p-dioxin .....................................................................................................................................
1,2,3,4,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
1,2,3,7,8,9-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1
1,2,3,6,7,8-hexachlorodibenzo-p-dioxin ...................................................................................................................................                            0.1




                                                                                                  Add.230
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ENVIRONMENTAL PROTECTION                   approximately 14 tpy. We also estimate       Research Triangle Park, North Carolina
AGENCY                                     that these proposed amendments to the        27711; telephone number: (919) 541–
                                           NESHAP will reduce excess emissions          4036; and email address:
40 CFR Parts 60 and 63                     of HAP from flares in the SOCMI and          bouchard.andrew@epa.gov.
[EPA–HQ–OAR–2022–0730; FRL–9327–01–
                                           P&R I source categories by an additional
                                                                                        SUPPLEMENTARY INFORMATION:
OAR]                                       4,858 tpy. Lastly, we estimate that the
                                           proposed amendments to the NSPS                 Participation in virtual public
RIN 2060–AV71                              would reduce VOC emissions from the          hearing. The public hearing will be held
                                           SOCMI source category by                     via virtual platform on May 16, 2023.
New Source Performance Standards           approximately 1,609 tpy.                     The hearing will convene at 11:00 a.m.
for the Synthetic Organic Chemical
                                           DATES:                                       Eastern Time (ET) and will conclude at
Manufacturing Industry and National           Comments. Comments must be                7:00 p.m. ET. The EPA may close a
Emission Standards for Hazardous Air
                                           received on or before June 26, 2023.         session 15 minutes after the last pre-
Pollutants for the Synthetic Organic
                                           Under the Paperwork Reduction Act            registered speaker has testified if there
Chemical Manufacturing Industry and
                                           (PRA), comments on the information           are not additional speakers. The EPA
Group I & II Polymers and Resins           collection provisions are best assured of    will announce further details on the
Industry                                   consideration if the Office of               virtual public hearing website at https://
AGENCY: Environmental Protection           Management and Budget (OMB)                  www.epa.gov/stationary-sources-air-
Agency (EPA).                              receives a copy of your comments on or       pollution/synthetic-organic-chemical-
ACTION: Proposed rule.                     before May 25, 2023.                         manufacturing-industry-organic-
                                             Public hearing: The EPA will hold a        national, https://www.epa.gov/
SUMMARY: The U.S. Environmental            virtual public hearing on May 16, 2023.      stationary-sources-air-pollution/group-i-
Protection Agency (EPA) is proposing       See SUPPLEMENTARY INFORMATION for            polymers-and-resins-national-emission-
amendments to the New Source               information on the public hearing.           standards-hazardous, and https://
Performance Standards (NSPS) that          ADDRESSES: You may send comments,            www.epa.gov/stationary-sources-air-
apply to the Synthetic Organic Chemical    identified by Docket ID No. EPA–HQ–          pollution/epoxy-resins-production-and-
Manufacturing Industry (SOCMI) and to      OAR–2022–0730, by any of the                 non-nylon-polyamides-national-
the National Emission Standards for        following methods:                           emission. If the EPA receives a high
Hazardous Air Pollutants (NESHAP)             • Federal eRulemaking Portal:             volume of registrations for the public
that apply to the SOCMI (more              https://www.regulations.gov/ (our            hearing, we may continue the public
commonly referred to as the Hazardous                                                   hearing on May 17, 2023.
                                           preferred method). Follow the online
Organic NESHAP or HON) and Group I         instructions for submitting comments.           The EPA will begin pre-registering
and II Polymers and Resins Industries         • Email: a-and-r-docket@epa.gov.          speakers for the hearing no later than 1
(P&R I and P&R II). The EPA is             Include Docket ID No. EPA–HQ–OAR–            business day following the publication
proposing decisions resulting from the     2022–0730 in the subject line of the         of this document in the Federal
Agency’s technology review of the HON,     message.                                     Register. The EPA will accept
P&R I, and P&R II, and its eight-year        • Fax: (202) 566–9744. Attention           registrations on an individual basis. To
review of the NSPS that apply to the       Docket ID No. EPA–HQ–OAR–2022–               register to speak at the virtual hearing,
SOCMI. The EPA is also proposing           0730.                                        please use the online registration form
amendments to the NSPS for equipment         • Mail: U.S. Environmental                 available at any of the following
leaks of volatile organic compounds        Protection Agency, EPA Docket Center,        websites: https://www.epa.gov/
(VOC) in SOCMI based on its                Docket ID No. EPA–HQ–OAR–2022–               stationary-sources-air-pollution/
reconsideration of certain issues raised   0730, Mail Code 28221T, 1200                 synthetic-organic-chemical-
in an administrative petition for          Pennsylvania Avenue NW, Washington,          manufacturing-industry-organic-
reconsideration. Furthermore, the EPA      DC 20460.                                    national, https://www.epa.gov/
is proposing to strengthen the emission       • Hand/Courier Delivery: EPA Docket       stationary-sources-air-pollution/group-i-
standards for ethylene oxide (EtO)         Center, WJC West Building, Room 3334,        polymers-and-resins-national-emission-
emissions and chloroprene emissions        1301 Constitution Avenue NW,                 standards-hazardous, or https://
after considering the results of a risk    Washington, DC 20004. The Docket             www.epa.gov/stationary-sources-air-
assessment for the HON and Neoprene        Center’s hours of operation are 8:30         pollution/epoxy-resins-production-and-
Production processes subject to P&R I.     a.m.–4:30 p.m., Monday–Friday (except        non-nylon-polyamides-national-
Lastly, the EPA is proposing to remove     Federal Holidays).                           emission; or contact the public hearing
exemptions from standards for periods         Instructions: All submissions received    team at (888) 372–8699 or by email at
of startup, shutdown, and malfunction      must include the Docket ID No. for this      SPPDpublichearing@epa.gov. The last
(SSM), to add work practice standards      rulemaking. Comments received may be         day to pre-register to speak at the
for such periods where appropriate, and    posted without change to https://            hearing will be May 10, 2023. Prior to
to add provisions for electronic           www.regulations.gov/, including any          the hearing, the EPA will post a general
reporting. We estimate that the            personal information provided. For           agenda that will list pre-registered
proposed amendments to the NESHAP          detailed instructions on sending             speakers in approximate order at:
would reduce hazardous air pollutants      comments and additional information          https://www.epa.gov/stationary-sources-
(HAP) emissions (excluding EtO and         on the rulemaking process, see the           air-pollution/synthetic-organic-
chloroprene) from the SOCMI, P&R I,        SUPPLEMENTARY INFORMATION section of         chemical-manufacturing-industry-
and P&R II sources by approximately        this document.                               organic-national, https://www.epa.gov/
1,123 tons per year (tpy), reduce EtO      FOR FURTHER INFORMATION CONTACT: Mr.         stationary-sources-air-pollution/group-i-
emissions from HON processes by            Andrew Bouchard, Sector Policies and         polymers-and-resins-national-emission-
approximately 58 tpy, and reduce           Programs Division (E143–01), Office of       standards-hazardous, and https://
chloroprene emissions from Neoprene        Air Quality Planning and Standards,          www.epa.gov/stationary-sources-air-
Production processes in P&R I by           U.S. Environmental Protection Agency,        pollution/epoxy-resins-production-and-



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operator training. Therefore, we are         beginning 1 year after monitoring            P&R II. For details on these proposed
proposing that all existing affected         begins.                                      amendments, see section III.E of this
sources, and all new affected sources                                                     preamble. Except for the removal of the
                                             c. Rationale for Proposed Compliance
under the current rules that commenced                                                    affirmative defense provisions in P&R I,
                                             Dates of Proposed CAA Section 112(f)
construction or reconstruction after                                                      we are positing that facilities would
                                             Amendments
December 31, 1992 (for HON) or after                                                      need some time to successfully
June 12, 1995 (for P&R I), and on or            As previously mentioned in this           accomplish these revisions, including
before April 25, 2023, must comply with      preamble, we are proposing under CAA         time to read and understand the
the new process vent requirements no         section 112(f), new provisions               amended rule requirements, to evaluate
                                             considering results of the risk              their operations to ensure that they can
later than 3 years from the publication
                                             assessments to address emissions of EtO      meet the standards during periods of
date of the final rule (or upon startup,
                                             from equipment leaks, flares, heat           startup and shutdown, as defined in the
whichever is later). For all new affected
                                             exchange systems, maintenance vents,         rule, and make any necessary
sources that commence construction or        process vents, storage vessels, and
reconstruction after April 25, 2023, we                                                   adjustments, including making
                                             wastewater at HON processes; and             adjustments to standard operating
are proposing owners or operators            emissions of chloroprene from                procedures, and to convert reporting
comply with the new process vent             continuous front-end process vents,          mechanisms to install necessary
requirements within 60 days after the        batch front-end process vents,               hardware and software. As previously
publication date of the final rule (or       maintenance vents, storage vessels, and      mentioned, the EPA recognizes the
upon startup, whichever is later).           wastewater associated with neoprene          confusion that multiple different
   Compliance dates for the fenceline        production processes subject to P&R I.       compliance dates for individual
monitoring provisions proposed under         The proposed provisions will require         requirements would create and the
CAA section 112 (d)(6) consider the          additional time to plan, purchase, and       additional burden such an assortment of
amount of time that it will take owners      install equipment for EtO or                 dates would impose. From our
and operators to develop their siting        chloroprene control. For example, for        assessment of the timeframe needed for
plans and secure the capabilities to         HON process vents in EtO service, if the     compliance with the entirety of the
conduct the monitoring and analyze the       affected source cannot demonstrate 99.9      proposed revisions to SSM requirements
results. For fenceline monitoring, the       percent control of EtO emissions, or         as well as the new proposed electronic
compliance timeline also must consider       reduce EtO emissions to less than 1          reporting requirements for flare
the timeline for controls to be installed    ppmv (from each process vent) or 5           management plans, compliance reports,
and operational before root cause            pounds per year (for all combined            and performance evaluation reports, the
analysis and application of corrective       process vents), then a new control           EPA considers a period of 3 years after
measures can take place. However, the        system will need to be installed.            the publication date of the final rule to
actual monitoring can and must begin at      Therefore, we are proposing a                be the most expeditious compliance
least a year before to develop the annual    compliance date of 2 years after the         period practicable and, thus, is
average concentration baseline.              publication date of the final rule, or       proposing that all affected sources be in
Therefore, we are proposing that owners      upon startup, whichever is later for all     compliance with these revised
and operators of all existing sources and    existing affected sources, and all new       requirements upon initial startup or
all new affected sources under the           affected sources under the current rules     within 3 years of the publication date of
current rules that commenced                 that commenced construction or               the final rule, whichever is later.
construction or reconstruction after         reconstruction after December 31, 1992       However, we are proposing to provide
December 31, 1992 (for HON) or after         (for HON) or after June 12, 1995 (for        60 days after the publication date of the
June 12, 1995 (for P&R I), and on or         P&R I), and on or before April 25, 2023      final rule (or upon startup, whichever is
                                             to comply with the proposed EtO and          later) for owners or operators of all
before April 25, 2023 must begin
                                             chloroprene requirements. For all new        affected sources to comply with the
fenceline monitoring one year after the
                                             affected sources that commence               requirement to report electronically. We
publication date of the final rule and
                                             construction or reconstruction after         are also proposing to provide 60 days
must perform root cause analysis and
                                             April 25, 2023, we are proposing owners      after the publication date of the final
apply corrective action requirements
                                             or operators comply with the EtO and         rule (or upon startup, whichever is later)
upon exceedance of an annual average
                                             chloroprene requirements within 60           for owners or operators of P&R I affected
concentration action level starting 3        days after the publication date of the
years after the publication date of the                                                   sources to comply with the removal of
                                             final rule (or upon startup, whichever is    the affirmative defense provisions.
final rule (i.e., such that by after two     later).
years after the publication date of this                                                  2. NSPS Subparts VVb, IIIa, NNNa,
rule, facilities will have installed         d. Rationale for Proposed Compliance         RRRa
controls to reduce EtO and chloroprene       Dates of Other Proposed Amendments              We are proposing that all sources of
(as discussed in section III.F.1.c of this      We are proposing to change the HON,       equipment leaks in the SOCMI
preamble) and be able to compare 1 year      P&R I, and P&R II requirements for SSM       (regulated under 40 CFR part 60,
of data to the annual average                by removing the exemption from the           subpart VVb) and all SOCMI air
concentration action level by year 3).       requirements to meet the standard            oxidation unit processes, distillation
For all new affected sources that            during SSM periods, proposing                operations, and reactor processes
commence construction or                     alternative standards where needed, and      (regulated under 40 CFR part 60,
reconstruction after April 25, 2023, we      by removing the requirement to develop       subparts IIIa, NNNa, and RRRa,
are proposing owners or operators begin      and implement an SSM plan. In                respectively), that commenced
fenceline monitoring within 60 days          addition, we are proposing to remove all     construction, reconstruction, or
after the publication date of the final      of the regulatory affirmative defense        modification on or after April 25, 2023,
rule (or upon startup, whichever is          provisions from P&R I. We are also           would need to meet the requirements of
later). We are also proposing to require     proposing electronic reporting               the new NSPS upon startup of the new,
quarterly reporting of fenceline results     requirements for the HON, P&R I, and         reconstructed or modified facility or 60



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                    Federal Register/Vol. 69, No. 59/Friday, March 26, 2004/Rules and Regulations                                15687

[FR Doc. 04-6309 Filed 3-25-04; 8:45 am]        IV. What Criteria Must Louisiana's Program     Monday through Friday, 8:30 a.m. to 4
BILLING CODE 6560-50-P                            Meet To Be Approved?                         p.m. excluding Federal holidays.
                                                V. How Did LDEQ Meet The Subpart E                2. Copies of the State submittal.
                                                  Approval Criteria?                           Copies of the State submittal are also
ENVIRONMENTAL PROTECTION                        VI. What Is Being Delegated?                   available for public inspection during
                                                VII. What Is Not Being Delegated?
AGENCY                                          VIII. How Will Applicability Determinations
                                                                                               official business hours, by appointment
                                                  Under Section 112 Be Made?                   at the Louisiana Department of
40 CFR Parts 60, 61, and 63                     IX. What Authority Does EPA Have?              Environmental Quality, 602 N. Fifth
[LA-69-2-761 ?a; FRL-7638-7]                    X. What Information Must LDEQ Provide To       Street, Baton Rouge, LA 70802.
                                                  EPA?                                            3. Electronic Access. You may access
New Source Performance Standards                XI. What Is EPA's Oversight Of This            this Federal Register document
and National Emission Standards for               Delegation To LDEQ?                          electronically through the
Hazardous Air Pollutants; Delegation            XII. Should Sources Submit Notices To EPA      Regulation.gov Web site located at http:/
of Authority to Louisiana                         OrLDEQ?                                      lwww.regulations.gov where you can
                                                XIII. How Will Unchanged Authorities Be        find, review, and submit comments on
AGENCY: Environmental Protection                  Delegated To LDEQ In The Future?
                                                                                               federal rules that are open for comment
Agency (EPA).                                   XIV. What Is The Relationship Between
                                                  RCRA And The Hazardous Waste
                                                                                               and have been published in the Federal
ACTION: Direct final rule; delegation of                                                       Register.
                                                  Combustor MACT?
authority.                                      XV. Final Action                                  The E Government Act of 2002 states
                                                XVI. Statutory and Executive Order Reviews     that to "to the extent practicable"
SUMMARY: The Louisiana Department of
                                                                                               agencies shall accept electronic
Environmental Quality (LDEQ) has                I. General Information                         comments and establish electronic
submitted updated regulations for                                                              dockets. Also, President Bush's
receiving delegation of EPA authority           A. What Is the Public Rulemaking File?
                                                                                               management plan for government
for implementation and enforcement of              EPA is committed to ensuring public         includes a government-wide electronic
New Source Performance Standards                access to the information that is used to      rulemaking system. The first phase of
(NSPS) and National Emission                    inform the public of the Agency's              the e-Rulemaking initiative was the
Standards for Hazardous Air Pollutants          decisions regarding the environment            development of a Federal portal that
(NESHAPs) for all sources (both part 70         and human health and to ensuring that          displays all Federal Register notices
and non-part 70 sources). These                 the public has an opportunity to               and proposed rules open for comment.
regulations apply to certain NSPS               participate in the Agency's decision           The URL for this site is http:/I
promulgated by EPA at 40 CFR part 60,           process. The official public rulemaking        www.regulations.gov. The site also
as amended through July 1, 2002; and            file consists of the documents                 provides the public with the ability to
certain NESHAPs promulgated by EPA,             specifically referenced in this action,        submit electronic comments that can
as amended through July 1, 2002, for            any public comments received, and              then be transferred to the Agency
both 40 CFR part 61 and 63 standards.           other information related to this action.      responsible for the rule.
The delegation of authority under this          The public rulemaking file does not               EP A's policy is to make all comments
notice does not apply to sources located        include Confidential Business                  it receives, whether submitted
in Indian Country. EPA is providing             Information (CBI) or other information         electronically or on paper, available for
notice that it has approved delegation of       for which disclosure is restricted by          public viewing at the Regional Office as
certain NSPS to LDEQ, and taking direct         statute, although such information is a        EPA receives them and without change.
final action to approve the delegation of       part of the administrative record for this     However, those portions of a comment
certain NESHAPs to LDEQ.                        action. The public rulemaking file is the      that contain properly identified and
DATES: This rule is effective on May 25,        collection of materials that is available      claimed CBI or other information for
2004, without further notice, unless            for public viewing at the Regional             which disclosure is restricted by statute
EPA receives adverse comment by April           Office. The administrative record is the       will be excluded from the public
26, 2004. If EPA receives such comment,         collection of material used to inform the      rulemaking file. The entire comment,
EPA will publish a timely withdrawal in         public of the Agency's decision on this        including publicly restricted
the Federal Register informing the              rulemaking action.                             information, will be included in the
public that this rule will not take effect.                                                    administrative record for this action.
                                                B. How Can I Get Copies of This
ADDRESSES: Comments may be                      Document and Other Related                     C. How and To Whom Do I Submit
submitted electronically, by mail, or           Information?                                   Comments?
through hand delivery/courier. Follow
the detailed instructions as provided in           1. An official public rulemaking file is      You may submit comments
the SUPPLEMENTARY INFORMATION section           available for inspection at the Regional       electronically, by mail, or through hand
below.                                          Office. The Regional Office has                delivery/courier. To ensure proper
FOR FURTHER INFORMATION CONTACT: Mr.            established an official public                 receipt by EPA, identify the appropriate
Jeffery Robinson, U.S. EPA, Region 6,           rulemaking file for this action under          docket identification number in the
Multimedia Planning and Permitting              LA-69-2-7617a. The public rulemaking           subject line on the first page of your
Division (6PD), 1445 Ross Avenue,               file is available for viewing at the Air       comment. Please ensure that your
Dallas, TX 75202-2733, (214) 665-6435;          Permits Section, U.S. Environmental            comments are submitted within the
or electronic mail at                           Protection Agency, 1445 Ross Avenue,           specified comment period. Comments
robinson .jeffrey@epa.gov.                      Suite 700, Dallas, Texas 75202-2733.           received after the close of the comment
                                                EPA requests that, if at all possible, you     period will be marked "late." EPA is not
SUPPLEMENTARY INFORMATION:
                                                contact the person listed in the FOR           required to consider these late
Table of Contents                               FURTHER INFORMATION CONTACT section            comments. If you wish to submit CBI or
I. General Information                          two working days in advance to                 information that is otherwise protected
II. What Does This Action Do?                   schedule your inspection. The Regional         by statute, please follow the instructions
III. What Is The Authority For Delegation?      Office's official hours of business are        in Section I.D, below. Do not use e-mail


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to submit CBI or information protected    address, or other contact information,       system. Any claim of CBI will be waived
by statute.                               unless you provide it in the text of your    for comments received through
   1. Electronically. If you submit an    comments.                                    Regulations.gov or EP A's e-mail system.
electronic comment as prescribed             iii. Disk or CD ROM. You may submit       For further advice on submitting CBI to
below, EPA recommends that you            comments on a disk or CD ROM that            the Agency, contact the person listed in
include your name, mailing address,       you mail to the mailing address              the FOR FURTHER INFORMATION CONTACT
and an e-mail address or other contact    identified in Section I.C.2, directly        section of this notice.
information in the body of your           below. These electronic submissions
comment. Also include this contact        will be accepted in WordPerfect, Word,       E. Privacy Notice
information on the outside of any disk    or ASCII file format. You should avoid          It is important to note that the
or CD ROM you submit, and in any          the use of special characters and any        comments you provide to EPA will be
cover letter accompanying the disk or     form of encryption.                          publicly disclosed in a rulemaking
CD ROM. This ensures that you can be         2. By Mail. Send your comments to:        docket or on the Internet. The comments
identified as the submitter of the        Jeff Robinson, Air Permits Section           are made available for public viewing as
comment, and allows EPA to contact        (6PD-R), Multimedia Planning and             EPA receives them and without change.
you in case EPA cannot read your          Permitting Division, U.S. Environmental      Any personal information you choose to
comment due to technical difficulties or Protection Agency, 1445 Ross Avenue,          include in your comment will be
needs further information on the          Suite 700, Dallas, Texas 75202-2733.         included in the docket. However, EPA
substance of your comment. EP A's         Please include the text "Public              will exclude from the public docket any
policy is that EPA will not edit your     comment on proposed rulemaking LA-           information labeled confidential
comment, and any identifying or contact 69-2-7617a" in the subject line of the         business information (CBI), copyrighted
information provided in the body of a     first page of your comments.                 material or other information restricted
comment will be included as part of the      3. By Hand Delivery or Courier.           from disclosure by statute.
comment that is placed in the public      Deliver your written comments or                Comments submitted via
rulemaking file, and may be made          comments on a disk or CD ROM to: Jeff        Regulations.gov will not collect any
available in EP A's electronic public     Robinson, Air Permits Section (6PD-R),       personal information, e-mail addresses,
docket. If EPA cannot read your           Multimedia Planning and Permitting           or contact information unless they are
comment due to technical difficulties     Division, U.S. Environmental Protection      included in the body of the comment.
and cannot contact you for clarification, Agency, 1445 Ross Avenue, Suite 700,         Comments submitted via
EPA may not be able to consider your      Dallas, Texas 75202-2733, Attention          Regulations.gov will be submitted
comment.                                  "Public comment on proposed                  anonymously unless you include
   i. E-mail. Comments may be sent by     rulemaking LA-69-2-7617a." Such              personal information in the body of the
electronic mail (e-mail) to               deliveries are only accepted during          comment. Please be advised that EPA
robinson.jeffrey@epa.gov, Attention       official hours of business, which are        cannot contact you for any necessary
"Public comment on proposed               Monday through Friday, 8:30 a.m. to          clarification if technical difficulties
rulemaking LA-69-2-7617a." In             4:00 p.m., excluding Federal holidays.       arise unless your contact information is
contrast to EP A's electronic public      D. How Should I Submit CBI to the            included in the body of comments
docket, EP A's e-mail system is not an    Agency?                                      submitted through Regulations.gov.
"anonymous access" system. If you                                                      However, EP A's e-mail system is not an
send an e-mail comment directly to the       For comments submitted to the
                                          Agency by mail or hand delivery, in          anonymous system. E-mail addresses
Docket without going through EPA's                                                     are automatically captured by EP A's e-
electronic public docket, EP A's e-mail   either paper or electronic format, you
                                          may assert a business confidentiality        mail system and included as part of
system automatically captures your e-                                                  your comment that is placed in the
mail address. E-mail addresses that are   claim covering confidential business
                                          information (CBI) included in your           public rulemaking docket.
automatically captured by EP A's e-mail
system are included as part of the        comment by clearly marking any part or       F. What Should I Consider as I Prepare
comment that is placed in the official    all of the information as CBI at the time    My Comments for EPA?
public docket, and made available in      the comment is submitted to EPA. CBI            You may find the following
EP A's electronic public docket.          should be submitted separately, if           suggestions helpful for preparing your
   ii. Regulations.gov. As an alternative possible, to facilitate handling by EPA.     comments:
to e-mail, you may submit comments        Submit one complete version of the              1. Explain your views as clearly as
electronically to EPA by using the        comment that includes the properly           possible.
Federal web-based portal that displays    labeled CBI for EPA's official docket and       2. Describe any assumptions that you
all Federal Register notices and          one copy that does not contain the CBI       used.
proposed rules open for comment. To       to be included in the public docket. If         3. Provide any technical information
use this method, access the               you submit CBI on a disk or CD ROM,          and/or data you used that support your
Regulations.gov Web site at http:/I       mark on the outside of the disk or the       views.
www.regulations.gov, then select          CD ROM that it contains CBI and then            4. If you estimate potential burden or
"Environmental Protection Agency" at      identify the CBI within the disk or CD       costs, explain how you arrived at your
the top of the page and click on the      ROM. Also submit a non-CBI version if        estimate.
"Go" button. The list of current EPA      possible. Information which is properly         5. Provide specific examples to
actions available for comment will be     labeled as CBI and submitted by mail or      illustrate your concerns.
displayed. Select the appropriate action hand delivery will be disclosed only in          6. Offer alternatives.
and please follow the online              accordance with procedures set forth in         7. Make sure to submit your
instructions for submitting comments.     40 CFR part 2. For comments submitted        comments by the comment period
Unlike EP A's e-mail system, the          by EP A's e-mail system or through           deadline identified.
Regulations.gov Web site is an            Regulations.gov, no CBI claim may be            8. To ensure proper receipt by EPA,
"anonymous" system, which means           asserted. Do not submit CBI to               identify the appropriate docket
EPA will not know your identity, e-mail Regulations.gov or via EPA's e-mail            identification number in the subject line


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on the first page of your response. It       promulgated without changes (straight          section 5116-Incorporation by
would also be helpful if you provided        delegation), only the criteria of 40 CFR       Reference of 40 CFR part 61; Chapter 51,
the name, date, and Federal Register         63.91(d) must be met. 40 CFR                   Subchapter C, section 5122-
citation related to your comments.           63.91(d)(3) provides that interim or final     Incorporation by Reference of 40 CFR
                                             Title V program approval will satisfy the      part 63 as it Applies to Major Sources,
II. What Does This Action Do?                                                               except for the compliance date
                                             criteria of 40 CFR 63.91(d) for part 70
   EPA is providing notice that it is        sources.                                       established in Subpart S-Pulp and
delegating authority for implementation                                                     Paper Industry at 40 CFR 63.440(d)(1);
and enforcement of certain NSPS to           V. How Did LDEQ Meet the Subpart E             and Chapter 53, Subchapter B, section
LDEQ. EPA is also taking direct final        Approval Criteria?                             5311-Incorporation by Reference of 40
action to approve the delegation of             As part of its Title V submission,          CFR part 63 as it Applies to Area
certain NESHAPs to LDEQ. With this           LDEQ stated that it intended to use the        Sources. For NSPS, this revision
delegation, LDEQ has the primary             mechanism of incorporation by                  incorporated all NSPS promulgated by
responsibility to implement and enforce      reference to adopt unchanged Federal           EPA (except Subpart AAA-Standards
the delegated standards.                     section 112 into its regulations. This         of Performance for New Residential
                                             applied to both existing and future            Wood Heaters) as amended in the
III. What Is the Authority for               standards as they applied to part 70           Federal Register through July 1, 2002.
Delegation?                                  sources. 59 FR 43797 (August 25, 1994)         For the part 61 NESHAPs, this revision
   Section 111(c)(1) of the Clean Air Act    and 60 FR 17750 (April 7, 1995). On            included all NESHAPs promulgated by
(CAA) authorizes EPA to delegate             September 12, 1995, EPA promulgated            EPA as amended in the Federal Register
authority to any state agency which          final full approval of the State's             through July 1, 2002, excluding subparts
submits adequate regulatory procedures       operating permits program effective            B, H, I, K, Q, R, T, and W. For the part
for implementation and enforcement of        October 12, 1995. 60 FR 42296. Under           63 NESHAPs, this includes the
the NSPS program. The NSPS standards         40 CFR 63.91(d)(2), once a state has           NESHAPs set forth in Table 1 below.
are codified at 40 CFR part 60.              satisfied up-front approval criteria, it       The effective date of the Federal
   Section 112(1) of the CAA and 40 CFR      needs only to reference the previous           delegation for parts 61 and 63 standards
part 63, subpart E, authorizes EPA to        demonstration and reaffirm that it still       is the effective date of this rule.
delegate authority to any state or local     meets the criteria for any subsequent
agency which submits adequate                submittals. LDEQ has affirmed that it                                               TABLE 1
regulatory procedures for                    still meets the up-front approval criteria.              40 CFR Part 63 NESHAP for Source
implementation and enforcement of               In addition, Louisiana has requested                              Categories
emission standards for hazardous air         delegation of a State requirement to
pollutants. The hazardous air pollutant      adjust a section 112 rule. The approval               Subpart                           Emission standard
standards are codified at 40 CFR parts       of this adjustment is regulated at 40 CFR
61 and 63, respectively.                     63.92. The LDEQ has adopted an earlier         A .... .... .... ........           General Provisions
                                                                                            D .. .. .. .. .. .. .. .. .. ..     Early Reductions
IV. What Criteria Must Louisiana's           compliance date and is more stringent          F ....................              Hazardous Organic NESHAP
Program Meet To Be Approved?                 than the Federal requirement at 40 CFR                                               (HON)-Synthetic Organic
                                             63.440(d)(1). The LDEQhas met the                                                    Chemical Manufacturing
  EPA previously approved LDEQ's             criteria of 40 CFR 63.91, and the State                                              Industry (SOCMI)
program for the delegation of NSPS. 47       compliance date adjustment is not              G ....................              HON-SOCMI Process
FR 07665 (February 22, 1982). This           ambiguous with respect to stringency of                                              Vents, Storage Vessels,
action notifies the public that EPA is       applicability, level of control,                                                     Transfer Operations and
updating LDEQ's delegation to                compliance and enforcement measures,                                                 Wastewater
implement and enforce certain NSPS.                                                         H .... .... .... ........           HON-Equipment Leaks
                                             or the compliance date of any affected
As to the NESHAP standards in 40 CFR                                                        I .............. .... ....          HON-Certain Processes
                                             source or emission point, and satisfies                                              Negotiated Equipment
parts 61 and 63, section 112(1) of the       the requirements at 40 CFR 63.92(b).                                                 Leak Regulation
CAA enables EPA to approve State air                                                        J .. .... .... ...........          Polyvinyl Chloride and Co-
toxics programs or rules to operate in       VI. What Is Being Delegated?
                                                                                                                                  polymers Production
place of the Federal air toxics program        EPA received requests to update the          L .. .. .. .. .. .. .. .. .. .. .   Coke Oven Batteries
or rules. 40 CFR part 63, subpart E          NSPS and NESHAP delegations on                 M ............ .... ....            Perchloroethylene Dry
(subpart E) governs EP A's approval of       November 21, 1997, and June 17, 2003.                                                Cleaning
State rules or programs under section        LDEQ requested the EPA to update the           N .... .... .... ........           Chromium Electroplating
112(1).                                      delegation of authority for the following:     0 ........ .... .... ....           Ethylene Oxide Sterilizers
  EPA will approve an air toxics               A. NSPS (40 CFR part 60 standards)           Q ....................              Industrial Process Cooling
                                                                                                                                  Towers
program if we find that:                     through July 1, 2002;                          R .... .... .... ........           Gasoline Distribution
   (1) the State program is "no less           B. NESHAPs (40 CFR part 61                   S .... .... .... ........           Pulp and Paper Industry
stringent" than the corresponding            standards) through July 1, 2002; and           T ........ .... .... ....           Halogenated Solvent Clean-
Federal program or rule;                       C. NESHAPs (40 CFR part 63                                                         ing
   (2) the State has adequate authority      standards) through July 1, 2002.               U .... .... .... ........           Polymers and Resins I
and resources to implement the                 LDEQ's request was for delegation of         W ...................               Polymers and Resins II-
program;                                     certain NSPS and NESHAP for all                                                      Epoxy Resins and Non-
   (3) the schedule for implementation       sources (both part 70 and non-part 70                                                Nylon Polyamides
and compliance is sufficiently               sources). The request includes revisions       X .. .. .. .. .. .. .. .. .. ..     Secondary Lead Smelting
                                             of the NESHAP standards adopted                Y ....................              Marine Tank Vessel Loading
expeditious; and                                                                            AA .. .. .. .. .. .. .. .. ..       Phosphoric Acid
   (4) the program otherwise complies        unchanged into Louisiana                       BB ...... .... .... ....            Phosphate Fertilizers
with Federal guidance.                       Administrative Code (LAC) Title 33:III,        CC .................                Petroleum Refineries
  In order to obtain approval of its         Chapter 30, Subchapter A, section              DD .. ...............               Off-Site Waste and Recovery
program to implement and enforce             3003-Incorporation by Reference 40             EE ...... .... .... ....            Magnetic Tape Manufac-
Federal section 112 rules as                 CFR part 60; Chapter 51, Subchapter B,                                               turing



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                 TABLE 1-Continued                                           TABLE 1-Continued                        standards have certain provisions that
        40 CFR Part 63 NESHAP for Source                             40 CFR Part 63 NESHAP for Source                 cannot be delegated to the States [e.g. 40
                    Categories                                                   Categories                           CFR 63.106(b)]. 1 Therefore, any MACT
                                                                                                                      standard that EPA is delegating to LDEQ
     Subpart                     Emission standard                  Subpart                Emission standard          that provides that certain authorities
                                                                                                                      cannot be delegated are retained by EPA
GG                          Aerospace Manufacturing           TTTT ...... .... ....   Leather Finishing Operations
                                                              UUUU ............       Cellulose Production Manu-
                                                                                                                      and not delegated. Furthermore, no
                              and Rework
HH                          Oil and Natural Gas Produc-                                 facture                       authorities are delegated that require
                              tion                            VVVV .............      Boat Manufacturing              rulemaking in the Federal Register to
II .................... .   Shipbuilding and Ship Repair      CCCCC ...... ....       Coke Ovens: Pushing,            implement, or where Federal overview
JJ .................. .     Wood Furniture Manufac-                                     Quenching and Battery         is the only way to ensure national
                              turing                                                    Stacks                        consistency in the application of the
KK ................ ..      Printing and Publishing In-
                              dustry                                                                                  standards or requirements of CAA
LL .................. .     Primary Aluminum Reduction        VII. What Is Not Being Delegated?                       section 112. Finally, section 112 (r), the
                               Plants                           As mentioned above, LDEQ has not                      accidental release program authority, is
00 ................ .       Tanks-Level 1                                                                             not being delegated by this approval.
pp ................ ..      Containers
                                                              been delegated the authority for the
QQ ................ .       Surface Impoundments              following standards:                                       All of the inquiries and requests
RR ................ .       Individual Drain Systems            40 CFR Part 60, Subpart AAA                           concerning implementation and
ss ................ ..      Closed Vent Systems, Con-         (Standards of Performance for New                       enforcement of the excluded standards
                              trol Devices, Recovery De-      Residential Wood Heaters);                              in the State of Louisiana should be
                              vices and Routing to a            40 CFR Part 61, Subpart B (National                   directed to the EPA Region 6 Office.
                               Fuel Gas System or a                                                                      In addition, this delegation to LDEQ
                               Process
                                                              Emission Standards for Radon
TT ................ ..      Equipment Leaks-Level 1           Emissions from Underground Uranium                      to implement and enforce certain NSPS
uu ................ .       Equipment Leaks-Level 2           Mines);                                                 and NESHAPs does not extend to
                              Standards                         40 CFR Part 61, Subpart H (National                   sources or activities located in Indian
vv ................ ..      Oil-Water Separators and          Emission Standards for Emissions of                     country, as defined in 18 U.S.C. 1151.
                              Organic-Water Separators                                                                Under this definition, EPA treats as
WW .............. ..        Storage Vessels (Tanks)-
                                                              Radionuclides Other Than Radon From
                              Control Level 2                 Department of Energy Facilities);                       reservations, trust lands validly set
yy ................ ..      Generic Maximum Achiev-             40 CFR Part 61, Subpart I (National                   aside for the use of a Tribe even if the
                              able Control Technology         Emission Standards for Radionuclide                     trust lands have not been formally
                              Standards                       Emissions from Federal Facilities Other                 designated as a reservation. Consistent
CCC .............. .        Steel Pickling-HCI Process        Than Nuclear Regulatory Commission                      with previous federal program
                               Facilities and Hydrochloric                                                            approvals or delegations, EPA will
                                                              Licensees and Not Covered by Subpart
                              Acid Regeneration
ODD .............. .        Mineral Wool Production           H);                                                     continue to implement the NSPS and
EEE .............. .        Hazardous Waste Combus-              40 CFR Part 61, Subpart K-(National                  NESHAPs in Indian country because
                              tors                            Emission Standards for Radionuclide                     LDEQ has not adequately demonstrated
GGG ............ ..         Pharmaceuticals Production        Emissions from Elemental Phosphorus                     its authority over sources and activities
HHH .............. .        Natural Gas Transmission
                                                              Plants);                                                located within the exterior boundaries
                              and Storage
Ill .................. ..   Flexible Polyurethane Foam           40 CFR Part 61, Subpart Q (National                  of Indian reservations and other areas in
                               Production                     Emission Standards for Radon                            Indian country.
JJJ ................ .      Polymers and Resins, Group        Emissions from Department of Energy
                               IV                             facilities);                                            VIII. How Will Applicability
LLL ................ .      Portland Cement Manufac-             40 CFR Part 61, Subpart R (National                  Determinations Under Section 112 Be
                              turing
                                                              Emission Standards for Radon                            Made?
MMM ............ ..         Pesticide Active Ingredient
                               Production                     Emissions from Phosphogypsum                              In approving this delegation, LDEQ
NNN .............. .        Wool Fiberglass Manufac-          Stacks);                                                will obtain concurrence from EPA on
                              turing                             40 CFR Part 61, Subpart T (National                  any matter involving the interpretation
000 ............ ..         Polymer and Resins Ill-           Emission Standards for Radon                            of section 112 of the CAA or 40 CFR
                              Amino Resins and Phe-           Emissions from the Disposal of Uranium                  part 63 to the extent that
                              nolic Resins
PPP .............. .        Polyether Polyols Production      Mill Tailings); and                                     implementation, administration, or
QQQ ............ ..         Primary Copper Smelting              40 CFR Part 61, Subpart W (National                  enforcement of these sections have not
RRR .............. .        Secondary Aluminum                Emission Standards for Radon                            been covered by EPA determinations or
TTT .............. ..       Primary Lead Smelting             Emissions from Operating Mill                           guidance.
uuu .............. .        Petroleum Refineries-Cata-
                                                              Tailings).
                              lytic Cracking, Catalytic                                                               IX. What Authority Does EPA Have?
                               Reforming and Sulfer              In addition, EPA cannot delegate to a
                               Plants                         State any of the Category II Subpart A                    We retain the right, as provided by
vvv .............. .        Publicly Owned Treatment          authorities set forth in 40 CFR                         CAA section 112(1)(7), to enforce any
                              Works (POTW)                    63.91(g)(2). These include the following                applicable emission standard or
XXX .............. .        Ferroalloys Production            provisions: § 63.6(g), Approval of                      requirement under section 112. EPA
cccc .......... ..          Nutritional Yeast Mfg.
                                                              Alternative Non-Opacity Standards;                      also has the authority to make certain
GGGG .......... .           Vegetable Oil Production-
                              Solvent Extraction              § 63.6(h)(9), Approval of Alternative                   decisions under the General Provisions
HHHH .......... ..          Wet Formed Fiberglass Mat         Opacity Standards;§ 63.7(e)(2)(ii) and
                               Production                     (f), Approval of Major Alternatives to                    1 On June 23, 2003, EPA modified certain

ssss ............ .         Surface Coating for Metal         Test Methods; § 63.S(f), Approval of                    NESHAPs to clarify which authorities can be
                              Coil                                                                                    delegated to State, local, and tribal agencies. 68 FR
                                                              Major Alternatives to Monitoring; and                   37334. However, this delegation is not directly
                                                              § 63.l0(f), Approval of Major                           affected by these changes, since LDEQ is receiving
                                                              Alternatives to Recordkeeping and                       delegation of the part 63 standards that were
                                                                                                                      promulgated by EPA, as amended thorugh July 1,
                                                              Reporting. In addition, some MACT                       2002.




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(subpart A) of part 63. We are granting                 waiver of performance testing                 NESHAPs. Sources do not need to send
LDEQ some of these authorities, and                     (§ 63.7(e)(2)(iv) and (h)(2), (3));           a copy to EPA. EPA Region 6 waives the
retaining others, as explained in                       approvals/ disapprovals of minor or           requirement that notifications and
sections VI and VII above. In addition,                 intermediate alternative monitoring           reports for delegated standards be
EPA may review and disapprove of                        methods(§ 63.8(f)); approval of               submitted to EPA in addition to LDEQ
State determinations and subsequently                   adjustments to time periods for               in accordance with 40 CFR 63.9(a)(4)(ii)
require corrections. (See 40 CFR                        submitting reports(§ 63.9 and 63.10);         and 63.10(a)(4)(ii).
63.91(g) and 65 FR 55810, 55823,                        and approvals/ disapprovals of minor
                                                                                                      XIII. How Will Unchanged Authorities
September 14, 2000.)                                    alternatives to recordkeeping and
                                                                                                      Be Delegated to LDEQ in the Future?
  Furthermore, we retain any authority                  reporting (§ 63. l0(f)).
in an individual emission standard that                    Additionally, EP A's Emission                 In the future, LDEQ will only need to
may not be delegated according to                       Measurement Center of the Emissions           send a letter of request to EPA, Region
provisions of the standard. 2 Also, listed              Monitoring and Analysis Division must         6, for those NSPS and NESHAP
in the footnotes of the part 63 delegation              receive copies of any approved                regulations that LDEQ has adopted by
table at the end of this rule are the                   intermediate changes to test methods or       reference. The letter must reference the
authorities that cannot be delegated to                 monitoring. (Please note that                 previous up-front approval
any State or local agency which we                      intermediate changes to test methods          demonstration and reaffirm that it still
therefore retain.                                       must be demonstrated as equivalent            meets the up-front approval criteria. We
                                                        through the procedures set out in EPA         will respond in writing to the request
X. What Information Must LDEQ                           method 301.) This information on              stating that the request for delegation is
Provide to EPA?                                         approved intermediate changes to test         either granted or denied. If a request is
   In delegating the authority to                       methods and monitoring will be used to        approved, the effective date of the
implement and enforce these rules and                   compile a database of decisions that will     delegation will be the date of our
in granting a waiver of EPA notification                be accessible to State and local agencies     response letter. A Federal Register will
requirements, we require LDEQ to input                  and EPA Regions for reference in              be published to inform the public and
all source information into the                         making future decisions. (For                 affected sources of the delegation,
Aerometric Information Retrieval                        definitions of major, intermediate and        indicate where source notifications and
System (AIRS) for both point and area                   minor alternative test methods or             reports should be sent, and to amend
sources. LDEQ must enter this                           monitoring methods, see 40 CFR 63.90).        the relevant portions of the Code of
information into the AIRS system and                    The LDEQ should forward these                 Federal Regulations showing which
update the information by September 30                  intermediate test methods or monitoring       NSPS and NESHAP standards have been
of every year. LDEQ must provide any                    changes via mail or facsimile to: Chief,      delegated to LDEQ.
additional compliance related                           Source Categorization Group A, EPA
                                                        (MD-19), Research Triangle Park, NC           XIV. What Is the Relationship Between
information to EPA, Region 6, Office of                                                               RCRA and the Hazardous Waste
Enforcement and Compliance Assurance                    2 7711, Facsimile telephone number:
                                                        (919) 541-1039.                               Combustor MACT?
within 45 days of a request under 40
CFR 63.96(a).                                                                                            As part of today's rule, we are
                                                        XI. What Is EP A's Oversight of This
   In receiving delegation for specific                                                               delegating, under the CAA,
                                                        Delegation to LDEQ?                           implementation and enforcement
General Provisions authorities, LDEQ
must submit to EPA Region 6 on a semi-                    EPA must oversee LDEQ's decisions           authority for the Hazardous Waste
annual basis, copies of determinations                  to ensure the delegated authorities are       Combustor (HWC) MACT (subpart EEE)
issued under these authorities. For part                being adequately implemented and              to LDEQ. Many of the sources subject to
63 standards, these determinations                      enforced. We will integrate oversight of      the HWC MACT are also subject to the
include: Applicability determinations                   the delegated authorities into the            RCRA permitting requirements. We
(§ 63.1); approval/disapprovals of                      existing mechanisms and resources for         expect air emissions and related
construction and reconstruction                         oversight currently in place. If, during      operating requirements found in the
(§ 63.5(e) and (f)); notifications                      oversight, we determine that LDEQ             HWC MACT will be included in part 70
regarding the use of a continuous                       made decisions that decreased the             permits issued by LDEQ. However,
opacity monitoring system                               stringency of the delegated standards,        RCRA permits will still be required for
(§ 63.6(h)(7)(ii)); finding of compliance               then LDEQ shall be required to take           all other aspects of the combustion unit
(§ 63.6(h)(8)); approval/disapprovals of                corrective actions and the source(s)          and the facility that are governed by
compliance extensions (§ 63.6(i));                      affected by the decisions will be             RCRA (e.g., corrective action, general
approvals/ disapprovals of minor                        notified, as required by 40 CFR               facility standards, other combustor-
(§ 63.7(e)(2)(i)) or intermediate                       63.91(g)(1)(ii). We will initiate             specific concerns such as materials
(§ 63.7(e)(2)(ii) and (f)) alternative test             withdrawal of the program or rule if the      handling, risk-based emissions limits
methods; approval of shorter sampling                   corrective actions taken are insufficient.    and operating requirements, as
times and volumes(§ 63.7(e)(2)(iii));                   XII. Should Sources Submit Notices to         appropriate and other hazardous waste
                                                        EPAorLDEQ?                                    management units). 3 See the HWC
  2 EPA amended several NESHPs to clarify the
implementation and enforcement authorities within         All of the information required                3 EPA promulgated the HWC MACT (40 CFR part

the standards that we may delegate to each State,       pursuant to the Federal NSPS and              63, subpart EEE) under the joint authority of the
local or tribal agency such as LDEQ. 68 FR 37334        NESHAP (40 CFR parts 60, 61, and 63)          CAA and RCRA. Before this rule went into effect,
(June 23, 2003). A complete list of the standards is                                                  the air emissions from these sources were primarily
contained in a copy of the proposal available for
                                                        should be submitted by sources located        regulated under the authority of RCRA. See 40 CFR
review at the Dallas Regional Office. An electronic     outside of Indian country, directly to the    parts 264, 265, 266, and 270. With the release of
copy of the proposal may be obtained from EPA's         LDEQ at the following address: Office of      HWC MACT, the air emissions are now regulated
Internet site, http:/!www.epa.gov/ttn/oarpg/            Environmental Services, P. 0. Box 4313,       under both CAA and RCRA. Even though both
t3pfpr.html. EPA believes the changes make all of                                                     statutes give EPA the authority to regulate air
the standards consistent in defining what may not
                                                        Baton Rouge, LA 70821-4313. The               emissions, we determined that having the emissions
be delegated in actions such as the one we are          LDEQ is the primary point of contact          standards and permitting requirements in both sets
taking today.                                           with respect to delegated NSPS and                                                      Continued




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MACT rule preamble discussion (64 FR                  the rule will not take effect. We will         the distribution of power and
52828, 52839-52843 (September 30,                     address all public comments in a               responsibilities established in the Clean
1999)), and the RCRA Site-Specific Risk               subsequent final rule based on the             Air Act. This rule also is not subject to
Assessment Policy for HWC Facilities                  proposed rule. The EPA will not                Executive Order 13045 "Protection of
dated June 2000 for more information                  institute a second comment period on           Children from Environmental Health
on the interrelationship of the MACT                  this action. Any parties interested in         Risks and Safety Risks" (62 FR 19885,
rule with the RCRA Omnibus provision                  commenting must do so at this time.            April 23, 1997), because it is not
and site specific risk assessments.                   Please note that if we receive adverse         economically significant.
                                                      comment on an amendment, paragraph,
XV. Final Action                                                                                        In reviewing delegation submissions,
                                                      or section of this rule and if that
  The public was provided the                         provision may be severed from the              EP A's role is to approve submissions
opportunity to comment on the                         remainder of the rule, we may adopt as         provided that they meet the criteria of
proposed approval of the program and                  final those provisions of the rule that are    the Clean Air Act. In this context, in the
mechanism for delegation of section 112               not the subject of an adverse comment.         absence of a prior existing requirement
standards, as they apply to part 70                                                                  for the State to use voluntary consensus
sources, on August 24, 1994, for the                  XVI. Statutory and Executive Order
                                                                                                     standards (VCS), EPA has no authority
proposed interim approval of LDEQ's                   Reviews
                                                                                                     to disapprove a delegation submission
Title V operating permits program; and                  Under Executive Order 12866 (58 FR           for failure to use VCS. It would thus be
on April 7, 1995, for the proposed final              51735, October 4, 1993), this action is        inconsistent with applicable law for
approval of LDEQ's Title V operating                  not a "significant regulatory action" and      EPA to use VCS in place of a delegation
permits program. In EP A's final full                 therefore is not subject to review by the      submission that otherwise satisfies the
approval of Louisiana's Operating                     Office of Management and Budget. For           provisions of the Clean Air Act. Thus,
Permits Program (60 FR 47296), the EPA                this reason, this action is also not
                                                                                                     the requirements of section 12(d) of the
discussed the public comments on the                  subject to Executive Order 13211,
                                                      "Actions Concerning Regulations That           National Technology Transfer and
proposed delegation of the Title V                                                                   Advancement Act of 1995 (15 U.S.C.
operating permits program. In this                    Significantly Affect Energy Supply,
                                                      Distribution, or Use" (66 FR 28355, May        272 note) do not apply. This rule does
action, the public is given the
opportunity to comment on the                         22, 2001). This action merely approves         not impose an information collection
approval of LDEQ request for delegation               state law as meeting Federal                   burden under the provisions of the
of authority to implement and enforce                 requirements and imposes no additional         Paperwork Reduction Act of 1995 (44
certain section 112 standards for all                 requirements beyond those imposed by           U.S.C. 3501 et seq.).
sources (both part 70 and non-part 70                 state law. Accordingly, the                       The Congressional Review Act, 5
sources) which have been adopted by                   Administrator certifies that this rule         U.S.C. 801 et seq., as added by the Small
reference into Louisiana's state                      will not have a significant economic           Business Regulatory Enforcement
regulations. However, the Agency views                impact on a substantial number of small        Fairness Act of 1996, generally provides
the approval of these requests as a                   entities under the Regulatory Flexibility      that before a rule may take effect, the
noncontroversial action and anticipates               Act (5 U.S.C. 601 et seq.). Because this       agency promulgating the rule must
no adverse comments. Therefore, EPA is                rule approves pre-existing requirements
                                                                                                     submit a rule report, which includes a
publishing this rule without prior                    under state law and does not impose
                                                      any additional enforceable duty beyond         copy of the rule, to each House of the
proposal. However, in the "Proposed                                                                  Congress and to the Comptroller General
Rules" section of today's Federal                     that required by state law, it does not
                                                      contain any unfunded mandate or                of the United States. EPA will submit a
Register publication, EPA is publishing                                                              report containing this rule and other
a separate document that will serve as                significantly or uniquely affect small
                                                      governments, as described in the               required information to the U.S. Senate,
the proposal to approve the program                                                                  the U.S. House of Representatives, and
and delegation of authority described in              Unfunded Mandates Reform Act of 1995
                                                      (Public Law 104-4).                            the Comptroller General of the United
this action if adverse comments are
received. This action will be effective                 This rule also does not have tribal          States prior to publication of the rule in
May 25, 2004, without further notice                  implications because it will not have a        the Federal Register. A major rule
unless the Agency receives relevant                   substantial direct effect on one or more       cannot take effect until 60 days after it
adverse comments by April 26, 2004.                   Indian tribes, on the relationship             is published in the Federal Register.
  If EPA receives adverse comments, we                between the Federal Government and             This action is not a "major rule" as
will publish a timely withdrawal in the               Indian tribes, or on the distribution of       defined by 5 U.S.C. 804(2).
Federal Register informing the public                 power and responsibilities between the
                                                                                                        Under section 307(b)(1) of the Clean
                                                      Federal Government and Indian tribes,
                                                      as specified by Executive Order 13175          Air Act, petitions for judicial review of
of implementing regulations would be duplicative.                                                    this action must be filed in the United
For this reason, using the authority provided by      (65 FR 67249, November 9, 2000). This
section 1006(b) of RCRA, EPA deferred the RCRA        action also does not have Federalism           States Court of Appeals for the
requirements for the HWC emission controls to the     implications because it does not have          appropriate circuit by May 25, 2004.
CAA requirements of 40 CFR part 63, subpart EEE.
                                                      substantial direct effects on the States,      Filing a petition for reconsideration by
After a facility has demonstrated compliance with                                                    the Administrator of this final rule does
the HWC MACT, the RCRA standards for air              on the relationship between the national
emissions from these units will no longer apply,      government and the States, or on the           not affect the finality of this rule for the
with the exception of section 3005(c)(3) of RCRA,     distribution of power and                      purposes of judicial review nor does it
which requires that each RCRA permit contain the                                                     extend the time within which a petition
terms and conditions necessary to protect human
                                                      responsibilities among the various
health and the environment. Under this provision      levels of government, as specified in          for judicial review may be filed, and
of RCRA, if a regulatory authority determines that    Executive Order 13132 (64 FR 43255,            shall not postpone the effectiveness of
more stringent conditions that the HWC MACT are       August 10, 1999). This action merely           such rule or action. This action may not
necessary to protect human health and the                                                            be challenged later in proceedings to
environment for a particular facility, then that
                                                      approves a state request to receive
regulatory authority may impose those conditions      delegation of certain Federal standards,       enforce its requirements. (See section
in the facility's RCRA permit.                        and does not alter the relationship or         307(b)(2).)


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List of Subjects                                                            PART 60-[AMENDED]                                                            PART 61-[AMENDED]
40 CFR Part 60
                                                                            ■ 1. The authority citation for part 60                                      ■ 1. The authority citation for part 61
  Environmental protection,                                                 continues to read as follows:                                                continues to read as follows:
Administrative practice and procedure,
Air pollution control, Hazardous                                                Authority: 42 U.S.C. 7401 et seq.                                            Authority: 42 U.S.C. 7401 et seq.
substances, Intergovernmental relations,                                                                                                                 ■ 2. Section 61.04 is amended by
                                                                            ■ 2. Section 60.4 is amended by revising
Reporting and recordkeeping                                                                                                                              revising paragraph (b)(T), and adding
                                                                            paragraph (b)(T), and adding paragraph
requirements.                                                                                                                                            paragraph (c)(6)(ii) to read as follows:
                                                                            (e)(2) to read as follows:
40 CFR Part 61
                                                                            § 60.4        Address.                                                       § 61.04       Addresses.
  Environmental protection, Air
pollution control, Arsenic, Benzene,                                        *       *    *                *         *                                    *       *    *                *         *
Beryllium, Hazardous substances,                                                (b) * * *                                                                    (b) * * *
Mercury, Radon, Reporting, and                                                 (T) State of Louisiana: Louisiana                                           (T) State of Louisiana: Louisiana
recordkeeping requirements, Uranium,                                        Department of Environmental Quality,                                         Department of Environmental Quality,
Vinyl chloride.                                                             Office of Environmental Assessment,                                          Office of Environmental Assessment,
40 CFR Part 63                                                              P.O. Box 4314, Baton Rouge, LA 70821-                                        P.O. Box 4314, Baton Rouge, LA 70821-
                                                                            4314. For a list of delegated standards                                      4314.
  Environmental protection, Air                                             for Louisiana (excluding Indian
pollution control, Hazardous                                                country), see paragraph (e)(l) of this                                       *         *  *                *         *
substances, Intergovernmental relations,                                                                                                                     (c) *
                                                                            section.                                                                               * *
Reporting and recordkeeping
requirements.                                                               *         *      *            *         *                                        (6) * * *
  Authority: This action is issued under the                                    (e) *     * *                                                              (ii) Louisiana. The Louisiana
authority of sections 111 and 112 of the                                      (2) Louisiana. The Louisiana                                               Department of Environmental Quality
Clean Air Act, as amended, 42 U.S.C. 7411                                   Department of Environmental Quality                                          (LDEQ) has been delegated the
and 7412.                                                                                                                                                following part 61 standards
                                                                            has been delegated all part 60 standards
  Dated: March 9, 2004.                                                     promulgated by EPA, except subpart                                           promulgated by EPA, as amended in the
Richard E. Greene,                                                          AAA-Standards of Performance for                                             Federal Register through July 1, 2002.
Regional Administrator, Region 6.                                           New Residential Wood Heaters, as                                             The (X) symbol is used to indicate each
  40 CFR parts 60, 61, and 63 are                                           amended in the Federal Register                                              subpart that has been delegated.
amended as follows:                                                         through July 1, 2002.
                                              DELEGATION STATUS FOR PART 61 STANDARDS-STATE OF LOUISIANA 1

 Subpart                                                                                                                                                                                                          LDEQ 2 ,3

A                  General Provisions ..................................................................................................................................................................                  X
C                  Beryllium ..................................................................................................................................................................................           X
D                  Beryllium Rocket Motor Firing .................................................................................................................................................                        X
E                  Me~ury ....................................................................................................................................................................................            X
F ............ .   Vinyl Chloride ..........................................................................................................................................................................              X
J ............ .   Equipment Leaks of Benzene .................................................................................................................................................                           X
L ............ .   Benzene Emissions from Coke By-Product Recovery Plants .............................................................................................. ..                                               X
N .......... ..    Inorganic Arsenic Emissions from Glass Manufacturing Plants ............................................................................................ .                                             X
0 .......... ..    Inorganic Arsenic Emissions from Primary Copper Smelters ................................................................................................ .                                            X
p                  Inorganic Arsenic Emissions from Arsenic Trioxide and Metallic Arsenic Production Facilities .......................................... ..                                                             X
V .......... ..    Equipment Leaks .....................................................................................................................................................................                  X
y .......... ..    Benzene Emissions from Benzene Storage Vessels ..............................................................................................................                                          X
BB ........ ..     Benzene Emissions from Benzene Transfer Operations ...................................................................................................... ..                                           X
FF ........ ..     Benzene Emissions from Benzene Waste Operations ......................................................................................................... ..                                           X
    1 Program delegated to Louisiana Department of Environmental Quality (LDEQ).
    2 Authorities which
                      may not be delegated include: § 61.04(b), Addresses of State and Local Implementing Agencies; § 61.12(d)(1 ), Compliance
with Standards and Maintenance Requirements, Alternate Means of Emission Limitation; § 61.13(h), Major Change to an Emissions Test;
§ 61.14(g), Major Modifications to Monitoring Requirements; § 61.16, Availability of Information Procedures; § 61.53(c)(4), List of Approved De-
sign, Maintenance, and Housekeeping Practices for Mercury Chier-Alkali Plants; and all authorities identified within specific subparts (e.g., under
"Delegation of Authority") that cannot be delegated.
   3 Federal rules adopted unchanged as of July 1, 2002.




*         *        *         *         *                                    § 63.99        Delegated Federal authorities.                                subject to all of the conditions and
                                                                                (a) *     * *                                                            limitations set forth in Federal law,
PART 63-[AMENDED]                                                              (18) Louisiana.                                                           regulations, policy, guidance, and
                                                                               (i) The following table lists the                                         determinations. Some authorities cannot
■ 1. The authority citation for part 63                                     specific part 63 standards that have                                         be delegated and are retained by EPA.
continues to read as follows:                                               been delegated unchanged to the                                              These include certain General
    Authority: 42 U.S.C. 7401 et seq.                                       Louisiana Department of Environmental                                        Provisions authorities and specific parts
                                                                            Quality for all sources. The "X" symbol                                      of some standards. Any amendments
■ 2. Section 63.99 is amended by adding                                     is used to indicate each subpart that has                                    made to these rules after this effective
paragraph (a)(18) to read as follows:                                       been delegated. The delegations are                                          date are not delegated.



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                                                                 DELEGATION STATUS FOR PART 63 STANDARDS-STATE OF LOUISIANA 1

      Subpart                                                                                                                                                             Source category                                                                                                                                                                                   LDEQ 2 , 3

A,,,,,,,,,,,,,,,,,,,       General Provisions 2 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                      X
D ,,,,,,,,,,,,,,,,,,       Early Reductions , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , ,       X
F ,,,,,,,,,,,,,,,,,,,      Hazardous Organic NESHAP (HON)-Synthetic Organic Chemical Manufacturing Industry (SOCMI) ,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                                                  X
G ,,,,,,,,,,,,,,,,,,       HON-SOCMI Process Vents, Storage Vessels, Transfer Operations and Wastewater ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                                        X
H ,,,,,,,,,,,,,,,,,,       HON-Equipment Leaks ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                              X
I   ,,,,,,,,,,,,,,,,,,,,   HON-Certain Processes Negotiated Equipment Leak Regulation ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                         X
J """""""""'               Polyvinyl Chloride and Copolymers Production , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                                         X
K ,,,,,,,,,,,,,,,,,,,      (Reserved).
L ,,,,,,,,,,,,,,,,,,,      Coke Oven Batteries , ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                              X
M ,,,,,,,,,,,,,,,,,,       Perchloroethylene Dry Cleaning ,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                          X
N ,,,,,,,,,,,,,,,,,,       Chromium Electroplating and Chromium Anodizing Tanks ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                  X
0 """""""""                Ethylene Oxide Sterilizers , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                 X
p """""""""'               (Reserved).
Q """""""""                Industrial Process Cooling Towers ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                X
R ,,,,,,,,,,,,,,,,,,       Gasoline Distribution ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                      X
T ,,,,,,,,,,,,,,,,,,,      Halogenated Solvent Cleaning ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                          X
u """""""""                Group I Polymers and Resins ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                              X
V ,,,,,,,,,,,,,,,,,,,      (Reserved).
W,,,,,,,,,,,,,,,,,,        Epoxy Resins Production and Non-Nylon Polyamides Production ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                       X
X ,,,,,,,,,,,,,,,,,,,      Secondary Lead Smelting , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                    X
y """""""""'               Marine Tank Vessel Loading ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                        X
z """""""""'               (Reserved).
AA,,,,,,,,,,,,,,,,         Phosphoric Acid Manufacturing Plants ,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,                                                                                                                                                 X
BB,,,,,,,,,,,,,,,,         Phosphate Fertilizers Production Plants , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,                                                                                                                                                X
                           Petroleum Refineries ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                       X
cc""""""""
DD,,,,,,,,,,,,,,,,         Off-Site Waste and Recovery Operations,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                      X
EE,,,,,,,,,,,,,,,,         Magnetic Tape Manufacturing , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,                                                                                                                                         X
FF,,,,,,,,,,,,,,,,,        (Reserved).
GG ,,,,,,,,,,,,,,,         Aerospace Manufacturing and Rework Facilities,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                          X
HH ,,,,,,,,,,,,,,,,        Oil and Natural Gas Production Facilities ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                  X
II,,,,,,,,,,,,,,,,,,,      Shipbuilding and Ship Repair Facilities ,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                               X
JJ """"""""'               Wood Furniture Manufacturing Operations ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                                      X
KK ,,,,,,,,,,,,,,,,        Printing and Publishing Industry ,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                        X
LL ,,,,,,,,,,,,,,,,,       Primary Aluminum Reduction Plants ,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,                                                                                                                                                X
MM,,,,,,,,,,,,,,,          Chemical Recovery Combustion Sources at Kraft, Soda, Sulfide, and Stand-Alone Semichemical Pulp Mills ,,,,,,,,,,,,,,                                                                                                                                                                                                                                 X
NN ,,,,,,,,,,,,,,,,        (Reserved).
00 """""""'                Tanks-Level 1 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                      X
pp""""""""                 Containers ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                 X
QQ """""""'                Surface Impoundments ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                           X
RR,,,,,,,,,,,,,,,,         Individual Drain Systems ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                          X
ss """"""""                Closed Vent Systems, Control Devices, Recovery Devices and Routing to a Fuel Gas System or a Process ,,,,,,,,,,,,,                                                                                                                                                                                                                                   X
TT,,,,,,,,,,,,,,,,,        Equipment Leaks-Control Level 1 ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,                                                                                                                                                X
uu """"""""                Equipment Leaks-Control Level 2 Standards ,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,                                                                                                                                                           X
vv """"""""                Oil-Water Separators and Organic-Water Separators ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                             X
WW,,,,,,,,,,,,,,           Storage Vessels (Tanks)-Control Level 2 ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                      X
xx""""""""                 (Reserved).
yy """"""""                Generic Maximum Achievable Control Technology Standards ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                     X
ZZ-BBB ,,,,,,,             (Reserved).
CCC,,,,,,,,,,,,,           Steel Pickling-HCI Process Facilities and Hydrochloric Acid Regeneration ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                          X
DOD,,,,,,,,,,,,,           Mineral Wool Production ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                          X
EEE ,,,,,,,,,,,,,,         Hazardous Waste Combustors ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                 X
FFF ,,,,,,,,,,,,,,         (Reserved).
GGG ,,,,,,,,,,,,,          Pharmaceuticals Production , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , ,                                 X
HHH ,,,,,,,,,,,,,          Natural Gas Transmission and Storage Facilities ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                         X
Ill,,,,,,,,,,,,,,,,,,      Flexible Polyurethane Foam Production , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,                                                                                                                                                  X
JJJ """"""""               Group IV Polymers and Resins ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                X
KKK,,,,,,,,,,,,,,          (Reserved).
LLL ,,,,,,,,,,,,,,,        Portland Cement Manufacturing ,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                           X
MMM ,,,,,,,,,,,,           Pesticide Active Ingredient Production ,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,                                                                                                                                               X
NNN ,,,,,,,,,,,,,          Wool Fiberglass Manufacturing , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , ,                                        X
000 """"""'                Amino/Phenolic Resins ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                          X
PPP,,,,,,,,,,,,,,          Polyether Po Iyo ls Production ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                    X
QQQ """"""'                Primary Copper Smelting ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                           X
RRR ,,,,,,,,,,,,,          Secondary Aluminum Production , ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,,, ,,, ,,,, ,,                                                                                                                                            X
sss """""""                (Reserved).
TTT ,,,,,,,,,,,,,,         Primary Lead Smelting ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                         X
uuu """"""'                Petroleum Refineries-Catalytic Cracking Units, Catalytic Reforming Units and Sulfur Recovery Plants ,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                                           X
vvv """""""                Publicly Owned Treatment Works (POTW) ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                         X
WWW .. ,,,,,,,,,           (Reserved).
XXX ,,,,,,,,,,,,,,         Ferroalloys Production: Ferromanganese and Silicomanganese ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                                                                                                                                                                                                     X
AAAA ,,,,,,,,,,,           Municipal Solid Waste Landfills.
cccc """""'                Nutritional Yeast Manufacturing , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , , ,                                      X



                                                                                                                  HeinOnline -- 69 Fed. Reg. 15694 2004


                                                                                                                                                                     Add.240
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                              DELEGATION STATUS FOR PART 63 STANDARDS-STATE OF LOUISIANA 1 -Continued

     Subpart                                                                                    Source category                                                                                        LDEQ 2 , 3

GGGG ,,,,,,,,,,       Solvent Extraction for Vegetable Oil Production ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                       X
HHHH ,,,,,,,,,,,      Wet Formed Fiberglass Mat Production ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                     X
JJJJ ,,,,,,,,,,,,,,   Paper and other Web (Surface Coating).
NNNN ,,,,,,,,,,,      Surface Coating of Large Appliances.
0000 ,,,,,,,,,,       Fabric Printing Coating and Dyeing.
QQQQ ,,,,,,,,,,       Surface Coating of Wood Building Products.
RRRR ,,,,,,,,,,,      Surface Coating of Metal Furniture.
SSSS ,,,,,,,,,,,      Surface Coating for Metal Coil ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,            X
TTTT ,,,,,,,,,,,,     Leather Finishing Operations ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,            X
UUUU ,,,,,,,,,,,      Cellulose Production Manufacture ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                X
VVVV ,,,,,,,,,,,      Boat Manufacturing ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,       X
WWWW ,,,,,,,          Reinforced Plastic Composites Production.
XXXX ,,,,,,,,,,,      Tire Manufacturing.
BBBBB ,,,,,,,,,       Semiconductor Manufacturing.
CCCCC ,,,,,,,,        Coke Ovens: Pushing, Quenching and Battery Stacks ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,                               X
FFFFF ,,,,,,,,,,      Integrated Iron and Steel.
JJJJJ ,,,,,,,,,,,,    Brick and Structural Clay Products Manufacturing.
KKKKK ,,,,,,,,,       Clay Ceramics Manufacturing.
LLLLL ,,,,,,,,,,,     Asphalt Roofing and Processing.
MMMMM ,,,,,,          Flexible Polyurethane Foam Fabrication Operation.
NNNNN ,,,,,,,,        Hydrochloric Acid Production, Fumed Silica Production.
PPPPP ,,,,,,,,,       Engine Test Facilities.
QQQQQ ,,,,,,,         Friction Products Manufacturing.
SSSSS ,,,,,,,,,       Refractory Products Manufacture.
    1 Program delegated to Louisiana Department of Environmental Quality (LDEQ).
    2 Authorities whichmay not be delegated include: § 63.6(g), Approval of Alternative Non-Opacity Emission Standards; § 63.6(h)(9), Approval of
Alternative Opacity Standards; § 63.7(e)(2)(ii) and (f), Approval of Major Alternatives to Test Methods; § 63.8(f), Approval of Major Alternatives to
Monitoring; § 63.10(f), Approval of Major Alternatives to Recordkeeping and Reporting; and all authorities identified in the subparts (e.g., under
"Delegation of Authority") that cannot be delegated.
  3 Federal rules adopted unchanged as of July 1, 2002.




   (ii) Affected sources within Louisiana                              DEPARTMENT OF HEALTH AND                                                 fiscal year 2002: States had to submit an
shall comply with the Federal                                          HUMAN SERVICES                                                           application to us by no later than
requirements of 40 CFR part 63-                                                                                                                 September 30, 2003. Deadline for States
subpart S-Pulp and Paper Industry,                                     Office of the Secretary                                                  to submit an application for losses
adopted by reference by the Louisiana                                                                                                           incurred in their fiscal year 2003: States
Department of Environmental Quality's                                  45 CFR Part 148                                                          must submit an application to us by no
(LDEQ), with the exception of the                                                                                                               later than June 30, 2004. Deadline for
                                                                       [CMS-2179-F]
compliance date listed in§ 63.440(d)(1).                                                                                                        States to submit an application for
The LDEQ has adopted an earlier                                        RIN 0938-AM42                                                            losses incurred in their fiscal year 2004:
compliance date than the Federal                                                                                                                States must submit an application to us
                                                                       Grants to States for Operation of                                        by no later than June 30, 2005.
requirement. The earlier compliance                                    Qualified High Risk Pools                                                ADDRESSES: Where To Submit an
date is approved by EPA pursuant to
§ 63.92. Affected sources in Louisiana                                 AGENCY: Office of the Secretary, HHS.
                                                                                                                                                Application. All initial applications and
                                                                                                                                                supplemental applications must be
that are subject to the requirements of                                ACTION: Final rule.
                                                                                                                                                submitted to: Centers for Medicare &
Subpart S shall meet the compliance
                                                                       SUMMARY: This final rule implements a                                    Medicaid Services, Acquisition and
date established at Louisiana                                                                                                                   Grants Group, Mail Stop C2-21-15,
Administrative Code, Title 33, part III,                              provision of the Trade Adjustment
                                                                      Assistance Reform Act of 2002 by                                          7500 Security Boulevard, Baltimore, MD
chapter 51, subchapter C., section 5122,                                                                                                        21244-1850, Attn: Nicole Nicholson.
C.2.                                                                  providing $40 million in Federal fiscal
                                                                      year 2003 and $40 million in Federal                                      FOR FURTHER INFORMATION CONTACT:
*       *        *        *        *                                  fiscal year 2004 to States that have                                      James Mayhew, (410) 786-9244.
[FR Doc. 04-6299 Filed 3-25-04; 8:45 am]                              incurred losses in connection with the                                    SUPPLEMENTARY INFORMATION:
BILLING CODE 6560-50-P                                                operation of qualified high risk pools                                    I. Background
                                                                      that meet certain criteria. This final rule
                                                                      also addresses comments received in                                       A. General
                                                                      response to the interim final rule that                                      Section 2745(b) of the Public Health
                                                                      was published on May 2, 2003. This                                        Service Act (PHS Act), as added by
                                                                      grant program implements section 2745                                     section 201(b) of the Trade Adjustment
                                                                      of the Public Health Service Act, as                                      Assistance Reform Act of 2002,
                                                                      added by the Trade Adjustment                                             authorizes the Secretary to make grants
                                                                      Assistance Reform Act of 2002.                                            to States for up to 50 percent of the
                                                                      DATES: Effective date. These regulations                                  losses they incur in the operation of
                                                                      are effective on April 26, 2004                                           qualified high risk pools, and
                                                                         Deadline for States to submit an                                       appropriates the necessary funds. In
                                                                      application for losses incurred in their                                  order to qualify for a grant, a State's risk


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     ENVIRONMENTAL PROTECTION                                Emissions, Moitoring Measurement and                     K. Congressional Review Act
     AGENCY                                                  Analysis Division, Office of Air Quality               IV. Statutory Authority
                                                             Planning and Standards, U.S.                           V. Judicial Review
     40 CFR Part 63                                          Environmental Protection Agency, 109                   I. Background
     [FRL–7508–8]                                            T. W. Alexander Drive, Research
                                                             Triangle Park, North Carolina 27709,                   A. How Do We Delegate Section 112
     RIN 2060–AJ26                                           telephone (919) 541–5135 or (919) 541–                 Standards to You?
                                                             0893, or electronic mail at                              The requirements in 40 CFR part 63,
     Clarifications to Existing National                     driscoll.tom@epa.gov or                                subpart E provide a framework for you,
     Emissions Standards for Hazardous                       segall.robin@epa.gov.                                  the S/L/Ts, to request and receive
     Air Pollutants Delegations’ Provisions                                                                         delegation of the NESHAP. Once you
                                                             SUPPLEMENTARY INFORMATION: Regulated
     AGENCY: Environmental Protection                        Entities. Entities potentially affected by             accept delegation, you are responsible
     Agency (EPA).                                           this rule are S/L/Ts that voluntarily                  for implementing and enforcing the
     ACTION: Final rule.                                     request delegation of section 112 rules,               NESHAP for sources in your
                                                                                                                    jurisdiction.
                                                             emissions standards, or requirements.
     SUMMARY: As part of the section 112(l),
                                                             The procedures and criteria for                        B. When a Standard Is Delegated, Can
     ‘‘Approval of State Programs and                        requesting and receiving delegation are                You Approve Changes to Any of the
     Delegation of Federal Authorities’’                     described in § 63.90 through § 63.97,                  Requirements?
     rulemaking process, EPA (we) agreed to                  excluding § 63.96, of 40 CFR part 63,
     clarify which portions of the existing                                                                            In addition to the overall
                                                             subpart E. Facilities that are subject to              implementation and enforcement
     national emission standards for                         the individual subparts to be changed
     hazardous air pollutants (NESHAP)                                                                              authority conferred by the delegation,
                                                             should not be affected by the final                    there are separate parts of each section
     contain authorities that can be delegated               amendments, which clarify the
     to State, local, and tribal agencies (S/L/                                                                     112 requirement that we cannot delegate
                                                             delegation requirements between EPA                    to you. Each individual NESHAP, for
     Ts) (65 FR 55810, September 14, 2000).                  and the S/L/Ts.
     Today’s rulemaking clarifies which                                                                             example, contains requirements that are
                                                                Outline. The information presented in               considered the ‘‘standards’’ and are,
     parts of the existing NESHAP can be                     this preamble is organized as follows:
     delegated to S/L/Ts by adding or                                                                               therefore, not delegable in terms of your
     modifying a section in each NESHAP to                   I. Background                                          making changes to them. Because the
                                                                A. How Do We Delegate Section 112                   Administrative Procedures Act requires
     describe the authorities that can be                          Standards to You?
     delegated to S/L/Ts and those that must                                                                        us to approve alternative emission
                                                                B. When a Standard is Delegated, Can You            limitations or control requirements
     be retained by us. In addition, to further                    Approve Changes to Any of the
     clarify which portions of the NESHAP                          Requirements?
                                                                                                                    through Federal rulemaking, we cannot
     are delegable, some NESHAP standards                       C. What Is the Purpose of This                      delegate our rulemaking authority to
     sections were slightly reorganized or                         Rulemaking?                                      you. More specifically, any requests by
     rephrased to separate delegable from                       D. What Are the Types of Changes We Are             sources for approval of alternative
     non-delegable authorities. These                              Making?                                          standards must be considered by us and
                                                                E. Once NESHAP Are Delegated, Does the              acted upon in a notice and comment
     clarifications do not change any                              S/L/Ts’ Enforcement Authority Replace
     substantive NESHAP requirements for                                                                            rulemaking. Additionally, we cannot
                                                                   EPA’s Authority?                                 delegate authorities that may alter the
     industrial sources.                                        F. Does Today’s Rulemaking Impact Prior
                                                                   Delegations of These Part 63 NESHAP
                                                                                                                    stringency of the standard, that require
     EFFECTIVE DATE: This final rule will be
                                                                   (Maximum Achievable Control                      Federal oversight for national
     effective on August 22, 2003.                                                                                  consistency, or that may require Federal
                                                                   Technology (MACT) Standards)?
     ADDRESSES: Docket No. A–2000–57,                           G. What Public Comments Were Received               rulemaking. Generally, requests by you
     containing supporting information used                        on the Proposal?                                 to revise standards for a source category
     to develop the proposed rule and the                    II. Overview of Changes                                (or portions thereof) must be addressed
     final rule, is available for public                        A. What Categories of Changes Are We                through subpart E or the subpart E
     inspection and copying between 8 a.m.                         Making?                                          rulemaking process for alternative
     and 4:30 p.m., Monday through Friday                       B. What Clarifications Have We Made to
                                                                   Individual Subparts?
                                                                                                                    standards. Please note that nothing in
     (except government holidays) at the Air                                                                        the section or this rulemaking usurps
                                                             III. Statutory and Executive Order Reviews
     and Radiation Docket and Information                       A. Executive Order 12866: Regulatory                your authority to have more a stringent
     Center (6102T), Room B–108, EPA West                          Planning and Review                              State program or regulatory
     Building, 1301 Constitution Avenue,                        B. Paperwork Reduction Act                          requirements, such as more stringent
     NW., Washington, DC 20460; telephone                       C. Regulatory Flexibility Act                       emission limitations, that apply to
     (202) 566–1742, fax (202) 566–1741. A                      D. Unfunded Mandates Reform Act                     sources subject to NESHAP.
     reasonable fee may be charged for                          E. Executive Order 13132: Federalism                   However, the authorities in other
     copying docket materials.                                  F. Executive Order 13175: Consultation
                                                                                                                    sections of the NESHAP, such as testing,
        Worldwide Web (WWW). In addition                           and Coordination with Indian Tribal
                                                                   Governments                                      monitoring, reporting, and
     to being available in the docket, an                       G. Executive Order 13045: Protection of             recordkeeping, may be delegable and, if
     electronic copy of this final rule will                       Children from Environmental Health               delegated, the authority to approve
     also be available on the WWW through                          Risks and Safety Risks                           alternatives to these requirements may
     the Technology Transfer Network                            H. Executive Order 13211: Actions that              be exercised by you on a case-by-case
     (TTN). Following signature, a copy of                         Significantly Affect Energy Supply,              basis once you have been delegated the
     the rule will be posted on the TTN’s                          Distribution, or Use                             NESHAP through subpart E (straight
     policy and guidance page for newly                         I. National Technology Transfer
                                                                   Advancement Act
                                                                                                                    delegation, § 63.91). These delegable
     proposed or promulgated rules: http://                                                                         authorities are similar to those in 40
                                                                J. Executive Order 12898: Federal Actions
     www.epa.gov/ttn/oarpg.                                        To Address Environmental Justice in              CFR part 63, subpart A General
     FOR FURTHER INFORMATION CONTACT: Mr.                          Minority Populations and Low-Income              Provisions, which are incorporated into
     Tom Driscoll or Ms. Robin Segall,                             Populations                                      the majority of the NESHAP. Because


VerDate Jan<31>2003   15:40 Jun 20, 2003   Jkt 200001   PO 00000   Frm 00002   Fmt 4701   Sfmt 4700   E:\FR\FM\23JNR3.SGM   23JNR3

                                                                               Add.242
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     only some of the testing, monitoring,                     • Reorganization of the standards                    HH, the delegation of authority
     reporting, and recordkeeping                            sections in NESHAP to separate                         paragraph in § 63.776 does not withhold
     requirements are delegable in subpart A,                compliance assurance measures, such as                 the delegation of any of the standards’
     EPA has identified what authorities can                 monitoring, recordkeeping, or reporting                sections. Therefore, you may have
     be delegated in the subpart E revisions                 provisions, from actual standards; or                  exercised the authority to approve
     (65 FR 55810, September 14, 2000).                        • Minor rephrasing of work practices                 alternative emissions controls or
     Section 63.91(g)(1)(i) clarifies what                   and other standards developed under                    limitations in this example. As
     ‘‘Category I’’ changes, including minor                 the authority of section 112(h) of the Act             mentioned above, you cannot approve
     and intermediate changes to testing,                    to allow approval of delegable testing,                alternatives to NESHAP’s emissions
     monitoring, recordkeeping, and                          monitoring, reporting, and                             controls or limitations because they
     reporting requirements, may be                          recordkeeping authorities by S/L/Ts and                must be established through national
     considered and approved by S/L/Ts if                    without rulemaking by us.                              rulemaking. Only we can approve
     you receive delegation for these                        E. Once NESHAP Are Delegated, Does                     alternatives to emissions controls or
     authorities from your EPA Regional                      the S/L/Ts’ Enforcement Authority                      limitations through national
     Office. For more discussion of delegable                Replace EPA’s Authority?                               rulemaking.
     authorities, see 65 FR 55811 through                                                                              If you have inadvertently approved
     55814, September 14, 2000.                                Throughout this preamble, we state                   alternatives to NESHAP’s emissions
                                                             that once NESHAP are delegated to you,                 controls or limitations for a specific
        There are similar discretionary
                                                             then you will have the authority to                    source, then the appropriate EPA
     authorities, as mentioned above, in each
                                                             implement and enforce those rules for                  Regional Office must be notified of this
     NESHAP that may also be delegated to
                                                             sources in your jurisdiction. However,                 approval. Our Regional Office will then
     you. Please note, each NESHAP being
                                                             nothing in this preamble is intended to                work with you and our Office of Air
     revised in today’s rulemaking will
                                                             suggest that your enforcement agencies                 Quality Planning and Standards, Office
     describe those authorities that will be
                                                             have replaced our Federal authority to                 of Enforcement and Compliance
     retained by EPA. All other authorities in
                                                             enforce and implement those rules. We                  Assurance, and Office of General
     those NESHAP are delegable to S/L/Ts.
                                                             remain partners with you in enforcing                  Counsel to reevaluate the alternative
     C. What Is the Purpose of This                          the NESHAP.                                            through the process in § 63.6 or the
     Rulemaking?                                             F. Does Today’s Rulemaking Affect Prior                provisions in 40 CFR part 63, subpart E.
                                                             Delegations of These Part 63 NESHAP                    If you have any questions regarding
        As a part of a larger regulatory and
                                                             (MACT Standards)?                                      inadvertent approvals, please contact
     policy effort to clarify and streamline
                                                                                                                    your appropriate EPA Regional Office.
     delegation of part 63 requirements, we                     In many cases, you already accepted
     agreed to clarify which portions of the                 delegation of these NESHAP and,                        G. What Public Comments Were
     existing 40 CFR part 63 NESHAP                          consequently, you are currently                        Received on the Proposal?
     contain authorities that can be delegated               implementing and enforcing them. We                       On January 16, 2002 (67 FR 2286), the
     to you. In order to achieve this                        do not believe that today’s rulemaking                 proposed rule was published in the
     objective, we are making slight changes                 adversely affects existing delegations of              Federal Register and we requested
     to many of the existing NESHAP. These                   these NESHAP to you. For the most                      written comments on the proposal. We
     changes are clarifications that will allow              part, today’s rulemaking clarifies which               received 4 sets of written comments on
     you to approve alternatives to the                      of the authorities in each existing                    the package from the State and
     delegable authorities, including category               NESHAP can, and cannot, be delegated                   Territorial Air Pollution Program and
     I authorities listed in § 63.91(g)(i),                  to you.                                                Association of Local Air Pollution
     instead of requiring a rulemaking by the                   In all prior delegations, specific                  Control (STAPPA/ALAPCO), State of
     EPA to approve the site-specific                        authorities in each NESHAP were                        Missouri Department of Natural
     alternatives. Many NESHAP lack a clear                  generally not identified as being                      Resources Air Pollution Control
     delegation section that this final rule                 delegated. Instead, the NESHAP have                    Program (APCP), South Coast Air
     remedies. We are also taking this                       been generally delegated in their                      Quality Management District, and
     opportunity to make the format of the                   entirety. For example, when our                        Safety-Kleen Corporation. Although the
     existing NESHAP more consistent.                        Regional Offices delegate a NESHAP or                  comments were mostly general in
     D. What Are the Types of Changes We                     MACT standard through straight                         nature, some were specific to certain
     Are Making?                                             delegation (see 65 FR 55810, September                 NESHAP. The Missouri APCP’s
                                                             14, 2000) to a S/L/T, they reference the               comments included support for EPA’s
        Many of the existing NESHAP were                     whole NESHAP, such as subpart M,                       approach to clarify which authorities
     promulgated before we developed a                       National Perchloroethylene Air                         can be delegated and noted that the
     consistent rule format, so each one has                 Emission Standards for Dry Cleaning                    ‘‘APCP had taken a similar approach to
     slightly different content and order. In                Facilities, in any rulemaking or                       rulemaking.’’ Copies of the comments
     addition, the way that the delegable                    documents. They usually do not                         are available in the public docket for the
     authorities were identified and                         reference a particular authority within                regulation (docket A–2000–57).
     delegated varies. Due to these                          the NESHAP, such as § 63.324(d),
     variations, each NESHAP in this                         ‘‘[E]ach owner or operator of a dry                    II. Overview of Changes
     rulemaking needs one or more                            cleaning facility shall keep receipts of                  The EPA has made a number of
     clarifications, listed below, to ease                   perchloroethylene purchases ...’’ in any               changes to the proposed rule in
     delegation:                                             delegation. Therefore, we believe that                 response to the comments we received.
        • Addition or modification of a                      today’s rulemaking will not affect your                The comments on the proposal were
     section (implementation and                             existing part 63 NESHAP delegation.                    limited to a relatively small subset of
     enforcement) in each NESHAP                                However, potential issues may have                  authorities in a few NESHAP.
     describing the authorities that can be                  occurred where you have already acted                  Accordingly, EPA believes that it is not
     delegated to you and those that must be                 on the authorities you believed you had                necessary to repeat the comprehensive
     retained by us;                                         been delegated. For example, in subpart                discussion contained in the preamble to


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     the proposal. See 67 FR 2288–2298,                      emission limitations (emission limits,                 T may be delegated the authority to
     January 16, 2002, for a more detailed                   operating limits, opacity limits, and                  approve changes to the ranges for the
     discussion of today’s changes to each                   visible emission limits) and/or work                   operating limits based on new
     NESHAP. Instead, EPA has limited the                    practice standards (design, equipment,                 performance test data and/or other
     discussion in this preamble to issues                   work practices, and operational                        relevant information submitted by the
     raised by commenters, and to discuss                    standards). The authority to approve                   source. However, we must retain the
     changes made to the final rule based on                 alternatives to any of the promulgated                 authority to approve modifications to
     those issues.                                           standards must be retained by us.                      requirements affecting which
                                                             Requirements that are essential to                     parameters are monitored (e.g., EPA
     A. What Categories of Changes Are We                    ensuring that the standards are achieved               would approve appropriate parameters
     Making?                                                 as EPA intended, such as applicability                 to monitor for a control device not
     1. Adding an ‘‘Implementation and                       requirements and compliance dates, are                 addressed in a NESHAP).
     Enforcement’’ Section                                   also retained.                                            A more detailed discussion and
                                                                The compliance assurance                            additional examples of changes that
        The first category of changes involves               requirements are also essential, but they
     adding a section that describes non-                                                                           may be made to the delegable
                                                             offer some flexibility in their                        requirements are presented in the
     delegable authorities or changing                       implementation. For example, you can
     current delegation sections to conform                                                                         preambles to the proposed and final
                                                             approve (or disapprove) minor and                      subpart E rule (64 FR 1880, January 12,
     to a consistent format. The new                         intermediate changes to testing,
     ‘‘Implementation and enforcement’’                                                                             1999) and (65 FR 55822, September 14,
                                                             monitoring, reporting, and                             2000).
     sections cite the rule sections or                      recordkeeping provisions, as long as
     requirements for which you may not                                                                                In most NESHAP, the non-delegable
                                                             they are at least as stringent (or                     authorities and the delegable authorities
     approve alternatives (i.e., non-delegable               disapprove, if they are not as stringent)
     authorities). The authority to make                                                                            are separated into different sections of
                                                             as EPA requirements.
     changes to those sections or                                                                                   the rule. However, in a few NESHAP,
                                                                In other cases, the S/L/T is given
     requirements is retained by us and                                                                             these authorities are mixed within a
                                                             authority to make changes in the
     includes the authority to approve any                   implementation of a requirement, but                   single section or are in the standard
     alternatives to emissions standards;                    not to change the actual requirement                   section in some NESHAP. In this case,
     including their applicability                           itself. For example, some NESHAP                       we identified and separated out (where
     requirements. Conversely, any                           require operation and maintenance                      possible) the paragraphs that contain
     authority, not expressly reserved for us                plans. Here the S/L/T agency is given                  requirements for which you may not
     and included in these paragraphs, can                   the authority to approve some changes                  approve alternatives in the
     be delegated to you.                                    in the content of the plan, but does not               ‘‘Implementation and enforcement’’
        As part of the subpart E rulemaking                  have the authority to waive the                        section.
     (65 FR 55810, September 14, 2000), we                   requirement that the plan must be                         In other NESHAP, the delegable and
     clarified which of the specific General                 created and followed. Additionally,                    non-delegable authorities are not clearly
     Provisions authorities (regarding                       some newly-named operation and                         separated into different sections or into
     alternative requirements) could not be                  maintenance sections contain                           different paragraphs within a standards
     delegated to you. We divided the                        provisions which are similar to work                   section. In these cases, we restructured
     General Provisions discretionary                        practices, in that they can potentially                the standards sections to separate the
     authorities into two groups, based upon                 affect emissions, such as the                          delegable and non-delegable authorities.
     the relative significance of each type of               requirement to operate and maintain the                This restructuring was accomplished by
     decision. Category I contains those                     source’s equipment in keeping with                     moving the delegable authorities to
     authorities which can be delegated. We                  good air pollution control practices, or               more appropriate sections of the rule,
     believe that the EPA Regional Office                    the requirement to correct malfunctions                such as ‘‘Monitoring requirements’’ or
     retains the ability to request review of                as soon as practicable. You may not                    ‘‘Recordkeeping requirements’’ sections.
     these decisions, although we expect that                approve alternatives that are less                     As a result, the ‘‘Implementation and
     this authority will be exercised                        stringent than the criteria outlined in                enforcement’’ section more clearly
     infrequently. Category II contains those                the subpart. However, you may require                  shows which authorities you may not be
     authorities which cannot be delegated.                  more stringent provisions, such as not                 delegated by simply listing the sections
     For more discussion on the general                      permitting excess emissions at all                     containing those authorities.
     provisions’ delegable authorities, see 67               during malfunctions. Where an                          3. Minor Work Practices’ Amendments
     FR 2288, January 16, 2002. The changes                  operations and maintenance plan is                     To Allow Approval of Alternatives
     in the individual subparts in today’s                   required, it usually allows the source                 Without EPA Rulemaking
     rule reference the subpart E                            considerable latitude in designing the
     classifications to ensure that they                     plan, so long as the plan meets certain                   In some MACTs, provisions for which
     conform with this similar framework.                    criteria. You may approve alternatives                 you could or should have the authority
                                                             to the plan that are more stringent than               to approve alternatives are written in a
     2. Reorganizing Sections To Separate                    the criteria listed, but you may not                   way that precludes you from approving
     Compliance Assurance Measures From                      approve elimination of major criteria,                 alternatives to these practices. Authority
     Actual Standards                                        such as specifying the process and                     to approve alternatives to work practice
       The NESHAP contain two major types                    control system monitoring equipment.                   standards or any other emission
     of requirements: standards and                             As a second example, most NESHAP                    limitation established under section
     compliance assurance requirements.                      include requirements to monitor certain                112(d) or (h) of the Act cannot be
     The standards are the essential                         specified control equipment operating                  delegated to you. However, some work
     requirements that implement EPA’s                       parameters and to set enforceable                      practice requirements could be written
     authority under the Act to establish                    operating limits for these same                        more broadly to allow alternative
     hazardous air pollutant (HAP) emission                  parameters based on data from the                      practices to be implemented or these
     standards. These standards may be                       performance test. In this case, the S/L/               work practice requirements could be


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     written to expressly state that you may                     • Subpart II, National Emission                        • Subpart NNN, wool fiberglass
     approve alternative practices.                           Standards for Shipbuilding and Ship                    manufacturing (§ 63.1387)
        We have rewritten these work practice                 Repair (Surface Coating)                                  • Subpart RRR, secondary aluminum
     standards, where possible, to                               • Subpart OO, National Emission                     production (§ 63.1501)
     specifically state that you have the                     Standards for Tanks—Level 1                               • Subpart TTT, primary lead smelting
     authority to approve equivalent or more                     • Subpart PP, National Emission                     (§ 63.1545)
     stringent alternative compliance                         Standards for Containers                                  • Subpart VVV, publically owned
     assurance measures. The sections                            • Subpart QQ, National Emission                     treatment works (§§ 63.1584 and
     containing these requirements are not                    Standards for Surface Impoundments                     63.1587).
                                                                 • Subpart RR, National Emission                        The second correction we must make
     listed as authorities retained by us in
                                                              Standards for Individual Drain Systems                 to the proposal package is to ensure that
     the implementation and enforcement                          • Subpart GGG, National Emission
     section. These kinds of changes are                                                                             we reserve all of the relevant standards
                                                              Standards for Pharmaceuticals                          in each of the applicable subparts. Upon
     necessary only for a small number of                     Production
     subparts.                                                                                                       closer review of the proposal package,
                                                                 • Subpart JJJ, National Emission                    we determined that we did not reserve
     B. What Clarifications Have We Made to                   Standards for Hazardous Air Pollutant                  all of the so-called ‘‘general
     Individual Subparts?                                     Emissions: Group IV Polymers and                       requirements’’ sections that we should
                                                              Resins                                                 have. In some cases it was appropriate
        We did not receive any public                            • Subpart OOO, National Emission
     comments concerning proposed changes                                                                            to delegate these sections, because even
                                                              Standards for Hazardous Air Pollutants
     to 37 of the subparts we included in the                                                                        though the title indicated they were
                                                              for Amino/Phenolic Resins Production
     September 2000 proposal notice.                             • Subpart PPP, National Emission                    ‘‘standards’’ the content of the sections
     However, upon closer review of the                       Standards for Hazardous Air Pollutant                  was clearly related to delegable
     proposed changes, we determined that                     Emissions for Polyether Polyols                        provisions such as various reporting and
     we had inadvertently and inconsistently                  Production                                             recordkeeping requirements. For
     delegated some of the standards we                          • Subpart XXX, National Emission                    example, in subpart CC (petroleum
     should have reserved to the                              Standards for Hazardous Air Pollutants                 refineries), § 63.642, general standards,
     Administrator’s authority. For those                     for Ferroalloys Production:                            we correctly retained §§ 63.642(g)
     subparts for which we received no                        Ferromanganese and Silicomanganese                     through (l). These paragraphs require
     public comments and which were                              The first correction we must make to                the following:
     correctly proposed, we have                              the proposal package is to ensure that                    • Requires existing sources to control
     promulgated the final NESHAP                             we consistently reserve the                            HAP emissions to a level represented by
     amendments as proposed. Following is                     requirements in each of the NESHAP                     a specified equation;
     a list of the unchanged subparts:                        that establish the compliance dates for                   • Requires new sources to control
                                                                                                                     HAP emissions to a level represented by
        • Subpart F, Synthetic Organic                        all new, reconstructed, and existing
                                                              sources that are subject to the applicable             a specified equation;
     Chemical Manufacturing Industry
                                                              subparts. Upon review of the proposal                     • Directs source to use specified
        • Subpart I, HON for Certain                                                                                 compliance provisions;
     Processes Subject to the Negotiated                      package, we determined that we did not
                                                              consistently reserve these requirements,                  • Describes compliance approach;
     Regulation for Equipment Leaks                                                                                     • Describes emissions averaging
        • Subpart M, National                                 which was an error because they are
                                                              integral to the overall standards and                  approach. Note, however, that we
     Perchloroethylene Air Emission                                                                                  correctly delegated §§ 63.642(a) through
     Standards for Dry Cleaning Facilities                    cannot be delegated. Following is a list
                                                              of the subparts we need to modify to                   (f) that describe the following
        • Subpart O, Ethylene Oxide                                                                                  requirements:
                                                              ensure that the compliance date of the
     Emissions Standards for Sterilization
                                                              applicable requirements are reserved.                     • Source must obtain a part 70/71
     Facilities                                                                                                      permit;
                                                              Also included is the notation for the
        • Subpart Q, National Emission                        compliance date requirements                              • Cross references General Provisions
     Standards for Hazardous Air Pollutants                   paragraphs and/or sections that are                    applicability table;
     for Industrial Process Cooling Towers                                                                              • Initial performance tests and
                                                              affected by this correction to the
        • Subpart U, National Emission                        proposed amendments.
                                                                                                                     compliance demonstrations required
     Standards for Hazardous Air Pollutant                       • Subpart N, chromium electroplating                only as specified in this subpart;
     Emissions: Group I Polymers and Resins                   (§ 63.343(a))                                             • Recordkeeping requirements;
        • Subpart Y, National Emission                           • Subpart W, epoxy resins and non-                     • Reports sent to Administrator.
     Standards for Marine Tank Vessel                         nylon polyamides (§ 63.521)                               However, in other subparts, we
     Loading Operations                                          • Subpart X, secondary lead smelting                inadvertently delegated some ‘‘general
                                                                                                                     standards’’ requirements. We have
        • Subpart AA, National Emission                       (§ 63.546)
                                                                 • Subpart LL, primary aluminum                      corrected this error in today’s final rule.
     Standards for Hazardous Air Pollutants
                                                              production plants (§ 63.847(a))                        The affected subparts and the now-
     from Phosphoric Acid Manufacturing
     Plants                                                      • Subpart CCC, steel pickling                       retained general standards requirements
                                                              (§ 63.1160(a))                                         are listed below:
        • Subpart BB, National Emission                                                                                 • Subpart DD, offsite waste (§ 63.683);
                                                                 • Subpart DDD, mineral wool
     Standards for Hazardous Air Pollutants                                                                             • Subpart HH, oil and natural gas
                                                              production (§ 63.1180)
     from Phosphate Fertilizers Production                       • Subpart EEE, hazardous waste                      production facilities (§ 63.764);
     Plants                                                   combustors (§ 63.1206(a))                                 • Subpart KK, printing and
        • Subpart CC, National Emission                          • Subpart III, flexible polyurethane                publishing (§ 63.823);
     Standards for Hazardous Air Pollutants                   foam production (§ 63.1291)                               • Subpart HHH, natural gas
     from Petroleum Refineries                                   • Subpart LLL, portland cement                      transmission and storage facilities
        • Subpart EE, National Emission                       (§ 63.1351)                                            (§ 63.1274);
     Standards for Magnetic Tape                                 • Subpart MMM, pesticide active                        • Subpart LLL, portland cement
     Manufacturing Operations                                 ingredient production (§ 63.1364)                      manufacturing (§ 63.1342).


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     Executive Order 12866, and because the                  to clarify the delegation provisions in                  Dated: May 29, 2003.
     Agency does not have reason to believe                  existing NESHAP and will not impact                    Christine Todd Whitman,
     the environmental health or safety risks                the emissions reductions provisions in                 Administrator.
     addressed by this action present a                      these NESHAP. As a result, it appears                  ■ For the reasons set out in the preamble,
     disproportionate risk to children                       unlikely that this program would permit                title 40, chapter 1 of the Code of Federal
     because we believe that this package as                 any adverse effects on local populations.              Regulations is amended as follows:
     a whole will result in equal or better                  The EPA did not receive any public
     environmental protection than currently                 comments regarding this executive                      PART 63—[AMENDED]
     provided by the existing regulations,                   order.
     and do so in a more streamlined and                                                                            ■ 1. The authority citation for part 63
     effective manner.                                       K. Congressional Review Act                            continues to read as follows:
     H. Executive Order 13211: Actions That                     The Congressional Review Act, 5                       Authority: 42 U.S.C. 7401, et seq.
     Significantly Affect Energy Supply,                     U.S.C. 801 et seq., as added by the Small              Subpart F—[Amended]
     Distribution, or Use                                    Business Regulatory Enforcement
       This rule is not subject to Executive                 Fairness Act of 1996, generally provides               ■ 2. Section 63.106 is revised to read as
     Order 13211, ‘‘Actions Concerning                       that before a rule may take effect, the                follows:
     Regulations That Significantly Affect                   agency promulgating the rule must
                                                             submit a rule report, which includes a                 § 63.106 Implementation and enforcement.
     Energy Supply, Distribution, or Use’’ (66
     FR 28355 (May 22, 2001)) because it is                  copy of the rule, to each House of the                    (a) This subpart can be implemented
     not a significant regulatory action under               Congress and to the Comptroller General                and enforced by the U.S. EPA, or a
     Executive Order 12866.                                  of the U.S. The EPA will submit a report               delegated authority such as the
                                                             containing this rule and other required                applicable State, local, or Tribal agency.
     I. National Technology Transfer                         information to the U.S. Senate, the U.S.               If the U.S. EPA Administrator has
     Advancement Act                                         House of Representatives, and the                      delegated authority to a State, local, or
        Section 12(d) of the National                        Comptroller General of the U.S. prior to               Tribal agency, then that agency, in
     Technology Transfer and Advancement                     publication of the rule in the Federal                 addition to the U.S. EPA, has the
     Act (NTTAA) of 1995 (Public Law No.                     Register. A ‘‘major rule’’ cannot take                 authority to implement and enforce this
     104–113) (15 U.S.C. 272 note) directs                   effect until 60 days after it is published             subpart. Contact the applicable U.S.
     EPA to use voluntary consensus                          in the Federal Register. This action is a              EPA Regional Office to find out if
     standards in their regulatory and                       ‘‘major rule’’ as defined by 5 U.S.C.                  implementation and enforcement of this
     procurement activities unless to do so                  section 804(2). This rule will be                      subpart is delegated to a State, local, or
     would be inconsistent with applicable                   effective on August 22, 2003.                          Tribal agency.
     law or otherwise impractical. Voluntary                                                                           (b) In delegating implementation and
     consensus standards are technical                       IV. Statutory Authority                                enforcement authority of this subpart to
     standards (e.g., materials specifications,                                                                     a State, local, or Tribal agency under
     test methods, sampling procedures,                         The statutory authority for this action             subpart E of this part, the authorities
     business practices) developed or                        is provided by sections 101, 112, 114,                 contained in paragraph (c) of this
     adopted by one or more voluntary                        116, and 301 of the Act as amended (42                 section are retained by the
     consensus bodies. The NTTAA directs                     U.S.C. 7401, 7412, 7414, 7416, and                     Administrator of U.S. EPA and cannot
     EPA to provide Congress, through                        7601). This rulemaking is also subject to              be transferred to the State, local, or
     annual reports to the Office of                         section 307(d) of the Act (42 U.S.C.                   Tribal agency.
     Management and Budget (OMB), with                       7407(d)).                                                 (c) The authorities that cannot be
     explanations when an agency does not                    V. Judicial Review                                     delegated to State, local, or Tribal
     use available and applicable voluntary                                                                         agencies are as specified in paragraphs
     consensus standards.                                      Under section 307(b)(1) of the Act,                  (c)(1) through (4) of this section.
        The changes in today’s rulemaking do                 judicial review of these final rules are                  (1) Approval of alternatives to
     not affect selection of technical                       available only by the filing of a petition             requirements in §§ 63.100, 63.102, and
     standards that are contained in the                     for review in the U.S. Court of Appeals                63.104. Where these standards reference
     existing subparts. Therefore, we are not                for the District of Columbia Circuit by                another subpart, the cited provisions
     considering the use of any voluntary                    August 22, 2003. Any such judicial                     will be delegated according to the
     consensus standards.                                    review is limited to only those                        delegation provisions of the referenced
     J. Executive Order 12898: Federal                       objections that are raised with                        subpart.
     Actions To Address Environmental                        reasonable specificity in timely                          (2) Approval of major alternatives to
     Justice in Minority Populations and                     comments. Under section 307(b)(2) of                   test methods under § 63.7(e)(2)(ii) and
     Low-Income Populations                                  the Act, the requirements that are the                 (f), as defined in § 63.90, and as required
                                                             subject of this final rule may not be                  in this subpart.
        Executive Order 12898 requires that                                                                            (3) Approval of major alternatives to
                                                             challenged later in civil or criminal
     each Federal agency make achieving                                                                             monitoring under § 63.8(f), as defined in
                                                             proceedings brought by us to enforce
     environmental justice part of its mission                                                                      § 63.90, and as required in this subpart.
     by identifying and addressing, as                       these requirements.
                                                                                                                       (4) Approval of major alternatives to
     appropriate, disproportionately high                    List of Subjects in 40 CFR Part 63                     recordkeeping and reporting under
     and adverse human health or                                                                                    § 63.10(f), as defined in § 63.90, and as
     environmental effects of its programs,                    Environmental protection,
                                                                                                                    required in this subpart.
     policies, and activities on minorities                  Administrative practices and
     and low-income populations.                             procedures, Air pollution control,                     Subpart G—[Amended]
        The EPA believes that today’s rule                   Hazardous substances,
     should not raise any environmental                      Intergovernmental relations, Reporting                 ■ 3. Section 63.153 is added to Subpart
     justice issues. The intent of the rule is               and recordkeeping requirements.                        G to read as follows:


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     § 63.153   Implementation and enforcement.                 (1) Clearly identify the leaking                        (2) Approval of major alternatives to
        (a) This subpart can be implemented                   equipment.                                             test methods under § 63.7(e)(2)(ii) and
     and enforced by the U.S. EPA, or a                       *     *     *    *      *                              (f), as defined in § 63.90, and as required
     delegated authority such as the                          ■ 5. Section 63.181 is amended by                      in this subpart.
     applicable State, local, or Tribal agency.               adding paragraph (b)(10) to read as                       (3) Approval of major alternatives to
     If the U.S. EPA Administrator has                        follows:                                               monitoring under § 63.8(f), as defined in
     delegated authority to a State, local, or                                                                       § 63.90, and as required in this subpart.
     Tribal agency, then that agency, in                      § 63.181    Recordkeeping requirements.                   (4) Approval of major alternatives to
     addition to the U.S. EPA, has the                        *     *     *     *     *                              recordkeeping and reporting under
     authority to implement and enforce this                    (b) * * *                                            § 63.10(f), as defined in § 63.90, and as
     subpart. Contact the applicable U.S.                       (10) For any leaks detected as                       required in this subpart.
     EPA Regional Office to find out if                       specified in §§ 63.163 and 63.164;
     implementation and enforcement of this                   §§ 63.168 and 63.169; and §§ 63.172                    Subpart I—[Amended]
     subpart is delegated to a State, local, or               through 63.174 of this subpart, a
                                                              weatherproof and readily visible                       ■ 7. Section 63.193 is revised to read as
     Tribal agency.
        (b) In delegating implementation and                  identification, marked with the                        follows:
     enforcement authority of this subpart to                 equipment identification number, shall
                                                                                                                     § 63.193 Implementation and enforcement.
     a State, local, or Tribal agency under                   be attached to the leaking equipment.
                                                                                                                        (a) This subpart can be implemented
     subpart E of this part, the authorities                  *     *     *     *     *
                                                                                                                     and enforced by the U.S. EPA, or a
     contained in paragraph (c) of this                       ■ 6. Section 63.183 is added to Subpart
                                                                                                                     delegated authority such as the
     section are retained by the                              H to read as follows:                                  applicable State, local, or Tribal agency.
     Administrator of U.S. EPA and cannot
                                                              § 63.183    Implementation and enforcement.            If the U.S. EPA Administrator has
     be transferred to the State, local, or
                                                                 (a) This subpart can be implemented                 delegated authority to a State, local, or
     Tribal agency.
                                                              and enforced by the U.S. EPA, or a                     Tribal agency, then that agency, in
        (c) The authorities that cannot be
                                                              delegated authority such as the                        addition to the U.S. EPA, has the
     delegated to State, local, or Tribal
                                                              applicable State, local, or Tribal agency.             authority to implement and enforce this
     agencies are as specified in paragraphs
                                                              If the U.S. EPA Administrator has                      subpart. Contact the applicable U.S.
     (c)(1) through (4) of this section.
                                                              delegated authority to a State, local, or              EPA Regional Office to find out if
        (1) Approval of alternatives to the
                                                              Tribal agency, then that agency, in                    implementation and enforcement of this
     requirements in §§ 63.110, 63.112
                                                              addition to the U.S. EPA, has the                      subpart is delegated to a State, local, or
     through 63.113, 63.119, 63.126, 63.132
                                                              authority to implement and enforce this                Tribal agency.
     through 63.140, 63.148 through 63.149,
     and 63.150(i)(1) through (4). Follow the                 subpart. Contact the applicable U.S.                      (b) In delegating implementation and
     requirements in § 63.121 to request                      EPA Regional Office to find out if                     enforcement authority of this subpart to
     permission to use an alternative means                   implementation and enforcement of this                 a State, local, or Tribal agency under
     of emission limitation for storage                       subpart is delegated to a State, local, or             subpart E of this part, the authorities
     vessels. Where these standards reference                 Tribal agency.                                         contained in paragraph (c) of this
     another subpart, the cited provisions                       (b) In delegating implementation and                section are retained by the
     will be delegated according to the                       enforcement authority of this subpart to               Administrator of U.S. EPA and cannot
     delegation provisions of the referenced                  a State, local, or Tribal agency under                 be transferred to the State, local, or
     subpart. Where these standards                           subpart E of this part, the authorities                Tribal agency.
     reference another subpart and modify                     contained in paragraph (c) of this                        (c) The authorities that cannot be
     the requirements, the requirements shall                 section are retained by the                            delegated to State, local, or Tribal
     be modified as described in this subpart.                Administrator of U.S. EPA and cannot                   agencies are as specified in paragraphs
     Delegation of the modified requirements                  be transferred to the State, local, or                 (c)(1) through (4) of this section.
     will also occur according to the                         Tribal agency.                                            (1) Approval of alternatives to the
                                                                 (c) The authorities that cannot be                  requirements in §§ 63.190 and 63.192(a)
     delegation provisions of the referenced
                                                              delegated to State, local, or Tribal                   through (b), (e), and (h) through (j).
     subpart.
                                                              agencies are as specified in paragraphs                Where these standards reference another
        (2) Approval of major alternatives to
                                                              (c)(1) through (4) of this section.                    subpart, the cited provisions will be
     test methods under § 63.7(e)(2)(ii) and                     (1) Approval of alternatives to the
     (f), as defined in § 63.90, and as required                                                                     delegated according to the delegation
                                                              requirements in §§ 63.160, 63.162                      provisions of the referenced subpart.
     in this subpart.                                         through 63.176, 63.178 through 63.179.
        (3) Approval of major alternatives to                                                                           (2) Approval of major alternatives to
                                                              Follow the applicable procedures of                    test methods under § 63.7(e)(2)(ii) and
     monitoring under § 63.8(f), as defined in                § 63.177 to request an alternative means
     § 63.90, and as required in this subpart.                                                                       (f), as defined in § 63.90, and as required
                                                              of emission limitation for batch                       in this subpart.
        (4) Approval of major alternatives to                 processes and enclosed-vented process
     recordkeeping and reporting under                                                                                  (3) Approval of major alternatives to
                                                              units. Where these standards reference                 monitoring under § 63.8(f), as defined in
     § 63.10(f), as defined in § 63.90, and as                another subpart, the cited provisions
     required in this subpart.                                                                                       § 63.90, and as required in this subpart.
                                                              will be delegated according to the                        (4) Approval of major alternatives to
     Subpart H—[Amended]                                      delegation provisions of the referenced                recordkeeping and reporting under
                                                              subpart. Where these standards                         § 63.10(f), as defined in § 63.90, and as
     ■ 4. Section 63.162 is amended by                        reference another subpart and modify                   required in this subpart.
     revising paragraph (f)(1) to read as                     the requirements, the requirements shall
     follows:                                                 be modified as described in this subpart.              Subpart L—[Amended]
                                                              Delegation of the modified requirements
     § 63.162   Standards: General.                           will also occur according to the                       ■ 8. Section 63.306 is amended by
     *       *     *       *      *                           delegation provisions of the referenced                revising paragraphs (a) introductory text,
         (f) * * *                                            subpart.                                               (a)(1), (a)(2), and (d) to read as follows.


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     § 63.306   Work practice standards.                     reviewing authority disapproves the                    is in effect, and the Administrator is
        (a) Work practice plan. On or before                 plan according to the provisions in                    responsible for performing the
     November 15, 1993, each owner or                        paragraph (d)(6) of this section.                      inspections required by this section,
     operator shall prepare and submit a                        (3) If the certified observer calculates            pursuant to § 63.313(c).
     written emission control work practice                  that a second exceedance (or, if                       *      *     *     *    *
     plan for each coke oven battery. The                    applicable, a second independent
                                                                                                                    ■ 10. Section 63.313 is revised to read as
     plan shall be designed to achieve                       exceedance) has occurred, the certified
                                                                                                                    follows:
     compliance with visible emission                        observer shall notify the owner or
     limitations for coke oven doors, topside                operator. No later than 10 days after                  § 63.313 Implementation and enforcement.
     port lids, offtake systems, and charging                receipt of such a notification, the owner                 (a) This subpart can be implemented
     operations under this subpart, or, for a                or operator shall notify the reviewing                 and enforced by the U.S. EPA, or a
     coke oven battery not subject to visible                authority of any finding of whether                    delegated authority such as the
     emission limitations under this subpart,                work practices are related to the cause                applicable State, local, or Tribal agency.
     other federally enforceable visible                     or the solution of the problem. The                    If the U.S. EPA Administrator has
     emission limitations for these emission                 notification is subject to review by the               delegated authority to a State, local, or
     points.                                                 reviewing authority according to the                   Tribal agency, then that agency, in
        (1) The work practice plan must                      provisions in paragraph (d)(6) of this                 addition to the U.S. EPA, has the
     address each of the topics specified in                 section.                                               authority to implement and enforce this
     paragraph (b) of this section in sufficient                (4) The owner or operator shall
                                                                                                                    subpart. Contact the applicable U.S.
     detail and with sufficient specificity to               submit a revised work practice plan
                                                                                                                    EPA Regional Office to find out if
     allow the reviewing authority to                        within 60 days of notification from the
                                                                                                                    implementation and enforcement of this
     evaluate the plan for completeness and                  reviewing authority under paragraph
                                                                                                                    subpart is delegated to a State, local, or
     enforceability.                                         (d)(1) of this section, unless the
                                                                                                                    Tribal agency.
        (2) The initial plan and any revisions               reviewing authority grants an extension
                                                                                                                       (b) In delegating implementation and
     shall be submitted to the Administrator                 of time to submit the revised plan.
                                                                (5) If the reviewing authority requires             enforcement authority of this subpart to
     or the delegated State, local, or Tribal                                                                       a State, local, or Tribal agency under
     authority. The Administrator (or                        a plan revision, the reviewing authority
                                                             may require the plan to address a                      subpart E of this part, the authorities
     delegated State, local, or Tribal                                                                              contained in paragraph (d) of this
     authority) may require revisions to the                 subject area or areas in addition to those
                                                             in paragraph (b) of this section, if the               section are retained by the
     initial plan only where the                                                                                    Administrator and cannot be transferred
     Administrator (or delegated State, local,               reviewing authority determines that
                                                             without plan coverage of such an                       to the State, local, or Tribal agency.
     or Tribal authority) finds either that the                                                                        (c) Withdrawal of authority:
     plan does not address each subject area                 additional subject area, there is a
                                                             reasonable probability of further                         (1) Whenever the Administrator
     listed in paragraph (b) of this section for                                                                    learns that a delegated agency has not
     each emission point subject to a visible                exceedances of the visible emission
                                                             limitation for the emission point for                  fully carried out the inspections and
     emission standard under this subpart, or                                                                       performance tests required under
     that the plan in unenforceable because                  which a plan revision is required.
                                                                (6) The reviewing authority may                     § 63.309 for each applicable emission
     it contains requirements that are                                                                              point of each battery each day, the
                                                             disapprove a plan revision required
     unclear.                                                                                                       Administrator shall immediately notify
                                                             under paragraph (d) of this section if the
     *      *      *     *     *                             reviewing authority determines that the                the agency. Unless the delegated agency
        (d) Revisions to plan. Revisions to the              revised plan is inadequate to prevent                  demonstrates to the Administrator’s
     work practice emission control plan will                exceedances of the visible emission                    satisfaction within 15 days of
     be governed by the provisions in this                   limitation under this subpart for the                  notification that the agency is
     paragraph (d) and in paragraph (a)(2) of                emission point for which a plan revision               consistently carrying out the inspections
     this section. The reviewing authority is                is required or, in the case of a battery               and performance tests required under
     the Administrator or the delegated State,               not subject to visual emission                         § 63.309 in the manner specified in the
     local, or Tribal authority.                             limitations under this subpart, other                  preceding sentence, the Administrator
        (1) The reviewing authority may                      federally enforceable emission                         shall notify the coke oven battery owner
     request the owner or operator to review                 limitations for such emission point. The               or operator that inspections and
     and revise as needed the work practice                  reviewing authority may also                           performance tests shall be carried out
     emission control plan for a particular                  disapprove the finding that may be                     according to § 63.309(a)(5). When the
     emission point if there are 2                           submitted pursuant to paragraph (d)(3)                 Administrator determines that the
     exceedances of the applicable visible                   of this section if the reviewing authority             delegated agency is prepared to
     emission limitation in the 6-month                      determines that a revised plan is needed               consistently perform all the required
     period that starts 30 days after the                    to prevent exceedances of the applicable               inspections and performance tests each
     owner or operator is required to                        visible emission limitations.                          day, the Administrator shall give the
     implement work practices under                                                                                 coke oven battery owner or operator at
                                                             ■ 9. Section 63.309 is amended by
     paragraph (c) of this section. In the case                                                                     least 15 days notice that implementation
                                                             revising paragraph (a)(5)(i) to read as
     of a coke oven battery subject to visual                                                                       will revert to the previously delegated
                                                             follows:
     emission limitations under this subpart,                                                                       agency.
     the second exceedance must be                           § 63.309 Performance tests and                            (2) In addition to the provisions in
     independent of the criteria in paragraph                procedures.                                            paragraph (c)(1) of this section, the
     (c)(1)((i) of this section.                               (a) * * *                                            Administrator may also withdraw
        (2) The reviewing authority may not                    (5)(i) The EPA shall be the                          delegation of authority pursuant to the
     request the owner or operator to review                 enforcement agency during any period                   provisions of § 63.96 of subpart E of this
     and revise the plan more than twice in                  of time that a delegation of enforcement               part.
     any 12 consecutive month period for                     authority is not in effect or a withdrawal                (d) The authorities that cannot be
     any particular emission point unless the                of enforcement authority under § 63.313                delegated to State, local, or Tribal


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     agencies are as specified in paragraphs                  subpart E of this part, the authorities                         (f) Operation and maintenance
     (d)(1) through (5) of this section.                      contained in paragraph (c) of this                           practices. All owners or operators
        (1) Approval of alternatives to the                   section are retained by the                                  subject to the standards in paragraphs
     requirements in §§ 63.300 and 63.302                     Administrator of U.S. EPA and cannot                         (c) and (d) of this section are subject to
     through 63.308 (except the authorities                   be transferred to the State, local, or                       these operation and maintenance
     in 63.306(a)(2) and (d)).                                Tribal agency.                                               practices.
        (2) Approval of major alternatives to                    (c) The authorities that cannot be                        *      *     *     *     *
     test methods under § 63.7(e)(2)(ii) and                  delegated to State, local, or Tribal
     (f), as defined in § 63.90, and as required                                                                              (3) Operation and maintenance plan.
                                                              agencies are as specified in paragraphs
     in this subpart.                                         (c)(1) through (4) of this section.                             (i) The owner or operator of an
        (3) Approval of any changes to section                   (1) Approval of alternatives to the                       affected source subject to paragraph (f)
     2 of Method 303 in appendix A of this                    requirements in §§ 63.320 and 63.322(a)                      of this section shall prepare an
     part.                                                    through (j). Follow the requirements in                      operation and maintenance plan to be
        (4) Approval of major alternatives to                 § 63.325 to demonstrate that alternative                     implemented no later than the
     monitoring under § 63.8(f), as defined in                equipment or procedures are equivalent                       compliance date, except for hard
     § 63.90, and as required in this subpart.                to the requirements of § 63.322.                             chromium electroplaters and the
        (5) Approval of major alternatives to                                                                              chromium anodizing operations in
                                                                 (2) Approval of major alternatives to
     recordkeeping and reporting under                                                                                     California which have until January 25,
     § 63.10(f), as defined in § 63.90, and as                test methods under § 63.7(e)(2)(ii) and
                                                              (f), as defined in § 63.90, and as required                  1998. The plan shall be incorporated by
     required in this subpart.                                                                                             reference into the source’s title V
                                                              in this subpart.
                                                                 (3) Approval of major alternatives to                     permit, if and when a title V permit is
     Subpart M—[Amended]                                                                                                   required. The plan shall include the
                                                              monitoring under § 63.8(f), as defined in
     ■ 11. Section 63.326 is added to Subpart                 § 63.90, and as required in this subpart.                    following elements:
     M to read as follows:                                       (4) Approval of major alternatives to                     *      *     *     *     *
                                                              recordkeeping and reporting under                               (B) For sources using an add-on
     § 63.326       Implementation and enforcement.
                                                              § 63.10(f), as defined in § 63.90, and as                    control device or monitoring equipment
        (a) This subpart can be implemented                   required in this subpart.                                    to comply with this subpart, the plan
     and enforced by the U.S. EPA, or a                                                                                    shall incorporate the operation and
     delegated authority such as the                          Subpart N—[Amended]                                          maintenance practices for that device or
     applicable State, local, or Tribal agency.
                                                                                                                           monitoring equipment, as identified in
     If the U.S. EPA Administrator has                        ■ 12. Section 63.342 is amended:
                                                                                                                           Table 1 of this section, if the specific
     delegated authority to a State, local, or                ■ a. By revising paragraph (f)
                                                                                                                           equipment used is identified in Table 1
     Tribal agency, then that agency, in                      introductory text.                                           of this section;
     addition to the U.S. EPA, has the                        ■ b. Revising paragraph (f)(3)(i)
     authority to implement and enforce this                  introductory text.                                              (C) If the specific equipment used is
     subpart. Contact the applicable U.S.                     ■ c. Revising paragraphs (f)(3)(i)(B) and
                                                                                                                           not identified in Table 1 of this section,
     EPA Regional Office to find out if                       (C).                                                         the plan shall incorporate proposed
     implementation and enforcement of this                   ■ d. Revising the headings for Table 1
                                                                                                                           operation and maintenance practices.
     subpart is delegated to a State, local, or               and its columns.                                             These proposed operation and
     Tribal agency.                                           ■ The revisions read as follows:
                                                                                                                           maintenance practices shall be
        (b) In delegating implementation and                                                                               submitted for approval as part of the
     enforcement authority of this subpart to                 § 63.342      Standards.                                     submittal required under § 63.343(d);
     a State, local, or Tribal agency under                   *         *     *       *           *                        *      *     *     *     *

                                 TABLE 1 TO § 63.342.—SUMMARY OF OPERATION AND MAINTENANCE PRACTICES
                       Control technique                              Operation and maintenance practices                                       Frequency


                *                       *                         *                          *                        *                     *               *



     ■ 13. Section 63.343 is amended by         operating parameters that will be                                          Tribal agency, then that agency, in
     revising paragraph (d) to read as follows: monitored to establish continuous                                          addition to the U.S. EPA, has the
                                                compliance with the standards. The                                         authority to implement and enforce this
     § 63.343 Compliance provisions.            monitoring plan submitted identifying                                      subpart. Contact the applicable U.S.
     *      *    *     *     *                  the continuous compliance monitoring                                       EPA Regional Office to find out if
        (d) An owner or operator who uses an is subject to the Administrator’s                                             implementation and enforcement of this
     air pollution control device not listed in approval.                                                                  subpart is delegated to a State, local, or
     this section shall submit a description of ■ 14. Section 63.348 is added to Subpart                                   Tribal agency.
     the device, test results collected in      N to read as follows:                                                        (b) In delegating implementation and
     accordance with § 63.344(c) verifying                                                                                 enforcement authority of this subpart to
     the performance of the device for          § 63.348 Implementation and enforcement.                                   a State, local, or Tribal agency under
     reducing chromium emissions to the            (a) This subpart can be implemented                                     subpart E of this part, the authorities
     atmosphere to the level required by this and enforced by the U.S. EPA, or a                                           contained in paragraph (c) of this
     subpart, a copy of the operation and       delegated authority such as the                                            section are retained by the
     maintenance plan referenced in             applicable State, local, or Tribal agency.                                 Administrator of U.S. EPA and cannot
     § 63.342(f) including operation and        If the U.S. EPA Administrator has                                          be transferred to the State, local, or
     maintenance practices, and appropriate     delegated authority to a State, local, or                                  Tribal agency.


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        (c) The authorities that cannot be                   § 63.407    Implementation and enforcement.            Administrator of U.S. EPA and cannot
     delegated to State, local, or Tribal                       (a) This subpart can be implemented                 be transferred to the State, local, or
     agencies are as specified in paragraphs                 and enforced by the U.S. EPA, or a                     Tribal agency.
     (c)(1) through (4) of this section.                     delegated authority such as the                           (c) The authorities that cannot be
        (1) Approval of alternatives to the                  applicable State, local, or Tribal agency.             delegated to State, local, or Tribal
     requirements in §§ 63.340, 63.342(a)                    If the U.S. EPA Administrator has                      agencies are as specified in paragraphs
     through (e) and (g), and 63.343(a).                     delegated authority to a State, local, or              (c)(1) through (4) of this section.
        (2) Approval of major alternatives to                Tribal agency, then that agency, in                       (1) Approval of alternatives to the
     test methods under § 63.7(e)(2)(ii) and                 addition to the U.S. EPA, has the                      requirements in §§ 63.420, 63.422
     (f), as defined in § 63.90, and as required             authority to implement and enforce this                through 63.423, and 63.424. Any owner
     in this subpart.                                        subpart. Contact the applicable U.S.                   or operator requesting to use an
        (3) Approval of major alternatives to                EPA Regional Office to find out if                     alternative means of emission limitation
     monitoring under § 63.8(f), as defined in               implementation and enforcement of this                 for storage vessels covered by § 63.423
     § 63.90, and as required in this subpart.               subpart is delegated to a State, local, or             must follow the procedures in § 63.426.
        (4) Approval of major alternatives to                Tribal agency.                                            (2) Approval of major alternatives to
     recordkeeping and reporting under                          (b) In delegating implementation and                test methods under § 63.7(e)(2)(ii) and
     § 63.10(f), as defined in § 63.90, and as               enforcement authority of this subpart to               (f), as defined in § 63.90, and as required
     required in this subpart.                               a State, local, or Tribal agency under                 in this subpart.
                                                             subpart E of this part, the authorities                   (3) Approval of major alternatives to
     Subpart O—[Amended]                                     contained in paragraph (c) of this                     monitoring under § 63.8(f), as defined in
                                                             section are retained by the                            § 63.90, and as required in this subpart,
     ■ 15. Section 63.368 is added to Subpart
                                                             Administrator of U.S. EPA and cannot                   and any alternatives to § 63.427(a)(1)
     O to read as follows:
                                                             be transferred to the State, local, or                 through (4) per § 63.427(a)(5).
     § 63.368   Implementation and enforcement.              Tribal agency.                                            (4) Approval of major alternatives to
        (a) This subpart can be implemented                     (c) The authorities that cannot be                  recordkeeping and reporting under
     and enforced by the U.S. EPA, or a                      delegated to State, local, or Tribal                   § 63.10(f), as defined in § 63.90, and as
     delegated authority such as the                         agencies are as specified in paragraphs                required in this subpart.
     applicable State, local, or Tribal agency.              (c)(1) through (4) of this section.
                                                                (1) Approval of alternatives to the                 Subpart S—[Amended]
     If the U.S. EPA Administrator has
     delegated authority to a State, local, or               requirements in §§ 63.400 and 63.402                   ■ 18. Section 63.450 is amended by
     Tribal agency, then that agency, in                     through 63.403.                                        revising paragraph (d)(1) to read as
     addition to the U.S. EPA, has the                          (2) Approval of major alternatives to               follows:
     authority to implement and enforce this                 test methods under § 63.7(e)(2)(ii) and
     subpart. Contact the applicable U.S.                    (f), as defined in § 63.90, and as required            § 63.450 Standards for enclosures and
     EPA Regional Office to find out if                      in this subpart.                                       closed-vent systems.
     implementation and enforcement of this                     (3) Approval of major alternatives to               *      *    *     *     *
     subpart is delegated to a State, local, or              monitoring under § 63.8(f), as defined in                 (d) * * *
     Tribal agency.                                          § 63.90, and as required in this subpart.                 (1) On each bypass line, the owner or
        (b) In delegating implementation and                    (4) Approval of major alternatives to               operator shall install, calibrate,
     enforcement authority of this subpart to                recordkeeping and reporting under                      maintain, and operate according to the
     a State, local, or Tribal agency under                  § 63.10(f), as defined in § 63.90, and as              manufacturer’s specifications a flow
     subpart E of this part, the authorities                 required in this subpart.                              indicator that is capable of taking
     contained in paragraph (c) of this                                                                             periodic readings as frequently as
     section are retained by the                             Subpart R—[Amended]                                    specified in § 63.454(e). The flow
     Administrator of U.S. EPA and cannot                                                                           indicator shall be installed in the bypass
                                                             ■ 17. Section 63.429 is revised to read as
     be transferred to the State, local, or                                                                         line in such a way as to indicate flow
                                                             follows:
     Tribal agency.                                                                                                 in the bypass line; or
        (c) The authorities that cannot be                   § 63.429    Implementation and enforcement.            *      *    *     *     *
     delegated to State, local, or Tribal                       (a) This subpart can be implemented                 ■ 19. Section 63.454 is amended by
     agencies are as specified in paragraphs                 and enforced by the U.S. EPA, or a                     revising paragraph (e) to read as follows:
     (c)(1) through (4) of this section.                     delegated authority such as the
        (1) Approval of alternatives to the                  applicable State, local, or Tribal agency.             § 63.454 Recordkeeping requirements.
     requirements in §§ 63.360 and 63.362.                   If the U.S. EPA Administrator has                      *      *    *    *     *
        (2) Approval of major alternatives to                delegated authority to a State, local, or                 (e) The owner or operator shall set the
     test methods under § 63.7(e)(2)(ii) and                 Tribal agency, then that agency, in                    flow indicator on each bypass line
     (f), as defined in § 63.90, and as required             addition to the U.S. EPA, has the                      specified in § 63.450(d)(1) to provide a
     in this subpart.                                        authority to implement and enforce this                record of the presence of gas stream
        (3) Approval of major alternatives to                subpart. Contact the applicable U.S.                   flow in the bypass line at least once
     monitoring under § 63.8(f), as defined in               EPA Regional Office to find out if                     every 15 minutes.
     § 63.90, and as required in this subpart.               implementation and enforcement of this                 *      *    *    *     *
        (4) Approval of major alternatives to                subpart is delegated to a State, local, or             ■ 20. Section 63.458 is revised to read as
     recordkeeping and reporting under                       Tribal agency.
     § 63.10(f), as defined in § 63.90, and as                                                                      follows:
                                                                (b) In delegating implementation and
     required in this subpart.                               enforcement authority of this subpart to               § 63.458 Implementation and enforcement.
     Subpart Q—[Amended]                                     a State, local, or Tribal agency under                   (a) This subpart can be implemented
                                                             subpart E of this part, the authorities                and enforced by the U.S. EPA, or a
     ■ 16. Section 63.407 is added to Subpart                contained in paragraph (c) of this                     delegated authority such as the
     Q to read as follows:                                   section are retained by the                            applicable State, local, or Tribal agency.


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     If the U.S. EPA Administrator has                       and solvent-laden materials in an                      through (d), and 63.463 through 63.464
     delegated authority to a State, local, or               enclosed area that is ventilated to a                  (except for the authorities in
     Tribal agency, then that agency, in                     solvent recovery or destruction device                 § 63.463(d)(9)). Use the procedures in
     addition to the U.S. EPA, has the                       may be considered an acceptable                        § 63.469 to request the use of alternative
     authority to implement and enforce this                 alternative.                                           equipment or procedures.
     subpart. Contact the applicable U.S.                    ■ 23. Section 63.463 is amended by                        (2) Approval of major alternatives to
     EPA Regional Office to find out if this                 revising paragraph (e)(2)(ix)(B) to read as            test methods under § 63.7(e)(2)(ii) and
     subpart is delegated to a State, local, or              follows:                                               (f), as defined in § 63.90, and as required
     Tribal agency.                                                                                                 in this subpart.
        (b) In delegating implementation and                 § 63.463 Batch vapor and in-line cleaning                 (3) Approval of major alternatives to
     enforcement authority of this subpart to                machine standards.                                     monitoring under § 63.8(f), as defined in
     a State, local, or Tribal agency under                  *     *    *     *     *                               § 63.90, and as required in this subpart.
     subpart E of this part, the authorities                   (e) * * *                                               (4) Approval of major alternatives to
     contained in paragraph (c) of this                        (2) * * *                                            recordkeeping and reporting under
     section are retained by the                               (ix) * * *                                           § 63.10(f), as defined in § 63.90, and as
                                                               (B) Conduct the weekly monitoring                    required in this subpart.
     Administrator of U.S. EPA and cannot
                                                             required by § 63.466(a)(3). Record the
     be transferred to the State, local, or
                                                             results required by § 63.467(a)(6).                    Subpart U—[Amended]
     Tribal agency.
        (c) The authorities that cannot be                   *     *    *     *     *
                                                                                                                    ■ 26. Section 63.507 is added to Subpart
     delegated to State, local, or Tribal                    ■ 24. Section 63.467 is amended by                     U to read as follows:
     agencies are as specified in paragraphs                 revising paragraph (a)(6) to read as
     (c)(1) through (4) of this section.                     follows:                                               § 63.507 Implementation and enforcement.
        (1) Approval of alternatives to the                                                                            (a) This subpart can be implemented
                                                             § 63.467    Recordkeeping requirements.
     requirements in §§ 63.440, 63.443                                                                              and enforced by the U.S. EPA, or a
     through 63.447 and 63.450. Where these                    (a) * * *                                            delegated authority such as the
                                                               (6) If a squeegee system is used to                  applicable State, local, or Tribal agency.
     standards reference another subpart, the
                                                             comply with these standards, records of                If the U.S. EPA Administrator has
     cited provisions will be delegated
                                                             the test required by § 63.466(f) to                    delegated authority to a State, local, or
     according to the delegation provisions
                                                             determine the maximum product                          Tribal agency, then that agency, in
     of the referenced subpart.
        (2) Approval of alternatives to using                throughput for the squeegees and                       addition to the U.S. EPA, has the
     §§ 63.457(b)(5)(iii), 63.457(c)(3)(ii)                  records of both the weekly monitoring                  authority to implement and enforce this
     through (iii), and 63.257(c)(5)(ii), and                required by § 63.466(a)(3) for visual                  subpart. Contact the applicable U.S.
     any major alternatives to test methods                  inspection and the length of continuous                EPA Regional Office to find out if this
     under § 63.7(e)(2)(ii) and (f), as defined              web product cleaned during the                         subpart is delegated to a State, local, or
     in § 63.90, and as required in this                     previous week.                                         Tribal agency.
     subpart.                                                *     *      *    *    *                                  (b) In delegating implementation and
        (3) Approval of alternatives using                   ■ 25. Section 63.470 is added to Subpart               enforcement authority of this subpart to
     § 64.453(m) and any major alternatives                  T to read as follows:                                  a State, local, or Tribal agency under
     to monitoring under § 63.8(f), as defined                                                                      subpart E of this part, the authorities
                                                             § 63.470    Implementation and enforcement.            contained in paragraph (c) of this
     in § 63.90, and as required in this
     subpart.                                                   (a) This subpart can be implemented                 section are retained by the
        (4) Approval of major alternatives to                and enforced by the U.S. EPA, or a                     Administrator of U.S. EPA and cannot
     recordkeeping and reporting under                       delegated authority such as the                        be transferred to the State, local, or
     § 63.10(f), as defined in § 63.90, and as               applicable State, local, or Tribal agency.             Tribal agency.
     required in this subpart.                               If the U.S. EPA Administrator has                         (c) The authorities that cannot be
                                                             delegated authority to a State, local, or              delegated to State, local, or Tribal
     Subpart T—[Amended]                                     Tribal agency, then that agency, in                    agencies are as specified in paragraphs
                                                             addition to the U.S. EPA, has the                      (c)(1) through (4) of this section.
     ■ 21. Section 63.460 is amended by                      authority to implement and enforce this                   (1) Approval of alternatives to the
     removing and reserving paragraph (f).                   subpart. Contact the applicable U.S.                   requirements in §§ 63.480 through
     ■ 22. Section 63.462 is amended by                      EPA Regional Office to find out if                     63.481, 63.483(a) through (c), 63.484,
     adding paragraph (e) to read as follows:                implementation and enforcement of this                 63.485(a) through (k), (m) through (s),
                                                             subpart is delegated to a State, local, or             (u), 63.486 through 63.487, 63.488(a),
     § 63.462 Batch cold cleaning machine                    Tribal agency.                                         (b)(1) through (4), (5)(iv) through (v), (6)
     standards.                                                 (b) In delegating implementation and                through (7), (c) through (i), 63.493
     *      *    *     *    *                                enforcement authority of this subpart to               through 63.494, 63.500(a)(1) through (3),
        (e) Each owner or operator subject to                a State, local, or Tribal agency under                 (b), 63.501, 63.502(a) through (f), (i), (k)
     the requirements of paragraph (c)(1)                    subpart E of this part, the authorities                through (m), and 63.503. Where these
     through (8) of this section may request                 contained in paragraph (c) of this                     standards reference another subpart, the
     to use measures other than those                        section are retained by the                            cited provisions will be delegated
     described in these paragraphs. The                      Administrator of U.S. EPA and cannot                   according to the delegation provisions
     owner or operator must demonstrate to                   be transferred to the State, local, or                 of the referenced subpart. Where these
     the Administrator (or delegated State,                  Tribal agency.                                         standards reference another subpart and
     local, or Tribal authority) that the                       (c) The authorities that cannot be                  modify the requirements, the
     alternative measures will result in                     delegated to State, local, or Tribal                   requirements shall be modified as
     equivalent or better emissions control                  agencies are as specified in paragraphs                described in this subpart. Delegation of
     compared to the measures described in                   (c)(1) through (4) of this section.                    the modified requirements will also
     paragraphs (c)(1) through (8) of this                      (1) Approval of alternatives to the                 occur according to the delegation
     section. For example, storing solvent                   requirements in §§ 63.460, 63.462(a)                   provisions of the referenced subpart.


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        (2) Approval of major alternatives to                § 63.545 Standards for fugitive dust                   ■ 31. Section 63.567 is amended by
     test methods under § 63.7(e)(2)(ii) and                 sources.                                               adding paragraph (l) to read as follows:
     (f), as defined in § 63.90, and as required             *      *     *     *    *
     in this subpart.                                                                                               § 63.567 Recordkeeping and reporting
                                                                (c) The controls specified in the
                                                                                                                    requirements.
        (3) Approval of major alternatives to                standard operating procedures manual
     monitoring under § 63.8(f), as defined in               shall at a minimum include the                         *      *    *     *    *
     § 63.90, and as required in this subpart.               requirements of paragraphs (c)(1)                         (l) The owner or operator of the VMT
        (4) Approval of major alternatives to                through (c)(5) of this section, unless the             source required by § 63.562(d)(2)(iv) to
     recordkeeping and reporting under                       owner or operator satisfies the                        develop a program, shall submit annual
     § 63.10(f), as defined in § 63.90, and as               requirements in paragraph (f) of this                  reports on or before January 31 of each
     required in this subpart.                               section.                                               year to the Administrator certifying the
                                                                                                                    annual average daily loading rate for the
     Subpart W—[Amended]                                     *      *     *     *    *
                                                                                                                    previous calendar year. Beginning on
                                                                (f) Demonstrate to the Administrator
                                                                                                                    January 31, 1996, for the reported year
     ■ 27. Section 63.529 is added to Subpart                (or delegated State, local, or Tribal
                                                                                                                    1995, the annual report shall specify the
     W to read as follows:                                   authority) that an alternative measure(s)
                                                                                                                    annual average daily loading rate over
                                                             is equivalent or better than a practice(s)
     § 63.529   Implementation and enforcement.                                                                     all loading berths. Beginning on January
                                                             described in paragraphs (c)(1) through
        (a) This subpart can be implemented                                                                         31, 1999, for the reported year 1998, the
                                                             (c)(5) of this section.
     and enforced by the U.S. EPA, or a                                                                             annual report shall specify the annual
                                                             ■ 29. Section 63.551 is added to Subpart               average daily loading rate over all
     delegated authority such as the                         X to read as follows:
     applicable State, local, or Tribal agency.                                                                     loading berths, over each loading berth
     If the U.S. EPA Administrator has                       § 63.551    Implementation and enforcement.            equipped with a vapor collection system
     delegated authority to a State, local, or                                                                      and control device, and over each
                                                                (a) This subpart can be implemented                 loading berth not equipped with a vapor
     Tribal agency, then that agency, in                     and enforced by the U.S. EPA, or a
     addition to the U.S. EPA, has the                                                                              collection system and control device.
                                                             delegated authority such as the                        The annual average daily loading rate
     authority to implement and enforce this                 applicable State, local, or Tribal agency.
     subpart. Contact the applicable U.S.                                                                           under this section is calculated as the
                                                             If the U.S. EPA Administrator has                      total amount of crude oil loaded during
     EPA Regional Office to find out if                      delegated authority to a State, local, or
     implementation and enforcement of this                                                                         the calendar year divided by 365 days
                                                             Tribal agency, then that agency, in                    or 366 days, as appropriate.
     subpart is delegated to a State, local, or              addition to the U.S. EPA, has the
     Tribal agency.                                          authority to implement and enforce this                ■ 32.–33. Section 63.568 is added to
        (b) In delegating implementation and                 subpart. Contact the applicable U.S.                   Subpart Y to read as follows:
     enforcement authority of this subpart to                EPA Regional Office to find out if this
     a State, local, or Tribal agency under                                                                         § 63.568 Implementation and enforcement.
                                                             subpart is delegated to a State, local, or
     subpart E of this part, the authorities                 Tribal agency.                                            (a) This subpart can be implemented
     contained in paragraph (c) of this                                                                             and enforced by the U.S. EPA, or a
                                                                (b) In delegating implementation and
     section are retained by the                                                                                    delegated authority such as the
                                                             enforcement authority of this subpart to
     Administrator of U.S. EPA and cannot                                                                           applicable State, local, or Tribal agency.
                                                             a State, local, or Tribal agency under
     be transferred to the State, local, or                                                                         If the U.S. EPA Administrator has
                                                             subpart E of this part, the authorities
     Tribal agency.                                                                                                 delegated authority to a State, local, or
                                                             contained in paragraph (c) of this
        (c) The authorities that cannot be                                                                          Tribal agency, then that agency, in
                                                             section are retained by the
     delegated to State, local, or Tribal                                                                           addition to the U.S. EPA, has the
                                                             Administrator of U.S. EPA and cannot
     agencies are as specified in paragraphs                                                                        authority to implement and enforce this
                                                             be transferred to the State, local, or
     (c)(1) through (4) of this section.                                                                            subpart. Contact the applicable U.S.
                                                             Tribal agency.
        (1) Approval of alternatives to the                                                                         EPA Regional Office to find out if
     requirements in §§ 63.520, 63.521,                         (c) The authorities that cannot be
                                                                                                                    implementation and enforcement of this
     63.523, and 63.524. Where these                         delegated to State, local, or Tribal
                                                                                                                    subpart is delegated to a State, local, or
     standards reference another rule, the                   agencies are as specified in paragraphs
                                                                                                                    Tribal agency.
     cited provisions in that rule will be                   (c)(1) through (4) of this section.
                                                                                                                       (b) In delegating implementation and
     delegated according to the delegation                      (1) Approval of alternatives to the
                                                                                                                    enforcement authority of this subpart to
     provisions of that rule.                                requirements in §§ 63.541, 63.543
                                                                                                                    a State, local, or Tribal agency under
        (2) Approval of major alternatives to                through 63.544, 63.545(a) and (c)
                                                                                                                    subpart E of this part, the authorities
     test methods for under § 63.7(e)(2)(ii)                 through (e), and 63.546.
                                                                                                                    contained in paragraph (c) of this
     and (f), as defined in § 63.90, and as                     (2) Approval of major alternatives to
                                                                                                                    section are retained by the
     required in this subpart.                               test methods for under § 63.7(e)(2)(ii)
                                                                                                                    Administrator of U.S. EPA and cannot
        (3) Approval of major alternatives to                and (f), as defined in § 63.90, and as
                                                                                                                    be transferred to the State, local, or
     monitoring under § 63.8(f), as defined in               required in this subpart.
                                                                                                                    Tribal agency.
     § 63.90, and as required in this subpart.                  (3) Approval of major alternatives to
                                                                                                                       (c) The authorities that cannot be
        (4) Approval of major alternatives to                monitoring under § 63.8(f), as defined in
                                                                                                                    delegated to State, local, or Tribal
     recordkeeping and reporting under                       § 63.90, and as required in this subpart.
                                                                                                                    agencies are as specified in paragraphs
     § 63.10(f), as defined in § 63.90, and as                  (4) Approval of major alternatives to
                                                                                                                    (c)(1) through (4) of this section.
     required in this subpart.                               recordkeeping and reporting under
                                                             § 63.10(f), as defined in § 63.90, and as                 (1) Approval of alternatives to the
     Subpart X—[Amended]                                     required in this subpart.                              requirements in §§ 63.560 and 63.562(a)
                                                                                                                    through (d).
     ■ 28. Section 63.545 is amended by                      Subpart Y—[Amended]                                       (2) Approval of major alternatives to
     revising paragraph (c) introductory text                                                                       test methods for under § 63.7(e)(2)(ii)
     and adding paragraph (f) to read as                     ■ 30. Section 63.562 is amended by                     and (f), as defined in § 63.90, and as
     follows:                                                removing paragraph (d)(3).                             required in this subpart.


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       (3) Approval of major alternatives to                  addition to the U.S. EPA, has the                         (1) Approval of alternatives to the
     monitoring under § 63.8(f), as defined in                authority to implement and enforce this                requirements in §§ 63.640, 63.642(g)
     § 63.90, and as required in this subpart.                subpart. Contact the applicable U.S.                   through (l), 63.643, and 63.646 through
       (4) Approval of major alternatives to                  EPA Regional Office to find out if                     63.652. Where these standards reference
     recordkeeping and reporting under                        implementation and enforcement of this                 another subpart, the cited provisions
     § 63.10(f), as defined in § 63.90, and as                subpart is delegated to a State, local, or             will be delegated according to the
     required in this subpart.                                Tribal agency.                                         delegation provisions of the referenced
                                                                 (b) In delegating implementation and                subpart. Where these standards
     Subpart AA—[Amended]                                     enforcement authority of this subpart to               reference another subpart and modify
                                                              a State, local, or Tribal agency under                 the requirements, the requirements shall
     ■ 34. Section 63.611 is added to Subpart
                                                              subpart E of this part, the authorities                be modified as described in this subpart.
     AA to read as follows:
                                                              contained in paragraph (c) of this                     Delegation of the modified requirements
     § 63.611 Implementation and enforcement.                 section are retained by the                            will also occur according to the
        (a) This subpart can be implemented                   Administrator of U.S. EPA and cannot                   delegation provisions of the referenced
     and enforced by the U.S. EPA, or a                       be transferred to the State, local, or                 subpart.
     delegated authority such as the                          Tribal agency.                                            (2) Approval of major alternatives to
     applicable State, local, or Tribal agency.                  (c) The authorities that cannot be                  test methods under § 63.7(e)(2)(ii) and
     If the U.S. EPA Administrator has                        delegated to State, local, or Tribal                   (f), as defined in § 63.90, and as required
     delegated authority to a State, local, or                agencies are as specified in paragraphs                in this subpart.
     Tribal agency, then that agency, in                      (c)(1) through (4) of this section.                       (3) Approval of major alternatives to
     addition to the U.S. EPA, has the                           (1) Approval of alternatives to the                 monitoring under § 63.8(f), as defined in
     authority to implement and enforce this                  requirements in §§ 63.620, 63.622                      § 63.90, and as required in this subpart.
     subpart. Contact the applicable U.S.                     through 63.624, and 63.629 through                        (4) Approval of major alternatives to
     EPA Regional Office to find out if                       63.631.                                                recordkeeping and reporting under
     implementation and enforcement of this                      (2) Approval of major alternatives to               § 63.10(f), as defined in § 63.90, and as
     subpart is delegated to a State, local, or               test methods under § 63.7(e)(2)(ii) and                required in this subpart.
     Tribal agency.                                           (f), as defined in § 63.90, and as required
        (b) In delegating implementation and                  in this subpart.                                       Subpart DD—[Amended]
     enforcement authority of this subpart to                    (3) Approval of major alternatives to
                                                                                                                     ■ 37. Section 63.684 is amended by
     a State, local, or Tribal agency under                   monitoring under § 63.8(f), as defined in
                                                              § 63.90, and as required in this subpart.              revising paragraph (e)(1) to read as
     subpart E of this part, the authorities                                                                         follows:
     contained in paragraph (c) of this                          (4) Approval of major alternatives to
     section are retained by the                              recordkeeping and reporting under                      § 63.684 Standards: Off-Site material
     Administrator of U.S. EPA and cannot                     § 63.10(f), as defined in § 63.90, and as              treatment.
     be transferred to the State, local, or                   required in this subpart.                              *      *    *     *     *
     Tribal agency.                                                                                                     (e) * * *
        (c) The authorities that cannot be                    Subpart CC—[Amended]
                                                                                                                        (1) A continuous monitoring system
     delegated to State, local, or Tribal                     ■ 36. Section 63.655 is added to Subpart               shall be installed and operated for each
     agencies are as specified in paragraphs                  CC to read as follows:                                 treatment that measures operating
     (c)(1) through (4) of this section.                                                                             parameters appropriate for the treatment
        (1) Approval of alternatives to the                   § 63.655 Implementation and enforcement.               process technology. This system shall
     requirements in §§ 63.600, 63.602                           (a) This subpart can be implemented                 include a continuous recorder that
     through 63.604, and 63.609 through                       and enforced by the U.S. EPA, or a                     records the measured values of the
     63.610.                                                  delegated authority such as the                        selected operating parameters. The
        (2) Approval of major alternatives to                 applicable State, local, or Tribal agency.             monitoring equipment shall be
     test methods under § 63.7(e)(2)(ii) and                  If the U.S. EPA Administrator has                      installed, calibrated, and maintained in
     (f), as defined in § 63.90, and as required              delegated authority to a State, local, or              accordance with the equipment
     in this subpart.                                         Tribal agency, then that agency, in                    manufacturer’s specifications. The
        (3) Approval of major alternatives to                 addition to the U.S. EPA, has the                      continuous recorder shall be a data
     monitoring under § 63.8(f), as defined in                authority to implement and enforce this                recording device that is capable of
     § 63.90, and as required in this subpart.                subpart. Contact the applicable U.S.                   recording either an instantaneous data
        (4) Approval of major alternatives to                 EPA Regional Office to find out if                     value at least once every 15 minutes or
     recordkeeping and reporting under                        implementation and enforcement of this                 an average value for intervals of 15
     § 63.10(f), as defined in § 63.90, and as                subpart is delegated to a State, local, or             minutes or less.
     required in this subpart.                                Tribal agency.                                         *      *    *     *     *
                                                                 (b) In delegating implementation and                ■ 38. Section 63.693 is amended by
     Subpart BB—[Amended]
                                                              enforcement authority of this subpart to               revising paragraph (c)(2)(ii) to read as
     ■ 35. Section 63.632 is added to Subpart                 a State, local, or Tribal agency under                 follows:
     BB to read as follows:                                   subpart E of this part, the authorities
                                                              contained in paragraph (c) of this                     § 63.693 Standards: closed-vent systems
     § 63.632 Implementation and enforcement.                 section are retained by the                            and control devices.
        (a) This subpart can be implemented                   Administrator of U.S. EPA and cannot                   *      *      *     *    *
     and enforced by the U.S. EPA, or a                       be transferred to the State, local, or                   (c) * * *
     delegated authority such as the                          Tribal agency.                                           (2) * * *
     applicable State, local, or Tribal agency.                  (c) The authorities that cannot be                    (ii) If a seal or locking device is used
     If the U.S. EPA Administrator has                        delegated to State, local, or Tribal                   to comply with paragraph (c)(2) of this
     delegated authority to a State, local, or                agencies are as specified in paragraphs                section, the device shall be placed on
     Tribal agency, then that agency, in                      (c)(1) through (4) of this section.                    the mechanism by which the bypass


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     device position is controlled (e.g., valve              agencies are as specified in paragraphs                Subpart GG—[Amended]
     handle, damper lever) when the bypass                   (c)(1) through (4) of this section.
     device is in the closed position such                      (1) Approval of alternatives to the                 ■ 42. Section 63.744 is amended:
     that the bypass device cannot be opened                                                                        ■ a. By revising the first sentence of
                                                             requirements in §§ 63.680, 63.683
     without breaking the seal or removing                   through 63.691, and 63.693. Where                      paragraph (a)(1).
     the lock. Examples of such devices                                                                             ■ b. By revising paragraph (a)(2).
                                                             these standards reference another
                                                                                                                    ■ c. Adding paragraph (a)(4).
     include, but are not limited to, a car-seal             subpart, the cited provisions will be
     or a lock-and-key configuration valve.                                                                           The revisions and addition read as
                                                             delegated according to the delegation                  follows:
     *     *     *     *    *                                provisions of the referenced subpart.
     ■ 39. Section 63.695 is amended by                         (2) Approval of major alternatives to               § 63.744 Standards: Cleaning operations.
     revising paragraph (a)(4) and adding                    test methods under § 63.7(e)(2)(ii) and                   (a) * * *
     paragraphs (c)(1)(ii)(C) and (D) to read as             (f), as defined in § 63.90, and as required               (1) Unless the owner or operator
     follows:                                                in this subpart.                                       satisfies the requirements in paragraph
                                                                (3) Approval of major alternatives to               (a)(4) of this section, place used solvent-
     § 63.695 Inspection and monitoring
     requirements.                                           monitoring under § 63.8(f), as defined in              laden cloth, paper, or any other
                                                             § 63.90, and as required in this subpart.              absorbent applicators used for cleaning
     *       *   *     *    *
                                                                (4) Approval of major alternatives to               in bags or other closed containers.
        (a) * * *
        (4) To monitor and record off-site                   recordkeeping and reporting under                      * * *
     material treatment processes for                                                                                  (2) Unless the owner or operator
                                                             § 63.10(f), as defined in § 63.90, and as
     compliance with the standards specified                                                                        satisfies the requirements in paragraph
                                                             required in this subpart.
     in 63.684(e), the monitoring procedures                                                                        (a)(4) of this section, store fresh and
     are specified in paragraph (e) of this                  Subpart EE—[Amended]                                   spent cleaning solvents, except semi-
     section.                                                                                                       aqueous solvent cleaners, used in
                                                             ■ 41. Section 63.708 is revised to read as             aerospace cleaning operations in closed
     *       *   *     *    *                                                                                       containers.
        (c) * * *                                            follows:
        (1) * * *                                                                                                   *      *     *     *     *
                                                             § 63.708    Implementation and enforcement.               (4) Demonstrate to the Administrator
        (ii) * * *
        (C) The continuous monitoring system                    (a) This subpart can be implemented                 (or delegated State, local, or Tribal
     required by § 63.693(b)(4)(i) shall                     and enforced by the U.S. EPA, or a                     authority) that equivalent or better
     monitor and record either an                            delegated authority such as the                        alternative measures are in place
     instantaneous data value at least once                  applicable State, local, or Tribal agency.             compared to the use of closed
     every 15 minutes or an average value for                If the U.S. EPA Administrator has                      containers for the solvent-laden
     intervals of 15 minutes or less.                        delegated authority to a State, local, or              materials described in paragraph (a)(1)
        (D) The owner or operator shall                      Tribal agency, then that agency, in                    of this section, or the storage of solvents
     visually inspect the seal or closure                    addition to the U.S. EPA, has the                      described in paragraph (a)(2) of this
     mechanism required by § 63.693(c)(2)(ii)                authority to implement and enforce this                section.
     at least once every month to verify that                subpart. Contact the applicable U.S.                   *      *     *     *     *
     the bypass mechanism is maintained in                   EPA Regional Office to find out if                     ■ 43. Section 63.759 is added to Subpart
     the closed position.                                    implementation and enforcement of this                 GG to read as follows:
     *       *   *     *    *                                subpart is delegated to a State, local, or
                                                             Tribal agency.                                         § 63.759 Implementation and enforcement.
     ■ 40. Section 63.698 is revised to read as
     follows:                                                   (b) In delegating implementation and                   (a) This subpart can be implemented
                                                             enforcement authority of this subpart to               and enforced by the U.S. EPA, or a
     § 63.698   Implementation and enforcement.              a State, local, or Tribal agency under                 delegated authority such as the
        (a) This subpart can be implemented                  subpart E of this part, the authorities                applicable State, local, or Tribal agency.
     and enforced by the U.S. EPA, or a                      contained in paragraph (c) of this                     If the U.S. EPA Administrator has
     delegated authority such as the                         section are retained by the                            delegated authority to a State, local, or
     applicable State, local, or Tribal agency.              Administrator of U.S. EPA and cannot                   Tribal agency, then that agency, in
     If the U.S. EPA Administrator has                       be transferred to the State, local, or                 addition to the U.S. EPA, has the
     delegated authority to a State, local, or               Tribal agency.                                         authority to implement and enforce this
     Tribal agency, then that agency, in                        (c) The authorities that cannot be                  subpart. Contact the applicable U.S.
     addition to the U.S. EPA, has the                       delegated to State, local, or Tribal                   EPA Regional Office to find out if
     authority to implement and enforce this                 agencies are as specified in paragraphs                implementation and enforcement of this
     subpart. Contact the applicable U.S.                    (c)(1) through (4) of this section.                    subpart is delegated to a State, local, or
     EPA Regional Office to find out if this                    (1) Approval of alternatives to the                 Tribal agency.
     subpart is delegated to a State, local, or                                                                        (b) In delegating implementation and
                                                             requirements in §§ 63.701 and 63.703.
     Tribal agency.                                                                                                 enforcement authority of this subpart to
        (b) In delegating implementation and                    (2) Approval of major alternatives to               a State, local, or Tribal agency under
     enforcement authority of this subpart to                test methods under § 63.7(e)(2)(ii) and                subpart E of this part, the authorities
     a State, local, or Tribal agency under                  (f), as defined in § 63.90, and as required            contained in paragraph (c) of this
     subpart E of this part, the authorities                 in this subpart.                                       section are retained by the
     contained in paragraph (c) of this                         (3) Approval of major alternatives to               Administrator of U.S. EPA and cannot
     section are retained by the                             monitoring under § 63.8(f), as defined in              be transferred to the State, local, or
     Administrator of U.S. EPA and cannot                    § 63.90, and as required in this subpart.              Tribal agency.
     be transferred to the State, local, or                     (4) Approval of major alternatives to                  (c) The authorities that cannot be
     Tribal agency.                                          recordkeeping and reporting under                      delegated to State, local, or Tribal
        (c) The authorities that cannot be                   § 63.10(f), as defined in § 63.90, and as              agencies are as specified in paragraphs
     delegated to State, local, or Tribal                    required in this subpart.                              (c)(1) through (4) of this section.


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        (1) Approval of alternatives to the                  the control device to the atmosphere, set              applicable State, local, or Tribal agency.
     requirements in §§ 63.741, 63.743,                      the flow indicator to take a reading at                If the U.S. EPA Administrator has
     63.744(a)(3), (b) through (e), 63.745                   least once every 15 minutes; or                        delegated authority to a State, local, or
     through 63.748, and 63.649(a).                             (B) If the bypass device valve installed            Tribal agency, then that agency, in
        (2) Approval of major alternatives to                at the inlet to the bypass device is                   addition to the U.S. EPA, has the
     test methods under § 63.7(e)(2)(ii) and                 secured in the non-diverting position                  authority to implement and enforce this
     (f), as defined in § 63.90, and as required             using a car-seal or a lock-and-key type                subpart. Contact the applicable U.S.
     in this subpart.                                        configuration, visually inspect the seal               EPA Regional Office to find out if
        (3) Approval of major alternatives to                or closure mechanism at least once                     implementation and enforcement of this
     monitoring under § 63.8(f), as defined in               every month to verify that the valve is                subpart is delegated to a State, local, or
     § 63.90, and as required in this subpart.               maintained in the non-diverting                        Tribal agency.
        (4) Approval of major alternatives to                position and the vent stream is not                       (b) In delegating implementation and
     recordkeeping and reporting under                       diverted through the bypass device.                    enforcement authority of this subpart to
     § 63.10(f), as defined in § 63.90, and as                                                                      a State, local, or Tribal agency under
                                                             *      *     *     *    *
     required in this subpart.                                                                                      subpart E of this part, the authorities
                                                             ■ 46. Section 63.776 is revised to read as
                                                             follows:                                               contained in paragraph (c) of this
     Subpart HH—[Amended]
                                                                                                                    section are retained by the
     ■ 44. Section 63.771 is amended by
                                                             § 63.776 Implementation and enforcement.               Administrator of U.S. EPA and cannot
     revising paragraphs (c)(3)(i)(A) and (B) to    (a) This subpart can be implemented                             be transferred to the State, local, or
     read as follows:                            and enforced by the U.S. EPA, or a                                 Tribal agency.
                                                 delegated authority such as the                                       (c) The authorities that cannot be
     § 63.771 Control equipment requirements.    applicable State, local, or Tribal agency.                         delegated to State, local, or Tribal
     *      *     *      *     *                 If the U.S. EPA Administrator has                                  agencies are as specified in paragraphs
        (c) * * *                                delegated authority to a State, local, or                          (c)(1) through (4) of this section.
        (3) * * *                                Tribal agency, then that agency, in                                   (1) Approval of alternatives to the
        (i) * * *                                addition to the U.S. EPA, has the                                  requirements in §§ 63.780 through
        (A) At the inlet to the bypass device    authority to implement and enforce this                            63.781, and 63.783 through 63.784.
     that could divert the stream away from      subpart. Contact the applicable U.S.                                  (2) Approval of major alternatives to
     the control device to the atmosphere,       EPA Regional Office to find out if this                            test methods under § 63.7(e)(2)(ii) and
     properly install, calibrate, maintain, and subpart is delegated to a State, local, or                          (f), as defined in § 63.90, and as required
     operate a flow indicator that is capable    Tribal agency.                                                     in this subpart.
     of taking periodic readings and                (b) In delegating implementation and                               (3) Approval of major alternatives to
     sounding an alarm when the bypass           enforcement authority of this subpart to                           monitoring under § 63.8(f), as defined in
     device is open such that the stream is      a State, local, or Tribal agency under                             § 63.90, and as required in this subpart.
     being, or could be, diverted away from      subpart E of this part, the authorities                               (4) Approval of major alternatives to
     the control device to the atmosphere; or contained in paragraph (c) of this                                    recordkeeping and reporting under
        (B) Secure the bypass device valve
                                                 section are retained by the                                        § 63.10(f), as defined in § 63.90, and as
     installed at the inlet to the bypass
                                                 Administrator of U.S. EPA and cannot                               required in this subpart.
     device in the non-diverting position
                                                 be transferred to the State, local, or
     using a car-seal or a lock-and-key type                                                                        Subpart JJ—[Amended]
                                                 Tribal agency.
     configuration.
                                                    (c) The authorities that cannot be
     *      *     *      *     *                                                                                    ■ 48. Section 63.803 is amended by
                                                 delegated to State, local, or Tribal
     ■ 45. Section 63.773 is amended by          agencies are as specified in paragraphs                            revising paragraph (a) to read as follows:
     revising paragraph (c)(2) introductory      (c)(1) through (4) of this section.                                § 63.803 Work practice standards.
     text and adding paragraph (c)(2)(iv) to        (1) Approval of alternatives to the
     read as follows:                                                                                               *      *    *     *     *
                                                 requirements in §§ 63.760, 63.764                                     (a) Work practice implementation
     § 63.773 Inspection and monitoring          through 63.766, 63.769, 63.771, and                                plan.
     requirements.                               63.777.                                                               (1) Each owner or operator of an
                                                    (2) Approval of major alternatives to                           affected source subject to this subpart
     *      *     *      *     *
        (c) * * *                                test methods under § 63.7(e)(2)(ii) and                            shall prepare and maintain a written
        (2) Except as provided in paragraphs     (f), as defined in § 63.90, and as required                        work practice implementation plan that
     (c)(5) and (6) of this section, each        in this subpart.                                                   defines environmentally desirable work
     closed-vent system shall be inspected          (3) Approval of major alternatives to                           practices for each wood furniture
     according to the procedures and             monitoring under § 63.8(f), as defined in                          operation manufacturing operation and
     schedule specified in paragraphs            § 63.90, and as required in this subpart.                          addresses each of the work practice
     (c)(2)(i) and (ii) of this section, each       (4) Approval of major alternatives to                           standards presented in paragraphs (b)
     cover shall be inspected according to       recordkeeping and reporting under                                  through (l) of this section. The plan
     the procedures and schedule specified       § 63.10(f), as defined in § 63.90, and as                          shall be developed no more than 60
     in paragraph (c)(2)(iii) of this section,   required in this subpart.                                          days after the compliance date.
     and each bypass device shall be             Subpart II—[Amended]                                                  (2) The written work practice
     inspected according to the procedures of                                                                       implementation plan shall be available
     paragraph (c)(2)(iv) of this section.       ■ 47. Section 63.789 is added to Subpart                           for inspection by the Administrator (or
     *      *     *      *     *                 II to read as follows:                                             delegated State, local, or Tribal
        (iv) For each bypass device, except as                                                                      authority) upon request. If the
     provided for in § 63.771(c)(3)(ii), the     § 63.789 Implementation and enforcement.                           Administrator (or delegated State, local,
     owner or operator shall either:                (a) This subpart can be implemented                             or Tribal authority) determines that the
        (A) At the inlet to the bypass device    and enforced by the U.S. EPA, or a                                 work practice implementation plan does
     that could divert the steam away from       delegated authority such as the                                    not include sufficient mechanisms for


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     ensuring that the work practice                         § 63.10(f), as defined in § 63.90, and as              EPA Regional Office to find out if this
     standards are being implemented, the                    required in this subpart.                              subpart is delegated to a State, local, or
     Administrator (or delegated State, local,                                                                      Tribal agency.
     or Tribal authority) may require the                    Subpart KK—[Amended]                                      (b) In delegating implementation and
     affected source to modify the plan.                                                                            enforcement authority of this subpart to
                                                             ■ 50. Section 63.831 is revised to read as             a State, local, or Tribal agency under
     Revisions or modifications to the plan
     do not require a revision of the source’s               follows:                                               subpart E of this part, the authorities
     Title V permit.                                         § 63.831    Implementation and enforcement.            contained in paragraph (c) of this
        (3) The inspection and maintenance                      (a) This subpart can be implemented                 section are retained by the
     plan required by paragraph (c) of this                  and enforced by the U.S. EPA, or a                     Administrator of U.S. EPA and cannot
     section and the formulation assessment                                                                         be transferred to the State, local, or
                                                             delegated authority such as the
     plan for finishing operations required by                                                                      Tribal agency.
                                                             applicable State, local, or Tribal agency.
     paragraph (l) of this section are also                                                                            (c) The authorities that cannot be
                                                             If the U.S. EPA Administrator has                      delegated to State, local, or Tribal
     reviewable by the Administrator (or
                                                             delegated authority to a State, local, or              agencies are as specified in paragraphs
     delegated State, local, or Tribal
                                                             Tribal agency, then that agency, in                    (c)(1) through (4) of this section.
     authority).
                                                             addition to the U.S. EPA, has the                         (1) Approval of alternatives to the
     *      *    *     *     *                               authority to implement and enforce this                requirements in §§ 63.840, 63.843 (with
     ■ 49. Section 63.808 is revised to read as              subpart. Contact the applicable U.S.                   the exception of 63.843(b)(3)), 63.844,
     follows:                                                EPA Regional Office to find out if this                63.845(a) introductory text, (a)(1), (b)
     § 63.808   Implementation and enforcement.              subpart is delegated to a State, local, or             through (e), (h), 63.846(a) through (c),
                                                             Tribal agency.                                         and 63.847(a)(1) and (4).
        (a) This subpart can be implemented                     (b) In delegating implementation and
     and enforced by the U.S. EPA, or a                                                                                (2) Approval of major alternatives to
                                                             enforcement authority of this subpart to               test methods under § 63.7(e)(2)(ii) and
     delegated authority such as the
                                                             a State, local, or Tribal agency under                 (f), as defined in § 63.90, and as required
     applicable State, local, or Tribal agency.
                                                             subpart E of this part, the authorities                in this subpart.
     If the U.S. EPA Administrator has
                                                             contained in paragraph (c) of this                        (3) Approval of major alternatives to
     delegated authority to a State, local, or
                                                             section are retained by the                            monitoring under § 63.8(f), as defined in
     Tribal agency, then that agency, in
                                                             Administrator of U.S. EPA and cannot                   § 63.90, and as required in this subpart.
     addition to the U.S. EPA, has the
                                                             be transferred to the State, local, or                    (4) Approval of major alternatives to
     authority to implement and enforce this
                                                             Tribal agency.                                         recordkeeping and reporting under
     subpart. Contact the applicable U.S.                       (c) The authorities that cannot be
     EPA Regional Office to find out if                                                                             § 63.10(f), as defined in § 63.90, and as
                                                             delegated to State, local, or Tribal                   required in this subpart.
     implementation and enforcement of this                  agencies are as specified in paragraphs
     subpart is delegated to a State, local, or              (c)(1) through (4) of this section.                    Subpart OO—[Amended]
     Tribal agency.                                             (1) Approval of alternatives to the
        (b) In delegating implementation and                 requirements in §§ 63.820 through                      ■ 52. Section 63.908 is added to Subpart
     enforcement authority of this subpart to                63.821 and 63.823 through 63.826.                      OO to read as follows:
     a State, local, or Tribal agency under                     (2) Approval of alternatives to the test
     subpart E of this part, the authorities                                                                        § 63.908 Implementation and enforcement.
                                                             method for organic HAP content
     contained in paragraph (c) of this                                                                                (a) This subpart can be implemented
                                                             determination in § 63.827(b) and
     section are retained by the                                                                                    and enforced by the U.S. EPA, or a
                                                             alternatives to the test method for
     Administrator of U.S. EPA and cannot                                                                           delegated authority such as the
                                                             volatile matter in § 63.827(c), and major
     be transferred to the State, local, or                                                                         applicable State, local, or Tribal agency.
                                                             alternatives to other test methods under
     Tribal agency.                                                                                                 If the U.S. EPA Administrator has
                                                             § 63.7(e)(2)(ii) and (f), as defined in
        (c) The authorities that cannot be                                                                          delegated authority to a State, local, or
                                                             § 63.90, and as required in this subpart.
     delegated to State, local, or Tribal                                                                           Tribal agency, then that agency, in
                                                                (3) Approval of major alternatives to
     agencies are as specified in paragraphs                                                                        addition to the U.S. EPA, has the
                                                             monitoring under § 63.8(f), as defined in
     (c)(1) through (5) of this section.                                                                            authority to implement and enforce this
                                                             § 63.90, and as required in this subpart.
        (1) Approval of alternatives to the                     (4) Approval of major alternatives to               subpart. Contact the applicable U.S.
     requirements in §§ 63.800, 63.802, and                  recordkeeping and reporting under                      EPA Regional Office to find out if this
     63.803(a)(1), (b), (c) introductory text,               § 63.10(f), as defined in § 63.90, and as              subpart is delegated to a State, local, or
     and (d) through (l).                                    required in this subpart.                              Tribal agency.
        (2) Approval of alternatives to the                                                                            (b) In delegating implementation and
     monitoring and compliance                               Subpart LL—[Amended]                                   enforcement authority of this subpart to
     requirements in §§ 63.804(f)(4)(iv)(D)                                                                         a State, local, or Tribal agency under
     and (E), 63.804(g)(4)(iii)(C),                          ■ 51. Section 63.853 is revised to read as             subpart E of this part, the authorities
     63.804(g)(4)(vi), and 63.804(g)(6)(vi).                 follows:                                               contained in paragraph (c) of this
        (3) Approval of major alternatives to                                                                       section are retained by the
     test methods under § 63.7(e)(2)(ii) and                 § 63.853    Implementation and enforcement.            Administrator of U.S. EPA and cannot
     (f), as defined in § 63.90, and as required                (a) This subpart can be implemented                 be transferred to the State, local, or
     in this subpart, as well as approval of                 and enforced by the U.S. EPA, or a                     Tribal agency.
     any alternatives to the specific test                   delegated authority such as the                           (c) The authorities that cannot be
     methods under §§ 63.805(a),                             applicable State, local, or Tribal agency.             delegated to State, local, or Tribal
     63.805(d)(2)(v), and 63.805(e)(1).                      If the U.S. EPA Administrator has                      agencies are as specified in paragraphs
        (4) Approval of major alternatives to                delegated authority to a State, local, or              (c)(1) through (4) of this section.
     monitoring under § 63.8(f), as defined in               Tribal agency, then that agency, in                       (1) Approval of alternatives to the
     § 63.90, and as required in this subpart.               addition to the U.S. EPA, has the                      requirements in §§ 63.900 and 63.902.
        (5) Approval of major alternatives to                authority to implement and enforce this                   (2) Approval of major alternatives to
     recordkeeping and reporting under                       regulation. Contact the applicable U.S.                test methods under § 63.7(e)(2)(ii) and


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     (f), as defined in § 63.90, and as required             applicable State, local, or Tribal agency.                (c) The authorities that cannot be
     in this subpart.                                        If the U.S. EPA Administrator has                      delegated to State, local, or Tribal
        (3) Approval of major alternatives to                delegated authority to a State, local, or              agencies are as specified in paragraphs
     monitoring under § 63.8(f), as defined in               Tribal agency, then that agency, in                    (c)(1) through (4) of this section.
     § 63.90, and as required in this subpart.               addition to the U.S. EPA, has the                         (1) Approval of alternatives to the
        (4) Approval of major alternatives to                authority to implement and enforce this                requirements in §§ 63.960 and 63.962.
     recordkeeping and reporting under                       subpart. Contact the applicable U.S.                   Where these standards reference subpart
     § 63.10(f), as defined in § 63.90, and as               EPA Regional Office to find out if this                DD, the cited provisions will be
     required in this subpart.                               subpart is delegated to a State, local, or             delegated according to the delegation
                                                             Tribal agency.                                         provisions subpart DD of this part.
     Subpart PP—[Amended]                                       (b) In delegating implementation and                   (2) Approval of major alternatives to
                                                             enforcement authority of this subpart to               test methods under § 63.7(e)(2)(ii) and
     ■ 53. Section 63.929 is added to Subpart
                                                             a State, local, or Tribal agency under                 (f), as defined in § 63.90, and as required
     PP to read as follows:
                                                             subpart E of this part, the authorities                in this subpart.
     § 63.929   Implementation and enforcement.              contained in paragraph (c) of this                        (3) Approval of major alternatives to
        (a) This subpart can be implemented                  section are retained by the                            monitoring under § 63.8(f), as defined in
     and enforced by the U.S. EPA, or a                      Administrator of U.S. EPA and cannot                   § 63.90, and as required in this subpart.
     delegated authority such as the                         be transferred to the State, local, or                    (4) Approval of major alternatives to
     applicable State, local, or Tribal agency.              Tribal agency.                                         recordkeeping and reporting under
     If the U.S. EPA Administrator has                          (c) The authorities that cannot be                  § 63.10(f), as defined in § 63.90, and as
     delegated authority to a State, local, or               delegated to State, local, or Tribal                   required in this subpart.
     Tribal agency, then that agency, in                     agencies are as specified in paragraphs
     addition to the U.S. EPA, has the                       (c)(1) through (4) of this section.                    Subpart VV—[Amended]
     authority to implement and enforce this                    (1) Approval of alternatives to the
                                                                                                                    ■ 56. Section 63.1050 is added to
     subpart. Contact the applicable U.S.                    requirements in §§ 63.940, 63.942, and
                                                             63.943. Where these standards reference                Subpart VV to read as follows:
     EPA Regional Office to find out if this
     subpart is delegated to a State, local, or              subpart DD, the cited provisions will be               § 63.1050 Implementation and
     Tribal agency.                                          delegated according to the delegation                  enforcement.
        (b) In delegating implementation and                 provisions of subpart DD.                                 (a) This subpart can be implemented
     enforcement authority of this subpart to                   (2) Approval of major alternatives to               and enforced by the U.S. EPA, or a
     a State, local, or Tribal agency under                  test methods under § 63.7(e)(2)(ii) and                delegated authority such as the
     subpart E of this part, the authorities                 (f), as defined in § 63.90, and as required            applicable State, local, or Tribal agency.
     contained in paragraph (c) of this                      in this subpart.                                       If the U.S. EPA Administrator has
     section are retained by the                                (3) Approval of major alternatives to               delegated authority to a State, local, or
     Administrator of U.S. EPA and cannot                    monitoring under § 63.8(f), as defined in              Tribal agency, then that agency, in
     be transferred to the State, local, or                  § 63.90, and as required in this subpart.              addition to the U.S. EPA, has the
     Tribal agency.                                             (4) Approval of major alternatives to               authority to implement and enforce this
        (c) The authorities that cannot be                   recordkeeping and reporting under                      subpart. Contact the applicable U.S.
     delegated to State, local, or Tribal                    § 63.10(f), as defined in § 63.90, and as              EPA Regional Office to find out if this
     agencies are as specified in paragraphs                 required in this subpart.                              subpart is delegated to a State, local, or
     (c)(1) through (4) of this section.                                                                            Tribal agency.
        (1) Approval of alternatives to the                  Subpart RR—[Amended]
                                                                                                                       (b) In delegating implementation and
     requirements in §§ 63.920 and 63.922                    ■ 55. Section 63.967 is added to Subpart               enforcement authority of this subpart to
     through 63.924. Where these standards                   RR to read as follows:                                 a State, local, or Tribal agency under
     reference another subpart, the cited                                                                           subpart E of this part, the authorities
     provisions will be delegated according                  § 63.967 Implementation and enforcement.               contained in paragraph (c) of this
     to the delegation provisions of the                        (a) This subpart can be implemented                 section are retained by the
     referenced subpart.                                     and enforced by the U.S. EPA, or a                     Administrator of U.S. EPA and cannot
        (2) Approval of major alternatives to                delegated authority such as the                        be transferred to the State, local, or
     test methods under § 63.7(e)(2)(ii) and                 applicable State, local, or Tribal agency.             Tribal agency.
     (f), as defined in § 63.90, and as required             If the U.S. EPA Administrator has                         (c) The authorities that cannot be
     in this subpart.                                        delegated authority to a State, local, or              delegated to State, local, or Tribal
        (3) Approval of major alternatives to                Tribal agency, then that agency, in                    agencies are as specified in paragraphs
     monitoring under § 63.8(f), as defined in               addition to the U.S. EPA, has the                      (c)(1) through (4) of this section.
     § 63.90, and as required in this subpart.               authority to implement and enforce this                   (1) Approval of alternatives to the
        (4) Approval of major alternatives to                subpart. Contact the applicable U.S.                   requirements in §§ 63.1040 and 63.1042
     recordkeeping and reporting under                       EPA Regional Office to find out if this                through 63.1045. Where these standards
     § 63.10(f), as defined in § 63.90, and as               subpart is delegated to a State, local, or             reference subpart DD, the cited
     required in this subpart.                               Tribal agency.                                         provisions will be delegated according
                                                                (b) In delegating implementation and                to the delegation provisions of subpart
     Subpart QQ—[Amended]
                                                             enforcement authority of this subpart to               DD of this part.
     ■ 54. Section 63.949 is added to Subpart                a State, local, or Tribal agency under                    (2) Approval of major alternatives to
     QQ to read as follows:                                  subpart E of this part, the authorities                test methods under § 63.7(e)(2)(ii) and
                                                             contained in paragraph (c) of this                     (f), as defined in § 63.90, and as required
     § 63.949   Implementation and enforcement.              section are retained by the                            in this subpart.
       (a) This subpart can be implemented                   Administrator of U.S. EPA and cannot                      (3) Approval of major alternatives to
     and enforced by the U.S. EPA, or a                      be transferred to the State, local, or                 monitoring under § 63.8(f), as defined in
     delegated authority such as the                         Tribal agency.                                         § 63.90, and as required in this subpart.


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       (4) Approval of major alternatives to                 Subpart DDD—[Amended]                                     (b) In delegating implementation and
     recordkeeping and reporting under                                                                              enforcement authority of this subpart to
     § 63.10(f), as defined in § 63.90, and as               ■ 58. Section 63.1195 is revised to read               a State, local, or Tribal agency under
     required in this subpart.                               as follows:                                            subpart E of this part, the authorities
                                                                                                                    contained in paragraph (c) of this
     Subpart CCC—[Amended]                                   § 63.1195 Who implements and enforces
                                                             this subpart?
                                                                                                                    section are retained by the
                                                                                                                    Administrator of U.S. EPA and cannot
     ■ 57. Section 63.1166 is revised to read                   (a) This subpart can be implemented                 be transferred to the State, local, or
     as follows:                                             and enforced by the U.S. EPA, or a                     Tribal agency.
                                                             delegated authority such as the                           (c) The authorities that cannot be
     § 63.1166 Implementation and                            applicable State, local, or Tribal agency.
     enforcement.                                                                                                   delegated to State, local, or Tribal
                                                             If the U.S. EPA Administrator has                      agencies are as specified in paragraphs
        (a) This subpart can be implemented                  delegated authority to a State, local, or              (c)(1) through (4) of this section.
     and enforced by the U.S. EPA, or a                      Tribal agency, then that agency, in                       (1) Approval of alternatives to
     delegated authority such as the                         addition to the U.S. EPA, has the                      requirements in §§ 63.1200, 63.1203
     applicable State, local, or Tribal agency.              authority to implement and enforce this                through 63.1205, and 63.1206(a).
     If the U.S. EPA Administrator has                       subpart. Contact the applicable U.S.                      (2) Approval of major alternatives to
     delegated authority to a State, local, or               EPA Regional Office to find out if                     test methods under § 63.7(e)(2)(ii) and
     Tribal agency, then that agency, in                     implementation and enforcement of this                 (f), as defined in § 63.90, and as required
     addition to the U.S. EPA, has the                       subpart is delegated to a State, local, or             in this subpart.
     authority to implement and enforce this                 Tribal agency.                                            (3) Approval of major alternatives to
     subpart. Contact the applicable U.S.                       (b) In delegating implementation and                monitoring under § 63.8(f), as defined in
     EPA Regional Office to find out if                      enforcement authority of this subpart to               § 63.90, and as required in this subpart.
     implementation and enforcement of this                  a State, local, or Tribal agency under                    (4) Approval of major alternatives to
     subpart is delegated to a State, local, or              subpart E of this part, the authorities                recordkeeping and reporting under
     Tribal agency.                                          contained in paragraph (c) of this                     § 63.10(f), as defined in § 63.90, and as
        (b) In delegating implementation and                 section are retained by the                            required in this subpart.
     enforcement authority of this subpart to                Administrator of U.S. EPA and cannot
     a State, local, or Tribal agency under                  be transferred to the State, local, or                 Subpart GGG—[Amended]
     subpart E of this part, the authorities                 Tribal agency.
                                                                (c) The authorities that cannot be                  ■ 60. Section 63.1261 is revised to read
     contained in paragraph (c) of this
                                                             delegated to State, local, or Tribal                   as follows:
     section are retained by the
     Administrator of U.S. EPA and cannot                    agencies are as specified in paragraphs                § 63.1261 Implementation and
     be transferred to the State, local, or                  (c)(1) through (4) of this section.                    enforcement.
     Tribal agency.                                             (1) Approval of alternatives to the
                                                                                                                       (a) This subpart can be implemented
                                                             requirements in §§ 63.1177 through
        (c) The authorities that cannot be                                                                          and enforced by the U.S. EPA, or a
                                                             63.1180.
     delegated to State, local, or Tribal                                                                           delegated authority such as the
                                                                (2) Approval of major alternatives to
     agencies are as specified in paragraphs                                                                        applicable State, local, or Tribal agency.
                                                             test methods under § 63.7(e)(2)(ii) and
     (c)(1) through (8) of this section.                                                                            If the U.S. EPA Administrator has
                                                             (f), as defined in § 63.90, and as required
        (1) Approval of alternatives to the                                                                         delegated authority to a State, local, or
                                                             in this subpart.
     requirements in §§ 63.1155, 63.1157                                                                            Tribal agency, then that agency, in
                                                                (3) Approval of major alternatives to               addition to the U.S. EPA, has the
     through 63.1159, and 63.1160(a).                        monitoring under § 63.8(f), as defined in              authority to implement and enforce this
        (2) Approval of major alternatives to                § 63.90, and as required in this subpart.              subpart. Contact the applicable U.S.
     test methods under § 63.7(e)(2)(ii) and                    (4) Approval of major alternatives to               EPA Regional Office to find out if
     (f), as defined in § 63.90, and as required             recordkeeping and reporting under                      implementation and enforcement of this
     in this subpart.                                        § 63.10(f), as defined in § 63.90, and as              subpart is delegated to a State, local, or
        (3) Approval of any alternative                      required in this subpart.                              Tribal agency.
     measurement methods for HCl and CL2                                                                               (b) In delegating implementation and
     to those specified in § 63.1161(d)(1).                  Subpart EEE—[Amended]
                                                                                                                    enforcement authority of this subpart to
        (4) Approval of major alternatives to                ■ 59. Section 63.1214 is added to                      a State, local, or Tribal agency under
     monitoring under § 63.8(f), as defined in               Subpart EEE to read as follows:                        subpart E of this part, the authorities
     § 63.90, and as required in this subpart.                                                                      contained in paragraph (c) of this
                                                             § 63.1214 Implementation and                           section are retained by the
        (5) Approval of any alternative
                                                             enforcement.                                           Administrator of U.S. EPA and cannot
     monitoring requirements to those
     specified in §§ 63.1162(a)(2) through (5)                  (a) This subpart can be implemented                 be transferred to the State, local, or
     and 63.1162(b)(1) through (3).                          and enforced by the U.S. EPA, or a                     Tribal agency.
                                                             delegated authority such as the                           (c) The authorities that cannot be
        (6) Approval of major alternatives to
                                                             applicable State, local, or Tribal agency.             delegated to State, local, or Tribal
     recordkeeping and reporting under
                                                             If the U.S. EPA Administrator has                      agencies are as specified in paragraphs
     § 63.10(f), as defined in § 63.90, and as
                                                             delegated authority to a State, local, or              (c)(1) through (4) of this section.
     required in this subpart.
                                                             Tribal agency, then that agency, in                       (1) Approval of alternatives to the
        (7) Waiver of recordkeeping                          addition to the U.S. EPA, has the                      requirements in §§ 63.1250 and 63.1252
     requirements specified in § 63.1165.                    authority to implement and enforce this                through 63.1256. Where these standards
        (8) Approval of an alternative                       subpart. Contact the applicable U.S.                   reference another subpart, the cited
     schedule for conducting performance                     EPA Regional Office to find out if this                provisions will be delegated according
     tests to the requirement specified in                   subpart is delegated to a State, local, or             to the delegation provisions of the
     § 63.1162(a)(1).                                        Tribal agency.                                         referenced subpart.


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        (2) Approval of major alternatives to                secured in the non-diverting position                  addition to the U.S. EPA, has the
     test methods under § 63.7(e)(2)(ii) and                 using a car-seal or a lock-and-key type                authority to implement and enforce this
     (f), as defined in § 63.90, and as required             configuration, visually inspect the seal               subpart. Contact the applicable U.S.
     in this subpart.                                        or closure mechanism at least once                     EPA Regional Office to find out if
        (3) Approval of major alternatives to                every month to verify that the valve is                implementation and enforcement of this
     monitoring under § 63.8(f), as defined in               maintained in the non-diverting                        subpart is delegated to a State, local, or
     § 63.90, and as required in this subpart.               position and the vent stream is not                    Tribal agency.
        (4) Approval of major alternatives to                diverted through the bypass device.                       (b) In delegating implementation and
     recordkeeping and reporting under                       *     *     *     *     *                              enforcement authority of this subpart to
     § 63.10(f), as defined in § 63.90, and as               ■ 63. Section 63.1286 is revised to read
                                                                                                                    a State, local, or Tribal agency under
     required in this subpart.                               as follows:                                            subpart E of this part, the authorities
                                                                                                                    contained in paragraph (c) of this
     Subpart HHH—[Amended]                                   § 63.1286 Implementation and                           section are retained by the
                                                             enforcement.                                           Administrator of U.S. EPA and cannot
     ■ 61. Section 63.1281 is amended by
                                                    (a) This subpart can be implemented                             be transferred to the State, local, or
     revising paragraphs (c)(3)(i)(A) and (B) to
                                                 and   enforced by the U.S. EPA, or a                               Tribal agency.
     read as follows:
                                                 delegated authority such as the                                       (c) The authorities that cannot be
     § 63.1281 Control equipment                 applicable State, local, or Tribal agency.                         delegated to State, local, or Tribal
     requirements.                               If the U.S. EPA Administrator has                                  agencies are as specified in paragraphs
     *       *     *     *     *                 delegated authority to a State, local, or                          (c)(1) through (5) of this section.
        (c) * * *                                Tribal agency, then that agency, in                                   (1) Approval of alternatives to the
        (3) * * *                                addition to the U.S. EPA, has the                                  requirements in §§ 63.1290, 63.1291,
        (i) * * *                                authority to implement and enforce this                            63.1293 through 63.1301, and 63.1305.
        (A) At the inlet to the bypass device    subpart. Contact the applicable U.S.                                  (2) Approval of major alternatives to
     that could divert the stream away from      EPA Regional Office to find out if this                            test methods under § 63.7(e)(2)(ii) and
     the control device to the atmosphere,       subpart is delegated to a State, local, or                         (f), as defined in § 63.90, and as required
     properly install, calibrate, maintain, and Tribal agency.                                                      in this subpart.
     operate a flow indicator that is capable       (b) In delegating implementation and                               (3) Approval of major alternatives to
     of taking periodic readings and             enforcement authority of this subpart to                           monitoring under § 63.8(f), as defined in
     sounding an alarm when the bypass           a State, local, or Tribal agency under                             § 63.90, and as required in this subpart.
     device is open such that the stream is      subpart E of this part, the authorities                               (4) Approval of alternatives to the
     being, or could be, diverted away from      contained in paragraph (c) of this                                 specific monitoring requirements of
     the control device to the atmosphere; or section are retained by the                                           § 63.1303(b)(5).
        (B) Secure the bypass device valve       Administrator of U.S. EPA and cannot                                  (5) Approval of major alternatives to
     installed at the inlet to the bypass        be transferred to the State, local, or                             recordkeeping and reporting under
     device in the non-diverting position        Tribal agency.                                                     § 63.10(f), as defined in § 63.90, and as
     using a car-seal or a lock-and-key type        (c) The authorities that cannot be                              required in this subpart.
     configuration.                              delegated to State, local, or Tribal
                                                 agencies are as specified in paragraphs                            Subpart JJJ—[Amended]
     *       *     *     *     *
     ■ 62. Section 13.1283 is amended by
                                                 (c)(1) through (4) of this section.
                                                                                                                    ■ 65. Section 63.1336 is added to
     revising paragraph (c)(2) introductory         (1) Approval of alternatives to the
                                                                                                                    Subpart JJJ to read as follows:
     text and adding paragraph (c)(2)(iii) to    requirements    in §§ 63.1270, 63.1274
     read as follows:                            through   63.1275,  63.1281, and 63.1287.                          § 63.1336 Implementation and
                                                    (2) Approval of major alternatives to                           enforcement.
     § 63.1283 Inspection and monitoring         test methods under § 63.7(e)(2)(ii) and                               (a) This subpart can be implemented
     requirements.                               (f), as defined in § 63.90, and as required                        and enforced by the U.S. EPA, or a
     *       *     *     *     *                 in this subpart.                                                   delegated authority such as the
        (c) * * *                                   (3) Approval of major alternatives to                           applicable State, local, or Tribal agency.
        (2) Except as provided in paragraphs     monitoring under § 63.8(f), as defined in                          If the U.S. EPA Administrator has
     (c)(5) and (6) of this section, each        § 63.90, and as required in this subpart.                          delegated authority to a State, local, or
     closed-vent system shall be inspected          (4) Approval of major alternatives to                           Tribal agency, then that agency, in
     according to the procedures and             recordkeeping and reporting under                                  addition to the U.S. EPA, has the
     schedule specified in paragraphs            § 63.10(f), as defined in § 63.90, and as                          authority to implement and enforce this
     (c)(2)(i) and (ii) of this section and each required in this subpart.                                          subpart. Contact the applicable U.S.
     bypass device shall be inspected                                                                               EPA Regional Office to find out if this
     according to the procedures of (c)(2)(iii) Subpart III—[Amended]                                               subpart is delegated to a State, local, or
     of this section.                                                                                               Tribal agency.
                                                 ■ 64. Section 63.1309 is revised to read
     *       *     *     *     *                 as follows:                                                           (b) In delegating implementation and
        (iii) For each bypass device, except as                                                                     enforcement authority of this subpart to
     provided for in § 63.1281(c)(3)(ii), the    § 63.1309 Implementation and                                       a State, local, or Tribal agency under
     owner or operator shall either:             enforcement.                                                       subpart E of this part, the authorities
        (A) At the inlet to the bypass device       (a) This subpart can be implemented                             contained in paragraph (c) of this
     that could divert the steam away from       and enforced by the U.S. EPA, or a                                 section are retained by the
     the control device to the atmosphere, set delegated authority such as the                                      Administrator of U.S. EPA and cannot
     the flow indicator to take a reading at     applicable State, local, or Tribal agency.                         be transferred to the State, local, or
     least once every 15 minutes; or             If the U.S. EPA Administrator has                                  Tribal agency.
        (B) If the bypass device valve installed delegated authority to a State, local, or                             (c) The authorities that cannot be
     at the inlet to the bypass device is        Tribal agency, then that agency, in                                delegated to State, local, or Tribal


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     agencies are as specified in paragraphs                    (2) Approval of major alternatives to               ■ 69. Section 63.1369 is revised to read
     (c)(1) through (4) of this section.                     test methods under § 63.7(e)(2)(ii) and                as follows:
        (1) Approval of alternatives to the                  (f), as defined in § 63.90, and as required
     requirements in §§ 63.1310 through                                                                             § 63.1369 Implementation and
                                                             in this subpart.
                                                                                                                    enforcement.
     63.1311, 63.1313 through 63.1315(a)(1)                     (3) Approval of major alternatives to
     through (9), (11) through (18), (b)                     monitoring under § 63.8(f), as defined in                 (a) This subpart can be implemented
     through (e), 63.1316, 63.1321 through                   § 63.90, and as required in this subpart.              and enforced by the U.S. EPA, or a
     63.1322, 63.1323(a), (b)(1) through (4),                   (4) Approval of major alternatives to               delegated authority such as the
     (b)(5)(iv) through (v), (b)(6) through (7),             recordkeeping and reporting under                      applicable State, local, or Tribal agency.
     (c) through (j), and 63.1328 through                    § 63.10(f), as defined in § 63.90, and as              If the U.S. EPA Administrator has
     63.1332. Where these standards                          required in this subpart.                              delegated authority to a State, local, or
     reference another subpart, the cited                                                                           Tribal agency, then that agency, in
     provisions will be delegated according                  Subpart MMM—[Amended]                                  addition to the U.S. EPA, has the
     to the delegation provisions of the                                                                            authority to implement and enforce this
     referenced subpart. Where these                         ■ 67. Section 63.1362 is amended by                    subpart. Contact the applicable U.S.
     standards reference another subpart and                 revising paragraphs (j)(1) and (j)(2) to               EPA Regional Office to find out if
     modify the requirements, the                            read as follows:                                       implementation and enforcement of this
     requirements shall be modified as                                                                              subpart is delegated to a State, local, or
                                                             § 63.1362    Standards.
     described in this subpart. Delegation of                                                                       Tribal agency.
                                                             *       *    *      *     *                               (b) In delegating implementation and
     the modified requirements will also
                                                                (j) * * *                                           enforcement authority of this subpart to
     occur according to the delegation
                                                                (1) Install, calibrate, maintain, and               a State, local, or Tribal agency under
     provisions of the referenced subpart.
                                                             operate a flow indicator that is capable               subpart E of this part, the authorities
        (2) Approval of major alternatives to
     test methods for under § 63.7(e)(2)(ii)                 of determining whether vent stream                     contained in paragraph (c) of this
     and (f), as defined in § 63.90, and as                  flow is present and taking frequent,                   section are retained by the
     required in this subpart.                               periodic readings. Records shall be                    Administrator of U.S. EPA and cannot
        (3) Approval of major alternatives to                maintained as specified in                             be transferred to the State, local, or
     monitoring under § 63.8(f), as defined in               § 63.1367(f)(1). The flow indicator shall              Tribal agency.
     § 63.90, and as required in this subpart.               be installed at the entrance to any                       (c) The authorities that cannot be
        (4) Approval of major alternatives to                bypass line that could divert the vent                 delegated to State, local, or Tribal
     recordkeeping and reporting under                       stream away from the control device to                 agencies are as specified in paragraphs
     § 63.10(f), as defined in § 63.90, and as               the atmosphere; or                                     (c)(1) through (4) of this section.
     required in this subpart.                                  (2) Secure the bypass line valve in the                (1) Approval of alternatives to the
                                                             closed position with a car-seal or lock-               requirements in §§ 63.1360 and 63.1362
     Subpart LLL—[Amended]                                   and-key type configuration. Records                    through 63.1364. Where these standards
                                                             shall be maintained as specified in                    reference another subpart, the cited
     ■ 66. Section 63.1358 is revised to read                § 63.1367(f)(2).                                       provisions will be delegated according
     as follows:                                             *       *    *      *     *                            to the delegation provisions of the
     § 63.1358 Implementation and                            ■ 68. Section 63.1366 is amended by                    referenced subpart. Where these
     enforcement.                                            revising paragraph (b)(1)(xiii) to read as             standards reference another subpart and
        (a) This subpart can be implemented                  follows:                                               modify the requirements, the
     and enforced by the U.S. EPA, or a                                                                             requirements shall be modified as
     delegated authority such as the                         § 63.1366 Monitoring and inspection                    described in this subpart. Delegation of
                                                             requirements.                                          the modified requirements will also
     applicable State, local, or Tribal agency.
     If the U.S. EPA Administrator has                       *      *     *     *    *                              occur according to the delegation
     delegated authority to a State, local, or                  (b) * * *                                           provisions of the referenced subpart.
     Tribal agency, then that agency, in                        (1) * * *                                              (2) Approval of major alternatives to
     addition to the U.S. EPA, has the                          (xiii) Closed-vent system visual                    test methods for under § 63.7(e)(2)(ii)
     authority to implement and enforce this                 inspections. The owner or operator shall               and (f), as defined in § 63.90, and as
     subpart. Contact the applicable U.S.                    comply with the requirements in either                 required in this subpart.
     EPA Regional Office to find out if this                 paragraph (b)(1)(xiii)(A) or (B) of this                  (3) Approval of major alternatives to
     subpart is delegated to a State, local, or              section:                                               monitoring under § 63.8(f), as defined in
     Tribal agency.                                             (A) Set the flow indicator at the                   § 63.90, and as required in this subpart.
        (b) In delegating implementation and                 entrance to any bypass line that could                    (4) Approval of major alternatives to
     enforcement authority of this subpart to                divert the stream away from the control                recordkeeping and reporting under
     a State, local, or Tribal agency under                  device to the atmosphere to take a                     § 63.10(f), as defined in § 63.90, and as
     subpart E of this part, the authorities                 reading at least once every 15 minutes;                required in this subpart.
     contained in paragraph (c) of this                      or
                                                                (B) If the bypass device valve installed            Subpart NNN—[Amended]
     section are retained by the
     Administrator of U.S. EPA and cannot                    at the inlet to the bypass device is
                                                                                                                    ■ 70. Section 63.1388 is added to
     be transferred to the State, local, or                  secured in the closed position with a
                                                             car-seal or lock-and-key type                          Subpart NNN to read as follows:
     Tribal agency.
        (c) The authorities that cannot be                   configuration, visually inspect the seal               § 63.1388 Implementation and
     delegated to State, local, or Tribal                    or closure mechanism at least once                     enforcement.
     agencies are as specified in paragraphs                 every month to verify that the valve is                   (a) This subpart can be implemented
     (c)(1) through (4) of this section.                     maintained in the closed position and                  and enforced by the U.S. EPA, or a
        (1) Approval of alternatives to the                  the vent stream is not diverted through                delegated authority such as the
     requirements in §§ 63.1340, 63.1342                     the bypass line.                                       applicable State, local, or Tribal agency.
     through 63.1348, and 63.1351.                           *      *     *     *    *                              If the U.S. EPA Administrator has


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     delegated authority to a State, local, or               agencies are as specified in paragraphs                standards reference another subpart and
     Tribal agency, then that agency, in                     (c)(1) through (4) of this section.                    modify the requirements, the
     addition to the U.S. EPA, has the                          (1) Approval of alternatives to the                 requirements shall be modified as
     authority to implement and enforce this                 requirements in §§ 63.1400 through                     described in this subpart. Delegation of
     subpart. Contact the applicable U.S.                    63.1401 and 63.1404 through 63.1410.                   the modified requirements will also
     EPA Regional Office to find out if                      Where these standards reference another                occur according to the delegation
     implementation and enforcement of this                  subpart, the cited provisions will be                  provisions of the referenced subpart.
     subpart is delegated to a State, local, or              delegated according to the delegation                     (2) Approval of major alternatives to
     Tribal agency.                                          provisions of the referenced subpart.                  test methods under § 63.7(e)(2)(ii) and
        (b) In delegating implementation and                 Where these standards reference another                (f), as defined in § 63.90, and as required
     enforcement authority of this subpart to                subpart and modify the requirements,                   in this subpart.
     a State, local, or Tribal agency under                  the requirements shall be modified as
                                                             described in this subpart. Delegation of                  (3) Approval of major alternatives to
     subpart E of this part, the authorities
                                                             the modified requirements will also                    monitoring under § 63.8(f), as defined in
     contained in paragraph (c) of this
                                                             occur according to the delegation                      § 63.90, and as required in this subpart.
     section are retained by the
     Administrator of U.S. EPA and cannot                    provisions of the referenced subpart.                     (4) Approval of major alternatives to
     be transferred to the State, local, or                     (2) Approval of major alternatives to               recordkeeping and reporting under
     Tribal agency.                                          test methods under § 63.7(e)(2)(ii) and                § 63.10(f), as defined in § 63.90, and as
        (c) The authorities that cannot be                   (f), as defined in § 63.90, and as required            required in this subpart.
     delegated to State, local, or Tribal                    in this subpart.
     agencies are as specified in paragraphs                    (3) Approval of major alternatives to               Subpart RRR—[Amended]
     (c)(1) through (4) of this section.                     monitoring under § 63.8(f), as defined in
        (1) Approval of alternatives to the                  § 63.90, and as required in this subpart.              ■ 73. Section 63.1519 is revised to read
     requirements in §§ 63.1380, 63., and                       (4) Approval of major alternatives to               as follows:
     63.1387.                                                recordkeeping and reporting under                      § 63.1519 Implementation and
        (2) Approval of major alternatives to                § 63.10(f), as defined in § 63.90, and as              enforcement.
     test methods under § 63.7(e)(2)(ii) and                 required in this subpart.
     (f), as defined in § 63.90, and as required                                                                       (a) This subpart can be implemented
     in this subpart.                                        Subpart PPP—[Amended]                                  and enforced by the U.S. EPA, or a
        (3) Approval of major alternatives to                                                                       delegated authority such as the
                                                             ■ 72. Section 63.1421 is revised to read               applicable State, local, or Tribal agency.
     monitoring under § 63.8(f), as defined in
     § 63.90, and as required in this subpart.               as follows:                                            If the U.S. EPA Administrator has
        (4) Approval of major alternatives to                                                                       delegated authority to a State, local, or
                                                             § 63.1421 Implementation and
     recordkeeping and reporting under                       enforcement.
                                                                                                                    Tribal agency, then that agency, in
     § 63.10(f), as defined in § 63.90, and as                                                                      addition to the U.S. EPA, has the
                                                                (a) This subpart can be implemented                 authority to implement and enforce this
     required in this subpart.                               and enforced by the U.S. EPA, or a                     regulation. Contact the applicable U.S.
                                                             delegated authority such as the                        EPA Regional Office to find out if this
     Subpart OOO—[Amended]
                                                             applicable State, local, or Tribal agency.             subpart is delegated to a State, local, or
     ■ 71. Section 63.1419 is revised to read                If the U.S. EPA Administrator has                      Tribal agency.
     as follows:                                             delegated authority to a State, local, or
                                                             Tribal agency, then that agency, in                       (b) In delegating implementation and
     § 63.1419 Implementation and                            addition to the U.S. EPA, has the                      enforcement authority of this regulation
     enforcement.                                            authority to implement and enforce this                to a State, local, or Tribal agency under
        (a) This subpart can be implemented                  subpart. Contact the applicable U.S.                   subpart E of this part, the authorities
     and enforced by the U.S. EPA, or a                      EPA Regional Office to find out if this                contained in paragraph (c) of this
     delegated authority such as the                         subpart is delegated to a State, local, or             section are retained by the
     applicable State, local, or Tribal agency.              Tribal agency.                                         Administrator of U.S. EPA and cannot
     If the U.S. EPA Administrator has                          (b) In delegating implementation and                be transferred to the State, local, or
     delegated authority to a State, local, or               enforcement authority of this subpart to               Tribal agency.
     Tribal agency, then that agency, in                     a State, local, or Tribal agency under                    (c) The authorities that cannot be
     addition to the U.S. EPA, has the                       subpart E of this part, the authorities                delegated to State, local, or Tribal
     authority to implement and enforce this                 contained in paragraph (c) of this                     agencies are as specified in paragraphs
     subpart. Contact the applicable U.S.                    section are retained by the                            (c)(1) through (4) of this section.
     EPA Regional Office to find out if                      Administrator of U.S. EPA and cannot                      (1) Approval of alternatives to the
     implementation and enforcement of this                  be transferred to the State, local, or                 requirements in §§ 63.1500 through
     subpart is delegated to a State, local, or              Tribal agency.                                         63.1501 and 63.1505 through 63.1506.
     Tribal agency.                                             (c) The authorities that cannot be
                                                                                                                       (2) Approval of major alternatives to
        (b) In delegating implementation and                 delegated to State, local, or Tribal
                                                                                                                    test methods for under § 63.7(e)(2)(ii)
     enforcement authority of this subpart to                agencies are as specified in paragraphs
                                                                                                                    and (f), as defined in § 63.90, and as
     a State, local, or Tribal agency under                  (c)(1) through (4) of this section.
                                                                                                                    required in this subpart.
     subpart E of this part, the authorities                    (1) Approval of alternatives to the
     contained in paragraph (c) of this                      requirements in §§ 63.1420, 63.1422,                      (3) Approval of major alternatives to
     section are retained by the                             63.1424 through 63.1428, and 63.1432                   monitoring under § 63.8(f), as defined in
     Administrator of U.S. EPA and cannot                    through 63.1436. Where these standards                 § 63.90, and as required in this subpart.
     be transferred to the State, local, or                  reference another subpart, the cited                      (4) Approval of major alternatives to
     Tribal agency.                                          provisions will be delegated according                 recordkeeping and reporting under
        (c) The authorities that cannot be                   to the delegation provisions of the                    § 63.10(f), as defined in § 63.90, and as
     delegated to State, local, or Tribal                    referenced subpart. Where these                        required in this subpart.


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     Subpart TTT—[Amended]                                   Subpart VVV—[Amended]                                  Subpart XXX—[Amended]

     ■ 74. Section 63.1550 is revised to read                ■ 75. Section 63.1594 is revised to read               ■ 76. Section 63.1661 is revised to read
     as follows:                                             as follows:                                            as follows:
     § 63.1550 Implementation and                            § 63.1594    Who enforces this subpart?                § 63.1661 Implementation and
     enforcement.                                                                                                   enforcement.
                                                                (a) This subpart can be implemented
        (a) This subpart will be implemented                                                                           (a) This subpart can be implemented
                                                             and enforced by the U.S. EPA, or a
     and enforced by the U.S. EPA, or a                                                                             and enforced by the U.S. EPA, or a
                                                             delegated authority such as the
     delegated authority such as the                                                                                delegated authority such as the
                                                             applicable State, local, or Tribal agency.
     applicable State, local, or Tribal agency.                                                                     applicable State, local, or Tribal agency.
                                                             If the U.S. EPA Administrator has
     If the U.S. EPA Administrator has                                                                              If the U.S. EPA Administrator has
                                                             delegated authority to a State, local, or
     delegated authority to a State, local, or                                                                      delegated authority to a State, local, or
                                                             Tribal agency, then that agency, in
     Tribal agency, then that agency, in                                                                            Tribal agency, then that agency, in
                                                             addition to the U.S. EPA, has the
     addition to the U.S. EPA, has the                                                                              addition to the U.S. EPA, has the
                                                             authority to implement and enforce this
     authority to implement and enforce this                                                                        authority to implement and enforce this
                                                             subpart. Contact the applicable U.S.
     subpart. Contact the applicable U.S.                                                                           subpart. Contact the applicable U.S.
                                                             EPA Regional Office to find out if
     EPA Regional Office to find out if this                                                                        EPA Regional Office to find out if this
                                                             implementation and enforcement of this
     subpart is delegated to a State, local, or                                                                     subpart is delegated to a State, local, or
                                                             subpart is delegated to a State, local, or
     Tribal agency.                                                                                                 Tribal agency.
                                                             Tribal agency.
                                                                                                                       (b) In delegating implementation and
        (b) In delegating implementation and                    (b) In delegating implementation and                enforcement authority of this subpart to
     enforcement authority of this subpart to                enforcement authority of this subpart to               a State, local, or Tribal agency under
     a State, local, or Tribal agency under                  a State, local, or Tribal agency under                 subpart E of this part, the authorities
     subpart E of this part, the authorities                 subpart E of this part, the authorities                contained in paragraph (c) of this
     contained in paragraph (c) of this                      contained in paragraph (c) of this                     section are retained by the
     section are retained by the                             section are retained by the                            Administrator of U.S. EPA and cannot
     Administrator of U.S. EPA and cannot                    Administrator of U.S. EPA and cannot                   be transferred to the State, local, or
     be transferred to the State, local, or                  be transferred to the State, local, or                 Tribal agency.
     Tribal agency.                                          Tribal agency.                                            (c) The authorities that cannot be
        (c) The authorities that cannot be                      (c) The authorities that cannot be                  delegated to State, local, or Tribal
     delegated to State, local, or Tribal                    delegated to State, local, or Tribal                   agencies are as specified in paragraphs
     agencies are as specified in paragraphs                 agencies are as specified in paragraphs                (c)(1) through (4) of this section.
     (c)(1) through (4) of this section.                     (c)(1) through (4) of this section.                       (1) Approval of alternatives to
        (1) Approval of alternatives to the                     (1) Approval of alternatives to the                 requirements in §§ 63.1650 and 63.1652
     requirements in §§ 63.1541, 63.1543(a)                  requirements in §§ 63.1580, 63.1583                    through 63.1654.
     through (c), (f) through (g), and 63.1544               through 63.1584, and 63.1586 through                      (2) Approval of major alternatives to
     through 63.1545.                                        63.1587.                                               test methods under § 63.7(e)(2)(ii) and
        (2) Approval of major alternatives to                   (2) Approval of major alternatives to               (f), as defined in § 63.90, and as required
     test methods under § 63.7(e)(2)(ii) and                 test methods under § 63.7(e)(2)(ii) and                in this subpart.
     (f), as defined in § 63.90, and as required             (f), as defined in § 63.90, and as required               (3) Approval of major alternatives to
     in this subpart.                                        in this subpart.                                       monitoring under § 63.8(f), as defined in
        (3) Approval of major alternatives to                   (3) Approval of major alternatives to               § 63.90, and as required in this subpart.
     monitoring under § 63.8(f), as defined in               monitoring under § 63.8(f), as defined in                 (4) Approval of major alternatives to
     § 63.90, and as required in this subpart.               § 63.90, and as required in this subpart.              recordkeeping and reporting under
                                                                                                                    § 63.10(f), as defined in § 63.90, and as
        (4) Approval of major alternatives to                   (4) Approval of major alternatives to
                                                                                                                    required in this subpart.
     recordkeeping and reporting under                       recordkeeping and reporting under
     § 63.10(f), as defined in § 63.90, and as               § 63.10(f), as defined in § 63.90, and as              [FR Doc. 03–14190 Filed 6–20–03; 8:45 am]
     required in this subpart.                               required in this subpart.                              BILLING CODE 6560–50–P




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Rule 154 Stage 1 Episode Actions (Adopted  submit operating permits programs to          must be evaluated based on the part 70
    9/17 /91)                              the EPA by November 15, 1993, and that        rules and interpretations in place at the
Rule 155 Stage 2 Episode Actions (Adopted  the EPA act to approve or disapprove          time of approval. In any case, the
    9/17 /91)                              each program within one year after            premise of NEDA-CARP's comment is
Rule 156 Stage 3 Episode Actions (Adopted
    9/17 /91)
                                           receiving the submittal. The EPA's            incorrect. Apparently basing its
Rule 158 Source Abatement Plans (Adopted   program review occurs pursuant to             comment on drafts of a proposed
    9/17 /91)                              section 502 of the Act and the part 70        revision to part 70, NEDA-CARP claims
Rule 159 Traffic Abatement Procedures      regulations, which together outline           that the proposal would allow an R&D
    (Adopted 9/ l 7/91)                    criteria for approval or disapproval.         facility to be treated separately for
* * * * *                                  Where a program substantially, but not        applicability purposes regardless of its
[FR Doc. 95-22519 Filed 9-11-95; 8:45 am]  fully, meets the requirements of part 70,     Standard Industrial Classification (SIC)
                                           the EPA may grant the program interim         code or whether it functions as a
BILLING CODE 6050-50-P
                                           approval for a period of up to two years.     support facility. While it is true that the
                                           If the EPA has not fully approved a           proposed rule would create a separate
40 CFR Part 70                             program by two years after the date of        industrial classification for R&D, the
                                           November 15, 1993, or by the end of an        preamble to the proposed rule clarifies
[LA--001; FRL-5293-3)                      interim program, it must establish and        that this is a codification of the EPA' s
                                           implement a Federal program.                  previous understanding of the SIC code
Clean Air Act Final Full Approval of          On August 25, 1994, the EPA
Operating Permits Program; Louisiana proposed interim approval of the
                                                                                         test embodied in the current part 70,
Department of Environmental Quality
                                                                                         which would allow an R&D facility to be
                                           Operating Permits program submitted           treated separately only if it belongs to a
AGENCY: Environmental Protection           by the LDEQ on November 15, 1993, to          separate two digit SIC code. Moreover,
Agency (EPA).                              meet the requirements of part 70 and          the proposal expressly retains from the
ACTION: Final full approval.
                                           title V of the Act. (See 59 FR 43797,         SIC code approach the duty to aggregate
                                           August 25, 1994) (hereafter Interim           an R&D facility with other on-site
SUMMARY: The EPA is promulgating full      Approval Notice). Many comments were          sources for which it functions as a
approval of the Louisiana Operating        received on the Interim Approval              support facility. Therefore, the EPA
Permits program submitted by the           Notice. The LDEQ provided comments            continues to believe that these changes
Governor of Louisiana for the Louisiana and revised their Operating Permits              to Louisiana's Operating Permits
Department of Environmental Quality        program to address the issues discussed       program were necessary for full
{LDEQ) for the purpose of complying        in the Interim Approval Notice. These         approval.
with Federal requirements which            revisions were sent to the EPA on                NEDA-CARP's other comments were
mandate that States develop, and submit November 10, 1994. On April 7, 1995,             supportive of the positions taken by the
to EPA, programs for issuing operating     the EPA rescinded the proposed interim        EPA in the Full Approval Notice such
permits to all major stationary sources,   approval, addressed all comments              as the definitions of "title I
and to certain other sources.              received on the Interim Approval              modification" and "case-by-case"
EFFECTIVE DATE: This program will be
                                           Notice, and proposed full approval of         determinations, and the approval of the
effective October 12, 1995.                the  Operating Permits program for the        insignificant activities and criteria.
                                           LDEQ based on the revised Operating              In this notice, the EPA is taking final
ADDRESSES: Copies of the State's
                                           Permits program. (See 60 FR 17750,            action to promulgate full approval of the
submittal and other supporting             April 7, 1995) (hereafter Full Approval
information used in developing the final Notice). The EPA received public                Operating Permits program for the
full approval are available for inspection comment on the Full Approval Notice           LDEQ.
during normal business hours at the        and compiled a technical support              II. Final Action and Implications
following location:                        document which describes the
Environmental Protection Agency,                                                         A. Analysis of State Submission
                                           Operating Permits program in greater
   Region 6, Air Permits Section {6PD-     detail.                                         On April 7, 1995, the EPA proposed
   R), 1445 Ross Avenue, Suite 700,           A single commentor, the National           full approval of the State of Louisiana's
   Dallas, Texas 75202-2733.               Environmental Development                     Title V Operating Permits program. (See
Louisiana Department of Environmental Association-Clean Air Regulatory                   60 FR 17750) . The program elements
   Quality, Office of Air Quality, 7290    Project (NEDA-CARP), provided                 discussed in the proposed notice are
   Bluebonnet Boulevard, P.O. Box          comments on the Full Approval Notice.         unchanged from the analysis in the Full
   82135, Baton Rouge, Louisiana           NEDA-CARP was concerned that the              Approval Notice and continue to fully
   70884-2135.                             EPA was requiring the LDEQ to revise          meet the requirements of 40 CFR part
FOR FURTHER INFORMATION CONTACT:           its regulatory provision on research and      70.
Joyce P. Stanton, Multimedia Planning      development (R&D) facilities to prevent         In the Interim Approval Notice, the
and Permitting Division, Environmental R&D facilities from being considered              following items were delineated as
Protection Agency, Region 6, 1445 Ross separately from sources with which they           deficiencies in the Louisiana Operating
Avenue, Suite 700, Dallas, Texas 75202- are co-located, in order to receive full         permit program: State confidentiality
2733, telephone 214-665-7547.              approval. NEDA-CARP stated its belief         provisions could be interpreted to
                                           that the EPA was not correct in its           protect the contents of the permit itself
SUPPLEMENTARY INFORMATION:                 interpretation of 40 CFR part 70 and that     from disclosure; Louisiana
I. Background and Purpose                  it is likely that the part 70 rules will be   Administrative Code (LAC)
                                           revised in the near future to allow States    33:IIl.501.B.7 allowed the permitting
A. Introduction                            the flexibility to consider co-located        authority to consider a certain complex
   Title V of the Clean Air Act ("the      R&D facilities separately from the            within a facility as a source separate
Act"), and implementing regulations at     source. The EPA appreciates NEDA-             from the facility with which it is co-
40 Code of Federal Regulations (CFR)       CARP's concerns; however, the                 located, provided that the complex is
part 70 require that States develop and    Louisiana Operating Permits program           used solely for R & D of new processes
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and/or products, and is not engaged in      Ill Administrative Requirements               the private sector, result from this
the manufacture of products for                                                           action.
                                            A. Docket
commercial sale; deadlines for submittal
                                                                                          List of Subjects in 40 CFR Part 70
of Acid Rain permits were inconsistent;        Copies of the State's submittal and
LAC 33.III.521.A.6 appeared to allow        other information relied upon for the           Administrative practice and
administrative amendments to permits        final full approval, including the public     procedure, Air pollution control,
to incorporate certain "off-permit"         comments received and reviewed by the         Environmental protection,
changes; it was unclear whether the         EPA on the proposal, are contained in         Intergovernmental relations, Operating
State could lawfully require records to     the docket maintained at the EPA              permits, Reporting and recordkeeping
be retained for five years; LAC             Regional Office. The docket is an             requirements.
33.IIl.527.A.3 allowed certain changes      organized and complete file of all the          Dated: August 25, 1995.
that rendered existing compliance terms     information submitted to, or otherwise        A. Stanley Meiburg,
irrelevant to be incorporated through       considered by, the EPA in the                 Acting Regional Administrator (6RA).
minor modification procedures, yet was      development of this final full approval.
                                            The docket is available for public              40 CFR Part 70 is amended as follows:
unclear whether the criteria in the State
rule conformed to 40 CFR 70.4(b)(14};       inspection at the location listed under       PART 70-[AMENDED]
State provisions did not include a          the ADDRESSES section of this document.
requirement that the permit specify the                                                     1. The authority citation for part 70
                                            B. Executive Order 12866                      continues to read as follows:
origin of and reference the authority for
each term or condition, nor did they          The Office of Management and Budget     Authority: 42 U.S.C. 7401, et seq.
identify differences in form from the       has exempted this action from Executive
                                                                                      2. Appendix A is amended by adding
applicable requirements upon which the      Order 12866 review.                     an entry for "Louisiana" in alphabetical
terms were based or contain various         C. Regulatory Flexibility Act           order to read as follows:
other elements required by 40 CFR 70.6;
inadequate definition of "title I             The EPA's actions under section 502         Appendix A to Part 70-Approval
modification;'' provisions to determine     of the Act do not create any new              Status of State and Local Operating
insignificant activities were not           requirements, but simply address              Permits Programs
included with the State's original          operating permits programs submitted          *
                                            to satisfy the requirements of 40 CFR              *      *    *    *
submittal. As discussed in the notice
proposing full approval, Louisiana has      part 70. Because this action does not         Louisiana
addressed all of these items. For further   impose any new requirements, it does            (a) The Louisiana Department of
discussion of these items, please see the   not have a significant impact on a            Environmental Quality, Air Quality Division
proposed full approval and the              substantial number of small entities.         submitted an Operating Permits program on
                                                                                          November 15, 1993, which was revised
Technical Support Document.                 D. Unfunded Mandates                          November 10, 1994, and became effective on
B. Options for Approval/Disapproval                                                       October 12, 1995.
                                               Under Section 202 of the Unfunded            (b) [Reserved]
                                            Mandates Reform Act of 1995
  The EPA is promulgating full                                                            *      *     *    *     *
                                            (''Unfunded Mandates Act''}, signed
approval of the Operating Permits                                                         [FR Doc. 95-22330 Filed 9-11-95; 8:45 am]
                                            into law on March 22, 1995, the EPA
program submitted to the EPA for the                                                      BILLING CODE 6560-50-P
                                            must prepare a budgetary impact
LDEQ on November 15, 1993, and
revised on November 10, 1994. Among         statement to accompany any proposed
other things, the LDEQ has                  or final rule that includes a Federal
                                            mandate that may result in estimated          40 CFR Part 81
demonstrated that the program will be
                                            costs to State, local, or tribal              [FRL-5279-6]
adequate to meet the minimum
                                            governments in the aggregate; or to the
elements of a State operating permits                                                     Designation of Areas for Air Quality
                                            private sector, of$ 100 million or more.
program as specified in 40 CFR part 70.                                                   Planning Purposes; Wyoming;
                                            Under Section 205, the EPA must select
  Requirements for approval, specified      the most cost-effective and least             Redesignation of Particulate Matter
in 40 CFR 70.4(b}, encompass section        burdensome alternative that achieves          Attainment Areas
112(1)(5) requirements for approval ofa     the objectives of the rule and is             AGENCY: Environmental Protection
program for delegation of section 112       consistent with statutory requirements.
standards as promulgated by the EPA as                                                    Agency (EPA).
                                            Section 203 of the Unfunded Mandates          ACTION: Direct final rule.
they apply to part 70 sources. Section      Act requires the EPA to establish a plan
112(1)(5) requires that the State's         for informing and advising any small          SUMMARY: In this document, EPA is
program contain adequate authorities,       governments that may be significantly         approving a December 19, 1994 request
adequate resources for implementation,      or uniquely impacted by the rule.             from the Governor of Wyoming to
and an expeditious compliance                  The EPA has determined that the            redesignate the Powder River Basin
schedule, which are also requirements       approval action promulgated today does        particulate matter attainment area in
under part 70.                              not include a Federal mandate that may        portions of Campbell and Converse
  Therefore, the EPA is also                result in estimated costs of $100 million     Counties to exclude an area designated
promulgating full approval under            or more to either State, local, or tribal     as the Kennecott/Puron Prevention of
section 112(1)(5) and 40 CFR 63.91 of       governments in the aggregate, or to the       Significant Deterioration (PSD) Baseline
the State's program for receiving           private sector. This Federal action           area, pursuant to section 107 of the
delegation of section 112 standards that    approves pre-existing requirements            Clean Air Act (Act). EPA is designating
are unchanged from Federal standards        under State or local law, and imposes         the Kennecott/Puron PSD Baseline area
as promulgated. This program for            no new Federal requirements.                  as a separate particulate matter
delegations only applies to sources         Accordingly, no additional costs to           attainment area under section 107 of the
covered by the part 70 program.             State, local, or tribal governments, or to    Act. EPA is approving the State's

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ENVIRONMENTAL PROTECTION                    of the Federal Register as of March 16,       NESHAP. These NESHAP are to be
AGENCY                                      1994.                                         established for categories of stationary
                                            ADDRESSES: D ocket. Docket No. A -9 1 -       sources that emit one or more of the 189
40 CFR Parts 60,61, and 63                  09, containing information considered         HAP listed in or pursuant to section
                                            by the EPA in developing the                  112(b). Each standard established for a
[FR L-4846-7]                                                                             source category will be codified in a
                                            promulgated General Provisions, is
RIN 2060-AC98                               available for public inspection and           subpart (or multiple subparts) of part 63.
                                            copying between 8 a.m. and 4 p.m;,            In order to eliminate the repetition of
National Emission Standards for             Monday through Friday, including all          general information and requirements
Hazardous Air Pollutants for Source         non-Goverament holidays, at the EPA’s         within these subparts, General
Categories: General Provisions              Air and Radiation Docket and                  Provisions that are applicable to all­
                                            Information Center, room M1500, U.S.          sources regulated by subsequent
AGENCY: Environmental Protection
                                            Environmental Protection Agency, 401          standards in part 63 have been
Agency (EPA).                                                                             developed. The General Provisions have
                                            M Street, SW., Washington, DC 20460;
ACTION: Final rule.                         telephone (202) 260—7548. A reasonable        the legal force and effect of standards,
SUMMARY: On August 11,1993, the EPA         fee may be charged for copying.               and they may be enforced
proposed General Provisions for                B ackground Inform ation D ocum ent. A     independently of relevant standards, if
national emission standards for             background information document (BID)         appropriate.
                                            for the promulgated General Provisions          The General Provisions codify
hazardous air pollutants (NESHAP) and
                                            may be obtained from the National             procedures and criteria that will be used
other regulatory requirements pursuant                                                    to implement all NESHAP promulgated
to section 112 of the Clean Air Act as      Technical Information Services, 5285
                                            Port Royal Road, Springfield, Virginia        under the Act as amended November
amended in 1990 (the Act). This action                                                    15,1990. The provisions include
announces the EPA’s final decisions on      22161; telephone (703) 487-4650. Please
                                            refer to “General Provisions for 40 CFR       administrative procedures related to
the General Provisions.                                                                   applicability determinations (including
   The General Provisions, located in       Part 63, Background Information for
                                            Promulgated Regulation” (EPA-450/3—           new versus existing and area versus
subpart A of part 63, codify general                                                      major sources), compliance extensions,
procedures and criteria to implement        91-019b). The BID contains: (1) a
                                            summary of the public comments made           and requests to use alternative means of
emission standards for stationary                                                         compliance. In addition, general
sources that emit (or have the potential    on the proposed General Provisions and
                                            responses to the comments and (2) a           requirements related to compliance-
to emit) one or more of the 189                                                           related activities outline the
substances listed as hazardous air          summary of the changes made to the
                                            General Provisions as a result of the         responsibilities of owners and operators
pollutants (HAP) in or pursuant to                                                        to comply with relevant emission
section 112(b) of the Act. Standards for    Agency’s responses to comments that
                                            are not addressed in this Federal             standards and other requirements. The
individual source categories are being                                                    compliance-related provisions include
developed separately, and they will be      Register notice.
                                                                                          requirements for compliance dates,
codified in other subparts of part 63.      FOR FURTHER INFORMATION CONTACT: Ms.
                                                                                          operation and maintenance
When sources become subject to              Shirley Tabler, Standards Development
                                                                                          requirements, methods for determining
standards established for individual        Branch, Emission Standards Division
                                                                                          compliance with standards, procedures
source categories in other subparts of      (MD-13), U.S. Environmental Protection
                                                                                          for performance testing and monitoring,
part 63, these sources also must comply     Agency, Research Triangle Park, North         and reporting and recordkeeping
with the requirements of the General        Carolina 27711; telephone (919) 541—          requirements. Finally, the EPA is
Provisions, except when specific            5256.                                         promulgating amendments to the
General Provisions are overridden by        SUPPLEMENTARY INFORMATION: The                General Provisions for parts 60 and 61
the standards.                              information presented in this preamble        to address new statutory requirements
   This action also amends subpart A of     is organized as follows:                      and, where appropriate, to make
parts 60 and 61 to bring them up to date    I. Background                                 portions of these existing regulations
with the amended Act and, where             II. Summary of Major Changes Since Proposal consistent with the part 63 General
appropriate, to make them consistent        III. Public Participation                     Provisions.
with requirements in subpart A of part      IV. Significant Comments and Changes to the      Owners or operators who are subject
63.                                               Proposed General Provisions             to a subpart promulgated for a specific
                                               A. Applicability Determinations
DATES: E ffective Date. March 16,1994.                                                    source category under sections 112(d),
                                               B. Potential to Emit
   Ju d icial Review. Under section            C. Relationship of General Provisions to   112(f), or 112(h) of the Act are also
307(b)(1) of the Act, judicial review of          Other Clean Air Act Requirements        subject to the requirements of the
NESHAP is available only by filing a           D. Monitoring and Performance Testing      General Provisions. The General
petition for review in the U. S. Court of         Requirements                            Provisions also will be incorporated, as
Appeals for the District of Columbia           E. Construction and Reconstruction         appropriate, into requirements
Circuit within 60 days of today’s              F. Operation and Maintenance               established under other section 112
publication of this final rule. Under             Requirements: Startup, Shutdown, and    authorities (e g., the early reduction
                                                  Malfunction Plans
section 307(b)(2) of the Act, the              G. Recordkeeping and Reporting
                                                                                          program and case-by-case control
requirements that are the subject of              Requirements                            technology determinations).
today’s notice may not be challenged        V. Administrative Requirements                Nevertheless, in the development of a
later in civil or criminal proceedings                                                    part 63 emission standard applicable to
brought by the EPA to enforce these         I. Background                                 a specific source category, the EPA may
requirements.                                   Section 301 of title III of the Clean Air determine that it is appropriate that the
   Incorporation by R eferen ce: The        Act Amendments of 1990, Public Law            subpart contain provisions that override
incorporation by reference of certain       101-549, enacted on November 15,              one or more requirements of the General
publications in these General Provisions    1990, substantially amended section 112 Provisions. When this occurs, the EPA
is approved by the Director of the Office   of the Act regarding promulgation of          will describe in the subpart exactly




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compliance requirements for major           enforcement under section 304 of the           C. R elationship o f G eneral Provisions to
sources.                                    Act.                                           O ther d e a n A ir A ct Requirem ents.
  The Agency believes that these               Thus, in the final General Provisions       1. Relationship to Individual NESHAP.
comments are similar in all relevant        rulemaking, the Agency is retaining the
respects to arguments the Agency                                                              The promulgated General Provisions
                                            existing Federal enforceability
already has considered and responded                                                       to part 63 are applicable to all source
                                            requirement in the definition of
to in a previous rulemaking that dealt                                                     categories that will be regulated by part
                                            potential to emit for the purposes of
with the Federal enforceability of                                                         63 NESHAP. Emissions of HAP from all
                                            implementing section 112 of the Act as         listed source categories eventually will
emissions controls and limitations at a     amended in 1990.
source. For a thorough discussion on                                                       be regulated by NESHAP pursuant to
this topic, see “Requirements for the          In the June 2 8,1 9 8 9 Federal Register    section 112 of the Clean Air Act
Preparation, Adoption, and Submittal of     notice, the EPA established that, to be        Amendments of 1990. Hie General
Implementation Plans; Air Quality, New      federally enforceable, emission                Provisions provide basic, common
Source Review; Final Rules”’ that           limitations established for a source must      requirements for all sources subject to
appeared In the Federal Register on         be practicably enforceable. To be              applicable standards, and they are
June 28, 1989 (54 FR 27274). (A copy of     practicably enforceable, the limitations       intended to avoid unnecessary
this notice has been included in the        or conditions must ensure adequate             duplication o f information in all
docket for this rulemaking.) After          testing, monitoring, recordkeeping, and        subsequent subparts. All parts of the
careful consideration dining that           reporting to demonstrate compliance            General Provisions apply to an affected
rulemaking* the EPA decided to»retain       with the limitations and conditions.           source regulated by an applicable
the requirement for Federal                 Restrictions on operation, production,         standard, unless otherwise specified by
enforceability. At this time, the Agency    or emissions must reflect the shortest         the particular standard.
sees no reason to rescind its decisions     practicable time period; (generally one           The EPA recognizes that in the
described in the June 28,1989 Federal       month). “Blanket” emission limitations         development of a standard applicable to
Register notice. On the contrary, the       such as calendar year limits (e.g., tons       a specific source category, the Agency
Agency here is affirming the relevance      per year) are not considered practicably       may determine that certain General
of the Federal enforceability               enforceable. In contrast, hourly, daily,       Provisions of subpart A may not be
requirements set forth in the June 28,      weekly, or monthly rolling averages            appropriate. Consequently, as
1989 notice in the context of               generally are considered acceptable.           mentioned earlier, subpart A allows
determinations of major source status                                                      individual subparts to supersede some
                                               Many of the comments requesting that
under the new Federal air toxics                                                           of the requirements of subpart A.
                                            the EPA credit controls that are not
program.                                                                                   Should there be a conflict between the
                                            federally enforceable in the potential to
   In the context of implementing the air                                                  requirements in the General Provisions
                                            emit determination were based on a
toxics program under amended section                                                       and specific requirements of another
                                            concern over the limited mechanisms            subpart in part 63, whether or not the
112, the purposes o f the Federal           available by which emission controls
enforceability requirements are as                                                         subpart explicitly overrides the General
                                            can qualify as federally enforceable. For      Provisions, the requirements of the
follows: (1) To make certain that limits    example, although the EPA will
on a source’s capacity are, in fact, part                                                  other subpart will prevail.
                                            consider terms mid conditions in a
of its physical and operational desigjr,                                                      The Agency received many comments
                                            permit issued under title V of die Act to
and that any claimed limitations will be                                                   regarding the proposed relationship
                                            be federally enforceable, approved State
observed^ (2) to ensure that an entity                                                     between the General Provisions and part
                                            title V permit programs are not yet in
with strong enforcement capability {i.e.,                                                   63 standards for specific source
                                            place. This effectively limits the             categories» A substantial number of
the Federal government} has legal and       mechanisms available to sources subject
practical means to make sure that such                                                     commenters expressed the opinion that
                                            to early MACT standards. Comments              the EPA should reverse the presumptive
commitments are actually carried out;,      were also received requesting further
and (3) to support the goal of the Act                                                     relationship that the General Provisions
                                            clarification on how the Agency’s               apply unless specifically overridden in
that the EPA should be able to enforce      potential to emit policy would be
all relevant features of the air toxics                                                     a source category-specific standard.
                                            implemented, and on how this policy            These commenters argued that the
program as developed pursuant to            could be implemented with the least
section 112. The Agency continues to                                                        General Provisions should not be
                                            burden on both States and affected              applicable until specifically
believe that, if sources may avoid the      sources.
requirements of a Federal air pollution                                                     incorporated by an applicable standard.
control program by relying on State or         As noted earlier in this preamble, the       Thus, instead of automatic applicability
local limitations, it is essential to the   EPA is preparing a separate notice of           to any regulated source, the General
integrity of the National air toxics        proposed ralemaking to address                  Provisions would have no regulatory
program that such limitations be            potential to emit Issues. This notice will      force until specifically incorporated by
actually and effectively implemented.       propose for public comment a thorough           individual subparts. Specific reasons
Thus, Federal enforceability is both        discussion on the Agency’s policy with          cited by commenters for advocating this
necessary and appropriate to ensure that    regard to implementing potential to emit        approach focused on minimizing the
such limitations and reductions are         in the air toxics program. Among other          potential for conflict between the
actually incorporated into a source’s       actions^ this rulemaking would amend            General Provisions and individual
design and followed in practice.            the General Provisions to provide an            subparts and reducing confusion on the
Further, Federal enforceability is          interim mechanism for controls to               part of owners or operators who must
needed to back up State and local           qualify as federally enforceable for HAP        establish which provisions are
enforcement efforts mid to provide          until permanent mechanisms are in               applicable. Some commenters also
incentive to source operators to ensure     place. The Agency will consider                 stated that only generic requirements
adequate compliance. Federal                comments on this proposal and take              should be included in the General
enforceability also enables citizen         final action on an expedited schedule.          Provisions, and more specific




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 requirements should be left to            a situation where there are conflicting    EPA has not yet established an
 individual NESHAP.                        provisions between the individual          applicable emission limitation under
    The Agency believes that the           subpart and subpart A, and the             section 112. For example, under section
 alternative approach suggested by these   individual subpart does not specifically   112(g)(2), after the effective date of a
 commenters is not appropriate.            supersede the General Provisions           title V permit program in any State, no
 Consequently, the proposed approach       requirement. Proposed §63.1(a)(13)         person may modify a major source of
 has been retained in the final rule. The  stated that individual subparts will       HAP in the State, unless the
 Agency’s concern is that minimum          specify which General Provisions are       Administrator (or the State) determines
 regulatory requirements be established    superseded. Certain commenters believe     that the MACT emission limitation
 for the control of HAP emissions from     that provisions in individual subparts     under section 112 for existing sources
 source categories. The General            should prevail, even if they do not        will be met. This determination must be
 Provisions as promulgated ensure an       explicitly state that they supersede       made on a case-by-case basis where an
 appropriate baseline level of             General Provisions.                        applicable emission limitation has not
 requirements for all sources, and they      The EPA agrees with these                been established by the EPA. A similar
 provide guidance at an early stage to     commenters. It is the Agency’s intent      determination involving new source
 sources regarding the types of            that when there are conflicting            MACT must be made before a major
 requirements that will ensue upon         requirements in the General Provisions     source is constructed or reconstructed.
 promulgation of an applicable standard. and a source category-specific standard,        Several commenters stated that it was
 The EPA believes that the provisions of   the requirements of die standard will      unclear if the General Provisions are
 subpart A are the minimum generic         supersede the General Provisions. If a     intended to be minimum requirements
 requirements necessary for the            specific standard does not address a       that would apply to sources subject to
 implementation of NESHAP. The EPA’s requirement within the General                   case-by-case MACT standards
 experience with existing General         Provisions, then the General Provisions     established under sections 112 (g) and
Provisions under parts 60 and 61          must be followed by the owner or            (i).
 confirms that such provisions eliminate operator. The Agency intends to review         The EPA is still considering the most
repetition within individual standards.   thoroughly the appropriateness of           appropriate way to link the General
They also improve consistency and         applying the General Provisions when        Provisions to the case-by-case MACT
understanding of the basic requirements developing each source category-              standards established under sections
for affected sources among the regulated specific standard and to indicate clearly    112 (g) and (j). While the EPA believes
community and compliance personnel.       in the standard any requirements of the     that some requirements of the General
   Despite the preceding discussion, the  General Provisions that are overridden.     Provisions should apply to any MACT
EPA does recognize the potentially        However, the Agency appreciates the         standard established under section 112
confusing task faced by owners and        concerns of the commenters that a           (including case-by-case MACT
operators who must determine which        conflicting requirement may be              standards), the Agency also recognizes
provisions of the General Provisions      overlooked and not explicitly identified    that there may be situations where
apply to them, which are explicitly       in the standard. Therefore, to avoid        blanket application of the General
superseded by an applicable subpart,      confusion should a conflicting              Provisions to a particular source or
and which are superseded because they requirement not be explicitly identified        source category may not be appropriate.
conflict with a requirement in an         in the standard, the EPA has deleted the    As discussed elsewhere in this preamble
individual standard. Many commenters      statement in §63.1(a)(13) that              and as stated in the applicability section
are concerned about the potential for     individual subparts always will specify     of the final rule, an emission standard
confusion regarding their compliance      which provisions of subpart A are           established for a particular source
responsibilities. By establishing a       superseded.                                 category can override some provisions
mechanism whereby all the provisions                                                  of the General Provisions, as
of subpart A are applicable to an         2. Relationship to Section 112(g),
                                                                                      appropriate. The EPA is reviewing
affected source unless otherwise          Section 112(j), and Section 112(i)(5) of
                                                                                      whether it is appropriate to provide
specified, the EPA believes some source the Act                                       similar authority to States with
responsibilities are directly clarified.     Several comments were received on        approved title V permit programs to
   Furthermore, as the Agency continues the relationship of the General               override the General Provisions in case*
to develop emission standards for         Provisions for part 63 to requirements      by-case MACT standards established
specific source categories, the EPA       under sections 112(g) and 112(j) of the     under sections 112(g) and 112(j) and
intends to indicate clearly in these      Act. Regulations to implement section       how such authority should be
subsequent rulemakings which              112(g) and section 112(j) are being         implemented. In general, the EPA
requirements of subpart A sources in the developed by the EPA in separate             believes that the General Provisions
category are subject to and which         rulemakings. Section 112(g) addresses       provide an appropriate framework for
requirements are superseded by the        the modification, construction, and         many aspects of demonstrating
individual subpart The public will have reconstruction of major sources after the     compliance with case-by-case MACT
the opportunity to review and comment effective date of title V permit programs       determinations. The issue of the
on Agency decisions on which              and primarily before source category-       relationship of the General Provisions to
requirements of the General Provisions    specific standards are promulgated.         section 112(g) and section 112(j) will be
are overridden in a source category-      Section 112(j) addresses equivalent         addressed in the rulemakings
specific standard when that standard is   emission limitations to be established      implementing these subsections or in
proposed in the Federal Register.         by the States through title V permits if    future EPA guidance material.
   Other issues were raised by            the EPA fails to promulgate a standard        One commenter wanted the EPA to
commenters pertaining to general          for a category of sources on the schedule   clarify that the General Provisions are
features of the relationship between the  established under section 112(e).           superseded by forthcoming subpart B
General Provisions and individual            Under both of these sections, States     regulations to implement section 112(g).
MACT standards. Several commenters        may be required to make case-by-case          The EPA disagrees with this
expressed concern with the potential for MACT determinations for sources if the       commenter. From a general perspective,




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                            Compliance Extensions Summary

What is a compliance extension?

The Part 63 General Provisions allow a source additional time to come into compliance with a
relevant standard, under certain circumstances and with certain requirements.

If the owner/operator of a source requests a compliance extension, and the EPA Administrator
(or, in most cases, the State with an approved permit program) approves the request, a
compliance extension will be issued to postpone the date by which the source must comply with
a relevant standard (or specific part(s) of the relevant standard).

Generally, until the compliance extension has been granted, the owner/operator must comply
with all applicable requirements of the relevant standard.

What is a relevant standard?

All of the following are "relevant standards" with respect to the Part 63 General Provisions. If a
source is subject to any of these requirements, then the source is also subject to the Part 63
General Provisions:

       •       112(d) MACT Standard; 112(f) Residual Risk;
       •       112(g) Major Source Modification MACT Determination;
       •       112(h) NESHAP Work Practice Standard; or
       •       112(j) Equivalent Emission Limitation by Permit MACT Determination.

Where do the General Provisions address compliance extensions?

The procedures for compliance extensions appear in section 63.6(i).

Are progress reports required during the extension period?

When granting an extension of compliance, the Administrator (or the State with an approved
permit program) may or may not require that the owner/operator submit progress reports during
the period of extension. If progress reports are required, the contents of the progress reports and
the dates by which they must be submitted will be specified in the written extension. The purpose
of the progress report is to indicate whether steps toward compliance outlined in the compliance
schedule have been reached. (The compliance schedule is referred to in §63.6(i)(6)(i)(B) and is
submitted as part of the request for compliance extension.) Progress reports are addressed under
§63.6(i)(11).


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Through what mechanisms may a compliance extension be granted?

Compliance extensions may be granted in the following four cases:

       Case 1: Early Reductions Program.

              If a source achieves reductions in accordance with the voluntary Early Reductions
              Program (pursuant to section 112(i)(5) of the Clean Air Act), the source may be
              granted an extension of compliance with specific requirements, as specified in
              subpart D. [§63.6(i)(2)(i)]

       Case 2: BACT/LAER.

              If a source has installed BACT or has installed technology required to meet LAER
              prior to promulgation of the relevant standard, the source may be granted an
              extension of compliance with the standard for 5 years after the installation date.
              [§63.6(i)(2)(ii)]

       Case 3: Section 112(d) Standard.

              Applies to a source subject to a section 112(d) standard [§63.6(i)(4)(i)(A)]:

              C      If a source needs additional time in order to install controls before it can
                     comply with a section 112(d) standard, then the source may be granted an
                     extension up to 1 year. Conditions of the extension must be incorporated
                     into the source's title V permit.
              C      If the source is a mining waste operation and it needs additional time in
                     order to install controls before it can comply with a section 112(d)
                     standard, then the source may be first granted an extension up to 1 year. If
                     that 1-year extension is insufficient to dry and cover mining waste, then an
                     additional extension of up to 3 years may be added. Conditions of the
                     extension must be incorporated into source's title V permit.

       Case 4: Section 112(f) Standard.

              If a source needs additional time in order to install controls before it can comply
              with a section 112(f) standard, then the source may be granted an extension up to
              2 years after the standard's effective date. The source must take steps during the
              period of extension to assure that the health of persons will be protected from
              imminent endangerment. [§63.6(i)(4)(ii)]



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When must a request for compliance extension be submitted?

Generally, the source must submit a request for extension in writing not later than 120 days
before the relevant standard's compliance date. [§63.6(i)(4)(i)(B)] There are four exceptions to
the 120-day limit:

       Exception 1:

               If the standard specifies an alternative date for submittal of requests, the source
               must submit its request by that alternative date. [§63.6(i)(4)(i)(B)]

       Exception 2:

               If the need for the compliance extension arises within 120 days before the
               compliance date, or if the need for the compliance extension arises between the
               alternative submittal date specified by the standard and the otherwise applicable
               compliance date, and the need arose due to circumstances beyond reasonable
               control of the owner/operator, then the source may submit its request later.
               [§63.6(i)(4)(i)(C)]

       Exception 3:

               If the standard is pursuant to section 112(f), the source must submit request for
               compliance extension not later than 90 days after the effective date of the standard.
               [§63.6(i)(4)(ii)]

       Exception 4:

               If the compliance extension is requested on the basis of installation of BACT or
               technology required to meet LAER, the source must submit its request not later
               than 120 days after the promulgation date of the standard. [§63.6(i)(5)]

If either Exception 1 or 2 above applies, the compliance extension request will stay the effect of
the rule until the request is either approved or denied; in other words, the source does not have to
comply with a standard while waiting for approval of its request for an extension of compliance
with that standard.




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What information must a request for compliance extension include?

For a source seeking either a 1-year extension of compliance with a standard pursuant to
section 112(d) or a 2-year extension of compliance with a standard pursuant to section 112(f), the
request for compliance extension must include the following information [§63.6(i)(6)(i)]:

       C       A description of the controls to be installed
       C       A compliance schedule, including:
               -      Starting date for onsite construction, installation of emission control
                      equipment, or process change.
               -      Date by which final compliance is to be achieved.

For a source seeking a 5-year extension of compliance due to installation of BACT or LAER
technology (as in Case 2 above), the request for compliance extension must include information
needed to demonstrate that the installation controls the same pollutant(s) that would be controlled
at that source by the relevant standard. [§63.6(i)(6)(ii)]

What is the step-by-step procedure for obtaining a compliance extension?

A request for a compliance extension in connection with Early Reductions (Case 1 above) is
handled through subpart D procedures. Other requests (Cases 2, 3, and 4 above) are handled
pursuant to paragraphs 63.6(i)(4) through (7).

How the request for extension of compliance will be handled depends on the mechanism through
which the owner/operator is requesting an extension. A flow diagram, "Procedure for
Compliance Extension Request" depicts how the request for extension of compliance will be
handled. This flow diagram shows two possible paths, A and B, which are also described below.

       Path A: Section 112(d) Standard or BACT/LAER.

               Path A [corresponding to §63.6(i)(12)] depicts how the request is handled if it is
               for either:

                      C       An owner/operator who is unable to comply with a section 112(d)
                              standard for the reason that additional time is necessary for
                              installation of controls (as in Case 3), or
                      C       An owner/operator who seeks an extension for the reason that the
                              source has installed BACT or LAER technology (as in Case 2).

               Within 30 calendar days after receiving the compliance extension request, the
               Administrator (or the State with an approved permit program) will notify the

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       owner/operator in writing as to the status of the application (that is, whether it is
       complete--containing sufficient information with which to make a determination).

       If the application is not complete, the notification of status will specify the
       information needed. The applicant has 30 calendar days after being notified of the
       incomplete application in which to present additional information or arguments
       toward further action on the application. After such additional information or
       arguments have been submitted by the owner/operator, the Administrator (or the
       State with an approved permit program), just as for the original request, will notify
       the owner/operator in writing within 30 calendar days as to the status of the
       application.

       When the owner/operator has been notified that the application is complete, the
       clock starts for the 30-day approval or denial period. This means the
       Administrator (or the State with an approved permit program) will notify the
       owner/operator either of approval or of intent to deny approval of the compliance
       request within 30 calendar days after the owner/operator has been notified that the
       application is complete.

       In the case where the Administrator (or the State with an approved permit
       program) notifies the owner/operator of intent to deny the compliance extension
       request, the notification will specify the basis for the intended denial, and it will
       allow the owner/operator 15 days in which to present in writing any additional
       information or arguments before a final determination is made.

       A final determination to deny the request for a compliance extension will be in
       writing and will specify the basis for the denial. If additional information or
       arguments submitted by the owner/operator (following receipt of a notice of intent
       to deny) do not change the decision to deny, then the final determination of denial
       will be issued within 30 calendar days after the additional information or
       arguments were presented. If no additional information or arguments were
       submitted by the owner/operator, then the final determination of denial will be
       issued within 30 calendar days after the due date for presentation of additional
       information or arguments.

Path B: Section 112(f) Standard.

       Path B depicts how the request is handled if it is for an owner/operator who is
       unable to comply with a section 112(f) standard for the reason that additional time
       is necessary for installation of controls (as in Case 4). [§63.6(i)(13)]




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Within 15 calendar days after receiving the compliance extension request, the
Administrator (or the State with an approved permit program) will notify the
owner/operator in writing as to the status of the application (that is, whether it is
complete--containing sufficient information with which to make a determination).

If the application is not complete, the notification of status will specify the
information needed. The applicant has 15 calendar days after being notified of the
incomplete application in which to present additional information or arguments
toward further action on the application. After such additional information or
arguments have been submitted by the owner/operator, the Administrator (or the
State with an approved permit program), just as for the original request, will notify
the owner/operator in writing within 15 calendar days as to the status of the
application.

When the owner/operator has been notified that the application is complete, the
clock starts for the 30-day approval or denial period. This means the
Administrator (or the State with an approved permit program) will notify the
owner/operator either of approval or of intent to deny approval of the compliance
request within 30 calendar days after the owner/operator has been notified that the
application is complete.

In the case where the Administrator (or the State with an approved permit
program) notifies the owner/operator of intent to deny the compliance extension
request, the notification will specify the basis for the intended denial, and it will
allow the owner/operator 15 days in which to present in writing any additional
information or arguments before a final determination is made.

A final determination to deny the request for a compliance extension will be in
writing and will specify the basis for the denial. If additional information or
arguments submitted by the owner/operator (following receipt of a notice of intent
to deny) do not change the decision to deny, then the final determination of denial
will be issued within 30 calendar days after the additional information or
arguments were presented. If no additional information or arguments were
submitted by the owner/operator, then the final determination of denial will be
issued within 30 calendar days after the due date for presentation of additional
information or arguments.




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                            July 10, 1998



MEMORANDUM

SUBJECT:   Delegation of 40 CFR Part 63 General Provisions Authorities to State and Local
           Air Pollution Control Agencies

FROM:      John S. Seitz, Director /s/ John Seitz
           Office of Air Quality Planning and Standards (MD-10)

TO:        See Addressees


     This memorandum is to provide guidance to the EPA Regional Offices on delegation of
discretionary authorities relating to air toxics in 40 CFR part 63, subpart A (the General
Provisions) to State and Local Air Pollution Control (S/L) agencies through 40 CFR part 63,
subpart E (Approval of State Programs). Under the General Provisions, the EPA Administrator
has the authority to approve certain changes to, or make decisions under, specific General
Provisions requirements. Questions have been raised by the Regions about whether S/L agencies
may make the same discretionary decisions when they are delegated the General Provisions.

     In explaining the straight delegation process for delegating air toxics provisions to S/L
agencies under 40 CFR part 63, subpart E, we did not clarify what discretionary authorities are
delegated to S/L agencies when they seek straight delegation of the General Provisions. Although
this is briefly discussed in the proposed General Provisions' preamble (Federal Register, August
11, 1993, page 42775-42777), the forthcoming proposed subpart E revisions will fill that gap by
clarifying which discretionary authorities may be delegated to S/L agencies through straight
delegation of the General Provisions. At your discretion, the Regional Offices must then specify
in delegation agreements or documents which of the subpart A authorities are being delegated to
each State. We recommend that you begin implementing these changes as soon as possible.
Therefore, this memorandum is intended to explain the changes and provide guidance for you to
begin implementing the changes now. Neither this memorandum nor the subpart E rulemaking
changes any source-specific decisions that have already been made under the General Provisions,
but the guidance in this memorandum should be used as guidance for all future decisions
regarding the General Provisions' authorities.

     To implement these changes, you will need to clarify with your S/L agencies which
General Provisions' authorities have and have not been delegated. In cases where you may have
delegated authorities in the past that should no longer be delegated, you will need to inform
your
S/L agencies that delegation of these authorities will be revoked.

     At this time, we are also providing clarification of section 63.6(i)(1), "Extension of
Compliance with Emission Standards," General Provisions authority. This section states "(u)ntil
an extension of compliance has been granted by the Administrator (or a State with an approved
permit program) under this paragraph, the owner or operator of an affected source subject to the
requirements of this section shall comply with all applicable requirements of this part." It is
our
interpretation that this authority does not require delegation through subpart E and, instead, is
automatically granted to States as part of their part 70 operating permits program approval
regardless of whether the operating permits program approval is interim or final. Additionally,
it
is our interpretation that the State would not need to have been delegated a particular source
category or have issued a part 70 operating permit for a particular source to grant that source a
compliance extension.

     We are also providing clarification of section 63.5(e) and (f), "Approval and Disapproval
of Construction and Reconstruction," General Provisions authority. The Clean Air Act as




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amended (1990 Amendments), sections 112(i)(1) and (3) state that the "Administrator (or a State
with a permit program approved under title V)" can determine whether a source will comply with
the standard if constructed properly. It is our interpretation that this authority does not
require
delegation through subpart E and, instead, is automatically granted to States as part of their
part 70 operating permits program approval.

     Link to section 112(l): This guidance only addresses the case where the General
Provisions are delegated to an S/L agency through straight delegation under section 112(l)
provisions which were promulgated in 40 CFR part 63, subpart E. Therefore, the guidance
addresses S/L agencies' authority to make source-specific decisions only, not source-category
wide decisions. Any S/L agency wishing to make discretionary decisions on a source-category
wide basis under the General Provisions or any other part 63 requirement would need to use the
section 112(l) delegation process under 40 CFR part 63, subsections 63.92, 63.93, or 63.94 to
substitute its own rule or program. When subpart E revisions are promulgated, section 63.97 will
be added to the above list as a delegation option.

     Consistency with Previous Policies: This guidance is intended to be consistent with
previous policies developed for new source performance standards (NSPS) under 40 CFR
part 60, national emission standards for hazardous air pollutants (NESHAP) under 40 CFR
part 61, and for changes to State implementation plans (SIP's). Past guidance issued for NSPS
changes has permitted delegation to S/L agencies of all the Administrator's authorities except
those that require Federal rulemaking, or those for which Federal oversight is critical to
ensuring
national consistency in the application of standards. Additionally, such delegations were not
intended to give S/L agencies the authority to issue interpretations of Federal law that are
subsequently binding on the Federal Government. Current SIP policy, as reflected in White Paper
Number 2 for Improved Implementation of the Part 70 Operating Permits Program, permits S/L
agencies to alter SIP requirements so long as the alternative requirements are shown to be
equally
stringent and are within a pre-approved protocol (and so long as public review is provided and
EPA approval is obtained). The S/L agencies can show equivalent stringency by providing
substantive criteria in SIPs governing the implementation of alternative requirements.

     We recognize that Regions have the prerogative to approve delegation of specific
authorities to some S/L agencies and not to others. Therefore, we encourage Regions to provide
as clearly as possible an explanation of the criteria they have used to approve or disapprove
delegation of a specific authority, and to apply those criteria consistently across their S/L
agencies. Such criteria could include a determination of whether the S/L agency has sufficient
expertise to make such decisions, or a determination that the working relationship between the
Region and the S/L agencies is such that individual decisions could or could not be determined
through consultation on an "as needed" basis. For example, you may want to work more closely
with your S/L agencies on their first decision-making for some authorities, thus gaining
assurance
that the S/L agencies can and will make appropriate decisions. We also recommend that Regions
obtain copies of all S/L agencies' alternative determinations for their records; especially where
new issues are addressed.

Delegation of Specific Authorities

     The part 63 General Provisions lists 15 specific types of authorities for which the
Administrator may make discretionary decisions on a source-specific basis. When the General
Provisions are delegated to an S/L agency, such discretion may be appropriately delegated,
provided the stringency of the underlying standard would not be compromised.

     We recognize that, in order for Regional Offices to have the authority to delegate some of
the authorities outlined in this memorandum (such as intermediate changes to test methods),
delegation 7-121 must first be revised to delegate these authorities to the Regions. We intend
to
make this revision, i.e., to delegation 7-121, as soon as possible. Additionally, the Emission
 Measurement Center of the Emissions Monitoring and Analysis Division must receive copies o
any approved intermediate changes to test methods or monitoring. Please note that intermediate




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changes to test methods must be demonstrated as equivalent through the procedures set out in
EPA method 301 (see Attachment 1). This information will be used to compile a database of
decisions that will be accessible to the S/L agencies and Regions for reference in making future
decisions. Regions are asked to ensure that initial intermediate changes to testing and
monitoring
made in each Region are evaluated. All intermediate test changes and State-issued intermediate
changes to monitoring should be provided via mail or facsimile to:

                 Chief, Source Characterization Group A
                 U.S. EPA (MD-19)
                 Research Triangle Park, NC 27711
                 Facsimile Telephone Number: (919) 541-1039

Changes in monitoring issued by Regional Offices should continue to be posted on the
Applicability Determination Index (ADI). For electronic file transfer procedures for ADI
updates,
please contact Belinda Breidenbach in the Office of Compliance at 202-564-7022.

     We have divided the General Provisions discretionary authorities into two categories,
based upon the relative significance of each discretionary type of decision: they are those
authorities which can be delegated and those authorities which cannot be delegated. These
categories are delineated below:

Category I.    General Provisions That May Be Delegated

     In general, we believe that, where possible, authority to make decisions which are not
likely to be nationally significant or to alter the stringency of the underlying standard should
be
delegated to S/L agencies. While we understand the need for Federal oversight of S/L agency
decision-making which will ensure that the delegated authorities are being adequately
implemented and enforced, we do not want to impede S/L agencies in running the part 70
operating permit and Federal air toxics programs with oversight that is cumbersome. We
recommend that Regions rely on their existing mechanisms and resources for oversight. During
oversight, if the Region determines that the S/L agency had made decisions that decreased the
stringency of the standard, then corrective actions should be taken and the source(s) should be
notified. Withdrawal of the program should be initiated if the corrective actions taken are
insufficient.

     The authorities listed in Table 1 may be delegated to S/L agencies, so long as the S/L
agencies have the capability to carry out the Administrator's responsibilities and any decisions
made do not decrease the stringency of the standards. Since you are ultimately responsible for
all General Provisions authorities' decision-making made in your Region, I am comfortable with
trusting your judgement about which of the Administrator's discretionary authorities listed here
should be delegated to the S/L agencies in your Region. When the Region delegates any category
I authority to the S/L agency, it could be accomplished either when the General Provisions are
delegated or at the time that each relevant maximum achievable control technology (MACT)
standard is delegated, with the exception of approval of construction and reconstruction (40 CFR
part 63, section 63.5), which should be delegated when the General Provisions are delegated.

     There are some category I authorities, such as approval of intermediate alternatives to test
methods, for which you should be notified when decisions are made by your S/L agencies. Also,
you may want to monitor the progress of S/L agencies' decision-making, in addition to updating
your files for compliance and enforcement matters. We have indicated these authorities in
Table 1 with an asterisk. We encourage you to document, in delegation agreements or delegation
rulemaking, the request for notification when decisions are made regarding the indicated
category I authorities.

Category II.    General Provisions That May Not Be Delegated

     Authorities listed in this section are those decisions which could result in a change to the
stringency of the underlying standard, which are likely to be nationally significant, or which
may




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require a rulemaking and subsequent Federal Register notice. Therefore, these authorities must
be retained by the EPA Regional Office or EPA Headquarters. As a result, the following
authorities in Table 2 may not be delegated to S/L agencies (all references are to sections of 40
CFR part 63, subpart A):

     If you have any questions, or would like to discuss this matter further, please contact me
at (919) 541-5608, or Tom Driscoll of my staff at (919) 541-5135.
 Table 1. General Provisions' Authorities that may be Delegate


Section
Authorities


Section 63.1
Applicability Determinations


Section 63.6(e)
Operation and Maintenance Requirements -
Responsibility for Determining Compliance


Section 63.6(f)
Compliance with Non-Opacity Standards -
Responsibility for Determining Compliance


Section 63.6(h)
Compliance with Opacity and Visible
Emissions Standards - Responsibility for
Determining Compliance


Sections 63.7(c)(2)(i) and (d)
Approval of Site-Specific Test Plans


Section 63.7(e)(2)(i)*
Approval of Minor Alternatives to Test
Methods (see Attachment 1)


Sections 63.7(e)(2)(ii) and (f)*
Approval of Intermediate Alternatives to Test
Methods (see Attachment 1)


Section 63.7(e)(2)(iii)
Approval of Shorter Sampling Times and
Volumes When Necessitated by Process
Variables or Other Factors


Sections 63.7(e)(2)(iv) and (h)(2), (3)
 Waiver of Performance Testing


Sections 63.8(c)(1) and (e)(1)
Approval of Site-Specific Performance
Evaluation (monitoring) Test Plans




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Section 63.8(f)*
Approval of Minor Alternatives to Monitoring
(see Attachment 1)


Section 63.8(f)*
Approval of Intermediate Alternatives to
Monitoring (see Attachment 1)


Sections 63.9 and 63.10
Approval of Adjustments to Time Periods for
Submitting Reports

                                           Table 2.   Authorities That May Not Be Delegated


Section
Authority


Section 63.6(g)
Approval of Alternative Non-Opacity
Emission Standards


Section 63.6(h)(9)
Approval of Alternative Opacity Standard


Sections 63.7(e)(2)(ii) and (f)
Approval of Major Alternatives to Test
Methods (see Attachment 1)


Section 63.8(f)
Approval of Major Alternatives to Monitoring
(see Attachment 1)


Section 63.10(f)
Waiver of Recordkeeping -- all

 Addressees
Director, Office of Ecosystem Protection, Region I
Director, Division of Environmental Planning and Protection, Region II
Director, Air Protection Division, Region III
Director, Air, Pesticides and Toxics Management Division, Region IV
Director, Air and Radiation Division, Region V
Director, Multimedia Planning and Permitting Division, Region VI
Director, Air, RCRA and Toxics Division, Region VII
Assistant Regional Administrator, Office of Pollution Prevention,
     State and Tribal Programs, Region VIII
Director, Air and Toxics Division, Region IX
Director, Office of Air Quality, Region X

Attachments

cc:   B.   Buckheit, 2242A
      C.   Garlow, 2111A
      B.   Hunt, MD-14B




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       B.   Jordan, MD-13
       S.   Mitoff, 2223A
       J.   Seitz, MD-10
       L.   Wegman, MD-10

bcc:        K. Blanchard, MD-12
       F. Dimmick, MD-12
       K. Kaufman, MD-12
       J. Szykman, MD-13
       Regional Air Toxics Coordinators

This letter has been concurred with William Lamason, SCGA, Emission Measurement Center,
Charles Garlow, OECA, and verbally from Patrick Chang, OGC.

OAQPS:ITPID:IIG:TDriscoll:cjbaines:x1-5319:MD-12:June 17, 1998:
File: Driscoll/delauth9.mem

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     Intermediate change to monitoring is a modification to federally required monitoring
involving "proven technology" (generally accepted by the scientific community as equivalent or
better) that is applied on a site-specific basis and that may have the potential to decrease the
stringency of the compliance and enforcement measures for the relevant standard. Though site-
specific, an intermediate decrease may set a national precedent for a source category and may
ultimately result in a revision to the federally required monitoring. Examples of intermediate
changes to monitoring include, but are not limited to: (1) use of a continuous emission
monitoring
system (CEMS) in lieu of a parameter monitoring approach; (2) changes to quality control
requirements for parameter monitoring; and (3) use of an electronic data reduction system in lieu
of manual data reduction.

     Intermediate change to a test method is a within-method modification to a federally
enforceable test method involving "proven technology" (generally accepted by the scientific
community as equivalent or better) that is applied on a site-specific basis and that may have the
potential to decrease the stringency of the associated emission limitation or standard.
Intermediate changes are not approvable if they decrease the stringency of the standard. Though
site-specific, an intermediate change may set a national precedent for a source category and may
ultimately result in a revision to the federally enforceable test method. In order to be
approved,
an intermediate change must be validated according to EPA method 301 (part 63, appendix A) to
demonstrate that it provides equal or improved accuracy and precision. Examples of intermediate
changes to a test method include, but are not limited to: (1) modifications to a test method's
sampling procedure including substitution of sampling equipment that has been demonstrated for
a particular sample matrix and the use of a different impinger absorbing solution; (2) changes in
sample recovery procedures and analytical techniques, such as changes to sample holding times
and use of a different analytical finish with proven capability for the analyte of interest; and
(3)
"combining" a federally-required method with another proven method for application to processes
emitting multiple pollutants. As an example, Region IX and the CARB have developed a testing
protocol to determine whether California chromium electroplaters needed to "retest" for the
Chromium Electroplating NESHAP. This testing protocol has been attached (Attachment 2) for
your information should you choose to use it. Again, these examples should only be approved if
they do not decrease the stringency of the monitoring requirement.

     Major change to monitoring is a modification to federally required monitoring that uses
unproven technology or procedures or is an entirely new method (sometimes necessary when the
required monitoring is unsuitable). A major change to a test method may be site-specific or may
apply to one or more source categories and will usually set a national precedent. Examples of
major changes to a test method include, but are not limited to: (1) use of a new monitoring
approach developed to apply to a control technology not contemplated in the applicable
regulation; (2) use of a predictive emission monitoring system (PEMS) in place of a required
 continuous emission monitoring system (CEMS); (3) use of alternative calibration procedures tha




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do not involve calibration gases or test cells; (4) use of an analytical technology that differs
from
that specified by a performance specification; and (5) use of alternative averaging times for
reporting purposes.

     Major change to a test method is a modification to a federally enforceable test method
that uses unproven technology or procedures or is an entirely new method (sometimes necessary
when the required test method is unsuitable). A major change to a test method may be site-
specific or may apply to one or more source categories and will usually set a national precedent.

In order to be approved, a major change must be validated according to EPA method 301
(part 63, appendix A). Examples of major changes to a test method include, but are not limited
to: (1) use of an unproven analytical finish; (2) use of a method developed to fill a test
method
gap; (3) use of a new test method developed to apply to a control technology not contemplated in
the applicable regulation; and (4) "combining" two or more sampling/analytical methods (at least
one unproven) into one for application to processes

     Minor change to monitoring is a modification to federally required monitoring that
(a) does not decrease the stringency of the compliance and enforcement measures for the relevant
standard; (b) has no national significance (e.g., does not affect implementation of the
applicable
regulation for other affected sources, does not set a national precedent, and individually does
not
result in a revision to the monitoring requirements); and (c) is site-specific, made to reflect
or
accommodate the operational characteristics, physical constraints, or safety concerns of an
affected source. Examples of minor changes to monitoring include, but are not limited to:
(1) modifications to a sampling procedure, such as use of an improved sample conditioning
system to reduce maintenance requirements; (2) increased monitoring frequency; and
(3) modification of the environmental shelter to moderate temperature fluctuation and thus
protect the analytical instrumentation.

     Minor change to a test method is a modification to a federally enforceable test method
that (a) does not decrease the stringency of the emission limitation or standard; (b) has no
national
significance (e.g., does not affect implementation of the applicable regulation for other
affected
sources, does not set a national precedent, and individually does not result in a revision to the
test
method); and (c) is site-specific, made to reflect or accommodate the operational
characteristics,
physical constraints, or safety concerns of an affected source. Examples of minor changes to a
test procedure, such as a modified sampling traverse or location to avoid interference from an
obstruction in the stack, increasing the sampling time or volume, use of additional impingers for
a
high moisture situation, accepting particulate emission results for a test run that was conducted
with a lower than specified temperature, substitution of a material in the sampling train that
has
been demonstrated to be more inert for the sample matrix, and changes in recovery and analytical
techniques such as a change in quality control/quality assurance requirements needed to adjust
for
analysis of a certain sample matrix.   NOTE: The authority to approve decreases in sampling times
and volumes when
necessitated by process variables has typically been delegated in conjunction with the
minor changes to test methods, but these types of changes are not included within the scope
of minor changes.
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              DESCRIPTION OF THE TECHNICAL REVIEW
               PROTOCOL FOR PERFORMANCE TESTS OF




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                CALIFORNIA CHROME PLATING SOURCES

Introduction

     In 1988, the CARB adopted a statewide airborne toxics control measure (ATCM) for the
control of hexavalent chrome emissions from chrome platers (both decorative and hard) and
chromic acid anodizers. In general, the California ATCM required facilities to install equipment
or modify their operation to minimize emissions of hexavalent chrome. In addition to installing
equipment and making the necessary process changes, hard chrome platers were required to
demonstrate compliance by performing a District -approved source test.

     Since the State ATCM was adopted, the majority of hard chrome platers in California
have complied with the requirements by installing and source testing their control equipment to
demonstrate compliance with the California standards.

     On January 25, 1995, the EPA promulgated a national regulation to control emissions of
chromium from chrome platers and anodizers. This regulation is known as the NESHAP for hard
and decorative chromium electroplating and chromium anodizing tanks. This regulation also
requires facilities to demonstrate compliance by performing an approved emission source test.

     Further, on January 30, 1997, the EPA promulgated certain revisions to the chrome
NESHAP dealing with the monitoring, recordkeeping and reporting (MRR) requirements for hard
chromium electroplaters and chromic acid anodizers in California. Specifically, EPA extended the
MRR compliance deadline from January 25, 1997 to July 24, 1997. This action was taken to
allow time for CARB to establish and get approved MRR requirements for these sources that
would be at least as stringent as the Federal NESHAP requirements; however, that work remains
unfinished. The Federal NESHAP requires these sources to monitor applicable parameters on and
after the date on which the initial performance test is required to be completed, which is July
24,
1997. It is consistent with the revised NESHAP MRR requirements that all California source
tests of hard chrome platers and chromic acid anodizers conducted prior to July 24, 1997 be
reviewed according to the performance test review criteria contained herein to determine
compliance with the applicable NESHAP emission standard. This recommendation is made
notwithstanding the restrictions identified in 40 CFR 63 section 63.344(b)(2).

     This criteria was developed by a team of chrome plating/regulatory professionals
representing EPA, CARB, Bay Area Air Quality Management District, South Coast Air Quality
Management District (SCAQMD), and Pacific Environmental Services (industry). The criteria
are necessary in reviewing the existing chrome plating emissions source tests in California. It
is
estimated that in California there are approximately 100 hard chrome platers, 150 decorative
chrome platers and 50 chromic acid anodizers, over half of which have performed source tests
(where applicable). Many of these source tests have sufficient information and quality control
to
demonstrate compliance with the Federal NESHAP for chrome plating and anodizing. This
document is to present and discuss the criteria developed for this purpose.

NESHAP Source Testing for Compliance

     The NESHAP standard for chrome plating and anodizing indicates that source testing to
demonstrate compliance with the standard is required unless the facility is a decorative chrome
plater or chromic acid anodizer choosing the alternate emission limitation of 45 dyne/cm bath
surface tension. In accordance with this, 40 CFR part 63 specifies acceptable source test
procedures, methods, materials, etc. Although the requirements outlined in the NESHAP are
specific, there are allowances for the "owner or operator of an affected source conduct[ing]
performance testing at startup to obtain an operating permit in the State in which the affected
source is located, the results of such testing may be used to demonstrate compliance with this
subpart . . . " (40 CFR 63.344). The following discussion presents a step-by-step approach for
determining whether an existing source test in California can be used to demonstrate compliance
with the chrome plating and anodizing NESHAP.

Determining if Existing Source Tests Can Be Used to Demonstrate Compliance




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     The Chrome Plating Source Test Review Criteria Section (see below) provides a step-by-step
process for the review of existing source tests in light of the NESHAP standards. The
following is a discussion of each of the criteria steps from the Chrome Plating Source Test
Review Criteria Section with an explanation of the rationale for the chosen process.

Criteria Step 1. Compliance with the NESHAP Standards Demonstrated? The NESHAP
standards are in terms of milligram of total chrome per dry standard cubic meter (mg/dscm) of
ventilation gas flow. The NESHAP standards are listed in 40 CFR part 63, section 63.342.
Emission standards vary depending on whether the facility performs hard chrome plating,
decorative chrome plating, chromic acid anodizing, or whether the facility is new or existing,
and
how large the facility is (how much chrome plating is performed on an annual basis).

     Most of the existing chrome emission source test reports provide a variety of information
including test date and time, plating bath rectifier amp-hours, sample volume, ventilation gas
velocity, sample flowrate percent isokinetic, duct temperature, flowrate, ventilation gas water
content, total and hexavalent chrome catch, as well as chrome emissions on a process rate (amp-
hrs) and concentration basis.

      - If the resulting average source test emission value is less than or equal to th
applicable
NESHAP standard, the source test acceptability determination can continue.

     - If the existing source test does not demonstrate compliance with the NESHAP, then the
facility operator must decide what course of action to take for a remediation. For example, the
facility operator may need to make some operational or design changes to lower the emission rate
to achieve compliance with the NESHAP standards. A retest will be required. All future source
tests should be conducted according to the requirements and specifications of 40 CFR
part 63.344 Performance test requirements and test methods.

Criteria Step 2. Was the Source Test Conducted Under Close Approximation of Normal
Operating Conditions? Normal operating conditions are defined as normal bath temperatures (+
10 deg F), normal bath composition range (within 5 percent), normal rectifier amperage range,
normal agitation rates, and normal voltage loadings. For the purpose of demonstrating
compliance, normal operating conditions can also include conditions needed to meet specific
source test requirements such as the use of dummy parts to be plated.

  Although there can be a significant variation in the operating conditions from one plating
shop to another, most chrome platers are well aware of their individual normal operating
conditions and operate on a consistent basis with these constraints. Significant variation from
the
normal operating mode is undesirable for quality assurance and controllability purposes.

  Facilities may have increased the source test sampling period in order to capture the
requisite sample mass for analytical detection. Extending the source test period may require the
use of dummy parts rather than the real parts that would normally be plated. An example of this
is a Bay Area plater which plates automobile body part dies. Plating such a part for a longer
than
normal period would result in a plated part with tolerances outside of specification limits. To
avoid ruining an expensive automobile die, a dummy part (a large sheet of steel, sized similar to
the die) is plated for the time period required to meet capture requirements.

  - If the source test was conducted under close approximation of normal operating
conditions, then the evaluator can proceed to the next step in the evaluation process, step 3.

  - If the source test was conducted under conditions deemed abnormal, the facility must
conduct a new source test. All retests should be conducted according to the requirements and
specifications of 40 CFR part 63.344 Performance test requirements and test methods.

Criteria Step 3. Correct Use of Approved Test Method? Source tests to demonstrate
compliance with the requirements of the NESHAP must use the EPA approved source test




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method. According to 40 CFR part 63.344 the following source test methods have been deemed
acceptable to demonstrate compliance with the NESHAP standards: EPA method 306 or 306A
(conducted after December 1991) and CARB method 425. The EPA has granted a verbal
approval for the use of the SCAQMD method 205.1 for total chrome analysis only and will issue
an official letter soon.

  Any use of an approved source test method must be done in strict accordance with the
requirements and specifications of the method itself and performance testing requirements of
section 63.344 of the NESHAP. Such requirements include sample point locations, use of EPA
method 5 source test train, impinger solution compositions, isokinetic ratios, sample handling,
sampling times, sample volume, catch mass requirements, etc. Implicit in the use of an approved
source test method is the correct use of the method itself. Any variation in the source test
procedure will trigger a retest unless the change has been approved beforehand by the EPA and
the local permitting authority.

Criteria Step 4. Number of Runs: Paragraph 63.7(e)(3) of the part 63 General Provisions
specifies at least three sampling runs to make up one source test. If three sampling runs were
performed, the reviewer is directed to proceed on to review criteria step 5 (catch mass
requirement).

  <3 sampling runs: Previous source tests attempted to meet the requirement for at least
three sampling runs. For some previous California source tests, the expected ultra-low
concentrations of chrome in the exhaust required the use of longer than normal source test runs
(normal sampling run length is 120 minutes and normal sampling volume is 1.7 dscm).

     Some operators chose (with local agency approval) to perform longer sample runs to
capture enough sample to produce a chrome emission number and to reduce the potential for
error with minimal chrome capture. In California the longer times ranged from 3 to 8 hours per
sampling run. Due to the added expense, potential problems of multiple long sampling runs, and
the potential operational conflicts due to reduced production from multiple sampling runs, these
facilities proposed performing one or two long duration source tests instead of three or more
shorter runs.

     For tests where less than three sampling runs were conducted, the reviewer is directed to
go to criteria step 6 to determine if the source testing results are far enough below the NESHAP
emission limit to warrant acceptance.

      Regarding future source testing/Retesting: Unless prior approval is obtained from EP
and the local air quality agency, future source tests will require at least three sampling runs
to be
acceptable.

Criteria Step 5. Catch Mass Requirements: Consistent with the discussion in section 2.2.2 of
method 306 in 40 CFR part 63, appendix A, it is recommended that the catch mass requirement
be at least five times the limit of detection for the analytical method chosen. Such catch mass
requirements produce analytical results well within the range of confidence. If the catch mass
requirements are not met, the reviewer is directed to criteria step 6.

Criteria Step 6. Source Test Emission Results Compared With NESHAP Limit: If the
catch mass requirement is not met, the reviewer evaluates the resulting emission rate according
to
criteria step 6. Criteria step 6 requires that the source test results be ó1/5 of the respective
NESHAP standard; if this specification is met, then the existing source test can be accepted for
demonstrating compliance with the NESHAP. A factor of one fifth (20 percent) is consistent with
the catch mass requirements.

  Criteria step 6 directs that if the source test results were greater than 1/5 of the NESHAP
standard, the facility must retest. All retests should be conducted according to the
requirements
and specifications of 40 CFR part 63.344 Performance test requirements and test methods.

  Regarding future source testing/Retesting:    Unless prior approval is given from EPA and




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the local air quality agency, all future source tests will require at least three sampling runs
to be
acceptable. The catch mass requirements identified in 40 CFR part 63, section 63.344 also must
be met unless the source test emission result is <1/5 of the respective NESHAP emission limit or
is below detection levels.

  Other Issues:   Establishing Monitoring Parameter Ranges to Ensure Ongoing Compliance

     Continued compliance with the chrome plating and anodizing NESHAP is assured by
  monitoring of specific operating parameters associated with the control equipment. Normally
  operating parameter values or ranges are established in conducting the performance test. Since
  many California source tests were performed before the final adoption and understanding of the
  NESHAP monitoring requirements, some alternate procedures may be necessary to establish
  appropriate ranges/values for the monitoring parameters.

             The Establishing Monitoring Pararmeters to Ensure Ongoing Compliance Section (see
  below) provides an approach to establishing the monitoring parameter compliance ranges after
the
  performance test is completed. Where applicable, the basic requirements include the following:

   (1)   Source test conducted during normal operating conditions.

   (2)   Flowrate was monitored/recorded at outlet of emission control device.

     Control Device Pressure Drop and Velocity Pressure: Assuming the above criteria items
  (1) and (2) were met and that the current ventilation gas flowrate is within 10 percent of the
  flowrate determined during the source test, the current control device pressure drop and/or
  velocity pressure can be used to establish the appropriate ranges/value for the monitoring
  parameters. Guidance for the development of the operating parameter range is found in
  40 CFR 63 section 63.344.

     Surface Tension Parameter Development: If the surface tension was monitored during the
  performance test, the facility operator should use the higher of either (1) the surface tension
  parameter measured during the source test; or (2) 45 dyne/cm as specified in the NESHAP. If
the
  surface tension was not monitored during the source test, the facility should use 45 dyne/cm as
  the maximum allowable surface tension parameter for monitoring ongoing compliance.

     Foam Thickness Parameter Development: If the foam additive thickness was monitored
  during the performance test, the facility operator should use the lessor of either (1) the foam
  thickness parameter measured during the source test; or (2) the 1 inch foam thickness as
specified
  in the NESHAP. If the foam thickness was not monitored during the source test, then the
facility
  should use 1 inch foam thickness as the minimum allowable thickness parameter for monitoring
  ongoing compliance.
              Chrome Plating Source Test Review Criteria

     The following criteria are to be used for those chrome plater and anodizer performance tests
  conducted in the State of California prior to July 24, 1997. If the source test cannot be
evaluated
  using these criteria, then the facility owner/operator should contact Kingsley Adeduro, EPA
  Region IX at (415) 744-1177 for guidance.

(1)  Compliance with the NESHAP Standards Demonstrated?
   Y: Go to (2)
   N: Evaluate operation/make necessary changes then perform retest according to
  40 CFR 63.344.

(2)  Was source test conducted under close approximation of normal operating
     conditions?
   Y: Go to (3)




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   N:    Retest according to 40 CFR part 63.344.

(3)     Correct Use of Approved Test Method [CARB 425, EPA 306, EPA 306A (conducted
     after 12/91), SCAQMD 205.1 ( total chrome only)]
   Y: Go to (4)
   N: Retest according to 40 CFR part 63.344.

(4)       Number of Sampling Runs
   (a)    3 or more runs: Go to (5)
   (b)    1 or 2 runs: Go to (6)

     (5)     Catch Mass Requirements (at least 5 times the limit of detection for the analytical
method)
   Hex Chrome Analysis Methods     Diphenylcarbazide Colorimetric Test
                         Ion Chromatography with Post-Column Reactor (ICPCR)
   Total Chrome Analysis Methods: Atomic Absorption Graphite Furnace (AAGF)
                         Inductively Coupled Argon Plasmography (ICAP)

   Y:    S/T is acceptable
   N:    Go to (6)

(6)          Source Test Emission Results <20 prcent (1/5) of the NESHAP Emission Limit?
   Y:  S/T is acceptable
        N: Retest according to 40 CFR part 63.344. Establishing Monitoring Parameters to Ensure
Ongoing Compliance

(A)  Were normal operating conditions employed during source test performance?
   Y: Go to (B)
   N: Retest according to source testing and operating parameter development guidelines of
               40 CFR part 63.344.

(B)      Were appropriate operating parameters monitored/recorded during the source test?
   Y:   Use measured parameter values to establish ranges for ongoing compliance
      monitoring.
   N:    (a) If bath emissions controlled by bath controls (surfactant additive or foam) only
              go to (E).
        (b) If bath emissions controlled by bath controls and downstream control device go
              to (C) and (E).
        (c) If bath emission controlled by downstream control device(s) go to (C).

(C)  Was control device outlet flow rate recorded during the source test?
   Y: Go to (D).
   N: Retest according to source testing and operating parameter range development
     guidelines of 40 CFR part 63.344.

(D)   Determine inlet velocity pressure compliant range as follows:   (for PBS only)

   Collect concurrent data on facility's inlet velocity pressure, and scrubber outlet flow rate.
     If the current scrubber outlet flow rate is within 10 percent of the outlet flow rate
     measured during the source testing, then the current inlet velocity pressure value can be
     used to establish the compliant range for continuous monitoring.

   Determine control device pressure drop complaint range as follows: (for CMP, FB Mist
      Eliminator, PBS, HEPA Filter)
          Collect concurrent data on pressure drop across the control device, and outlet flow
rate.
      If the outlet flow rate is within 10 percent of the outlet flow rate recorded during the
      source testing, then the current pressure drop value can be used to establish the compliant
      range for continuous monitoring if the controls are visually inspected and the work
      practice standards are conducted immediately prior to collecting current pressure drop
      data.




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(E)      Surfactant Additive Surface Tension: If surface tension was monitored during the source
      test, use the higher of either (1) the surface tension developed during the source test or
      (2) 45 dyne/cm surface tension for demonstration of ongoing compliance. If no surface
      tension monitoring during source test, use 45 dyne/cm as surface tension parameter for
      demonstration of ongoing compliance.

   Foam Thickness: If foam thickness was monitored during the source test, use the
     minimum thickness parameter for demonstration of ongoing compliance. If no foam
     thickness monitoring during source test, use 1 inch foam blanket as parameter for
     demonstration of ongoing compliance.




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